Case 23-10961-BLS   Doc 13-1   Filed 07/22/23   Page 1 of 388




                     Exhibit A
                   Case 23-10961-BLS          Doc 13-1        Filed 07/22/23        Page 2 of 388




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                        )
    In re:                              )                               Chapter 11
                                        )
    WILLIAMS INDUSTRIAL SERVICES GROUP, )                               Case No. 23-10961(TMH)
    INC., et al.,1                      )
                                        )                               (Jointly Administered)
                                        )
                                        )                               Related Docket No. ____
                        Debtors.        )
                                        )


       ORDER (I) AUTHORIZING THE DEBTORS, FOR THE INTERIM PERIOD, TO
      (A) OBTAIN POSTPETITION FINANCING AND (B) USE CASH COLLATERAL,
     (II) GRANTING LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
    EXPENSE CLAIMS TO POST-PETITION LENDERS, (III) GRANTING ADEQUATE
      PROTECTION TO PREPETITION SECURED PARTIES, (IV) MODIFYING THE
    AUTOMATIC STAY, (V) GRANTING RELATED RELIEF, PURSUANT TO 11 U.S.C.
       SECTIONS 105, 361, 362, 363, 364 AND 507, AND (VI) SCHEDULING A FINAL
     HEARING PURSUANT TO BANKRUPTCY RULE 4001 AND LOCAL RULE 4001-2

         Upon the motion (“DIP Motion”) of Williams Industrial Services Group, Inc.

(“Holdings”), Williams Industrial Services Group, L.L.C., (“WISG”), Williams Industrial

Services, LLC, a Georgia limited liability company (“WISI”), Williams Specialty Services, LLC,

a Georgia limited liability company (“WSS”), Williams Plant Services, LLC, a Georgia limited

liability company (“WPS”), Williams Global Services, Inc., a Georgia corporation (“Global”),

Construction & Maintenance Professionals, LLC, a Georgia limited liability company

(“Construction”) (each of Holdings, WISG, WISI, WSS, WPS, Global, and Construction,



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
     (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
     Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925),
     Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power
     Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG
     Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
     Ashford Center N, Suite 425, Atlanta, GA 30338.



4860-5063-8705.5
                   Case 23-10961-BLS   Doc 13-1       Filed 07/22/23   Page 3 of 388




individually referred to as “Borrower” and collectively as “Borrowers”), and Global Power

Professional Services Inc. a Delaware corporation (“Power”), GPEG, LLC, a Delaware limited

liability company (“GPEG”), Steam Enterprises LLC, a Delaware limited liability company

(“Steam”), WISG Canada Ltd., a limited company formed in the province of British Columbia,

Canada (“WISG Canada”), WISG Nuclear Ltd., a limited company formed in the province of

British Columbia, Canada (“WISG Nuclear”), WISG Electrical Ltd., a limited company formed

in the province of British Columbia, Canada (“WISG Electrical”), WISG Electrical, LLC, a New

York limited liability company (“WISG Electrical NY”, and together with Power, GPEG, Steam,

WISG Canada, WISG Nuclear, and WISG Electrical, each a “Guarantor” and, collectively,

“Guarantors”), each of the foregoing is a debtor and debtor-in-possession (collectively the

“Debtors,” and each, a “Debtor”) in the above-captioned chapter 11 cases (collectively, “Chapter

11 Cases”), pursuant to sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d),

364(e), and 507(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) and rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and rules 2002-1, 4001-2, 9006-1, and 9013-1

of the Local Rules of Bankruptcy Procedure for the District of Delaware (the “Bankruptcy Local

Rules”) for the United States Bankruptcy Court for the District of Delaware (this “Court”) seeking

entry of an interim order (this “Interim Order”) and a final order (the “Final Order”; together

with the Interim Order, the “DIP Orders”) granting the following relief to be provided herein until

the date that a Final Order has been entered (such interim period being the “Interim Period”)

among other things:

       1.     authorization and approval for the Debtors to obtain up to the lesser of the (a) the
Borrowing Base (as defined in the DIP Revolving Credit Agreement) and (b) $12 million in
principal of post-petition revolving credit debtor-in-possession financing and other financial
accommodations (the “DIP Revolving Facility”), but only up to $8,400,000 during the Interim

                                                  2
4860-5063-8705.5
                   Case 23-10961-BLS   Doc 13-1       Filed 07/22/23   Page 4 of 388




Period, and the revolving loans made under such facility, the “DIP Revolving Loans”), pursuant
to and in accordance with the terms and conditions set forth in that certain Super-priority Senior
Secured Debtor-In-Possession Revolving Credit and Security Agreement (as it may be amended,
modified, supplemented, extended, restated or replaced from time to time, the “DIP Revolving
Credit Agreement”) substantially in the form attached hereto as Exhibit 4, by and among the
Debtors, as borrowers and/or guarantors, PNC Bank, National Association, in its capacity as
administrative agent (in such capacity, the “DIP Revolving Agent”) and the financial institutions
from time to time party thereto, as lenders, (collectively, including any financial institution that
has issued letters of credit on behalf of any Debtor in connection with the DIP Revolving Facility,
the “DIP Revolving Lenders” and together with the DIP Agent, the “DIP Revolving Secured
Parties”);

        2.      authorization and approval for the Debtors to obtain up to $19.5 million in principal
amount of postpetition term loan debtor-in-possession financing and other financial
accommodations (the “DIP Term Facility” and the term loans made under such facility, the “DIP
Term Loans”; the DIP Term Facility together with the DIP Revolving Facility, the “DIP
Facilities”; and the DIP Revolving Loans together with the DIP Term Loans, the “DIP Loans”),
but only up to $14 million during the Interim Period pursuant to and in accordance with the terms
and conditions set forth in that certain SuperPriority Senior Secured Debtor-In-Possession Term
Loan, Guaranty and Security Agreement, among Holdings, Borrower, Guarantors, the lenders
party thereto, and EICF Agent LLC (as it may be amended, modified, supplemented, extended,
restated or replaced from time to time, the “DIP Term Credit Agreement” together with the DIP
Revolving Credit Agreement, collectively, the “DIP Credit Agreements”), substantially in the
form attached hereto as Exhibit 5, by and among the Debtors, as borrowers or guarantors, EICF
Agent LLC, in its capacity as administrative agent (in such capacity, the “DIP Term Agent”;
together with the DIP Revolving Agent, the “DIP Agents”) and the financial institutions from time
to time party thereto, as lenders, (collectively, the “DIP Term Lenders” and together with the
DIP Term Agent, the “DIP Term Secured Parties”; the DIP Revolving Lenders and the DIP Term
Lenders are collectively referred to as the “DIP Lenders”), and the DIP Revolving Secured Parties
and the DIP Term Secured Parties are collectively referred to as the “DIP Secured Parties”), with
the proceeds of the DIP Term Loans being deposited into a deposit account at a financial institution
acceptable to the DIP Term Agent (the “DIP Term Proceeds Account”);

        3.      authorization for the Debtors to use the proceeds of the DIP Revolving Facility,
DIP Collateral and Pre-Petition Collateral (each as defined herein), in each case constituting the
proceeds of Revolving Loan Priority Collateral (as defined in the Intercreditor Agreement (as
defined herein)) (the “Revolving Credit Cash Collateral”), in accordance with the terms of the
DIP Orders and the DIP Revolving Financing Documents (as defined herein), and as limited by
the Approved Budget (as defined herein), for, inter alia: (a) general operating, corporate, and
working capital purposes of the Debtors in the ordinary course of business; (b) reasonable and
documented costs, fees, and other expenses of DIP Revolving Secured Parties; (c) to make
Revolving Credit Adequate Protection Payments (as defined herein); (d) following entry of the
Interim Order, applying Revolving Credit Cash Collateral collected during the Interim Period to
the Pre-Petition Revolving Obligations (as defined herein) (“Interim ABL Roll-Up”) and the DIP
Revolving Obligations outstanding in accordance with the terms of the DIP Revolving Financing
Documents and this Interim Order, in such order and manner determined by the DIP Revolving
Agent in its sole and absolute discretion; and (e) upon entry of the Final Order, exchanging and

                                                  3
4860-5063-8705.5
                   Case 23-10961-BLS   Doc 13-1       Filed 07/22/23   Page 5 of 388




substituting in the DIP Revolving Agent’s sole discretion the remaining amount of Revolving
Advances (as defined in the Pre-Petition Credit Agreement; referred to herein as the “Pre-Petition
Revolving Loans”) on a cashless, dollar-for-dollar into DIP Revolving Loans (as defined herein)
outstanding under the DIP Revolving Facility (the “Final ABL Roll-Up”); provided, that, no
proceeds of DIP Revolving Loans or Revolving Loan Priority Collateral, including Revolving
Credit Cash Collateral, shall be used to (x) make any payments on account of the DIP Term Facility
or the Pre-Petition Term Obligations, including any adequate protection payable to the Pre-Petition
Term Secured Parties, or (y) pay the fees, costs, and expenses of any party involved in these
Chapter 11 Cases other than the fees, costs, and expenses of the Pre-Petition Revolving Secured
Parties and the DIP Revolving Secured Parties including, without limitation, Revolving Credit
Adequate Protection Obligations;

        4.      authorization for the Debtors to use the proceeds of the DIP Term Facility in
accordance with the terms of the DIP Orders and the DIP Term Financing Documents (as defined
herein), and as limited by the Approved Budget, for, inter alia: (a) general operating, corporate,
and working capital purposes of the Debtors in the ordinary course of business; (b) the costs and
expenses of administering the Chapter 11 Cases, including funding the Carve Out and the Carve
Out Reserve Account; (c) to make Term Loan Adequate Protection Payments (as defined herein)
and (e) to make any other payments expressly authorized by this Interim Order, the Approved
Budget, and the DIP Term Credit Agreement to be paid from the proceeds of the DIP Term
Facility, including fees and expenses payable to or on behalf of the DIP Term Secured Parties
under the DIP Term Facility, Allowed Professional Fees (as defined herein) and to fund the Carve
Out (as defined herein) on the terms described herein (collectively, the “Permitted DIP Term
Uses”); provided that no proceeds of the DIP Term Loans or Term Loan Priority Collateral (as
defined in the Intercreditor Agreement) shall be used to make any payments on account of the DIP
Revolving Facility or the Pre-Petition Revolving Obligations, including any adequate protection
payable to the Pre-Petition Revolving Secured Parties;

        5.      approval of, authorization and direction for Debtors to (a) enter into, execute and
perform under (i) the DIP Revolving Credit Agreement and (ii) all security agreements, pledge
agreements, notes, guarantees, mortgages, deeds of trust, control agreements, Uniform
Commercial Code financing statements, certificates, reports and other agreements, documents and
instruments either or both executed and/or delivered with or to the DIP Revolving Agent and/or
the DIP Revolving Lenders in connection with or related thereto (collectively, as amended,
modified, supplemented, extended, restated or replaced from time to time, the “DIP Revolving
Financing Documents”), (b) enter into, execute and perform under (i) the DIP Term Credit
Agreement and (ii) all security agreements, pledge agreements, notes, guarantees, mortgages,
deeds of trust, control agreements, Uniform Commercial Code financing statements, certificates,
reports and other agreements, documents and instruments either or both executed and/or delivered
with or to the DIP Term Agent and/or the DIP Term Lenders in connection with or related thereto
(collectively, as amended, modified, supplemented, extended, restated or replaced from time to
time, the “DIP Term Financing Documents”; together with the DIP Revolving Financing
Documents, the Intercreditor Agreement (as defined herein) and any amendment to the
Intercreditor Agreement entered into in connection with the DIP Facilities, collectively, the “DIP
Financing Documents”), and (c) take and perform all other acts and steps as may be required or
contemplated by or in connection with the DIP Financing Documents and the DIP Orders;


                                                  4
4860-5063-8705.5
                   Case 23-10961-BLS    Doc 13-1       Filed 07/22/23    Page 6 of 388




        6.       granting to (a) the DIP Revolving Agent, for itself and on behalf of the DIP
Revolving Lenders, priming, valid, perfected and enforceable liens (as defined in Bankruptcy Code
section 101 (37)) in and upon all of the DIP Collateral, in accordance with the priorities described
in the Lien Priority Chart, to secure all existing and future obligations and liabilities of every kind
or nature (including without limitation, principal of, and accrued interest on, amounts advanced to
the Debtors under the DIP Revolving Facility, bank products, reimbursement obligations, and fees
in respect of letters of credit, which letters of credit, immediately upon entry of this Interim Order,
shall be deemed issued under the DIP Revolving Credit Agreement), and all other fees, and
indemnity obligations, reimbursement obligations, any other Obligations (as defined in the DIP
Revolving Credit Agreement) under or in connection with the DIP Revolving Financing
Documents, whether due or to become due, absolute or contingent, (collectively, the “DIP
Revolving Obligations”) as provided by and more fully defined in, the DIP Revolving Financing
Documents, and (b) the DIP Term Agent, for itself and on behalf of the DIP Term Lenders,
priming, valid, perfected and enforceable liens (as defined in Bankruptcy Code section 101 (37))
in and upon all of the DIP Collateral, subject the priorities described in the Lien Priority Chart, to
secure all existing and future obligations and liabilities of every kind or nature (including without
limitation, principal of, and accrued interest on, amounts advanced to the Debtors under the DIP
Term Facility), and all other fees, and indemnity obligations, reimbursement obligations, any other
Obligations (as defined in the DIP Term Credit Agreement) under or in connection with the DIP
Term Financing Documents, whether due or to become due, absolute or contingent, (collectively,
the “DIP Term Obligations”; together with the DIP Revolving Obligations, collectively, the “DIP
Obligations”), as provided by and more fully defined in, the DIP Term Financing Documents;

        7.      granting to the DIP Secured Parties allowed superpriority administrative expense
claim status for the DIP Obligations, pursuant to Bankruptcy Code section 364(c)(1) and 507(b),
subject to the priorities described in the Claim Priority Chart (as defined herein) and the terms of
the DIP Orders;

       8.      authorizing the Debtors’ use, in accordance with the terms of the DIP Financing
Documents and as limited by the Approved Budget, of all Revolving Credit Cash Collateral (as
defined herein), DIP Revolving Loans and DIP Term Loans;

        9.      granting adequate protection, including without limitation, Adequate Protection
Liens, Adequate Protection Claims, and Adequate Protection Payments (each as defined herein
and collectively, the “Adequate Protection Obligations”) to (a) PNC Bank, National Association,
in its capacity as administrative agent (in such capacity, the “Pre-Petition Revolving Agent”)
under that certain Credit Agreement dated as of July 18, 2018 (as amended, restated, amended and
restated, modified, supplemented, or extended from time to time, the “Pre-Petition Revolving
Credit Agreement”) by and among the Borrowers (“Pre-Petition Borrowers”), the Guarantors
(“Pre-Petition Guarantors”) from time to time party thereto, the financial institutions party
thereto from time to time comprising Lenders (as defined in the Pre-Petition Revolving Credit
Agreement) holding a Revolving Commitment (as defined in the Pre-Petition Revolving Credit
Agreement) (collectively, the “Pre-Petition Revolving Credit Lenders”, and together with the
Pre-Petition Revolving Agent, sometimes collectively referred to as the “Pre-Petition Revolving
Secured Parties”), and all security agreements, pledge agreements, notes, mortgages, guarantees,
control agreements, collateral access agreements, and related agreements and documents
(collectively, with the Pre-Petition Revolving Credit Agreement, as amended, modified,

                                                   5
4860-5063-8705.5
                   Case 23-10961-BLS    Doc 13-1       Filed 07/22/23     Page 7 of 388




supplemented, extended, restated, amended and restated, or replaced from time to time, the “Pre-
Petition Revolving Financing Documents”), (b) the Pre-Petition Revolving Credit Lenders, and
(c) EICF Agent LLC (in such capacity, “Pre-Petition Term Agent”; together with the Pre-Petition
Revolving Agent, collectively, the “Pre-Petition Agents”), under that certain Term Credit and
Guaranty Agreement dated as of July 18, 2018 (as amended, restated, amended and restated,
modified, supplemented, or extended from time to time, the “Pre-Petition Term Credit
Agreement”; together with the Pre-Petition Revolving Credit Agreement, collectively, the “Pre-
Petition Credit Agreements”) by and among the Pre-Petition Borrowers, the Pre-Petition
Guarantors from time to time party thereto, the financial institutions party thereto from time to
time (collectively, the “Pre-Petition Term Lenders”, and together with the Pre-Petition Term
Agent, sometimes collectively referred to as the “Pre-Petition Term Secured Parties”; Pre-
Petition Revolving Secured Parties and the Pre-Petition Term Secured Parties together, the “Pre-
Petition Secured Parties”), and all security agreements, pledge agreements, notes, mortgages,
guarantees, control agreements, collateral access agreements, and related agreements and
documents (collectively, with the Pre-Petition Term Credit Agreement, as amended, modified,
supplemented, extended, restated, amended and restated, or replaced from time to time, the “Pre-
Petition Term Financing Documents”; together with the Pre-Petition Revolving Financing
Documents, the “Pre-Petition Financing Documents”), and (d) the Pre-Petition Term Lenders,
all such adequate protection with the priority set forth in the Claim Priority Chart and the Lien
Priority Chart (each as defined herein) and otherwise in accordance with the terms set forth in this
Interim Order, with respect to any Diminution in Value (as defined herein) with respect to their
respective interests in the Pre-Petition Collateral (as defined herein), including all “cash collateral”
as such term is defined in Bankruptcy Code section 363(a), including, without limitation, all cash
and cash equivalents of the Debtors, whenever or wherever acquired, and the proceeds of all Pre-
Petition Collateral and DIP Collateral, all in accordance with the terms set forth herein;

        10.    approving the application of collections and proceeds of all of the Revolving Loan
Priority Collateral and DIP Collateral and the payment of certain Pre-Petition Revolving
Obligations and DIP Revolving Obligations, in each case, in the manner and on the terms set forth
in the DIP Revolving Credit Agreement and the DIP Orders;

        11.     subject to entry of a Final Order, the waiver of: (a) the ability of the Debtors and
their bankruptcy estates (as defined under Bankruptcy Code section 541, the “Estates”) to
surcharge against the DIP Collateral with respect to the DIP Secured Parties and the Pre-Petition
Collateral with respect to the Pre-Petition Secured Parties pursuant to Bankruptcy Code section
506(c); (b) the applicability of the “equities of the case” exception under Bankruptcy Code section
552(b) with respect to the proceeds, products, offspring or profits of the DIP Collateral and Pre-
Petition Collateral;

        12.    subject to entry of a Final Order, the waiver of the equitable doctrine of
“marshaling” and any similar equitable doctrine with respect to (a) any of the DIP Collateral (as
defined herein) for the benefit of any party other than the DIP Secured Parties, and (b) any of the
Pre-Petition Collateral (as defined herein), including Revolving Credit Cash Collateral, for the
benefit of any party other than the Pre-Petition Secured Parties;

        13.    modifying the automatic stay imposed by Bankruptcy Code section 362 to the
extent hereinafter set forth and waiving the fourteen (14) day stay provisions of Bankruptcy Rule

                                                   6
4860-5063-8705.5
                   Case 23-10961-BLS   Doc 13-1       Filed 07/22/23   Page 8 of 388




4001(a)(3);

       14.     waiving the 21-day provision of Bankruptcy Rule 6003(b), the notice requirements
of Bankruptcy Rule 6004(a), waiving any applicable stay (including under Bankruptcy Rule 6004)
and providing for immediate effectiveness of this Interim Order; and

      15.     scheduling a final hearing on the DIP Motion (“Final Hearing”) for entry of a Final
Order authorizing the DIP Facilities and the use of Revolving Credit Cash Collateral as
contemplated hereby on a final basis and granting such other relief as is requested in the DIP
Motion and approving the form of notice with respect to the Final Hearing.

         Notice of the DIP Motion, the relief requested therein during the Interim Period, and the

Interim Hearing (as defined herein) (“Notice”) having been served by the Debtors in accordance

with Bankruptcy Rule 4001(c) on: (i) the United States Trustee for the District of Delaware (“U.S.

Trustee”); (ii) the holders of the twenty (20) largest unsecured claims against the Debtors’ estates;

(iii) counsel to the ad hoc group of DIP Term Lenders and Pre-Petition Term Lenders (the “Ad

Hoc Group”); (iv) the Pre-Petition Revolving Agent and counsel thereto; (v) the Pre-Petition

Term Agent and counsel thereto; (vi) the proposed DIP Term Lenders and counsel thereto; (vii)

the proposed DIP Revolving Agent and counsel thereto; (viii) the proposed DIP Term Agent and

counsel thereto; (ix) the Internal Revenue Service; (x) the Securities and Exchange Commission;

(xi) other governmental agencies having a regulatory or statutory interest in these cases; (xii) all

parties known to the Debtors that hold any liens or security interests in the Debtors’ assets,

including those parties that have filed UCC-1 financing statements against the Debtors, or that, to

the Debtors’ knowledge, have asserted any liens on any of the Debtors’ assets; (xiii) all landlords

and warehouseman of the Debtors; (xiv) all creditors known to the Debtors to be holding a

judgment against the Debtors; (xv) any other parties claiming an interest in the Pre-Petition

Collateral (defined below); and (xvi) any party that has requested notice pursuant to Bankruptcy

Rule 2002 (collectively, the “Noticed Parties”). In light of the nature of the relief requested, no

other or further notice is required.


                                                  7
4860-5063-8705.5
                   Case 23-10961-BLS         Doc 13-1        Filed 07/22/23        Page 9 of 388




         This Court having considered the relief requested in the DIP Motion for the Interim Period,

the First Day Declaration,2 the DIP Declaration,3 and the arguments of counsel made at the Interim

Hearing; an interim hearing on the DIP Motion having been held by this Court and concluded (the

“Interim Hearing”); all objections and reservations of rights, if any, to the relief requested in the

DIP Motion for the Interim Period having been withdrawn, resolved, or overruled by this Court; it

appearing that approval of the interim relief requested in the DIP Motion is fair and reasonable

and in the best interests of the Debtors and their Estates, and is necessary to avoid immediate and

irreparable harm to the Debtors and their Estates pending the Final Hearing; it appearing that the

Debtors’ entry into and performance under the DIP Financing Documents and the other

transactions contemplated by this Interim Order is a sound and prudent exercise of the Debtors’

business judgment; and after due deliberation and consideration, and good and sufficient cause

appearing therefor:

     BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING,
THE COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS
OF LAW:4

         A.         Disposition. The relief requested in the DIP Motion is GRANTED to the extent

set forth herein for the Interim Period in accordance with the terms of this Interim Order. Any

objections to the DIP Motion with respect to the entry of this Interim Order that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, are hereby denied




2
    The term “First Day Declaration” means that certain Declaration of Tracy D. Pagliara in Support of Chapter
    11 Petitions and First Day Pleadings.
3
    The term “DIP Declaration” means the Declaration of Victoria Arrigoni of G2 Capital Advisors in Support of
    the DIP Motion.
4
    The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
    the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
    the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.

                                                         8
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1       Filed 07/22/23   Page 10 of 388




and overruled. This Interim Order shall become effectively immediately upon its entry and any

applicable stay (including under Bankruptcy Rule 6004) is waived to permit such effectiveness.

         B.        Petition Date. On July 22, 2023 (the “Petition Date”), each of the Debtors filed

voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

         C.        Debtors in Possession. The Debtors continue to operate their businesses and

manage their properties as debtors-in-possession pursuant to Bankruptcy Code sections 1107(a)

and 1108. No trustee or examiner has been appointed in the Chapter 11 Cases and no official

committee of unsecured creditors (a “Creditors’ Committee”), or any other statutory committee,

has been appointed in these Chapter 11 Cases.

         D.        Jurisdiction and Venue. The Court has jurisdiction of these Chapter 11 Cases, the

DIP Motion, this Interim Order and the parties and property affected hereby pursuant to 28 U.S.C.

§§ 157(b) and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This Court’s consideration of the

DIP Motion constitutes a “core” proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M).

This Court may enter a final order consistent with Article III of the United States Constitution.

Venue of the Chapter 11 Cases and the DIP Motion in this Court is proper pursuant to 28 U.S.C.

§§ 1408 and 1409. The statutory and procedural bases for the relief sought in the DIP Motion and

granted in this Interim Order are Bankruptcy Code sections 105, 361, 362, 363, 364, 503, 506,

507, and 552, Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014, and Bankruptcy Local Rules

2002-1, 4001-2, 9006-1, and 9013-1.

         E.        Notice. Upon the record presented to this Court at the Interim Hearing, and under

the exigent circumstances set forth therein and in the DIP Motion, the First Day Declaration and

the DIP Declaration, notice of the DIP Motion and the relief requested thereby and granted in this



                                                   9
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 11 of 388




Interim Order has been provided in accordance with Bankruptcy Rules 2002, 4001(b) and

4001(c)(1) and Bankruptcy Local Rule 9013-1(m), which notice was appropriate under the

circumstances and sufficient for entry of this Interim Order. No other or further notice of the DIP

Motion is required for entry of this Interim Order. The interim relief granted herein is necessary

to avoid immediate and irreparable harm to the Debtors and their Estates pending a Final Hearing.

         F.        Final Hearing. At the Final Hearing, the Debtors will seek approval of the Final

Order, which shall be subject to the terms and conditions of the DIP Financing Documents. Notice

of the Final Hearing and Final Order will be provided in accordance with this Interim Order.

         G.        Debtors’ Acknowledgements and Agreements. Without prejudice to the rights of

all parties-in-interest other than the Debtors, but subject to the limitations contained in Section

VIII below, the Debtors admit, stipulate, acknowledge, and agree (the “Debtors’ Stipulations”)

that:

                   (1)    Pre-Petition Revolving Financing Documents. Prior to the commencement

of the Chapter 11 Cases, the Pre-Petition Revolving Secured Parties made loans and advances, and

provided other financial accommodations, pursuant to the Pre-Petition Revolving Financing

Documents to the Pre-Petition Borrowers. The Pre-Petition Guarantors guaranteed the Pre-

Petition Revolving Obligations (as defined herein) of the Pre-Petition Borrowers under the Pre-

Petition Revolving Credit Agreement. The Pre-Petition Revolving Obligations (as defined herein)

were automatically accelerated on the Petition Date as a result of the commencement of the

Chapter 11 Cases in accordance with the terms of the Pre-Petition Revolving Financing Documents,

and all commitments of the Pre-Petition Revolving Secured Parties are terminated.

                   (2)    Pre-Petition Revolving Obligations.




                                                   10
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 12 of 388




                       (a)    Pre-Petition Revolving Credit Loan Obligations. As of the Petition

Date, the Pre-Petition Borrowers and the Pre-Petition Guarantors were justly and lawfully indebted

and liable to the Pre-Petition Revolving Secured Parties, without defense, counterclaim or offset

of any kind, in the aggregate principal amount of not less than $10,891,003.32, including, without

limitation, (i) $10,391,003.32 in outstanding principal amount of Pre-Petition Revolving Loans,

(ii) outstanding letters of credit in the aggregate amount of $500,000, and (iii) all accrued and

accruing charges and Cash Management Products and Services in respect of Cash Management

Obligations (each as defined in the Pre-Petition Revolving Credit Agreement) (collectively,

together with accrued and unpaid interest, any fees, costs, expenses and disbursements (including

attorneys’ fees, accountants’ fees, auditor fees, appraisers’ fees and financial advisors’ fees, and

related expenses and disbursements), indemnification obligations, hedging obligations, guarantee

obligations, and other charges, amounts and costs of whatever nature owing, whether or not

contingent, whenever arising, accrued, accruing, due, owing, or chargeable in respect of any of the

Pre-Petition Borrowers’ or the Pre-Petition Guarantor’s obligations pursuant to, or secured by, the

Pre-Petition Revolving Financing Documents, including all Obligations (as defined in the Pre-

Petition Revolving Credit Agreement) (collectively, the “Pre-Petition Revolving Obligations”),

which Pre-Petition Revolving Obligations have been guaranteed on a joint and several basis by the

Pre-Petition Guarantors.

                       (b)    The Pre-Petition Revolving Obligations constitute allowed, legal,

valid, binding, enforceable, and non-avoidable obligations of Debtors, and are not subject to any

offset, deduction, defense, counterclaim, avoidance, recovery, recharacterization, or subordination

pursuant to the Bankruptcy Code or any other applicable law, and the Debtors do not possess, and

shall not assert, any claim, counterclaim, setoff, deduction, or defense of any kind, nature, or



                                                 11
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 13 of 388




description that would in any way impair, reduce, or affect the validity, enforceability, and non-

avoidability of any of the Pre-Petition Revolving Obligations.

                   (3)   Pre-Petition Collateral (for Pre-Petition Revolving Obligations).

                         (a)    As of the Petition Date, the Pre-Petition Revolving Obligations were

secured pursuant to the Pre-Petition Revolving Financing Documents by valid, binding, perfected,

enforceable, and non-avoidable security interests and liens (“Pre-Petition Revolving Liens”)

granted by the Debtors to the Pre-Petition Revolving Agent, for the benefit of the Pre-Petition

Revolving Secured Parties, upon the “Collateral” (as defined in the Pre-Petition Revolving Credit

Agreement) in existence as of the Petition Date (hereafter, the “Pre-Petition Collateral”), subject

to the Pre-Petition Term Liens (as defined below) to the extent set forth in the Intercreditor

Agreement and as described on the Lien Priority Chart, as well as to any valid, binding, perfected,

enforceable and unavoidable lien or security interest otherwise existing as of the Petition Date,

which are otherwise acknowledged to be senior in priority under the Pre-Petition Revolving Credit

Agreement (collectively, the “Prior Permitted Liens” and each a “Prior Permitted Lien”). The

Prior Permitted Liens, together with any valid and unavoidable lien or security interest that is

senior in priority to the liens granted to the Pre-Petition Revolving Secured Parties in the Pre-

Petition Collateral that is validly perfected subsequent to the Petition Date as permitted by

Bankruptcy Code section 546(b), shall be collectively referred to in this Interim Order as “Senior

Liens.”

                         (b)    The Pre-Petition Revolving Agent, on behalf of the Pre-Petition

Revolving Lenders, has a valid, binding, and perfected non-avoidable security interest and lien in

all of Pre-Petition Collateral, including Revolving Credit Cash Collateral, subject to the Pre-

Petition Term Liens to the extent set forth in the Intercreditor Agreement and as described in the



                                                  12
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 14 of 388




Lien Priority Chart, including all amounts on deposit in all of Pre-Petition Borrowers’ banking,

checking, or other deposit accounts with any of the Pre-Petition Revolving Secured Parties,

whether as original collateral or as proceeds of other Pre-Petition Collateral, and all such

Revolving Credit Cash Collateral is part of the Pre-Petition Collateral.

                         (c)    The Debtors do not possess, and will not assert, any claim,

counterclaim, setoff, deduction, or defense of any kind, nature, or description that would in any

way impair, reduce, or affect the validity, enforceability, and non-avoidability of any of the Pre-

Petition Revolving Secured Parties’ liens, claims, or security interests in the Pre-Petition Collateral,

which liens and security interests are not subject to subordination (other than as set forth in the

Intercreditor Agreement) or avoidance pursuant to the Bankruptcy Code or any other applicable

law.

                   (4)   Pre-Petition Term Financing Documents. Prior to the commencement of

the Chapter 11 Cases, the Pre-Petition Term Lenders made certain loans (the “Pre-Petition Term

Loans”) to Pre-Petition Borrowers pursuant to the Pre-Petition Term Financing Documents. The

Pre-Petition Guarantors guaranteed the obligations of Pre-Petition Borrowers under the Pre-

Petition Term Credit Agreement.

                   (5)   Pre-Petition Term Loan Obligations.

                         (a)    As of the Petition Date, the aggregate amount of all Obligations (as

defined in the Pre-Petition Term Credit Agreement) owing by the Pre-Petition Borrowers to the

Pre-Petition Term Secured Parties under and in connection with the Pre-Petition Term Financing

Documents was not less than (i) $32,200,000 in respect of the Pre-Petition Term Loans, plus

interest accrued and accruing thereon at the rate in effect on the Petition Date, plus (ii) accrued

and accruing fees, plus (iii) all accrued and accruing costs and expenses (including attorneys’ fees



                                                  13
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 15 of 388




and legal expenses, accountants’ fees, auditor fees, appraisers’ fees and financial advisors’ fees,

and related expenses and disbursements), plus (iv) any other charges and liabilities accrued,

accruing or chargeable under the Pre-Petition Term Financing Documents (including

indemnification obligations, guarantee obligations, and other charges, amounts and costs of

whatever nature owing, whether or not contingent, whenever arising, accrued, accruing, due,

owing, or chargeable in respect thereof) (collectively, “Pre-Petition Term Obligations”; together

with the Pre-Petition Revolving Obligations, collectively, the “Pre-Petition Obligations”).

                         (b)    The Pre-Petition Term Obligations constitute allowed, legal, valid,

binding, enforceable, and non-avoidable obligations of the Pre-Petition Borrowers and Pre-Petition

Guarantors, and are not subject to any offset, deduction, defense, counterclaim, avoidance,

recovery, recharacterization, or subordination pursuant to the Bankruptcy Code (other than as set

forth in the Intercreditor Agreement) or any other applicable law, and the Debtors do not possess

and shall not assert any claim, counterclaim, setoff, deduction, or defense of any kind, nature or

description which would in any way impair, reduce, or affect the validity, enforceability, and non-

avoidability of any of the Pre-Petition Term Obligations.

                   (6)   Pre-Petition Collateral (for Pre-Petition Term Obligations).

                         (a)    As of the Petition Date, the Pre-Petition Term Obligations were

secured pursuant to the Pre-Petition Term Financing Documents by valid, binding, perfected,

enforceable and non-avoidable security interests and liens granted by the Debtors to the Pre-

Petition Term Agent upon the Pre-Petition Collateral (the “Pre-Petition Term Liens”; together

with the Pre-Petition Revolving Liens, the “Pre-Petition Liens”), subject to the Pre-Petition




                                                  14
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 16 of 388




Revolving Liens to the extent set forth in the Intercreditor Agreement and as described on the Lien

Priority Chart as well as to any Senior Liens having priority over the Pre-Petition Term Liens.

                         (b)   The Pre-Petition Term Agent, for itself and on behalf of the other

Pre-Petition Term Secured Parties, has a valid, binding and perfected non-avoidable security

interest and lien in the Pre-Petition Collateral, including Revolving Credit Cash Collateral, subject

to the Pre-Petition Revolving Liens to the extent set forth in the Intercreditor Agreement and as

described on the Lien Priority Chart.

                         (c)   The Debtors do not possess and will not assert any claim,

counterclaim, setoff, deduction, or defense of any kind, nature or description which would in any

way impair, reduce, or affect the validity, enforceability and non-avoidability of any of the Pre-

Petition Term Liens or the Pre-Petition Term Agent’s liens, claims or security interests in the Pre-

Petition Collateral, which liens and security interests are not subject to subordination (other than

as set forth in the Intercreditor Agreement) or avoidance pursuant to the Bankruptcy Code or any

other applicable law.

                   (7)   Intercreditor Agreement. The Pre-Petition Revolving Agent and Pre-

Petition Term Agent are party to that certain ABL Intercreditor Agreement, dated as of July 18,

2018 (as amended (included in connection with the DIP Facilities), restated, amended and restated,

supplemented, or otherwise modified, the “Intercreditor Agreement”), which is acknowledged

and agreed to by Pre-Petition Borrowers and Pre-Petition Guarantors. The Intercreditor Agreement

governs, among other things, the relative priority of the respective Liens on the Collateral granted

to holders of Obligations (each as defined in the Intercreditor Agreement) and is acknowledged to

be a “subordination agreement” within the meaning of Bankruptcy Code section 510(a), as set




                                                   15
4860-5063-8705.5
               Case 23-10961-BLS          Doc 13-1        Filed 07/22/23   Page 17 of 388




forth therein. The Intercreditor Agreement is binding, valid, and enforceable in accordance with

its terms, and the parties thereto are bound thereby.

         H.        Adequate Protection.

                   (1)    Based on the DIP Motion, the First Day Declaration, and the DIP

Declaration, and the record presented to this Court at the Interim Hearing, the terms of the adequate

protection granted to the Pre-Petition Secured Parties as provided in this Interim Order are fair and

reasonable under the circumstances, reflect the Debtors’ exercise of prudent business judgment

consistent with their fiduciary duties, and provide the Debtors with reasonably equivalent value

and fair consideration.

                   (2)    Adequate Protection Obligations. The Debtors acknowledge and agree that

the Pre-Petition Secured Parties are entitled to and being provided with adequate protection

(including the Adequate Protection Obligations) with respect to the aggregate diminution in value

(“Diminution in Value”) of the Pre-Petition Secured Parties’ respective interests in the Pre-

Petition Collateral for any reason for which adequate protection may be granted under the

Bankruptcy Code, including as a result of the: (a) provisions of this Interim Order granting either

or both first priority and priming liens on the Pre-Petition Collateral to the DIP Agents, for the

benefit of the applicable DIP Lenders, with respect to the DIP Facilities; (b) use of the Revolving

Credit Cash Collateral; (c) use, sale, lease, decrease, or depreciation of the Pre-Petition Collateral;

(d) subordination to the Carve Out solely as provided for herein; and (e) the imposition of the

automatic stay under Bankruptcy Code section 362(a) or otherwise pursuant to Bankruptcy Code

sections 361(a), 363(c), 364(c), and 364(d)(1). Pursuant to Bankruptcy Code sections 361, 363

and 507(b), as adequate protection for any Diminution in Value, the Debtors have agreed to

provide (x) the Pre-Petition Revolving Secured Parties with the Revolving Credit Adequate



                                                     16
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 18 of 388




Protection Liens, the Revolving Credit Adequate Protection Claim (subject to the priorities set

forth in the Claim Priority Chart), and the Revolving Credit Adequate Protection Payments (each

as defined herein), which Revolving Credit Adequate Protection Payments shall be payable solely

from the proceeds of DIP Revolving Loans and the proceeds of the Pre-Petition Collateral and DIP

Collateral, in either case, constituting Revolving Loan Priority Collateral, and (y) the Pre-Petition

Term Secured Parties with the Term Loan Adequate Protection Liens, the Term Loan Adequate

Protection Claim (subject to the priorities set forth in the Claim Priority Chart) and the Term Loan

Adequate Protection Payments (each as defined herein), which Term Loan Adequate Protection

Payments shall be payable solely from proceeds of DIP Term Loans and the proceeds of the Pre-

Petition Collateral and DIP Collateral, in either case, constituting Term Loan Priority Collateral.

                   (3)    In exchange for such adequate protection (including the Adequate

Protection Obligations), the Pre-Petition Secured Parties have agreed to the Debtors’ use of the

Revolving Credit Cash Collateral on the terms set forth in this Interim Orders and the DIP Credit

Agreements.

                   (4)    Necessity for Adequate Protection. The adequate protection being provided

pursuant to this Interim Order is consistent with, inter alia, the Intercreditor Agreement, authorized

by the Bankruptcy Code, is consistent with the Debtors’ need for the DIP Facilities, and will

facilitate the Debtors’ ability to continue their business operations.

         I.        Prior Liens. Nothing contained in this Interim Order is intended to: (1) invalidate,

negate, avoid, prime or prejudice the holders of any alleged Senior Liens; (2) find or rule that any

alleged Senior Liens (or any other alleged liens, excepting only the Pre-Petition Liens, subject only

to Section VIII below in the case of such Pre-Petition Liens) are valid, binding, prior, perfected,

enforceable, non-avoidable, or senior; or (3) prejudice the right of any party-in-interest, including,



                                                    17
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 19 of 388




without limitation, the Debtors, any Creditors’ Committee, the Pre-Petition Revolving Agent, the

Pre-Petition Term Agent or DIP Agents, from challenging the validity, enforceability, perfection,

extent, or priority of any alleged Senior Lien (or any other alleged liens or security interests,

excepting only the Pre-Petition Liens, a challenge to which is subject only to Section VIII below).

         J.        No Control. None of the Pre-Petition Secured Parties control (or have in the past

controlled) the Debtors or their properties or operations, have authority to determine the manner

in which any Debtors’ operations are conducted or are control persons or insiders of the Debtors

by virtue of any of the actions taken with respect to, in connection with, related to or arising from

the Pre-Petition Financing Documents.

         K.        Findings Regarding the DIP Facilities and Use of Revolving Credit Cash Collateral.

                   (1)    Request for DIP Financing. The Debtors have requested that the DIP

Agents and the DIP Lenders extend loans, advances, and other financial accommodations and the

DIP Agents and the DIP Lenders are only willing to do so as more particularly described, and

subject to the terms and conditions set forth, in this Interim Order and the DIP Financing

Documents.

                   (2)    Need for DIP Financing. As set forth in the DIP Declaration and the First

Day Declaration, the Debtors do not have sufficient available sources of working capital to fund

the orderly sale(s) and liquidation of the Debtors’ businesses in the ordinary course without the

DIP Facilities and the ability to use Revolving Credit Cash Collateral, or to fund these Chapter 11

Cases without the DIP Facilities, all on the terms set forth in the DIP Financing Documents and

this Interim Order. The Debtors’ ability to maintain business relationships with their vendors,

suppliers, and customers, to pay their employees, and to otherwise fund their operations is essential

to the viability of the Debtors and the Chapter 11 Cases. The ability of the Debtors to obtain



                                                    18
4860-5063-8705.5
               Case 23-10961-BLS          Doc 13-1        Filed 07/22/23   Page 20 of 388




sufficient working capital and liquidity through the proposed DIP Facilities and the use of

Revolving Credit Cash Collateral on the terms set forth in the DIP Financing Documents and this

Interim Order is vital to the preservation and maximization of the going concern value one or more

of the Debtors’ currently operating businesses pending sale(s) of such assets. Accordingly, the

Debtors have an immediate need to obtain funds from the DIP Facilities and authorization to use

Revolving Credit Cash Collateral for the purposes and on the terms and subject to the limitations

set forth herein and in the DIP Financing Documents, including the Approved Budget (defined

herein), in order to, among other things, (a) maintain business relationships; (b) permit the

continued operation of their businesses; (c) make Adequate Protection Payments; (d) pay the costs

of administration of these Chapter 11 Cases and satisfy their other working capital and general

corporate purposes; (e) minimize disruption of their business operations; and (f) manage and

preserve the assets of the Debtors’ Estates in order to maximize the value of such assets and the

recoveries to creditors of the Estates.

                   (3)   No Credit Available on More Favorable Terms. As stated in the DIP

Declaration and the First Day Declaration, the Debtors are unable to procure financing or other

financial accommodations on more favorable terms from sources other than from the DIP Lenders

under the DIP Financing Documents and are unable to obtain satisfactory unsecured credit

allowable under Bankruptcy Code section 364(a) or 364(b) and 503(b)(1) as an administrative

expense. The Debtors also are unable to obtain secured credit for the purposes set forth in the DIP

Financing Documents and the consensual use of Revolving Credit Cash Collateral on more

favorable terms without the grant of liens (including priming liens) on all or substantially all of the

Debtors’ assets pursuant to Bankruptcy Code sections 364(c) and (d), subject to the Carve Out

solely as provided for herein. In the Debtors’ business judgment, the Debtors cannot procure the



                                                     19
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 21 of 388




necessary financing on terms more favorable than the financing offered by the DIP Agents and the

DIP Lenders pursuant to the DIP Financing Documents and this Interim Order.

                   (4)   Budget. Based upon the record presented to this Court by the Debtors, (a)

the Debtors have prepared and delivered the Initial Budget (as defined in the DIP Credit

Agreements), in the form attached hereto as Exhibit 1 (the Initial Budget and each subsequent

approved budget shall constitute without duplication, the “Approved Budget”), (b) the Approved

Budget was prepared by the Debtors, with the assistance of their professional advisors and

management, and (c) the Approved Budget (as the same may be amended or extended solely as

provided for herein) sets forth, among other things, the projected cash receipts and disbursements

for the periods covered thereby. The Initial Budget and any supplemental Approved Budget may

be modified, amended and updated from time to time in accordance with the DIP Credit

Agreements, and once approved in writing by the DIP Agents pursuant to the DIP Credit

Agreements, shall supplement and replace the Initial Budget or the then Approved Budget. The

Debtors believe in good faith that the Approved Budget, subject to such variances as permitted in

the DIP Credit Agreements is achievable and will allow the Debtors to operate in chapter 11

without the accrual of unpaid post-petition administrative expenses during the term of the

Approved Budget. The Pre-Petition Secured Parties and the DIP Secured Parties are relying upon

the Debtors’ compliance with the Approved Budget, subject to such variances as permitted in the

DIP Credit Agreements, in determining to consent to the use of Revolving Credit Cash Collateral

solely as contemplated in this Interim Order and to enter into (or as the case may be, consent to)

the DIP Facilities as provided for in this Interim Order and the DIP Financing Documents.

                   (5)   Business Judgment and Good Faith Pursuant to Section 364(e) and Section

363(m). Based on the record before this Court, including the Debtors’ Stipulations, (a) the Debtors



                                                  20
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 22 of 388




and each of the Pre-Petition Secured Parties and the DIP Secured Parties have negotiated at arms’

length and in good faith regarding the terms of the DIP Financing Documents, the DIP Facilities,

and the Debtors’ use of Pre-Petition Collateral, including the Revolving Credit Cash Collateral,

respectively, all subject to the terms of this Interim Order and (b) the terms of the DIP Credit

Agreements, the other DIP Financing Documents, and the DIP Facilities are fair and reasonable,

reflect the Debtors’ exercise of prudent business judgment consistent with their fiduciary duties,

and constitute reasonably equivalent value and fair consideration. Any credit extended under the

terms of this Interim Order shall be deemed to have been extended in “good faith” (as that term is

used in Bankruptcy Code sections 364(e) and 363(m)) by the Pre-Petition Secured Parties and the

DIP Secured Parties, as applicable.

                   (6)   No Objection. The Pre-Petition Secured Parties have no objection to the

DIP Facilities and the use of Revolving Credit Cash Collateral on the terms and conditions set

forth in this Interim Order. Nothing in this Interim Order, including, without limitation, any of the

provisions herein with respect to adequate protection, shall constitute, or be deemed to constitute,

a finding that the interests of the Pre-Petition Secured Parties are or will be adequately protected

with respect to any non-consensual use of Pre-Petition Collateral, including Revolving Credit Cash

Collateral.

                   (7)   No Responsible Person. The Debtors stipulate that in making the decision

to finance the Debtors’ continued business operations through the DIP Facilities, to permit the

Debtors to use Revolving Credit Cash Collateral for the limited purposes set forth herein, in

administering any loans, in approving the Initial Budget, or in taking any actions permitted by this

Interim Order or the DIP Financing Documents, none of the DIP Agents, the DIP Lenders, the Pre-

Petition Revolving Agent, the Pre-Petition Revolving Credit Lenders, the Pre-Petition Term Agent,



                                                  21
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 23 of 388




or the Pre-Petition Term Lenders, as applicable, shall be deemed to be in control of the operations

of the Debtors or to be acting as a “responsible person,” “owner or operator,” or part of any “control

group” with respect to any of the Debtors or the management of the Debtors ore owe any fiduciary

duty to the Debtors, their respective creditors, shareholders, or Estates.

                   (8)   Good Cause. Good and sufficient cause has been shown for the entry of

this Interim Order and for authorizing the Debtors to obtain financing pursuant to the DIP Facilities

and to use the Revolving Credit Cash Collateral of the Pre-Petition Revolving Secured Parties

(solely to the extent consistent with the Approved Budget) and to authorize the provision of

adequate protection.      The relief requested in the DIP Motion is necessary, essential, and

appropriate, and is in the best interest of and will benefit the Debtors and their Estates, as its

implementation will, among other things, provide the Debtors with the necessary liquidity to: (a)

minimize disruption to the Debtors’ efforts for the continued operations of their businesses; (b)

preserve and maximize the value of the Debtors’ Estates; and (c) avoid immediate and irreparable

harm to the Debtors, their respective businesses, employees, and assets.

                   (9)   Immediate Entry. Good and sufficient cause exists for immediate entry of

this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2), 6003(b), and, to the extent

applicable, 6004(h). Absent the immediate grant by this Court of the interim relief sought by the

DIP Motion, each Debtors’ Estates will be immediately and irreparably harmed pending the Final

Hearing. Consummation of the DIP Facilities and the use of Revolving Credit Cash Collateral, in

accordance with the terms of this Interim Order, the Approved Budget and the DIP Financing

Documents, is in the best interests of the Debtors’ Estates and is consistent with the Debtors’

exercise of their fiduciary duties.




                                                  22
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 24 of 388




         Based upon the foregoing findings and conclusions, the DIP Motion, and the record before

this Court with respect to the DIP Motion, and after due consideration and good and sufficient

cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

I.       Authorization and Terms of Financing.

         1.        DIP Motion Granted. The interim relief sought in the DIP Motion is granted, the

interim financing described herein is authorized and approved, and the use of Revolving Credit

Cash Collateral during the Interim Period is authorized, in each case subject to the terms and

conditions set forth in the DIP Financing Documents, the Approved Budget and this Interim Order.

All objections to this Interim Order to the extent not withdrawn, waived, settled, or resolved are

hereby denied and overruled. This Interim Order shall become effective immediately upon its

entry.

         2.        Authorization to Borrow, Guaranty, and Use Loan Proceeds. To prevent immediate

and irreparable harm to the Debtors’ Estates, the Debtors are hereby expressly authorized and

empowered to immediately borrow, or guaranty, as applicable, and obtain, on a joint and several

basis, DIP Revolving Loans under the DIP Revolving Facility (including all Letters of Credit

(which term shall include letters of credit issued under the Pre-Petition Loan Documents and which

letters of credit shall be deemed to have been issued under the DIP Revolving Financing

Documents immediately upon entry of this Interim Order)) and DIP Term Loans under the DIP

Term Facility, and the Debtors (on a joint and several basis) are hereby authorized and empowered

to incur all other indebtedness and obligations owing to the DIP Agents and the DIP Lenders

(including, without limitation, Designated Cash Management Services Obligations (as defined in

the DIP Revolving Credit Agreement)) on the terms and subject to the conditions and limitations

set forth in the DIP Financing Documents and this Interim Order, during the Interim Period up to

                                                   23
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 25 of 388




the maximum aggregate amount of $8,400,000 with respect to the DIP Revolving Facility, and

$14 million with respect to the DIP Term Facility, subject, as applicable, to the Approved Budget

(with any variances permitted thereto under the terms and conditions of the DIP Credit Agreements)

and from the entry of this Interim Order through and including the earliest to occur of (i) entry of

the Final Order or (ii) the Termination Date (as defined in the DIP Credit Agreements). For the

avoidance of doubt, notwithstanding anything else provided for in this Interim Order, all

reimbursement obligations and fees with respect to Designated Cash Management Services

Obligations (as defined in the DIP Revolving Credit Agreement) accruing after the Petition Date

as well as Letters of Credit that, immediately upon entry of this Interim Order, shall be deemed to

have been issued under the DIP Revolving Financing Documents, shall constitute DIP Revolving

Obligations.

         3.        Financing Documents.

                   (a)   Authorization. The Debtors are hereby authorized to execute, deliver, enter

into and, as applicable, perform all of their obligations under the DIP Financing Documents. The

Debtors are hereby authorized to borrow money pursuant to the DIP Credit Agreements, which

shall be used for all limited purposes permitted hereunder and under the DIP Financing Documents

(and subject to and in accordance with the Approved Budget). Upon entry of this Interim Order,

in furtherance of the foregoing and without further approval of this Court, the Debtors are hereby

authorized and empowered, and the automatic stay imposed by Bankruptcy Code section 362 is

hereby lifted to the extent necessary, to: (i) enter into, execute, deliver, perform, and comply with

all of the terms, conditions, and covenants of the DIP Financing Documents, including, without

limitation, the DIP Credit Agreements, the Fee Letters (as defined in the DIP Term Credit

Agreement) and all security and pledge agreements; (ii) execute and deliver all certificates, reports,



                                                  24
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 26 of 388




statements, and other agreements and documents required or contemplated by the DIP Financing

Documents (including, without limitation, documents required for the Debtors’ performance of

their obligations under the DIP Financing Documents and the creation and perfection of liens

granted or contemplated therein); and (iii) pay all obligations incurred under the DIP Financing

Documents in accordance herewith (whether principal, interest, fees, costs, expenses, indemnities,

or other amounts described in the DIP Financing Documents as such amounts become earned, due,

and payable and without need to obtain further Court approval, including, without limitation,

closing fees, unused line fees, arrangement fees, structuring fees, servicing fees, audit fees,

appraisal fees, liquidator fees, administrative agent’s fees, prepayment premiums, and the fees and

disbursements of the DIP Agents’ attorneys, advisors, accountants, and other consultants, whether

or not such fees arose before or after the Petition Date), and perform all other undertakings and

acts required or contemplated by, the DIP Financing Documents.

                   (b)   Approval of Financing Documents. The DIP Financing Documents (and all

certificates, reports, statements, and other agreements and documents) are approved to the extent

necessary to implement the terms and provisions of this Interim Order.

                   (c)   Amendment of DIP Financing Documents. The Debtors, the DIP Agents,

and the DIP Lenders are hereby authorized to approve and implement, in accordance with the

terms of the DIP Financing Documents, any modification of the DIP Financing Documents;

provided, however, that any material modification or amendment to the DIP Financing Documents

that is materially adverse to the interests of the Debtors or their Estates (or to the interest of any of

the DIP Secured Parties or the Pre-Petition Secured Parties) shall be subject to providing notice of

such material modification or amendment to counsel to any Creditors’ Committee, the U.S. Trustee,

the Pre-Petition Revolving Agent and DIP Revolving Agent (if such material modification is to



                                                   25
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23     Page 27 of 388




the DIP Term Credit Agreement), and the Pre-Petition Term Agent and DIP Term Agent (if such

material modification is to the DIP Revolving Credit Agreement), each of which shall have three

(3) business days from the date of such notice within which to object in writing to such

modification or amendment unless the Creditors’ Committee, U.S. Trustee, the Pre-Petition

Revolving Agent, DIP Revolving Agent, the Pre-Petition Term Agent, and/or the DIP Term Agent,

as applicable, agrees in writing to a shorter period. If no timely objection is raised by any Creditors’

Committee, the U.S. Trustee, the Pre-Petition Revolving Agent, the Pre-Petition Term Agent or a

DIP Agent (not a party thereto) to any material modification or amendment to the DIP Financing

Documents, then such modification or amendment shall become effective upon the expiration of

the aforementioned notice period. If a timely objection is interposed, the Court shall resolve such

objection prior to such modification or amendment becoming effective.

                   (d)   Application of DIP Facility Proceeds.          The advances under the DIP

Facilities and Revolving Credit Cash Collateral shall be used in each case solely in a manner

consistent with the terms and conditions of the DIP Financing Documents and this Interim Order,

including, solely with respect to proceeds of the DIP Term Facility, the Permitted DIP Term Uses,

and in accordance with and as may be limited by the Approved Budget (subject to any variances

thereto permitted under the terms and conditions of the DIP Credit Agreements), solely as follows:

                         (i)   to pay fees, costs, and expenses as provided in the applicable DIP

Financing Documents, including amounts incurred in connection with the preparation, negotiation,

execution and delivery of the DIP Credit Agreements and the other DIP Financing Documents;

provided that (A) proceeds of the DIP Revolving Facility shall be used to pay fees, costs, and

expenses owed to DIP Revolving Secured Parties solely under the DIP Revolving Financing

Documents, and (B) proceeds of the DIP Term Facility shall be used to pay fees, costs, and



                                                  26
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 28 of 388




expenses owed to DIP Term Secured Parties solely under the DIP Term Financing Documents;

provided further that (x) no (1) Revolving Credit Cash Collateral, (2) Revolving Loan Priority

Collateral and proceeds thereof, or (3) proceeds of the DIP Revolving Facility shall be used to pay

fees, costs, and expenses owed to DIP Term Secured Parties hereunder or under the DIP Term

Financing Documents, the Pre-Petition Term Secured Parties hereunder or under the Pre-Petition

Term Financing Documents, and (y) no (1) Term Loan Priority Collateral and proceeds thereof or

(2) proceeds of the DIP Term Facility shall be used to pay fees, costs, and expenses owed to DIP

Revolving Secured Parties hereunder or under the DIP Revolving Facility or the Pre-Petition

Revolving Secured Parties hereunder or under the Pre-Petition Revolving Financing Documents.

                         (ii)    for general operating and working capital purposes, for the payment

of fees, expenses, and costs incurred in connection with the Chapter 11 Cases, and other proper

corporate purposes of the Debtors not otherwise prohibited by the terms hereof for working capital,

and other lawful corporate purposes of the Debtors;

                         (iii)   for making other payments as expressly provided in this Interim

Order and the Approved Budget;

                         (iv)    following entry of a Final Order, at the discretion of the DIP

Revolving Agent, to effectuate the Final ABL Roll-Up (subject to Section VIII below), without

which the DIP Revolving Lenders would not be willing to provide the DIP Revolving Loans;

                         (v)     to fund the Carve Out Reserve Account (as defined herein) on the

terms described herein.

                   (e)   Conditions Precedent. The DIP Lenders shall have no obligation to make

any loan or advance (or, with respect to the DIP Revolving Secured Parties, issue any new letter

of credit) under the DIP Credit Agreements unless the conditions precedent to such loan or



                                                   27
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 29 of 388




extension of credit under the DIP Credit Agreements have been satisfied in full or waived in

accordance with the DIP Credit Agreements.

                   (f)   Budget Maintenance. The Debtors’ proposed budget shall become the

“Approved Budget” upon written approval of such budget by the DIP Agents, and the Debtors

shall update the Approved Budget each month unless otherwise agreed to by the DIP Agents,

subject to written approval of the DIP Agents. A copy of any updated Approved Budget shall be

filed with the Court within one (1) business day after it has been approved in writing by the DIP

Agents.

         4.        Payments and Application of Payments. The Debtors are authorized to make all

payments and transfers of the Estates’ property to the DIP Agents and the DIP Lenders as provided,

permitted, or required under the DIP Financing Documents and this Interim Order, which

payments, proceeds, and other amounts shall be applied (a) either to the Pre-Petition Revolving

Obligations or the DIP Revolving Obligations in such order and manner determined by the DIP

Revolving Agent’s sole and absolute discretion, including to effectuate the Interim ABL Roll-Up,

or (b) to the DIP Term Obligations and thereafter to the Pre-Petition Term Obligations in

accordance with the DIP Term Financing Documents or the Pre-Petition Term Credit Agreement,

as applicable. Upon entry of this Interim Order, the DIP Financing Documents shall constitute

legal, valid, binding, and non-avoidable obligations of the Debtors, enforceable in accordance with

the terms of this Interim Order and the other DIP Financing Documents, against each Debtor, or

in any case under chapter 7 of the Bankruptcy Code upon the conversion of any of the Chapter 11

Cases or any other chapter of the Bankruptcy Code, or in any other proceedings superseding or

related to any of the foregoing (collectively, the “Successor Cases”). No obligation, payment,

transfer, or grant of security hereunder or under the DIP Financing Documents to the DIP Agents



                                                  28
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 30 of 388




and/or the DIP Lenders shall be stayed, restrained, voidable, avoidable, or recoverable under the

Bankruptcy Code or under applicable law (including, without limitation, under Bankruptcy Code

sections 502(d), 544, and 547 to 550 or under any applicable state Uniform Voidable Transactions

Act, Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, or similar statute or

common law), or subject to any defense, avoidance, reduction, setoff, recoupment, offset,

recharacterization, subordination (whether equitable, contractual, or otherwise), disallowance,

impairment, claim, counterclaim, cross-claim, or challenge, whether under the Bankruptcy Code

or any other applicable law or regulation by any person or entity for any reason. Without limiting

the generality of the foregoing, and subject to the provisos in paragraph 3(d)(i) above, the Debtors

are authorized, without further Order of this Court, to (i) pay all principal, interest, fees, and

indemnities when due, under the DIP Financing Documents and (ii) pay or reimburse the DIP

Secured Parties, in accordance with the DIP Financing Documents for all present and future costs

and expenses, including, without limitation, all reasonable and documented professional fees,

consultant fees, and legal fees and expenses paid or incurred by the DIP Secured Parties in

connection with the financing transactions as provided in the DIP Financing Documents and this

Interim Order regardless of whether such amounts are in the Approved Budget; provided, however,

that each DIP Agent shall send a redacted summary invoice of any post-petition professional fees,

consultant fees, and legal fees and expenses incurred by such DIP Secured Party (subject in all

respects to applicable privilege or work product doctrines) to the Debtors and their counsel, the

U.S. Trustee and, if appointed, the Creditors’ Committee or its counsel. Within ten (10) days after

delivery of such invoices in accordance with this paragraph (or such shorter time period agreed to

by the DIP Agents, the Debtors, the U.S. Trustee, and, if appointed, the Creditors’ Committee),

the Debtors shall pay such fees and costs; provided, however, that to the extent an objection has



                                                 29
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 31 of 388




been raised to certain professional, consultant, or legal fees and costs incurred on or after the

Petition Date within such ten (10) days, Debtors shall pay only such fees and costs to which no

objection has been raised; provided further, that such ten (10) day notice period shall not apply to

the payment of any such professional, consultant, or legal fees and costs paid on or about (x) the

effective date of, a plan of reorganization (the “Chapter 11 Plan”) in the Chapter 11 Cases or (y)

the closing of any sale of Debtors’ assets that results in the payment in full of all Pre-Petition

Obligations and Post-Petition Obligations owed to the Prepetition Revolving Secured Parties or

Prepetition Term Secured Parties, as applicable, or DIP Revolving Secured Parties or DIP Term

Secured Parties, as applicable. To the extent there is an objection with respect to any such

professional, consultant, or legal fees, costs and expenses that is not consensually resolved, this

Court may resolve the objection. Such written invoices shall include the invoices of Blank Rome

LLP, counsel to the DIP Revolving Agent, Focus Management Group, financial advisor to the DIP

Revolving Agent, Chapman and Cutler LLP, counsel to the DIP Term Agent, and any other

professional, advisor, or agent reasonably retained by the DIP Agents in connection with the

Chapter 11 Cases and as permitted by the DIP Financing Documents; provided, however, that none

of such fees and expenses payable pursuant to this paragraph shall be subject to the United States

Trustee Guidelines or shall require approval by the Court unless an objection is interposed that

cannot be resolved by the parties. No recipient of any such payment shall be required to file with

respect thereto any interim or final fee application with the Court.

         5.        Interest and Fees. The rate(s) of interest to be charged for the DIP Revolving Loans

and DIP Term Loans, as applicable, under the DIP Revolving Facility and DIP Term Facility, as

applicable, shall be the rates set forth in the DIP Revolving Credit Agreement and DIP Term Credit

Agreement, as applicable, and shall be calculated in the manner and payable at the times set forth



                                                    30
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 32 of 388




therein. The fees charged under the DIP Facilities shall be those set forth in the applicable DIP

Credit Agreement and shall be unconditionally payable in the amounts and at the times set forth

in the applicable DIP Credit Agreement, including, without limitation, the Unused Line Fee and

the Closing Fee (each as defined in the DIP Revolving Credit Agreement), which Closing Fee shall

be absolutely and unconditionally earned upon entry of this Interim Order and execution of the

DIP Credit Revolving Agreement, and which shall be non-refundable. The Debtors are hereby

authorized and directed to pay, in accordance with this Interim Order, the principal, interest, fees,

payments, expenses, and other amounts described above and in the DIP Financing Documents as

such amounts become due and without need to obtain further Court approval, and the Debtors shall

be jointly and severally obligated to pay all such amounts, and satisfy all such obligations, which

in each case shall constitute DIP Obligations hereunder and under the applicable DIP Financing

Documents.

         6.        Application of Collections.

                   (a)    All cash, collections, and proceeds of the Revolving Loan Priority

Collateral and the DIP Collateral that is Revolving Loan Priority Collateral shall be applied to

reduce the Pre-Petition Revolving Obligations and the DIP Revolving Obligations in accordance

with the terms of the DIP Revolving Financing Documents and the Pre-Petition Revolving

Financing Documents, as applicable, and this Interim Order, in such order and manner determined

by the DIP Revolving Agent in its sole and absolute discretion, subject, as applicable, to the

Intercreditor Agreement.

                   (b)    All cash, collections, and proceeds of the Term Loan Priority Collateral and

the DIP Collateral that is Term Loan Priority Collateral shall be applied first in reduction of the

DIP Term Obligations in accordance with the terms of the DIP Term Financing Documents and



                                                    31
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 33 of 388




this Interim Order and then against the Pre-Petition Term Obligations, subject, as applicable, to

the Intercreditor Agreement.

                   (c)    If any of the Pre-Petition Secured Parties or DIP Secured Parties, in their

capacity as such, obtain possession or control of any Pre-Petition Collateral or DIP Collateral, such

Pre-Petition Secured Party shall notify the DIP Agents thereof and its possession or control of such

Pre-Petition Collateral or DIP Collateral shall additionally be deemed to be for the benefit of the

DIP Agents and the DIP Lenders, subject to the terms of the Intercreditor Agreement and/or the

Lien Priority Chart and Claim Priority Chart, as applicable.

         7.        Continuation of Pre-Petition Procedures. Subject to the Intercreditor Agreement,

the Lien Priority Chart, and Claim Priority Chart, as applicable, all pre-petition practices and

procedures for the payment and collection of proceeds of Revolving Loan Priority Collateral,

whether Pre-Petition Collateral or DIP Collateral, including the turnover of Revolving Credit Cash

Collateral to the DIP Revolving Agent for application in accordance with this Interim Order and

the DIP Revolving Credit Agreement, and the use of any lockbox or blocked depository bank

account arrangements, will be unchanged, remain in place, and be identical under the DIP

Revolving Financing Documents for the benefit of the DIP Revolving Agent and the DIP

Revolving Lenders and are hereby approved and shall continue without interruption after the

commencement of the Chapter 11 Cases; provided, however, that the practices and procedures are

otherwise consistent with the terms of the Interim Order (I) Authorizing Continued Use of

Prepetition Bank Accounts, Cash Management System, Forms, and Books and Records and (II)

Granting Related Relief and any further final orders that may be entered with respect to the Debtors’

cash management system.




                                                   32
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 34 of 388




         8.        Final ABL Roll-Up. Upon entry of the Final Order, without any further action by

the Debtors or any other party, and subject to the rights of parties set forth in Section VIII below,

at the option of DIP Revolving Agent and in accordance with the DIP Revolving Credit Agreement

and the other DIP Revolving Financing Documents, the Debtors may use the proceeds of the next

advance (or deemed advance) under the DIP Revolving Credit Agreement to exchange and

substitute all of the remaining Pre-Petition Revolving Obligations, including without limitation the

Pre-Petition Revolving Loans outstanding under the Pre-Petition Revolving Credit Agreement on

the date of the Final Order on a cashless, dollar-for-dollar basis with the DIP Revolving Facility

and subject to the terms and conditions set forth in the DIP Revolving Financing Documents. The

Final ABL Roll-Up shall be subject to the challenge rights of the parties set forth in Section VIII

below.

         9.        [Reserved.]

II.      Collateralization and Superpriority Administrative Claim Status.

         10.       Collateralization.

                   (a)    DIP Lien Grant. Subject to and in accordance with the priorities as set forth

in the lien priority chart attached hereto as Exhibit 3 (the “Lien Priority Chart”), to secure the

prompt payment and performance of any and all DIP Obligations of the Debtors to each DIP Agent

and the DIP Lenders of whatever kind, nature, or description, absolute or contingent, now existing

or hereafter arising, each DIP Agent, for the benefit of itself and the applicable DIP Lenders, shall

have and is hereby granted, effective as of and from the Petition Date, valid, binding, enforceable,

continuing, non-avoidable and perfected security interests and liens (such security interests and

liens collectively, “DIP Liens”) in and upon all property and rights and interests in property of

each of the Debtors or their Estates of any kind or nature whatsoever in existence as of the Petition

Date as well as thereafter created or acquired, and wherever located, including, without limitation:
                                                    33
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 35 of 388




(i) all Pre-Petition Collateral; (ii) all accounts and accounts receivable, inventory, chattel paper,

equipment, fixtures, machinery, commercial tort claims, deposit accounts, instruments, documents,

cash and cash equivalents, investment property (including without limitation all equity interests in

subsidiaries), books and records, patents, trademarks, trade names, copyrights, rights under license

agreements and all other intellectual property, rights, rebates, refunds and other claims under and

with respect to insurance policies, tax refunds, deposits, rebates, contract rights and other general

intangibles, software, letter of credit rights, money, and inter-company claims or receivables

(whether or not evidenced by notes) at any time owing to each Debtor; (iii) all real property,

leaseholds, rents and profits, and proceeds thereof; (provided, however, that as to a lien on all fee,

leasehold, and other real property interests and the proceeds thereof: (A) with respect to non-

residential real property leases, no liens or encumbrances shall be granted or extended to such

leases under this Interim Order, except as permitted by the applicable lease or applicable law,

provided further that if any such restriction applies, liens shall then be deemed to be granted and

created upon the economic value thereof, including the proceeds of any sale or other disposition

of, and any other proceeds or products of, such leasehold interests; and (B) should DIP Agents’ or

any DIP Lender’s internal regulatory or compliance requirements require the completion of either

or both flood due diligence and obtaining evidence of applicable flood insurance with respect to

any real property or leasehold interest, then until completion of such flood due diligence, each DIP

Agent shall be deemed to have obtained a lien only on the economic value of, proceeds of any sale

or other disposition of such real property interests); (iv) if not otherwise described above, all of

the property or rights in property identified as Collateral (as defined in each Pre-Petition Credit

Agreement) and Collateral (as defined in each DIP Credit Agreement); (v) all claims and causes

of action of the Debtors and their Estates, whether pursuant to federal or applicable state law, and



                                                 34
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 36 of 388




the proceeds thereof and property received thereby, whether by judgment, settlement, or otherwise

including, and upon entry of a Final Order, all claims and causes of action under chapter 5 of the

Bankruptcy Code and Bankruptcy Code section 724(a) (collectively “Avoidance Actions”) and

all proceeds thereof and the property received thereby whether by judgment, settlement, or

otherwise, whether pursuant to federal law or applicable state law; (vi) subject to Section V of this

Interim Order and the Lien Priority Chart and Claim Priority Chart, the reversionary interest in the

Carve Out Reserve Account and all funds on deposit in the Carve Out Reserve Account and the

reversionary interests in all other segregated or reserve accounts; (vii) all other personal property

of the Debtors and their Estates of every kind and nature; and (viii) as to all of the foregoing, all

rents, issues, products, proceeds (including insurance policies), and profits of, from, or generated

by any of the foregoing, in whatever form (all of the foregoing being collectively referred to in

this Interim Order as “DIP Collateral”).

                   (b)   Subject to and in accordance with the priorities as set forth in the Lien

Priority Chart, the DIP Liens shall be:

                         (i)    Liens on Unencumbered Property. Pursuant to Bankruptcy Code

section 364(c)(2), continuing valid, perfected, enforceable, and non-avoidable, and fully perfected

liens on and security interests in all now owned or hereafter acquired assets and property of the

Debtors’ right, title, and interest in, to, and under all DIP Collateral that is not otherwise

encumbered by a validly perfected security interest or lien as of the Petition Date, including

Avoidance Actions and proceeds thereof upon entry of the Final Order;

                         (ii)   Liens on Encumbered Assets. Pursuant to Bankruptcy Code section

364(c)(3), a continuing valid, enforceable, and non-avoidable, and fully perfected lien on and

security interest (other than as set forth in clauses (iii) and (iv) below) in all now owned or hereafter



                                                   35
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 37 of 388




acquired assets and property of the Debtors’ right, title, and interest in, to, and under all DIP

Collateral that is subject to, as of the Petition Date, a Senior Lien and the Lien Priority Chart;

                         (iii)   Priming Liens on Encumbered Assets. Subject to any applicable

Senior Liens, pursuant to Bankruptcy Code section 364(d), valid, enforceable, non-avoidable, and

fully perfected priming security interests in and priming liens upon all now owned or hereafter

acquired assets and property of the Debtors’ right, title, and interest in, to, and under all Pre-

Petition Collateral;

                         (iv)    Liens Senior to Certain Other Liens. Notwithstanding anything to

the contrary contained in this Interim Order, the DIP Liens and the Adequate Protection Liens (as

defined herein) shall not be subject to (A) avoidance or subordination (equitable or otherwise)

under Bankruptcy Code sections 510, 549, or 550, or any other provision of the Bankruptcy Code

or applicable law (B) any lien or security interest that is avoided or preserved for the benefit of the

Debtors or their Estates under Bankruptcy Code section 551, (C) any liens arising after the Petition

date provided for herein or (D) any intercompany or affiliate liens of the Debtors, if any; provided

that the DIP Liens and Adequate Protection Liens shall be subject to the priorities set forth in the

Lien Priority Chart and the Adequate Protection Liens shall be subject to Section VIII herein.

                   (c)   Post-Petition Lien Perfection. This Interim Order shall be sufficient and

conclusive evidence of the priority, perfection, and validity of the post-petition liens and security

interests granted herein, effective as of the Petition Date, without any further act and without regard

to any other federal, state, or local requirements or law requiring notice, filing, registration,

recording, or possession of the DIP Collateral, or other act to validate or perfect such security

interest or lien, including, without limitation, control agreements with any financial institution(s)

holding any deposit account of the Debtors (a “Perfection Act”). Notwithstanding the foregoing,



                                                  36
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 38 of 388




if the DIP Agents or the Pre-Petition Agents elect for any reason to file, record, or otherwise

effectuate any Perfection Act, each of the DIP Agents and the Pre-Petition Agents, as applicable,

is authorized to perform such Perfection Act, and the Debtors are authorized to perform such

Perfection Acts to the extent necessary or required by the DIP Agents or Pre-Petition Agents,

which act or acts shall be deemed to have been accomplished as of the Petition Date

notwithstanding the date and time actually accomplished, and in such event, the subject filing or

recording office is authorized to accept, file, or record any document in regard to such act in

accordance with applicable law. The DIP Agents and/or the Pre-Petition Agents may choose, or

may choose to direct the Debtors, to file, record, or present a certified copy of this Interim Order

in the same manner as a Perfection Act, which shall be tantamount to a Perfection Act, and, in

such event, the subject filing or recording office is authorized to accept, file, or record such

certified copy of this Interim Order in accordance with applicable law. Should the DIP Agents

and/or the Pre-Petition Agents so choose and attempt to file, record, or perform a Perfection Act,

no defect or failure in connection with such attempt shall in any way limit, waive, or alter the

validity, enforceability, attachment, priority, or perfection of the DIP Liens or the Adequate

Protection Liens granted herein by virtue of the entry of this Interim Order.

         11.       Superpriority Administrative Expense.

                   (a)    For the applicable DIP Obligations, whether now existing or hereafter

arising pursuant to this Interim Order, the applicable DIP Financing Documents, or otherwise,

subject only to the Carve Out, the DIP Agents, for the benefit of itself and the applicable DIP

Lenders, is granted an allowed superpriority administrative expense claim in the Debtors’ Estates

pursuant to Bankruptcy Code section 364(c)(1), having priority in right of payment over any and

all other obligations, liabilities, and indebtedness of any of such Debtors as provided in the



                                                   37
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 39 of 388




superpriority claim priority chart attached hereto as Exhibit 2 (the “Claim Priority Chart”),

whether now in existence or hereafter incurred by any of such Debtors, of every kind or nature,

including any and all unsecured claims, administrative expenses, adequate protection claims,

priority claims or any other claims of the kind specified in, or ordered pursuant to, the Bankruptcy

Code, including without limitation, inter alia, Bankruptcy Code sections 105, 326, 328, 330, 331,

503(b), 507, 364(c)(1), 546(c), 726, or 1114 and, upon entry of a Final Order, sections 506(c) and

552(b) (the “DIP Superpriority Claims”).

                   (b)    Other than as provided in the Claim Priority Chart, (i) with respect to rights

preserved under Bankruptcy Code section 506(c), no costs or expenses of administration, including,

without limitation, professional fees allowed and payable under Bankruptcy Code sections 328,

330, and 331, or otherwise, that have been or may be incurred in the Chapter 11 Cases, or in any

Successor Cases, and (ii) no priority claims are, or will be, senior to, prior to, or pari passu with

the DIP Superpriority Claims or the DIP Obligations or with any other claims of the DIP Lenders

arising hereunder.

III.    Authorization to Use Revolving Credit Cash Collateral.

         12.       Subject to the terms and conditions of this Interim Order, pursuant to Bankruptcy

Code section 363(c)(2), the Debtors are authorized to use Revolving Credit Cash Collateral, in

accordance with the DIP Revolving Credit Agreement and as may be limited by the Approved

Budget (subject to variances permitted under the terms and conditions of the DIP Revolving Credit

Agreement). Absent entry of the Final Order by the Court, the Debtors shall no longer be

authorized to use Revolving Credit Cash Collateral at the expiration of the Interim Period without

the prior written approval of the DIP Revolving Agent. Except for the sale of inventory in the

ordinary course of Debtors’ business (and the proceeds thereof) or as may be otherwise expressly

permitted herein or in the DIP Credit Agreements, or in any agency arrangement between Debtors
                                                    38
4860-5063-8705.5
                Case 23-10961-BLS            Doc 13-1         Filed 07/22/23      Page 40 of 388




and a third party in connection with the liquidation of the DIP Collateral approved in writing by

DIP Agents and Pre-Petition Revolving Agent, nothing in this Interim Order shall be deemed to

authorize the use, sale, lease, encumbrance, or disposition of any assets of the Debtors or their

Estates or the use of any Revolving Credit Cash Collateral or other proceeds resulting therefrom.6

IV.     Adequate Protection for Pre-Petition Secured Parties.

         13.        Pre-Petition Revolving Credit Adequate Protection. Subject to the Lien Priority

Chart, the Claim Priority Chart and the Intercreditor Agreement, as adequate protection for the

interests of the Pre-Petition Revolving Agent in the Pre-Petition Collateral, for the benefit of the

Pre-Petition Revolving Credit Lenders, on account of the Adequate Protection Obligations, the

Pre-Petition Revolving Agent is being provided with adequate protection as set forth below.

                    (a)     Revolving Credit Adequate Protection Liens. Solely to the extent of any

Diminution in Value of such interests pursuant to Bankruptcy Code section 361 and 363(c), and

subject to the priority set forth in the Lien Priority Chart, the Debtors shall grant the Pre-Petition

Revolving Agent, for itself and for the benefit of the Pre-Petition Revolving Credit Lenders, valid

and perfected replacement security interests in, and liens on (the “Revolving Credit Adequate

Protection Liens”), the DIP Collateral.

                            (i)      The Revolving Credit Adequate Protection Liens shall be deemed to

be valid, binding, enforceable and fully-perfected as of the Petition Date and, subject to Section

VIII below, not subject to subordination (except as set forth in the Intercreditor Agreement and the

Lien Priority Chart) or avoidance for any cause or purpose in these Chapter 11 Cases.

                            (ii)     The Revolving Credit Adequate Protection Liens shall be

enforceable against the Debtors, their Estates and any successors thereto, including without


         6
             NTD – Confirm whether there is any Term Loan Priority Collateral being sold and proceeds being used.

                                                         39
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 41 of 388




limitation, any trustee or other Estate representative appointed or elected in the Chapter 11 Cases

or any Successor Cases. Except as set forth in the Lien Priority Chart, the Revolving Credit

Adequate Protection Liens (A) shall not be made subject to or pari passu with any lien or security

interest by any court Order heretofore or hereafter entered in these Chapter 11 Cases (unless with

the consent of the Pre-Petition Revolving Secured Parties); (B) upon entry of a Final Order, shall

not be subject to Bankruptcy Code section 506(c); (C) shall not be subject to Bankruptcy Code

sections 510, 549, or 550; and (D) no lien or interest avoided and preserved for the benefit of any

Estate pursuant to Bankruptcy Code section 551 shall be made pari passu with or senior to the

Revolving Credit Adequate Protection Liens.

                   (b)   Revolving Credit Adequate Protection Claim.          As further adequate

protection, to the extent that the Revolving Credit Adequate Protection Liens do not adequately

protect the Diminution in Value of the Pre-Petition Revolving Secured Parties’ interests in the Pre-

Petition Collateral, the Pre-Petition Revolving Agent, for the benefit of the Pre-Petition Revolving

Secured Parties, is hereby granted, to the extent of such Diminution in Value, an allowed

superpriority administrative expense claim (the “Revolving Credit Adequate Protection Claim”

and together with the Revolving Credit Adequate Protection Liens, the “Revolving Credit

Adequate Protection”) in these Chapter 11 Cases or an Successor Cases against the Debtors’

Estates under Bankruptcy Code sections 503 and 507(b), which shall be consistent with the priority

set forth in the Claim Priority Chart, have priority over all other administrative expense claims,

priority claims, and unsecured claims against the Debtors or their Estates, which are now existing

or hereafter arising, of any kind or nature whatsoever, including, without limitation, administrative

expenses and priority or other claims of the kinds specified in or ordered pursuant to Bankruptcy




                                                 40
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 42 of 388




Code sections 105, 326, 328, 330, 331, 364, 365, 503(a), 503(b), 506(c) (upon entry of a Final

Order), 507(a), 507(b), 546(c), 546(d), 726, 1113, and 1114.

                   (c)   Interest. As further adequate protection, the Pre-Petition Revolving Agent,

for the benefit of the Pre-Petition Revolving Secured Parties, shall be entitled to interest accruing

on account of the outstanding Pre-Petition Revolving Obligations at the default rate set forth in the

Pre-Petition Revolving Financing Documents, which was in effect as of the Petition Date and

which shall accrue and be paid at the times and in the manner set forth in the Pre-Petition Revolving

Financing Documents.

                   (d)   Revolving Credit Adequate Protection Payments. As further adequate

protection, and without limiting any rights of the Pre-Petition Revolving Agent, for the benefit of

the Pre-Petition Revolving Secured Parties, under Bankruptcy Code section 506(b) (which rights

are hereby preserved), the Debtors shall pay or reimburse the Pre-Petition Revolving Agent (the

“Revolving Credit Adequate Protection Payments”) for any and all of its reasonable fees, costs,

expenses, and charges accrued and payable under the Pre-Petition Revolving Financing

Documents, including, without limitation, the fees, costs and expenses of the Pre-Petition

Revolving Agent (including attorneys’ fees and costs) as provided in section 16.9 of the Pre-

Petition Revolving Credit Agreement, whether accrued and unpaid pre-petition or accrued and

unpaid post-petition, all without further notice, motion, or application to, Order of, or hearing

before, this Court; provided, however, that the DIP Revolving Agent shall be permitted to include

such fees and expenses in the DIP Revolving Obligations and make a Revolving Advance (as

defined in the DIP Revolving Credit Agreement; as used herein, the “DIP Revolving Loans”) for

the purposes of effectuating such payment by the Debtors. Except as provided for in paragraph

13(e) below, any and all fees, costs, and expenses charged under the Pre-Petition Revolving



                                                  41
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 43 of 388




Financing Documents (including, without limitation, collateral management fees, Letter of Credit

Fees, and the Unused Line Fee (each as defined in the Pre-Petition Revolving Credit Agreement))

shall be as set forth in the Pre-Petition Revolving Financing Documents and shall be payable at

the times set forth in the Pre-Petition Revolving Financing Documents.

                   (e)   Payment of Professional, Consulting, and Legal Fees as Revolving Credit

Adequate Protection Payments. Within ten (10) days after delivery by Pre-Petition Revolving

Agent of a redacted summary invoice (subject in all respects to applicable privilege or work

product doctrines) for all professional, consulting, and legal fees and expenses incurred by Pre-

Petition Revolving Agent to the Debtors and their counsel, the U.S. Trustee and, if appointed, a

Creditors’ Committee or its counsel (or such shorter time period agreed to by the Pre-Petition

Revolving Agent, Debtors, the U.S. Trustee, and, if appointed, the Creditors’ Committee), Debtors

shall pay such reasonable professional, consulting, and legal fees and costs from the DIP

Revolving Loans or Revolving Credit Cash Collateral, provided, however, that to the extent an

objection has been raised to certain professional, consulting, or legal fees and costs within such

ten (10) days, Debtors shall pay only such fees and costs to which no objection has been raised,

provided further, that such ten (10) day notice period shall not apply to the payment of any such

fees and costs paid at or in connection with (i) the closing of the DIP Facilities, (ii) pursuant to,

and on or about the effective date of, a Chapter 11 Plan in these Chapter 11 Cases, or (iii) the

closing of any sale of Debtors’ assets that results in the payment in full of all Pre-Petition

Obligations and Post-Petition Obligations owed to the Prepetition Revolving Secured Parties and

DIP Revolving Secured Parties, as applicable. To the extent there is an objection with respect to

such costs and fees that is not consensually resolved, the Court may resolve the objection. Such

written invoices shall include the invoices of Blank Rome LLP, as counsel to the Pre-Petition



                                                 42
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 44 of 388




Revolving Agent, Focus Management Group, as financial advisor to the Pre-Petition Revolving

Agent, and any other professional, advisor, or agent reasonably retained by the Pre-Petition

Revolving Agent or its counsel in connection with the Chapter 11 Cases and as permitted by the

Pre-Petition Revolving Financing Documents; provided, however, that none of such fees and

expenses paid pursuant to this paragraph shall be subject to the United States Trustee Guidelines

or shall require approval by the Court unless an objection is interposed that cannot be resolved by

the parties. No recipient of any such payment shall be required to file with respect thereto any

interim or final fee application with the Court.

         14.       Pre-Petition Term Loan Adequate Protection. Subject to the Lien Priority Chart,

the Claim Priority Chart and the Intercreditor Agreement, as adequate protection for the interests

of the Pre-Petition Term Agent in the Pre-Petition Collateral, for the benefit of the Pre-Petition

Term Lenders, on account of the Adequate Protection Obligations, the Pre-Petition Term Agent is

being provided with Term Loan Adequate Protection as set forth below.

                   (a)    Term Loan Adequate Protection Liens.           Solely to the extent of any

Diminution in Value of such interests pursuant to Bankruptcy Code section 361 and 363(c), and

subject to the priority set forth in the Lien Priority Chart, the Debtors shall grant the Pre-Petition

Term Agent for the benefit of the Pre-Petition Term Secured Parties valid and perfected

replacement security interests in, and liens on (the “Term Loan Adequate Protection Liens”;

and together with the Revolving Credit Adequate Protection Liens, the “Adequate Protection

Liens”), the DIP Collateral.

                          (i)    The Term Loan Adequate Protection Liens shall be deemed to be

valid, binding, enforceable and fully-perfected as of the Petition Date and, subject to Section VIII




                                                   43
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 45 of 388




below, not subject to subordination (except as set forth in the Lien Priority Chart and the

Intercreditor Agreement) or avoidance for any cause or purpose in these Chapter 11 Cases.

                         (ii)   The Term Loan Adequate Protection Liens shall be enforceable

against the Debtors, their Estates and any successors thereto, including without limitation, any

trustee or other Estate representative appointed or elected in the Chapter 11 Cases or any Successor

Cases. Except as set forth in the Lien Priority Chart, the Term Loan Adequate Protection Liens

(A) shall not be made subject to or pari passu with any lien or security interest by any court Order

heretofore or hereafter entered in these Chapter 11 Cases (unless with the consent of the Pre-

Petition Term Secured Parties); (B) except to the extent of the Carve Out and upon entry of the

terms of the Final Order, shall not be subject to Bankruptcy Code section 506(c); (C) shall not be

subject to Bankruptcy Code sections 510, 549, or 550; and (D) no lien or interest avoided and

preserved for the benefit of any Estate pursuant to Bankruptcy Code section 551 shall be made

pari passu with or senior to the Term Loan Adequate Protection Liens.

                   (b)   Term Loan Adequate Protection Claim. As further adequate protection, to

the extent that the Term Loan Adequate Protection Liens do not adequately protect the Diminution

in Value of the Pre-Petition Term Secured Parties’ interests in the Pre-Petition Collateral, the Pre-

Petition Term Secured Parties, are hereby granted, to the extent of such Diminution in Value, an

allowed superpriority administrative expense claim (the “Term Loan Adequate Protection

Claim” and together with the Revolving Credit Adequate Protection Claims, the “Adequate

Protection Claims”; and the Term Loan Adequate Protection Claim together with the Term Loan

Adequate Protection Liens, the “Term Loan Adequate Protection”) in these Chapter 11 Cases

or an Successor Cases against the Debtors’ Estates under Bankruptcy Code sections 503 and

507(b), which shall be consistent with the priority set forth in the Claim Priority Chart, have



                                                 44
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 46 of 388




priority over all other administrative expense claims, priority claims, and unsecured claims against

the Debtors or their Estates, which are now existing or hereafter arising, of any kind or nature

whatsoever, including, without limitation, administrative expenses and priority or other claims of

the kinds specified in or ordered pursuant to Bankruptcy Code sections 105, 326, 328, 330, 331,

364, 365, 503(a), 503(b), 506(c) (upon entry of a Final Order), 507(a), 507(b), 546(c), 546(d), 726,

1113, and 1114.

                   (c)   Interest. As further adequate protection, the Pre-Petition Term Agent, for

the benefit of the Pre-Petition Term Secured Parties, shall be entitled to interest accruing on

account of the outstanding Pre-Petition Term Obligations at the rate(s) and in the manner set forth

in the Pre-Petition Term Financing Documents, as in effect as of the Petition Date.

                   (d)   Term Loan Adequate Protection Payments. As further adequate protection,

and without limiting any rights of the Pre-Petition Term Agent, for the benefit of the Pre-Petition

Term Secured Parties, under Bankruptcy Code section 506(b) (which rights are hereby preserved),

the Debtors shall pay or reimburse the Pre-Petition Term Agent solely from proceeds of the DIP

Term Facility and/or Term Loan Priority Collateral (the “Term Loan Adequate Protection

Payments”; together with the Revolving Credit Adequate Protection Payments, the “Adequate

Protection Payments”) for any and all of its reasonable out of pocket costs, expenses, and charges

accrued and payable under the Pre-Petition Term Financing Documents, including, without

limitation, the fees and expenses of the Pre-Petition Term Agent and the Pre-Petition Term Lenders

(including attorneys’ fees and costs), as provided in the Pre-Petition Term Credit Agreement,

whether accrued and unpaid pre-petition or accrued and unpaid post-petition, all without further

notice, motion, or application to, Order of, or hearing before, this Court; provided, however, that

the DIP Term Agent shall be permitted to include such fees and expenses in the DIP Term



                                                  45
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23    Page 47 of 388




Obligations and make a DIP Term Loan for the purposes of effectuating such payment by the

Debtors.

                   (e)   Payment of Professional, Consulting, and Legal Fees as Term Loan

Adequate Protection Payments. Within ten (10) days after delivery by Pre-Petition Term Agent

of a redacted summary invoice (subject in all respects to applicable privilege or work product

doctrines) for all professional, consulting, and legal fees and expenses incurred by Pre-Petition

Term Agent to the Debtors and their counsel, the U.S. Trustee and, if appointed, a Creditors’

Committee or its counsel (or such shorter time period agreed to by the Pre-Petition Term Agent,

Debtors, the U.S. Trustee, and, if appointed, the Creditors’ Committee), Debtors shall pay such

reasonable fees and costs solely from proceeds of the DIP Term Facility and/or Term Loan Priority

Collateral, provided, however, that to the extent an objection has been raised to certain professional,

consulting, or legal fees and costs within such ten (10) days, Debtors shall pay only such fees and

costs to which no objection has been raised, provided further, that such ten (10) day notice period

shall not apply to the payment of any such fees and costs paid at or in connection with (i) the

closing of the DIP Facilities, (ii) pursuant to, and on the effective date of, a plan of reorganization

in the Chapter 11 Cases, or (iii) the closing of any sale of Debtors’ assets that results in the payment

in full of all Pre-Petition Obligations and Post-Petition Obligations owed to the Prepetition Term

Secured Parties and DIP Term Secured Parties, as applicable. To the extent there is an objection

with respect to such costs and fees that is not consensually resolved, the Court may resolve the

objection. Such written invoices shall include the invoices of Chapman and Cutler LLP, as counsel

to the Pre-Petition Term Agent and one local counsel for the Pre-Petition Term Agent, as necessary;

provided, however, that none of such fees and expenses paid pursuant to this paragraph shall be

subject to the United States Trustee Guidelines or shall require approval by the Court unless an



                                                  46
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 48 of 388




objection is interposed that cannot be resolved by the parties. No recipient of any such payment

shall be required to file with respect thereto any interim or final fee application with the Court.

V.      Carve Out.

         15.       Carve Out. The DIP Liens granted to the DIP Term Agent, DIP Superpriority

Claim provided to the DIP Term Agent, Term Loan Adequate Protection Liens, and Term Loan

Adequate Protection Claims shall be subject only to the right of payment and priority of the

following expenses (which expenses are collectively referred to as the “Carve Out”), to the extent

provided herein:

                   (a)   all fees required to be paid to the Clerk of the Court and to the U.S. Trustee

pursuant to 28 U.S.C. § 1930(a)(6), together with the statutory rate of interest, which shall not be

limited by any budget;

                   (b)   the allowed fees and expenses actually incurred by persons or firms retained

by the Debtors or the Committee (if appointed) on or after the Petition Date and prior to the

delivery of a Carve Out Trigger Notice (as defined herein) whose retention is approved by this

Court pursuant to Bankruptcy Code section 327, 328, 363, or 1103 (each a “Professional” and

collectively, the “Professionals”) and payable, subject in all respects to the terms of this Interim

Order, any Final Order, and any other interim or other compensation Order entered by this Court

in these Chapter 11 Cases (the “Interim Compensation Procedures”), (i) for the period prior to

the delivery of a Carve Out Trigger Notice to the Debtors, Debtors’ counsel, and counsel for any

Committee, an amount not to exceed the lesser of (A) the aggregate weekly amounts budgeted to

be funded in advance for each such Professional for such week in accordance with the Approved

Budget (to the extent a Carve Out Trigger Notice is delivered mid-week, pro-rated for such week)

and (B) the actual amount of such Allowed Professional Fees for each Professional incurred on or

after the Petition Date up through and including the date a Carve Out Trigger Notice is delivered
                                                   47
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23    Page 49 of 388




(“Allowed Professional Fees”). The Carve Out shall include all Allowed Professional Fees that

are incurred or earned (i) at any time before delivery of a Carve Out Trigger Notice as provided

above, whether allowed by the Court prior to or after delivery of a Carve Out Trigger Notice,

subject and limited in all respects to the amounts set forth in the Approved Budget for payment of

such Professionals, provided, that the budgeted disbursements for subsequent Approved Budget

periods shall be amended so that the Borrowers may (x) carry forward any unspent budgeted line

item disbursements for Professionals from prior periods and (y) carry back any unspent budgeted

line item disbursements for Professionals from future periods, and (ii) beginning the first day after

the delivery by DIP Term Agent of written notice (which for the avoidance of doubt may be by

electronic mail) of the occurrence of an Event of Default (as defined herein) (such notice, the

“Carve Out Trigger Notice”) to the Debtors, the Debtors’ counsel, counsel for any Committee,

and counsel for DIP Revolving Agent, the fees and expenses incurred by the Professionals retained

by the Debtors in an aggregate amount not to exceed $300,000 (the “Post-EOD Carve Out

Amount”) (the aggregate amount of clauses (a) and (b), collectively, the “Carve Out Cap”);

provided, however, that the Carve Out shall not include any bonus, sale transaction fees, success

fees, completion fees, substantial contribution fees, or any other fees of similar import of any of

the Professionals other than fees due to Greenhill & Co. LLC in an aggregate amount not to exceed

the sum of (a) $2,900,000, plus (b) $100,000 per month (the “Greenhill Monthly Fee”) for each

month that Greenhill & Co. LLC assists the Debtors during the Chapter 11 Cases, which fees are

being paid pursuant to that certain engagement letter dated December 21, 2022, as amended,

between certain of the Debtors and Greenhill & Co. LLC (the “Engagement Letter”); provided

that Greenhill & Co. LLC has agreed that, upon the closing of the sale of substantially all of the

assets of the Debtors, the fee to be paid to Greenhill pursuant to clause (a) above shall be reduced, in

accordance with the terms of the Engagement Letter, by an amount equal to 50% of the aggregate Greenhill

                                                  48
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 50 of 388




Monthly Fee paid to Greenhill & Co. LLC for its assistance to the Debtors during the Chapter 11 Cases.

Notwithstanding the foregoing, the Carve Out Trigger Notice shall be deemed to have been

delivered to the required notice parties on the Termination Date (as defined in the DIP Credit

Agreements).

                   (c)   Subject to the terms of this Interim Order, the Carve Out Cap shall be

allocated on a Professional-by-Professional basis based on the amounts budgeted to be funded in

advance for each Professional pursuant to the Approved Budget.

                   (d)   For the avoidance of doubt, (i) so long as a Carve Out Trigger Notice has

not been issued, the Debtors shall be permitted to pay Allowed Professional Fees as the same may

be due and payable in accordance with the DIP Term Credit Agreement and this Interim Order;

and (ii) nothing herein shall be construed to impair the ability of any party to object to the fees,

expenses, reimbursement or compensation described herein.

         16.       Excluded Professional Fees. Notwithstanding anything to the contrary in this

Interim Order, neither the Carve Out, nor the proceeds of the DIP Facilities or DIP Collateral shall

be used to pay any Allowed Professional Fees or any other fees or expenses incurred by any

Professional in connection with any of the following: (a) an assertion or joinder in any claim,

counter-claim, action, proceeding, application, motion, objection, defense, or other contested

matter seeking any Order, judgment, determination, or similar relief: (i) challenging the legality,

validity, priority, perfection, or enforceability of the Pre-Petition Obligations, the DIP Obligations,

the Pre-Petition Agents’, the Pre-Petition Secured Parties’ or the DIP Agents’ respective liens on

and security interests in any of the Pre-Petition Collateral or DIP Collateral, as applicable; (ii)

seeking to invalidate, set aside, avoid, or subordinate, in whole or in part, the Pre-Petition

Obligations or DIP Obligations or the Pre-Petition Agents’, the Pre-Petition Secured Parties’, or



                                                  49
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 51 of 388




DIP Agents’ respective liens on and security interests in the Pre-Petition Collateral or the DIP

Collateral, as applicable; or (iii) preventing, hindering, or delaying the Pre-Petition Agents’ or DIP

Agents’ respective assertion or enforcement of any lien, claim, right, or security interest or

realization upon any Pre-Petition Collateral or DIP Collateral, as applicable, in accordance with

the terms and conditions of this Interim Order; (b) without the consent of the DIP Revolving Agent,

a request to use Revolving Credit Cash Collateral or DIP Revolving Loans in any manner except

to the extent expressly permitted in this Interim Order and DIP Revolving Financing Documents;

(c) without the consent of the DIP Term Agent, a request to use DIP Term Loans or Term Loan

Priority Collateral in any matter except to the extent expressly permitted in this Interim Order and

the DIP Term Financing Documents, (d) a request, without the prior written consent of each DIP

Agent, for authorization to obtain debtor-in-possession financing or other financial

accommodations pursuant to Bankruptcy Code section 364(c) or 364(d) other than from the DIP

Secured Parties as contemplated herein), unless such other debtor-in-possession financing or

financial accommodation is used, in whole or in part, to indefeasibly pay and satisfy in full in cash

all Pre-Petition Obligations and DIP Obligations owed respectively to the Pre-Petition Secured

Parties and DIP Secured Parties as contemplated herein; (e) the commencement or prosecution of

any action or proceeding of any claims, causes of action, or defenses against the Pre-Petition

Secured Parties or the DIP Secured Parties, or any of their respective officers, directors, employees,

agents, attorneys, affiliates, successors, or assigns, including, without limitation, any attempt to

avoid any claim, lien, or interest of, or obtain any recovery from any of the Pre-Petition Secured

Parties or the DIP Secured Parties, under Chapter 5 of the Bankruptcy Code; provided, however,

that, subject to the Carve Out Cap, an amount not to exceed $25,000.00 in the aggregate of the

indebtedness incurred pursuant to the DIP Term Facility may be used to pay the Allowed



                                                 50
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 52 of 388




Professional Fees of a Creditors’ Committee to investigate (but not prosecute) claims or any

Challenge against and possible objections with respect to the Pre-Petition Obligations, and the pre-

petition liens and security interests of, the Pre-Petition Secured Parties (including, without

limitation, issues regarding validity, perfection, priority, or enforceability of the secured claims of

the Pre-Petition Secured Parties).

         17.       Payment of Carve Out.

                   (a)   The Debtors shall maintain an escrow account with Thompson Hine LLP

(“Thompson Hine”) for the payment of Allowed Professional Fees (the “Carve Out Reserve

Account”), which account shall be funded by or on behalf of the Debtors, including through

borrowings under the DIP Term Credit Agreement deposited into the DIP Term Proceeds Account,

in accordance with the Approved Budget on a weekly basis, in advance, until the delivery of a

Carve Out Trigger Notice. Upon the occurrence and during the continuance of an Event of Default,

the Carve Out Reserve Account may continue to be funded at the DIP Term Agent’s option, up to

the Carve Out Cap. Thompson Hine shall pay Allowed Professional Fees to the Professionals, as

applicable, from funds in the Carve Out Reserve Account, in compliance with the Interim

Compensation Procedures and in the manner set forth in this Interim Order in accordance with the

Approved Budget; provided, however, that, prior to payment in full of the Pre-Petition Obligations,

as applicable, and DIP Obligations and termination of the Carve Out, to the extent that Allowed

Professional Fees that have accrued from the Petition Date through and including the date a Carve

Out Trigger Notice is delivered to the Debtors, the Debtors’ counsel, and counsel for any

Committee are less than the amounts funded into the Carve Out Reserve Account, the excess

amounts in the Carve Out Reserve Account shall be applied (i) first to fund the Post EOD Carve

Out Amount, and (ii) second remitted to the DIP Term Agent to apply to reduce either or both the



                                                  51
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 53 of 388




Pre-Petition Term Obligations and the DIP Term Obligations at DIP Term Agent’s sole discretion.

For the avoidance of doubt, in making payments from the Carve Out Reserve Account, Thompson

Hine shall be entitled to conclusively rely upon written certifications of each Professional as to the

amount due and owing to such Professional from the Carve Out Reserve Account and in

accordance with the Approved Budget and shall have no liability to any party based upon its

reliance on such certifications provided further that in the event the Termination Date (as defined

in the DIP Credit Agreements) has occurred, and to the extent the Carve Out Reserve Account has

been fully funded as required in this Section V and in accordance with the Approved Budget, all

obligations of the DIP Term Secured Parties and Pre-Petition Term Secured Parties with respect

to the Carve Out shall be terminated.

                   (b)   The Carve Out Cap shall be reduced, on a dollar-for-dollar basis, on a

weekly basis by (without duplication or double counting) the amounts actually funded into the

Carve Out Reserve Account and/or the amounts actually paid on account of the Carve Out. To the

extent the Carve Out Reserve Account has not been funded in accordance with the Approved

Budget prior to the delivery of a Carve Out Trigger Notice, the DIP Term Agent, on behalf of the

DIP Term Lenders, may remit the difference to the Carve Out Reserve Account solely from

proceeds of DIP Collateral. Payment of any amounts on account of the Carve Out, whether by or

on behalf of the DIP Term Agent or any DIP Term Lender, shall not and shall not be deemed to,

reduce the Pre-Petition Term Obligations or the DIP Term Obligations, and shall not, and shall not

be deemed to, subordinate any of the DIP Term Secured Parties’ liens and security interests in the

DIP Collateral or the DIP Term Superpriority Claims to any junior pre- or post-petition lien,

interest, or claim in favor of any other party. No DIP Term Secured Party shall, under any

circumstance, be responsible for the payment or reimbursement of any fees or disbursements of



                                                   52
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 54 of 388




any Professionals incurred in connection with the Chapter 11 Cases or Successor Cases under any

chapter of the Bankruptcy Code, and nothing in this Section V shall be construed to obligate any

DIP Term Secured Party, in any way, to pay compensation to or to reimburse expenses of any

Professional, or to ensure that the Debtors have sufficient funds to pay such compensation or

reimbursement.

                   (c)   Nothing in this Interim Order shall be construed as a consent to the

allowance of the fees and expenses of any Professional or shall affect the right of the Pre-Petition

Term Secured Parties and/or the DIP Term Secured Parties to object to the allowance and payment

of such fees and expenses. So long as no Event of Default has occurred or is continuing, the

Debtors shall be permitted to pay fees and expenses allowed and payable pursuant to an Order of

the Court, including any Order approving Interim Compensation Procedures, under Bankruptcy

Code sections 330 and 331, as the same may be due and payable, solely to the extent set forth in

the Approved Budget, and not to exceed the amounts set forth in the Approved Budget; provided,

however, that any such payment shall be subject to entry of a final Order of the Court of each

Professional’s final application for allowance of such fees and expenses.

                   (d)   The claims and liens of (i) the Pre-Petition Revolving Agent under and in

connection with the Pre-Petition Revolving Financing Documents and (ii) the DIP Revolving

Agent under and in connection with the DIP Revolving Financing Documents (other than with

respect to Term Loan Priority Collateral) shall not be subject or subordinate to the claims and liens

in respect of the Carve Out in any respect. If any proceeds of any Revolving Loan Priority

Collateral are used in any way to fund the Carve Out, such proceeds shall be immediately

transferred back to the Debtors and remain subject to the liens of the DIP Revolving Secured

Parties.



                                                  53
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 55 of 388




VI.     Right to Credit Bid.

         18.       Subject to entry of the Final Order and, to the extent applicable, Section VIII, and

solely as provided in the Intercreditor Agreement and Lien Priority Chart, in connection with any

sale of assets by any Debtor outside of the ordinary course of business, pursuant to Bankruptcy

Code section 363(k), the Pre-Petition Agents, on behalf of the applicable Pre-Petition Revolving

Lenders and Pre-Petition Term Lenders, and the DIP Agents, on behalf of the applicable DIP

Lenders, as the case may be, shall be entitled to credit bid for the Pre-Petition Collateral or the DIP

Collateral up to the outstanding aggregate amount of the applicable Pre-Petition Obligations and

applicable DIP Obligations in respect of any such sale.

VII. Default; Rights and Remedies; Relief from Stay.

         19.       Events of Default. The following shall constitute an “Event of Default” under this

Interim Order:

                   (a)    the occurrence of any Event of Default as defined and under the DIP Credit

Agreements;

                   (b)    the failure of the Debtors to obtain entry of a Final Order on or before

twenty-five (25) days from the Petition Date, unless otherwise agreed in writing by the Pre-Petition

Agents and the DIP Agents;

                   (d)    the Debtors seeking approval of a sale of all or a portion of the Debtors’

property that is not acceptable to the Pre-Petition Agents or the DIP Agents; or

                   (e)    the sale of all or substantially all of the Debtors’ property without the order

approving such sale providing for the indefeasible payment and satisfaction in full in cash of the

Pre-Petition Obligations and the DIP Obligations.

         20.       Rights and Remedies Upon Event of Default/Relief from Stay.



                                                    54
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 56 of 388




                   (a)   Upon the occurrence of and during the continuance of an Event of Default,

and without the necessity of seeking relief from the automatic stay or any further Order of the

Court or providing an Enforcement Notice (as defined below): (i) the DIP Agents and DIP Lenders

shall no longer have any obligation to make any Revolving Loans or Term Loans, as applicable,

(or otherwise extend credit) under the applicable DIP Facility; (ii) all amounts outstanding under

the DIP Financing Documents shall, at the option of the applicable DIP Agent, be accelerated and

become immediately due and payable; (iii) the DIP Agents and the Pre-Petition Agents shall be

entitled to immediately terminate the Debtors’ right to use Revolving Credit Cash Collateral,

without further application or Order of this Court, provided, however, that the Debtors shall have

the right to use (A) first, any available and liquidated Term Loan Priority Collateral (including

from funds in the DIP Term Proceeds Account), and (B) second, to the extent of any shortfall, any

available Revolving Credit Cash Collateral, to pay the amount in the Approved Budget for payroll

during the week ending on the date of such Event of Default; (iv) the Debtors shall be bound by

all post-default restrictions, prohibitions, and other terms as provided in this Interim Order, the

DIP Credit Agreements and the other DIP Financing Documents and the Pre-Petition Financing

Documents; (v) the DIP Agents shall be entitled to charge the default rate of interest under the DIP

Credit Agreements.

                   (b)   Without further notice, application or order of this Court, upon the

occurrence of and during the continuance of an Event of Default, and after providing not less than

three (3) business days’ advance written notice thereof (such period the “Remedies Notice

Period”) (which three (3) business day period applies only to the DIP Collateral enforcement

remedies described below), which notice may be by electronic mail (the “Enforcement Notice”),

to counsel to the Debtors, the U.S. Trustee, counsel to any Creditors’ Committee, and counsel to



                                                  55
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 57 of 388




the DIP Agent that is not issuing the Enforcement Notice, the DIP Agents, for the benefit of

themselves and the applicable DIP Lenders, and the Pre-Petition Agents, for the benefit of

themselves and the Pre-Petition Secured Parties, as applicable, shall be entitled to take any other

action and exercise all other rights and remedies provided in this Interim Order, the DIP Financing

Documents, the Pre-Petition Revolving Financing Documents, the Pre-Petition Term Financing

Documents, or applicable law (including, without limitation, setting off any DIP Obligations (other

than with respect to any amount required to fund the Carve Out Reserve Account up to the Carve

Out Cap) or Pre-Petition Obligations with DIP Collateral, Pre-Petition Collateral or proceeds in

the possession of any Pre-Petition Secured Party or DIP Secured Party), unless otherwise ordered

by this Court, as the DIP Agents or the Pre-Petition Agents, as applicable, may deem appropriate

in their sole discretion to, among other things, proceed against and realize upon the DIP Collateral

(including the Revolving Loan Priority Collateral) or any other assets or properties of the Debtors’

Estates upon which the DIP Agent, for the benefit of itself and the DIP Lenders, and the Pre-

Petition Agents, for the benefit of itself and the Pre-Petition Secured Parties, as applicable, has

been or may hereafter be granted liens or security interests to obtain the full and indefeasible

payment of all the Pre-Petition Obligations and DIP Obligations. Notwithstanding the foregoing

or anything in paragraph 20(a) above, DIP Revolving Agent may continue to apply proceeds

received into the lockbox or collection account to reduce the Pre-Petition Revolving Obligations

or the DIP Obligations in any order at the sole discretion of the DIP Revolving Agent during the

Remedies Notice Period.

                   (c)   Additionally, upon the occurrence and during the continuance of an Event

of Default, expiration of the Remedies Notice Period, and the exercise by a DIP Agent or a Pre-

Petition Agent of their respective rights and remedies under this Interim Order, the DIP Financing



                                                  56
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 58 of 388




Documents, or Pre-Petition Financing Documents, the Debtors shall cooperate with the DIP

Agents in the exercise of such rights and remedies and assist the DIP Agents in effecting any sale

or other disposition of the DIP Collateral required by the DIP Agents, including any sale of DIP

Collateral pursuant to Bankruptcy Code section 363 or assumption and assignment of DIP

Collateral consisting of contracts and leases pursuant to Bankruptcy Code section 365, in each

case, upon such terms that are acceptable to the DIP Agents.

                   (d)   Upon the occurrence and during the continuance of an Event of Default, and

subject to the Remedies Notice Period provided for above, in connection with a liquidation of any

of the Pre-Petition Collateral or DIP Collateral as provided for herein, the DIP Agents or the Pre-

Petition Agents (or any of their respective employees, agents, consultants, contractors, or other

professionals), as applicable, shall have the right, at the sole cost and expense of the Debtors, to:

(i) enter upon, occupy, and use any real or personal property, fixtures, equipment, leasehold

interests, or warehouse arrangements owned or leased by the Debtors; provided, however, that the

DIP Agents may only be permitted to do so in accordance with (A) existing rights under applicable

non-bankruptcy law, including, without limitation, applicable leases, (B) any pre-petition (and, if

applicable, post-petition) landlord waivers or consents, or (C) further order of the Court on motion

and notice appropriate under the circumstances; and (ii) use any and all trademarks, tradenames,

copyrights, licenses, patents, equipment, or any other similar assets of the Debtors, or assets that

are owned by or subject to a lien of any third party and that are used by the Debtors in their

businesses; provided, however, the DIP Agents and the Pre-Petition Agents may use such assets

upon entry of this Interim Order to the extent permitted by non-bankruptcy law. The applicable

DIP Agents and DIP Lenders (or the applicable Pre-Petition Secured Parties) will be responsible

for the payment of any applicable fees, rentals, royalties, or other amounts owing to such lessor,



                                                  57
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 59 of 388




licensor or owner of such property (other than the Debtors) for the period of time that the such DIP

Agent(s) or DIP Lender(s) actually occupies any real property or uses the equipment or the

intellectual property (but in no event for any accrued and unpaid fees, rentals, or other amounts

owing for any period prior to the date that such DIP Agent(s) or DIP Lender(s) actually occupies

or uses such assets or properties).

                   (f)    The rights and remedies of the DIP Agents and Pre-Petition Agents

specified herein are cumulative and not exclusive of any rights or remedies that the DIP Agents

and/or Pre-Petition Agents may have under the DIP Financing Documents or Pre-Petition

Revolving Financing Documents, or the Pre-Petition Term Financing Documents, as applicable,

or otherwise and may be exercised in whole or in part in any order. With respect to the exercise

of such rights and remedies, the fourteen-day stay provisions of Bankruptcy Rules 6004(h) and

4001(a)(3) are hereby waived.

         21.       Relief from Stay. For the purpose of exercising rights, options and remedies set

forth in this Section VII, upon expiration of the Remedies Notice Period, unless otherwise ordered

by the Court, the Pre-Petition Agents, on behalf of the Pre-Petition Secured Parties, and DIP

Agents, on behalf of the DIP Secured Parties, as applicable, shall be automatically and completely

relieved from the effect of any stay under Bankruptcy Code section 362, any other restriction on

the enforcement of their liens (subject to the Intercreditor Agreement) upon and security interests

in the DIP Collateral or any other rights granted to them, or any of them, pursuant to the terms and

conditions of the DIP Financing Documents, the Pre-Petition Revolving Financing Documents,

the Pre-Petition Term Financing Documents (as applicable), or this Interim Order, subject to the

Intercreditor Agreement, the Lien Priority Chart, and the Claim Priority Chart.




                                                   58
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 60 of 388




         22.       Waiver Agreements. Subject to entry of a Final Order, all rights, options, and

remedies granted to the Pre-Petition Agents or DIP Agents in either or both of any landlord or

warehouseman’s waiver and/or consent executed and delivered in connection with the Pre-Petition

Obligations and Pre-Petition Credit Agreements, as applicable, including the right to access any

premises leased by Debtors and access the Pre-Petition Collateral, shall be deemed to be continuing,

enforceable, and applicable to and binding upon the landlords and other parties to such waiver or

consent agreements with respect to the Pre-Petition Collateral and DIP Collateral.

VIII. Challenges to Pre-Petition Obligations.

         23.       The Debtors have admitted, stipulated, and agreed to the various stipulations and

admissions contained in this Interim Order, including, without limitation, the Debtors’ Stipulations

included in Paragraph G, which stipulations and admissions are and shall be binding upon the

Debtors. Upon the earliest to occur of (i) the effective date of any plan, (ii) two days prior to closing

of any asset sale of all or substantially all of the Debtors’ assets pursuant to Bankruptcy Code

section 363, and (iii) the date that is seventy-five (75) days from entry of this Interim Order (as

applicable for clauses (i) through (iii), the “Initial Challenge Period”), the stipulations and

admissions contained in this Interim Order, including without limitation, the Debtors’ Stipulations,

shall also be binding upon the Debtors’ Estates and all other parties in interest, including the

Creditors’ Committee and any other person or entity acting or seeking to act on behalf of the

Debtors’ Estates, and any chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors

(a “Trustee”) for all purposes, unless (a) during the Initial Challenge Period the Creditors’

Committee or any other party interest, in each case with request standing, has properly and timely

filed an adversary proceeding as required under the Bankruptcy Rules (x) challenging the amount,

validity, enforceability, priority or extent of the Pre-Petition Obligations, the liens of the Pre-

Petition Agents on the Pre-Petition Collateral securing the Pre-Petition Obligations or (y)
                                                   59
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 61 of 388




otherwise asserting any other claims, counterclaims, causes of action, objections, contests, or

defenses against the Pre-Petition Agents and/or any other Pre-Petition Secured Party on behalf of

the Debtors’ Estates ((x) and (y), collectively, referred to herein as “Challenges”) in connection

with the matters related to the Pre-Petition Financing Documents, the Pre-Petition Obligations, the

Pre-Petition Liens, or the Pre-Petition Collateral, and (b) there is a final non-appealable order in

favor of the plaintiff sustaining any such Challenge or claim in any such timely filed adversary

proceeding; provided, however, that, as to the Debtors, all such Challenges are hereby irrevocably

waived and relinquished effective as of the Petition Date. If during the Initial Challenge Period,

the Creditors’ Committee or other third party files a motion for standing with a draft complaint

identifying and describing all Challenge(s) consistent with applicable law and rules of procedure,

the Initial Challenge Period will be tolled for the Creditors’ Committee or other third party solely

with respect to the Challenge(s) asserted in the draft complaint until three (3) business days from

the entry of an Order granting the motion for standing to prosecute such Challenge(s) described in

the draft complaint and permitted by the Court (the “Extended Challenge Period”, together with

the Initial Challenge Period, the “Challenge Period”). If standing is denied by the Court, the

Challenge Period shall be deemed to have expired. If no such Challenge or motion for standing,

as applicable, is timely filed prior to the expiration of the Initial Challenge Period, without further

order of the Court: (1) the Debtors’ stipulations, admissions and releases contained in this Interim

Order (including the Debtors’ Stipulations and the releases set forth in paragraph 25 below) shall

be binding on all parties in interest, including the Debtors’ Estates, the Creditors’ Committee, and

any subsequently appointed Trustee, case fiduciary, or other successors and assigns of the Debtors

and the Debtors’ Estates; (2) the Pre-Petition Obligations shall constitute allowed claims, not

subject to counterclaim, setoff, subordination, recharacterization, defense or avoidance, for all



                                                  60
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 62 of 388




purposes in these Chapter 11 Cases and any Successor Cases, including, without limitation, any

subsequent chapter 7 case; (3) the Pre-Petition Agents’ liens on the Pre-Petition Collateral shall be

deemed to have been, as of the Petition Date, and to be, legal, valid, binding, perfected, and with

the priority specified in the Debtors’ Stipulations, not subject to defense, counterclaim,

recharacterization, subordination or avoidance; and (4) the Pre-Petition Obligations, the Pre-

Petition Secured Parties’ liens on the Pre-Petition Collateral; and the Pre-Petition Secured Parties

(and their respective agents, affiliates, subsidiaries, directors, officers, representatives, attorneys

or advisors) shall not be subject to any other or further Challenge by any Creditors’ Committee or

any other party in interest, and any such Creditors’ Committee or party in interest shall be enjoined

from seeking to exercise the rights of the Debtors’ Estates, including, without limitation, any

successor thereto (including, without limitation, any estate representative or a Trustee, whether

such Trustee is appointed or elected prior to or following the expiration of the Initial Challenge

Period); provided, however, that if the Chapter 11 Cases are converted to chapter 7 or a Trustee is

appointed prior to the expiration of the Initial Challenge Period, any such estate representative or

Trustee shall receive the full benefit of any remaining Initial Challenge Period or ten (10) days

from appointment, whichever is greater, subject to the limitations described herein. If any

Challenge or motion for standing, as applicable, is timely and properly filed prior to the expiration

of the Initial Challenge Period, the releases, stipulations, and admissions (including without

limitation, in the Debtors’ Stipulations), contained in this Interim Order shall nonetheless remain

binding and preclusive (as provided in the second sentence of this paragraph) on any Creditors’

Committee and any other person, including any Trustee appointed in any Chapter 11 Case(s) or

Successor Cases, as applicable, except as to any such findings and admissions that were expressly

challenged as set forth with specificity in the original complaint initiating the adversary proceeding,



                                                  61
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 63 of 388




and any claims or challenges not so specified shall be deemed forever, waived, released and barred,

including any amended or additional claims that may or could have been asserted thereafter

through an amended complaint under Federal Rules of Civil Procedure 15 or otherwise. Nothing

in this Interim Order vests or confers on any person, including any Creditors’ Committee, any

Trustee, or any other party in interest, standing or authority to pursue any claim or cause of action

belonging to the Debtors or their Estates.

IX.     Debtors’ Waivers and Releases.

         24.       Section 506(c) Claims and 552(b) Equities. Upon entry of a Final Order, no costs

or expenses of administration that have been or may be incurred in the Chapter 11 Cases or

Successor Cases at any time shall be charged against any of the Pre-Petition Secured Parties or the

DIP Secured Parties, their respective claims, or the DIP Collateral or Pre-Petition Collateral, as

applicable, pursuant to Bankruptcy Code section 506(c) without the prior written consent of the

DIP Agents (and no such consent shall be implied from any other action, inaction or acquiescence

by the DIP Agents, any DIP Lender or any Pre-Petition Secured Party). Upon entry of a Final

Order, the Pre-Petition Secured Parties and DIP Secured Parties shall each be entitled to all of the

rights and benefits of Bankruptcy Code section 552(b), and the “equities of the case” exception

under Bankruptcy Code section 552(b) shall not apply to the Pre-Petition Secured Parties and DIP

Secured Parties with respect to proceeds, products, offspring, or profits of any of the Pre-Petition

Collateral or DIP Collateral, as applicable.

         25.       Release.

                   (a)    In consideration of and as a condition to the DIP Agents and the DIP

Lenders making the DIP Facilities available under the applicable DIP Credit Agreement, the

consent by the Pre-Petition Revolving Secured Parties and DIP Secured Parties to the use of

Revolving Credit Cash Collateral, the consent of the Pre-Petition Term Secured Parties to have
                                                   62
4860-5063-8705.5
               Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 64 of 388




their liens primed as specifically set forth herein, and providing other credit and financial

accommodations to the Debtors pursuant to the provisions of this Interim Order and the DIP

Financing Documents (including the Carve Out provisions), each Debtor, on behalf of itself, and

successors and assigns and its Estate (collectively, the “Releasors”), hereby absolutely releases

and forever discharges and acquits each Pre-Petition Secured Party and each of their respective

successors, participants, and assigns, and their present and former shareholders, affiliates,

subsidiaries, divisions, predecessors, directors, officers, attorneys, employees, and other

representatives (the Pre-Petition Agents, each of the Pre-Petition Revolving Credit Lenders, each

of the Pre-Petition Term Lenders, and all such other parties being hereinafter referred to

collectively as the “Releasees”) of and from any and all claims, demands, causes of action, suits,

covenants, contracts, controversies, agreements, promises, sums of money, accounts, bills,

reckonings, damages, and any and all other claims, counterclaims, cross claims, defenses, rights

of set-off, demands, and liabilities whatsoever (individually, a “Pre-Petition Released Claim”

and collectively, the “Pre-Petition Released Claims”) of every kind, name, nature and description,

known or unknown, foreseen or unforeseen, matured or contingent, liquidated or unliquidated,

primary or secondary, suspected or unsuspected, both at law and in equity, including, without

limitation, any so-called “lender liability” claims or defenses, that any Releasor may now or

hereafter own, hold, have, or claim to have against the Releasees, or any of them for, upon, or by

reason of any nature, cause, or thing whatsoever that arose or may have arisen at any time on or

prior to the date of this Interim Order, arising out of, relating to, or in connection with, any of the

Pre-Petition Obligations, the Pre-Petition Financing Documents, any Pre-Petition Revolving

Loans, Pre-Petition Term Loans, or other financial accommodations under the Pre-Petition

Financing Documents; provided, however, that such release shall not be effective with respect to



                                                  63
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 65 of 388




(i) the Debtors until entry of a Final Order and (ii) the Estates until the expiration of the Challenge

Period as provided in paragraph 23. In addition, upon the indefeasible payment and satisfaction in

full of all Obligations (as defined in the DIP Financing Documents) owed to the DIP Agents and

the DIP Lenders by the Debtors, and termination of the rights and obligations arising under this

Interim Order, any Final Order, and the DIP Financing Documents (which payment and

termination shall be on terms and conditions acceptable to the DIP Agents), the DIP Agents and

the DIP Lenders shall be automatically deemed to be absolutely and forever released and

discharged from any and all obligations, liabilities, actions, duties, responsibilities, commitments,

claims, and causes of action arising, occurring in connection with, or related to the DIP Financing

Documents, this Interim Order, or any Final Order (whether known or unknown, direct or indirect,

matured or contingent, foreseen or unforeseen, due or not due, primary or secondary, liquidated or

unliquidated).

                   (b)    Subject to Section VIII with respect to all applicable parties other than the

Debtors, each Releasor hereby absolutely, unconditionally and irrevocably covenants and agrees

with each Releasee that it will not sue (at law, in equity, in any regulatory proceeding, or otherwise)

any Releasee on the basis of any Pre-Petition Released Claim that has been released and discharged

by each Releasor pursuant to clause 25(a) above. If any Releasor violates the forgoing covenant,

Debtors agree to pay, in addition to such other damages as any Releasee may sustain as a result of

such violation, all attorneys’ fees and costs incurred by any Releasee as a result of such violation.

X.      Other Rights and Obligations.

         26.       No Modification or Stay of this Interim Order. Based upon the record presented to

the Court by the Debtors, notwithstanding (a) any stay, modification, amendment, supplement,

vacatur, revocation, or reversal of this Interim Order, the DIP Financing Documents or any term

hereunder or thereunder, (b) the failure to obtain a Final Order pursuant to Bankruptcy Rule
                                                    64
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 66 of 388




400l(c)(2), or (c) the dismissal or conversion of one or more of the Chapter 11 Cases, the DIP

Agents and the DIP Lenders shall retain and be entitled to all of the rights, remedies, privileges,

and benefits in favor of the DIP Agents and the DIP Lenders pursuant to Bankruptcy Code section

364(e), this Interim Order, and the DIP Financing Documents as of the date any event referred to

in clauses (a), (b) or (c) shall have occurred.

         27.       Power to Waive Rights; Duties to Third Parties. The Pre-Petition Secured Parties

and the DIP Secured Parties shall have the right, in their respective sole discretions, to waive any

of the terms, rights, and remedies provided or acknowledged in this Interim Order, the Pre-Petition

Credit Agreements, or the DIP Credit Agreements (“Lender Rights”) with respect to each of them,

as applicable, and shall have no obligation or duty to any other party with respect to the exercise

or enforcement, or failure to exercise or enforce, any Lender Right(s). Any waiver by any of them

of any Lender Rights shall apply solely to such party and to the Lender Right so waived and shall

not be or constitute a continuing waiver, except that any waiver by the Pre-Petition Agents, on

behalf of the Pre-Petition Revolving Lenders or Pre-Petition Term Lenders, as applicable, or the

DIP Agents, on behalf of the applicable DIP Lenders, shall bind the Pre-Petition Revolving

Lenders, Pre-Petition Term Lenders, or DIP Lenders, as applicable, in accordance with the

applicable Pre-Petition Financing Documents or DIP Financing Documents, including, as

applicable, the Intercreditor Agreement. Any delay in or failure to exercise or enforce any Lender

Right shall neither constitute a waiver of such Lender Right, nor cause or enable any other party

to rely upon or in any way seek to assert as a defense to any obligation owed by the Debtors to any

Pre-Petition Secured Party or any DIP Secured Party. For the avoidance of doubt, such discretion

with respect to the DIP Term Agent shall be governed by the terms of the DIP Term Credit

Agreement.



                                                   65
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 67 of 388




         28.       Reservation of Rights. The terms, conditions, and provisions of this Interim Order

are in addition, and without prejudice, to the rights of the Pre-Petition Secured Parties or the DIP

Secured Parties, subject to the Intercreditor Agreement, as applicable, to pursue any and all rights

and remedies under the Bankruptcy Code, the DIP Financing Documents, the Pre-Petition

Financing Documents, or any other applicable agreement or law, including, without limitation,

rights to seek either or both adequate protection and additional or different adequate protection, to

seek relief from the automatic stay, to seek an injunction, to oppose any request for use of

Revolving Credit Cash Collateral, other Pre-Petition Collateral or the proceeds of the DIP

Facilities (other than as permitted under this Interim Order and the DIP Credit Agreements) or the

granting of any interest in the DIP Collateral (other than as contemplated herein or permitted under

the DIP Financing Documents, subject to the Intercreditor Agreement), to object to any sale of

assets, and to object to applications for either or both allowance and payment of compensation of

Professionals or other parties seeking compensation or reimbursement from the Estates.

         29.       Modification of the Automatic Stay. The automatic stay under Bankruptcy Code

section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions of this

Interim Order and the DIP Financing Documents, including, without limitation, the application of

collections, authorization to make payments, granting of liens, and perfection of liens.

         30.       Binding Effect.

                   (a)    The provisions of this Interim Order, the DIP Financing Documents, the

DIP Superpriority Claims, DIP Liens, Adequate Protection Liens, Adequate Protection Claims, the

DIP Obligations and any and all rights, remedies, privileges, and benefits in favor of the DIP

Agents, the DIP Lenders, and the Pre-Petition Secured Parties provided or acknowledged in this

Interim Order, and any actions taken pursuant thereto, shall be effective immediately upon entry



                                                    66
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 68 of 388




of this Interim Order pursuant to Bankruptcy Rules 6004(g) and 7062, shall continue in full force

and effect, and shall survive entry of any such other Order, including, without limitation, any order

that may be entered confirming any plan of reorganization, converting one or more of the Chapter

11 Cases to any other chapter under the Bankruptcy Code, or dismissing one or more of the Chapter

11 Cases.

                   (b)   Any order dismissing one or more of the Chapter 11 Cases under

Bankruptcy Code section 1112 or otherwise shall be deemed to provide (in accordance with

Bankruptcy Code sections 105 and 349) that (i) the DIP Agents’, the DIP Lenders’ and the Pre-

Petition Secured Parties’ respective, liens on, and security interests in, the DIP Collateral shall

continue in full force and effect notwithstanding such dismissal until the DIP Obligations,

Adequate Protection Obligations, and Pre-Petition Obligations, as applicable, owed to such parties,

respectively, are indefeasibly paid and satisfied in full, and (ii) this Court shall retain jurisdiction,

to the extent permissible under applicable law, notwithstanding such dismissal, for the purposes

of enforcing the DIP Superpriority Claims, DIP Liens, Adequate Protection Liens, and Adequate

Protection Claims of the Pre-Petition Secured Parties and DIP Secured Parties, as applicable.

                   (c)   In the event this Court modifies any of the provisions of this Interim Order

or the DIP Financing Documents following a Final Hearing, this Interim Order shall remain in full

force and effect, except as expressly amended or modified at such Final Hearing.

                   (d)   This Interim Order shall be binding upon the Debtors, their Estates, all

parties in interest in the Chapter 11 Cases, and their respective successors and assigns, including

any trustee or other fiduciary appointed in the Chapter 11 Cases or any Successor Cases of any

Debtors, and shall inure to the benefit of the Pre-Petition Secured Parties, the DIP Secured Parties,




                                                   67
4860-5063-8705.5
               Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 69 of 388




the Debtors, and their respective successors and assigns, subject to the rights of any party in interest

or trustee under Section VIII above.

         31.       Marshaling. Subject to entry of a Final Order, in no event shall the DIP Agents,

the DIP Lenders, or the Pre-Petition Secured Parties be subject to the equitable doctrine of

“marshaling” or any similar equitable doctrine with respect to the Pre-Petition Collateral or the

DIP Collateral.

         32.       Proofs of Claim. Notwithstanding the entry of an order establishing a bar date in

any of these Chapter 11 Cases, or the conversion of these Chapter 11 Cases to a case under chapter

7 of the Bankruptcy Code, neither the Pre-Petition Secured Parties nor the DIP Secured Parties

shall be required to file proofs of claim in any of the Chapter 11 Cases or Successor Cases with

respect to, as applicable, any of Pre-Petition Obligations, Adequate Protection Obligations,

Adequate Protection Liens, DIP Obligations, DIP Liens, DIP Superpriority Claims, or any other

claims or liens granted hereunder or created by this Interim Order. Each Pre-Petition Agent, for

the benefit of the applicable Pre-Petition Secured Parties, and each DIP Agent, for the benefit of

the applicable DIP Secured Parties, is hereby authorized and entitled, in its respective sole and

absolute discretion, but in no event is required, to file (and amend and/or supplement, as it sees fit)

proofs of claim in each of the Chapter 11 Cases on behalf of the applicable Pre-Petition Secured

Parties in respect of the applicable Pre-Petition Obligations or on behalf of the applicable DIP

Secured Parties in respect of the applicable DIP Obligations. Any proof of claim so filed shall be

deemed to be in addition to, and not in lieu of, any other proof of claim that may be filed by any

of the Pre-Petition Secured Parties or DIP Secured Parties.




                                                   68
4860-5063-8705.5
               Case 23-10961-BLS         Doc 13-1        Filed 07/22/23   Page 70 of 388




         33.       Waiver of Bankruptcy Rule 6003(b), 6004(a) and 6004(h). The 21-day provision

of Bankruptcy Rule 6003(b), the notice requirements of Bankruptcy Rule 6004(a), and the 14-day

stay of 6004(h) are hereby waived.

         34.       Order Controls. In the event of a conflict between (a) the terms and provisions of

the DIP Financing Documents or the Pre-Petition Financing Documents, as applicable, and (b) the

terms and provisions of this Interim Order, then in each case the terms and provisions of this

Interim Order shall govern.

         35.       Calculation of Dates. All time periods set forth in this Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).

         36.       No Third Party Rights. Except as explicitly provided for herein, this Interim Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.

XI.      Final Hearing and Response Dates.

         37.       The Final Hearing on the DIP Motion pursuant to Bankruptcy Rule 4001(c)(2) is

scheduled for _______ __, 2023 at __:__ _.m. (prevailing Eastern Time) before this Court. The

Debtors shall promptly mail copies of this Interim Order to the Noticed Parties, and to any other

party that has filed a request for notices with this Court and to a Creditors’ Committee, if appointed,

through its counsel, if the same shall have filed a request for notice. Any party in interest objecting

to the relief sought at the Final Hearing shall serve and file written objections, which objections

shall be served upon (a) counsel for the Debtors, Thompson Hine LLP, 3900 Key Center, 127

Public         Square,     Cleveland,      OH      44114-1291       (Attn:     Alan      R.     Lepene

(alan.lepene@thompsonhine.com), Scott B. Lepene (scott.lepene@thompsonhine.com), and Sean

A. Gordon (sean.gordon@thompsonhine.com)), and Chipman Brown Cicero & Cole, LLP,

Hercules Plaza, 1313 N. Market Street, Suite 5400, Wilmington, DE 19801 (Attn: Mark L.
                                                    69
4860-5063-8705.5
               Case 23-10961-BLS      Doc 13-1        Filed 07/22/23   Page 71 of 388




Desgrosseilliers (desgross@chipmanbrown.com)); (b) counsel for the DIP Revolving Agent and

Pre-Petition Revolving Agent, Blank Rome LLP, 1201 Market Street, Suite 800, Wilmington,

Delaware 19801, Attn: Regina Stango Kelbon, Esq. (regina.kelbon@blankrome.com), and One

Logan Square, 130 N. 18th Street, Philadelphia, Pennsylvania 19103, Attn: Gregory F. Vizza, Esq.

(gregory.vizza@blankrome.com); (c) counsel for the DIP Term Agent and Pre-Petition Term

Agent, Chapman and Cutler LLP, 1270 Avenue of the Americas, New York, NY 10020 (Attn:

David T.B. Audley (audley@chapman.com) and Carey J. Gaughan (gaughan@chapman.com)); (d)

counsel to any Creditors’ Committee; and (e) the Office of the United States Trustee for the District

of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: [NAME]

([EMAIL)); and shall be filed with the Clerk of the United States Bankruptcy Court for the District

of Delaware, by no later than _______ __, 2023 at 4:00 p.m. (prevailing Eastern Time).




                                                 70
4860-5063-8705.5
               Case 23-10961-BLS   Doc 13-1   Filed 07/22/23   Page 72 of 388




                                        Exhibit 1

                                      Initial Budget




4860-5063-8705.5
                                                                         Case 23-10961-BLS                                           Doc 13-1                     Filed 07/22/23                            Page 73 of 388


   Williams Industrial Services - DIP Cash Flow Summary                            Jul-23                                                                         Aug-23                                                                             Sep-23

(USD $,000)                                                   3Q'23                3Q'23               3Q'23               3Q'23               3Q'23               3Q'23               3Q'23               3Q'23               3Q'23                  3Q'23
                                                                                                                                                                                                                                                   Transaction       Sale Proceeds
   Week #                                                     In BK                In BK               In BK               In BK               In BK               In BK               In BK               In BK               In BK                 Close            Application
   Actual/Estimate                                           Estimate             Estimate            Estimate            Estimate            Estimate            Estimate            Estimate            Estimate            Estimate              Estimate           Estimate
   Week Ending                                               7/28/23              8/4/23              8/11/23             8/18/23             8/25/23             9/1/23              9/8/23              9/15/23             9/22/23               9/29/23            9/29/23
   Beginning Cash (Book Balance)                         $         640        $       7,866       $       4,086       $             50    $            50     $            50     $            50     $             50    $            50      $              50

   Estimated Receipts                                             2,109                1,566              2,005               2,383                2,827              2,899               6,465               3,642                3,371                  2,718

      Payroll                                                    (2,963)              (1,443)             (1,905)              (1,922)             (2,167)             (1,657)             (2,178)             (1,470)            (1,825)                (4,165)
      Benefits                                                      -                    -                   -                  (300)                -                    -                  -                    -                (300)                    -
      Union                                                        (465)                 -                (1,638)                 -                  -                    -                  -                (2,025)                -                   (1,478)
      Insurance                                                     -                    (50)                -                  (280)                -                    (50)               -                   (280)               -                      -
      Rent                                                          -                    -                   -                    -                  -                   (104)               -                    -                  -                     (104)
      Other Vendor AP                                              (527)                (839)                (611)               (497)              (380)               (464)               (623)                (582)              (887)                  (734)
   Total Operating Disbursements                                 (3,955)              (2,332)             (4,154)             (2,999)             (2,547)             (2,275)            (2,802)              (4,357)             (3,012)                (6,481)

   Net Operating Cash Flow                                       (1,846)                (766)             (2,150)               (616)               279                 624               3,663                 (715)               358                 (3,763)
   DIP Term Funding                                             14,000                                                        2,750               2,750
      RLOC Interest                                                  -                    (78)               -                   -                   -                  (108)                -                   -                   -                      -
      Term Loan P&I                                                  -                   -                   -                   -                   -                   -                   -                   -                   -                    (806)
      Past Due AP Catch-Up                                       (1,950)                (975)               (975)              (1,921)             (640)                 -                   -                   -                   -                      -
      Company - Legal Advisor (Thompson Hine)                       (100)               (100)               (100)               (100)               (100)               (100)               (100)               (100)               (100)                  (100)
      Company - Financial Advisor (G2)                                (35)                (35)                (35)                (35)                (35)                (35)                (35)                (35)                (35)                   (35)
      Company - Local Counsel (DE Filing)                              (13)                (13)                (13)                (13)                (13)                (13)                (13)                (13)                (13)                   (13)
      CRO                                                           (100)                (30)                (30)                 (30)               (30)                (30)                (30)                (30)                (30)                   (60)
      Claims & Noticing Agent                                          (15)                (15)                (15)                (15)                (15)                (15)                (15)                (15)                (15)                   (15)
      Other Banker Fees (Greenhill)                                  -                   -                  (100)                -                   -                   -                  (100)                -                   -                     (100)
      IB Transaction Fee                                             -                   -                   -                   -                   -                   -                   -                   -                   -                      -              (2,800)
      PNC - Legal Advisor (Blank Rome)                             (200)                 (30)                (30)                 (30)               (30)                (30)                (30)                (30)                (30)                   (60)
      PNC - Financial Advisor (Focus Management Group)                (55)                 (18)                (18)                (18)                (18)                (18)                (18)                (18)                (18)                  (36)
      Term Lenders - Legal Advisor (Chapman)                       (200)                 (30)                (30)                 (30)               (30)                (30)                (30)                (30)                (30)                   (60)
      Unsecured Claims Committee                                     (40)                (40)                (40)                (40)                (40)                (40)                (40)                (40)                (40)                   (40)
      KERP                                                           -                   -                   -                   -                   -                   -                   -                   -                   -                    (500)
      DIP RLOC Fees                                                  (60)                -                   -                   -                   -                   -                   -                   -                   -                      -
      Term DIP Fees                                                (475)                 -                   -                   -                    (55)                (55)               -                   -                   -                     (195)
      Term DIP Facility Interest                                     -                   (45)                -                   -                   -                  (209)                -                   -                   -                    (228)
      Contingency                                                    (40)                (40)                (40)                (40)                (40)                (40)                (40)                (40)                (40)                   (40)
   Total Non-Operating Disbursements                             (3,283)              (1,448)             (1,426)             (2,271)             (1,046)               (723)               (451)               (351)               (351)               (2,287)            (2,800)

   Total Cash Flow                                                8,871               (2,215)             (3,575)               (137)              1,984                   (99)            3,213              (1,066)                    8              (6,050)

   Net Draw / (Paydown) of RLOC Facilities                       (1,644)              (1,566)              (460)                   137            (1,984)                  99             (3,213)              1,066                     (8)             6,050

   Ending Cash (Book Balance)                            $       7,866        $       4,086       $             50    $             50    $            50     $            50     $            50     $             50    $            50      $              50

   Prepetition RLOC Roll forward
Beginning Balance                                             $10,391              $8,282               $6,716              $4,712                 $0                  $0                  $0                  $0                  $0                     $0
   Receipts                                                   -$2,109              -$1,566            -$2,005               -$953                  $0                  $0                  $0                  $0                  $0                     $0
   Other Paydown                                                  $0                   $0                  $0              -$3,758                 $0                  $0                  $0                  $0                  $0                     $0
  Draws                                                           $0                    $0                $0                   $0                  $0                  $0                  $0                  $0                  $0                     $0
Ending Balance                                                $8,282                $6,716             $4,712                  $0                  $0                  $0                  $0                  $0                  $0                     $0

   DIP RLOC Roll forward
Beginning Balance                                                 $0                   $0                  $0              $1,544              $6,393              $4,409              $4,508               $1,296              $2,361                $2,353
   Receipts                                                       $0                   $0                  $0              -$1,430             -$2,827            -$2,899             -$6,465             -$3,642              -$3,371                -$2,718
  Draws / (Paydown)                                               $0                   $0              $1,544              $6,279                $843              $2,998              $3,252              $4,708              $3,363                $8,768
Ending Balance                                                    $0                   $0              $1,544              $6,393              $4,409              $4,508              $1,296              $2,361              $2,353                $8,403

   Total Prepetition + DIP RLOC Balance                          8,282                 6,716              6,256               6,393               4,409               4,508                1,296               2,361              2,353                  8,403
Maximum RLOC Availability                                        9,204                9,204               9,204               9,204               6,939               6,939               6,939               6,939               10,129                 10,129
Availability Test                                              PASS                 PASS                PASS                PASS                PASS                PASS                PASS                PASS                PASS                   PASS
Cushion / (Additional Liquidity Required)                         922                 2,488               2,948                2,811              2,530               2,431               5,644               4,578               7,775                  1,725

Estimated Intra-Week Min Liquidity                               8,788                6,333               2,998                2,861               1,162              2,083               2,889               3,655                7,041                  1,775




                                                                                                                                                   Confidential
               Case 23-10961-BLS       Doc 13-1    Filed 07/22/23     Page 74 of 388




                                             Exhibit 2

                                       Claim Priority Chart

Priority       Adequate Protection Claims Relating       Adequate Protection Claims Relating to
                 to Diminution in Revolving Loan            Diminution in Term Loan Priority
               Priority Collateral (as defined in the    Collateral (as defined in the Intercreditor
               Intercreditor Agreement), as against         Agreement), as against Term Loan
                Revolving Loan Priority Collateral                   Priority Collateral
  1st          DIP Superpriority Claim granted to DIP                     Carve Out
                         Revolving Agent
  2nd          DIP Superpriority Claim granted to DIP      DIP Superpriority Claim granted to DIP
                            Term Agent                                  Term Agent
  3rd          Revolving Credit Adequate Protection        DIP Superpriority Claim granted to DIP
                               Claim                                 Revolving Agent
  4th                        Carve Out                     Term Loan Adequate Protection Claim
  5th          Term Loan Adequate Protection Claim       Revolving Credit Adequate Protection Claim




4860-5063-8705.5
                                     Case 23-10961-BLS             Doc 13-1        Filed 07/22/23        Page 75 of 388




                                                                           Exhibit 3

                                                                     Lien Priority Chart

Priority        Revolving Loan Priority        Term Loan Priority            Post-Petition              Post-Petition          Post-Petition
                Collateral (as defined in      Collateral (as defined in     Unencumbered Property Unencumbered Property Unencumbered
                the Intercreditor              the Intercreditor             of the Nature of Revolving of the Nature of Term Property Not in the
                Agreement)5                    Agreement)                    Loan Priority Collateral Loan Priority Collateral Nature of Revolving
                                                                                                                               Loan Priority Collateral
                                                                                                                               or Term Loan Priority
                                                                                                                               Collateral

1st             DIP Revolving Liens       Carve Out                          DIP Revolving Liens       Carve Out                        Carve Out
2nd             Revolving Credit Adequate DIP Term Liens                     Revolving Credit Adequate DIP Term Liens                   DIP Revolving Liens and
                Protection Liens                                             Protection Liens                                           DIP Term Liens (on a
                                                                                                                                        ratable basis based on the
                                                                                                                                        principal amount owing
                                                                                                                                        to the DIP Revolving
                                                                                                                                        Lenders and DIP Term
                                                                                                                                        Lenders)
3rd             Prepetition Liens of Pre-  Term Loan Adequate                Prepetition Liens of Pre-  Term Loan Adequate              Revolving Credit
                Petition Revolving Secured Protection Liens                  Petition Revolving Secured Protection Liens                Adequate Protection
                Parties                                                      Parties                                                    Liens and Term Loan
                                                                                                                                        Adequate Protection
                                                                                                                                        Liens (on a ratable basis
                                                                                                                                        based on the principal
                                                                                                                                        amount owing to the DIP
                                                                                                                                        Revolving Lenders and
                                                                                                                                        DIP Term Lenders)




  5
    “Revolving Loan Priority Collateral” (as defined in the Intercreditor Agreement) shall not include any proceeds of DIP Term Loans made to the Debtors under
  the DIP Term Facility (the “DIP Term Facility Cash Proceeds”), which DIP Term Facility Cash Proceeds shall be deposited in and retained in a segregated account
  over which the DIP Term Agent and Pre-Petition Term Agent have lien priority. DIP Term Facility Cash Proceeds shall constitute Term Loan Priority Collateral.

  4860-5063-8705.5
                                       Case 23-10961-BLS         Doc 13-1     Filed 07/22/23   Page 76 of 388



4th                 DIP Term Liens            Prepetition Liens of Pre-   DIP Term Liens         DIP Revolving Liens
                                              Petition Term Loan
                                              Secured Parties
5th                 Term Loan Adequate        DIP Revolving Liens        Term Loan Adequate      Revolving Credit
                    Protection Liens                                     Protection Liens        Adequate Protection Liens
6th                 Prepetition Liens of Pre-  Revolving Credit
                    Petition Term Loan Secured Adequate Protection
                    Parties                    Liens
7th                                            Prepetition Liens of Pre-
                                               Petition Revolving Credit
                                               Secured Parties




      4860-5063-8705.5
               Case 23-10961-BLS   Doc 13-1   Filed 07/22/23   Page 77 of 388




                                        Exhibit 4

                         Form of DIP Revolving Credit Agreement




4860-5063-8705.5
             Case 23-10961-BLS     Doc 13-1   Filed 07/22/23   Page 78 of 388




                                                        BLANK ROME DRAFT 07/21/2023

                            SUPER-PRIORITY SENIOR SECURED




                       DEBTOR-IN-POSSESSION REVOLVING CREDIT
                                        AND
                                SECURITY AGREEMENT



                            PNC BANK, NATIONAL ASSOCIATION
                                       (AS AGENT)



                              THE LENDERS PARTY HERETO
                                     (AS LENDERS)

                                         WITH



                   WILLIAMS INDUSTRIAL SERVICES GROUP INC.
                  WILLIAMS INDUSTRIAL SERVICES GROUP, L.L.C.
                      WILLIAMS INDUSTRIAL SERVICES, LLC
                      WILLIAMS SPECIALTY SERVICES, LLC
                        WILLIAMS PLANT SERVICES, LLC
                       WILLIAMS GLOBAL SERVICES, INC.
               CONSTRUCTION & MAINTENANCE PROFESSIONALS, LLC
                            WISG ELECTRICAL, LLC
                               (AS BORROWERS)

                                         AND

                     GLOBAL POWER PROFESSIONAL SERVICES INC.
                                    GPEG, LLC
                             STEAM ENTERPRISES LLC
                                WISG CANADA LTD.
                               WISG NUCLEAR LTD.
                              WISG ELECTRICAL LTD.
                                (AS GUARANTORS)
                                    July [ ], 2023




074658.23049/132216381v.5
               Case 23-10961-BLS                   Doc 13-1             Filed 07/22/23             Page 79 of 388




                                                TABLE OF CONTENTS

I.      DEFINITIONS.....................................................................................................................2
        1.1.      Accounting Terms....................................................................................................2
        1.2.      General Terms ..........................................................................................................3
        1.3.      Uniform Commercial Code / PPSA Terms ............................................................52
        1.4.      Certain Matters of Construction.............................................................................52
        1.5.      Currency Matters ...................................................................................................53
        1.6.      [Reserved] ..............................................................................................................53
        1.7.      Canadian Terms .....................................................................................................53
        1.8.      Conversion of Assets .............................................................................................54
        1.9.      Term SOFR Notification........................................................................................54
        1.10.     [Reserved] ..............................................................................................................54
        1.11.     Conforming Changes Relating to Term SOFR Rate..............................................54
        1.12.     Acknowledgment. ..................................................................................................54
        1.13.     Release. ..................................................................................................................55
        1.14.     Adoption and Ratification ......................................................................................56
II.     ADVANCES, PAYMENTS. .............................................................................................56
        2.1.      Revolving Advances. .............................................................................................56
        2.2.      Procedures for Requesting Revolving Advances; Procedures for Selection
                  of Applicable Interest Rates for All Advances. .....................................................58
        2.3.      [Reserved]. .............................................................................................................60
        2.4.      Swing Loans...........................................................................................................60
        2.5.      Disbursement of Advance Proceeds ......................................................................61
        2.6.      Making and Settlement of Advances. ....................................................................62
        2.7.      Maximum Advances ..............................................................................................63
        2.8.      Manner and Repayment of Advances. ...................................................................64
        2.9.      Repayment of Excess Advances ............................................................................64
        2.10.     Statement of Account .............................................................................................65
        2.11.     Letters of Credit. ....................................................................................................65
        2.12.     Issuance of Letters of Credit. .................................................................................66
        2.13.     Requirements For Issuance of Letters of Credit. ...................................................66
        2.14.     Disbursements, Reimbursement. ...........................................................................67
        2.15.     Repayment of Participation Advances. ..................................................................68
        2.16.     Documentation .......................................................................................................69
        2.17.     Determination to Honor Drawing Request ............................................................69
        2.18.     Nature of Participation and Reimbursement Obligations ......................................69
        2.19.     Liability for Acts and Omissions. ..........................................................................71
        2.20.     Mandatory Prepayments. Subject in each case to the Intercreditor
                  Agreement and the Interim Order, or, after the entry of the Final Order, the
                  Final Order: ............................................................................................................72
        2.21.     Use of Proceeds......................................................................................................73
        2.22.     Defaulting Lender. .................................................................................................74
        2.23.     Payment of Obligations..........................................................................................76



                                                                    i
074658.23049/132216381v.5
             Case 23-10961-BLS                      Doc 13-1             Filed 07/22/23             Page 80 of 388




III.    INTEREST AND FEES. ....................................................................................................77
        3.1.      Interest....................................................................................................................77
        3.2.      Letter of Credit Fees; Cash Collateral. ..................................................................77
        3.3.      Fees ........................................................................................................................79
        3.4.      Computation of Interest and Fees ..........................................................................80
        3.5.      Maximum Charges .................................................................................................80
        3.6.      Increased Costs ......................................................................................................80
        3.7.      [Reserved] ..............................................................................................................81
        3.8.      Alternate Rate of Interest; Interest Rate Inadequate or Unfair ..............................81
        3.9.      Capital Adequacy ...................................................................................................86
        3.10.     Taxes. .....................................................................................................................87
        3.11.     Replacement of Lenders ........................................................................................90
IV.     COLLATERAL: GENERAL TERMS .............................................................................91
        4.1.      Security Interest in the Collateral ..........................................................................91
        4.3.      Perfection of Security Interest ...............................................................................92
        4.4.      Preservation of Collateral ......................................................................................92
        4.5.      Ownership and Location of Collateral. ..................................................................93
        4.6.      Defense of Agent’s and Lenders’ Interests ............................................................93
        4.7.      Inspection of Premises ...........................................................................................94
        4.8.      Appraisals ..............................................................................................................94
        4.9.      Receivables; Deposit Accounts and Securities Accounts. .....................................94
        4.10.     Inventory ................................................................................................................98
        4.11.     Maintenance of Equipment ....................................................................................98
        4.12.     Exculpation of Liability .........................................................................................98
        4.13.     Financing Statements .............................................................................................98
        4.14.     Investment Property Collateral. .............................................................................98
        4.15.     Provisions Regarding Certain Investment Property Collateral ..............................99
        4.16.     Superpriority Claims and Collateral Security ......................................................100
        4.17.     No Filings Required .............................................................................................100
        4.18.     Grants, Rights and Remedies ...............................................................................100
V.      REPRESENTATIONS AND WARRANTIES................................................................100
        5.1.      Authority ..............................................................................................................100
        5.2.      Formation and Qualification. ...............................................................................101
        5.3.      Survival of Representations and Warranties ........................................................101
        5.4.      Tax Returns ..........................................................................................................101
        5.5.      [Reserved]. ...........................................................................................................101
        5.6.      Entity Names ........................................................................................................102
        5.7.      O.S.H.A. Environmental Compliance; Flood Insurance......................................102
        5.8.      No Litigation, Violation, Indebtedness or Default; ERISA Compliance.............103
        5.9.      Intellectual Property .............................................................................................105
        5.10.     Licenses and Permits............................................................................................105
        5.11.     [Reserved] ............................................................................................................105
        5.12.     EEA Financial Institution. No Loan Party is an EEA Financial Institution.........105
        5.13.     No Burdensome Restrictions ...............................................................................105

                                                                    ii
074658.23049/132216381v.5
             Case 23-10961-BLS                    Doc 13-1              Filed 07/22/23           Page 81 of 388




        5.14.    No Labor Disputes ...............................................................................................106
        5.15.    Margin Regulations ..............................................................................................106
        5.16.    Investment Company Act ....................................................................................106
        5.17.    Swaps ...................................................................................................................106
        5.18.    Business and Property of the Loan Parties ..........................................................106
        5.19.    Ineligible Securities .............................................................................................106
        5.20.    Federal Securities Laws .......................................................................................106
        5.21.    Equity Interests ....................................................................................................106
        5.22.    Commercial Tort Claims......................................................................................107
        5.23.    Letter of Credit Rights .........................................................................................107
        5.24.    Material Contracts ................................................................................................107
        5.25.    Investment Property Collateral ............................................................................107
        5.26.    DIP Term Loan Documents/Wynnefield Loan Documents.................................107
        5.27.    Certificate of Beneficial Ownership ....................................................................107
        5.28.    Disclosure ............................................................................................................108
        5.29.    Braden Holdings ..................................................................................................108
        5.30.    Sanctions and other Anti-Terrorism Laws ...........................................................108
        5.31.    Anti-Corruption Laws ..........................................................................................108
        5.32.    Budget ..................................................................................................................108
        .        108

VI.     AFFIRMATIVE COVENANTS. ....................................................................................108
        6.1.     Compliance with Laws ........................................................................................108
        6.2.     Conduct of Business and Maintenance of Existence and Assets .........................108
        6.3.     Books and Records; Inspection Rights ................................................................109
        6.4.     Payment of Taxes.................................................................................................109
        6.5.     Use of Proceeds....................................................................................................110
        6.7.     Insurance. .............................................................................................................110
        6.8.     Payment of Obligations........................................................................................111
        6.9.     Environmental Matters.........................................................................................111
        6.10.    Standards of Financial Statements .......................................................................112
        6.11.    Federal Securities Laws .......................................................................................112
        6.12.    Execution of Supplemental Instruments ..............................................................112
        6.13.    Government Receivables .....................................................................................112
        6.14.    Keepwell ..............................................................................................................113
        6.15.    Certificate of Beneficial Ownership and Other Additional Information .............113
        6.16.    Anti-Corruption Laws, Ex-Im Laws, Anti-Money Laundering Laws and
                 Sanctions ..............................................................................................................113
        6.17.    Inspection Rights and Appraisals; Meetings with the Agent. ..............................114
        6.18.    Treasury Management Services ...........................................................................114
        6.19.    Further Assurances...............................................................................................114
        6.20.    [Reserved] ............................................................................................................115
        6.21.    Motor Vehicles.....................................................................................................115
        6.22.    Bankruptcy Schedules and Covenants. ................................................................115
        6.23.    Milestones ............................................................................................................115
        6.24.    Stalking Horse Agreement ...................................................................................116

                                                                  iii
074658.23049/132216381v.5
               Case 23-10961-BLS                   Doc 13-1             Filed 07/22/23            Page 82 of 388




        6.25.     Canadian Pension Plans .......................................................................................116
VII.    NEGATIVE COVENANTS. ...........................................................................................116
        7.1.  Merger, Consolidation, Acquisition and Sale of Assets. .....................................117
        7.2.  Creation of Liens..................................................................................................117
        7.3.  Guarantees............................................................................................................117
        7.4.  Investments ..........................................................................................................117
        7.5.  Loans ....................................................................................................................117
        7.6.  Capital Expenditures ............................................................................................117
        7.7.  Dividends and Distributions ................................................................................118
        7.8.  Indebtedness .........................................................................................................118
        7.9.  Nature of Business ...............................................................................................118
        7.10. Transactions with Affiliates .................................................................................118
        7.11. Budget Compliance ..............................................................................................118
        7.12. Subsidiaries. .........................................................................................................118
        7.13. Fiscal Year and Accounting Changes ..................................................................119
        7.14. Pledge of Credit ...................................................................................................119
        7.15. Amendment of Organizational Documents .........................................................119
        7.16. Compliance with ERISA......................................................................................119
        7.17. Prepayment of Indebtedness ................................................................................120
        7.18 [Reserved]. ............................................................................................................120
        7.19. DIP Term Loan ....................................................................................................120
        7.20. Other Agreements ................................................................................................120
        7.21. Locations ..............................................................................................................121
        7.22. Canadian Loan Party Bank Accounts ..................................................................121
        7.23. Canadian Loan Parties .........................................................................................121
        7.24. Inactive Subsidiaries ............................................................................................121
        7.25. [Reserved] ............................................................................................................121
        7.26. Term Loan Priority Collateral Account ...............................................................121
        7.27. Bankruptcy Matters..............................................................................................121
VIII.   CONDITIONS PRECEDENT. ........................................................................................122
        8.1.      Conditions to Initial Advances.............................................................................122
        8.2.      Conditions to Each Advance ................................................................................126
IX.     INFORMATION AS TO THE LOAN PARTIES. ..........................................................127
        9.1.      Disclosure of Material Matters ............................................................................127
        9.2.      Schedules .............................................................................................................127
        9.3.      Environmental Reports. .......................................................................................128
        9.4.      Litigation ..............................................................................................................129
        9.5.      Material Occurrences ...........................................................................................129
        9.6.      Government Receivables .....................................................................................129
        9.7.      Annual Financial Statements ...............................................................................129
        9.8.      Quarterly Financial Statements ............................................................................130
        9.9.      Monthly Financial Statements .............................................................................130
        9.10.     Other Reports .......................................................................................................130
        9.11.     Additional Information ........................................................................................130

                                                                   iv
074658.23049/132216381v.5
              Case 23-10961-BLS                    Doc 13-1            Filed 07/22/23            Page 83 of 388




        9.12.     Budget and Variance Reports. .............................................................................131
        9.13.     [Reserved] ............................................................................................................131
        9.14.     Notice of Suits, Adverse Events ..........................................................................131
        9.15.     ERISA Notices and Requests...............................................................................132
        9.16.     Additional Documents .........................................................................................132
        9.17.     Updates to Certain Schedules ..............................................................................133
        9.18.     Financial Disclosure.............................................................................................133
        9.19.     Teleconferences with Loan Parties ......................................................................133
        9.20.     Other Bankruptcy Documents..............................................................................133
        9.21.     Consultant ............................................................................................................134
        9.22.     Engagement of Chief Restructuring Officer. At all times until all
                  Obligations under this Agreement have been Paid in Full, Borrowers shall
                  cause a chief restructuring officer to be appointed, which person shall be
                  reasonably acceptable to Agent and the Lenders. ................................................135
X.      EVENTS OF DEFAULT. ................................................................................................135
        10.1. Nonpayment .........................................................................................................135
        10.2. Breach of Representation .....................................................................................135
        10.3. Financial Information...........................................................................................135
        10.4. Judicial Actions ....................................................................................................135
        10.5. Noncompliance ....................................................................................................135
        10.6. Judgments ............................................................................................................136
        10.7. [Reserved] ............................................................................................................136
        10.8. [Reserved]; ...........................................................................................................136
        10.9. Lien Priority .........................................................................................................136
        10.10. Term Loan/Wynnefield Default ...........................................................................136
        10.11. Cross Default .......................................................................................................136
        10.12. Breach of Guaranty, Guarantor Security Agreement or Pledge Agreement ........137
        10.13. Change of Control ................................................................................................137
        10.14. Invalidity ..............................................................................................................137
        10.15. Seizures ................................................................................................................137
        10.16. [Reserved]; ...........................................................................................................137
        10.17. Pension Plans .......................................................................................................137
        10.18. Disposition of Collateral ......................................................................................137
        10.19. Inventory ..............................................................................................................137
        10.20. Bankruptcy Defaults. ...........................................................................................138
XI.     LENDERS’ RIGHTS AND REMEDIES AFTER DEFAULT. ......................................141
        11.1.     Rights and Remedies. Upon the occurrence and during the continuance of
                  an Event of Default: .............................................................................................141
        11.2.     Agent’s Discretion ...............................................................................................143
        11.3.     [Reserved] ............................................................................................................143
        11.4.     [Reserved]. ...........................................................................................................143
        11.5.     Rights and Remedies not Exclusive.....................................................................143
        11.6.     Allocation of Payments After Event of Default ...................................................144



                                                                   v
074658.23049/132216381v.5
              Case 23-10961-BLS                    Doc 13-1             Filed 07/22/23             Page 84 of 388




XII.    WAIVERS AND JUDICIAL PROCEEDINGS. .............................................................144
        12.1.     Waiver of Notice ..................................................................................................144
        12.2.     Delay ....................................................................................................................144
        12.3.     Jury Waiver ..........................................................................................................144
XIII.   EFFECTIVE DATE AND TERMINATION. .................................................................144
        13.1.     Term .....................................................................................................................144
        13.2.     Termination ..........................................................................................................145
XIV.    REGARDING AGENT. ..................................................................................................145
        14.1. Appointment ........................................................................................................145
        14.2. Nature of Duties ...................................................................................................146
        14.3. Lack of Reliance on Agent ..................................................................................146
        14.4. Resignation of Agent; Successor Agent ..............................................................146
        14.5. Certain Rights of Agent .......................................................................................147
        14.6. Reliance................................................................................................................147
        14.7. Notice of Default..................................................................................................147
        14.8. Indemnification ....................................................................................................148
        14.9. Agent in its Individual Capacity ..........................................................................148
        14.10. Delivery of Documents ........................................................................................148
        14.11. Loan Parties Undertaking to Agent......................................................................148
        14.12. No Reliance on Agent’s Customer Identification Program .................................148
        14.13. Other Agreements ................................................................................................149
        14.14. [Reserved]. ...........................................................................................................149
        14.15. Erroneous Payments.............................................................................................149
XV.     BORROWING AGENCY. ..............................................................................................151
        15.1.     Borrowing Agency Provisions. ............................................................................151
        15.2.     Waiver of Subrogation .........................................................................................152
        15.3.     Common Enterprise .............................................................................................152
XVI.    MISCELLANEOUS. .......................................................................................................153
        16.1. Governing Law ....................................................................................................153
        16.2. Entire Understanding. ..........................................................................................153
        16.3. Successors and Assigns; Participations; New Lenders. .......................................156
        16.4. Application of Payments ......................................................................................159
        16.5. Indemnity .............................................................................................................159
        16.6. Notice ...................................................................................................................160
        16.7. Survival ................................................................................................................162
        16.8. Severability ..........................................................................................................162
        16.9. Expenses ..............................................................................................................162
        16.10. Injunctive Relief...................................................................................................163
        16.11. Consequential Damages .......................................................................................163
        16.12. Captions ...............................................................................................................163
        16.13. Counterparts; Facsimile Signatures .....................................................................163
        16.14. Construction .........................................................................................................163


                                                                   vi
074658.23049/132216381v.5
                Case 23-10961-BLS                    Doc 13-1             Filed 07/22/23            Page 85 of 388




          16.15. Confidentiality; Sharing Information ...................................................................164
          16.16. Publicity ...............................................................................................................164
          16.17. Certifications From Banks and Participants; USA PATRIOT Act. .....................164
          16.18. Anti-Terrorism Laws ...........................................................................................165
          16.19. Acknowledgment and Consent to Bail-In of EEA Financial Institutions ............166
          16.20. Currency Indemnity .............................................................................................167
          16.21. Intercreditor Agreement .......................................................................................167
          16.22. Exclusive Remedy For Any Alleged Post-Petition Claim ...................................167
          16.23. Prohibition on Surcharge .....................................................................................168
          16.24. Marshalling Obligations.......................................................................................168
          16.25. Disavowal and Waiver of Any Subsequent Relief Based on Changed
                 Circumstances ......................................................................................................168
          16.26. Interim Order and Final Order Control ................................................................169
XVII. GUARANTY. ..................................................................................................................169
          17.1.     Guaranty ...............................................................................................................169
          17.2.     Waivers ................................................................................................................169
          17.3.     No Defense...........................................................................................................169
          17.4.     Guaranty of Payment ...........................................................................................169
          17.5.     Liabilities Absolute ..............................................................................................170
          17.6.     Waiver of Notice ..................................................................................................171
          17.7.     Agent’s Discretion ...............................................................................................171
          17.8.     Reinstatement.......................................................................................................171




                                                                    vii
074658.23049/132216381v.5
             Case 23-10961-BLS            Doc 13-1    Filed 07/22/23    Page 86 of 388




                                LIST OF EXHIBITS AND SCHEDULES

Exhibits

I                           Interim Order
II                          Lien Priority Chart
III                         Initial Budget
IV                          Intercreditor Agreement
Exhibit 1.2(a)              Form of Borrowing Base Certificate
Exhibit 1.2(b)              Form of Compliance Certificate
Exhibit 2.1                 Form of Revolving Credit Note
Exhibit 2.4                 Form of Swing Loan Note
Exhibit 3.10                Forms of US Tax Compliance Certificates
Exhibit 8.1(e)              Form of Closing Date Certificate
Exhibit 16.3                Form of Commitment Transfer Supplement


Schedules

Schedule 1.1                Commitments
Schedule 1.2                Permitted Encumbrances
Schedule 1.3                Existing Letter of Credit
Schedule 4.4(b)(i)          Equipment and Inventory Locations
Schedule 4.4(b)(ii)         Equipment and Inventory Locations – Warehouses
Schedule 4.4(b)(iii)        (A) Places of Business and (B) Chief Executive Offices
Schedule 4.4(b)(iv)         Owned or Leased Real Property
Schedule 4.8(j)             Deposit and Investment Accounts
Schedule 5.1                Consents
Schedule 5.2(a)             States of Qualification and Good Standing
Schedule 5.2(b)             Subsidiaries
Schedule 5.4                Federal Tax Identification Number
Schedule 5.6                Prior Names
Schedule 5.7                Environmental
Schedule 5.8(b)             Litigation
Schedule 5.8(c)             Indebtedness
Schedule 5.8(e)             Plans
Schedule 5.8(f)             Canadian Plans
Schedule 5.9                Intellectual Property
Schedule 5.10               Licenses and Permits
Schedule 5.14               Labor Disputes
Schedule 5.21               Equity Interests
Schedule 5.22               Commercial Tort Claims
Schedule 5.23               Letter of Credit Rights
Schedule 5.24               Material Contracts
Schedule 7.3                Guarantees
Schedule 7.4                Permitted Joint Ventures
Schedule 7.5                Intercompany Loans

                                                   viii
074658.23049/132216381v.5
             Case 23-10961-BLS   Doc 13-1        Filed 07/22/23   Page 87 of 388




                                            ix
074658.23049/132216381v.5
             Case 23-10961-BLS       Doc 13-1     Filed 07/22/23     Page 88 of 388




         SUPER-PRIORITY           SENIOR           SECURED           DEBTOR-IN-POSSESSION
REVOLVING CREDIT AND SECURITY AGREEMENT, dated as of July [ ], 2023, by and
among WILLIAMS INDUSTRIAL SERVICES GROUP INC., a Delaware corporation
(“Holdings”), WILLIAMS INDUSTRIAL SERVICES GROUP, L.L.C., a Delaware limited
liability company (“WISG”), WILLIAMS INDUSTRIAL SERVICES, LLC, a Georgia limited
liability company (“WISI”), WILLIAMS SPECIALTY SERVICES, LLC, a Georgia limited
liability company (“WSS”), WILLIAMS PLANT SERVICES, LLC, a Georgia limited liability
company (“WPS”), WILLIAMS GLOBAL SERVICES, INC., a Georgia corporation (“Global”),
CONSTRUCTION & MAINTENANCE PROFESSIONALS, LLC, a Georgia limited liability
company (“Construction”), WISG ELECTRICAL, LLC, a New York limited liability company
(“Electrical”, and together with Holdings, WISG, WISI, WSS, WPS, Global, Construction, and
each Person joined hereto as a Borrower from time to time, and all of their permitted successors
and assigns, each, a “Borrower” and collectively, the “Borrowers”), GLOBAL POWER
PROFESSIONAL SERVICES INC. a Delaware corporation (“Power”), GPEG, LLC, a Delaware
limited liability company (“GPEG”), STEAM ENTERPRISES LLC, a Delaware limited liability
company (“Steam”), WISG CANADA LTD., a limited company formed in the province of British
Columbia, Canada (“WISG Canada”), WISG NUCLEAR LTD., a limited company formed in the
province of British Columbia, Canada (“WISG Nuclear”), WISG ELECTRICAL LTD., a limited
company formed in the province of British Columbia, Canada (“WISG Electrical”, and together
with Power, GPEG, Steam, WISG Canada, WISG Nuclear and each Person joined hereto as a
Guarantor from time to time, and all of their permitted successors and assigns, each, a “Guarantor”
and collectively, the “Guarantors”, and together with the Borrowers, collectively the “Loan
Parties” and each a “Loan Party”), the financial institutions which are now or which hereafter
become a party hereto (together with their respective successors and assigns, collectively, the
“Lenders” and each individually a “Lender”), and PNC BANK, NATIONAL ASSOCIATION
(“PNC”), in its capacity as agent for Lenders (in such capacity, together with its successors and
assigns, the “Agent”).

                                          RECITALS

         A.      On July [ ], 2023 (the “Petition Date”), (i) the Borrowers, (ii) Holdings and
(iii) certain of the Borrower’s subsidiaries and affiliates (each, a “Debtor” and collectively, the
“Debtors”) filed voluntary petitions for relief with the United States Bankruptcy Court for the
District of Delaware (together any other court having jurisdiction over the Cases (as defined
below), the “Bankruptcy Court”) under Chapter 11 of the Bankruptcy Code, (each case of the
Borrower and each other Debtor, a “Case” and collectively, the “Cases”). The Cases are identified
as Bankruptcy Case No. [         ] ([ ]). Each Debtor remains in possession of its assets and is
operating its business as a debtor-in-possession pursuant to Sections 1107 and 1108 of the
Bankruptcy Code.

       B.     Pursuant to that certain Revolving Credit and Security Agreement, dated as of
December 16, 2020 (as the same may have been further amended, supplemented and modified
through the date hereof, the “Prepetition Revolving Credit Agreement”), by and among the
Borrowers, Holdings, certain Subsidiaries of the Borrower, the financial institutions party thereto
as lenders as of the Petition Date (collectively, in such capacity, the “Prepetition Revolving


074658.20114/130115845v.5
074658.23049/132216381v.5
             Case 23-10961-BLS         Doc 13-1        Filed 07/22/23    Page 89 of 388




Lenders”) and PNC Bank, as Agent and collateral agent for Prepetition Revolving Lenders (in
such capacity, “Prepetition Agent”), Prepetition Agent and Prepetition Revolving Lenders made
certain credit facilities and advances of credit available to Borrowers prior to the Petition Date on
the terms and conditions set forth therein, which credit facilities and advances of credit and all
other Prepetition Obligations (as defined below) thereunder are unconditionally guaranteed and
secured by Liens on substantially all the assets of the Borrowers and the Prepetition Guarantors.

        C.       The Borrowers have requested that during the Cases, Agent and the Lenders make
advances and other financial accommodations available to the Borrowers up to the Maximum
Revolving Advance Amount specified herein on a, with respect to the Borrowers, senior secured,
superpriority basis, pursuant to, inter alia, Sections 364(c) and (d) of the Bankruptcy Code, as more
fully set forth herein (the “DIP Revolving Facility”).

        D.       Agent and the Lenders are willing to provide Advances and other financial
accommodations to the Debtors on a senior secured, superpriority basis on the terms and subject
to the conditions of this Agreement, so long as, among other things, such post-petition credit
obligations are, subject to the Interim Order and, upon entry of the Final Order, the Final Order
and the Intercreditor Agreement, (i) secured by Liens on all of the assets, property and interests,
real and personal, tangible and intangible, of the Debtors, whether now owned or hereafter
acquired, which Liens are superior to all other Liens pursuant to Sections 364(c) and (d) of the
Bankruptcy Code (except as set forth herein and in the Interim Order and Final Order); (ii) given
priority over any administrative expenses of the kind specified in the Bankruptcy Code, including
without limitation, under Sections 105, 326, 328, 330, 331, 364(c)(1), 365, 503, 506(c) (upon entry
of the Final Order), 507, 546(c), 726, 1113 or 1114 of the Bankruptcy Code, as provided in, and
subject to, the Interim Order and the Final Order; (iii) secured by Liens on all of the assets, property
and interests, real and personal, tangible and intangible, of the Debtors, whether now owned or
hereafter acquired, which Liens are superior to all other Liens (except as set forth herein and in the
Interim Order and Final Order); and (iv) guaranteed by the Guarantors pursuant to the terms hereof.

       E.    On the Closing Date, the Borrowers will also obtain loans and commitments under
the DIP Term Loan Credit Agreement (as hereinafter defined).

      F.      The Borrowers and the Guarantors are engaged in related businesses, and each
Guarantor will derive substantial direct and indirect benefit from the extensions of credit to the
Borrowers under this Agreement

       NOW, THEREFORE, in consideration of the premises and the agreements, provisions
and covenants herein contained, the parties hereto agree as follows:

I.      DEFINITIONS.

        1.1. Accounting Terms. As used in this Agreement, the Other Documents or any
certificate, report or other document made or delivered pursuant to this Agreement, accounting
terms not defined in Section 1.2 hereof or elsewhere in this Agreement and accounting terms partly
defined in Section 1.2 hereof to the extent not defined shall have the respective meanings given to
them under GAAP; provided, however that, whenever such accounting terms are used for the
purposes of determining compliance with financial covenants in this Agreement, such accounting

                                                   2
074658.23049/132216381v.5
             Case 23-10961-BLS        Doc 13-1        Filed 07/22/23   Page 90 of 388




terms shall be defined in accordance with GAAP as applied in preparation of the audited financial
statements of Holdings and its Subsidiaries for the fiscal year ended December 31, 2022. If there
occurs after the Closing Date any change in GAAP that affects in any respect the calculation of
any covenant set forth in this Agreement or the definition of any term defined under GAAP used
in such calculations, Agent, Lenders and the Loan Parties shall negotiate in good faith to amend
the provisions of this Agreement that relate to the calculation of such covenants with the intent of
having the respective positions of Agent, Lenders and the Loan Parties after such change in GAAP
conform as nearly as possible to their respective positions as of the Closing Date, provided, that,
until any such amendments have been agreed upon, the covenants in this Agreement shall be
calculated as if no such change in GAAP had occurred and the Loan Parties shall provide additional
financial statements or supplements thereto, attachments to Compliance Certificates and/or
calculations regarding financial covenants as Agent may require in order to provide the appropriate
financial information required hereunder with respect to the Loan Parties both reflecting any
applicable changes in GAAP and as necessary to demonstrate compliance with the financial
covenants before giving effect to the applicable changes in GAAP.

       1.2.  General Terms. For purposes of this Agreement, the following terms shall have the
following meanings:

       “Administrative Questionnaire” shall mean the administrative questionnaire in a form
supplied by Agent to be completed by each Lender.

      “Advance Rates” shall mean the advance rates in respect of Eligible Receivables, Eligible
JV Receivables, and Eligible Unbilled Receivables set forth in Section 2.1(a) hereof.

      “Advances” shall mean and include the Revolving Advances, Letters of Credit, and the
Swing Loans.

      “Affected Financial Institution” shall mean (a) any EEA Financial Institution or (b) any
UK Financial Institution.

        “Affected Lender” shall have the meaning set forth in Section 3.11 hereof.

         “Affiliate” of any Person shall mean (a) any Person which, directly or indirectly, is in
control of, is controlled by, or is under common control with such Person, or (b) any Person who
is a director, manager, member, managing member, general partner or officer (i) of such Person,
(ii) of any Subsidiary of such Person or (iii) of any Person described in clause (a) above. For
purposes of this definition, control of a Person shall mean the power, direct or indirect, (x) to vote
five percent (5%) or more of the Equity Interests having ordinary voting power for the election of
directors of such Person or other Persons performing similar functions for any such Person, or
(y) to direct or cause the direction of the management and policies of such Person whether by
ownership of Equity Interests, contract or otherwise.

       “Agent” shall have the meaning set forth in the preamble to this Agreement and shall
include its successors and assigns.




                                                  3
074658.23049/132216381v.5
             Case 23-10961-BLS         Doc 13-1       Filed 07/22/23    Page 91 of 388




       “Agreement” shall mean this Super-Priority Senior Secured Debtor-In-Possession
Revolving Credit and Security Agreement dated as of July [ ], 2023 , as the same may be amended,
modified, supplemented, renewed, restated or replaced from time to time.

        “Allowed Professional Fees” shall have the meaning set forth in in the Final Order, or,
prior to the entry of the Final Order, the Interim Order.

        “Alternate Base Rate” shall mean, for any day, a rate per annum equal to the highest of
(a) the Base Rate in effect on such day, (b) the sum of the Overnight Bank Funding Rate in effect
on such day plus one half of one percent (0.5%), and (c) the sum of Daily Simple SOFR in effect
on such day plus one percent (1.0%), so long as Daily Simple SOFR is offered, ascertainable and
not unlawful; provided, however, if the Alternate Base Rate as determined above would be less
than zero, then such rate shall be deemed to be zero. Any change in the Alternate Base Rate (or
any component thereof) shall take effect at the opening of business on the day such change occurs.

      “Alternate Source” shall have the meaning set forth in the definition of “Overnight Bank
Funding Rate”.

       Anti-Corruption Laws shall mean the United States Foreign Corrupt Practices Act of 1977,
as amended, the UK Bribery Act 2010, and any other similar anti-corruption laws or regulations
administered or enforced in any jurisdiction in which the Borrower or any of its Subsidiaries
conduct business.

       Anti-Terrorism Laws shall mean any Laws relating to terrorism, trade sanctions programs
and embargoes (including economic or financial sanction or trade embargoes imposed,
administered or enforced by (a) the United States Government, including, without limitation, the
Office of Foreign Assets Control, or (b) the United Nations Security Council, Canada, the
European Union, any European Union member state or Her Majesty’s Treasury of the United
Kingdom), import/export licensing, money laundering, corruption or bribery (including Laws
comprising or implementing the Canadian Anti-Money Laundering & Anti-Terrorism
Legislation), and any regulation, order, or directive promulgated, issued or enforced pursuant to
such Laws, including the Proceeds of Crime (Money Laundering) and Terrorist Financing Act
(Canada), all as amended, supplemented or replaced from time to time.

        “Applicable Law” shall mean all Laws applicable to the Person, conduct, transaction,
covenant, Other Document or contract in question, all provisions of all applicable state, province,
federal and foreign constitutions, statutes, rules, regulations, treaties, directives and orders of any
Governmental Body, and all orders, judgments and decrees of all courts and arbitrators.

      “Applicable Margin” shall mean (a) an amount equal to three and one quarter percent
(3.25%) for (i) Revolving Advances consisting of Domestic Rate Loans and (ii) Swing Loans, (b)
an amount equal to four and one quarter percent (4.25%) for Revolving Advances consisting of
Term SOFR Rate Loans.

        “Application Date” shall have the meaning set forth in Section 2.8(b) hereof.

        “Approvals” shall have the meaning set forth in Section 5.7(b) hereof.


                                                  4
074658.23049/132216381v.5
             Case 23-10961-BLS         Doc 13-1       Filed 07/22/23    Page 92 of 388




       “Approved 363 Sale” shall mean any sale of the Debtors’ assets or business pursuant to
Section 363 of the Bankruptcy Code approved by the Agent pursuant to appropriate orders of the
Bankruptcy Court that are approved by and acceptable to Agent.

         “Approved Bankruptcy Court Order” shall mean (a) each of the DIP Orders, as such order
is amended and in effect from time to time in accordance with this Agreement, (b) any other order
entered by the Bankruptcy Court regarding, relating to or impacting (i) any rights or remedies of
any Secured Party, (ii) the Credit Documents (including the Loan Parties’ obligations thereunder),
(iii) the Collateral, any Liens thereon or any superpriority claims (including, without limitation,
any sale or other disposition of Collateral outside of the ordinary course of business or, subject to
the Carve Out, the priority of any such Liens or superpriority claims), (iv) use of Cash Collateral,
(v) debtor-in-possession financing, (vi) adequate protection or otherwise relating to any Prepetition
Secured Indebtedness or (vii) any plan of reorganization, in the case of each of the foregoing
clauses (i) through (vii), that (x) is in form and substance reasonably satisfactory to the Agent (with
respect to its own treatment) and the Required Lenders, (y) has not been vacated, reversed or stayed
and (z) has not been amended or modified in a manner adverse to the rights of the Agent or the
Lenders except as agreed in writing by the Agent (solely with respect to its own treatment) and the
Required Lenders in their sole discretion, and (c) any other order entered by the Bankruptcy Court
that (i) is in form and substance satisfactory to the Agent and the Required Lenders, (ii) has not
been vacated, reversed or stayed and (iii) has not been amended or modified except in a manner
reasonably satisfactory to the Agent and the Required Lenders.

       “Approved Budget” shall mean (i) the Initial Budget or (ii) the then most current Budget
prepared by the Borrowers, as approved by the Agent in its sole discretion.

       “Approved Electronic Communication” shall mean each notice, demand, communication,
information, document and other material transmitted, posted or otherwise made or communicated
by e-mail, e-fax, the Credit Management Module of PNC’s PINACLE® system, or any other
equivalent electronic service agreed to by Agent, whether owned, operated or hosted by Agent,
any Lender, any of their Affiliates or any other Person, that any party is obligated to, or otherwise
chooses to, provide to Agent pursuant to this Agreement or any Other Document, including any
financial statement, financial and other report, notice, request, certificate and other information
material; provided that Approved Electronic Communications shall not include any notice,
demand, communication, information, document or other material that Agent specifically instructs
a Person to deliver in physical form.

       “Authorized Officer” shall mean, with respect to any Person, any Financial Officer of such
Person or any individual holding the position of chief executive officer, president, chief
administrative officer, vice president (or the equivalent thereof) or secretary of such Person;
provided that, when such term is used in reference to any document executed by, or a certification
of, an Authorized Officer, the secretary, assistant secretary or other Authorized Officer of such
Person shall have delivered an incumbency certificate to the Agent as to the authority of such
individual.

       “Bail-In Action” shall mean the exercise of any Write-Down and Conversion Powers by
the applicable Resolution Authority in respect of any liability of an Affected Financial Institution.


                                                  5
074658.23049/132216381v.5
             Case 23-10961-BLS          Doc 13-1        Filed 07/22/23    Page 93 of 388




         “Bail-In Legislation” shall mean (a) with respect to any EEA Member Country
implementing Article 55 of Directive 2014/59/EU of the European Parliament and of the Council
of the European Union, the implementing law, regulation rule or requirement for such EEA
Member Country from time to time which is described in the EU Bail-In Legislation Schedule and
(b) with respect to the United Kingdom, Part I of the United Kingdom Banking Act 2009 (as
amended from time to time) and any other law, regulation or rule applicable in the United Kingdom
relating to the resolution of unsound or failing banks, investment firms or other financial
institutions or their affiliates (other than through liquidation, administration or other insolvency
proceedings).

       “Bail-In Legislation Schedule” shall mean the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

       “Bankruptcy Code” shall mean Title 11, U.S.C., as now or hereafter in effect, or any
successor thereto.

        “Bankruptcy Court” shall have the meaning set forth in the recitals hereto.

        “Bankruptcy Law” shall mean each of (i) the Bankruptcy Code, (ii) any domestic or foreign
law relating to liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors,
moratorium, rearrangement, administration, insolvency, reorganization, debt adjustment,
receivership or similar debtor relief from time to time in effect and affecting the rights of creditors
generally (including without limitation any plan of arrangement provisions of applicable
corporation statutes), and (iii) any order made by a court of competent jurisdiction in respect of
any of the foregoing.

         “Base Rate” shall mean the base commercial lending rate of PNC as publicly announced
to be in effect from time to time, such rate to be adjusted automatically, without notice, on the
effective date of any change in such rate. This rate of interest is determined from time to time by
PNC as a means of pricing some loans denominated in U.S. Dollars to its customers and is neither
tied to any external rate of interest or index nor does it necessarily reflect the lowest rate of interest
actually charged by PNC to any particular class or category of customers of PNC.

       “Beneficial Owner” shall mean, for each Loan Party (other than Holdings), each of the
following: (a) each individual, if any, who, directly or indirectly, owns 25% or more of such Loan
Party’s Equity Interests; and (b) a single individual with significant responsibility to control,
manage, or direct such Loan Party.

        “Benefited Lender” shall have the meaning set forth in Section 2.6(e) hereof.

        “Blocked Account Bank” shall have the meaning set forth in Section 4.8(h) hereof.

        “Blocked Accounts” shall have the meaning set forth in Section 4.8(h) hereof.

      “Borrower” or “Borrowers” shall have the meaning set forth in the preamble to this
Agreement and shall include their respective successors and permitted assigns.

        “Borrowers’ Account” shall have the meaning set forth in Section 2.10 hereof.

                                                    6
074658.23049/132216381v.5
             Case 23-10961-BLS           Doc 13-1        Filed 07/22/23     Page 94 of 388




        “Borrowing Agent” shall mean Holdings.

         “Borrowing Base Certificate” shall mean a certificate in substantially the form of
Exhibit 1.2(a) hereto duly executed by the President, Chief Financial Officer or Controller of
Borrowing Agent and delivered to Agent, appropriately completed, by which such officer shall
certify to Agent the Formula Amount and calculation thereof as of the date of such certificate.

        “Braden” shall mean Braden Holdings, LLC, a Delaware limited liability company.

       “Braden Mexico” shall mean Braden Manufacturing SA de CV, a company formed under
the laws of Mexico.

       “Budget” shall mean (a) initially, the Initial Budget, and (b) subsequent to the Initial Budget, each
updated thirteen-week budget delivered pursuant to Section 9.12(b) hereof.

        “Business Day” shall mean any day other than Saturday or Sunday or a legal holiday on
which commercial banks are authorized or required by Law to be closed for business in East
Brunswick, New Jersey; provided that when used in connection with an amount that bears interest
at a rate based on SOFR or any direct or indirect calculation or determination of SOFR, the
“Business Day” means any such day that is also a U.S. Government Securities Business Day.

        “Canadian Benefit Plans” shall mean any plan, fund, program, or policy, whether or not
written, formal or informal, funded or unfunded, insured or uninsured, providing benefits including
medical, hospital care, dental, sickness, accident, disability, life insurance, pension, retirement or
savings benefits under which any Loan Party has any liability with respect to any employees or
former employees, arising from employment in Canada, but excluding any Canadian Pension Plan
and any Canadian Union Plan.

        “Canadian Dollar” and the sign “CA$” shall mean lawful money of Canada.

        “Canadian Dollar Sublimit” shall mean $0.

        “Canadian Loan Parties” shall mean WISG Canada, WISG Nuclear, WISG Electrical and
each other Loan Party joined hereto from time to time who is formed in Canada or a province or
territory of Canada.

      “Canadian Loan Party Bank Account” means, any bank account maintained by a Canadian
Loan Party in the Ordinary Course of Business

        “Canadian Pension Event” shall mean (a) the termination or wind-up in whole or in part of
any Canadian Pension Plan or the institution of proceedings by any Governmental Body to
terminate or wind-up in whole or in part or have a trustee or a replacement administrator appointed
to administer a Canadian Pension Plan, (b) the occurrence of an event under the Income Tax Act
(Canada) that could reasonably be expected to affect the registered status of any Canadian Pension
Plan, (c) the taking of any action with respect to any Canadian Pension Plan which could
reasonably be expected to have a Material Adverse Effect, (d) receipt by a Loan Party of any order
or notice of intention to issue an order from the applicable pension standards regulator or similar
Governmental Body that could reasonably be expected to affect the registered status or cause the

                                                     7
074658.23049/132216381v.5
             Case 23-10961-BLS        Doc 13-1       Filed 07/22/23    Page 95 of 388




termination or wind-up (in whole or in part) of any Canadian Pension Plan, (e) the receipt of notice
by the administrator or the funding agent of any failure to remit contributions to a Canadian
Pension Plan, (f) the adoption of any amendment to a Canadian Pension Plan that would require
the provision of security pursuant to Applicable Law, or (g) any other extraordinary event or
condition with respect to a Canadian Pension Plan that could reasonably be expected to result in a
Lien or any acceleration of any statutory requirements to fund all or a substantial portion of the
unfunded liabilities of such plan.

        “Canadian Pension Plans” shall mean a pension plan that is a “registered pension plan” as
defined in subsection 248(1) of the Income Tax Act (Canada) and which is maintained or
contributed to by, or to which there is or may be an obligation to contribute by any Borrower in
respect of its employees or former employees, arising from employment in Canada, but does not
include the Canada Pension Plan or the Quebec Pension Plan as maintained by the Government of
Canada or the Province of Quebec and does not include any Canadian Union Plans.

        “Canadian Union Plans” means any and all pension and other benefit plans for the benefit
of employees or former employees, arising from employment in Canada, of any Loan Party that
are not maintained, sponsored or administered solely by such Loan Party, but to which such Loan
Party is or was required to contribute pursuant to a collective agreement or participation agreement.

        “Capital Expenditures” shall mean expenditures made or Indebtedness incurred for the
acquisition of any fixed assets or improvements (or of any replacements or substitutions thereof or
additions thereto) which have a useful life of more than one year and which, in accordance with
GAAP, would be classified as capital expenditures. Capital Expenditures for any period shall
include the total principal portion of Capitalized Lease Obligations paid in such period.

       “Capitalized Lease Obligation” shall mean any Indebtedness of any Loan Party represented
by obligations under a lease that is required to be capitalized for financial reporting purposes in
accordance with GAAP.

         “Captive Insurance Subsidiary” shall mean a wholly-owned Subsidiary of a Loan Party
formed after the Closing Date that (a) provides bona fide risk-mitigation services for any Loan
Party or the Loan Parties (and no other Persons), (b) is subject to regulation under Applicable Law
as an insurance company, and (c) has been formed, and continues to be operated, because the Loan
Parties have reasonably determined that either (i) the Loan Parties cannot find a third-party insurer
to insure them against particular business risks that the insurance subsidiary provides insurance
for, (ii) the premiums paid to the insurance subsidiary result in material tax savings for the Loan
Parties, taken as a whole, and/or (iii) the insurance provided by the insurance subsidiary is more
affordable, and/or offers better coverage (taken as a whole), than is available from a third-party
insurer.

       “Carve Out” shall have the meaning set forth in the Interim Order and, upon entry of the
Final Order, the Final Order. For the avoidance of doubt, the Agent shall have no obligation to
fund the Carve Out.




                                                 8
074658.23049/132216381v.5
             Case 23-10961-BLS        Doc 13-1        Filed 07/22/23    Page 96 of 388




        “Carve Out Reserve” shall have the meaning set forth in the Interim Order and, upon entry
of the Final Order, the Final Order. For the avoidance of doubt, the Agent shall have no obligation
to fund the Carve Out Reserve.

        “Cases” shall have the meaning set forth the recitals hereto.

        “Cash Equivalents” shall mean (a) marketable direct obligations issued by, or
unconditionally guaranteed by, the federal government of Canada or any agency thereof or the
United States or any agency thereof and backed by the full faith and credit of the United States, in
each case maturing within one year from the date of acquisition thereof, (b) marketable direct
obligations issued or fully guaranteed by any state of the United States or any political subdivision
of any such state or any public instrumentality thereof or any province of Canada or maturing
within one year from the date of acquisition thereof and, at the time of acquisition, having one of
the two highest ratings obtainable from either S&P or Moody’s, (c) commercial paper maturing
no more than 270 days from the date of creation thereof and, at the time of acquisition, having a
rating of at least A-1 from S&P or at least P-1 from Moody’s, (d) certificates of deposit, time
deposits, overnight bank deposits or bankers’ acceptances maturing within one year from the date
of acquisition thereof issued by any bank organized under the laws of Canada or the United States
or any state thereof or the District of Columbia or any Canadian or United States branch of a
foreign bank having at the date of acquisition thereof combined capital and surplus of not less than
$500,000,000, (e) deposit accounts maintained with (i) any bank that satisfies the criteria described
in clause (d) above, or (ii) any other bank organized under the laws of Canadian or the United
States or any state thereof so long as the full amount maintained with any such other bank is insured
by Canada Deposit Insurance Corporation or, as the case may be, the Federal Deposit Insurance
Corporation, (f) repurchase obligations of any commercial bank satisfying the requirements of
clause (d) of this definition or recognized securities dealer having combined capital and surplus of
not less than $500,000,000, having a term of not more than seven days, with respect to securities
satisfying the criteria in clauses (a) or (d) above, (g) debt securities with maturities of six months
or less from the date of acquisition backed by standby letters of credit issued by any commercial
bank satisfying the criteria described in clause (d) above, and (h) Investments in money market
funds substantially all of whose assets are invested in the types of assets described in clauses (a)
through (g) above.

       “Cash Management Orders” shall mean, collectively, the order approving that certain
Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
(A) continue to Operate Their Cash Management System (B) Maintain Existing Bank Accounts,
Business Forms, and Books and Records, (II) Authorizing Continued Intercompany Transactions,
(III) Granting Administrative Expense Status to Postpetition Intercompany Transactions, and
(IV) Granting Related Relief filed on or before the date hereof and entered in any of the Cases (in
each case, together with all extensions, modifications and amendments thereto, and in each case,
in form and substance acceptable to the Agent and the Required Lenders), which among other
matters authorizes the Debtors to maintain their existing cash management system and bank
accounts and to continue to engage in intercompany transactions, which is in form and substance
acceptable to the Agent and the Required Lenders.

       “Cash Management Obligations” shall mean the Indebtedness of any Loan Party and its
Subsidiaries to the provider of any Cash Management Products and Services (including all

                                                  9
074658.23049/132216381v.5
             Case 23-10961-BLS       Doc 13-1        Filed 07/22/23   Page 97 of 388




Indebtedness owing to such provider in respect of any returned items deposited with such
provider). For purposes of this Agreement and all of the Other Documents, all Cash Management
Obligations of any Loan Party owing to any of the Secured Parties shall be “Obligations”
hereunder and under the Other Documents, and the Liens securing such Cash Management
Obligations shall be pari passu with the Liens securing all other Obligations under this Agreement
and the Other Documents, subject to the express provisions of Section 11.6 hereof.

        “Cash Management Products and Services” shall mean agreements or other arrangements
under which Agent, any Lender or any Affiliate of Agent or any Lender provides or arranges for
and provides credit support for the provision of any of the following products or services to any
Loan Party: (a) credit cards; (b) credit card processing services; (c) debit cards and stored value
cards; (d) commercial cards; (e) ACH transactions; and (f) cash management and treasury
management services and products, including without limitation controlled disbursement accounts
or services, lockboxes, blocked accounts, automated clearinghouse transactions, overdrafts and
interstate depository network services.

        “CCAA” shall mean Companies' Creditors Arrangement Act (Canada).

        “CEA” shall mean the Commodity Exchange Act (7 U.S.C. §1 et seq.), as amended from
time to time, and any successor statute.

        “CERCLA” shall mean the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, as amended, 42 U.S.C. §§9601 et seq.

      “Certificate of Beneficial Ownership” shall mean, for each Loan Party (other than
Holdings), the certificate in form and substance acceptable to Agent (as amended or modified by
Agent from time to time in its sole discretion), certifying, among other things, the Beneficial
Owner of such Loan Party.

        “CFTC” shall mean the Commodity Futures Trading Commission.

        “Change in Law” shall mean the occurrence, after the Closing Date, of any of the
following: (a) the adoption or taking effect of any Applicable Law; (b) any change in any
Applicable Law or in the administration, implementation, interpretation or application thereof by
any Governmental Body; or (c) the making or issuance of any request, rule, guideline or directive
(whether or not having the force of Law) by any Governmental Body; provided that
notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and
Consumer Protection Act and all requests, rules, regulations, guidelines, interpretations or
directives thereunder or issued in connection therewith (whether or not having the force of
Applicable Law) and (y) all requests, rules, regulations, guidelines, interpretations or directives
promulgated by the Bank for International Settlements, the Basel Committee on Banking
Supervision (or any successor or similar authority) or the United States or foreign regulatory
authorities (whether or not having the force of Law), in each case pursuant to Basel III, shall in
each case be deemed to be a Change in Law regardless of the date enacted, adopted, issued,
promulgated or implemented.

        “Change of Control” shall mean the occurrence of any event (whether in one or more
transactions) which results in: (a) any Person or “group” (within the meaning of Rules 13d-3 and

                                                10
074658.23049/132216381v.5
             Case 23-10961-BLS             Doc 13-1        Filed 07/22/23   Page 98 of 388




13d-5 under the Exchange Act) (i) acquiring beneficial ownership of thirty-five percent (35%) or
more on a fully diluted basis of the voting and/or economic interest in the Equity Interests of
Holdings or (ii) obtaining the power (whether or not exercised) to elect a majority of the members
of the board of directors (or similar governing body) of Holdings, (b) the majority of the seats (other
than vacant seats) on the board of directors (or similar governing body) of Holdings cease to be
occupied by Persons who either (i) were members of the board of directors of Holdings on the
Closing Date, or (ii) were nominated for election by the board of directors of Holdings, a majority
of whom were directors on the Closing Date or whose election or nomination for election was
previously approved by a majority of such directors, (c) except with respect to Braden Mexico,
Holdings failing to own, directly or indirectly, one hundred (100%) percent of the Equity Interests
(on a fully diluted basis) of any other Loan Party, (d) WISG failing to own, directly or indirectly,
one hundred (100%) percent of the Equity Interests (on a fully diluted basis) of WISI, WSS, WPS,
Global, Construction and WISG Canada, (e) WISG Canada failing to own one hundred (100%)
percent of the Equity Interests (on a fully diluted basis) of WISG Nuclear and WISG Electrical,
and/or (f) other than as permitted pursuant to Section 7.1 hereof, any merger, consolidation or sale
of substantially all of the property or assets of any Loan Party; provided, that the sale by Holdings
of any Equity Interests of any Loan Party shall be deemed a sale of substantially all of Holding’s
assets. For purposes of this definition, “control” of any Person shall mean the power, direct or
indirect (x) to vote more than fifty percent (50%) of the Equity Interests having ordinary voting
power for the election of directors (or the individuals performing similar functions) of such Person
or (y) to direct or cause the direction of the management and policies of such Person by contract
or otherwise.

        “Charges” shall mean all taxes, charges, fees, imposts, levies or other assessments,
including all net income, gross income, gross receipts, sales, use, ad valorem, value added, transfer,
franchise, profits, inventory, capital stock, license, withholding, payroll, employment, social
security, Canada Pension Plan and provincial pension plan contributions, unemployment, excise,
severance, stamp, occupation and property taxes, custom duties, fees, assessments, liens, claims
and charges of any kind whatsoever, together with any interest and any penalties, additions to tax
or additional amounts, imposed by any taxing or other authority, domestic or foreign (including
the PBGC or any environmental agency or superfund), upon the Collateral, any Loan Party or any
of its Affiliates.

        “CIP Regulations” shall have the meaning set forth in Section 14.12 hereof.

        “Claims” shall have the meaning assigned to such term in section 101 of the Bankruptcy
Code.

        “Closing Date” shall mean the date of this Agreement.

        “Collateral” shall mean and include all right, title and interest of each Loan Party in all of
the following property and assets of such Loan Party, in each case whether now existing or
hereafter arising or created and whether now owned or hereafter acquired and wherever located:

                (a)         all Receivables and all supporting obligations relating thereto;

                (b)         all Equipment and fixtures;


                                                      11
074658.23049/132216381v.5
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23   Page 99 of 388




               (c)     all general intangibles (including all payment intangibles and all software)
and all supporting obligations related thereto;

                (d)         all Inventory;

               (e)    all Subsidiary Stock, securities, Investment Property, Intellectual Property
and financial assets;

                 (f)     all contract rights, rights of payment which have been earned under any
contract, chattel paper (including electronic chattel paper and tangible chattel paper), commercial
tort claims, documents (including all warehouse receipts and bills of lading), deposit accounts,
goods, instruments (including promissory notes), letters of credit (whether or not the respective
letter of credit is evidenced by a writing) and letter-of-credit rights, cash, certificates of deposit,
insurance proceeds (including hazard, flood and credit insurance), security agreements, eminent
domain proceeds, condemnation proceeds, tort claim proceeds and all supporting obligations;

                (g)     all ledger sheets, ledger cards, files, correspondence, records, books of
account, business papers, computers, computer software (owned by such Loan Party or in which
it has an interest), computer programs, tapes, disks and documents, including all of such property
relating to the property described in clauses (a) through and (h) of this definition; and

               (h)     all proceeds and products of the property described in clauses (a) through
and including (g) of this definition, in whatever form.

It is the intention of the parties hereto that if Agent shall fail to have a perfected Lien in any
particular property or assets of any Loan Party for any reason whatsoever, but the provisions of
this Agreement and/or of the Other Documents, together with all financing statements and other
public filings relating to Liens filed or recorded by Agent against the Loan Parties, would be
sufficient to create a perfected Lien in any property or assets that such Loan Party may receive
upon the sale, lease, license, exchange, transfer or disposition of such particular property or assets,
then all such “proceeds” of such particular property or assets shall be included in the Collateral as
original collateral that is the subject of a direct and original grant of a security interest as provided
for herein and in the Other Documents (and not merely as proceeds (as defined in Article 9 of the
Uniform Commercial Code) in which a security interest is created or arises solely pursuant to
Section 9-315 of the Uniform Commercial Code).

Notwithstanding the foregoing, Collateral shall not include any Excluded Property.

        “Commitments” shall mean the Revolving Commitments.

        “Commitment Transfer Supplement” shall mean a document in the form of Exhibit 16.3
hereto, properly completed and otherwise in form and substance satisfactory to Agent by which
the Purchasing Lender purchases and assumes all or a portion of the right, title and interest of the
assigning Lender in respect of the outstanding Revolving Advances and Letters of Credit and such
assigning Lender’s Revolving Commitments hereunder.

        “Committee” shall mean the “Creditors’ Committee” as set forth in the Interim Order, or,
after the entry of the Final Order, in the Final Order.

                                                        12
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 100 of 388




       “Compliance Certificate” shall mean a compliance certificate substantially in the form of
Exhibit 1.2(b) hereto to be signed by the Chief Financial Officer or Controller of Borrowing Agent.

        “Conforming Changes” shall mean, with respect to the Term SOFR Rate or any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the
definition of “Alternate Base Rate,” the definition of “Business Day,” the definition of “Interest
Period,” timing and frequency of determining rates and making payments of interest, timing of
borrowing requests or prepayment, conversion or continuation notices, the applicability and length
of lookback periods, the applicability of breakage provisions, and other technical, administrative
or operational matters) that the Agent decides may be appropriate to reflect the adoption and
implementation of the Term SOFR Rate or such Benchmark Replacement and to permit the
administration thereof by the Agent in a manner substantially consistent with market practice (or,
if the Agent decides that adoption of any portion of such market practice is not administratively
feasible or if the Agent determines that no market practice for the administration of the Term SOFR
Rate or the Benchmark Replacement exists, in such other manner of administration as the Agent
decides is reasonably necessary in connection with the administration of this Agreement and the
Other Documents).

        “Consents” shall mean all filings and all licenses, permits, consents, approvals,
authorizations, qualifications and orders of Governmental Bodies and other third parties, domestic
or foreign, necessary to carry on any Loan Party’s business or necessary (including to avoid a
conflict or breach under any agreement, instrument, other document, license, permit or other
authorization) for the execution, delivery or performance of this Agreement, the Other Documents,
or the DIP Term Loan Documents, including any Consents required under all applicable federal,
state or other Applicable Law.

        “Consigned Inventory” shall mean Inventory of any Loan Party that is in the possession of
another Person or a Loan Party on a consignment, sale or return, or other basis that does not
constitute a final sale and acceptance of such Inventory.

        “Consultant” shall have the meaning set forth in Section 9.21 hereof.

        “Contract Rate” shall have the meaning set forth in Section 3.1 hereof.

        “Controlled Group” shall mean, at any time, each Loan Party and all trades or businesses
(whether or not incorporated) under common control within the meaning of Section 4001(b)(1) of
ERISA with any Loan Party and all other entities which, together with any Loan Party, are treated
as a single employer under Section 414(t) of the Internal Revenue Code.

        “Construction” shall have the meaning set forth in the preamble to this Agreement and
shall include its successors and assigns.

        “Covered Entity” shall mean (a) each Loan Party, each Subsidiary of each Loan Party, and
all pledgors of Collateral and (b) each Person that, directly or indirectly, is in control of a Person
described in clause (a) above. For purposes of this definition, control of a Person shall mean the
direct or indirect (x) ownership of, or power to vote, twenty-five percent (25%) or more of the
issued and outstanding equity interests having ordinary voting power for the election of directors
of such Person or other Persons performing similar functions for such Person, or (y) power to

                                                 13
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 101 of 388




direct or cause the direction of the management and policies of such Person whether by ownership
of equity interests, contract or otherwise.

        “Customer” shall mean and include the account debtor with respect to any Receivable
and/or the prospective purchaser of goods, services or both with respect to any contract or contract
right, and/or any party who enters into or proposes to enter into any contract or other arrangement
with any Loan Party, pursuant to which such Loan Party is to deliver any personal property or
perform any services.

        “Customs” shall have the meaning set forth in Section 2.13(b) hereof.

        “Daily Simple SOFR” shall mean, for any day (a “SOFR Rate Day”), the interest rate per
annum determined by the Agent by dividing (the resulting quotient rounded upwards, at the
Agent’s discretion, to the nearest 1/100th of 1%) (A) SOFR for the day (the “SOFR Determination
Date”) that is two (2) Business Days prior to (i) such SOFR Rate Day if such SOFR Rate Day is a
Business Day or (ii) the Business Day immediately preceding such SOFR Rate Day if such SOFR
Rate Day is not a Business Day, by (B) a number equal to 1.00 minus the SOFR Reserve
Percentage, in each case, as such SOFR is published by the Federal Reserve Bank of New York
(or a successor administrator of the secured overnight financing rate) on the website of the Federal
Reserve Bank of New York, currently at http://www.newyorkfed.org, or any successor source
identified by the Federal Reserve Bank of New York or its successor administrator for the secured
overnight financing rate from time to time. If Daily Simple SOFR as determined above would be
less than the SOFR Floor, then Daily Simple SOFR shall be deemed to be the SOFR Floor. If
SOFR for any SOFR Determination Date has not been published or replaced with a Benchmark
Replacement by 5:00 p.m. (Pittsburgh, Pennsylvania time) on the second Business Day
immediately following such SOFR Determination Date, then SOFR for such SOFR Determination
Date will be SOFR for the first Business Day preceding such SOFR Determination Date for which
SOFR was published in accordance with the definition of “SOFR”; provided that SOFR
determined pursuant to this sentence shall be used for purposes of calculating Daily Simple SOFR
for no more than 3 consecutive SOFR Rate Days. If and when Daily Simple SOFR as determined
above changes, any applicable rate of interest based on Daily Simple SOFR will change
automatically without notice to the Borrowers, effective on the date of any such change.

        “Debtor Relief Laws” shall mean the Bankruptcy Code, the BIA, the CCAA, the
Bankruptcy and Insolvency Act (Canada), the Companies’ Creditors Arrangement Act (Canada)
and all other liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors,
moratorium, rearrangement, receivership, insolvency, reorganization or similar debtor relief laws
of the United States of America, Canada or other applicable jurisdictions from time to time in
effect.

        “Debtor” or “Debtors” shall have the meaning set forth in the recitals hereto.

       “Default” shall mean an event, circumstance or condition which, with the giving of notice
or passage of time or both, would constitute an Event of Default.

        “Default Rate” shall have the meaning set forth in Section 3.1 hereof.



                                                14
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 102 of 388




        “Defaulting Lender” shall mean any Lender that: (a) has failed, within two (2) Business
Days of the date required to be funded or paid, to (i) fund any portion of its Revolving Commitment
Percentage of Advances, (ii) if applicable, fund any portion of its Participation Commitment in
Letters of Credit or Swing Loans or (iii) pay over to Agent, any Issuer, Swing Loan Lender or any
Lender any other amount required to be paid by it hereunder, unless, in the case of clause (i) above,
such Lender notifies Agent in writing that such failure is the result of such Lender’s good faith
determination that a condition precedent to funding (specifically identified and including a
particular Default or Event of Default, if any) has not been satisfied; (b) has notified the Loan
Parties or Agent in writing, or has made a public statement to the effect, that it does not intend or
expect to comply with any of its funding obligations under this Agreement (unless such writing or
public statement indicates that such position is based on such Lender’s good faith determination
that a condition precedent (specifically identified and including a particular Default or Event of
Default, if any) to funding an Advance under this Agreement cannot be satisfied) or generally
under other agreements in which it commits to extend credit; (c) has failed, within two (2) Business
Days after request by Agent, acting in good faith, to provide a certification in writing from an
authorized officer of such Lender that it will comply with its obligations (and is financially able to
meet such obligations) to fund prospective Advances and, if applicable, participations in then
outstanding Letters of Credit and Swing Loans under this Agreement, provided that such Lender
shall cease to be a Defaulting Lender pursuant to this clause (c) upon Agent’s receipt of such
certification in form and substance satisfactory to Agent; (d) has become the subject of an
Insolvency Event; (e) has failed at any time to comply with the provisions of Section 2.6(e) hereof
with respect to purchasing participations from the other Lenders, whereby such Lender’s share of
any payment received, whether by setoff or otherwise, is in excess of its pro rata share of such
payments due and payable to all of the Lenders; or (f) has become the subject of a Bail-In Action.

        “Depository Accounts” shall have the meaning set forth in Section 4.8(h) hereof.

        “Designated Lender” shall have the meaning set forth in Section 16.2(c) hereof.

        “DIP Revolving Facility” shall have the meaning set forth in the recitals hereto.

        “DIP Order” shall mean the Interim Order and/or the Final Order, as applicable.

       “DIP Superpriority Claims” shall have the meaning set forth in the Interim Order or the
Final Order, as applicable.

       “DIP Term Loan Credit Agreement” shall mean the Super-Priority Senior Secured Debtor-
in-Possession Term Loan , Guarantee and Security Agreement dated as of the Closing Date, among
the Borrowers, the Guarantors, the lenders party thereto and EICF Agent LLC, as Agent
thereunder.

      “DIP Term Loan Credit Documents” shall mean the Credit Documents as defined in the
DIP Term Loan Credit Agreement.

       “DIP Term Loan Facility” shall mean the credit facilities made available to the Borrowers
pursuant to the DIP Term Loan Credit Agreement.



                                                 15
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 103 of 388




        “Disposition” shall mean, with respect to any particular property or asset (other than cash
or Cash Equivalents), the sale, lease, license, gift, exchange, transfer or other disposition of such
property or asset, and to “Dispose” of any particular property or asset shall mean to sell, lease,
license, exchange, transfer or otherwise dispose of such property or asset.

         “Disqualified Equity Interests” shall mean any Equity Interests which, by their terms (or
by the terms of any security or other Equity Interests into which they are convertible or for which
they are exchangeable), or upon the happening of any event or condition, (a) mature or are
mandatorily redeemable, pursuant to a sinking fund obligation or otherwise, or are redeemable at
the option of the holder thereof, in whole or in part, on or prior to the date which is 91 days
following the last day of the Term (excluding any provisions requiring redemption upon a “change
of control” or similar event; provided that such “change of control” or similar event results in the
Payment in Full of the Obligations), (b) are convertible into or exchangeable for (i) debt securities
or (ii) any Equity Interests referred to in clause (a) above, in each case, at any time on or prior to
the date which is 91 days following the last day of the Term, or (c) are entitled to receive scheduled
dividends or distributions in cash prior to the time that the Obligations are Paid in Full.

     “Document” shall have the meaning given to the term “document” in the Uniform
Commercial Code.

      “Domestic Rate Loan” shall mean any Advance that bears interest based upon the Alternate
Base Rate.

        “Drawing Date” shall have the meaning set forth in Section 2.14(b) hereof.

        “EEA Financial Institution” shall mean (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institution
described in clause (a) of this definition, or (c) any financial institution established in an EEA
Member Country which is a subsidiary of an institution described in clauses (a) or (b) of this
definition and is subject to consolidated supervision with its parent.

       “EEA Member Country” shall mean any of the member states of the European Union,
Iceland, Liechtenstein and Norway.

        “EEA Resolution Authority” shall mean any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

        “Effective Date” shall mean the date indicated in a document or agreement to be the date
on which such document or agreement becomes effective, or, if there is no such indication, the
date of execution of such document or agreement.

       “Effective Federal Funds Rate” means for any day the rate per annum (based on a year of
360 days and actual days elapsed and rounded upward to the nearest 1/100 of 1%) announced by
the Federal Reserve Bank of New York (or any successor) on such day as being the weighted
average of the rates on overnight federal funds transactions arranged by federal funds brokers on
the previous trading day, as computed and announced by such Federal Reserve Bank (or any

                                                 16
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 104 of 388




successor) in substantially the same manner as such Federal Reserve Bank computes and
announces the weighted average it refers to as the “Effective Federal Funds Rate” as of the date of
this Agreement; provided that if such Federal Reserve Bank (or its successor) does not announce
such rate on any day, the “Effective Federal Funds Rate” for such day shall be the Effective Federal
Funds Rate for the last day on which such rate was announced. Notwithstanding the foregoing, if
the Effective Federal Funds Rate as determined under any method above would be less than zero
percent (0.00%), such rate shall be deemed to be zero percent (0.00%) for purposes of this
Agreement.

         “Eligibility Date” shall mean, with respect to each Loan Party and each Swap, the date on
which this Agreement or any Other Document becomes effective with respect to such Swap (for
the avoidance of doubt, the Eligibility Date shall be the Effective Date of such Swap if this
Agreement or any Other Document is then in effect with respect to such Loan Party, and otherwise
it shall be the Effective Date of this Agreement and/or such Other Documents to which such Loan
Party is a party).

      “Eligible Contract Participant” shall mean an “eligible contract participant” as defined in
the CEA and regulations thereunder.

         “Eligible JV Receivables” shall mean and include each JV Receivable of a Borrower
arising in the Ordinary Course of Business and which Agent, in its sole discretion exercised in a
commercially reasonable manner, shall deem to be an Eligible JV Receivable, based on such
considerations as Agent may from time to time deem appropriate. In addition, no JV Receivable
shall be an Eligible Receivable unless (a) it satisfies all of the criteria of Eligible Receivables, other
than clause (a)(i) of the definition of Eligible Receivables and (b) the Customer obligated on such
JV Receivable (other than Richmond, defined below) shall have executed in favor of the Agent
and delivered to the Agent a valid and enforceable “no offset” agreement, in form and substance
reasonably satisfactory to the Agent, pursuant to which such Customer shall have waived any right
it may have to set off against the payment of the applicable JV Receivable amounts or other
obligations owing to it by such Borrower, unless such Borrower shall have notified the Agent in
writing that such Customer is unwilling to execute and deliver to the Agent such “no offset”
agreement, so long as the Agent shall have determined that such Borrower in fact used its
commercially reasonable efforts to cause such Customer to execute and deliver such “no offset”
agreement to the Agent. As of the Closing Date, the only JV Receivables that may constitute
Eligible JV Receivables (provided all eligibility criteria are met, as determined by the Agent, in its
sole discretion, exercised in a commercially reasonable manner) are those with respect to which
the Customer obligated on such JV Receivables is Richmond County Constructors, LLC, a limited
liability company formed under the laws of the state of Delaware (“Richmond”).

       “Eligible Receivables” shall mean and include each Receivable of a Borrower arising in
the Ordinary Course of Business and which Agent, in its sole discretion exercised in a
commercially reasonable manner, shall deem to be an Eligible Receivable, based on such
considerations as Agent may from time to time deem appropriate. In addition, no Receivable shall
be an Eligible Receivable if:

              (a)      such Receivable arises out of a sale made by any Borrower (i) to an Affiliate
of any Loan Party or (ii) to a Person controlled by an Affiliate of any Loan Party;

                                                   17
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 105 of 388




               (b)    such Receivable is due or unpaid more than ninety (90) days or, solely with
respect to Southern Receivables (or any other Receivables in Agent’s sole discretion), one hundred
twenty (120) days, after the original invoice date or sixty (60) days after the original due date;

              (c)    such Receivable is due from a Customer with respect to which fifty percent
(50%) or more of the Receivables owing from such Customer are not otherwise deemed Eligible
Receivables hereunder (such percentage may, in Agent’s sole discretion exercised in a
commercially reasonable manner, be increased or decreased from time to time);

               (d)     such Receivable is not subject to Agent’s first priority perfected Lien or is
subject to any other Liens (other than Permitted Encumbrances);

               (e)    any covenant, representation or warranty set forth in this Agreement with
respect to such Receivable has been breached;

              (f)     such Receivable is due from a Customer with respect to which an
Insolvency Event shall have occurred;

               (g)     the sale giving rise to such Receivable is to a Customer outside the
continental United States , unless such sale is on letter of credit, guaranty or acceptance terms, in
each case acceptable to Agent in its sole discretion exercised in a commercially reasonable manner;

               (h)     the sale giving rise to such Receivable is on a bill-and-hold, guaranteed sale,
sale-and-return, sale on approval, consignment or any other repurchase or return basis with the
applicable Customer or such Receivable is evidenced by chattel paper or an instrument;

               (i)     Agent believes, in its sole discretion exercised in a commercially reasonable
manner, that the ability to collect such Receivable is insecure or that such Receivable may not be
paid by reason of the Customer’s financial inability to pay;

                (j)     such Receivable is (i) due from a Customer which is the United States, any
state or any department, agency or instrumentality of any of them, unless the applicable Borrower
assigns its right to payment of such Receivable to Agent pursuant to the Assignment of Claims
Act of 1940, as amended (31 U.S.C. Sub-Section 3727 et seq. and 41 U.S.C. Sub-Section 15 et
seq.) or has otherwise complied with other applicable statutes or ordinances or (ii) due from a
Customer which is the federal Government of Canada or any provincial Governmental Body
thereof which has adopted legislation requiring any consent or other legal formality of a provincial
Governmental Body to the assignment of any claim against such province or provincial
Governmental Body and/or the grant of any Lien in such Receivable and such assignment is
enforceable against such Governmental Body;

               (k)      (i) the goods giving rise to such Receivable have not been delivered to and
accepted by the Customer, (ii) the services giving rise to such Receivable have not been performed
by the applicable Borrower and accepted by the Customer or (iii) such Receivable otherwise does
not represent a final sale, unless, in the case of this clause (iii), such Receivable is one in a series
of related Receivables arising from continuing services performed for the benefit of the same
Customer pursuant to the same project, the terms in respect of which permit the progress billing
for such services, in each case rendered in the Ordinary Course of Business;

                                                  18
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23    Page 106 of 388




              (l)     the Receivables of the Customer from which such Receivable is owing
exceed a credit limit determined by Agent, in its sole discretion exercised in a commercially
reasonable manner, to the extent such Receivable exceeds such limit;

               (m)    such Receivable is owing from a Customer whose total obligations owing
to all Borrowers exceed 60% of all Eligible Receivables, to the extent of the obligations owing by
such Customer in excess of such percentage; provided, however, such percentage, as applied to a
particular Customer (x) may be reduced at any time by Agent in its Permitted Discretion if the
creditworthiness of such Customer deteriorates in the determination of Agent, and (y) may be
increased at any time by Agent in its sole discretion exercised in a commercially reasonable
manner;

               (n)    such Receivable is subject to any offset, deduction, defense, dispute, credit
or counterclaim (because, among other reasons, the Customer is also a creditor or supplier of a
Borrower) or the Receivable is contingent in any respect or for any reason (but such Receivable
shall only be ineligible to the extent of such offset, deduction, defense, dispute, credit or
counterclaim or contingency);

                (o)    the applicable Borrower has made any agreement with any Customer for
any deduction therefrom, except for discounts or allowances made in the Ordinary Course of
Business for prompt payment, all of which discounts or allowances are reflected in the calculation
of the face value of each respective invoice related thereto;

                (p)    any return, rejection or repossession of the merchandise the sale of which
gave rise to such Receivable has occurred or the rendition of services giving rise to such Receivable
has been disputed;

                (q)         such Receivable is not payable to a Borrower;

              (r)     such Receivable is not evidenced by an invoice or other documentary
evidence satisfactory to Agent; or

               (s)     such Receivable is not otherwise satisfactory to Agent as determined by
Agent in its Permitted Discretion.

      “Eligible Unbilled Receivables” shall mean, collectively, Eligible Unbilled U.S.
Receivables and Eligible Unbilled JV Receivables.

       “Eligible Unbilled JV Receivables” shall mean and include each JV Receivable of a
Borrower arising in the Ordinary Course of Business that (a) satisfies all of the criteria of Eligible
JV Receivables, other than clause (r) of the definition of “Eligible Receivables”, (b) shall become
a standard billed JV Receivable in the Ordinary Course of Business pursuant to the billing of such
amount (and the conversion thereof into a Receivable) within thirty (30) days after the date of
completion of the services or the delivery of the goods giving rise to such Receivable, and (c) is
evidenced by such documentation satisfactory to Agent in its Permitted Discretion.

      “Eligible Unbilled U.S. Receivables” shall mean and include each Receivable of a
Borrower arising in the Ordinary Course of Business that (a) satisfies all of the criteria of Eligible

                                                    19
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 107 of 388




Receivables, other than clause (r) of the definition of “Eligible Receivables”, (b) shall become a
standard billed Receivable in the Ordinary Course of Business pursuant to the billing of such
amount (and the conversion thereof into a Receivable) within thirty (30) days after the date of
completion of the services or the delivery of the goods giving rise to such Receivable, and (c) is
evidenced by such documentation satisfactory to Agent in its Permitted Discretion.

        “Embargoed Property” shall mean any property (a) beneficially owned, directly or
indirectly, by a Sanctioned Person; (b) that is due to or from a Sanctioned Person; (c) in which a
Sanctioned Person otherwise holds any interest; (d) that is located in a Sanctioned Jurisdiction; or
(e) that otherwise would cause any actual or possible violation by the Lenders or Agent of any
applicable Anti-Terrorism Law if the Lenders were to obtain an encumbrance on, lien on, pledge
of, or security interest in such property or provide services in consideration of such property.

        “Environmental Complaint” shall have the meaning set forth in Section 9.3(b) hereof.

        “Environmental Laws” shall mean all federal, state, provincial, territorial and local
environmental, land use, zoning, health, chemical use, safety and sanitation Laws relating to the
protection of the environment, human health and/or governing the use, storage, treatment,
generation, transportation, processing, handling, production or disposal of Hazardous Materials
and the rules, regulations, policies, guidelines, interpretations, decisions, orders and directives of
federal, state, international and local governmental agencies and authorities with respect thereto.

     “Equipment” shall have the meaning given to the term “equipment” in the Uniform
Commercial Code.

        “Equity Interests” shall mean, with respect to any Person, any and all shares, rights to
purchase, options, warrants, general, limited or limited liability partnership interests, member
interests, participation or other equivalents of or interest in (regardless of how designated) equity
of such Person, whether voting or nonvoting, including common stock, preferred stock, convertible
securities or any other “equity security” (as such term is defined in Rule 3a11-1 of the General
Rules and Regulations promulgated by the SEC under the Exchange Act), including in each case
all of the following rights relating to such Equity Interests, whether arising under the
Organizational Documents of the Person issuing such Equity Interests (the “Equity Issuer”) or
under the Applicable Laws of such Equity Issuer’s jurisdiction of organization relating to the
formation, existence and governance of corporations, limited liability companies or partnerships
or business trusts or other legal entities, as the case may be: (i) all economic rights (including all
rights to receive dividends and distributions) relating to such Equity Interests; (ii) all voting rights
and rights to consent to any particular actions by the applicable Equity Issuer; (iii) all management
rights with respect to such Equity Issuer; (iv) in the case of any Equity Interests consisting of a
general partner interest in a partnership, all powers and rights as a general partner with respect to
the management, operations and control of the business and affairs of the applicable Equity Issuer;
(v) in the case of any Equity Interests consisting of the membership/limited liability company
interests of a managing member in a limited liability company, all powers and rights as a managing
member with respect to the management, operations and control of the business and affairs of the
applicable Equity Issuer; (vi) all rights to designate or appoint or vote for or remove any officers,
directors, managers, general partners or managing members of such Equity Issuer and/or any
members of any board of members/managers/partners/directors that may at any time have any

                                                  20
074658.23049/132216381v.5
             Case 23-10961-BLS         Doc 13-1     Filed 07/22/23    Page 108 of 388




rights to manage and direct the business and affairs of the applicable Equity Issuer under its
Organizational Documents as in effect from time to time or under Applicable Law; (vii) all rights
to amend the Organizational Documents of such Equity Issuer, (viii) in the case of any Equity
Interests in a partnership or limited liability company, the status of the holder of such Equity
Interests as a “partner”, general or limited, or “member” (as applicable) under the applicable
Organizational Documents and/or Applicable Law; and (ix) all certificates evidencing such Equity
Interests.

      “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as the same
may be amended, modified or supplemented from time to time and the rules and regulations
promulgated thereunder.

          “Erroneous Payment” has the meaning set forth in Section 14.14(a).

          “Erroneous Payment Deficiency Assignment” has the meaning set forth in Section 14.14
(d)(i).

          “Erroneous Payment Impacted Class” has the meaning set forth in Section 14.14(d)(i).

          “Erroneous Payment Return Deficiency” has the meaning set forth in Section 14.14(d)(i).

          “Erroneous Payment Subrogation Rights” has the meaning set forth in Section 14.14(e).

          “Event of Default” shall have the meaning set forth in Article X hereof.

          “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended.

        “Exchange Rate” shall mean, with respect to any calculation of the U.S. Dollar Equivalent
of any amount denominated in any currency other than U.S. Dollars on any date of determination,
the prevailing spot rate of exchange for the conversion of such other currency into U.S. Dollars as
determined by Agent’s foreign exchange department (in the exercise of its ordinary business
practices regarding foreign currency exchange for customers of the Agent similarly situated to
Borrowers) as of the close of business for Agent’s foreign exchange department on the Business
Day immediately preceding such date of determination; provided that, notwithstanding the
foregoing, in the context of any actual conversion by Agent or any Lender of any funds received
by Agent or any Lender (whether as a payment made by any Loan Party or the proceeds of any
Collateral (including any collections on any Receivable received by Agent or any Lender)), or any
calculation or valuation of asset values, from one currency to another for the purpose of applying
such funds to the Obligations in accordance with the terms of this Agreement or calculating the
Formula Amount, “Exchange Rate” means the spot-buying or spot-selling (as the case may be)
rate of exchange at which Agent or such Lender is actually able to exchange the one currency for
the other in the exercise of its ordinary business practices regarding foreign currency exchange at
the time of such actual conversion.

        “Excluded Deposit Accounts” shall mean deposit accounts exclusively used for payroll,
payroll taxes and other employee wage and benefit payments to or for the benefit of Loan Parties'
employees and identified to Agent by a Borrower as such.


                                                  21
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 109 of 388




         “Excluded Hedge Liability or Liabilities” shall mean, with respect to each Loan Party, each
of its Swap Obligations if, and only to the extent that, all or any portion of this Agreement or any
Other Document that relates to such Swap Obligation is or becomes illegal under the CEA, or any
rule, regulation or order of the CFTC, solely by virtue of such Loan Party’s failure to qualify as an
Eligible Contract Participant on the Eligibility Date for such Swap. Notwithstanding the foregoing
or any other provision of this Agreement or any Other Document to the contrary, the foregoing is
subject to the following provisos: (a) if a Swap Obligation arises under a master agreement
governing more than one Swap, this definition shall apply only to the portion of such Swap
Obligation that is attributable to Swaps for which such guaranty or security interest is or becomes
illegal under the CEA, or any rule, regulations or order of the CFTC, solely as a result of the failure
by such Loan Party for any reason to qualify as an Eligible Contract Participant on the Eligibility
Date for such Swap; (b) if a guarantee of a Swap Obligation would cause such obligation to be an
Excluded Hedge Liability but the grant of a security interest would not cause such obligation to be
an Excluded Hedge Liability, such Swap Obligation shall constitute an Excluded Hedge Liability
for purposes of the guaranty but not for purposes of the grant of the security interest; and (c) if
there is more than one Loan Party executing this Agreement or the Other Documents and a Swap
Obligation would be an Excluded Hedge Liability with respect to one or more of such Loan Parties,
but not all of them, the definition of “Excluded Hedge Liability or Liabilities” with respect to each
such Loan Party shall only be deemed applicable to (i) the particular Swap Obligations that
constitute Excluded Hedge Liabilities with respect to such Loan Party, and (ii) the particular Loan
Party with respect to which such Swap Obligations constitute Excluded Hedge Liabilities.

        “Excluded Property” shall mean any non-material lease, license, contract or agreement to
which any Loan Party is a party, and any of its rights or interests thereunder, if and to the extent
that a security interest therein is prohibited by or in violation of (x) any Applicable Law, or (y) a
term, provision or condition of any such lease, license, contract or agreement (unless in each case,
such Applicable Law, term, provision or condition would be rendered ineffective with respect to
the creation of such security interest pursuant to Sections 9-406, 9-407, 9-408 or 9-409 of the
Uniform Commercial Code (or any successor provision or provisions) of any relevant jurisdiction
or any other Applicable Law or principles of equity), provided, however, that the foregoing shall
cease to be treated as “Excluded Property” (and shall constitute Collateral) immediately at such
time as the contractual or legal prohibition shall no longer be applicable and to the extent severable,
such security interest shall attach immediately to any portion of such lease, license, contract or
agreement not subject to the prohibitions specified in (x) or (y) above, provided, further that
Excluded Property shall not include any proceeds of any such lease, license, contract or agreement
or any goodwill of Loan Parties’ business associated therewith or attributable thereto.

        “Excluded Taxes” shall mean any of the following Taxes on or with respect to Agent, any
Lender, Swing Loan Lender, any Issuer or any other recipient or required to be withheld or
deducted from a payment to any such recipient, (a) Taxes imposed on or measured by net income
(however denominated), franchise Taxes, and branch profits Taxes, in each case, imposed as a
result of such recipient being organized under the Laws of, or having its principal office or, in the
case of any Lender, its applicable lending office located in, the jurisdiction imposing such Tax (or
any political subdivision thereof), (b) in the case of a Lender, U.S. federal withholding Taxes
imposed on amounts payable to or for the account of such Lender with respect to an applicable
interest in an Advance or Commitment pursuant to a Law in effect on the date on which (i) such
Lender acquired such interest in the Advance or Commitment (other than pursuant to an

                                                  22
074658.23049/132216381v.5
              Case 23-10961-BLS       Doc 13-1       Filed 07/22/23    Page 110 of 388




assignment request by the Borrowers pursuant to Section 3.11 hereof) or (ii) such Lender changes
its lending office, except in each case to the extent that, pursuant to Section 3.10 hereof, amounts
with respect to such Taxes were payable either to such Lender’s assignor immediately before such
Lender became a party hereto or to such Lender immediately before it changed its lending office,
(c) Taxes attributable to such Lender’s failure to comply with Section 3.10(g) hereof, or (d) any
U.S. federal withholding Taxes imposed under FATCA.

        “Existing Letter of Credit” means those letters of credit outstanding as of the Closing Date
and set forth on Schedule 1.3 hereto.

        “FATCA” shall mean Sections 1471 through 1474 of the Internal Revenue Code, as of the
Closing Date (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations thereunder or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Internal Revenue Code.

       “Fee Letter” shall mean the fee letter, dated as of the Closing Date (as the same may be
amended, restated, amended and restated, supplemented or otherwise modified from time to time),
executed by the Loan Parties in favor of Agent.

        “Final Order” shall mean a final order of the Bankruptcy Court in the Cases authorizing
and approving this Agreement and the Loan Documents under, inter alia, Sections 364(c) and (d)
of the Bankruptcy Code on a final basis and entered at or after a final hearing, which order is
consistent with the Interim Order in all material respects or otherwise in form and substance
satisfactory to Agent in its sole discretion. The Final Order shall, among other things:

        (a)     authorize the transactions contemplated by this Agreement and the extensions of
credit under this Agreement in an amount not less than the Maximum Revolving Advance Amount
provided for herein;

        (b)    in respect of the Debtors, grant the claim and Lien status and Liens described herein
and in the Pledge Agreement and prohibit the granting of additional Liens on the assets of any
Debtor and the DIP Superpriority Claims except for any Liens and Claims specifically provided
for in such order;

        (c)      provide that such Liens are automatically perfected as of the Petition Date by the
entry of the Final Order and also grant to Agent for the benefit of Agent and the Lenders relief
from the automatic stay of Section 362(a) of the Bankruptcy Code to enable Agent, if Agent elects
to do so in its discretion, to make all filings and recordings and to take all other actions considered
necessary or advisable by Agent to perfect, protect and insure the priority of its Liens upon the
Collateral of the Debtors as a matter of non-bankruptcy law;

        (d)    provide that (except as set forth in the Interim Order) no Person will be permitted
to surcharge the Collateral of the Debtors under Section 506(c) of the Bankruptcy Code, nor shall
any costs or expenses whatsoever be imposed against the Collateral of the Debtors;

        (e)     provide for the Final Roll-Up; and


                                                  23
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 111 of 388




       (f)     provide Agent with relief from the automatic stay in a manner consistent with the
terms of Section 11.1.

        “Final Roll-Up” shall have the meaning set forth in Section 2.21.

        “First Day Orders” shall mean the orders entered by the Bankruptcy Court in respect of
first day motions and applications in respect of any of the Cases.

       “Flood Laws” shall mean all Applicable Laws relating to policies and procedures that
address requirements placed on federally regulated lenders under the National Flood Insurance
Reform Act of 1994 and other Applicable Laws related thereto.

       “Foreign Currency Hedge” shall mean any foreign exchange transaction, including spot
and forward foreign currency purchases and sales, listed or over-the-counter options on foreign
currencies, non-deliverable forwards and options, foreign currency swap agreements, currency
exchange rate price hedging arrangements, and any other similar transaction providing for the
purchase of one currency in exchange for the sale of another currency entered into by any Loan
Party or any of their respective Subsidiaries.

        “Foreign Currency Hedge Obligations” shall mean the Indebtedness of the Loan Parties
and their Subsidiaries owing to the provider of a Foreign Currency Hedge. For purposes of this
Agreement and all of the Other Documents, all Foreign Currency Hedge Obligations of any Loan
Party or Subsidiary that is party to any Lender-Provided Foreign Currency Hedge shall, for
purposes of this Agreement and all of the Other Documents, be “Obligations” of such Person and
of each other Loan Party, be guaranteed obligations under any Guaranty and secured obligations
under any Guarantor Security Agreement, as applicable, and otherwise treated as Obligations for
purposes of the Other Documents, except to the extent constituting Excluded Hedge Liabilities of
such Person. The Liens securing the Foreign Currency Hedge Obligations shall be pari passu with
the Liens securing all other Obligations under this Agreement and the Other Documents, subject
to the express provisions of Section 11.6 hereof.

        “Foreign Lender” shall mean any Lender that is organized under the Laws of a jurisdiction
other than that in which the Loan Parties are resident for income Tax purposes or in Canada. For
purposes of this definition, the United States, each State thereof and the District of Columbia shall
be deemed to constitute a single jurisdiction and for the purposes of Canada, Canada and each
Province and Territory thereof shall be deemed to constitute a single jurisdiction.

       “Foreign Subsidiary” shall mean any Subsidiary of any Person that is not organized or
incorporated in the United States, any State or territory thereof or the District of Columbia.

        “Formula Amount” shall have the meaning set forth in Section 2.1(a) hereof.

       “GAAP” shall mean generally accepted accounting principles in the United States in effect
from time to time or in relation to the Canadian Loan Parties, in Canada, in effect from time to
time.

       “Global” shall have the meaning set forth in the preamble to this Agreement and shall
include its successors and assigns.

                                                 24
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 112 of 388




        “Governmental Body” shall mean any nation or government, any state, province or
territory or other political subdivision thereof or any entity, authority, agency, division or
department exercising the executive, legislative, judicial, taxing, regulatory or administrative
powers or functions of or pertaining to a government (including any supra-national bodies such as
the European Union or the European Central Bank) and any group or body charged with setting
financial accounting or regulatory capital rules or standards (including, without limitation, the
Financial Accounting Standards Board, the Bank for International Settlements or the Basel
Committee on Banking Supervision or any successor or similar authority to any of the foregoing).

        “GPEG” shall mean GPEG, LLC, a Delaware limited liability company.

       “Guarantor” or “Guarantors” shall have the meaning set forth in the preamble to this
Agreement and shall include any other Person who may hereafter guarantee payment or
performance of the whole or any part of the Obligations and each of their respective successors
and permitted assigns.

       “Guarantor Security Agreement” shall mean any security agreement executed by any
Guarantor in favor of Agent securing the Obligations or the Guaranty of such Guarantor, in form
and substance satisfactory to Agent, as such security agreements may be amended, restated,
amended and restated, supplemented or otherwise modified from time to time.

       “Guaranty” shall mean any guaranty of the Obligations executed by a Guarantor in favor
of Agent for its benefit and for the ratable benefit of Lenders, in form and substance satisfactory
to Agent, including Article XVII hereof.

        “Hazardous Discharge” shall have the meaning set forth in Section 9.3(b) hereof.

       “Hazardous Materials” shall mean, without limitation, any flammable explosives, radon,
radioactive materials, asbestos, urea formaldehyde foam insulation, polychlorinated biphenyls,
petroleum and petroleum products, methane, hazardous materials, Hazardous Wastes, hazardous
or Toxic Substances or related materials as defined in or subject to regulation under Environmental
Laws.

       “Hazardous Wastes” shall mean all waste materials subject to regulation under CERCLA,
RCRA or applicable state Law, and any other applicable Federal and state Laws or Canadian,
provincial or territorial laws now in force or hereafter enacted relating to hazardous waste disposal.

        “Hedge Obligations” shall mean collectively, the Foreign Currency Hedge Obligations and
the Interest Rate Hedge Obligations.

       “Holdings” shall have the meaning set forth in the preamble to this Agreement and shall
include its successors and assigns.

      “Inactive Subsidiaries” shall mean each of GPEG, Power, Steam, Braden, Braden Mexico
and Koontz-Wagner.

        “Indebtedness” shall mean, as to any Person at any time, any and all indebtedness,
obligations or liabilities (whether matured or unmatured, liquidated or unliquidated, direct or

                                                 25
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 113 of 388




indirect, absolute or contingent, or joint or several) of such Person for or in respect of:
(a) borrowed money; (b) amounts received under or liabilities in respect of any note purchase or
acceptance credit facility, and all obligations of such Person evidenced by bonds, debentures, notes
or other similar instruments; (c) all Capitalized Lease Obligations; (d) reimbursement obligations
(contingent or otherwise) under any letter of credit agreement, banker’s acceptance agreement or
similar arrangement; (e) obligations under any Interest Rate Hedge, Foreign Currency Hedge, or
other interest rate management device, foreign currency exchange agreement, currency swap
agreement, commodity price protection agreement or other interest or currency exchange rate or
commodity price hedging arrangement; (f) any other advances of credit made to or on behalf of
such Person or other transaction (including forward sale or purchase agreements, capitalized leases
and conditional sales agreements to the extent of the value of such property (other than customary
reservations or retentions of title under agreements with suppliers entered into in the Ordinary
Course of Business) having the commercial effect of a borrowing of money entered into by such
Person to finance its operations or capital requirements including to finance the purchase price of
property or services and all obligations of such Person to pay the deferred purchase price of
property or services (but not including trade payables and accrued expenses incurred in the
Ordinary Course of Business which are not represented by a promissory note or other evidence of
indebtedness and which are not more than sixty (60) days past due); (g) all Equity Interests of such
Person subject to repurchase or redemption rights or obligations (excluding repurchases or
redemptions at the sole option of such Person); (h) all indebtedness, obligations or liabilities
secured by a Lien on any asset of such Person, whether or not such indebtedness, obligations or
liabilities are otherwise an obligation of such Person; (i) all obligations of such Person for
“earnouts”, purchase price adjustments, profit sharing arrangements, deferred purchase money
amounts and similar payment obligations or continuing obligations of any nature of such Person
arising out of purchase and sale contracts; (j) off-balance sheet liabilities and/or pension plan
liabilities of such Person; (k) obligations arising under bonus, deferred compensation, incentive
compensation or similar arrangements, other than those arising in the Ordinary Course of Business;
and (l) any guaranty of any indebtedness, obligations or liabilities of a type described in the
foregoing clauses (a) through (k).

        “Indemnified Taxes” shall mean (a) Taxes other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under this
Agreement or any Other Document, and (b) to the extent not otherwise described in the foregoing
clause (a), Other Taxes.

       “Ineligible Security” shall mean any security which may not be underwritten or dealt in by
member banks of the Federal Reserve System under Section 16 of the Banking Act of 1933 (12
U.S.C. Section 24, Seventh), as amended.

        “Initial Budget” shall mean the thirteen-week budget delivered to and approved by Agent
on or before the Closing Date and attached hereto as Exhibit III, setting forth Debtors’ cash flow
forecast in reasonable detail satisfactory to Agent with line item detail approved by on or before
the Closing Date, including receipts, and disbursements, as well as projected collateral balances
for the thirteen-week period commencing with the week in which the Closing Date shall occur.

       “Insolvency Event” shall mean, with respect to any Person, including without limitation
any Lender, such Person or such Person’s direct or indirect parent company (a) becomes the subject

                                                26
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 114 of 388




of a bankruptcy or insolvency proceeding (including any proceeding under any Insolvency Laws),
or regulatory restrictions, (b) has had a receiver, interim receiver, receiver and manager, monitor,
liquidator, conservator, trustee, administrator, custodian, assignee for the benefit of creditors or
similar Person charged with the reorganization or liquidation or wind up of its business appointed
for it or has called a meeting of its creditors, (c) admits in writing its inability, or is generally
unable, to pay its debts as they become due or ceases operations of its present business, (d) with
respect to a Lender, such Lender is unable to perform hereunder due to the application of
Applicable Law, or (e) in the good faith determination of Agent, has taken any action in furtherance
of, or indicating its consent to, approval of, or acquiescence in, any such proceeding or
appointment of a type described in clauses (a) or (b), provided that an Insolvency Event shall not
result solely by virtue of any ownership interest, or the acquisition of any ownership interest, in
such Person or such Person’s direct or indirect parent company by a Governmental Body or
instrumentality thereof if, and only if, such ownership interest does not result in or provide such
Person with immunity from the jurisdiction of courts within the United States or from the
enforcement of judgments or writs of attachment on its assets or permit such Person (or such
Governmental Body or instrumentality) to reject, repudiate, disavow or disaffirm any contracts or
agreements made by such Person.

        “Insolvency Laws” shall mean any of Title 11 of the United States Code, the Bankruptcy
and Insolvency Act (Canada), the Companies’ Creditors Arrangement Act (Canada), the Winding-
Up and Restructuring Act (Canada), any applicable governing corporate statute dealing with the
compromise of creditor’s claims or arrangements, each as now and hereafter in effect, any
successors to such statutes and any other applicable insolvency, bankruptcy, liquidation,
receivership, wind up, reorganization, arrangement or relief of debtor or other similar Law of any
jurisdiction, including the Business Corporation Act (British Columbia) where such statute is used
by a Person to propose an arrangement and any Applicable Law of any jurisdiction permitting a
debtor to obtain a stay or a compromise of the claims of its creditors against it.

       “Intellectual Property” shall mean property constituting a patent, copyright, trademark (or
any application in respect of the foregoing), service mark, trade name, mask work, trade secrets,
design right, industrial designs, assumed name or license or other right to use any of the foregoing
under Applicable Law.

        “Intellectual Property Claim” shall mean the assertion, by any means, by any Person of a
claim that any Loan Party’s ownership, use, marketing, sale or distribution of any Inventory,
Equipment, Intellectual Property or other property or asset is violative of any ownership of or right
to use any Intellectual Property of such Person.

        “Intercreditor Agreement” shall mean that certain Intercreditor Agreement dated as
December 16, 2020, as amended by the First Amendment thereto and the Second Amendment
thereto and that certain Third Amendment to Intercreditor Agreement dated as of the Closing Date,
in substantially the form set forth in Exhibit A among the Prepetition Revolving Agent, the Agent,
the Prepetition Term Loan Agent, the DIP Term Loan Agent and the Loan Parties, as such
agreement may be amended, restated, amended and restated, supplemented or otherwise modified
from time to time as permitted therein.



                                                 27
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 115 of 388




        “Interest Period” shall mean the period provided for any Term SOFR Rate Loan pursuant
to Section 2.2(b) hereof.

       “Interest Rate Hedge” shall mean an interest rate exchange, collar, cap, swap, floor,
adjustable strike cap, adjustable strike corridor, cross-currency swap or similar agreements entered
into by any Loan Party and/or its Subsidiaries in order to provide protection to, or minimize the
impact upon, such Loan Party and/or its Subsidiaries of increasing floating rates of interest
applicable to Indebtedness.

        “Interest Rate Hedge Obligations” shall mean the Indebtedness of a Loan Party and its
Subsidiaries owing to the provider of any Interest Rate Hedge. For purposes of this Agreement
and all of the Other Documents, all Interest Rate Hedge Obligations of any Loan Party or
Subsidiary that is party to any Lender-Provided Interest Rate Hedge shall be “Obligations”
hereunder and under the Other Documents, except to the extent constituting Excluded Hedge
Liabilities of such Person, and the Liens securing such Interest Rate Hedge Obligations shall be
pari passu with the Liens securing all other Obligations under this Agreement and the Other
Documents, subject to the express provisions of Section 11.6 hereof.

         “Interim Order” shall mean an order of the Bankruptcy Court in any of the Cases
authorizing and approving this Agreement and the Credit Documents, for an interim period, under,
inter alia, Sections 364(c) and (d) of the Bankruptcy Code and entered at or after a hearing, in form
and substance satisfactory to Agent in its sole discretion and attached hereto as Exhibit I.

        “Interim Period” shall have the meaning as set forth in the Interim Order, or, after the entry
of the Final Order, in the Final Order.

        “Interim Roll-Up” shall have the meaning set forth in Section 2.21.

       “Internal Revenue Code” shall mean the Internal Revenue Code of 1986, as the same may
be amended, modified or supplemented from time to time, and any successor statute of similar
import, and the rules and regulations thereunder, as from time to time in effect.

       “Inventory” shall mean and include as to each Loan Party all of such Loan Party’s
inventory (as defined in Article 9 of the Uniform Commercial Code) and all of such Loan Party’s
goods, merchandise and other personal property, wherever located, to be furnished under any
consignment arrangement, contract of service or held for sale or lease, all raw materials, work in
process, finished goods and materials and supplies of any kind, nature or description which are or
might be used or consumed in such Loan Party’s business or used in selling or furnishing such
goods, merchandise and other personal property, and all Documents.

        “Investment Property” shall mean and include, with respect to any Person, all of such
Person’s now owned or hereafter acquired securities (whether certificated or uncertificated),
securities entitlements, securities accounts, commodities contracts and commodities accounts, and
any other asset or right that would constitute “investment property” under the Uniform
Commercial Code.




                                                 28
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 116 of 388




       “Issuer” shall mean (a) Agent in its capacity as the issuer of Letters of Credit under this
Agreement and (b) any other Lender which Agent in its discretion shall designate as the issuer of
and cause to issue any particular Letter of Credit under this Agreement in place of Agent as issuer.

        “JV Receivable” shall mean a Receivable of a Borrower arising from the sale of goods or
the rendition of services by such Borrower to a Joint Venture, provided such Joint Venture
constitutes a legal entity organized or formed under the laws of the United States or any State
thereof, including, by way of illustration, a corporation, limited liability company or limited
partnership, but excluding a sole proprietorship or unincorporated association.

       “Joint Venture” shall mean any joint venture or partnership between any Loan Party, on
the one hand, and any other Person, on the other hand.

        “Koontz-Wagner” shall mean Koontz-Wagner Custom Controls Holdings LLC, an Indiana
limited liability company, which Person (i) is a subsidiary of Holdings, (ii) filed a voluntary
petition for relief under Chapter 7 of Title 11 of the U.S. Bankruptcy Code with the U.S.
Bankruptcy Court for the Southern District of Texas on July 11, 2018, and (iii) has been
administratively dissolved, effective as of February 5, 2019.

        “Law(s)” shall mean any law(s) (including common law and equitable principles),
constitution, statute, treaty, regulation, rule, ordinance, opinion, issued guidance, code, release,
ruling, order, executive order, injunction, writ, decree, bond, judgment, authorization or approval,
lien or award of or any settlement arrangement, by agreement, consent or otherwise, with any
Governmental Body, foreign or domestic.

        “Leasehold Interests” shall mean all of each Loan Party’s right, title and interest in and to,
and as lessee of, the premises identified as leased Real Property on Schedule 4.4(b)(iv) hereto.

        “Lender” and “Lenders” shall have the meaning ascribed to such term in the preamble to
this Agreement and shall include each Person which becomes a transferee, successor or assign of
any Lender. For the purposes of any provision of this Agreement or any Other Document which
provides for the granting of a security interest or other Lien to Agent for the benefit of Lenders as
security for the Obligations, “Lenders" shall include any Affiliate of a Lender to which such
Obligation (specifically including any Hedge Obligations and any Cash Management Obligations)
is owed.

        “Lender-Provided Foreign Currency Hedge” shall mean a Foreign Currency Hedge which
is provided by any Lender and for which such Lender confirms to Agent in writing prior to the
execution thereof that it: (a) is documented in a standard International Swap Dealers Association,
Inc. Master Agreement or another reasonable and customary manner; (b) provides for the method
of calculating the reimbursable amount of such Lender’s credit exposure in a reasonable and
customary manner; and (c) is entered into for hedging (rather than speculative) purposes.

       “Lender-Provided Interest Rate Hedge” shall mean an Interest Rate Hedge which is
provided by any Lender and with respect to which such Lender confirms to Agent in writing prior
to the execution thereof that it: (a) is documented in a standard International Swap Dealers
Association, Inc. Master Agreement or another reasonable and customary manner; (b) provides for
the method of calculating the reimbursable amount of such Lender’s credit exposure in a

                                                 29
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23     Page 117 of 388




reasonable and customary manner; and (c) is entered into for hedging (rather than speculative)
purposes.

        “Letter of Credit Application” shall have the meaning set forth in Section 2.12(a) hereof.

        “Letter of Credit Borrowing” shall have the meaning set forth in Section 2.14(d) hereof.

      “Letter of Credit Approved Currencies” shall mean, collectively, U.S. Dollars and
Canadian Dollars.

        “Letter of Credit Fees” shall have the meaning set forth in Section 3.2 hereof.

        “Letter of Credit Sublimit” shall mean the U.S. Dollar Equivalent of $500,000, which
Letter of Credit Sublimit, for the avoidance of doubt, includes the outstanding Existing Letter of
Credit.

        “Letters of Credit” shall have the meaning set forth in Section 2.11 hereof.

        “License Agreement” shall mean any agreement between any Loan Party and a Licensor
pursuant to which such Loan Party is authorized to use any Intellectual Property in connection
with the manufacturing, marketing, sale or other distribution of any Inventory of such Loan Party
or otherwise in connection with such Loan Party’s business operations.

       “Licensor” shall mean any Person from whom any Loan Party obtains the right to use
(whether on an exclusive or non-exclusive basis) any Intellectual Property in connection with such
Loan Party’s manufacture, marketing, sale or other distribution of any Inventory or otherwise in
connection with such Loan Party’s business operations.

        “Licensor/Agent Agreement” shall mean an agreement between Agent and a Licensor, in
form and substance satisfactory to Agent, by which Agent is given the unqualified right, vis-à-vis
such Licensor, to enforce Agent’s Liens with respect to and to dispose of any Loan Party’s
Inventory with the benefit of any Intellectual Property applicable thereto, irrespective of such Loan
Party’s default under any License Agreement with such Licensor.

        “Lien” shall mean any mortgage, deed of trust, pledge, hypothecation, assignment, security
interest, lien or adverse right or claim or deemed trust (whether statutory or otherwise), Charge,
claim or encumbrance, or preference, priority or other security agreement or preferential
arrangement held or asserted in respect of any asset of any kind or nature whatsoever including
any conditional sale or other title retention agreement, any lease having substantially the same
economic effect as any of the foregoing, and the filing of, or agreement to give, any financing
statement under the Uniform Commercial Code or comparable law of any jurisdiction.

        “Lien Priority Chart” shall mean the lien priority chart attached hereto as Exhibit II.

        “Lien Waiver Agreement” shall mean an agreement in form and substance reasonably
satisfactory to Agent which is executed in favor of Agent by a Person who owns or occupies
premises at which any Collateral may be located from time to time.


                                                 30
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 118 of 388




        “LLC Division” shall mean, in the event a Loan Party is a limited liability company, (a) the
division of such Loan Party into two or more newly formed limited liability companies (whether
or not such Loan Party is a surviving entity following any such division) pursuant to Section 18-
217 of the Delaware Limited Liability Company Act or any similar provision under any similar
act governing limited liability companies organized under the laws of any other State or
Commonwealth or of the District of Columbia, or (b) the adoption of a plan contemplating, or the
filing of any certificate with any applicable Governmental Body that results or may result in, any
such division.

      “Loan Party” or “Loan Parties” shall have the meaning set forth in the preamble to this
Agreement and shall include their respective successors and permitted assigns.

        “Material Adverse Effect” shall mean a material adverse effect on (a) the condition
(financial or otherwise), results of operations, assets, business, properties of the Loan Parties, taken
as a whole, (b) the ability the Loan Parties, taken as a whole, to pay or perform the Obligations in
accordance with the terms of this Agreement or any Other Documents, as the case may be, (c) the
value of the Collateral, or Agent’s Liens on the Collateral or the priority of any such Lien or (d)
the practical realization of the benefits of Agent’s and each Lender’s rights and remedies under
this Agreement and the Other Documents; provided that Material Adverse Effect shall expressly
exclude the effect of the filing of any of the Cases, the events and conditions resulting from or
leading up thereto and any action required to be taken under the Other Documents or the DIP
Orders.

        “Material Contract” shall mean any contract, agreement, instrument, permit, lease or
license, written or oral, of any Loan Party, which the termination (prior to the scheduled maturity
or termination thereof, and other than as a result of the satisfaction of all contractual obligations
thereunder), failure to comply with would, or could reasonably be expected to, result in a Material
Adverse Effect.

        “Material Owned Property” means (a) the Real Property owned by any Loan Party and
listed as Material Owned Real Property on Schedule 4.4(b)(iv) hereto and (b) any other Real
Property owned by any Loan Party or acquired by a Loan Party with a fair market value in excess
of $1,000,000.

        “Maturity Date” shall mean September 29, 2023.

       “Maximum Revolving Advance Amount” shall mean an amount equal to the U.S. Dollar
Equivalent of $12,000,000 less the amount of Prepetition Obligations.

       “Maximum Swing Loan Advance Amount” shall mean an amount equal to the U.S. Dollar
Equivalent of $0.

        “Maximum Undrawn Amount” shall mean, with respect to any outstanding Letter of Credit
as of any date, the amount equal to the U.S. Dollar Equivalent of such Letter of Credit that is or
may become available to be drawn, including all automatic increases provided for in such Letter
of Credit, whether or not any such automatic increase has become effective.



                                                  31
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 119 of 388




       “Modified Commitment Transfer Supplement” shall have the meaning set forth in
Section 16.3(d) hereof.

       “Multiemployer Plan” shall mean a “multiemployer plan” as defined in Section 3(37) or
4001(a)(3) of ERISA to which contributions are required or, within the preceding five plan years,
were required by any Loan Party or any member of the Controlled Group.

        “Multiple Employer Plan” shall mean a Plan which has two or more contributing sponsors
(including any Loan Party or any member of the Controlled Group) at least two of whom are not
under common control, as such a plan is described in Section 4063 or 4064 of ERISA.

        “Net Cash Proceeds” shall mean: (a) with respect to any Disposition of Collateral (other
than Equity Interests), by any Loan Party or any of its Subsidiaries, the aggregate cash proceeds
(including cash proceeds received pursuant to policies of insurance and by way of deferred
payment of principal pursuant to a note, installment receivable or otherwise, but only as and when
received) received by such Loan Party or Subsidiary pursuant to such Disposition net of (i) the
reasonable direct costs related to such Disposition (including sales commissions and legal,
accounting and investment banking fees, commissions and expenses), (ii) any portion of such
proceeds deposited in an escrow account pursuant to the documents relating to such Disposition
(provided that such amounts shall be treated as Net Cash Proceeds upon their release from such
escrow account to any Loan Party), (iii) Taxes paid or reasonably estimated by any Loan Party to
be payable as a result thereof (after taking into account any available tax credits or deductions and
any tax sharing arrangements), and (iv) amounts required to be applied to the repayment of any
Indebtedness secured by a Permitted Encumbrance prior to the Lien of Agent on the asset subject
to such Disposition, all of the costs and expenses reasonably incurred in connection with the
collection of such proceeds, award or other payments, and any amounts retained by or paid to
parties having superior rights to such proceeds, awards or other payments; and (b) with respect to
the Disposition of Equity Interests or the incurrence or issuance of any Indebtedness by any Loan
Party or any of its Subsidiaries, the excess of (i) the sum of the cash and Cash Equivalents received
by such Loan Party or Subsidiary in connection with such transaction over (ii) the underwriting
discounts and commissions, and other reasonable and customary out-of-pocket expenses, incurred
by such Loan Party or Subsidiary in connection therewith.

       “Non-Defaulting Lender” shall mean, at any time, any Revolving Lender that is not a
Defaulting Lender at such time.

       “Non-Qualifying Party” shall mean any Loan Party that on the Eligibility Date fails for any
reason to qualify as an Eligible Contract Participant.

        “Notes” shall mean, collectively, the Revolving Credit Note and the Swing Loan Note.

         “Obligations” shall mean and include any and all loans (including without limitation, all
Advances), advances, debts, liabilities, obligations (including without limitation all reimbursement
obligations and cash collateralization obligations with respect to Letters of Credit issued
hereunder), covenants and duties owing by any Loan Party or any Subsidiary of any Loan Party to
Issuers, Swing Loan Lender, Lenders or Agent (or to any other direct or indirect subsidiary or
affiliate of any Issuer, Swing Loan Lender, any Lender or Agent) of any kind or nature, present or


                                                 32
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 120 of 388




future (including all principal, all accrued and unpaid interest or other amounts accruing thereon,
any fees accruing under or in connection therewith, any costs and expenses of any Person payable
by any Loan Party and any indemnification obligations payable by any Loan Party arising or
payable after maturity, or after the filing of any petition in bankruptcy, or the commencement of
any insolvency, reorganization or like proceeding relating to any Loan Party under any Insolvency
Laws, whether or not a claim for post-filing or post-petition interest, fees or other amounts is
allowable or allowed in such proceeding), whether or not evidenced by any note, guaranty or other
instrument, whether arising under any agreement, instrument or document (including this
Agreement, the Other Documents, Lender-Provided Interest Rate Hedges, Lender-Provided
Foreign Currency Hedges and any Cash Management Products and Services) whether or not for
the payment of money, whether arising by reason of an extension of credit, opening or issuance of
a letter of credit, loan, equipment lease, establishment of any commercial card or similar facility
or guarantee, under any interest or currency swap, future, option or other similar agreement, or in
any other manner, whether arising out of overdrafts or deposit or other accounts or electronic funds
transfers (whether through automated clearing houses or otherwise) or out of Agent’s or any
Lender’s non-receipt of or inability to collect funds or otherwise not being made whole in
connection with depository transfer check or other similar arrangements, whether direct or indirect
(including those acquired by assignment or participation), absolute or contingent, joint or several,
due or to become due, now existing or hereafter arising, contractual or tortious, liquidated or
unliquidated, regardless of how such indebtedness or liabilities arise or by what agreement or
instrument they may be evidenced or whether evidenced by any agreement or instrument,
including, but not limited to, (i) any and all of any Loan Party’s Indebtedness and/or liabilities
(and any and all indebtedness, obligations and/or liabilities of any Subsidiary of any Loan Party)
under this Agreement, the Other Documents or under any other agreement between Issuers, Agent
or Lenders and any Loan Party and any amendments, extensions, renewals or increases and all
costs and expenses of any Issuer, Agent and any Lender incurred in the documentation,
negotiation, modification, enforcement, collection or otherwise in connection with any of the
foregoing, including but not limited to attorneys’ fees and expenses and all obligations of any Loan
Party to Issuers, Agent or Lenders to perform acts or refrain from taking any action, (ii) all Hedge
Obligations, (iii) all Cash Management Obligations and (iv) after entry of the Interim Order and
after giving effect to the Interim Roll-Up and Final Roll-Up, as applicable, in each case whether
now existing or arising hereafter and notwithstanding that any such Obligations or claims therefor
shall be disallowed, voided or subordinated in any Insolvency Proceeding or under any Debtor
Relief Law or other applicable law, all Prepetition Obligations. Notwithstanding anything to the
contrary contained in the foregoing, the Obligations shall not include any Excluded Hedge
Liabilities.

        “Order” has the meaning set forth in Section 2.4(k)(ii).

       “Ordinary Course of Business” shall mean, with respect to any Loan Party, the ordinary
course of such Loan Party’s business as conducted on the Closing Date.

        “Organizational Documents” shall mean, with respect to any Person, any charter, articles
or certificate of incorporation, certificate of organization, registration or formation, certificate of
partnership or limited partnership, bylaws, operating agreement, limited liability company
agreement, or partnership agreement of such Person and any and all other applicable documents
relating to such Person’s formation, organization or entity governance matters (including any

                                                  33
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 121 of 388




shareholders’ or equity holders’ agreement or voting trust agreement) and specifically includes,
without limitation, any certificates of designation for preferred stock or other forms of preferred
equity.

        “Other Documents” shall mean the Notes, the Perfection Certificate, the Certificate of
Beneficial Ownership, any Guaranty, any Guarantor Security Agreement, any Pledge Agreement,
any Lender-Provided Interest Rate Hedge, any Lender-Provided Foreign Currency Hedge, any
Cash Management Products and Services, any Budget, the Interim Order, the Final Order, and
any and all other agreements, instruments and documents, including the Intercreditor Agreement,
other intercreditor agreements, guaranties, pledges, powers of attorney, consents, interest or
currency swap agreements or other similar agreements and all other agreements, documents or
instruments heretofore, now or hereafter executed by any Loan Party and/or delivered to Agent or
any Lender in respect of the transactions contemplated by this Agreement, in each case together
with all amendments, modifications, supplements, renewals, extensions, restatements,
substitutions and replacements thereto and thereof.

         “Other Taxes” shall mean all present or future stamp, court or documentary, intangible,
recording, filing, other excise or property Taxes or similar Taxes, charges or similar levies that
arise from any payment made under, from the execution, delivery, performance, enforcement or
registration of, from the receipt or perfection of a security interest under, or otherwise with respect
to, this Agreement or any Other Document.

        “Out-of-Formula Loans” shall have the meaning set forth in Section 16.2(d) hereof.

         “Overnight Bank Funding Rate” shall mean, for any, day the rate per annum (based on a
year of 360 days and actual days elapsed) comprised of both overnight federal funds and overnight
Eurocurrency borrowings by U.S.-managed banking offices of depository institutions, as such
composite rate shall be determined by the Federal Reserve Bank of New York, as set forth on its
public website from time to time, and as published on the next succeeding Business Day as the
overnight bank funding rate by such Federal Reserve Bank (or by such other recognized electronic
source (such as Bloomberg) selected by Agent for the purpose of displaying such rate) (an
“Alternate Source”); provided, that if such day is not a Business Day, the Overnight Bank Funding
Rate for such day shall be such rate on the immediately preceding Business Day; provided, further,
that if such rate shall at any time, for any reason, no longer exist, a comparable replacement rate
determined by Agent at such time (which determination shall be conclusive absent manifest error).
If the Overnight Bank Funding Rate determined as set forth above would be less than zero, then
such rate shall be deemed to be zero. The rate of interest charged shall be adjusted as of each
Business Day based on changes in the Overnight Bank Funding Rate without notice to the
Borrowers.

        “Parent” of any Person shall mean a corporation or other entity owning, directly or
indirectly, fifty percent (50%) or more of the Equity Interests issued by such Person having
ordinary voting power to elect a majority of the directors of such Person, or other Persons
performing similar functions for any such Person.




                                                  34
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 122 of 388




        “Participant” shall mean each Person who shall be granted the right by any Lender to
participate in any of the Advances and who shall have entered into a participation agreement in
form and substance satisfactory to such Lender.

        “Participation Advance” shall have the meaning set forth in Section 2.14(d) hereof.

        “Participation Commitment” shall mean the obligation hereunder of each Revolving
Lender to buy a participation equal to its Revolving Commitment Percentage (subject to any
reallocation pursuant to Section 2.22(b)(iii) hereof) in the Swing Loans made by Swing Loan
Lender hereunder as provided for in Section 2.4(c) hereof and in the Letters of Credit issued
hereunder as provided for in Section 2.14(a) hereof.

         “Payment in Full” or “Paid in Full” shall mean, with respect to the Obligations, the
indefeasible payment and satisfaction in full in cash of all of the Obligations (and prior to giving
effect to the Final Roll-Up, the then outstanding Prepetition Obligations) (other than contingent
indemnification obligations for which a claim has not been made) in cash or in other immediately
available funds; provided that (a) in the case of any Obligations with respect to outstanding Letters
of Credit, in lieu of the payment in full in cash, the delivery of cash collateral or a backstop letter
of credit in form and substance satisfactory to the applicable Issuer in an amount equal to 105% of
the Maximum Undrawn Amount of all outstanding Letters of Credit shall constitute payment in
full of such Obligations and (b) in the case of any Obligations with respect to Cash Management
Products and Services and any Lender-Provided Interest Rate Hedges or Lender-Provided Foreign
Currency Hedges, in lieu of the payment in full in cash, the delivery of cash collateral in such
amounts as shall be required by the applicable Lender or other arrangements in form and substance
satisfactory to such Lender in respect thereof shall constitute payment in full of such Obligations.
Notwithstanding the foregoing, in the event that, after receipt of any payment of, or proceeds of
Collateral applied to the payment of, any of the Obligations, Agent or any Lender is required to
surrender or return such payment or proceeds to any Person for any reason, then the Obligations
intended to be satisfied by such payment or proceeds shall be reinstated and continue as if such
payment or proceeds had not been received by Agent or such Lender.

       “Payment Office” shall mean initially Two Tower Center Boulevard, East Brunswick, New
Jersey 08816; thereafter, such other office of Agent, if any, which it may designate by notice to
Borrowing Agent and to each Lender to be the Payment Office.

        “PBGC” shall mean the Pension Benefit Guaranty Corporation established pursuant to
Subtitle A of Title IV of ERISA or any successor.

       “Pension Benefit Plan” shall mean at any time any “employee pension benefit plan” as
defined in Section 3(2) of ERISA (including a Multiple Employer Plan, but not a Multiemployer
Plan) which is covered by Title IV of ERISA or is subject to the minimum funding standards under
Section 412, 430 or 436 of the Internal Revenue Code and either (i) is maintained or to which
contributions are required by any Loan Party or any member of the Controlled Group or (ii) has at
any time within the preceding five years been maintained or to which contributions have been
required by a Loan Party or any entity which was at such time a member of the Controlled Group.




                                                  35
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 123 of 388




       “Perfection Certificate” shall mean the information questionnaire and the responses thereto
provided by each Loan Party and delivered to Agent.

        “Permitted Assignees” shall mean: (a) Agent, any Lender or any of their direct or indirect
Affiliates; (b) a federal or state chartered bank (including its Canadian Affiliates or branches), a
United States branch of a foreign bank, an insurance company, or any finance company generally
engaged in the business of making commercial loans; (c) any fund that is administered or managed
by Agent or any Lender, an Affiliate of Agent or any Lender or a related entity; and (d) any Person
to whom Agent or any Lender assigns its rights and obligations under this Agreement as part of an
assignment and transfer of such Agent’s or Lender’s rights in and to a material portion of Agent’s
or such Lender’s portfolio of asset-based credit facilities; provided, that in no event shall (x) a
natural person or (y) Holdings or any of its Affiliates be a “Permitted Assignee.

       “Permitted Captive Insurance Subsidiary” shall mean a Captive Insurance Subsidiary that
Agent has approved as a Permitted Captive Insurance Subsidiary pursuant to Section 7.12(b).

       “Permitted Discretion” shall mean a determination made in good faith and in the exercise
(from the perspective of a secured asset-based lender) of commercially reasonable business
judgment.

        “Permitted Encumbrances” shall mean: (a) Liens in favor of Agent for the benefit of the
Secured Parties, including without limitation, Liens securing Hedge Obligations and Cash
Management Products and Services; (b) Liens for taxes, assessments, Priority Payables or other
governmental charges not delinquent for a period of more than thirty (30) days (provided any such
Liens in respect of Priority Payables have not been registered and/or are not being enforced) or
being Properly Contested and a Reserve has been established against the Formula Amount; (c)
deposits or pledges to secure obligations under worker’s compensation, social security or similar
laws, or under unemployment insurance (but not any Liens being registered or enforced in respect
of any Priority Payables); (d) deposits or pledges to secure bids, tenders, contracts (other than
contracts for the payment of money), leases, statutory obligations, surety, stay, indemnity, customs
and appeal bonds and other obligations of like nature (including those to secure health, safety and
environmental obligations) arising in the Ordinary Course of Business; (e) Liens arising by virtue
of the rendition, entry or issuance against any Loan Party or any Subsidiary, or any property of
any Loan Party or any Subsidiary, of any judgment, writ, order or decree to the extent the rendition,
entry, issuance or continued existence of such judgment, writ, order or decree (or any event or
circumstance relating thereto) has not resulted in the occurrence of an Event of Default under
Section 10.6 hereof; (f) carriers’, warehousemen’s, suppliers’, mechanics’, materialmen’s,
repairmen’s or other similar liens arising in the Ordinary Course of Business and securing
indebtedness not yet due and payable or overdue for more than thirty (30) days or being Properly
Contested and adequate reserves with respect thereto are maintained on the books of the applicable
Person to the extent required in accordance with GAAP; (g) Liens securing Indebtedness under
clause (b) of the definition of “Permitted Indebtedness” provided that (i) any such Lien shall not
encumber any other property of any Loan Party other than the property financed by such Debt,
replacements thereof and additions and accessions to such property and the proceeds thereof and
customary security deposits and (ii) the aggregate amount of Indebtedness secured by such Liens
incurred as a result of such purchases during any fiscal year shall not exceed the amount permitted
by such clause (b) of the definition of “Permitted Indebtedness”; (h) other Liens incidental to the

                                                 36
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 124 of 388




conduct of any Loan Party’s business or the ownership of its property and assets which were not
incurred in connection with the borrowing of money or the obtaining of advances or credit, and
which do not in the aggregate materially detract from Agent’s or Lenders’ rights in and to the
Collateral or the value of any Loan Party’s property or assets or which do not materially impair
the use thereof in the operation of any Loan Party’s business; (i) easements, rights-of-way, zoning
restrictions, minor defects or irregularities in title and other charges or encumbrances, in each case,
which do not interfere in any material respect with the Ordinary Course of Business of the Loan
Parties; (j) Liens granted to the DIP Term Loan Agent and the Prepetition Term Loan Agent to
secure the “Obligations” arising under, and as such term is defined in, the DIP Term Loan
Agreement and the Prepetition Term Loan Agreement, as applicable; provided that such Liens are
subject to the terms of the Intercreditor Agreement; (k) Liens listed on Schedule 1.2 hereto,
including the modification, replacement, renewal or extension thereof; provided that (i) such Liens
shall secure only those obligations which they secure on the Closing Date and shall not
subsequently apply to any other property or assets of any Loan Party other than the property and
assets to which they apply as of the Closing Date and (ii) such renewal, extension or refinancing
of the obligations secured or benefited by such Liens is permitted by Section 7.8 hereof; (l) Liens
that are contractual rights of set-off (i) solely with respect to cash and Cash Equivalents on deposit
in one or more accounts maintained by any Loan Party, in each case, which set-off rights are
granted in the Ordinary Course of Business in favor of the depository bank or financial institution
with which such accounts are maintained, securing amounts owing to such bank or institution with
respect to cash management and operating account arrangements, including those involving pooled
accounts and netting arrangements, (ii) solely with respect to cash and Cash Equivalents on deposit
in one or more accounts maintained by any Loan Party, in each case, which set-off rights relate to
pooled deposit or sweep accounts of any Loan Party to permit satisfaction of overdraft or similar
obligations incurred in the Ordinary Course of Business or (iii) relating to purchase orders and
other agreements entered into with customers of any Loan Party in the Ordinary Course of
Business; (m) the filing of Uniform Commercial Code and PPSA financing statements solely as a
precautionary measure in connection with operating leases entered into by Holdings and its
Subsidiaries in the Ordinary Course of Business; (n) Liens in connection with the cash
collateralization of the Existing Letter of Credit (and any replacements thereof), so long as the
amount secured thereunder does not exceed 105% of the aggregate face amount of such Existing
Letter of Credit; (or such replacement letters of credit); (o) Liens in favor of customs and revenue
authorities arising as a matter of applicable Law and in the Ordinary Course of Business to secure
payment of customs duties in connection with the importation of goods; (p) non-exclusive licenses
of patents, trademarks, copyrights and other intellectual property rights in the Ordinary Course of
Business and not interfering in any material respect with the business of any Loan Party; and (q)
Liens created under the Orders. Furthermore, it is hereby understood and agreed by the parties
hereto that the definition and use of the term “Permitted Encumbrances” herein shall mean that
such encumbrances are permitted to exist but shall in no way be interpreted to mean that such
encumbrances are entitled to any priority over Agent’s security interests and Liens and the Loan
Parties hereby specifically and expressly acknowledge and agree that any such encumbrances not
properly perfected under Applicable Law shall not be entitled to priority over Agent’s security
interests and Liens and that this Agreement is not intended and shall not confer any rights upon
any Person whatsoever who is not a party to this Agreement. For the avoidance of doubt, a
“Permitted Encumbrance” shall not include a Lien or statutory deemed trust in respect of or arising
in connection with a Canadian Pension Plan or Canadian Union Plan.


                                                  37
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 125 of 388




        “Permitted Indebtedness” shall mean: (a) the Obligations; (b) any guarantees of
Indebtedness permitted under Section 7.3 hereof; (c) any Indebtedness on the Closing Date listed
on Schedule 5.8(b) hereto, (d) the Carve Out, (e) Interest Rate Hedges and Foreign Currency
Hedges that are entered into by a Loan Party to hedge its risks with respect to outstanding
Indebtedness of such Loan Party and not for speculative or investment purposes so long as such
Interest Rate Hedges and Foreign Currency Hedges that are not Lender-Provided Interest Rate
Hedges or Lender-Provided Foreign Currency Hedges are unsecured; (f) Indebtedness outstanding
under the Prepetition Term Loan Documents and the DIP Term Loan Documents in an aggregate
amount not exceeding the “Maximum Priority Term Loan Debt” (as defined in the Intercreditor
Agreement), provided that such Indebtedness is subject to the terms of the Intercreditor
Agreement; (g) intercompany Indebtedness owing from one or more Loan Parties (other than
Inactive Subsidiaries) to any other one or more Loan Parties (other than Inactive Subsidiaries) in
accordance with clause (c) of the definition of “Permitted Loans”; (h) Indebtedness incurred by
any Loan Party in respect of performance bonds, surety bonds, completion guarantees, appeal
bonds, bid bonds, in each case incurred in the Ordinary Course of Business, and reimbursement
obligations in respect of any of the foregoing, warehouse receipts or similar instruments issued or
created in the Ordinary Course of Business, including in respect of workers compensation claims,
health, disability or other employee benefits or property, casualty or liability insurance or
self-insurance or other Indebtedness with respect to reimbursement-type obligations regarding
workers compensation claims; (i) unsecured Indebtedness incurred by any Loan Party in respect
of accounts payable to trade creditors for goods and services and current operating liabilities (not
the result of the borrowing of money) incurred in the Ordinary Course of Business in accordance
with customary terms and paid within the specified time, unless contested in good faith by
appropriate proceedings and reserved for substantially in accordance with GAAP; (j) unsecured
Indebtedness (other than for borrowed money) that may be deemed to exist pursuant to any bona
fide warranty or contractual service obligations or performance in the Ordinary Course of Business
of any Loan Party; (k) the Existing Letter of Credit (and any replacements thereof); and (l) the
Permitted Koontz-Wagner Pension Plan Obligations.

        “Permitted Investments” shall mean investments in: (a) obligations issued or guaranteed
by the United States or the federal government of Canada or any agency thereof; (b) commercial
paper with maturities of not more than 180 days and a published rating of not less than A-1 or P-
1 (or the equivalent rating); (c) certificates of time deposit and bankers’ acceptances having
maturities of not more than 180 days and repurchase agreements backed by United States or
Canadian federal government securities of a commercial bank if (i) such bank has a combined
capital and surplus of at least $500,000,000, or (ii) its debt obligations, or those of a holding
company of which it is a Subsidiary, are rated not less than A (or the equivalent rating) by a
nationally recognized investment rating agency; (d) U.S. money market funds that invest solely in
obligations issued or guaranteed by the United States or an agency thereof; (e) Permitted Loans;
(f) investments by any Loan Party in cash and Cash Equivalents, (g) equity investments owned as
of the Closing Date in any Subsidiary and disclosed on Schedule 5.2(b); (h) to the extent
constituting investments, those expressly permitted under Sections 7.1, 7.2, 7.7 and 7.8 hereof,
respectively, and Capital Expenditures; provided, however, that no investments may be made
solely pursuant to this clause (h); (i) [reserved]; (j) investments in the form of advances to
subcontractors in the Ordinary Course of Business; (k) investments received in the form of
settlement of amounts due in the Ordinary Course of Business or owing to any Loan Party as a
result of insolvency proceedings involving an account debtor or upon the foreclosure or

                                                38
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 126 of 388




enforcement of any Lien in favor of a Loan Party or its Subsidiaries; (l) Equity Interests or other
securities acquired in connection with the satisfaction or enforcement of Indebtedness or claims
due or owing to a Loan Party or its Subsidiaries (in bankruptcy of customers or suppliers or
otherwise outside the Ordinary Course of Business) or as security for any such Indebtedness or
claims; and (m) the Wynnefield Indebtedness.

        “Permitted Joint Venture” means any Joint Venture formed prior to the Closing Date which
satisfied all of the conditions set forth in the definition of “Permitted Joint Venture” in the
Prepetition Revolving Credit Agreement and disclosed on Schedule 7.4.

        “Permitted Koontz-Wagner Pension Plan Obligations” shall mean obligations of the Loan
Parties in an aggregate amount not to exceed $2,700,000 for their obligations arising under the
International Brotherhood of Electrical Workers Local Union 1392 multi-employer pension plan
of Koontz-Wagner.

       “Permitted Loans” shall mean: (a) prior to the Closing Date, the extension of trade credit
by a Loan Party (other than an Inactive Subsidiary) to its Customers in the Ordinary Course of
Business in connection with a sale of Inventory or rendition of services, in each case on open
account terms; (b) prior to the Closing Date, loans to employees of a Loan Party (other than an
Inactive Subsidiary) in the Ordinary Course of Business not to exceed as to all such loans the
aggregate amount of $50,000 at any time outstanding; and (c) prior to the Closing Date,
intercompany loans between and among the Loan Parties (other than Inactive Subsidiaries) as
disclosed on Schedule 7.5, so long as, at the request of Agent, each such intercompany loan is
evidenced by a promissory note (including, if applicable, any master intercompany note executed
by the Loan Parties) on terms and conditions (including terms subordinating payment of the
Indebtedness evidenced by such note to the prior Payment in Full of all of the Obligations)
reasonably acceptable to Agent in its sole discretion that has been delivered to Agent either
endorsed in blank or together with an undated instrument of transfer executed in blank by the
applicable Loan Parties that are the payees on such note.

         “Person” shall mean any individual, sole proprietorship, partnership, corporation, business
trust, joint stock company, trust, unincorporated organization, association, limited and unlimited
liability company, limited liability partnership, institution, public benefit corporation, joint
venture, entity or Governmental Body (whether federal, state, county, city, municipal or otherwise,
including any instrumentality, division, agency, body or department thereof).

        “Petition Date” has the meaning assigned to such term in the recitals hereto.

        “Plan” shall mean any employee benefit plan within the meaning of Section 3(3) of ERISA
(including a Pension Benefit Plan and a Multiemployer Plan, as defined herein) maintained by any
Loan Party or any member of the Controlled Group or to which any Loan Party or any member of
the Controlled Group is required to contribute.

       “Pledge Agreement” shall mean that certain Collateral Pledge Agreement, dated as of the
Closing Date, by Holdings, WISG and WISG Canada in favor of Agent, and any other pledge
agreements executed and delivered by any other Person subsequent to the Closing Date to secure



                                                39
074658.23049/132216381v.5
             Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 127 of 388




the Obligations, as each may be amended, restated, amended and restated, supplemented or
otherwise modified from time to time.

         “PNC” shall have the meaning set forth in the preamble to this Agreement and shall extend
to all of its successors and assigns.

       “Post-Petition Obligations” shall mean all Obligations other than the Prepetition
Obligations.

          “Power” shall mean Global Power Professional Services, Inc., a Delaware corporation.

          “Prepetition Agent” shall have the meaning set forth in the recitals hereto.

        “Prepetition Collateral” shall mean all “Collateral” as defined in Prepetition Revolving
Credit Agreement and Prepetition Revolving Credit Documents in existence as of the Petition Date
and all Proceeds, including all Cash Proceeds and non-Cash Proceeds, and products of any and all
of the foregoing Collateral.

        “Prepetition Obligations” shall mean the Obligations (as defined in the Prepetition
Revolving Credit Agreement) and all Designated Cash Management Services Obligations owing
as of the Petition Date. Without limiting the foregoing, the Prepetition Obligations shall include
all indemnification obligations of the Borrowers and the Guarantors to the Prepetition Agent and
Prepetition Revolving Lenders arising under the Prepetition Revolving Credit Agreement and the
Prepetition Revolving Credit Documents, including without limitation the indemnitee and other
protections provided to indemnitees under the obligations arising under the Prepetition Revolving
Credit Agreement which survive payment in full of the Prepetition Obligations.

        “Prepetition Other Documents” shall mean the “Other Documents” as defined in the
Prepetition Revolving Credit Agreement and each document, agreement and instrument (and all
schedules and exhibits thereto) executed in connection therewith, in each case, as in effect
immediately prior to the Petition Date.

        “Prepetition Payment” shall mean a payment (by way of adequate protection or otherwise)
of principal or interest or otherwise on account of any Prepetition Indebtedness or trade payables
or other Prepetition claims against any Debtor.

        “Prepetition Released Claim or Prepetition Released Claims” shall have the meaning set
forth in Section 1.08(a) hereof.

          “Prepetition Revolving Credit Agreement” shall have the meaning set forth in the recitals
hereto.

       “Prepetition Revolving Credit Documents” shall mean the Prepetition Revolving Credit
Agreement, the “Other Documents” as defined in the Prepetition Revolving Credit Agreement and
each document, agreement and instrument (and all schedules and exhibits thereto) executed in
connection therewith, in each case, as in effect immediately prior to the Petition Date.



                                                   40
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 128 of 388




       “Prepetition Revolving Credit Facility” shall mean the credit facilities made available to
the Borrowers pursuant to the Prepetition Revolving Credit Agreement.

        “Prepetition Revolving Credit Priority Collateral” shall mean all Revolving Credit Priority
Collateral (as defined in the Prepetition Revolving Credit Agreement) in existence as of the
Petition Date and all Proceeds, including all Cash Proceeds and non-Cash Proceeds, and products
of any and all of the foregoing Collateral.

        “Prepetition Revolving Lenders” shall have the meaning set forth in the recitals hereto.

        “Prepetition Revolving Loans” shall have the meaning set forth in Section 2.21.

        “Prepetition Secured Parties” shall mean, collectively, the Prepetition Agent, the
Prepetition Revolving Lenders, PNC, as Letter of Credit Issuer under the Prepetition Revolving
Credit Agreement, and each Credit Product Provider (each as defined in the Prepetition Revolving
Credit Agreement)and the Prepetition Term Loan Agent.

      “Prepetition Term Loan Agent” shall mean EICF Agent LLC, a Delaware limited liability
company.

        “Prepetition Term Loan Credit Agreement” shall mean that certain Term Loan, Guarantee
and Security Agreement by and among the Borrowers, the Guarantors, the Prepetition Term Loan
Agent, and the Prepetition Term Loan Lenders from time to time party thereto, as the same may
be amended, modified, supplemented, renewed, restated or replaced in accordance with the
Intercreditor Agreement.

        “Prepetition Term Loan Documents” shall mean, collectively, the following (as the same
may be amended, modified, supplemented, renewed, restated or replaced in accordance with the
Intercreditor Agreement): (a) the Prepetition Term Loan Credit Agreement and, all exhibits,
schedules and disclosure letters referred to therein or delivered pursuant thereto, if any, (b) all
amendments thereto, waivers relating thereto and other side letters or agreements affecting the
terms thereof, and (c) all of the other agreements, documents and instruments executed and
delivered in connection therewith or related thereto.

      “Prepetition Term Loan Lenders” shall mean, collectively, Energy Impact Credit Fund I
LP, CION Investment Corporation, Murray Hill Funding II, LLC, CrowdOut Capital LLC, and
CrowdOut Credit Opportunities Fund LLC.

        “Prepetition Term Loan Obligations” shall mean all Obligations (as defined in the
Prepetition Term Loan Credit Agreement).

        “PPSA” shall mean, collectively, the Personal Property Security Act (Ontario), the Civil
Code of Quebec, as amended, supplemented, restated and superseded, or any other applicable
Canadian federal or provincial statute pertaining to the granting, perfecting, priority or ranking of
security interests, liens, hypothecs on personal and moveable property, and any successor statutes,
together with any regulations thereunder, in each case as in effect from time to time. References
to sections of the PPSA shall be construed to also refer to any successor sections.


                                                 41
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 129 of 388




        “Priority Payables” shall mean (a) the full amount of the liabilities of any Loan Party which
(i) have a trust imposed to provide for payment or a security interest, pledge, Lien, hypothec or
charge ranking or capable of ranking senior to or pari passu with security interests, Liens,
hypothecs or charges securing the Obligations on any Collateral under any federal, provincial,
state, county, district, municipal, local or foreign law or (ii) have a right imposed to provide for
payment ranking or capable of ranking senior to or pari passu with the Obligations under federal,
provincial, state, county, district, municipal, local or foreign law, regulation or directive, including,
but not limited to, claims for unremitted and/or accelerated rents, taxes, wages, withholdings taxes,
value added taxes, amounts payable to an insolvency administrator, employee withholdings or
deductions, vacation pay, severance and termination pay, workers’ compensation obligations,
government royalties or pension obligations in each case to the extent such trust, or security
interest, Lien hypothec or charge has been or may be imposed, including under the Wage Earner
Protection Program Act (Canada), and (b) the amount equal to the aggregate value of the Inventory
which the Agent, in good faith, and on a reasonable basis, considers is or may be subject to
retention of title by a supplier or a right of a supplier to recover possession thereof, where such
supplier’s right has priority over the security interests, liens, hypothecs or charges securing the
Obligations, including, without limitation, Inventory subject to a right of a supplier to repossess
goods pursuant to Section 81.1 of the Bankruptcy and Insolvency Act (Canada) or any applicable
laws granting revendication or similar rights to unpaid suppliers or any similar laws of Canada or
any other applicable jurisdiction.

        “Properly Contested” shall mean, in the case of any Indebtedness, Lien or Taxes, as
applicable, of any Person that are not paid as and when due or payable by reason of such Person’s
bona fide dispute concerning its liability to pay the same or concerning the amount thereof: (a) such
Indebtedness, Lien or Taxes, as applicable, are being properly contested in good faith by
appropriate proceedings promptly instituted and diligently conducted; (b) the Agent has
established Reserves hereunder and such Person has established reserves as shall be required in
conformity with GAAP; (c) the non-payment of such Indebtedness or Taxes will not have a
Material Adverse Effect or will not result in the forfeiture of any assets of such Person; (d) no
Lien, other than Liens for Priority Payables, is imposed upon any of such Person’s assets with
respect to such Indebtedness or taxes unless such Lien (x) does not attach to any Receivables or
Inventory, (y) is at all times junior and subordinate in priority to the Liens in favor of Agent (except
only with respect to property Taxes that have priority as a matter of applicable state law) and, (z)
enforcement of such Lien is stayed during the period prior to the final resolution or disposition of
such dispute; and (e) if such Indebtedness or Lien, as applicable, results from, or is determined by
the entry, rendition or issuance against a Person or any of its assets of a judgment, writ, order or
decree, enforcement of such judgment, writ, order or decree is stayed pending a timely appeal or
other judicial review.

        “Protective Advances” shall have the meaning set forth in Section 16.2(e) hereof.

        “Purchasing CLO” shall have the meaning set forth in Section 16.3(d) hereof.

        “Purchasing Lender” shall have the meaning set forth in Section 16.3(c) hereof.

       “Qualified ECP Loan Party” shall mean each Loan Party that on the Eligibility Date is (a) a
corporation, partnership, proprietorship, organization, trust, or other entity other than a

                                                   42
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 130 of 388




“commodity pool” as defined in Section 1a(10) of the CEA and CFTC regulations thereunder that
has total assets exceeding $10,000,000 or (b) an Eligible Contract Participant that can cause
another person to qualify as an Eligible Contract Participant on the Eligibility Date under
Section 1a(18)(A)(v)(II) of the CEA by entering into or otherwise providing a “letter of credit or
keepwell, support, or other agreement” for purposes of Section 1a(18)(A)(v)(II) of the CEA.

        “Qualified Equity Interests” means any Equity Interests that are not Disqualified Equity
Interests.

        “RCRA” shall mean the Resource Conservation and Recovery Act, 42 U.S.C. §§ 6901 et
seq., as same may be amended, modified or supplemented from time to time.

        “Real Property” shall mean all of the real property owned, leased or operated by any Loan
Party on or after the Closing Date, together with, in each case, all improvements and appurtenant
fixtures, equipment, personal property, easements and other property and rights incidental to the
ownership, lease or operation thereof.

        “Receivables” shall mean and include, as to each Loan Party, all of such Loan Party’s
accounts (as defined in Article 9 of the Uniform Commercial Code) and all of such Loan Party’s
contract rights, instruments (including those evidencing indebtedness owed to such Loan Party by
its Affiliates), documents, chattel paper (including electronic chattel paper), general intangibles
relating to accounts, contract rights, instruments, documents and chattel paper, all drafts and
acceptances, credit card receivables and all other forms of obligations owing to such Loan Party
arising out of or in connection with the sale or lease of Inventory or the rendition of services, all
supporting obligations, guarantees and other security therefor, whether secured or unsecured, now
existing or hereafter created, and whether or not specifically sold or assigned to Agent hereunder.

        “Register” shall have the meaning set forth in Section 16.3(e) hereof.

        “Reimbursement Obligation” shall have the meaning set forth in Section 2.14(b) hereof.

        “Release” shall have the meaning set forth in Section 5.7(c)(i) hereof.

        “Reportable Compliance Event” shall mean that any Covered Entity becomes a Sanctioned
Person, or is charged by indictment, criminal complaint or similar charging instrument, arraigned,
or custodially detained in connection with any Anti-Terrorism Law or any predicate crime to any
Anti-Terrorism Law, or has knowledge of facts or circumstances to the effect that it is reasonably
likely that any aspect of its operations is in actual or probable violation of any Anti-Terrorism
Law.

        “Reportable ERISA Event” shall mean a reportable event described in Section 4043 of
ERISA or the regulations promulgated thereunder, other than an event for which the 30-day notice
period is waived.

       “Required Lenders” shall mean Lenders (not including Swing Loan Lender (in its capacity
as such) or any Defaulting Lender) holding at least fifty one percent (51%) of either (a) the
aggregate of the Revolving Commitment Amounts of all Lenders (excluding any Defaulting
Lender), or (b) after the termination of all of the Commitments, the sum of (x) the outstanding

                                                 43
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 131 of 388




Revolving Advances and Swing Loans, plus (y) the Maximum Undrawn Amount of all outstanding
Letters of Credit; provided, however, if there are fewer than three (3) Lenders, Required Lenders
shall mean all Lenders (excluding any Defaulting Lender).

        “Reserves” shall mean reserves against the Maximum Revolving Advance Amount or the
Formula Amount as Agent may deem proper and necessary from time to time, including in respect
of Priority Payables in respect of any Canadian Loan Party.

      “Resolution Authority” shall mean an EEA Resolution Authority or, with respect to any
UK Financial Institution, a UK Resolution Authority.

        “Responsible Officer” means the (i) President, Chief Executive Officer, Chief Financial
Officer, Controller, Treasurer or General Counsel of a Loan Party, (ii) any person performing
similar functions of the forgoing clause (i), or (iii) any person with supervisory or managerial
responsibilities of a Loan Party.

        “Restricted Distribution” means as to any Person (a) any dividend or distribution on any
Equity Interests of any Loan Party (other than dividends or distributions payable in its stock (other
than Disqualified Equity Interests)), (b) any split-ups or reclassifications of its Equity Interests
(other than Disqualified Equity Interests)), (c) any application any of its funds, property or assets
to the purchase, redemption or other retirement of any of its Equity Interests, or of any options to
purchase or acquire any Equity Interests of any Person, and (d) any payment of principal, premium,
if any, or interest (whether in cash, securities or other property) of any intercompany note between
and among the Loan Parties evidencing Indebtedness permitted to be incurred pursuant to the terms
hereof.

         “Revolving Advances” shall mean Advances other than Letters of Credit and the Swing
Loans.

        “Revolving Commitment” shall mean, as to any Lender, the obligation of such Lender (if
applicable), to make Revolving Advances and participate in Swing Loans and Letters of Credit, in
an aggregate principal and/or face amount not to exceed the Revolving Commitment Amount (if
any) of such Lender.

        “Revolving Commitment Amount” shall mean, as to any Lender, the Revolving
Commitment amount (if any) set forth opposite such Lender’s name on Schedule 1.1 hereto (or, in
the case of any Lender that became party to this Agreement after the Closing Date pursuant to
Section 16.3(c) or (d) hereof, the Revolving Commitment amount (if any) of such Lender as set
forth in the applicable Commitment Transfer Supplement).

         “Revolving Commitment Percentage” shall mean, as to any Lender, the Revolving
Commitment Percentage (if any) set forth opposite such Lender’s name on Schedule 1.1 hereto
(or, in the case of any Lender that became party to this Agreement after the Closing Date pursuant
to Section 16.3(c) or (d) hereof, the Revolving Commitment Percentage (if any) of such Lender as
set forth in the applicable Commitment Transfer Supplement).

       “Revolving Credit Adequate Protection Payments” shall have the meaning set forth in the
Interim Order, and upon entry of the Final Order, in the Final Order.

                                                 44
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 132 of 388




       “Revolving Credit Cash Collateral” shall mean “Revolving Credit Cash Collateral” as
defined in the Interim Order, or, after the entry of the Final Order, in the Final Order.

       “Revolving Credit Note” shall mean, collectively, the promissory notes referred to in
Section 2.1(a) hereof, as each may be amended, restated, amended and restated, supplemented or
otherwise modified from time to time.

        “Revolving Interest Rate” shall mean (a) with respect to Revolving Advances that are
Domestic Rate Loans and Swing Loans, an interest rate per annum equal to the sum of the
Applicable Margin for Revolving Advances and Swing Loans plus the Alternate Base Rate and
(b) with respect to Revolving Advances that are Term SOFR Rate Loans, an interest rate per
annum equal to the sum of the Applicable Margin for Revolving Advances plus the Term SOFR
Rate.

        “Revolving Lender” shall mean each Lender holding a Revolving Commitment.

      “Revolving Priority Collateral” shall have the meaning set forth in the Intercreditor
Agreement.

       “Sanctioned Jurisdiction” shall mean a country, territory or government or agency of
any of the foregoing, in each case that is subject to or the subject or target of any sanctions or
sanctions program maintained under any Anti-Terrorism Law, including, as of the Closing
Date, Cuba, Iran, North Korea, Syria, and the Crimea region of Ukraine.

        “Sanctioned Person” shall mean any individual person, group, regime, entity or thing listed
or otherwise recognized as a specially designated, prohibited, sanctioned or debarred person,
group, regime, entity or thing, or subject to or the subject or target of any limitations or prohibitions
(including but not limited to the blocking of property or rejection of transactions), under any Anti-
Terrorism Law, including the Corruption of Foreign Public Officials Act (Canada), the Freezing
Assets of Corrupt Foreign Officials Act (Canada) and the United Nations Act, including, without
limitation, the Regulations Implementing the United Nations Resolutions on the Suppression of
Terrorism (Canada) and the United Nations Al-Qaida and Taliban Regulations (Canada)
promulgated under the United Nations Act.

      “SEC” shall mean the Securities and Exchange Commission or any similar applicable
Governmental Body or any successor thereto.

        “Secured Parties” shall mean, collectively, Agent, Issuers, Swing Loan Lender and
Lenders, together with any Affiliates of Agent or any Lender to whom any Hedge Obligations or
Cash Management Obligations are owed and with each other holder of any of the Obligations, and
the respective successors and assigns of each of them.

        “Securities Act” shall mean the Securities Act of 1933, as amended.

        “Settlement” shall have the meaning set forth in Section 2.6(d) hereof.

        “Settlement Date” shall have the meaning set forth in Section 2.6(d) hereof.


                                                   45
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 133 of 388




       “SOFR” shall mean, for any day, a rate equal to the secured overnight financing rate as
administered by the Federal Reserve Bank of New York (or a successor administrator of the
secured overnight financing rate).

        “SOFR Adjustment” shall mean, the following:

                    SOFR Adjustment                Interest Period
                 15 basis points (0.15%)   For a 1-month Interest Period
                 25 basis points (0.25%)   For a 3-month Interest Period
                 35 basis points (0.35%)   For a 6-month Interest Period

        “SOFR Floor” means a rate of interest per annum equal to 100 basis points (1.00%).

        “SOFR Reserve Percentage” shall mean, for any day, the maximum effective percentage
in effect on such day, if any, as prescribed by the Board of Governors of the Federal Reserve
System (or any successor) for determining the reserve requirements (including, without limitation,
supplemental, marginal and emergency reserve requirements) with respect to SOFR funding.

       “Southern Receivables” shall mean Receivables owing to WPS by Southern Nuclear
Operating Company, Inc., a Delaware corporation.

        “Stalking Horse Agreement” shall mean an asset purchase agreement providing for the
application of any sale proceeds in accordance with the Interim Order and the priorities set forth
therein, which purchase agreement shall be on terms acceptable to Agent in its sole discretion (as
may be amended in accordance with the terms hereof).

        “Stalking Horse Bidder” shall have the meaning set forth in Section 6.24.

        “Steam” shall mean Steam Enterprises LLC, a Delaware limited liability company.

        “Subordinated Indebtedness” shall mean the Wynnefield Indebtedness and all other
Indebtedness of any Loan Party (a) having amounts, maturities, terms and conditions reasonably
satisfactory to, and approved in writing by, Agent and (b) that are subordinated to the payment of
the Obligations in a manner and on terms and conditions reasonably satisfactory to, and approved
in writing by, Agent.

       “Subordination Agreements” shall mean, collectively, any subordination agreement by and
among Agent, any Loan Party and any holder of Subordinated Indebtedness (as the same may be
amended, modified, supplemented, renewed, restated or replaced from time to time), in each case
in form and substance acceptable to Agent.

        “Subsidiary” of any Person shall mean a corporation or other entity of whose Equity
Interests having ordinary voting power (other than Equity Interests having such power only by
reason of the happening of a contingency) to elect a majority of the directors of such corporation,
or other Persons performing similar functions for such entity, are owned, directly or indirectly, by
such Person. In no event shall the term “Subsidiary” include any Permitted Joint Venture or
Koontz-Wagner (other than in its capacity as an “Inactive Subsidiary”).


                                                46
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 134 of 388




       “Subsidiary Stock” shall mean (a) with respect to the Equity Interests issued to a Loan
Party by any Subsidiary (other than a Foreign Subsidiary), 100% of such issued and outstanding
Equity Interests, and (b) with respect to any Equity Interests issued to a Loan Party by any Foreign
Subsidiary (i) 100% of such issued and outstanding Equity Interests not entitled to vote (within
the meaning of Treas. Reg. Section 1.956-2(c)(2)) and (ii) 66.67% (or such greater percentage that
could not reasonably be expected to cause any material adverse U.S. federal, state or local income
Tax consequences to a Loan Party) of such issued and outstanding Equity Interests entitled to vote
(within the meaning of Treas. Reg. Section 1.956-2(c)(2)).

        “Swap” shall mean any “swap” as defined in Section 1a(47) of the CEA and regulations
thereunder other than (a) a swap entered into, or subject to the rules of, a board of trade designated
as a contract market under Section 5 of the CEA, or (b) a commodity option entered into pursuant
to CFTC Regulation 32.3(a).

       “Swap Obligation” shall mean any obligation to pay or perform under any agreement,
contract or transaction that constitutes a Swap which is also a Lender-Provided Interest Rate
Hedge, or a Lender-Provided Foreign Currency Hedge.

        “Swing Loan Lender” shall mean PNC, in its capacity as lender of the Swing Loans.

       “Swing Loan Note” shall mean the promissory note described in Section 2.4(a) hereof, as
such note may be amended, restated, amended and restated, supplemented or otherwise modified
from time to time.

        “Swing Loans” shall mean the Advances made pursuant to Section 2.4 hereof.

        “Tax Distribution” shall mean the additional federal, state or local income Taxes assumed
to be payable by a shareholder or member of any Loan Party as a result of the taxable income of
such Loan Party that gets allocated to such shareholder or member due to such Loan Party’s status
for federal, state or local income Tax purposes as a partnership, subchapter S corporation or any
other entity that is a pass-through entity or disregarded entity for federal, state and local income
Tax purposes (as applicable) but only for so long as such Loan Party continues to be so treated as
a pass-through entity or disregarded entity for federal, state and local income tax purposes, as
evidenced and substantiated by the tax returns filed by such Loan Party (as applicable), with such
income Taxes assumed to be payable by a shareholder or member of any Loan Party being
calculated for all members or shareholders, as applicable, at the highest combined marginal
federal, state and local income Tax rate applicable to the taxable income of the applicable member
or shareholder at issue for which such tax is being calculated that is allocated to the member or
shareholder of the Loan Party, taking into consideration (A) the character and nature of such
income (i.e., whether such income is subject to income Tax at capital gains rates, ordinary income
rates or any special rates), (B) losses previously allocated to each such member or shareholder, as
applicable, by such Loan Party to the extent such losses have not previously been applied to reduce
the Tax Distribution hereunder, provided that capital losses and capital loss carry forwards shall
be taken into account only to the extent they are currently usable to offset income or gain allocated
by such Loan Party to a member or shareholder, as applicable; and provided, further, that to the
extent that any losses allocated by such Loan Party result in a payback by a member to such Loan
Party of previous Tax Distributions pursuant to Section 7.7 hereof, then such losses shall not be

                                                 47
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 135 of 388




taken into account for purposes of determining the Tax Distribution hereunder, and (C) the
deduction under Section 199A of the Internal Revenue Code in respect of the taxable income of
the Loan Parties.

        “Taxes” shall mean all present or future taxes, levies, imposts, duties, deductions,
withholdings, assessments, fees or other charges imposed by any Governmental Body, including
any interest, additions to tax or penalties applicable thereto.

        “Term” shall have the meaning set forth in Section 13.1 hereof.

        “Termination Date” means the earliest to occur of (the date of such earliest occurrence, the
“Termination Date”): (a) the Maturity Date; (b) delivery of a Termination Notice to Borrowing
Agent during the continuance of an Event of Default; (c) the effective date or substantial
consummation of an Approved 363 Sale with respect to Accounts or other Revolving Credit
Priority Collateral; (d) the effective date or substantial consummation of a plan of reorganization
or plan of liquidation in any of the Cases; (e) the date of filing or support by the Debtors of a plan
of reorganization or plan of liquidation that does not provide for the indefeasible payment in full
in cash of all Obligations (including for the avoidance of doubt, even if prior to the Final Order,
all Prepetition Revolving Credit Loan Obligations); (f) date of the conversion of any of the Cases
to a case under Chapter 7 of the Bankruptcy Code; (g) the date of the dismissal of any of the Cases
(such period from of the date hereof through and ending on the Termination Date, the “Term”).
Debtors may terminate this Agreement at any time, subject to providing seven (7) Business Days’
prior written notice to Agent, upon Payment in Full of all Obligations (including for the avoidance
of doubt, even if prior to the Final Order, all Prepetition Revolving Credit Loan Obligations).

         “Termination Event” shall mean: (a) a Reportable ERISA Event with respect to any
Pension Benefit Plan; (b) the withdrawal of any Loan Party or any member of the Controlled Group
from a Pension Benefit Plan during a plan year in which such entity was a “substantial employer”
as defined in Section 4001(a)(2) of ERISA or a cessation of operations that is treated as such a
withdrawal under Section 4062(e) of ERISA; (c) the providing of notice of intent to terminate a
Pension Benefit Plan in a distress termination described in Section 4041(c) of ERISA; (d) the
commencement of proceedings by the PBGC to terminate a Pension Benefit Plan or Multiemployer
Plan; (e) any event or condition (i) which would be reasonably expected to constitute grounds
under Section 4042 of ERISA for the termination of, or the appointment of a trustee to administer,
any Pension Benefit Plan or Multiemployer Plan, or (ii) that would be reasonably expected to result
in the termination of a Multiemployer Plan pursuant to Section 4041A of ERISA; (f) the partial or
complete withdrawal, within the meaning of Section 4203 or 4205 of ERISA, of any Loan Party
or any member of the Controlled Group from a Multiemployer Plan; (g) notice that a
Multiemployer Plan is subject to Section 4245 of ERISA; or (h) the imposition of any material
liability under Title IV of ERISA, other than for PBGC premiums due but not delinquent, upon
any Loan Party or any member of the Controlled Group.

       “Term Loan Adequate Protection Claim” shall have the meaning set forth in the Interim
Order, and upon entry of the Final Order, in the Final Order.

      “Term Loan Priority Collateral” shall have the meaning set forth in the Intercreditor
Agreement.

                                                 48
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 136 of 388




      “Term Loan Priority Collateral Account” shall have the meaning set forth in the DIP Term
Loan Agreement in effect on the Closing Date.

        “Term SOFR Administrator” means CME Group Benchmark Administration Limited
(CBA) (or a successor administrator of the Term SOFR Reference Rate selected by the Agent in
its reasonable discretion).

         “Term SOFR Rate” shall mean, with respect to any Term SOFR Rate Loan for any Interest
Period, the interest rate per annum determined by the Agent by dividing (the resulting quotient
rounded upwards, at the Agent’s discretion, to the nearest 1/100th of 1%) (A) the Term SOFR
Reference Rate for a tenor comparable to such Interest Period on the day (the “Term SOFR
Determination Date”) that is two (2) Business Days prior to the first day of such Interest Period,
as such rate is published by the Term SOFR Administrator, by (B) a number equal to 1.00 minus
the SOFR Reserve Percentage. If the Term SOFR Reference Rate for the applicable tenor has not
been published or replaced with a Benchmark Replacement by 5:00 p.m. (Pittsburgh, Pennsylvania
time) on the Term SOFR Determination Date, then the Term SOFR Reference Rate, for purposes
of clause (A) in the preceding sentence, shall be the Term SOFR Reference Rate for such tenor on
the first Business Day preceding such Term SOFR Determination Date for which such Term SOFR
Reference Rate for such tenor was published in accordance herewith, so long as such first
preceding Business Day is not more than three (3) Business Days prior to such Term SOFR
Determination Date. If the Term SOFR Rate, determined as provided above, would be less than
the SOFR Floor, then the Term SOFR Rate shall be deemed to be the SOFR Floor. The Term
SOFR Rate shall be adjusted automatically without notice to the Borrowing Agent on and as of (i)
the first day of each Interest Period, and (ii) the effective date of any change in the SOFR Reserve
Percentage.

        “Term SOFR Rate Loan” means an Advance that bears interest based on Term SOFR Rate.

        “Term SOFR Reference Rate” shall mean the forward-looking term rate based on SOFR.

        “Toxic Substance” shall mean and include any material present on any Real Property
(including any leasehold interests) which has been shown to have significant adverse effect on
human health or which is subject to regulation under the Toxic Substances Control Act (TSCA),
15 U.S.C. §§ 2601 et seq., applicable state law, or any other applicable Federal or state laws or
Canadian or provincial laws now in force or hereafter enacted relating to toxic substances. “Toxic
Substance” includes but is not limited to asbestos, polychlorinated biphenyls (PCBs) and lead-
based paints.

       “Transactions” shall mean the transactions under or contemplated by this Agreement, the
Other Documents and the DIP Term Loan Documents.

        “Transferee” shall have the meaning set forth in Section 16.3(d) hereof.

        “Trustee” shall have the meaning set forth in the Interim Order, or, after entry of the Final
Order, in the Final Order.

       “UK Financial Institution” shall mean any BRRD Undertaking (as such term is defined
under the PRA Rulebook (as amended form time to time) promulgated by the United Kingdom

                                                 49
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 137 of 388




Prudential Regulation Authority) or any person falling within IFPRU 11.6 of the FCA Handbook
(as amended from time to time) promulgated by the United Kingdom Financial Conduct Authority,
which includes certain credit institutions and investment firms, and certain affiliates of such credit
institutions or investment firms.

       “UK Resolution Authority” shall mean the Bank of England or any other public
administrative authority having responsibility for the resolution of any UK Financial Institution.

        “Uniform Commercial Code” shall mean the Uniform Commercial Code as in effect from
time to time in the State of New York.

        “Unused Line Fee” shall have the meaning set forth in Section 3.3 hereof.

        “USA PATRIOT Act” shall mean the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001, Public Law 107-56,
as the same has been, or shall hereafter be, amended, modified, supplemented, renewed, extended
or replaced.

        “U.S. Dollar” and the sign “$” shall mean lawful money of the United States.

        “U.S. Dollar Equivalent” shall mean, at any time, (i) as to any amount denominated in U.S.
Dollars, the amount thereof at such time, and (ii) as to any amount denominated in any other
currency, the equivalent amount in U.S. Dollars calculated by the Agent in good faith at such time
using the Exchange Rate in effect on the day of determination.

       “U.S. Funding Account” shall mean a deposit account of Borrowing Agent established for
the purpose of receiving proceeds of Advances made in U.S. Dollars.

       “U.S. Government Securities Business Day” means any day except for (a) a Saturday or
Sunday or (b) a day on which the Securities Industry and Financial Markets Association
recommends that the fixed income departments of its members be closed for the entire day for
purposes of trading in United States government securities.

        “U.S. Guarantor” shall mean any Guarantor that is a U.S. Person.

        “U.S. Loan Party” shall mean any Loan Party that is a U.S. Person.

       “U.S. Person” shall mean any Person that is a “United States Person” as defined in
Section 7701(a)(30) of the Internal Revenue Code.

        “United States” means the United States of America.

        “Usage Amount” shall have the meaning set forth in Section 3.3 hereof.

      “Water Project Contracts” shall mean all contracts entered into in connection with water
and wastewater construction and maintenance projects of Williams Industrial Services, LLC.




                                                 50
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 138 of 388




       “WISG” shall have the meaning set forth in the preamble to this Agreement and shall
include its successors and assigns.

        “WISG Canada” shall have the meaning set forth in the preamble to this Agreement and
shall include its successors and assigns.

        “WISG Electrical” shall have the meaning set forth in the preamble to this Agreement and
shall include its successors and assigns.

       “WISI” shall have the meaning set forth in the preamble to this Agreement and shall
include its successors and assigns.

        “Withholding Agent” shall mean any Loan Party and Agent.

         “Write-Down and Conversion Powers” shall mean, (a) with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to
time under the Bail-In Legislation for the applicable EEA Member Country, which write-down
and conversion powers are described in the EU Bail-In Legislation Schedule, and (b) with respect
to the United Kingdom, any powers of the applicable Resolution Authority under the Bail-In
Legislation to cancel, reduce, modify or change the form of a liability of any UK Financial
Institution or any contract or instrument under which that liability arises, to convert all or part of
that liability into shares, securities or obligations of that person or any other person, to provide that
any such contract or instrument is to have effect as if a right had been exercised under it or to
suspend any obligation in respect of that liability or any of the powers under that Bail-In
Legislation that are related to or ancillary to any of those powers.

        “WPS” shall have the meaning set forth in the preamble to this Agreement and shall include
its successors and assigns.

        “WSS” shall have the meaning set forth in the preamble to this Agreement and shall include
its successors and assigns.

       “Wynnefield Guaranties” shall mean, collectively, (i) that certain Guaranty, dated as of
January 9, 2023, by the Guarantors, as guarantors, in favor of Wynnefield Partners Small Cap
Value, L.P. I and (ii) that certain Guaranty, dated as of January 9, 2023, by the Guarantors, as
guarantors, in favor of Wynnefield Partners Small Cap Value, L.P.

      “Wynnefield Indebtedness” shall mean the Indebtedness evidenced by the Wynnefield
Loan Documents.

       “Wynnefield Lenders” shall mean, collectively, Wynnefield Partners Small Cap Value,
L.P. and Wynnefield Partners Small Cap Value, L.P. I.

       “Wynnefield Loan Documents” shall mean the Wynnefield Notes and the Wynnefield
Guaranties, as the same may from time to time be amended, restated, or otherwise modified or
replaced in accordance with the terms of the applicable Subordination Agreement.



                                                   51
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 139 of 388




        “Wynnefield Notes” shall mean, collectively, (i) that certain Unsecured Promissory Note,
dated as of January 9, 2023, by and among Holdings, as the borrow, and Wynnefield Partners
Small Cap Value, L.P. I, as the Lender in the original principal amount of $400,000.00 and (ii)
that certain Unsecured Promissory Note, dated as of January 9, 2023, by and among Holdings, as
the borrow, and Wynnefield Partners Small Cap Value, L.P., as the Lender in the original principal
amount of $350,000.00.

        1.3.    Uniform Commercial Code / PPSA Terms. All terms used herein and defined in
the Uniform Commercial Code as adopted in the State of New York from time to time (the
“Uniform Commercial Code”) shall have the meaning given therein unless otherwise defined
herein. Without limiting the foregoing, the terms “accounts”, “chattel paper” (and “electronic
chattel paper” and “tangible chattel paper”), “commercial tort claims”, “deposit accounts”,
“documents”, “equipment”, “financial asset”, “fixtures”, “general intangibles”, “goods”,
“instruments”, “inventory”, “investment property”, “letter-of-credit rights”, “payment
intangibles”, “proceeds”, “promissory note” “securities”, “software” and “supporting obligations”
as and when used in the description of Collateral shall have the meanings given to such terms in
Articles 8 or 9 of the Uniform Commercial Code. To the extent the definition of any category or
type of collateral is expanded by any amendment, modification or revision to the Uniform
Commercial Code, such expanded definition will apply automatically as of the date of such
amendment, modification or revision. All terms used herein and defined in the PPSA (in respect
of Collateral located in Canada) shall have the meaning given therein unless otherwise defined
herein. Without limiting the foregoing, the terms “accounts”, “chattel paper”, “goods”,
“instruments”, “intangibles”, “proceeds”, “securities”, “investment property”, “document of title”,
“inventory”, “equipment” and “fixtures”, as and when used in the description of Collateral located
in Canada shall have the meanings given to such terms in the PPSA. To the extent the definition
of any category or type of collateral is expanded by any amendment, modification or revision to
the PPSA, such expanded definition will apply automatically as of the date of such amendment,
modification or revision.

        1.4.   Certain Matters of Construction. The terms “herein”, “hereof” and “hereunder”
and other words of similar import refer to this Agreement as a whole and not to any particular
section, subsection, clause or paragraph. All references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
this Agreement, except where the context clearly requires otherwise. Any pronoun used shall be
deemed to cover all genders. Wherever appropriate in the context, terms used herein in the singular
also include the plural and vice versa. All references to statutes and related regulations shall
include any amendments of same and any successor statutes and regulations. Unless otherwise
provided, all references to any instruments or agreements to which Agent is a party, including
references to any of the Other Documents, shall include any and all modifications, supplements or
amendments thereto, any and all restatements or replacements thereof and any and all extensions
or renewals thereof. Except as otherwise expressly provided for herein, all references herein to
the time of day shall mean the time in New York, New York. Unless otherwise provided, all
financial calculations shall be performed with Inventory valued on a first-in, first-out basis.
Whenever the words “including” or “include” shall be used, such words shall be understood to
mean “including, without limitation” or “include, without limitation”. A Default or an Event of
Default shall be deemed to exist at all times during the period commencing on the date that such
Default or Event of Default occurs to the date on which such Default or Event of Default is waived

                                                52
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 140 of 388




in writing pursuant to this Agreement or, in the case of a Default, is cured within any period of
cure expressly provided for in this Agreement; and an Event of Default shall “continue” or be
“continuing” until such Event of Default has been waived in writing by Required Lenders. Any
Lien referred to in this Agreement or any of the Other Documents as having been created in favor
of Agent, any agreement entered into by Agent pursuant to this Agreement or any of the Other
Documents, any payment made by or to or funds received by Agent pursuant to or as contemplated
by this Agreement or any of the Other Documents, or any act taken or omitted to be taken by
Agent, shall, unless otherwise expressly provided, be created, entered into, made or received, or
taken or omitted, for the benefit or account of Agent and Lenders. Wherever the phrase “to the
best of Borrowers’ knowledge” or “to the best of the Loan Parties’ knowledge” or words of similar
import relating to the knowledge or the awareness of any Loan Party are used in this Agreement
or Other Documents, such phrase shall mean and refer to (i) the actual knowledge of a senior
officer of any Loan Party or (ii) the knowledge that a senior officer would have obtained if he/she
had engaged in a good faith and diligent performance of his/her duties, including the making of
such reasonably specific inquiries as may be necessary of the employees or agents of such Loan
Party and a good faith attempt to ascertain the existence or accuracy of the matter to which such
phrase relates. All covenants hereunder shall be given independent effect so that if a particular
action or condition is not permitted by any of such covenants, the fact that it would be permitted
by an exception to, or otherwise within the limitations of, another covenant shall not avoid the
occurrence of a default if such action is taken or condition exists. In addition, all representations
and warranties hereunder shall be given independent effect so that if a particular representation or
warranty proves to be incorrect or is breached, the fact that another representation or warranty
concerning the same or similar subject matter is correct or is not breached will not affect the
incorrectness of a breach of a representation or warranty hereunder.

        1.5. Currency Matters. Principal, interest, reimbursement obligations, fees, and all
other amounts payable under this Agreement and the Other Documents to the Secured Parties shall
be payable in the currency in which such Obligations are denominated. Unless stated otherwise,
all calculations, comparisons, measurements or determinations under this Agreement, shall be
made in U.S. Dollars. For the purpose of all calculations, comparisons, measurements or
determinations hereunder, including all calculations of the Formula Amount and all financial
performance or results and all calculations with respect to financial ratios and/or financial
covenants, including calculation of the component parts thereof, amounts denominated in other
currencies shall be converted to the U.S. Dollar Equivalent thereof at the Exchange Rate in effect
on the day of determination. If Agent shall receive payment in a currency other than the currency
in which the Obligations are due, whether pursuant to the exercise of control under a securities
account control agreement or deposit account control agreement, or as proceeds or realization of
the Collateral or otherwise, then Agent shall be authorized to convert such amounts at the
Exchange Rate in effect on the day of determination to the currencies in which such Obligations
are due for application thereto. All financial statements, Borrowing Base Certificate and
Compliance Certificates shall be set forth in U.S. Dollars.

        1.6.    [Reserved].

       1.7.   Canadian Terms. In this Agreement, (i) any term defined in this Agreement by
reference to the “Uniform Commercial Code” shall also have any extended, alternative or
analogous meaning given to such term in applicable Canadian personal property security and other

                                                 53
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 141 of 388




laws (including, without limitation, the PPSA, the Bills of Exchange Act (Canada) and the
Depository Bills and Notes Act (Canada)), in all cases for the extension, preservation or betterment
of the security and rights of the Agent, (ii) all references in this Agreement to “Article 8 of the
Code” or “Article 8 of the Uniform Commercial Code” shall be deemed to refer also to applicable
Canadian securities transfer laws (including, without limitation, the Securities Transfer Act, 2006
(Ontario) and the Securities Transfer Act (British Columbia), as applicable), (iii) all references in
this Agreement to the United States Copyright Office or the United States Patent and Trademark
Office shall be deemed to refer also to the Canadian Intellectual Property Office, (iv) all references
in this Agreement to a financing statement, continuation statement, amendment or termination
statement shall be deemed to refer also to the analogous documents used under applicable
Canadian personal property security laws, (v) all references to the United States, or to any
subdivision, department, agency or instrumentality thereof shall be deemed to refer also to Canada,
or to any subdivision, department, agency or instrumentality thereof, (vi) all references to federal
or state securities law of the United States shall be deemed to refer also to analogous federal and
provincial securities laws in Canada, (vii) all references to “state or federal bankruptcy laws” shall
be deemed to refer also to any insolvency proceeding occurring in Canada or under Canadian law,
(viii) all calculations of U.S. Dollar amounts which utilize amounts expressed in Canadian Dollars
shall be made using the U.S. Dollar Equivalent of such Canadian Dollar amounts in a manner
calculated by the Agent and (ix) all financial statements required to be delivered to Agent or
Lenders hereunder shall be presented in U.S. Dollars.

       1.8.    Conversion of Assets. All of the property and assets of any Canadian Loan Party,
including, without limitation, its Receivables, shall be valued in, and converted into, the U.S.
Dollar Equivalent in accordance with PNC’s customary banking and conversion practices and
procedures.

        1.9.     Term SOFR Notification. Section 3.8.2. of this Agreement provides a mechanism
for determining an alternate rate of interest in the event that the Term SOFR Rate is no longer
available or in certain other circumstances. The Agent does not warrant or accept any
responsibility for and shall not have any liability with respect to, the administration, submission
or any other matter related to the Term SOFR Rate or with respect to any alternative or successor
rate thereto, or replacement rate therefor.

        1.10.   [Reserved].

        1.11. Conforming Changes Relating to Term SOFR Rate. With respect to the Term
SOFR Rate, the Agent will have the right to make Conforming Changes from time to time and,
notwithstanding anything to the contrary herein or in any Other Document, any amendments
implementing such Conforming Changes will become effective without any further action or
consent of any other party to this Agreement or any Other Document; provided that, with respect
to any such amendment effected, the Agent shall provide notice to the Borrowers and the Lenders
of each such amendment implementing such Conforming Changes reasonably promptly after such
amendment becomes effective.

        1.12.   Acknowledgment.




                                                 54
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 142 of 388




               (a)      As of the Petition Date, the aggregate amount of all Prepetition Obligations
owing by the Borrowers to the Prepetition Revolving Lenders under and in connection with the
Prepetition Revolving Credit Agreement was not less than (i) $10,891,003.32, including, without
limitation, $10,391,003.32 in outstanding principal amount of Prepetition Revolving
Loans, $500,000.00 of aggregate Maximum Undrawn Amount of all outstanding Letters of Credit,
plus accrued but unpaid interest, fees and per diem, plus (ii) all accrued and accruing charges and
Credit Product Obligations in respect of Credit Products Arrangement, plus (iii) all accrued and
accruing costs and expenses (including attorneys’ fees and legal expenses), plus (iv) any other
charges and liabilities accrued, accruing or chargeable, whether due or to become due, matured or
contingent, under the Prepetition Revolving Credit Agreement.

                (b)    Each Debtor confirms and agrees that Agent, for the benefit of itself and the
other Secured Parties (as defined in the Prepetition Revolving Credit Agreement), has and shall
continue to have valid, enforceable and perfected first priority (except as set forth in the Interim
Order or Final Order) security interests and Liens upon Prepetition Collateral heretofore granted
to Agent, in its capacity as Prepetition Agent, pursuant to the Prepetition Revolving Credit
Agreement as in effect immediately prior to the Petition Date to secure all of the Prepetition
Obligations, as well as valid and enforceable first priority security interests in and Liens upon all
Collateral of the Debtors granted to Agent, in accordance with the Interim Order and the Final
Order, for the benefit of itself and the Prepetition Secured Parties and the Secured Parties, upon
the entry of, and under, the Interim Order or Final Order, and under this Agreement.

        1.13.   Release.

                 (a)    In consideration of and as a condition to the Agent and the Lenders making
Advances under this Agreement, the consent by the Prepetition Secured Parties and the Secured
Parties to the use of Revolving Credit Cash Collateral, and providing other credit and financial
accommodations to the Debtors pursuant to the provisions of the DIP Orders and the Other
Documents, each Debtor, on behalf of itself, and successors and assigns and its Estate (as defined
in the Interim Order) (collectively, the “Releasors”), hereby absolutely releases and forever
discharges and acquits each Prepetition Secured Party and each of their respective successors,
participants, and assigns, and their present and former shareholders, affiliates, subsidiaries,
divisions, predecessors, directors, officers, attorneys, employees, and other representatives (the
Prepetition Agent and each of the Prepetition Revolving Lenders, and all such other parties being
hereinafter referred to collectively as the “Releasees”) of and from any and all claims, demands,
causes of action, suits, covenants, contracts, controversies, agreements, promises, sums of money,
accounts, bills, reckonings, damages, and any and all other claims, counterclaims, cross claims,
defenses, rights of set-off, demands, and liabilities whatsoever (individually, a “Prepetition
Released Claim” and collectively, the “Prepetition Released Claims”) of every kind, name, nature
and description, known or unknown, foreseen or unforeseen, matured or contingent, liquidated or
unliquidated, primary or secondary, suspected or unsuspected, both at law and in equity, including,
without limitation, any so-called “lender liability” claims or defenses, that any Releasor may now
or hereafter own, hold, have, or claim to have against the Releasees, or any of them for, upon, or
by reason of any nature, cause, or thing whatsoever that arose or may have arisen at any time on
or prior to the date hereof, in respect of the Debtors and arising out of, relating to, or in connection
with, any of the Prepetition Obligations, the Prepetition Revolving Credit Documents, and any
Prepetition Obligations, Prepetition Term Loan Obligations, or other financial accommodations

                                                  55
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 143 of 388




under the Prepetition Revolving Credit Documents; provided, however, that such release shall not
be effective with respect to the Debtors until the Final Order shall have been entered and with
respect to the Estates until the expiration of the Challenge Period. In addition, upon the Payment
in Full of all Obligations, and termination of the rights and obligations arising under the Interim
Order, the Final Order, and the Credit Documents (which payment and termination shall be on
terms and conditions reasonably acceptable to the Agent), Agent and the Lenders shall be
automatically deemed to be absolutely and forever released and discharged from any and all
obligations, liabilities, actions, duties, responsibilities, commitments, claims, and causes of action
arising, occurring in connection with, or related to this Agreement, the Credit Documents, the
Interim Order and the Final Order (whether known or unknown, direct or indirect, matured or
contingent, foreseen or unforeseen, due or not due, primary or secondary, liquidated or
unliquidated).

                (b)    Subject to [Section VIII] of the Interim Order with respect to all applicable
parties other than the Debtors, each Releasor hereby absolutely, unconditionally and irrevocably
covenants and agrees with each Releasee that it will not sue (at law, in equity, in any regulatory
proceeding, or otherwise) any Releasee on the basis of any Prepetition Released Claim that has
been released and discharged by each Releasor pursuant to Section 1.13(a) above. If any Releasor
violates the forgoing covenant, Debtors agree to pay, in addition to such other damages as any
Releasee may sustain as a result of such violation, all attorneys’ fees and costs incurred by any
Releasee as a result of such violation.

        1.14. Adoption and Ratification. Each Loan Party hereby (a) ratifies, assumes, adopts
and agrees to be bound by all of the Prepetition Other Documents to which it is a party and (b)
agrees to pay all Prepetition Obligations in accordance with the terms of the Prepetition Other
Documents and in accordance with the Interim Order and Final Order. Each Prepetition Other
Document to which any Loan Party is a party is hereby incorporated herein by reference and hereby
is and shall be deemed adopted and assumed in full by such Loan Party, and in respect of each
Debtor, as a debtor and debtor-in-possession, and considered an agreement among the Loan
Parties, on the one hand, and the applicable Secured Parties, on the other hand.

II.     ADVANCES, PAYMENTS.

        2.1.    Revolving Advances.

               (a)   Amount of Revolving Advances. Subject to the terms and conditions set
forth in this Agreement, each Revolving Lender, severally and not jointly, will make Revolving
Advances to Borrowers denominated in U.S. Dollars in aggregate amounts outstanding at any time
equal to such Lender’s Revolving Commitment Percentage of the lesser of (x) the Maximum
Revolving Advance Amount, less the outstanding amount of all Swing Loans, less the aggregate
Maximum Undrawn Amount of all outstanding Letters of Credit, less Reserves established
hereunder or (y) an amount equal to the result of the following (hereinafter, the “Formula
Amount”):

                         (i)    up to an amount equal to (A) 85% of Eligible Receivables and (B)
subject to the limitations set forth in clause (e) below, 85% of Eligible JV Receivables, plus



                                                 56
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1    Filed 07/22/23    Page 144 of 388




                       (ii) subject to the limitations set forth in clause (e) below, up to the lesser
of (a) an amount equal to 65% of Eligible Unbilled Receivables and (b) $5,500,000, minus

                        (iii)      the aggregate Maximum Undrawn Amount of all outstanding
Letters of Credit, minus

                            (iv)   Reserves established hereunder, minus

                            (v)    the amount of Prepetition Obligations.

The Revolving Advances shall be evidenced by one or more secured promissory notes
(collectively, the “Revolving Credit Note”) substantially in the form attached hereto as
Exhibit 2.1(a) hereto.

                (b)         Approved Budget.

                       (i)   Notwithstanding anything to the contrary set forth herein, Revolving
Lenders shall not make any Revolving Advances in any week in an aggregate amount in excess of
the “Total Disbursements” projected to be made in such week in the Budget less the total
collections received such week (except as otherwise agreed by Revolving Lenders in their sole
discretion).

                        (ii) Notwithstanding anything to the contrary set forth herein, Revolving
Lenders shall have no obligation at any time to make any Revolving Advances in connection with
any Approved Budget that contains funding of non-ordinary course weekly or bi-weekly payroll
or union payments unless there is a simultaneous consummation and closing of an Approved 363
Sale that, subject to Section 4.1 of the Intercreditor Agreement, provides for a purchase price
sufficient to repay in full all Obligations (including for the avoidance of doubt, all Prepetition
Revolving Obligations).

                (c)    Discretionary Rights. The Advance Rates may be increased or decreased
by Agent at any time and from time to time in the exercise of its Permitted Discretion, provided,
that, Agent shall endeavor to give Borrowers notice of any decrease in the Advance Rates. Each
Borrower consents to any such increases or decreases and acknowledges that decreasing the
Advance Rates or increasing or imposing Reserves may limit or restrict Advances requested by
Borrowing Agent. The amount of any Reserves established by Agent shall have a reasonable
relationship to the event, condition, other circumstance, or fact that is the basis for such Reserve
and shall not be duplicative of any other Reserve established and currently maintained. The rights
of Agent under this subsection are subject to the provisions of Section 16.2(b) hereof.

                (d)         [Reserved].

               (e)     Limitation on Advances against Eligible JV Receivables and Eligible
Unbilled JV Receivables. Notwithstanding anything to the contrary contained herein, the principal
amount of Revolving Advances made hereunder against (i) Eligible Unbilled JV Receivables shall
not exceed $250,000 in the aggregate at any one time outstanding and (ii) Eligible JV Receivables
and Eligible Unbilled JV Receivables, on a combined basis, shall not exceed $1,000,000 in the
aggregate at any one time outstanding.

                                                     57
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 145 of 388




       2.2.    Procedures for Requesting Revolving Advances; Procedures for Selection of
Applicable Interest Rates for All Advances.

                (a)     (i) Borrowing Agent on behalf of any Borrower may notify Agent prior to
1:00 p.m. (New York time) on a Business Day of a Borrower’s request to incur, on that day, a
Revolving Advance denominated in U.S. Dollars hereunder. All Revolving Advances
denominated in U.S. Dollars shall be funded into the U.S. Funding Account. Should any amount
required to be paid as interest hereunder, or as fees or other charges under this Agreement or any
other agreement with Agent or Lenders, or with respect to any other Obligation under this
Agreement, become due, the same shall be deemed a request for a Revolving Advance maintained
as a Domestic Rate Loan as of the date such payment is due, in the amount required to pay in full
such interest, fee, charge or Obligation, and such request shall be irrevocable. If the Borrowers
enter into a separate written agreement with Agent regarding Agent’s auto-advance service, then
each Advance made pursuant to such service (including Advances made for the payment of
interest, fees, charges or obligations) shall be deemed an irrevocable request for a Revolving
Advance maintained as a Domestic Rate Loan as of the date such auto-advance is made. (ii)
Notwithstanding anything in this Agreement to the contrary, all Advances under this Agreement
shall be maintained as Domestic Rate Loans and Term SOFR Rate Loans shall not be available at
any time unless and until Agent notifies Borrowing Agent in writing that Term SOFR Rate Loans
are again available pursuant to the terms of this Agreement, which determination shall be made by
Agent in its sole and absolute discretion.

                (b)     Notwithstanding the provisions of subsection (a) above, in the event any
Borrower desires to obtain a Term SOFR Rate Loan for any Advance (other than a Swing Loan),
Borrowing Agent shall give Agent written notice by no later than 1:00 p.m. (New York time) on
the day which is three (3) Business Days prior to the date such Term SOFR Rate Loan is to be
borrowed, specifying (i) the date of the proposed borrowing (which shall be a Business Day), (ii)
the type of borrowing and the amount of such Advance to be borrowed, which amount shall be in
a minimum amount of $100,000 and in integral multiples of $50,000 thereafter, and (iii) the
duration of the first Interest Period therefor, as applicable. Interest Periods for Term SOFR Rate
Loans shall be for one, three or six months; provided that, if an Interest Period would end on a day
that is not a Business Day, it shall end on the next succeeding Business Day unless such day falls
in the next succeeding calendar month in which case the Interest Period shall end on the next
preceding Business Day. Any Interest Period that begins on the last Business Day of a calendar
month (or a day for which there is no numerically corresponding day in the last calendar month of
such Interest Period) shall end on the last Business Day of the last calendar month of such Interest
Period. Upon and after the occurrence of an Event of Default and during the continuation thereof,
at the option of Agent or at the direction of the Required Lenders, no Term SOFR Rate Loan shall
be made available to any Borrower.

               (c)     Each Interest Period of a Term SOFR Rate Loan shall commence on the
date such Term SOFR Rate Loan is made, as applicable, and shall end on such date as Borrowing
Agent may elect as set forth in subsection (b)(iii) above, provided that the exact length of each
Interest Period shall be determined in accordance with the practice of the interbank market for
offshore U.S. Dollar and no Interest Period shall end after the last day of the Term.



                                                58
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 146 of 388




               (d)    Borrowing Agent shall elect the initial Interest Period applicable to a Term
SOFR Rate Loan by its notice of borrowing given to Agent pursuant to Section 2.2(b) or by its
notice of conversion given to Agent pursuant to Section 2.2(e), as the case may be. Borrowing
Agent shall elect the duration of each succeeding Interest Period by giving irrevocable written
notice to Agent of such duration not later than 1:00 p.m. (New York time) on the day which is
three (3) Business Days prior to the last day of the then current Interest Period applicable to such
Term SOFR Rate Loan. If Agent does not receive timely notice of the succeeding Interest Period
elected by Borrowing Agent, Borrowing Agent shall be deemed to have elected to convert such
Term SOFR Rate Loan to a Domestic Rate Loan as of the last day of the Interest Period applicable
to such Term SOFR Rate Loan.

               (e)     Provided that no Default or Event of Default shall have occurred and be
continuing, Borrowing Agent may, on the last Business Day of the then current Interest Period
applicable to any outstanding Term SOFR Rate Loan, or on any Business Day with respect to
Domestic Rate Loans, convert any such Term SOFR Rate Loan into a Domestic Rate Loan,
provided that any conversion of a Term SOFR Rate Loan shall be made only on the last Business
Day of the then current Interest Period applicable to such Term SOFR Rate Loan, as applicable.
If Borrowing Agent desires to convert a Term SOFR Rate Loan or Domestic Rate Loan, Borrowing
Agent shall give Agent written notice by no later than 1:00 p.m. (i) on the day which is three (3)
Business Days prior to the date on which such conversion is to occur with respect to a conversion
from a Domestic Rate Loan to a Term SOFR Rate Loan or (ii) on the day which is one (1) Business
Day prior to the date on which such conversion is to occur (which date shall be the last Business
Day of the Interest Period for the applicable Term SOFR Rate Loan) with respect to a conversion
from a Term SOFR Rate Loan to a Domestic Rate Loan, specifying, in each case, the date of such
conversion, the Term SOFR Rate Loan(s), or Domestic Rate Loan(s) to be converted and if the
conversion is to a Term SOFR Rate Loan, the duration of the first Interest Period therefor.

                (f)     At its option and upon written notice given prior to 1:00 p.m. at least three
(3) Business Days prior to the date of such prepayment (or such shorter notice as Agent may agree),
Borrowers may, subject to Section 2.2(g) below, prepay the Term SOFR Rate Loans in whole at
any time or in part from time to time with accrued interest on the principal being prepaid to the
date of such repayment. Borrowing Agent shall specify the date of prepayment of Advances which
are Term SOFR Rate Loans and the amount of such prepayment. In the event that any prepayment
of a Term SOFR Rate Loan is required or permitted on a date other than the last Business Day of
the then current Interest Period with respect thereto, Borrowers shall indemnify Agent and Lenders
therefor in accordance with Section 2.2(g) hereof.

                (g)     Each Loan Party shall indemnify Agent and Lenders and hold Agent and
Lenders harmless from and against any and all losses or expenses that Agent and Lenders may
sustain or incur as a consequence of any prepayment, conversion of or any default by any Borrower
in the payment of the principal of or interest on any Term SOFR Rate Loan or failure by any
Borrower to complete a borrowing of, a prepayment of or conversion of or to a Term SOFR Rate
Loan after notice thereof has been given, including, but not limited to, any interest payable by
Agent or Lenders to lenders of funds obtained by it in order to make or maintain its Term SOFR
Rate Loans hereunder. A certificate as to any additional amounts payable pursuant to the foregoing
sentence (with backup calculation in reasonable detail) submitted by Agent or any Lender to
Borrowing Agent shall be conclusive absent manifest error.

                                                 59
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 147 of 388




               (h)     Notwithstanding any other provision hereof, if any Applicable Law, treaty,
regulation or directive, or any change therein or in the interpretation or application thereof,
including without limitation any Change in Law, shall make it unlawful for Lenders or any Lender
(for purposes of this subsection (h), the term “Lender” shall include any Lender and the office or
branch where any Lender or any Person controlling such Lender makes or maintains any Term
SOFR Rate Loans) to make or maintain its Term SOFR Rate Loans, the obligation of Lenders (or
such affected Lender) to make Term SOFR Rate Loans hereunder shall forthwith be cancelled and
Borrowers shall, if any affected Term SOFR Rate Loans are then outstanding, promptly upon
request from Agent, either pay all such affected Term SOFR Rate Loans or convert such affected
Term SOFR Rate Loans into Domestic Rate Loans. If any such payment or conversion of any
Term SOFR Rate Loan is made on a day that is not the last day of the Interest Period applicable to
such Term SOFR Rate Loan, Borrowers shall pay Agent, upon Agent’s request, such amount or
amounts set forth in clause (g) above. A certificate as to any additional amounts payable pursuant
to the foregoing sentence (with backup calculation in reasonable detail) submitted by Lenders to
Borrowing Agent shall be conclusive absent manifest error.

               (i)     Anything to the contrary contained herein notwithstanding, neither any
Agent nor any Lender, nor any of their participants, is required actually to acquire Term SOFR
deposits or bankers’ acceptances to fund or otherwise match fund any Obligation as to which
interest accrues based on the Term SOFR Rate. The provisions set forth herein shall apply as if
each Lender or its participants had match funded any Obligation as to which interest is accruing
based on the Term SOFR Rate by acquiring SOFR deposits for each Interest Period in the amount
of the Term SOFR Rate Loans.

        2.3.    [Reserved].

        2.4.    Swing Loans.

                 (a)   Subject to the terms and conditions set forth in this Agreement, and in order
to minimize the transfer of funds between Revolving Lenders and Agent for administrative
convenience, Agent, Revolving Lenders and Swing Loan Lender agree that in order to facilitate
the administration of this Agreement, Swing Loan Lender may, at its election and option made in
its sole discretion cancelable at any time for any reason whatsoever, make swing loan advances
denominated in U.S. Dollars (“Swing Loans”) available to Borrowers as provided for in this
Section 2.4 at any time or from time to time after the Closing Date to, but not including, the last
day of the Term, in an aggregate principal amount up to but not in excess of the Maximum Swing
Loan Advance Amount, provided that the outstanding aggregate principal amount of Swing Loans
and the Revolving Advances at any one time outstanding shall not exceed an amount equal to the
lesser of (i) the Maximum Revolving Advance Amount, less the Maximum Undrawn Amount of
all outstanding Letters of Credit or (ii) the Formula Amount. All Swing Loans shall be Domestic
Rate Loans only. Borrowers may borrow (at the option and election of Swing Loan Lender), repay
and re-borrow (at the option and election of Swing Loan Lender) Swing Loans and Swing Loan
Lender may make Swing Loans as provided in this Section 2.4 during the period between
Settlement Dates. All Swing Loans shall be evidenced by a secured promissory note (the “Swing
Loan Note”) substantially in the form attached as Exhibit 2.4 hereto. Swing Loan Lender’s
agreement to make Swing Loans under this Agreement is cancelable at any time for any reason
whatsoever and the making of Swing Loans by Swing Loan Lender from time to time shall not

                                                60
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 148 of 388




create any duty or obligation, or establish any course of conduct, pursuant to which Swing Loan
Lender shall thereafter be obligated to make Swing Loans in the future.

                (b)     Upon either (i) any request by Borrowing Agent for a Revolving Advance
made pursuant to Section 2.2(a) hereof or (ii) the occurrence of any deemed request by Borrowers
for a Revolving Advance pursuant to the provisions of Section 2.2(a) hereof, Swing Loan Lender
may elect, in its sole discretion, to have such request or deemed request treated as a request for a
Swing Loan, and may advance same day funds to Borrowers as a Swing Loan; provided that
notwithstanding anything to the contrary provided for herein, Swing Loan Lender may not make
Swing Loan Advances if Swing Loan Lender has been notified by Agent or by Required Lenders
that one or more of the applicable conditions set forth in Section 8.2 hereof have not been satisfied
or the Revolving Commitments have been terminated for any reason.

                (c)    Upon the making of a Swing Loan (whether before or after the occurrence
of a Default or an Event of Default and regardless of whether a Settlement has been requested with
respect to such Swing Loan), each Revolving Lender shall be deemed, without further action by
any party hereto, to have unconditionally and irrevocably purchased from Swing Loan Lender,
without recourse or warranty, an undivided interest and participation in such Swing Loan in
proportion to its Revolving Commitment Percentage. Swing Loan Lender or Agent may, at any
time, require the Revolving Lenders to fund such participations by means of a Settlement as
provided for in Section 2.6(d) hereof. From and after the date, if any, on which any Revolving
Lender is required to fund, and funds, its participation in any Swing Loans purchased hereunder,
Agent shall promptly distribute to such Revolving Lender its Revolving Commitment Percentage
of all payments of principal and interest and all proceeds of Collateral received by Agent in respect
of such Swing Loan; provided that no Revolving Lender shall be obligated in any event to make
Revolving Advances in an amount in excess of its Revolving Commitment Amount minus its
Participation Commitment (taking into account any reallocations under Section 2.22 hereof) of the
Maximum Undrawn Amount of all outstanding Letters of Credit.

        2.5.    Disbursement of Advance Proceeds. All Advances shall be disbursed from
whichever office or other place Agent may designate from time to time and, together with any and
all other Obligations of the Loan Parties to Agent or Lenders, shall be charged to Borrowers’
Account on Agent’s books. The proceeds of each Revolving Advance or Swing Loan requested
by Borrowing Agent on behalf of any Borrower or deemed to have been requested by any Borrower
under Section 2.2(a), 2.6(b) or 2.14 hereof shall, (i) with respect to requested Revolving Advances,
to the extent Lenders make such Revolving Advances in accordance with Section 2.2(a), 2.6(b) or
2.14 hereof, and with respect to Swing Loans made upon any request or deemed request by
Borrowing Agent for a Revolving Advance to the extent Swing Loan Lender makes such Swing
Loan in accordance with Section 2.4(b) hereof, be made available to the applicable Borrower on
the day so requested by way of credit to such Borrower’s operating account at PNC, or such other
bank as Borrowing Agent may designate following notification to Agent, in immediately available
federal funds or other immediately available funds or, (ii) with respect to Revolving Advances
deemed to have been requested by any Borrower or Swing Loans made upon any deemed request
for a Revolving Advance by any Borrower, be disbursed to Agent to be applied to the outstanding
Obligations giving rise to such deemed request. During the Term, Borrowers may use the
Revolving Advances and Swing Loans by borrowing, prepaying and re-borrowing, all in
accordance with the terms and conditions hereof.

                                                 61
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 149 of 388




        2.6.    Making and Settlement of Advances.

               (a)    Each borrowing of Revolving Advances shall be advanced according to the
applicable Revolving Commitment Percentages of Revolving Lenders (subject to any contrary
terms of Section 2.22 hereof). Each borrowing of Swing Loans shall be advanced by Swing Loan
Lender alone.

                (b)    Promptly after receipt by Agent of a request or a deemed request for a
Revolving Advance pursuant to Section 2.2(a) hereof and, with respect to Revolving Advances, to
the extent Agent elects not to provide a Swing Loan or the making of a Swing Loan would result
in the aggregate amount of all outstanding Swing Loans exceeding the maximum amount permitted
in Section 2.4(a) hereof, Agent shall notify the Revolving Lenders of its receipt of such request
specifying the information provided by Borrowing Agent and the apportionment among Lenders
of the requested Revolving Advance as determined by Agent in accordance with the terms hereof.
Each Lender shall remit the principal amount of each Revolving Advance to Agent such that Agent
is able to, and Agent shall, to the extent the applicable Lenders have made funds available to it for
such purpose and subject to Section8.2 hereof, fund such Revolving Advance to Borrowers in U.S.
Dollars and immediately available funds at the Payment Office prior to the close of business, on
the applicable borrowing date; provided that if any applicable Lender fails to remit such funds to
Agent in a timely manner, Agent may elect in its sole discretion to fund with its own funds the
Revolving Advance of such Lender on such borrowing date, and such Lender shall be subject to
the repayment obligation in Section 2.6(c) hereof.

                (c)     Unless Agent shall have been notified by telephone, confirmed in writing,
by any Revolving Lender that such Lender will not make the amount which would constitute its
applicable Revolving Commitment Percentage of the requested Revolving Advance available to
Agent, Agent may (but shall not be obligated to) assume that such Lender has made such amount
available to Agent on such date in accordance with Section 2.6(b) hereof and may, in reliance upon
such assumption, make available to Borrowers a corresponding amount. In such event, if a Lender
has not in fact made its applicable Revolving Commitment Percentage of the requested Revolving
Advance available to Agent, then the applicable Lender and Borrowers severally agree to pay to
Agent on demand such corresponding amount with interest thereon, for each day from and
including the date such amount is made available to Borrowers through but excluding the date of
payment to Agent, at (i) in the case of a payment to be made by such Lender, the greater of (A) (x)
the daily average Effective Federal Funds Rate (computed on the basis of a year of 360 days)
during such period as quoted by Agent, times (y) such amount or (B) a rate determined by Agent
in accordance with banking industry rules on interbank compensation, and (ii) in the case of a
payment to be made by Borrowers, the Revolving Interest Rate for Revolving Advances that are
Domestic Rate Loans. If such Lender pays its share of the applicable Revolving Advance to Agent,
then the amount so paid shall constitute such Lender’s Revolving Advance. Any payment by
Borrowers shall be without prejudice to any claim Borrowers may have against a Revolving
Lender that shall have failed to make such payment to Agent. A certificate of Agent submitted to
any Lender or Borrowers with respect to any amounts owing under this subsection (c) shall be
conclusive, in the absence of manifest error.

              (d)      Agent, on behalf of Swing Loan Lender, shall demand settlement (a
“Settlement”) of all or any Swing Loans with Revolving Lenders on at least a weekly basis, or on

                                                 62
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 150 of 388




any more frequent date that Agent elects or that Swing Loan Lender at its option exercisable for
any reason whatsoever may request, by notifying Revolving Lenders of such requested Settlement
by facsimile, telephonic or electronic transmission no later than 3:00 p.m. (New York time) on the
date of such requested Settlement (the “Settlement Date”). Subject to any contrary provisions of
Section 2.22 hereof, each Revolving Lender shall transfer the amount of such Revolving Lender’s
Revolving Commitment Percentage of the outstanding principal amount (plus interest accrued
thereon to the extent requested by Agent) of the applicable Swing Loan with respect to which
Settlement is requested by Agent, to such account of Agent as Agent may designate not later than
5:00 p.m. (New York time) on such Settlement Date if requested by Agent by 3:00 p.m. (New
York time), otherwise not later than 5:00 p.m. (New York time) on the next Business Day.
Settlements may occur at any time notwithstanding that the conditions precedent to making
Revolving Advances set forth in Section 8.2 hereof have not been satisfied or the Revolving
Commitments shall have otherwise been terminated at such time. All amounts so transferred to
Agent shall be applied against the amount of outstanding Swing Loans and, when so applied shall
constitute Revolving Advances of such Revolving Lenders accruing interest as Domestic Rate
Loans. If any such amount is not transferred to Agent by any Revolving Lender on such Settlement
Date, Agent shall be entitled to recover such amount on demand from such Revolving Lender
together with interest thereon as specified in Section 2.6(c) hereof.

                (e)    If any Lender or Participant (a “Benefited Lender”) shall at any time receive
any payment of all or part of its Advances, or interest thereon, or receive any Collateral in respect
thereof (whether voluntarily or involuntarily or by set-off) in a greater proportion than any such
payment to and Collateral received by any other Lender, if any, in respect of such other Lender’s
Advances, or interest thereon, and such greater proportionate payment or receipt of Collateral is
not expressly permitted hereunder, such Benefited Lender shall purchase for cash from the other
Lenders a participation in such portion of each such other Lender’s Advances, or shall provide
such other Lender with the benefits of any such Collateral, or the proceeds thereof, as shall be
necessary to cause such Benefited Lender to share the excess payment or benefits of such
Collateral or proceeds ratably with each of the other Lenders; provided, however, that if all or any
portion of such excess payment or benefits is thereafter recovered from such Benefited Lender,
such purchase shall be rescinded, and the purchase price and benefits returned, to the extent of
such recovery, but without interest. Each Borrower consents to the foregoing and agrees, to the
extent it may effectively do so under Applicable Law, that each Lender so purchasing a portion of
another Lender’s Advances may exercise all rights of payment (including rights of set-off) with
respect to such portion as fully as if such Lender were the direct holder of such portion, and the
obligations owing to each such purchasing Lender in respect of such participation and such
purchased portion of any other Lender’s Advances shall be part of the Obligations secured by the
Collateral, and the obligations owing to each such purchasing Lender in respect of such
participation and such purchased portion of any other Lender’s Advances shall be part of the
Obligations secured by the Collateral.

        2.7.   Maximum Advances. Notwithstanding anything to the contrary set forth in
Section 2.1(a) or otherwise in this Agreement, the aggregate balance of the principal amount of
Revolving Advances plus Swing Loans outstanding at any time shall not exceed the lesser of (a)
the Maximum Revolving Advance Amount less the aggregate Maximum Undrawn Amount of all
issued and outstanding Letters of Credit or (b) the Formula Amount.


                                                 63
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 151 of 388




        2.8.    Manner and Repayment of Advances.

                (a)     The Revolving Advances and Swing Loans shall be due and payable in full
on the last day of the Term subject to earlier prepayment as herein provided. Notwithstanding the
foregoing, all Advances shall be subject to earlier repayment upon (x) acceleration upon the
occurrence of an Event of Default under this Agreement or (y) termination of this Agreement.
Each payment (including each prepayment) by any Borrower on account of the principal of and
interest on the Advances shall be applied, first, to the outstanding Swing Loans and next, pro rata
according to the applicable Revolving Commitment Percentages of Lenders, to the outstanding
Revolving Advances (subject to any contrary provisions of Section 2.22 hereof).

                (b)     Each Borrower recognizes that the amounts evidenced by checks, notes,
drafts or any other items of payment relating to and/or proceeds of Collateral may not be collectible
by Agent on the date received by Agent. Agent shall conditionally credit Borrowers’ Account for
each item of payment on the next Business Day after the Business Day on which such item of
payment is received by Agent (and the Business Day on which each such item of payment is so
credited shall be referred to, with respect to such item, as the “Application Date”). Agent is not,
however, required to credit Borrowers’ Account for the amount of any item of payment which is
unsatisfactory to Agent and Agent may charge Borrowers’ Account for the amount of any item of
payment which is returned, for any reason whatsoever, to Agent unpaid. Subject to the foregoing,
Borrowers agree that for purposes of computing the interest charges under this Agreement, each
item of payment received by Agent shall be deemed applied by Agent on account of the
Obligations on its respective Application Date. The Loan Parties further agree that there is a
monthly float charge payable to Agent for Agent’s sole benefit, in an amount equal to (y) the face
amount of all items of payment received each day during the prior month (including items of
payment received by Agent as a wire transfer or electronic depository check) multiplied by (z) the
Revolving Interest Rate with respect to Domestic Rate Loans for one (1) day (i.e. the Revolving
Interest Rate divided by 360 or 365/366, as applicable). The monthly float charge shall be
calculated daily and charged once per month, relating to all payments collected in the prior month.
All proceeds received by Agent shall be applied to the Obligations in accordance with
Section 4.8(h) hereof.

              (c)     All payments of principal, interest and other amounts payable hereunder, or
under any of the Other Documents shall be made to Agent at the Payment Office not later than
1:00 p.m. (New York time) on the due date therefor in U.S. Dollars in federal funds or other funds
immediately available to Agent. Agent shall have the right to effectuate payment of any and all
Obligations due and owing hereunder by charging Borrowers’ Account or by making Advances as
provided in Section 2.2 hereof.

               (d)     Except as expressly provided herein, all payments (including prepayments)
to be made by any Borrower on account of principal, interest, fees and other amounts payable
hereunder shall be made without deduction, setoff or counterclaim and shall be made to Agent on
behalf of Lenders to the Payment Office, in each case on or prior to 1:00 p.m. (New York time),
in U.S. Dollars or Canadian Dollars, as applicable, and in immediately available funds.

       2.9.   Repayment of Excess Advances. If at any time the aggregate balance of
outstanding Advances taken as a whole exceeds the maximum amount of such type or any sublimit

                                                 64
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 152 of 388




of Advances and/or Advances taken as a whole (as applicable) permitted hereunder, such excess
Advances shall be immediately due and payable without the necessity of any demand, at the
Payment Office, whether or not a Default or an Event of Default has occurred.

        2.10. Statement of Account. Agent shall maintain, in accordance with its customary
procedures, a loan account denominated in U.S. Dollars ( “Borrowers’ Account”) in the name of
the applicable Borrower in which shall be recorded the date and amount of each Advance made by
Agent or Lenders and the date and amount of each payment in respect thereof; provided, however,
the failure by Agent to record the date and amount of any Advance shall not adversely affect Agent
or any Lender. Each month, Agent shall send to Borrowing Agent a statement showing the
accounting for the Advances made, payments made or credited in respect thereof, and other
transactions between Agent, Lenders and Borrowers during such month. The monthly statements
shall be deemed correct and binding upon Borrowers in the absence of manifest error and shall
constitute an account stated between Lenders and Borrowers unless Agent receives a written
statement of Borrowers’ specific exceptions thereto within thirty (30) days after such statement is
received by Borrowing Agent. The records of Agent with respect to Borrowers’ Accounts shall
be conclusive evidence absent manifest error of the amounts of Advances and other charges thereto
and of payments applicable thereto.

        2.11.   Letters of Credit.

                (a)     Subject to the terms and conditions hereof, the applicable Issuer shall issue
or cause the issuance of standby and/or trade letters of credit denominated in U.S. Dollars (“Letters
of Credit”) for the account of any Borrower except to the extent that the issuance thereof would
then cause the sum of (i) the U.S. Dollar Equivalent of the outstanding Revolving Advances plus
(ii) the outstanding Swing Loans, plus (iii) the Maximum Undrawn Amount of all outstanding
Letters of Credit, plus (iv) the Maximum Undrawn Amount of the Letter of Credit to be issued to
exceed the lesser of (x) the Maximum Revolving Advance Amount or (y) the Formula Amount
(calculated without giving effect to the deductions provided for in Section 2.1(a) hereof). The
Maximum Undrawn Amount of all outstanding Letters of Credit shall not exceed in the aggregate
at any time the Letter of Credit Sublimit. All disbursements or payments related to Letters of
Credit shall be deemed to be Domestic Rate Loans consisting of Revolving Advances and shall
bear interest at the Revolving Interest Rate for Domestic Rate Loans. Letters of Credit that have
not been drawn upon shall not bear interest (but fees shall accrue in respect of outstanding Letters
of Credit as provided in Section 3.2 hereof). The Existing Letter of Credit shall be deemed to be
issued under this Agreement

               (b)     Notwithstanding any provision of this Agreement, no Issuer shall be under
any obligation to issue any Letter of Credit if (i) any order, judgment or decree of any
Governmental Body or arbitrator shall by its terms purport to enjoin or restrain such Issuer from
issuing any Letter of Credit, or any Law applicable to such Issuer or any request or directive
(whether or not having the force of law) from any Governmental Body with jurisdiction over such
Issuer shall prohibit, or request that such Issuer refrain from, the issuance of letters of credit
generally or the Letter of Credit in particular or shall impose upon such Issuer with respect to the
Letter of Credit any restriction, reserve or capital requirement (for which such Issuer is not
otherwise compensated hereunder) not in effect on the Closing Date, or shall impose upon such
Issuer any unreimbursed loss, cost or expense which was not applicable on the Closing Date, and

                                                 65
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23     Page 153 of 388




which such Issuer in good faith deems material to it, or (ii) the issuance of the Letter of Credit
would violate one or more policies of such Issuer applicable to letters of credit generally.

        2.12.   Issuance of Letters of Credit.

                (a)    Borrowing Agent, on behalf of any Borrower, may request any Issuer to
issue or cause the issuance of a Letter of Credit by delivering to such Issuer, with a copy to Agent
at the Payment Office, prior to 1:00 p.m. (New York time), at least five (5) Business Days prior to
the proposed date of issuance, such Issuer’s form of Letter of Credit Application (the “Letter of
Credit Application”) completed to the satisfaction of Agent and such Issuer; and, such other
certificates, documents and other papers and information as Agent or such Issuer may request. No
Issuer shall issue any requested Letter of Credit if such Issuer has received notice from Agent or
any Lender that one or more of the applicable conditions set forth in Section 8.2 hereof have not
been satisfied or the Revolving Commitments have been terminated for any reason.

                (b)     Each Letter of Credit shall, among other things, (i) provide for the payment
of sight drafts, or other written demands for payment, or acceptances of usance drafts when
presented for honor thereunder in accordance with the terms thereof and when accompanied by
the documents described therein and (ii) have an expiry date not later than twelve (12) months
after such Letter of Credit’s date of issuance and in no event later than the last day of the Term,
unless Agent, Issuer and Borrowing Agent agree for such Letter of Credit to be cash collateralized
immediately upon the expiration of the Term, pursuant to Section 3.2(b) hereof. Each standby
Letter of Credit shall be subject either to the Uniform Customs and Practice for Documentary
Credits as most recently published by the International Chamber of Commerce at the time a Letter
of Credit is issued (the “UCP”) or the International Standby Practices (International Chamber of
Commerce Publication Number 590), or any subsequent revision thereof at the time a standby
Letter of Credit is issued, as determined by the applicable Issuer, and each trade Letter of Credit
shall be subject to the UCP. In addition, no trade Letter of Credit may permit the presentation of
an ocean bill of lading that includes a condition that the original bill of lading is not required to
claim the goods shipped thereunder.

            (c)      Agent shall use its reasonable efforts to notify Lenders of the request by
Borrowing Agent for a Letter of Credit hereunder.

        2.13.   Requirements For Issuance of Letters of Credit.

                (a)     Borrowing Agent shall authorize and direct the applicable Issuer to name
the applicable Borrower as the “Applicant” or “Account Party” of each Letter of Credit. If Agent
is not the Issuer of any Letter of Credit, Borrowing Agent shall authorize and direct the applicable
Issuer to deliver to Agent all agreements, documents or instruments and property received by such
Issuer pursuant to such Letter of Credit and to accept and rely upon Agent’s instructions and
agreements with respect to all matters arising in connection with such Letter of Credit, and the
application therefor.

                (b)     In connection with all trade Letters of Credit issued or caused to be issued
by any Issuer under this Agreement, each Borrower hereby appoints each Issuer, or its designee,
as its attorney, with full power and authority if an Event of Default shall have occurred and be


                                                 66
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 154 of 388




continuing: (i) to sign and/or endorse such Borrower’s name upon any warehouse or other receipts,
and acceptances; (ii) to sign such Borrower’s name on bills of lading; (iii) to clear Inventory
through the United States Customs Department or Canada Border Services Agency (collectively,
“Customs”) in the name of such Borrower or such Issuer or such Issuer’s designee, and to sign and
deliver to Customs officials powers of attorney in the name of such Borrower for such purpose;
and (iv) to complete in such Borrower’s name or in the name of such Issuer or its designee, any
order, sale or transaction, obtain the necessary documents in connection therewith, and collect the
proceeds thereof. Neither Agent, nor any Issuer nor their attorneys will be liable for any acts or
omissions nor for any error of judgment or mistakes of fact or law, except for Agent’s, any Issuer’s
or their respective attorneys’ willful misconduct. This power, being coupled with an interest, is
irrevocable as long as any Letters of Credit remain outstanding.

        2.14.   Disbursements, Reimbursement.

               (a)     Immediately upon the issuance of each Letter of Credit, each Revolving
Lender shall be deemed to, and hereby irrevocably and unconditionally agrees to, purchase from
the applicable Issuer a participation in each Letter of Credit and each drawing thereunder in an
amount equal to such Lender’s Revolving Commitment Percentage of the Maximum Undrawn
Amount of such Letter of Credit (as in effect from time to time) and the amount of such drawing,
respectively.

                (b)    In the event of any request for a drawing under a Letter of Credit by the
beneficiary or transferee thereof, the applicable Issuer will promptly notify Agent and Borrowing
Agent. Regardless of whether Borrowing Agent shall have received such notice, Borrowers shall
reimburse such Issuer in an amount equal to the amount so paid by such Issuer (such obligation to
reimburse such Issuer shall sometimes be referred to as a “Reimbursement Obligation”) prior to
12:00 p.m. (New York time) on each date that an amount is paid by such Issuer under such Letter
of Credit (each such date, a “Drawing Date”). In the event Borrowers fail to reimburse such Issuer
for the full amount of any drawing under any Letter of Credit by 12:00 p.m. (New York time) on
the Drawing Date, such Issuer will promptly notify Agent and each Revolving Lender thereof, and
Borrowers shall be automatically deemed to have requested that a Revolving Advance maintained
as a Domestic Rate Loan be made by Lenders to be disbursed on the Drawing Date under such
Letter of Credit, and Revolving Lenders shall be unconditionally obligated to fund such Revolving
Advance (all whether or not the conditions specified in Section 8.2 hereof are then satisfied or the
Revolving Commitments have been terminated for any reason) as provided for in Section 2.14(c)
below. Any notice given by any Issuer pursuant to this Section 2.14(b) may be oral if promptly
confirmed in writing; provided that the lack of such a confirmation shall not affect the
conclusiveness or binding effect of such notice.

               (c)    Each Revolving Lender shall upon any notice pursuant to Section 2.14(b)
above make available to the applicable Issuer through Agent at the Payment Office an amount in
immediately available funds equal to its Revolving Commitment Percentage (subject to any
contrary provisions of Section 2.22 hereof) of the amount of the drawing, whereupon the
participating Lenders shall (subject to Section 2.14(d) hereof) each be deemed to have made a
Revolving Advance maintained as a Domestic Rate Loan to Borrowers in that amount. If any
Revolving Lender so notified fails to make available to Agent, for the benefit of the applicable
Issuer, the amount of such Lender’s Revolving Commitment Percentage of such amount by

                                                67
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 155 of 388




2:00 p.m. (New York time) on the Drawing Date, then interest shall accrue on such Lender’s
obligation to make such payment, from the Drawing Date to the date on which such Lender makes
such payment (i) at a rate per annum equal to the Effective Federal Funds Rate during the first
three (3) days following the Drawing Date and (ii) at a rate per annum equal to the rate applicable
to Revolving Advances maintained as a Domestic Rate Loan on and after the fourth day following
the Drawing Date. Agent and the applicable Issuer will promptly give notice of the occurrence of
the Drawing Date, but failure of Agent or such Issuer to give any such notice on the Drawing Date
or in sufficient time to enable any Revolving Lender to effect such payment on such date shall not
relieve such Lender from its obligations under this Section 2.14(c), provided that such Lender shall
not be obligated to pay interest as provided in this Section 2.14(c) until and commencing from the
date of receipt of notice from Agent or such Issuer of a drawing.

                (d)     With respect to any unreimbursed drawing that is not converted into a
Revolving Advance maintained as a Domestic Rate Loan to Borrowers in whole or in part as
contemplated by Section 2.14(b) hereof, because of Borrowers’ failure to satisfy the conditions set
forth in Section 8.2 hereof (other than any notice requirements) or for any other reason, Borrowers
shall be deemed to have incurred from Agent a borrowing (each a “Letter of Credit Borrowing”)
in the amount of such drawing. Such Letter of Credit Borrowing shall be due and payable on
demand (together with interest) and shall bear interest at the rate per annum applicable to a
Revolving Advance maintained as a Domestic Rate Loan. Each applicable Lender’s payment to
Agent pursuant to Section 2.14(c) hereof shall be deemed to be a payment in respect of its
participation in such Letter of Credit Borrowing and shall constitute a “Participation Advance”
from such Lender in satisfaction of its Participation Commitment in respect of the applicable Letter
of Credit under this Section 2.14.

                (e)     Each Lender’s Participation Commitment in respect of the Letters of Credit
shall continue until the last to occur of any of the following events: (x) Issuers cease to be obligated
to issue or cause to be issued Letters of Credit hereunder; (y) no Letter of Credit issued or created
hereunder remains outstanding and uncanceled; and (z) all Persons (other than Borrowers) have
been fully reimbursed for all payments made under or relating to Letters of Credit.

        2.15.   Repayment of Participation Advances.

               (a)    Upon (and only upon) receipt by Agent for the account of Issuer of
immediately available funds from Borrowers (i) in reimbursement of any payment made by Issuer
or Agent under the Letter of Credit with respect to which any Lender has made a Participation
Advance to Agent, or (ii) in payment of interest on such a payment made by Issuer or Agent under
such a Letter of Credit, Agent will pay to each Revolving Lender, in the same funds as those
received by Agent, the amount of such Revolving Lender’s Revolving Commitment Percentage of
such funds, except Agent shall retain the amount of the Revolving Commitment Percentage of
such funds of any Revolving Lender that did not make a Participation Advance in respect of such
payment by Agent (and, to the extent that any of the other Revolving Lenders have funded any
portion such Defaulting Lender’s Participation Advance in accordance with the provisions of
Section 2.22 hereof, Agent will pay over to such Non-Defaulting Lenders a pro rata portion of the
funds so withheld from such Defaulting Lender).



                                                  68
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1      Filed 07/22/23     Page 156 of 388




                (b)    If Issuer or Agent is required at any time to return to any Borrower, or to a
trustee, receiver, monitor, liquidator, custodian, or any official in any insolvency proceeding under
any Insolvency Law, any portion of the payments made by Borrowers to Issuer or Agent pursuant
to Section 2.15(a) hereof in reimbursement of a payment made under the Letter of Credit or interest
or fee thereon, each applicable Lender shall, on demand of Agent, forthwith return to Issuer or
Agent the amount of its Revolving Commitment Percentage of any amounts so returned by Issuer
or Agent plus interest at the Effective Federal Funds Rate.

        2.16. Documentation. Each Borrower agrees to be bound by the terms of the Letter of
Credit Application and by Issuer’s interpretations of any Letter of Credit issued on behalf of such
Borrower and by Issuer’s written regulations and customary practices relating to letters of credit,
though Issuer’s interpretations may be different from such Borrower’s own. In the event of a
conflict between the Letter of Credit Application and this Agreement, this Agreement shall govern.
It is understood and agreed that, except in the case of gross negligence or willful misconduct (as
determined by a court of competent jurisdiction in a final and non-appealable judgment or order),
Issuer shall not be liable for any error, negligence and/or mistakes, whether of omission or
commission, in following Borrowing Agent’s or any Borrower’s instructions or those contained in
the Letters of Credit or any modifications, amendments or supplements thereto.

       2.17. Determination to Honor Drawing Request. In determining whether to honor any
request for drawing under any Letter of Credit by the beneficiary thereof, Issuer shall be
responsible only to determine that the documents and certificates required to be delivered under
such Letter of Credit have been delivered and that they comply on their face with the requirements
of such Letter of Credit and that any other drawing condition appearing on the face of such Letter
of Credit has been satisfied in the manner so set forth.

        2.18. Nature of Participation and Reimbursement Obligations. The obligation of each
Revolving Lender in accordance with this Agreement to make the Revolving Advances or
Participation Advances as a result of a drawing under a Letter of Credit, and the obligations of
Borrowers to reimburse Issuer upon a draw under a Letter of Credit, shall be absolute,
unconditional and irrevocable, and shall be performed strictly in accordance with the terms of this
Section 2.18 under all circumstances, including the following circumstances:

                        (i)  any set-off, counterclaim, recoupment, defense or other right which
such Lender or any Borrower, as the case may be, may have against Issuer, Agent, any Borrower
or such Lender, as the case may be, or any other Person for any reason whatsoever;

                        (ii) the failure of any Borrower or any other Person to comply, in
connection with a Letter of Credit Borrowing, with the conditions set forth in this Agreement for
the making of a Revolving Advance, it being acknowledged that such conditions are not required
for the making of a Letter of Credit Borrowing and the obligation of Lenders to make Participation
Advances under Section 2.14 hereof;

                            (iii)   any lack of validity or enforceability of any Letter of Credit;

                      (iv) any claim of breach of warranty that might be made by any
Borrower, Agent, Issuer or any Lender against the beneficiary of a Letter of Credit, or the existence


                                                      69
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23     Page 157 of 388




of any claim, set-off, recoupment, counterclaim, cross-claim, defense or other right which any
Borrower, Agent, Issuer or any Lender may have at any time against a beneficiary, any successor
beneficiary or any transferee of any Letter of Credit or assignee of the proceeds thereof (or any
Persons for whom any such transferee or assignee may be acting), Issuer, Agent or any Lender or
any other Person, whether in connection with this Agreement, the transactions contemplated herein
or any unrelated transaction (including any underlying transaction between any Borrower or any
Subsidiaries of such Borrower and the beneficiary for which any Letter of Credit was procured);

                        (v) the lack of power or authority of any signer of (or any defect in or
forgery of any signature or endorsement on) or the form of or lack of validity, sufficiency,
accuracy, enforceability or genuineness of any draft, demand, instrument, certificate or other
document presented under or in connection with any Letter of Credit, or any fraud or alleged fraud
in connection with any Letter of Credit, or the transport of any property or provision of services
relating to a Letter of Credit, in each case even if Issuer or any of Issuer’s Affiliates has been
notified thereof;

                         (vi) payment by Issuer under any Letter of Credit against presentation of
a demand, draft or certificate or other document which is forged or does not fully comply with the
terms of such Letter of Credit (provided that the foregoing shall not excuse Issuer from any
obligation under the terms of any applicable Letter of Credit to require the presentation of
documents that on their face appear to satisfy any applicable requirements for drawing under such
Letter of Credit prior to honoring or paying any such draw);

                         (vii) the solvency of, or any acts or omissions by, any beneficiary of any
Letter of Credit, or any other Person having a role in any transaction or obligation relating to a
Letter of Credit, or the existence, nature, quality, quantity, condition, value or other characteristic
of any property or services relating to a Letter of Credit;

                        (viii) any failure by Issuer or any of Issuer’s Affiliates to issue any Letter
of Credit in the form requested by Borrowing Agent, unless Agent and Issuer have each received
written notice from Borrowing Agent of such failure within three (3) Business Days after Issuer
shall have provided Agent and Borrowing Agent a copy of such Letter of Credit and such error is
material and no drawing has been made thereon prior to receipt of such notice;

                            (ix)   the occurrence of any Material Adverse Effect;

                            (x)    any breach of this Agreement or any Other Document by any party
thereto;

                     (xi) the occurrence or continuance of an insolvency proceeding under
any Insolvency Law with respect to any Loan Party;

                            (xii) the fact that a Default or an Event of Default shall have occurred and
be continuing;

                   (xiii) the fact that the Term shall have expired or this Agreement or the
Revolving Commitments have been terminated; and


                                                    70
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 158 of 388




                         (xiv) any other circumstance or happening whatsoever, whether or not
similar to any of the foregoing.

        2.19.   Liability for Acts and Omissions.

                 (a)     As between Borrowers, on the one hand, and Issuer, Swing Loan Lender,
Agent and Lenders, on the other hand, each Borrower assumes all risks of the acts and omissions
of, or misuse of the Letters of Credit by, the respective beneficiaries of such Letters of Credit. In
furtherance and not in limitation of the foregoing, Issuer shall not be responsible for: (i) the form,
validity, sufficiency, accuracy, genuineness or legal effect of any document submitted by any party
in connection with the application for an issuance of any such Letter of Credit, even if it should in
fact prove to be in any or all respects invalid, insufficient, inaccurate, fraudulent or forged (even
if Issuer or any of its Affiliates shall have been notified thereof); (ii) the validity or sufficiency of
any instrument transferring or assigning or purporting to transfer or assign any such Letter of
Credit or the rights or benefits thereunder or proceeds thereof, in whole or in part, which may
prove to be invalid or ineffective for any reason; (iii) the failure of the beneficiary of any such
Letter of Credit, or any other party to which such Letter of Credit may be transferred, to comply
fully with any conditions required in order to draw upon such Letter of Credit or any other claim
of any Borrower against any beneficiary of such Letter of Credit, or any such transferee, or any
dispute between or among any Borrower and any beneficiary of any Letter of Credit or any such
transferee; (iv) errors, omissions, interruptions or delays in transmission or delivery of any
messages, by mail, facsimile or otherwise, whether or not they be in cipher; (v) errors in
interpretation of technical terms; (vi) any loss or delay in the transmission or otherwise of any
document required in order to make a drawing under any such Letter of Credit or of the proceeds
thereof; (vii) the misapplication by the beneficiary of any such Letter of Credit of the proceeds of
any drawing under such Letter of Credit; or (viii) any consequences arising from causes beyond
the control of Issuer, including any act or omission, whether rightful or wrongful, of any present
or future de jure or de facto Governmental Body, and none of the above shall affect or impair, or
prevent the vesting of, any of Issuer’s rights or powers hereunder. Nothing in the preceding
sentence shall relieve Issuer from liability for Issuer’s gross negligence or willful misconduct (as
determined by a court of competent jurisdiction in a final and non-appealable judgment or order)
in connection with actions or omissions described in such clauses (i) through (viii) of such
sentence. In no event shall Issuer or its Affiliates be liable to any Loan Party for any indirect,
consequential, incidental, punitive, exemplary or special damages or expenses (including without
limitation attorneys’ fees), or for any damages resulting from any change in the value of any
property relating to a Letter of Credit.

                (b)     Without limiting the generality of the foregoing, Issuer and each of its
Affiliates: (i) may rely on any oral or other communication believed in good faith by Issuer or
such Affiliate to have been authorized or given by or on behalf of the applicant for a Letter of
Credit; (ii) may honor any presentation if the documents presented appear on their face
substantially to comply with the terms and conditions of a Letter of Credit; (iii) may honor a
previously dishonored presentation under a Letter of Credit, whether such dishonor was pursuant
to a court order, to settle or compromise any claim of wrongful dishonor, or otherwise, and shall
be entitled to reimbursement to the same extent as if such presentation had initially been honored,
together with any interest paid by Issuer or its Affiliates; (iv) may honor any drawing that is
payable upon presentation of a statement advising negotiation or payment, upon receipt of such

                                                   71
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 159 of 388




statement (even if such statement indicates that a draft or other document is being delivered
separately), and shall not be liable for any failure of any such draft or other document to arrive, or
to conform in any way with the relevant Letter of Credit; (v) may pay any paying or negotiating
bank claiming that it rightfully honored under the laws or practices of the place where such bank
is located; and (vi) may settle or adjust any claim or demand made on Issuer or its Affiliates in any
way related to any order issued at the applicant’s request to an air carrier, a letter of guarantee or
of indemnity issued to a steamship agent or carrier or any document or instrument of like import
(each an “Order”) and honor any drawing in connection with any Letter of Credit that is the subject
of such Order, notwithstanding that any drafts or other documents presented in connection with
such Letter of Credit fail to conform in any way with such Letter of Credit.

               (c)     In furtherance and extension and not in limitation of the specific provisions
set forth above, any action taken or omitted by Issuer under or in connection with the Letters of
Credit issued by it or any documents and certificates delivered thereunder, if taken or omitted in
good faith and without gross negligence (as determined by a court of competent jurisdiction in a
final and non-appealable judgment or order), shall not put Issuer under any resulting liability to
any Borrower, Agent or any Lender.

        2.20. Mandatory Prepayments. Subject in each case to the Intercreditor Agreement and
the Interim Order, or, after the entry of the Final Order, the Final Order:

                (a)    Subject to Section 7.1 hereof, upon the receipt by any Loan Party of the
proceeds of any sale or other disposition of any Collateral (other than Inventory in the Ordinary
Course of Business), Borrowers shall prepay the Advances in an amount equal to the Net Cash
Proceeds of such sale or other disposition, such prepayments to be made promptly but in no event
more than five (5) Business Days following receipt of such Net Cash Proceeds, and until the date
of payment, such proceeds shall be held in trust for Agent; provided, that such Net Cash Proceeds
shall not be required to be applied as a mandatory prepayment on such date to the extent that (x)
no Default or Event of Default has occurred and is continuing or would result therefrom and (y)
Loan Parties have delivered an officers’ certificate to the Agent on or prior to such date stating
that such Net Cash Proceeds are expected to be reinvested in fixed or capital assets within six (6)
months following the date of such disposition (which officers’ certificate shall set forth the
estimates of the proceeds to be so expended); provided further, that if all or any portion of such
Net Cash Proceeds is not so reinvested within such six (6)-month period, such unused portion shall
be applied on the last day of such period as a mandatory prepayment as provided in this Section
2.20(a); provided, further, that if the property subject to such disposition constituted Collateral,
then all property purchased with the Net Cash Proceeds thereof pursuant to this Section 2.20(a)
shall be made subject to the Lien created pursuant to this Agreement in favor of the Agent for the
benefit of the Lenders in accordance with Section 6.11. The foregoing shall not be deemed to be
implied consent to any such sale or other disposition otherwise prohibited by the terms and
conditions hereof. Such prepayments shall be applied to either the Obligations or the Prepetition
Obligations in the sole discretion of the Agent in accordance with the Interim Order and the Final
Order, subject to the Borrowers’ ability to reborrow Revolving Advances in accordance with the
terms hereof.

              (b)     Subject to the terms of the Intercreditor Agreement, in the event of any
issuance or other incurrence of Indebtedness (other than Permitted Indebtedness) by the Loan

                                                 72
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 160 of 388




Parties or the issuance of any Equity Interests by any Loan Party, the Borrowers shall, no later than
one (1) Business Day after the receipt by such Loan Party of (i) the Net Cash Proceeds from any
such issuance or incurrence of Indebtedness or (ii) the Net Cash Proceeds of any issuance of Equity
Interests, as applicable, prepay the Advances in an amount equal to (x) one hundred percent
(100%) of such Net Cash Proceeds in the case of such incurrence or issuance of Indebtedness and
(y) one hundred percent (100%) of such Net Cash Proceeds in the case of an issuance of Equity
Interests. Such prepayments shall be applied to the Advances. Such prepayments shall be applied
to either the Obligations or the Prepetition Obligations in the sole discretion of the Agent in
accordance with the Interim Order and the Final Order, subject to the Borrowers’ ability to
reborrow Revolving Advances in accordance with the terms hereof.

                  (c)     Subject to the last sentence of this Section 2.19(c) and the terms of the
Intercreditor Agreement, all Net Cash Proceeds received by Borrowers or Agent (i) under any
insurance policy on account of damage or destruction of any assets or property of any Borrowers,
(ii) as a result of any taking or condemnation of any assets or property, or (iii) under any business
interruption insurance, in each case, shall be applied in accordance with Section 6.6 hereof;
provided, that, with respect to any Net Cash Proceeds received as a result of the occurrence of an
event described in the immediately preceding clauses (i) and (ii) such Net Cash Proceeds shall not
be required to be applied as a mandatory prepayment on such date to the extent that (x) no Default
or Event of Default has occurred and is continuing or would result therefrom and (y) Loan Parties
have delivered an officers’ certificate to the Agent on or prior to such date stating that such Net
Cash Proceeds are expected to be reinvested in fixed or capital assets within six (6) months
following the date of such casualty event (which officers’ certificate shall set forth the estimates
of the Net Cash Proceeds to be so expended); provided further, that if all or any portion of such
Net Cash Proceeds is not so reinvested within such six (6)-month period, such unused portion shall
be applied on the last day of such period as a mandatory prepayment as provided in this Section
2.20(c); provided, further, that if the property subject to such casualty event constituted Collateral,
then all property purchased with the Net Cash Proceeds thereof pursuant to this Section 2.20(c)
shall be made subject to the Lien created pursuant to this Agreement in favor of the Agent for the
benefit of the Lenders in accordance with Section 6.11. Such prepayments shall be applied to either
the Obligations or the Prepetition Obligations in the sole discretion of the Agent in accordance
with the Interim Order and the Final Order, subject to the Borrowers’ ability to reborrow Revolving
Advances in accordance with the terms hereof.

        2.21.   Use of Proceeds.

               (a)     Subject to the DIP Orders and as limited by the Approved Budget,
Borrowers shall apply the proceeds of Advances (a) for general operating, corporate, and working
capital purposes of the Loan Parties in the Ordinary Course of Business; (b) to pay reasonable and
documented costs, fees, and other expenses of the Secured Parties; (c) to make Revolving Credit
Adequate Protection Payments; (d) following entry of the Interim Order, applying Revolving
Credit Cash Collateral collected during the Interim Period to the Prepetition Obligations (“Interim
Roll-Up”) and Obligations outstanding in accordance with the terms of this Agreement and the
Other Documents and the Interim Order, in such order and manner determined by Agent in its sole
and absolute discretion; and (e) upon entry of the Final Order, exchanging and substituting in
Agent’s sole discretion the remaining amount of Advances (as defined in the Prepetition Revolving
Credit Agreement; referred to herein as the “Prepetition Revolving Loans”) on a cashless, dollar-

                                                  73
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1    Filed 07/22/23     Page 161 of 388




for-dollar into Revolving Advances outstanding under this Agreement (the “Final ABL Roll-Up”);
provided, that, no proceeds of Advances or Revolving Priority Collateral, including Revolving
Credit Cash Collateral, shall be used to (x) make any payments on account of the DIP Term Loan
Facility or the Prepetition Term Loan Obligations, including any adequate protection payable to
the Prepetition Term Loan Lenders, (y) pay the fees, costs, and expenses of any party involved in
these Chapter 11 Cases other than the fees, costs, and expenses of the Prepetition Secured Parties
and the Secured Parties including, without limitation, Revolving Credit Adequate Protection
Obligations, or (z) prepay any amounts owing under the DIP Term Loan Facility or the Wynnefield
Indebtedness or to pay or otherwise fund the Carve Out or any Term Loan Adequate Protection
Claim.

               (b)     Without limiting the generality of Section 2.21(a) above, neither the Loan
Parties nor any other Person which may in the future become party to this Agreement or the Other
Documents as a Loan Party, intends to use nor shall they use any portion of the proceeds of the
Advances, directly or indirectly, for any purpose in violation of Applicable Law.

        2.22.   Defaulting Lender.

               (a)    Notwithstanding anything to the contrary set forth herein, in the event any
Lender is a Defaulting Lender, all rights and obligations hereunder of such Defaulting Lender and
of the other parties hereto shall be modified to the extent of the express provisions of this
Section 2.22 so long as such Lender is a Defaulting Lender.

               (b)      Except as otherwise expressly provided for in this Section 2.22, Revolving
Advances shall be made pro rata from Revolving Lenders which are not Defaulting Lenders based
on their respective Revolving Commitment Percentages, and no Revolving Commitment
Percentage of any Lender or any pro rata share of any Revolving Advances required to be advanced
by any Lender shall be increased as a result of any Lender being a Defaulting Lender. Amounts
received in respect of principal of any type of Revolving Advances shall be applied to reduce such
type of Revolving Advances of each Revolving Lender (other than any Defaulting Lender) in
accordance with their Revolving Commitment Percentages; provided, that, Agent shall not be
obligated to transfer to a Defaulting Lender any payments received by Agent for Defaulting
Lender’s benefit, nor shall a Defaulting Lender be entitled to the sharing of any payments
hereunder (including any principal, interest or fees). Amounts payable to a Defaulting Lender
shall instead be paid to or retained by Agent. Agent may hold and, in its discretion, re-lend to a
Borrower the amount of such payments received or retained by it for the account of such Defaulting
Lender.

                      (i)     Fees pursuant to Section 3.3 hereof shall cease to accrue in favor of
such Defaulting Lender.

                        (ii) If any Swing Loans are outstanding or any Letters of Credit (or
drawings under any Letter of Credit for which Issuer has not been reimbursed) are outstanding or
exist at the time any such Revolving Lender becomes a Defaulting Lender, then:

                           (i)    Defaulting Lender’s Participation Commitment in the
outstanding Swing Loans and of the Maximum Undrawn Amount of all outstanding Letters of


                                                74
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 162 of 388




Credit shall be reallocated among Revolving Lenders which are Non-Defaulting Lenders in
proportion to the respective Revolving Commitment Percentages of such Non-Defaulting Lenders
to the extent (but only to the extent) that (x) such reallocation does not cause the aggregate sum of
outstanding Revolving Advances made by any such Revolving Lender that is a Non-Defaulting
Lender plus such Revolving Lender’s reallocated Participation Commitment in the outstanding
Swing Loans plus such Lender’s reallocated Participation Commitment in the aggregate Maximum
Undrawn Amount of all outstanding Letters of Credit to exceed the Revolving Commitment
Amount of any such Non-Defaulting Lender, and (y) no Default or Event of Default has occurred
and is continuing at such time;

                                (ii)   if the reallocation described in clause (A) above cannot, or
can only partially, be effected, Borrowers shall within one Business Day following notice by Agent
(x) first, prepay any outstanding Swing Loans that cannot be reallocated, and (y) second, cash
collateralize for the benefit of Issuer, Borrowers’ obligations corresponding to such Defaulting
Lender’s Participation Commitment in the Maximum Undrawn Amount of all Letters of Credit
(after giving effect to any partial reallocation pursuant to clause (A) above) in accordance with
Section 3.2(b) hereof for so long as such Obligations are outstanding;

                              (iii) if Borrowers cash collateralize any portion of such
Defaulting Lender’s Participation Commitment in the Maximum Undrawn Amount of all Letters
of Credit pursuant to clause (B) above, Borrowers shall not be required to pay any fees to such
Defaulting Lender pursuant to Section 3.2(a) hereof with respect to such Defaulting Lender’s
Revolving Commitment Percentage of Maximum Undrawn Amount of all Letters of Credit during
the period such Defaulting Lender’s Participation Commitment in the Maximum Undrawn
Amount of all Letters of Credit are cash collateralized;

                              (iv)   if Defaulting Lender’s Participation Commitment in the
Maximum Undrawn Amount of all Letters of Credit is reallocated pursuant to clause (A) above,
then the fees payable to Revolving Lenders pursuant to Section 3.2(a) hereof shall be adjusted and
reallocated to Revolving Lenders which are Non-Defaulting Lenders in accordance with such
reallocation; and

                               (v)     if all or any portion of such Defaulting Lender’s
Participation Commitment in the Maximum Undrawn Amount of all Letters of Credit is neither
reallocated nor cash collateralized pursuant to clauses (A) or (B) above, then, without prejudice to
any rights or remedies of Issuer or any other Lender hereunder, all Letter of Credit Fees payable
under Section 3.2(a) hereof with respect to such Defaulting Lender’s Revolving Commitment
Percentage of the Maximum Undrawn Amount of all Letters of Credit shall be payable to the Issuer
(and not to such Defaulting Lender) until (and then only to the extent that) such Participation
Commitment in the Maximum Undrawn Amount of all Letters of Credit is reallocated and/or cash
collateralized; and

                                (vi)   so long as any Revolving Lender is a Defaulting Lender,
Swing Loan Lender shall not be required to fund any Swing Loans and Issuer shall not be required
to issue, amend or increase any Letter of Credit, unless such Issuer is satisfied that the related
exposure and Defaulting Lender’s Participation Commitment in the Maximum Undrawn Amount
of all Letters of Credit and all Swing Loans (after giving effect to any such issuance, amendment,

                                                 75
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 163 of 388




increase or funding) will be fully allocated to Revolving Lenders which are Non-Defaulting
Lenders and/or cash collateral for such Letters of Credit will be provided by Borrowers in
accordance with clause (A) and (B) above, and participating interests in any newly made Swing
Loan or any newly issued or increased Letter of Credit shall be allocated among Non-Defaulting
Lenders in a manner consistent with Section 2.22(b)(iii)(A) above (and such Defaulting Lender
shall not participate therein).

              (c)     A Defaulting Lender shall not be entitled to give instructions to Agent or to
approve, disapprove, consent to or vote on any matters relating to this Agreement and the Other
Documents, and all amendments, waivers and other modifications of this Agreement and the Other
Documents may be made without regard to a Defaulting Lender and, for purposes of the definition
of “Required Lenders”, a Defaulting Lender shall not be deemed to be a Lender, to have any
outstanding Advances or a Revolving Commitment Percentage.

               (d)     Other than as expressly set forth in this Section 2.22, the rights and
obligations of a Defaulting Lender (including the obligation to indemnify Agent) and the other
parties hereto shall remain unchanged. Nothing in this Section 2.22 shall be deemed to release
any Defaulting Lender from its obligations under this Agreement and the Other Documents, shall
alter such obligations, shall operate as a waiver of any default by such Defaulting Lender
hereunder, or shall prejudice any rights which any Borrower, Agent or any Lender may have
against any Defaulting Lender as a result of any default by such Defaulting Lender hereunder.

               (e)     In the event that Agent, Borrowers, Swing Loan Lender and Issuer agree in
writing that a Defaulting Lender has adequately remedied all matters that caused such Lender to
be a Defaulting Lender, then Agent will so notify the parties hereto, and, if such cured Defaulting
Lender is a Revolving Lender, then Participation Commitments of Revolving Lenders (including
such cured Defaulting Lender) of the Swing Loans and Maximum Undrawn Amount of all
outstanding Letters of Credit shall be reallocated to reflect the inclusion of such Lender’s
Revolving Commitment, and on such date such Lender shall purchase at par such of the Revolving
Advances of the other Lenders as Agent shall determine may be necessary in order for such Lender
to hold such Revolving Advances in accordance with its Revolving Commitment Percentage.

               (f)      If Swing Loan Lender or Issuer has a good faith belief that any Revolving
Lender has defaulted in fulfilling its obligations under one or more other agreements in which such
Lender commits to extend credit, Swing Loan Lender shall not be required to fund any Swing
Loans and Issuer shall not be required to issue, amend or increase any Letter of Credit, unless
Swing Loan Lender or Issuer, as the case may be, shall have entered into arrangements with
Borrowers or such Lender, satisfactory to Swing Loan Lender or Issuer, as the case may be, to
defease any risk to it in respect of such Lender hereunder.

       2.23. Payment of Obligations. Agent may charge to Borrowers’ Account as a Revolving
Advance or, at the discretion of Swing Loan Lender, as a Swing Loan (i) all payments with respect
to any of the Obligations required hereunder (including without limitation principal payments,
payments of interest, payments of Letter of Credit Fees and all other fees provided for hereunder
and payments under Sections 16.5 and 16.9 hereof) as and when each such payment shall become
due and payable (whether as regularly scheduled, upon or after acceleration, upon maturity or
otherwise), (ii) without limiting the generality of the foregoing clause (i), (a) all amounts expended

                                                 76
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 164 of 388




by Agent or any Lender pursuant to Sections 4.2 or 4.3 hereof and (b) all expenses which Agent
incurs in connection with the forwarding of Advance proceeds and the establishment and
maintenance of any Blocked Accounts or Depository Accounts as provided for in Section 4.8(h)
hereof, and (iii) any sums expended by Agent or any Lender due to any Loan Party’s failure to
perform or comply with its obligations under this Agreement or any Other Document including
any Loan Party’s obligations under Sections 3.3, 3.4, 4.4, 4.7, 6.4, 6.6, 6.7 and 6.8 hereof, and all
amounts so charged shall be added to the Obligations and shall be secured by the Collateral. To
the extent Revolving Advances are not actually funded by the other Lenders in respect of any such
amounts so charged, all such amounts so charged shall be deemed to be Revolving Advances made
by and owing to Agent and Agent shall be entitled to all rights (including accrual of interest) and
remedies of a Lender under this Agreement and the Other Documents with respect to such
Revolving Advances.

III.    INTEREST AND FEES.

        3.1.    Interest. Interest on Advances shall be payable in arrears (a) on the first Business
Day of each month with respect to Domestic Rate Loans, (b) with respect to Term SOFR Rate
Loans having an Interest Period of one or three at the end of the applicable Interest Period and (c)
with respect to Term SOFR Rate Loans having an Interest Period in excess of three months, at the
end of each three month period during such Interest Period. Interest charges shall be computed on
the actual principal amount of Advances outstanding during the applicable month at a rate per
annum equal to (i) with respect to Revolving Advances, the applicable Revolving Interest Rate
plus the SOFR Adjustment for the applicable Interest Period, and (ii) with respect to Swing Loans,
the Revolving Interest Rate for Domestic Rate Loans, provided, that notwithstanding anything in
this Agreement to the contrary, all Advances under this Agreement shall be maintained as
Domestic Rate Loans and Term SOFR Rate Loans shall not be available at any time unless and
until Agent notifies Borrowing Agent in writing that Term SOFR Rate Loans are again available
pursuant to the terms of this Agreement, which determination shall be made by Agent in its sole
and absolute discretion (as applicable, the “Contract Rate”). Except as expressly provided
otherwise in this Agreement, any Obligations other than the Advances that are not paid when due
shall accrue interest at the Revolving Interest Rate for Domestic Rate Loans, subject to the
provision of the final sentence of this Section 3.1 regarding the Default Rate. Whenever,
subsequent to the Closing Date, the Alternate Base Rate is increased or decreased, the applicable
Contract Rate shall be similarly changed without notice or demand of any kind by an amount equal
to the amount of such change in the Alternate Base Rate during the time such change or changes
remain in effect. The Term SOFR Rate shall be adjusted with respect to Term SOFR Rate Loans
without notice or demand of any kind on the effective date of any change in the SOFR Reserve
Percentage as of such effective date. Upon and after the occurrence of an Event of Default, and
during the continuation thereof, at the option of Agent or at the direction of Required Lenders (or,
in the case of any Event of Default under Section 10.7 hereof, immediately and automatically upon
the occurrence of any such Event of Default without the requirement of any affirmative action by
any party), the Obligations shall bear interest at the applicable Contract Rate plus two percent (2%)
per annum (as applicable, the “Default Rate”).

        3.2.    Letter of Credit Fees; Cash Collateral.



                                                 77
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 165 of 388




                (a)     Borrowers shall pay (x) to Agent, for the ratable benefit of Revolving
Lenders, fees for each outstanding Letter of Credit for the period from and excluding the date of
issuance of such Letter of Credit to and including the date of expiration or termination, equal to
the daily face amount of all outstanding Letters of Credit multiplied by the Applicable Margin for
Revolving Advances consisting of Domestic Rate Loans, such fees to be calculated on the basis
of a 360-day year for the actual number of days elapsed and to be payable quarterly in arrears on
the first day of each calendar quarter and on the last day of the Term, and (y) to the applicable
Issuer, a fronting fee in the amount of one quarter of one percent (0.25%) per annum times the
daily face amount of all outstanding Letters of Credit for the period from and excluding the date
of issuance of same to and including the date of expiration or termination, to be payable quarterly
in arrears on the first day of each calendar quarter and on the last day of the Term (all of the
foregoing fees, the “Letter of Credit Fees”). In addition, Borrowers shall pay to Agent, for the
benefit of Issuer, any and all administrative, issuance, amendment, payment and negotiation
charges with respect to Letters of Credit and all fees and expenses as agreed upon by Issuer and
Borrowing Agent in connection with any Letter of Credit, including in connection with the
opening, amendment or renewal of any such Letter of Credit and any acceptances created
thereunder, all such charges, fees and expenses, if any, to be payable on demand. All such charges
shall be deemed earned in full on the date when the same are due and payable hereunder and shall
not be subject to rebate or pro-ration upon the termination of this Agreement for any reason. Any
such charge in effect at the time of a particular transaction shall be the charge for that transaction,
notwithstanding any subsequent change in Issuer’s prevailing charges for that type of transaction.
Upon and after the occurrence of an Event of Default, and during the continuation thereof, at the
option of Agent or at the direction of the Required Lenders (or, in the case of any Event of Default
under Section 10.7 hereof, immediately and automatically upon the occurrence of any such Event
of Default without the requirement of any affirmative action by any party), the Letter of Credit
Fees described in clause (x) of this Section 3.2(a) shall be increased by an additional two percent
(2.0%) per annum.

                (b)     At any time following the occurrence and during the continuance of an
Event of Default, at the option of Agent or at the direction of the Required Lenders (or, in the case
of any Event of Default under Section 10.7 hereof, immediately and automatically upon the
occurrence of such Event of Default, without the requirement of any affirmative action by any
party), or on the last day of the Term or any other termination of this Agreement (and also, if
applicable, in connection with any mandatory prepayment under Section 2.20 hereof), Borrowers
will cause cash to be deposited and maintained in an account with Agent, as cash collateral, in an
amount equal to one hundred and five percent (105%) of the Maximum Undrawn Amount of all
outstanding Letters of Credit (or, in the case of each Letter of Credit denominated in Canadian
Dollars, one hundred and ten percent (110%) of the U.S. Dollar Equivalent of the Maximum
Undrawn Amount of such Letter of Credit), and each Borrower hereby irrevocably authorizes
Agent, in its discretion, on such Borrower’s behalf and in such Borrower’s name, to open such an
account and to make and maintain deposits therein, or in an account opened by such Borrower, in
the amounts required to be made by such Borrower, out of the proceeds of Receivables or other
Collateral or out of any other funds of such Borrower coming into any Lender’s possession at any
time. Agent may, in its discretion, invest such cash collateral (less applicable reserves) in such
short-term money-market items as to which Agent and such Borrower mutually agree (or, in the
absence of such agreement, as Agent may select) and the net return on such investments shall be
credited to such account and constitute additional cash collateral, or Agent may (notwithstanding

                                                  78
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 166 of 388




the foregoing) establish the account provided for under this Section 3.2(b) as a non-interest bearing
account and in such case Agent shall have no obligation (and Borrowers hereby waive any claim)
under Article 9 of the Uniform Commercial Code, the PPSA or under any other Applicable Law
to pay interest on such cash collateral being held by Agent. No Borrower may withdraw amounts
credited to any such account except upon the occurrence of all of the following: (x) Payment in
Full of all of the Obligations; (y) expiration of all Letters of Credit; and (z) termination of the
Commitments and of this Agreement. Borrowers hereby assign, pledge and grant to Agent, for its
benefit and the ratable benefit of Issuer, Lenders and each other Secured Party, a continuing
security interest in and to and Lien on any such cash collateral and any right, title and interest of
Borrowers in any deposit account, securities account or investment account into which such cash
collateral may be deposited from time to time to secure the Obligations, specifically including all
Obligations with respect to any Letters of Credit. Borrowers agree that upon the coming due of
any Reimbursement Obligations (or any other Obligations, including Obligations for Letter of
Credit Fees) with respect to the Letters of Credit, Agent may use such cash collateral to pay and
satisfy such Obligations.

        3.3.    Fees.

                (a)    Unused Line Fee. If, for any day in each calendar quarter during the Term,
the daily unpaid balance of the sum of the U.S. Dollar Equivalent of all Revolving Advances plus
the U.S. Dollar Equivalent of all Swing Loans plus the Maximum Undrawn Amount of all
outstanding Letters of Credit (the “Usage Amount”) does not equal the Maximum Revolving
Advance Amount, then Borrowers shall pay to Agent, for the ratable benefit of Revolving Lenders
based on their Revolving Commitment Percentages, a fee at a rate equal to one quarter of one
percent (0.25%) per annum for each such day on the amount by which the Maximum Revolving
Advance Amount on such day exceeds such Usage Amount (the “Unused Line Fee”). The Unused
Line Fee shall be payable to Agent in arrears on the first Business Day of each calendar quarter
with respect to each day in the previous calendar quarter and on the last day of the Term with
respect to the period ending on the last day of the Term.

               (b)    Closing Fee. Borrowers shall pay to the Lenders a closing fee, fully earned
on the Closing Date, and due and payable (x) on the Closing Date in an aggregate amount equal to
$60,000 ( “Closing Fee”). The Closing Fee shall be allocated pro rata between the Lenders based
on their respective Revolving Commitment Percentages.

               (c)    Collateral Evaluation Fee. All of the fees and out-of-pocket costs and
expenses of any appraisals conducted pursuant to Sections 4.7 and 6.17 hereof shall be paid for
when due, in full and without deduction, off-set or counterclaim by Borrowers.

              (d)     Collateral Monitoring Fee. Agent, for its sole and separate account and not
the account of any Lender, a collateral monitoring fee in the amount of $2,500 per month
commencing on the first day of the month following the Closing Date and on the first day of each
month thereafter during the Term. The collateral monitoring fee shall be deemed earned in full on
the date when same is due and payable hereunder and shall not be subject to rebate or proration
upon termination of this Agreement for any reason.




                                                 79
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 167 of 388




        3.4.    Computation of Interest and Fees. Interest and fees hereunder shall be computed
on the basis of a year of (a) with respect to Term SOFR Rate Loans and fees, three hundred sixty
(360) days and for the actual number of days elapsed, and (b) with respect to Domestic Rate Loans,
three hundred sixty five (365) days and for the actual number of days elapsed. If any payment to
be made hereunder becomes due and payable on a day other than a Business Day, the due date
thereof shall be extended to the next succeeding Business Day and interest thereon shall be payable
at the applicable Contract Rate during such extension.

       3.5. Maximum Charges. In no event whatsoever shall interest and other charges
charged hereunder exceed the highest rate permissible under Applicable Law. In the event interest
and other charges as computed hereunder would otherwise exceed the highest rate permitted under
Applicable Law: (a) the interest rates hereunder will be reduced to the maximum rate permitted
under Applicable Law; (b) such excess amount shall be first applied to any unpaid principal
balance owed by Borrowers; and (c) if then remaining excess amount is greater than the previously
unpaid principal balance, Lenders shall promptly refund such excess amount to Borrowers and the
provisions hereof shall be deemed amended to provide for such permissible rate.

        3.6.   Increased Costs. In the event that any Applicable Law or any Change in Law or
compliance by any Lender (for purposes of this Section 3.7, the term “Lender” shall include Agent,
Swing Loan Lender, any Issuer or Lender and any corporation or bank controlling Agent, Swing
Loan Lender, any Lender or Issuer and the office or branch where Agent, Swing Loan Lender, any
Lender or Issuer (as so defined) makes or maintains any Term SOFR Rate Loans) with any request
or directive (whether or not having the force of law) from any central bank or other financial,
monetary or other authority, shall:

                (a)   subject Agent, Swing Loan Lender, any Lender or Issuer to any tax of any
kind whatsoever with respect to this Agreement, any Letter of Credit, any participation in a Letter
of Credit, any Term SOFR Rate Loan, or change the basis of taxation of payments to Agent, Swing
Loan Lender, such Lender or Issuer in respect thereof (except for Indemnified Taxes or Other
Taxes covered by Section 3.10 and the imposition of, or any change in the rate of, any Excluded
Tax payable by Agent, Swing Loan Lender, such Lender or the Issuer);

                (b)    impose, modify or deem applicable any reserve, special deposit,
assessment, special deposit, compulsory loan, insurance charge or similar requirement against
assets held by, or deposits in or for the account of, advances or loans by, or other credit extended
by, any office of Agent, Swing Loan Lender, Issuer or any Lender, including pursuant to
Regulation D of the Board of Governors of the Federal Reserve System; or

                (c)    impose on Agent, Swing Loan Lender, any Lender or Issuer any other
condition, loss or expense (other than Taxes) affecting this Agreement or any Other Document or
any Advance made by any Lender, or any Letter of Credit or participation therein;

and the result of any of the foregoing is to increase the cost to Agent, Swing Loan Lender, any
Lender or Issuer of making, converting to, continuing, renewing or maintaining its Advances
hereunder by an amount that Agent, Swing Loan Lender, such Lender or Issuer deems to be
material or to reduce the amount of any payment (whether of principal, interest or otherwise) in
respect of any of the Advances by an amount that Agent, Swing Loan Lender or such Lender or

                                                80
074658.23049/132216381v.5
            Case 23-10961-BLS       Doc 13-1     Filed 07/22/23     Page 168 of 388




Issuer deems to be material, then, in any case Borrowers shall promptly pay Agent, Swing Loan
Lender, such Lender or Issuer, upon its demand, such additional amount as will compensate Agent,
Swing Loan Lender or such Lender or Issuer for such additional cost or such reduction, as the case
may be, provided that the foregoing shall not apply to increased costs which are reflected in the
Term SOFR Rate. Agent, Swing Loan Lender, such Lender or Issuer shall certify the amount of
such additional cost or reduced amount to Borrowing Agent, and such certification shall be
conclusive absent manifest error.

        3.7.    [Reserved].

       3.8.   Alternate Rate of Interest; Interest Rate Inadequate or Unfair. In the event that
Agent or any Lender shall have determined that:

               (a)     reasonable means do not exist for ascertaining, the Term SOFR Rate
applicable pursuant to Section 2.2 hereof for any Interest Period;

                (b)    U.S. Dollar deposits (or bankers acceptances) in the relevant amount and
for the relevant maturity are not available, with respect to an outstanding Term SOFR Rate Loan,
a proposed Term SOFR Rate Loan, or a proposed conversion of a Domestic Rate Loan into a Term
SOFR Rate Loan;

               (c)     the making, maintenance or funding of any Term SOFR Rate Loan has been
made impracticable or unlawful by compliance by Agent or such Lender in good faith with any
Applicable Law or any interpretation or application thereof by any Governmental Body or with
any request or directive of any such Governmental Body (whether or not having the force of law);
or

                (d)    the Term SOFR Rate will not adequately and fairly reflect the cost to any
Lender of the establishment or maintenance of any Term SOFR Rate Loan and Lenders have
provided notice of such determination to Agent, then Agent shall give Borrowing Agent prompt
written or telephonic notice of such determination.

        If, with respect to any Term SOFR Rate Loan, such notice is given prior to a Benchmark
Replacement Date (as defined below), (i) any such requested Term SOFR Rate Loan shall be made
as a Domestic Rate Loan, unless Borrowing Agent shall notify Agent no later than 1:00 p.m. (New
York time) two (2) Business Days prior to the date of such proposed borrowing, that its request
for such borrowing shall be cancelled or made as an unaffected type of Term SOFR Rate Loan,
(ii) any Domestic Rate Loan or Term SOFR Rate Loan which was to have been converted to an
affected type of Term SOFR Rate Loan shall be continued as or converted into a Domestic Rate
Loan, or, if Borrowing Agent shall notify Agent, no later than 1:00 p.m. (New York time) two (2)
Business Days prior to the proposed conversion, shall be maintained as an unaffected type of Term
SOFR Rate Loan, and (iii) any outstanding affected Term SOFR Rate Loans shall be converted
into a Domestic Rate Loan, or, if Borrowing Agent shall notify Agent, no later than 1:00 p.m.
(New York time) two (2) Business Days prior to the last Business Day of the then current Interest
Period applicable to such affected Term SOFR Rate Loan, shall be converted into an unaffected
type of Term SOFR Rate Loan, on the last Business Day of the then current Interest Period for
such affected Term SOFR Rate Loans (or sooner, if any Lender cannot continue to lawfully


                                               81
074658.23049/132216381v.5
            Case 23-10961-BLS           Doc 13-1    Filed 07/22/23   Page 169 of 388




maintain such affected Term SOFR Rate Loan), and until such notice has been withdrawn, Lenders
shall have no obligation to make an affected type of Term SOFR Rate Loan or maintain
outstanding affected Term SOFR Rate Loans and no Borrower shall have the right to convert a
Domestic Rate Loan or an unaffected type of Term SOFR Rate Loan into an affected type of Term
SOFR Rate Loan.

                3.8.1 [Reserved].

                3.8.2       Benchmark Replacement Setting.

                       (a)     Benchmark Replacement. Notwithstanding anything to the contrary
herein or in any Other Document (and any agreement executed in connection with an Interest Rate
Hedge shall be deemed not to be an “Other Document” for purposes of this Section titled
“Benchmark Replacement Setting”), if a Benchmark Transition Event and related Benchmark
Replacement Date have occurred prior to any setting of the then-current Benchmark, then (A) if
a Benchmark Replacement is determined in accordance with clause (1) of the definition of
“Benchmark Replacement” for such Benchmark Replacement Date, such Benchmark
Replacement will replace such Benchmark for all purposes hereunder and under any Other
Document in respect of such Benchmark setting and subsequent Benchmark settings without any
amendment to, or further action or consent of any other party to, this Agreement or any Other
Document and (B) if a Benchmark Replacement is determined in accordance with clause (2) of the
definition of “Benchmark Replacement” for such Benchmark Replacement Date, such Benchmark
Replacement will replace such Benchmark for all purposes hereunder and under any Other
Document in respect of any Benchmark setting at or after 5:00 p.m. (New York City time) on the
fifth (5th) Business Day after the date notice of such Benchmark Replacement is provided to the
Lenders without any amendment to, or further action or consent of any other party to, this
Agreement or any Other Document so long as the Agent has not received, by such time, written
notice of objection to such Benchmark Replacement from Lenders comprising the Required
Lenders.

               (b)     Benchmark Replacement Conforming Changes. In connection with the use,
administration, adoption or implementation of a Benchmark Replacement, the Agent may make
Conforming Changes from time to time and, notwithstanding anything to the contrary herein or in
the Other Documents, any amendments implementing such Conforming Changes will become
effective without any further action or consent of any other party to this Agreement or any Other
Document.

                (c)    Notices; Standards for Decisions and Determinations. Agent will promptly
notify the Borrowing Agent and the Lenders of (i) the implementation of any Benchmark
Replacement, and (ii) the effectiveness of any Conforming Changes in connection with the use,
administration, adoption or implementation of a Benchmark Replacement. The Agent will notify
the Borrower of, (x) the removal or reinstatement of any tenor of a Benchmark pursuant to
paragraph (d) below and (y) the commencement of any Benchmark Unavailability Period. Any
determination, decision or election that may be made by the Agent or, if applicable, any Lender
(or group of Lenders) pursuant to this Section 3.8.2, including any determination with respect to a
tenor, rate or adjustment or of the occurrence or non-occurrence of an event, circumstance or date
and any decision to take or refrain from taking any action or any selection, will be conclusive and

                                                   82
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23     Page 170 of 388




binding absent manifest error and may be made in its or their sole discretion and without consent
from any other party to this Agreement or any Other Document except, in each case, as expressly
required pursuant to this Section 3.8.2.

                  (d)     Unavailability of Tenor of Benchmark. Notwithstanding anything to the
contrary herein or in any of the Other Documents, at any time (including in connection with the
implementation of a Benchmark Replacement), (i) if the then-current Benchmark is a term rate
and either (A) any tenor for such Benchmark is not displayed on a screen or other information
service that publishes such rate from time to time as selected by the Agent in its reasonable
discretion or (B) the regulatory supervisor for the administrator of such Benchmark has provided
a public statement or publication of information announcing that any tenor of such Benchmark is
not or will not be representative, then the Agent may modify the definition of “Interest Period”
(or any similar or analogous definition) for any Benchmark settings at or after such time to remove
such unavailable or non-representative tenor and (ii) if a tenor that was removed pursuant to clause
(i) above either (A) is subsequently displayed on a screen or information service for a Benchmark
(including a Benchmark Replacement) or (B) is not, or is no longer, subject to an announcement
that it is not or will not be representative for a Benchmark (including a Benchmark Replacement),
then the Agent may modify the definition of “Interest Period” (or any similar or analogous
definition) for all Benchmark settings at or after such time to reinstate such previously removed
tenor.

               (e)    Benchmark Unavailability Period. Upon the Borrowers’ receipt of notice of
the commencement of a Benchmark Unavailability Period, the Borrowers may revoke any pending
request for an Advance bearing interest based on the Term SOFR Rate, conversion to or
continuation of Advances bearing interest based on the Term SOFR Rate to be made, converted or
continued during any Benchmark Unavailability Period and, failing that, the Borrowers will be
deemed to have converted any such request into a request for a Domestic Rate Loan. During any
Benchmark Unavailability Period or at any time that a tenor for the then-current Benchmark is not
an Available Tenor, the component of the Alternate Base Rate based upon the then-current
Benchmark or such tenor for such Benchmark, as applicable, will not be used in any determination
of the Alternate Base Rate.

                (f)         Certain Defined Terms. As used in this Section 3.8.2:

                “Available Tenor” shall mean, as of any date of determination and with respect to
the then-current Benchmark, as applicable (x) if such Benchmark is a term rate or is based on a
term rate, any tenor for such Benchmark (or component thereof) that is or may be used for
determining the length of an interest period pursuant to this Agreement or (y) otherwise, any
payment period for interest calculated with reference to such Benchmark (or a component thereof)
that is or may be used for determining any frequency of making payments of interest calculated
with reference to such Benchmark pursuant to this Agreement, in each case, as of such date and
not including, for the avoidance of doubt, any tenor of such Benchmark that is then-removed from
the definition of “Interest Period” pursuant to paragraph (d) of this Section 3.8.2.

             “Benchmark” shall mean, initially, the Term SOFR Rate; provided that if a
Benchmark Transition Event has occurred with respect to the Term SOFR Rate or the then-current
Benchmark, then “Benchmark” means the applicable Benchmark Replacement to the extent that

                                                    83
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23     Page 171 of 388




such Benchmark Replacement has replaced such prior benchmark rate pursuant to this Section
3.8.2.

                “Benchmark Replacement” shall mean, with respect to any Benchmark Transition
Event, the first alternative set forth in the order below that can be determined by the Agent for the
applicable Benchmark Replacement Date:

                (1) the sum of (A) Daily Simple SOFR and (B) the SOFR Adjustment for a 1-month
                    Interest Period;

                (2) the sum of: (a) the alternate benchmark rate that has been selected by the Agent
                    and the Borrowers, giving due consideration to (x) any selection or
                    recommendation of a replacement benchmark rate or the mechanism for
                    determining such a rate by the Relevant Governmental Body or (y) any evolving
                    or then-prevailing market convention, for determining a benchmark rate as a
                    replacement to the then-current benchmark for U.S. dollar-denominated
                    syndicated credit facilities at such time and (B) the related Benchmark
                    Replacement Adjustment;

                     provided that, if the Benchmark Replacement as determined pursuant to clause
                     (2) above would be less than the Floor, the Benchmark Replacement will be
                     deemed to be the Floor for the purposes of this Agreement and the Other
                     Documents; provided further that any Benchmark Replacement shall be
                     administratively feasible as determined by the Agent in its sole discretion.

               “Benchmark Replacement Adjustment” shall mean, with respect to any
replacement of the then-current Benchmark with an Unadjusted Benchmark Replacement, the
spread adjustment, or method for calculating or determining such spread adjustments, (which may
be a positive or negative value or zero) that has been selected by the Agent and the Borrowing
Agent giving due consideration to (A) any selection or recommendation of a spread adjustment,
or method for calculating or determining such spread adjustment, for the replacement of such
Benchmark with the applicable Unadjusted Benchmark Replacement by the Relevant
Governmental Body or (B) any evolving or then-prevailing market convention for determining a
spread adjustment, or method for calculating or determining such spread adjustment, for the
replacement of such Benchmark with the applicable Unadjusted Benchmark Replacement for U.S.
dollar-denominated syndicated credit facilities at such time.

                “Benchmark Replacement Date” shall mean a date and time determined by the
Agent, which date shall be no later than the earliest to occur of the following events with respect
to the then-current Benchmark:

               (1)     in the case of clause (1) or (2) of the definition of “Benchmark Transition
Event,” the later of (A) the date of the public statement or publication of information referenced
therein and (B) the date on which the administrator of such Benchmark (or the published
component used in the calculation thereof) permanently or indefinitely ceases to provide all
Available Tenors of such Benchmark (or such component thereof); or


                                                 84
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 172 of 388




               (2)     in the case of clause (3) of the definition of “Benchmark Transition Event,”
the date determined by the Agent, which date shall promptly follow the date of the public statement
or publication of information referenced therein.

For the avoidance of doubt, the “Benchmark Replacement Date” will be deemed to have occurred
in the case of clause (1) or (2) with respect to any Benchmark upon the occurrence of the applicable
event or events set forth therein with respect to all then-current Available Tenors of such
Benchmark (or the published component used in the calculation thereof).

              “Benchmark Transition Event” shall mean the occurrence of one or more of the
following events with respect to the then-current Benchmark:

               (1)    a public statement or publication of information by or on behalf of the
administrator of such Benchmark (or the published component used in the calculation thereof)
announcing that such administrator has ceased or will cease to provide all Available Tenors of
such Benchmark (or such component thereof), permanently or indefinitely, provided that, at the
time of such statement or publication, there is no successor administrator that will continue to
provide any Available Tenor of such Benchmark (or such component thereof);

                (2)    a public statement or publication of information by a Governmental Body
having jurisdiction over the Agent, the regulatory supervisor for the administrator of such
Benchmark (or the published component used in the calculation thereof), the Federal Reserve
Board, the Federal Reserve Bank of New York, an insolvency official with jurisdiction over the
administrator for such Benchmark (or such component), a resolution authority with jurisdiction
over the administrator for such Benchmark (or such component) or a court or an entity with similar
insolvency or resolution authority over the administrator for such Benchmark (or such component),
which states that the administrator of such Benchmark (or such component) has ceased or will
cease to provide all Available Tenors of such Benchmark (or such component thereof) permanently
or indefinitely, provided that, at the time of such statement or publication, there is no successor
administrator that will continue to provide any Available Tenor of such Benchmark (or such
component thereof); or; or

                (3)     a public statement or publication of information by the regulatory
supervisor for the administrator of such Benchmark (or the published component used in the
calculation thereof) or a Governmental Body having jurisdiction over the Agent announcing that
all Available Tenors of such Benchmark (or such component thereof) are not, or as of a specified
future date will not be, representative.

For avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred with
respect to any Benchmark if a public statement or publication of information set forth above has
occurred with respect to each then-current Available Tenor of such Benchmark (or the published
component used in the calculation thereof).

                “Benchmark Unavailability Period” shall mean the period (if any) (x) beginning
at the time that a Benchmark Replacement Date has occurred if, at such time, no Benchmark


                                                85
074658.23049/132216381v.5
            Case 23-10961-BLS       Doc 13-1     Filed 07/22/23     Page 173 of 388




Replacement has replaced the then-current Benchmark for all purposes hereunder and under any
Other Document in accordance with this Section 3.8.2 and (y) ending at the time that a Benchmark
Replacement has replaced the then-current Benchmark for all purposes hereunder and under any
Other Document in accordance with this Section 3.8.2.

                 “Floor” shall means the benchmark rate floor, if any, provided in this Agreement
initially (as of the execution of this Agreement, the modification, amendment or renewal of this
Agreement or otherwise) with respect to the Term SOFR Rate or, if no floor is specified, zero.

              “Relevant Governmental Body” shall mean the Board of Governors of the Federal
Reserve System or the Federal Reserve Bank of New York, or a committee officially endorsed or
convened by the Board of Governors of the Federal Reserve System or the Federal Reserve Bank
of New York, or any successor thereto.

             “Unadjusted Benchmark Replacement” shall means the applicable Benchmark
Replacement excluding the related Benchmark Replacement Adjustment.

                3.8.3 [Reserved].

        3.9.    Capital Adequacy.

                (a)    In the event that Agent, Swing Loan Lender or any Lender shall have
determined that any Applicable Law or guideline regarding capital adequacy, or any Change in
Law or any change in the interpretation or administration thereof by any Governmental Body,
central bank or comparable agency charged with the interpretation or administration thereof, or
compliance by Agent, Swing Loan Lender, Issuer or any Lender (for purposes of this Section 3.9,
the term “Lender” shall include Agent, Swing Loan Lender, Issuer or any Lender and any
corporation or bank controlling Agent, Swing Loan Lender or any Lender and the office or branch
where Agent, Swing Loan Lender or any Lender (as so defined) makes or maintains any Term
SOFR Rate Loans) with any request or directive regarding capital adequacy (whether or not having
the force of law) of any such authority, central bank or comparable agency, has or would have the
effect of reducing the rate of return on Agent, Swing Loan Lender or any Lender’s capital as a
consequence of its obligations hereunder (including the making of any Swing Loans) to a level
below that which Agent, Swing Loan Lender or such Lender could have achieved but for such
adoption, change or compliance (taking into consideration Agent’s, Swing Loan Lender’s and each
Lender’s policies with respect to capital adequacy) by an amount deemed by Agent, Swing Loan
Lender or any Lender to be material, then, from time to time, Borrowers shall pay upon demand
to Agent, Swing Loan Lender or such Lender such additional amount or amounts as will
compensate Agent, Swing Loan Lender or such Lender for such reduction. In determining such
amount or amounts, Agent, Swing Loan Lender or such Lender may use any reasonable averaging
or attribution methods. The protection of this Section 3.9 shall be available to Agent, Swing Loan
Lender and each Lender regardless of any possible contention of invalidity or inapplicability with
respect to the Applicable Law, rule, regulation, guideline or condition.

             (b)     A certificate of Agent, Swing Loan Lender or such Lender setting forth such
amount or amounts as shall be necessary to compensate Agent, Swing Loan Lender or such Lender


                                               86
074658.23049/132216381v.5
            Case 23-10961-BLS       Doc 13-1     Filed 07/22/23     Page 174 of 388




with respect to Section 3.9(a) hereof when delivered to Borrowing Agent shall be conclusive
absent manifest error.

        3.10.   Taxes.

               (a)     Defined Terms. For purposes of this Section 3.10, the term “Lender”
includes any Issuer, Swing Loan Lender or any Participant and the term “Applicable Law” includes
FATCA.

               (b)     Payment Free of Taxes. Any and all payments by or on account of any
Obligations of any Loan Party under this Agreement or any Other Document shall be made without
deduction or withholding for any Taxes, except as required by Applicable Law. If any Applicable
Law (as determined in the good faith discretion of an applicable Withholding Agent) requires the
deduction or withholding of any Tax from any such payment by a Withholding Agent, then the
applicable Withholding Agent shall be entitled to make such deduction or withholding and shall
timely pay the full amount deducted or withheld to the relevant Governmental Body in accordance
with Applicable Law and, if such Tax is an Indemnified Tax, then the sum payable by the
applicable Loan Party shall be increased as necessary so that after such deduction or withholding
has been made (including such deductions and withholdings applicable to additional sums payable
under this Section) Agent or any Lender, as the case may be, receives an amount equal to the sum
it would have received had no such deduction or withholding been made. Notwithstanding the
submission of documentation by any Lender under Section 3.10(g) hereof claiming a reduced rate
of or exemption from U.S. withholding Tax, Agent shall be entitled to withhold United States
federal income Taxes at the full 30% withholding rate if in its judgment it is required to do so
under the due diligence requirements imposed upon Agent under §1.1441-7(b) of the United States
Income Tax Regulations or other Applicable Law.

               (c)    Payment of Other Taxes by the Loan Parties. The Loan Parties shall timely
pay to the relevant Governmental Body in accordance with Applicable Law, or at the option of
Agent, promptly reimburse Agent for the payment of, any Other Taxes.

                (d)    Indemnification by the Loan Parties. Each Loan Party shall jointly and
severally indemnify Agent and each Lender, within ten (10) days after demand therefor, for the
full amount of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or
attributable to amounts payable under this Section) paid or payable by Agent or any Lender or
required to be withheld or deducted from a payment to Agent or such Lender, as the case may be,
and any penalties, interest and out-of-pocket expenses arising therefrom or with respect thereto,
whether or not such Indemnified Taxes were correctly or legally imposed or asserted by the
relevant Governmental Body. A certificate as to the amount of such payment or liability delivered
to Borrowers by any Lender (with a copy to Agent), or by Agent on its own behalf or on behalf of
a Lender, shall be conclusive absent manifest error.

              (e)     Indemnification by the Lenders. Each Lender shall severally indemnify
Agent, within ten (10) days after demand therefor, for (i) any Indemnified Taxes attributable to
such Lender (but only to the extent that any Loan Party has not already indemnified Agent for such
Indemnified Taxes and without limiting the obligation of the Loan Parties to do so), and (ii) any
Excluded Taxes attributable to such Lender, in each case, that are payable or paid by Agent in

                                               87
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 175 of 388




connection with this Agreement or any Other Document, and any expenses arising therefrom or
with respect thereto, whether or not such Taxes were correctly or legally imposed or asserted by
the relevant Governmental Body. In addition, each Lender shall severally indemnify Agent under
§1.1461-1(e) of the United States Income Tax Regulations against any claims and demands of any
Lender for the amount of any Tax it deducts and withholds in accordance with regulations under
§1441 of the Internal Revenue Code. A certificate as to the amount of such payment or liability
delivered to any Lender by Agent shall be conclusive absent manifest error. Each Lender hereby
authorizes Agent to set off and apply any and all amounts at any time owing to such Lender
hereunder or under any Other Document or otherwise payable by Agent to such Lender from any
other source against any amount due to Agent under this subsection (e).

              (f)     Evidence of Payments. As soon as practicable after any payment of Taxes
by any Loan Party to a Governmental Body pursuant to this Section 3.10, such Loan Party shall
deliver to Agent the original or a certified copy of a receipt issued by such Governmental Body
evidencing such payment, a copy of the return reporting such payment or other evidence of such
payment reasonably satisfactory to Agent.

               (g)     Status of Lenders. (i) Any Lender that is entitled to an exemption from or
reduction of withholding Tax with respect to payments hereunder or under any Other Document
shall deliver to Borrowing Agent and Agent, at the time or times reasonably requested by
Borrowers or Agent, such properly completed and executed documentation required by Applicable
Law as will permit such payments to be made without withholding or at a reduced rate of
withholding. In addition, any Lender, if reasonably requested by Borrowing Agent or Agent, shall
deliver such other documentation required by Applicable Law or reasonably requested by
Borrowing Agent or Agent as will enable Borrowers or Agent to determine whether or not such
Lender is subject to backup withholding or information reporting requirements. Notwithstanding
anything to the contrary in the preceding two sentences, the completion, execution and submission
of such documentation (other than such documentation set forth in Sections 3.10(g)(ii)(A), (ii)(B)
and (ii)(D) below) shall not be required if in the applicable Lender’s reasonable judgment such
completion, execution or submission would subject such Lender to any material unreimbursed cost
or expense or would materially prejudice the legal or commercial position of such Lender.

              (h)    Without limiting the generality of the foregoing, in the event that any
Borrower is a U.S. Loan Party,

                             (i)    any Lender that is a U.S. Person shall deliver to Borrowing
Agent and Agent on or prior to the date on which such Lender becomes a Lender under this
Agreement (and from time to time thereafter upon the reasonable request of any Borrower or
Agent), two (2) duly completed and executed copies of IRS Form W-9 certifying that such Lender
is exempt from U.S. federal backup withholding Tax;

                               (ii)   any Foreign Lender shall, to the extent it is legally entitled
to do so, deliver to Borrowing Agent and Agent (in such number of copies as shall be requested
by the recipient) on or prior to the date on which such Foreign Lender becomes a Lender under
this Agreement (and from time to time thereafter upon the reasonable request of Borrowing Agent
or Agent), whichever of the following is applicable:


                                                88
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 176 of 388




                                      (1)     in the case of a Foreign Lender claiming the benefits
of an income tax treaty to which the United States is a party (x) with respect to payments of interest
under this Agreement or any Other Document, two (2) duly completed and executed copies of IRS
Form W-8BEN or W-8BEN-E (as applicable) establishing an exemption from, or reduction of,
U.S. federal withholding Tax pursuant to the “interest” article of such tax treaty and (y) with
respect to any other applicable payments under this Agreement or any Other Document, two (2)
duly completed and executed copies of IRS Form W-8BEN or W-8BEN-E (as applicable)
establishing an exemption from, or reduction of, U.S. federal withholding Tax pursuant to the
“business profits” or “other income” article of such tax treaty;

                                       (2)     two (2) duly completed and executed copies of IRS
Form W-8ECI;

                                       (3)    in the case of a Foreign Lender claiming the benefits
of the exemption for portfolio interest under Section 881(c) of the Internal Revenue Code, (x) two
(2) duly completed and executed copies of a certificate substantially in the form of Exhibit 3.10-1
hereto to the effect that such Foreign Lender is not a “bank” within the meaning of Section
881(c)(3)(A) of the Internal Revenue Code, a “10 percent shareholder” of the Borrowers within
the meaning of Section 881(c)(3)(B) of the Internal Revenue Code, or a “controlled foreign
corporation” described in Section 881(c)(3)(C) of the Internal Revenue Code (a “U.S. Tax
Compliance Certificate”) and (y) two (2) duly completed and executed copies of IRS Form W-
8BEN; or

                                       (4)  to the extent a Foreign Lender is not the beneficial
owner, two (2) duly completed and executed copies of IRS Form W-8IMY, accompanied by
two (2) duly completed and executed copies of IRS Form W-8ECI, IRS Form W-8BEN or W-
8BEN-E (as applicable), two (2) duly completed and executed copies of a U.S. Tax Compliance
Certificate substantially in the form of Exhibit 3.10-2 or Exhibit 3.10-3 hereto, two (2) duly
completed and executed copies of IRS Form W-9, and/or other certification documents from each
beneficial owner, as applicable; provided that if the Foreign Lender is a partnership and one or
more direct or indirect partners of such Foreign Lender are claiming the portfolio interest
exemption, such Foreign Lender may provide two (2) duly completed and executed copies of a
U.S. Tax Compliance Certificate substantially in the form of Exhibit 3.10-4 hereto on behalf of
each such direct and indirect partner;

                                (iii) any Foreign Lender shall, to the extent it is legally entitled
to do so, deliver to the Borrowers and Agent (in such number of copies as shall be requested by
the recipient) on or prior to the date on which such Foreign Lender becomes a Lender under this
Agreement (and from time to time thereafter upon the reasonable request of Borrowing Agent or
Agent), executed copies of any other form required by Applicable Law as a basis for claiming
exemption from or a reduction in U.S. federal withholding Tax, duly completed, together with
such supplementary documentation as may be required by Applicable Law to permit the Borrowers
or Agent to determine the withholding or deduction required to be made; and

                             (iv)   If a payment to a Lender under this Agreement or any Other
Document would be subject to U.S. Federal withholding Taxes imposed by FATCA if such Lender
were to fail to comply with the applicable reporting requirements of FATCA (including those

                                                 89
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 177 of 388




contained in Section 1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such Lender
shall deliver to Borrowing Agent and Agent at the time or times required by Applicable Law and
at such time or times reasonably requested by the Borrowers or Agent such documentation required
by Applicable Law (including as required by Section 1471(b)(3)(C)(i) of the Internal Revenue
Code) and such additional documentation reasonably requested by the Borrowers or Agent as may
be necessary for the Borrowers and Agent to comply with their obligations under FATCA and to
determine that such Lender has complied with such Lender’s obligations under FATCA or to
determine the amount to deduct and withhold from such payment. Solely for purposes of this
clause (D), “FATCA” shall include any amendments made to FATCA after the date of this
Agreement.

                        (ii) Each Lender agrees that if any form or certification it previously
delivered expires or becomes obsolete or inaccurate in any respect, it shall update such form or
certification or promptly notify the Borrowers and Agent in writing of its legal inability to do so.

                (i)     Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been
indemnified pursuant to this Section 3.10 (including by the payment of additional amounts
pursuant to this Section 3.10), it shall pay to the indemnifying party an amount equal to such refund
(but only to the extent of indemnity payments made under this Section with respect to the Taxes
giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of such indemnified
party and without interest (other than any interest paid by the relevant Governmental Body with
respect to such refund). Such indemnifying party, upon the request of such indemnified party,
shall repay to such indemnified party the amount paid over pursuant to this subsection (h) (plus
any penalties, interest or other charges imposed by the relevant Governmental Body) in the event
that such indemnified party is required to repay such refund to such Governmental Body.
Notwithstanding anything to the contrary in this subsection (h), in no event will the indemnified
party be required to pay any amount to an indemnifying party pursuant to this subsection (h) the
payment of which would place the indemnified party in a less favorable net after-Tax position than
the indemnified party would have been in if the Tax subject to indemnification and giving rise to
such refund had not been deducted, withheld or otherwise imposed and the indemnification
payments or additional amounts with respect to such Tax had never been paid. This subsection
shall not be construed to require any indemnified party to make available its Tax returns (or any
other information relating to its Taxes that it deems confidential) to the indemnifying party or any
other Person.

               (j)    Survival. Each party’s obligations under this Section 3.10 shall survive the
resignation or replacement of Agent or any assignment of rights by, or the replacement of, a
Lender, the termination of the Commitments and the repayment, satisfaction or discharge of the
Obligations.

        3.11. Replacement of Lenders. If any Lender (an “Affected Lender”) (a) makes demand
upon Borrowers for (or if Borrowers are otherwise required to pay) amounts pursuant to
Section 3.7, 3.9 or 3.10 hereof, (b) is unable to make or maintain Term SOFR Rate Loans as a
result of a condition described in Section 2.2(h) hereof, (c) is a Defaulting Lender, or (d) denies
any consent requested by Agent pursuant to Section 16.2(b) hereof, Borrowers may, within ninety
(90) days of receipt of such demand, notice (or the occurrence of such other event causing

                                                 90
074658.23049/132216381v.5
              Case 23-10961-BLS       Doc 13-1     Filed 07/22/23      Page 178 of 388




Borrowers to be required to pay such compensation or causing Section 2.2(h) hereof to be
applicable), or such Lender becoming a Defaulting Lender or denial of a request by Agent pursuant
to Section 16.2(b) hereof, as the case may be, by notice in writing to Agent and such Affected
Lender (i) request the Affected Lender to cooperate with Borrowers in obtaining a replacement
Lender satisfactory to Agent and Borrowers (the “Replacement Lender”); (ii) request the non-
Affected Lenders to acquire and assume all of the Affected Lender’s Advances and its Revolving
Commitment Percentage as provided herein, but none of such Lenders shall be under any
obligation to do so; or (iii) propose a Replacement Lender subject to approval by Agent in its good
faith business judgment. If any satisfactory Replacement Lender shall be obtained, and/or if any
one or more of the non-Affected Lenders shall agree to acquire and assume all of the Affected
Lender’s Advances and its Revolving Commitment Percentage, then such Affected Lender shall
assign, in accordance with Section 16.3 hereof, all of its Advances and its Revolving Commitment
Percentage, and other rights and obligations under this Agreement and the Other Documents to
such Replacement Lender or non-Affected Lenders, as the case may be, in exchange for payment
of the principal amount so assigned and all interest and fees accrued on the amount so assigned,
plus all other Obligations then due and payable to the Affected Lender.

IV.       COLLATERAL: GENERAL TERMS

         4.1. Security Interest in the Collateral. To secure the prompt payment and performance
to the Post-Petition Secured Parties of the Post-Petition Obligations (and, upon entry of the Final
Order, any and all Obligations, including without limitation, all Prepetition Obligations and Post-
Petition Obligations) of whatever kind, nature or description, absolute or contingent, now existing
or hereafter arising, the Agent, for the benefit of itself and the other Secured Parties, shall have
and is hereby granted by (x) each Debtor, effective as of the Petition Date, valid and perfected first
priority (subject to (x) the priority of Liens set forth [Section 10(b)] of the Interim Order1 and (y)
the Intercreditor Agreement) security interests and liens in and upon all pre- and post- petition
property of such Debtor constituting US Collateral, whether existing on the Petition Date or
thereafter acquired (which shall, for the avoidance of doubt, include the property listed in the
following clause (y)) and (y) the Loan Parties a continuing security interest in and to and Lien on
all of its Collateral, whether now owned or existing or hereafter created, acquired or arising and
wheresoever located. Each Loan Party shall mark its books and records as may be necessary or
appropriate to evidence, protect and perfect Agent’s security interest and shall cause its financial
statements to reflect such security interest and hereby acknowledges and confirms that value has
been given, that it has rights in the Collateral and that the parties have not agreed to postpone the
time for attachment of any security interest constituted hereby to any of the property, assets or
undertakings of any the Loan Parties. Each Loan Party shall provide Agent with written notice of
all commercial tort claims promptly upon the occurrence of any events giving rise to any such
claims (regardless of whether legal proceedings have yet been commenced), such notice to contain
a brief description of the claims, the events out of which such claims arose and the parties against
which such claims may be asserted and, if applicable in any case where legal proceedings regarding
such claims have been commenced, the case title together with the applicable court and docket
number. Upon delivery of each such notice, such Loan Party shall be deemed to thereby grant to
Agent a security interest and lien in and to such commercial tort claims described therein and all
proceeds thereof. Each Loan Party shall provide Agent with written notice promptly upon

1
    NTD: Check section reference

                                                 91
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 179 of 388




becoming the beneficiary under any letter of credit or otherwise obtaining any right, title or interest
in any letter of credit rights, and at Agent’s request shall take such actions as Agent may request
for the perfection of Agent’s security interest therein. The Prepetition Secured Parties are entitled
to adequate protection as set forth in the Interim Order and, once entered, the Final Order.

         4.3.    Perfection of Security Interest. Subject to the Orders and the Intercreditor
Agreement, each Loan Party shall take all action that may be necessary or desirable, or that Agent
may request, so as at all times to maintain the validity, perfection, enforceability and priority
(subject to the terms of the Intercreditor Agreement) of Agent’s security interest in and Lien on
the Collateral or to enable Agent to protect, exercise or enforce its rights hereunder and in the
Collateral, including, but not limited to, (a) immediately discharging all Liens other than Permitted
Encumbrances, (b) subject to Section 7.20, obtaining Lien Waiver Agreements, (c) delivering to
Agent, endorsed or accompanied by such instruments of assignment as Agent may specify, and
stamping or marking, in such manner as Agent may specify, any and all chattel paper, instruments,
letters of credit and advices thereof and documents evidencing or forming a part of the Collateral,
(d) entering into warehousing, lockbox, customs and freight agreements and other custodial
arrangements reasonably satisfactory to Agent, and (e) executing and delivering financing
statements, control agreements (other than with respect to Excluded Deposit Accounts),
instruments of pledge, mortgages (with respect to Material Owned Real Property only), notices
and assignments, in each case in form and substance reasonably satisfactory to Agent, relating to
the creation, validity, perfection, maintenance or continuation of Agent’s security interest and Lien
under the Uniform Commercial Code, PPSA or other Applicable Law. By its signature hereto,
each Loan Party hereby authorizes Agent to file against such Loan Party, one or more financing,
continuation or amendment statements pursuant to the Uniform Commercial Code or PPSA, as
applicable, in form and substance reasonably satisfactory to Agent (which statements may have a
description of collateral which is broader than that set forth herein, including without limitation a
description of Collateral as “all assets” and/or “all personal property” of any Loan Party). All
charges, expenses and fees Agent may incur in doing any of the foregoing, and any local taxes
relating thereto, shall be charged to Borrowers’ Account as a Revolving Advance of a Domestic
Rate Loan and added to the Obligations, or, at Agent’s option, shall be paid by the Loan Parties to
Agent for its benefit and for the ratable benefit of Lenders immediately upon demand.

         4.4.   Preservation of Collateral. Subject to the Orders and the Intercreditor Agreement,
during the occurrence of a Default or Event of Default, in addition to the rights and remedies set
forth in Section 11.1 hereof, Agent: (a) may at any time take such steps as Agent deems necessary
to protect Agent’s interest in and to preserve the Collateral, including the hiring of security guards
or the placing of other security protection measures as Agent may deem appropriate; (b) may
employ and maintain at any of any Loan Party’s premises a custodian who shall have full authority
to do all acts necessary to protect Agent’s interests in the Collateral; (c) may lease warehouse
facilities to which Agent may move all or part of the Collateral; (d) may use any Loan Party’s
owned or leased lifts, hoists, trucks and other facilities or Equipment for handling or removing the
Collateral; and (e) shall have, and is hereby granted, a right of ingress and egress to the places
where the Collateral is located, and may proceed over and through any Real Property owned or
leased by any Loan Party. Each Loan Party shall cooperate fully with all of Agent’s efforts to
preserve the Collateral and will take such actions to preserve the Collateral as Agent may direct.
All of Agent’s expenses of preserving the Collateral, including any expenses relating to the


                                                  92
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 180 of 388




bonding of a custodian, shall be charged to Borrowers’ Account as a Revolving Advance
maintained as a Domestic Rate Loan and added to the Obligations.

        4.5.    Ownership and Location of Collateral.

                  (a)      With respect to the Collateral, at the time the Collateral becomes subject to
Agent’s security interest: (i) each Loan Party shall be the sole owner of and fully authorized and
able to sell, transfer, pledge and/or grant a first priority Lien (subject only to Permitted
Encumbrances and the Intercreditor Agreement) upon each and every item of its respective
Collateral to Agent; and, except for Permitted Encumbrances the Collateral shall be free and clear
of all Liens whatsoever; (ii) each document and agreement executed by each Loan Party or
delivered to Agent or any Lender in connection with this Agreement shall be true and correct in
all respects; (iii) all signatures and endorsements of each Loan Party that appear on such documents
and agreements shall be genuine and each Loan Party shall have full capacity to execute same; and
(iv) each Loan Party’s Equipment and Inventory shall be located as set forth on Schedule 4.4
hereto, as such Schedule may be updated from time to time, and shall not be removed from such
locations without the prior written consent of Agent except with respect to the sale of Inventory in
the Ordinary Course of Business and Equipment to the extent permitted in Section 7.1(b) hereof.

                (b)     (i) There is no location at which any Loan Party has any Inventory (except
for Inventory in transit) or other Collateral other than those locations listed on Schedule 4.4(b)(i)
hereto; (ii) Schedule 4.4(b)(ii) hereto contains a correct and complete list of the legal names and
addresses of each warehouse at which Inventory of any Loan Party is stored, and none of the
receipts received by any Loan Party from any warehouse states that the goods covered thereby are
to be delivered to bearer or to the order of a named Person or to a named Person and such named
Person’s assigns; (iii) Schedule 4.4(b)(iii) hereto sets forth a correct and complete list of (A) each
place of business of each Loan Party and (B) the chief executive office of each Loan Party; and
(iv) Schedule 4.4(b)(iv) hereto sets forth a correct and complete list of the location, by state and
street address, of all Real Property owned or leased by each Loan Party, identifying which Real
Properties are owned (including whether such owned Real Property constitutes Material Owned
Real Property) and which are leased, together with the names and addresses of any landlords or
other third parties in possession, custody or control of any Collateral.

        4.6.    Defense of Agent’s and Lenders’ Interests. Until (a) the Payment in Full of all of
the Obligations and (b) termination of the Commitments and termination of this Agreement,
Agent’s interests in the Collateral shall continue in full force and effect. During such period no
Loan Party shall, without Agent’s prior written consent, pledge, sell (except for sales or other
dispositions otherwise permitted in Section 7.1(b) hereof), assign, transfer, create or suffer to exist
a Lien upon or encumber or allow or suffer to be encumbered in any way except for Permitted
Encumbrances, any part of the Collateral. Each Loan Party shall defend Agent’s interests in the
Collateral against any and all Persons whatsoever. At any time following demand by Agent for
payment of all Obligations, Agent shall have the right to take possession of the indicia of the
Collateral and the Collateral in whatever physical form contained, including: labels, stationery,
documents, instruments and advertising materials. If Agent exercises this right to take possession
of the Collateral, the Loan Parties shall, upon demand, assemble it in the best manner possible and
make it available to Agent at a place convenient to Agent. In addition, with respect to all
Collateral, Agent and Lenders shall be entitled to all of the rights and remedies set forth herein and

                                                  93
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 181 of 388




further provided by the Uniform Commercial Code, PPSA or other Applicable Law. Each Loan
Party shall, and Agent may, at its option, instruct all suppliers, carriers, forwarders, warehousers
or others receiving or holding cash, checks, Inventory, documents or instruments in which Agent
holds a security interest to deliver same to Agent and/or subject to Agent’s order and if they shall
come into any Loan Party’s possession, they, and each of them, shall be held by such Loan Party
in trust as Agent’s trustee, and such Loan Party will immediately deliver them to Agent in their
original form together with any necessary endorsement.

         4.7.    Inspection of Premises. At all reasonable times and, absent the occurrence of an
Event of Default, during normal business hours, and from time to time as often as Agent shall elect
in its sole discretion exercised in a commercially reasonable manner, Agent and each Lender shall
have full access to and the right to audit, check, inspect and make abstracts and copies from each
Loan Party’s books, records, audits, correspondence and all other papers relating to the Collateral
and the operation of each Loan Party’s business. Agent, any Lender and their agents may enter
upon any premises of any Loan Party at any time during business hours and at any other time, and
from time to time as often as Agent shall elect in its sole discretion, for the purpose of inspecting
the Collateral and any and all records pertaining thereto and the operation of such Loan Party’s
business; provided that, absent the occurrence and continuance of an Event of Default, (a) neither
Agent nor any Lender shall exercise any rights pursuant to this Section 4.6 more than three (3)
times during any fiscal year, and (b) Agent or any Lender exercising any rights pursuant to this
Section 4.6 shall give the applicable Loan Party or any applicable Subsidiary commercially
reasonable prior notice of such exercise.

        4.8.    Appraisals. Agent may, in its sole discretion, exercised in a commercially
reasonable manner, at any time after the Closing Date and from time to time, engage the services
of an independent appraisal firm or firms of reputable standing, satisfactory to Agent, for the
purpose of appraising the then current values of the Loan Parties’ assets, and unless an Event of
Default shall have occurred and be continuing, Agent shall consult with Borrowing Agent as to
the identity of any such firm. In the event the value of the Loan Parties’ assets, as so determined
pursuant to such appraisal, is less than anticipated by Agent or Lenders, such that the Revolving
Advances are in excess of such Advances permitted hereunder, then, promptly upon Agent’s
demand for same, the Borrowers shall make mandatory prepayments of the then outstanding
Revolving Advances so as to eliminate the excess Advances. All of the fees and out-of-pocket
costs and expenses of any appraisals conducted pursuant to this Section 4.7 shall be paid for when
due, in full and without deduction, off-set or counterclaim by Borrowers; provided that, absent the
occurrence and continuance of an Event of Default, Borrowers shall not be required to pay for
more than three (3) such appraisals during any fiscal year.

        4.9.    Receivables; Deposit Accounts and Securities Accounts.

                (a)    Each of the Receivables shall be a bona fide and valid account representing
a bona fide indebtedness incurred by the Customer therein named, for a fixed sum as set forth in
the invoice relating thereto (provided immaterial or unintentional invoice errors shall not be
deemed to be a breach hereof) with respect to an absolute sale or lease and delivery of goods upon
stated terms of a Loan Party, or work, labor or services theretofore rendered by a Loan Party as of
the date each Receivable is created. Same shall be due and owing in accordance with the applicable
Loan Party’s standard terms of sale and, to the best of the applicable Loan Party’s knowledge,

                                                 94
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 182 of 388




without dispute, setoff or counterclaim except as may be stated on the accounts receivable
schedules delivered by the Loan Parties to Agent.

              (b)     Each Customer, to the best of each Loan Party’s knowledge, as of the date
each Receivable is created, is and will be solvent and able to pay all Receivables on which the
Customer is obligated in full when due. With respect to such Customers of any Loan Party who
are not solvent, such Loan Party has set up on its books and in its financial records bad debt
reserves adequate to cover such Receivables.

               (c)      Each Loan Party’s chief executive office is located as set forth on
Schedule 4.4(b)(iii) hereto (together with any updated provided pursuant to Section 9.17 hereof).
Until written notice is given to Agent by Borrowing Agent of any other office at which any Loan
Party keeps its records pertaining to Receivables, all such records shall be kept at such executive
office.

               (d)      The Loan Parties shall instruct their Customers to deliver all remittances
upon Receivables (whether paid by check or by wire transfer of funds) to such Blocked Accounts
and/or Depository Accounts (and any associated lockboxes) as Agent shall designate from time to
time as contemplated by Section 4.8(h) hereof or as otherwise agreed to from time to time by
Agent. Notwithstanding the foregoing, to the extent any Loan Party directly receives any
remittances upon Receivables, such Loan Party shall, at such Loan Party’s sole cost and expense,
but on Agent’s behalf and for Agent’s account, collect as Agent’s property and in trust for Agent
all amounts received on Receivables, and shall not commingle such collections with any Loan
Party’s funds or use the same except to pay the Obligations, and shall as soon as possible and in
any event no later than one (1) Business Day after the receipt thereof (i) in the case of remittances
paid by check, deposit all such remittances in their original form (after supplying any necessary
endorsements) and (ii) in the case of remittances paid by wire transfer of funds, transfer all such
remittances, in each case, into such Blocked Accounts and/or Depository Accounts. Each Loan
Party shall deposit in the Blocked Account and/or Depository Account or, upon request by Agent,
deliver to Agent, in original form and on the date of receipt thereof, all checks, drafts, notes, money
orders, acceptances, cash and other evidences of Indebtedness.

                (e)    At any time after the occurrence and during the continuance of an Event of
Default, Agent shall have the right to send notice of the assignment of, and Agent’s security interest
in and Lien on, the Collateral (other than Receivables) to any and all Customers or any third party
holding or otherwise concerned with any of the Collateral and to take possession of the Collateral,
or both. At any time, Agent shall have the right, exercised in its Permitted Discretion (except that
after the occurrence and during the continuance of an Event of Default such right shall be exercised
in Agent’s sole discretion) to send notice of the assignment of, and Agent’s security interest in and
Lien on, the Receivables to any and all Customers or any third party holding or otherwise
concerned with any of the Receivables and Agent shall have the sole right to collect the
Receivables. Agent’s actual collection expenses, including, but not limited to, stationery and
postage, telephone, facsimile, secretarial and clerical expenses and the salaries of any collection
personnel used for collection, may be charged to Borrowers’ Account and added to the
Obligations.



                                                  95
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 183 of 388




                (f)     Agent shall have the right, exercised in its Permitted Discretion (except that
after the occurrence and during the continuance of an Event of Default such right shall be exercised
in Agent’s sole discretion), to receive, endorse, assign and/or deliver in the name of Agent or any
Loan Party any and all checks, drafts and other instruments for the payment of money relating to
the Receivables, and each Loan Party hereby waives notice of presentment, protest and non-
payment of any instrument so endorsed. Each Loan Party hereby constitutes Agent or Agent’s
designee as such Loan Party’s attorney with power (i) at any time, in its Permitted Discretion
(except that after the occurrence and during the continuance of an Event of Default it shall be in
Agent’s sole discretion): (A) to endorse such Loan Party’s name upon any notes, acceptances,
checks, drafts, money orders or other evidences of payment or Collateral; (B) to sign such Loan
Party’s name on any invoice or bill of lading relating to any of the Receivables, drafts against
Customers, assignments and verifications of Receivables; (C) to send verifications of Receivables
to any Customer; (D) to sign such Loan Party’s name on all agreements, documents or instruments
deemed necessary or appropriate by Agent to preserve, protect, or perfect Agent’s interest in the
Collateral and to file same; and (E) to receive, open and dispose of all mail addressed to any Loan
Party at any post office box/lockbox maintained by Agent for the Loan Parties or at any other
business premises of Agent; and (ii) at any time following the occurrence of a Default or an Event
of Default: (A) to demand payment of the Receivables; (B) to enforce payment of the Receivables
by legal proceedings or otherwise; (C) to exercise all of such Loan Party’s rights and remedies
with respect to the collection of the Receivables and any other Collateral; (D) to sue upon or
otherwise collect, extend the time of payment of, settle, adjust, compromise, extend or renew the
Receivables; (E) to settle, adjust or compromise any legal proceedings brought to collect
Receivables; (F) to prepare, file and sign such Loan Party’s name on a proof of claim in bankruptcy
or similar document against any Customer; (G) to prepare, file and sign such Loan Party’s name
on any notice of Lien, assignment or satisfaction of Lien or similar document in connection with
the Receivables; (H) to accept the return of goods represented by any of the Receivables; (I) to
change the address for delivery of mail addressed to any Loan Party to such address as Agent may
designate; and (J) to do all other acts and things necessary to carry out this Agreement. All lawful
acts of said attorney or designee are hereby ratified and approved, and said attorney or designee
taken in accordance with the foregoing shall not be liable for any acts of omission or commission
nor for any error of judgment or mistake of fact or of law, unless done maliciously or with gross
(not mere) negligence (as determined by a court of competent jurisdiction in a final and non-
appealable judgment or order); this power being coupled with an interest is irrevocable while any
of the Obligations remain unpaid.

               (g)     Neither Agent nor any Lender shall, under any circumstances or in any
event whatsoever, have any liability for any error or omission or delay of any kind occurring in
the settlement, collection or payment of any of the Receivables or any instrument received in
payment thereof, or for any damage resulting therefrom.

                 (h)   Subject to the terms of the Intercreditor Agreement, all proceeds of
Collateral (other than Term Loan Priority Collateral) shall be deposited by the Loan Parties into
either (i) a lockbox account, dominion account or such other “blocked account” (each a “Blocked
Account” and collectively the “Blocked Accounts”) established at a bank or banks as may be
acceptable to Agent (each such bank, a “Blocked Account Bank” and collectively, “Blocked
Account Banks”) pursuant to an arrangement with such Blocked Account Bank as may be
acceptable to Agent or (ii) depository accounts established at Agent for the deposit of such

                                                 96
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 184 of 388




proceeds (“Depository Accounts”). Subject to Section 6.16(a) of this Agreement, each applicable
Loan Party, Agent and each Blocked Account Bank shall enter into a deposit account control or
blocked account agreement in form and substance reasonably satisfactory to Agent that is
sufficient to give Agent “control” (as if Agent’s security interest in such Blocked Accounts is able
to be perfected by “control” for purposes of Articles 8 and 9 of the Uniform Commercial Code)
over such Blocked Accounts and which directs such Blocked Account Bank to transfer such funds
so deposited on a daily basis or at other times acceptable to Agent, to Agent, either to any account
maintained by Agent at said Blocked Account Bank or by wire transfer to an appropriate account
at Agent. All funds deposited in the Blocked Accounts or Depository Accounts shall immediately
become subject to the security interest of Agent, for its own benefit and the ratable benefit of the
Secured Parties, and Borrowing Agent shall obtain the agreement by each Blocked Account Bank
to waive any offset rights against the funds so deposited. Neither Agent nor any Lender assumes
any responsibility for such blocked account arrangement, including any claim of accord and
satisfaction or release with respect to deposits accepted by any Blocked Account Bank thereunder.
Agent shall apply all funds received by it from the Blocked Accounts and/or Depository Accounts
to reduce the Prepetition Obligations or the Post-Petition Obligations in any order at the sole
discretion of Agent, subject to Borrowers’ ability to re-borrow Revolving Advances in accordance
with the terms hereof, provided that, in the absence of any Event of Default, Agent shall apply all
such funds representing collection of Receivables first to the prepayment of the principal amount
of the Swing Loans, if any, and then to the Revolving Advances. Furthermore, the parties hereto
hereby acknowledge, confirm and agree that the implementation of the cash management
arrangements is a contractual right provided to Agent and the Lenders hereunder in order for Agent
and the Lenders to manage and monitor their collateral position and not a proceeding for
enforcement or recovery of a claim, or pursuant to, or an enforcement of, any security or remedies
whatsoever, that the cash management arrangements contemplated herein are critical to the
structure of the lending arrangements contemplated herein, that Agent and Lenders are relying on
the Loan Parties’ acknowledgment, confirmation and agreement with respect to such cash
management arrangements in making accommodations of credit available to Borrowers and in
particular that any accommodations of credit are being provided by the Lenders to Borrowers
strictly on the basis of a borrowing base calculation to fully support and collateralize any such
accommodations of credit hereunder.

               (i)    No Loan Party will, without Agent’s consent, compromise or adjust any
material amount of the Receivables (or extend the time for payment thereof) or accept any material
returns of merchandise or grant any additional discounts, allowances or credits thereon except for
those compromises, adjustments, returns, discounts, credits and allowances as have been
heretofore customary in the Ordinary Course of Business of such Loan Party.

                 (j)     All deposit accounts (including all Blocked Accounts and Depository
Accounts), securities accounts and investment accounts of each Loan Party and its Subsidiaries
are set forth on Schedule 4.8(j) hereto. No Loan Party shall open any new deposit account,
securities account or investment account with a bank, depository institution or securities
intermediary other than Agent unless (i) the Loan Parties shall have obtained the prior written
approval of Agent and (ii) if required by Agent in its sole discretion, such bank, depository
institution or securities intermediary, each applicable Loan Party and Agent shall first have entered
into an account control or blocked account agreement in form and substance reasonably
satisfactory to Agent sufficient to give Agent “control” (as if Agent’s security interest in such

                                                 97
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23    Page 185 of 388




deposit account is able to be perfected by “control” for purposes of Articles 8 and 9 of the Uniform
Commercial Code) over such account other than an Excluded Deposit Account.

                (k)     Notwithstanding anything to the contrary contained herein, solely with
respect to the Canadian Loan Party Bank Accounts, Agent shall have the sole and exclusive right
to direct, and is hereby authorized to give instructions pursuant to any control agreement or
otherwise directing, the disposition of funds in the Blocked Accounts and Depository Accounts of
a Canadian Loan Party to Agent on a daily basis, either to a deposit account maintained at PNC or
by wire transfer to a deposit account by Agent at PNC, which such funds may be applied by Agent
to repay the Obligations, and, if an Event of Default has occurred and is continuing, to cash
collateralize outstanding Letters of Credit in accordance with Section 3.2(b) hereof. Agent shall
apply all funds received by it from the Blocked Accounts and/or Depository Accounts or a
Canadian Loan Party to the satisfaction of the Obligations (including the cash collateralization of
all Obligations relating to any outstanding Letters of Credit in accordance with the provisions of
Section3.2(b) hereof) in such order as Agent shall determine in its Permitted Discretion.

        4.10. Inventory. To the extent Inventory held for sale or lease has been produced by any
Loan Party, it has been and will be produced by such Loan Party in accordance with the Federal
Fair Labor Standards Act of 1938, as amended, modified or supplemented, in the case of Inventory
produced by any Loan Party in the United States, and, as the case may be, all rules, regulations
and orders thereunder and any equivalent legislation under Canadian Applicable Laws, in the
case of Inventory produced by any Loan Party in Canada.

        4.11. Maintenance of Equipment. The Loan Parties’ Equipment shall be maintained in
good operating condition and repair (reasonable wear and tear excepted) and all necessary
replacements of and repairs thereto shall be made so that the value and operating efficiency of its
Equipment shall be maintained and preserved. No Loan Party shall use or operate its Equipment
in violation of any law, statute, ordinance, code, rule or regulation, to the extent such violation
could reasonably be expected to result in a Material Adverse Effect.

       4.12. Exculpation of Liability. Nothing set forth herein shall be construed to constitute
Agent or any Lender as any Loan Party’s agent for any purpose whatsoever, nor shall Agent or
any Lender be responsible or liable for any shortage, discrepancy, damage, loss or destruction of
any part of the Collateral wherever the same may be located and regardless of the cause thereof.
Neither Agent nor any Lender, whether by anything herein or in any assignment or otherwise,
assume any of any Loan Party’s obligations under any contract or agreement assigned to Agent or
such Lender, and neither Agent nor any Lender shall be responsible in any way for the performance
by any Loan Party of any of the terms and conditions thereof.

        4.13. Financing Statements. Except with respect to the financing statements filed by
Agent, the financing statements described on Schedule 1.2 hereto, and any financing statements
filed in connection with Permitted Encumbrances, no financing statement covering any of the
Collateral or any proceeds thereof is or will be on file in any public office.

        4.14.   Investment Property Collateral.




                                                  98
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 186 of 388




                 (a)     Each Loan Party has the right to transfer all Investment Property, subject to
applicable securities laws and the rules of any applicable stock exchange, owned by such Loan
Party free of any Liens other than Permitted Encumbrances and will use commercially reasonable
efforts to defend its title to the Investment Property against the claims of all Persons. Each Loan
Party shall (i) ensure that each operating agreement, limited partnership agreement and any other
similar agreement permits Agent’s Lien on the Equity Interests of wholly-owned Subsidiaries
(other than Foreign Subsidiaries) arising thereunder, foreclosure of Agent’s Lien and admission of
any transferee as a member, limited partner or other applicable equity holder thereunder and (ii)
use commercially reasonable efforts to provide that each operating agreement, limited partnership
agreement and any other similar agreement with respect to any other Person permits Agent’s Lien
on the Investment Property of such Loan Party arising thereunder, foreclosure of Agent’s Lien and
admission of any transferee as a member, limited partner or other applicable equity holder
thereunder.

                (b)    Each Loan Party shall, if the Investment Property includes securities or any
other financial or other asset maintained in a securities account, cause the custodian with respect
thereto to execute and deliver a notification and control agreement or other applicable agreement
reasonably satisfactory to Agent in order to perfect and protect Agent’s Lien in such Investment
Property.

                (c)     Except as set forth in Article XI hereof, (i) the Loan Parties will have the
right to exercise all voting rights with respect to the Investment Property and (ii) the Loan Parties
will have the right to receive all cash dividends and distributions, interest and premiums declared
and paid on the Investment Property to the extent otherwise permitted under this Agreement. In
the event any additional Equity Interests are issued to any Loan Party as a stock dividend or
distribution or in lieu of interest on any of the Investment Property, as a result of any split of any
of the Investment Property, by reclassification or otherwise, any certificates evidencing any such
additional shares will be delivered to Agent within ten (10) Business Days and such shares will be
subject to this Agreement and a part of the Investment Property to the same extent as the original
Investment Property.

        4.15. Provisions Regarding Certain Investment Property Collateral. The operating
agreement or limited partnership agreement (as applicable) of any Subsidiary (other than a Foreign
Subsidiary) of any Loan Party hereafter formed or acquired that is a limited liability company or
a limited partnership, shall contain the following language (or language to the same effect): “The
members of the Company and the Company expressly authorize the pledge of the Membership
Interests (the “Pledged Collateral”) to one or more security agents, collateral agents or other agents
for lenders to, or purchasers purchasing notes issued by, the Company and/or its affiliates (any
such agents or purchasers in such capacity, together with each of their respective successors and
assigns, collectively and individually as the context may require, “Agent”) and Agent’s successors
and assigns, or to any foreclosure upon or subsequent disposition of such Pledged Collateral by
Agent in accordance with the terms and conditions of the security documents governing the pledge
of the Pledged Collateral, including any limitations thereon set forth therein (each, a “Transfer”).
In connection with such Transfer, the assignee shall be admitted as a member and shall have all of
the rights and powers (including without limitation voting, control, consent, approval and
management rights) of the member that previously owned such Membership Interests without any
further consent of any member (including without limitation, the right to remove any or all of the

                                                 99
074658.23049/132216381v.5
              Case 23-10961-BLS       Doc 13-1     Filed 07/22/23      Page 187 of 388




managers of the Company and appoint any representatives or designees of Agent to be a manager
and any limitations contained in this Agreement inconsistent with the provisions of the security
documents or this Section shall be deemed waived, void and of no further force and effect until all
obligations of any nature owing from the Company, its direct or indirect parent entities, and/or its
direct or indirect subsidiaries, to the Agent and the lenders and/or note purchasers for which the
Agent serves as agent have been paid in full).”

        4.16. Superpriority Claims and Collateral Security. Each Debtor hereby represents,
warrants and covenants that, upon the entry by the Bankruptcy Court of the Interim Order and/or
the Final Order, as applicable, the Obligations are entitled to superpriority Liens and claims to the
extent provided by [Section 7 of the Interim Order]2 and, once entered, the Final Order.

        4.17. No Filings Required. The Liens securing the Obligations of the Debtors shall be
deemed valid and perfected and duly recorded by entry of the Interim Order. Agent shall not be
required to file any financing statements, mortgages, notices of Lien or similar instruments in any
jurisdiction or filing office or to cause any account control agreements to be entered into by any
otherwise applicable parties with respect to any deposit account or securities account or to take
any other action in order to validate or perfect the Lien granted by or pursuant to the Interim Order,
the Final Order, this Agreement or any Other Document.

       4.18. Grants, Rights and Remedies. The Lien and administrative priority granted by or
pursuant to the Interim Order, the Final Order, this Agreement or any Other Document are
independently granted. The Interim Order, the Final Order, this Agreement and the Other
Documents supplement each other, and the grants, priorities, rights and remedies of Agent and
Lenders hereunder and thereunder are cumulative.

V.        REPRESENTATIONS AND WARRANTIES.

       To induce the Secured Parties to enter into this Agreement and to make Advances
hereunder, each Loan Party represents and warrants to the Agent and the Lenders, that:

        5.1.   Authority. Subject to entry by the Bankruptcy Court of the Interim Order and the
Final Order, as applicable, each Loan Party has full power, authority and legal right to enter into
this Agreement and the Other Documents to which it is a party and to perform all its respective
Obligations hereunder and thereunder. This Agreement and the Other Documents to which it is a
party have been duly executed and delivered by each Loan Party, and subject to entry by the
Bankruptcy Court of the Interim Order and the Final Order, as applicable, this Agreement and the
Other Documents to which it is a party constitute the legal, valid and binding obligation of such
Loan Party enforceable in accordance with their terms. Subject to entry by the Bankruptcy Court
of the Interim Order and the Final Order, as applicable, the execution, delivery and performance
of this Agreement and of the Other Documents to which it is a party (a) are within such Loan
Party’s corporate or company powers, as applicable, have been duly authorized by all necessary
corporate or company action, as applicable, are not in contravention of law or the terms of such
Loan Party’s Organizational Documents or to the conduct of such Loan Party’s business or of any
Material Contract or undertaking to which such Loan Party is a party or by which such Loan Party

2
    NTD: Check section reference

                                                 100
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 188 of 388




is bound, including the DIP Term Loan Documents, the Prepetition Term Loan Documents and
the Wynnefield Loan Documents, (b) will not conflict with or violate any law or regulation, or any
judgment, order or decree of any Governmental Body, (c) will not require the Consent of any
Governmental Body, any party to a Material Contract or any other Person, and (d) will not conflict
with, nor result in any breach in any of the provisions of or constitute a default under or result in
the creation of any Lien except Permitted Encumbrances upon any asset of such Loan Party under
the provisions of any agreement, instrument, or other document to which such Loan Party is a
party or by which it or its property is a party or by which it may be bound, including the DIP Term
Loan Documents, the Prepetition Term Loan Documents and the Wynnefield Loan Documents.

        5.2.    Formation and Qualification.

               (a)     Each Loan Party is duly incorporated or formed, as applicable, and in good
standing under the laws of the state or province listed on Schedule 5.2(a) hereto and is qualified to
do business and is in good standing in the states or provinces listed on Schedule 5.2(a) hereto
which constitute all states and provinces in which qualification and good standing are necessary
for such Loan Party to conduct its business and own its property and where the failure to so qualify
could reasonably be expected to have a Material Adverse Effect on such Loan Party. Each Loan
Party has delivered to Agent true and complete copies of its Organizational Documents and,
subject in certain instances to Section 7.15, will promptly notify Agent of any amendment or
changes thereto.

               (b)     The only Subsidiaries of the Loan Parties are listed on Schedule 5.2(b)
hereto. Schedule 5.2(b) hereto sets forth a true, complete and correct list of all Equity Interests
held by Holdings and each Loan Party in each of its Subsidiaries and (ii) includes a true, correct
and complete listing of all certificates evidencing all Equity Interests held by Holdings and each
Loan Party in each of its Subsidiaries.

        5.3.     Survival of Representations and Warranties. All representations and warranties of
such Loan Party in this Agreement and the Other Documents to which it is a party shall be true
and correct in all material respects at the time of such Loan Party’s execution of this Agreement
and the Other Documents to which it is a party, and shall survive the execution, delivery and
acceptance thereof by the parties thereto and the closing of the transactions described therein or
related thereto.

        5.4.    Tax Returns. Each Loan Party’s federal tax identification number and/or Canadian
business number (where applicable) is set forth on Schedule 5.4 hereto. Each Loan Party has filed
all federal, state, Canadian, provincial and other material local Tax returns and other material
reports each is required by law to file and has paid all such Taxes, assessments, fees and other
governmental charges that are due and payable, except those which are being Properly Contested
or the nonpayment of which is permitted or required by the Bankruptcy Court. The provision for
Taxes on the books of each Loan Party is adequate for all years not closed by applicable statutes,
and for its current fiscal year, and no Loan Party has any actual knowledge of any deficiency or
additional assessment in connection therewith not provided for on its books.

        5.5.    [Reserved].



                                                101
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 189 of 388




       5.6.     Entity Names. No Loan Party has been known by any other company or corporate
name, as applicable, in the past five (5) years and does not sell Inventory under any other name
except as set forth on Schedule 5.6 hereto, nor has any Loan Party been the surviving corporation
or limited liability company, as applicable, of a merger or consolidation or acquired all or
substantially all of the assets of any Person during the preceding five (5) years.

        5.7.    O.S.H.A. Environmental Compliance; Flood Insurance.

               (a)     Except as set forth on Schedule 5.7 hereto, each Loan Party is in compliance
with, and its facilities, business, assets, property, Leasehold Interests, Real Property and
Equipment are (to the extent applicable) in compliance with the Federal Occupational Safety and
Health Act, and Environmental Laws and there are no outstanding citations, notices or orders of
non-compliance issued to any Loan Party or relating to its business, assets, property, leaseholds or
Equipment under any such laws, rules or regulations, except where such non-compliance, citation,
notice or order could not reasonably be expected to result in a Material Adverse Effect.

               (b)    Except as set forth on Schedule 5.7 hereto, each Loan Party (to the extent
applicable) has been issued all required federal, Canadian, state, provincial, territorial and local
licenses, certificates or permits (collectively, “Approvals”) relating to all applicable
Environmental Laws and all such Approvals are current and in full force and effect, except to the
extent those which have not been issued or are not current and in full force and effect and the
consequences thereof could not reasonably be expected to result in a Material Adverse Effect.

               (c)    Except as set forth on Schedule 5.7 hereto, and except where the
consequences thereof could not reasonably be expected to result in a Material Adverse Effect: (i)
there have been no releases, spills, discharges, leaks or disposal (collectively referred to as
“Releases”) of Hazardous Materials at, upon, under or migrating from or onto any Real Property
owned, leased or occupied by any Loan Party, except for those Releases which are in full
compliance with Environmental Laws; (ii) there are no underground storage tanks or
polychlorinated biphenyls on any Real Property owned, leased or occupied by any Loan Party,
except for such underground storage tanks or polychlorinated biphenyls that are present in
compliance with Environmental Laws; (iii) all of the Real Property owned, leased or occupied by
any Loan Party has never been used by any Loan Party to dispose of Hazardous Materials, except
as authorized by Environmental Laws; and (iv) no Hazardous Materials are managed by any Loan
Party on any Real Property owned, leased or occupied by any Loan Party, excepting such
quantities as are managed in accordance with all applicable manufacturer’s instructions and
compliance with Environmental Laws and as are necessary for the operation of the commercial
business of any Loan Party or of its tenants.

               (d)    All Real Property owned by the Loan Parties is insured pursuant to policies
and other bonds which are valid and in full force and effect and which provide adequate coverage
from reputable and financially sound insurers in amounts sufficient to insure the assets and risks
of each such Loan Party in accordance with prudent business practice in the industry of such Loan
Party. Each Loan Party has (to the extent applicable) taken all actions required under the Flood
Laws and/or requested by Agent to assist in ensuring that each Lender is in compliance with the
Flood Laws applicable to the Collateral, including, but not limited to, providing Agent with the
address and/or GPS coordinates of each structure located upon any Material Owned Real Property

                                                102
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1     Filed 07/22/23   Page 190 of 388




that will be subject to a mortgage or deed of trust in favor of Agent, and, to the extent required,
obtaining flood insurance for such property, structures and contents prior to such property,
structures and contents becoming Collateral.

        5.8.    No Litigation, Violation, Indebtedness or Default; ERISA Compliance.

                (a)         [Reserved].

                (b)    Except as disclosed in Schedule 5.8(b) hereto and except for the Cases, no
Loan Party has any pending or, to any Loan Party’s knowledge, threatened litigation, arbitration,
actions or proceedings that (i) would be reasonably be expected to result in Material Adverse
Effect or (ii) could affect the legality, validity or enforceability of this Agreement, any Other
Document or the DIP Term Loan Documents, the Wynnefield Loan Documents or the
consummation of the Transactions.

                (c)   No Loan Party has any outstanding Indebtedness other than the Obligations,
except for (i) Indebtedness disclosed in Schedule 5.8(c) hereto and (ii) Indebtedness otherwise
permitted under Section 7.8 hereof.

               (d)     No Loan Party is in violation of any applicable statute, law, rule, regulation
or ordinance in any respect which could reasonably be expected to have a Material Adverse Effect,
nor is any Loan Party in violation of any order of any court, Governmental Body or arbitration
board or tribunal.

                (e)      No Loan Party or any member of the Controlled Group maintains or is
required to contribute to any Plan other than those listed on Schedule 5.8(e) hereto. Each Plan is
in compliance in all material respects with the applicable provisions of ERISA, the Internal
Revenue Code and other Applicable Laws and, except as would not reasonably be expected to
result, individually or in the aggregate, in a Material Adverse Effect: (i) Each Loan Party and each
member of the Controlled Group has met all applicable minimum funding requirements under
Section 302 of ERISA and Section 412 of the Internal Revenue Code in respect of each Pension
Benefit Plan, and each Pension Benefit Plan is in compliance with Sections 412, 430 and 436 of
the Internal Revenue Code and Sections 206(g), 302 and 303 of ERISA, without regard to waivers
and variances; (ii) each Plan which is intended to be a qualified plan under Section 401(a) of the
Internal Revenue Code as currently in effect has been determined by the Internal Revenue Service
to be qualified under Section 401(a) of the Internal Revenue Code and the trust related thereto is
exempt from federal income tax under Section 501(a) of the Internal Revenue Code or an
application for such a determination is currently being processed by the Internal Revenue Code or
the Plan is the subject of a favorable opinion or advisory letter from the Internal Revenue Service
on the form of such Plan; (iii) neither any Loan Party nor any member of the Controlled Group has
incurred any liability to the PBGC other than for the payment of premiums, and there are no
premium payments which have become due which are unpaid; (iv) no Pension Benefit Plan has
been terminated by the plan administrator thereof nor by the PBGC, and there is no occurrence
which would reasonably be expected to cause the PBGC to institute proceedings under Title IV of
ERISA to terminate any Pension Benefit Plan; (v) the current value of the assets of each Pension
Benefit Plan exceeds the present value of the accrued benefits and other liabilities of such Pension
Benefit Plan and neither any Loan Party nor any member of the Controlled Group knows of any

                                                     103
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 191 of 388




facts or circumstances which would materially change the value of such assets and accrued benefits
and other liabilities; (vi) neither any Loan Party nor any member of the Controlled Group has
breached any of the responsibilities, obligations or duties imposed on it by ERISA with respect to
any Plan; (vii) neither any Loan Party nor any member of the Controlled Group has incurred any
liability for any excise tax arising under Section 4971, 4972 or 4980B of the Internal Revenue
Code; (viii) neither any Loan Party nor any member of the Controlled Group nor any fiduciary of,
nor any trustee to, any Plan, has engaged in a “prohibited transaction” described in Section 406 of
ERISA or Section 4975 of the Internal Revenue Code nor taken any action which would constitute
or result in a Termination Event with respect to any such Plan which is subject to ERISA; (ix) no
Termination Event has occurred or is reasonably expected to occur; (x) there exists no Reportable
ERISA Event; (xi) neither any Loan Party nor any member of the Controlled Group has engaged
in a transaction that would reasonably be subject to Section 4069 or 4212(c) of ERISA; (xii) neither
any Loan Party nor any member of the Controlled Group maintains or is required to contribute to
any Plan which provides health, accident or life insurance benefits to former employees, their
spouses or dependents, other than in accordance with Section 4980B of the Internal Revenue Code;
(xiii) neither any Loan Party nor any member of the Controlled Group has withdrawn, completely
or partially, within the meaning of Section 4203 or 4205 of ERISA, from any Multiemployer Plan
so as to incur liability under the Multiemployer Pension Plan Amendments Act of 1980 and there
exists no fact which would reasonably be expected to result in any such liability; and (xiv) no Plan
fiduciary (as defined in Section 3(21) of ERISA) has any liability for breach of fiduciary duty or
for any failure in connection with the administration or investment of the assets of a Plan.

                (f)     Schedule 5.8(f) lists each Canadian Pension Plan (including the applicable
registration number(s) and any such plan which contains a defined benefit provision), as such term
is defined in subsection 147.1(1) of the Income Tax Act (Canada) and, except as could not
reasonably result in a Material Adverse Effect, (i) none of the Canadian Benefit Plans provide
retiree welfare benefits or retiree life insurance benefits; (ii) the Canadian Pension Plans are
registered under the Income Tax Act (Canada) and all other Applicable Laws which require
registration and to the knowledge of the Loan Parties, no event has occurred which is reasonably
likely to cause the loss of such registered status; (iii) except as could not reasonably be expected
to result in a Material Adverse Effect, all material obligations of each of the Loan Parties required
to be performed in connection with the Canadian Pension Plans have been performed in a timely
fashion, in accordance with the terms of the particular plan, Applicable Law and the terms of all
applicable collective bargaining agreements, participation agreements, employment contracts and
funding agreements; (iv) except as could not reasonably be expected to result in a Material Adverse
Effect, all employer and employee payments and contributions (including “normal cost”, “special
payments” and any other required payments in respect of any funding deficiencies or shortfalls)
required to be withheld, made, remitted or paid by the Loan Parties to or in respect of each
Canadian Pension Plan have been withheld, made, remitted or paid on a timely basis in accordance
with the terms of such plans, any applicable collective bargaining agreement, participation
agreement, employment contract and all Applicable Law; (v) to the knowledge of the Loan Parties,
no condition exists and no event or transaction has occurred with respect to any Canadian Pension
Plan that is reasonably likely to result in any Loan Party incurring any liability, fine or penalty;
(vi) no Lien has arisen or exists in respect of a Loan Party or its property in connection with any
Canadian Pension Plan; (vii) to the knowledge of the Loan Parties, there are no material
outstanding disputes concerning the assets or liabilities of any Canadian Pension Plan; and (viii)
no Loan Party has taken any action or intends to take any action to cause the termination or wind-

                                                104
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 192 of 388




up, in whole or in part, of any Canadian Pension Plan that contains a defined benefit provision as
such term is defined in subsection 147.1(1) of the Income Tax Act (Canada) and each Loan Party
is of the reasonable opinion that no circumstances exist or are expected to arise that would provide
any basis for a Governmental Body under Applicable Law to take steps to cause the termination
or wind-up, in whole or in part, of any Canadian Pension Plan.

               (g)    No Loan Party currently participates in, contributes to or is obligated to
contribute to a pension plan that, if contributed to by a Loan Party would constitute a Canadian
Union Plan.

        5.9. Intellectual Property. All Intellectual Property owned or utilized by any Loan
Party: (a) is set forth on Schedule 5.9 hereto; and (b) constitutes all of the intellectual property
rights which are necessary for the operation of its business. Except, in each case, as would not,
individually or in the aggregate, be reasonably likely to have a Material Adverse Effect: (i) such
Intellectual Property is valid and has been duly registered or filed with all appropriate
Governmental Bodies; (ii) there is no objection to, pending challenge to the validity of, or
proceeding by any Governmental Body to suspend, revoke, terminate or adversely modify, any
such Intellectual Property and no Loan Party is aware of any grounds for any challenge or
proceedings, except as set forth in Schedule 5.9 hereto; (iii) such Intellectual Property owned or
held by any Loan Party consists of original material or property developed by such Loan Party or
was lawfully acquired by such Loan Party from the proper and lawful owner thereof; and (iv) each
of such items has been maintained so as to preserve the value thereof from the date of creation or
acquisition thereof, other than with respect to such Intellectual Property that, in the reasonable
judgment of such Loan Party, is determined to be uneconomical, negligible or obsolete in the
conduct of its business.

         5.10. Licenses and Permits. Except as set forth in Schedule 5.10 hereto, each Loan Party
(a) is in compliance with and (b) has procured and is now in possession of, all material licenses or
permits required by any applicable federal, state, provincial or local law, rule or regulation for the
operation of its business in each jurisdiction wherein it is now conducting or proposes to conduct
business and where the failure to comply with or procure such licenses or permits could reasonably
be expected to have a Material Adverse Effect.

        5.11.   [Reserved]

        5.12.   EEA Financial Institution. No Loan Party is an EEA Financial Institution.

         5.13. No Burdensome Restrictions. No Loan Party is party to any contract or agreement
the performance of which could reasonably be expected to have a Material Adverse Effect. As of
the Closing Date, each Loan Party has heretofore delivered to Agent true and complete copies of
all Material Contracts to which it is a party or to which it or any of its properties is subject. No
Loan Party has agreed or consented to cause or permit in the future (upon the happening of a
contingency or otherwise) any of its property, whether now owned or hereafter acquired, to be
subject to a Lien which is not a Permitted Encumbrance, except pursuant to customary provisions
restricting pledges, assignments, subletting or other transfers contained in leases, licenses and
similar agreements entered in the Ordinary Course of Business (provided that such restrictions are
limited to the property or assets subject to such leases, licenses or agreements).

                                                 105
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 193 of 388




        5.14. No Labor Disputes. No Loan Party is involved in any labor dispute; there are no
strikes or walkouts or union organization of any Loan Party’s employees in existence or, to any
Loan Party’s knowledge, threatened, that, individually or in the aggregate, would reasonably be
expected to have a Material Adverse Effect, and no labor contract is scheduled to expire during
the Term other than as set forth on Schedule 5.14 hereto.

        5.15. Margin Regulations. No Loan Party is engaged, nor will it engage, principally or
as one of its important activities, in the business of extending credit for the purpose of “purchasing”
or “carrying” any “margin stock” within the respective meanings of each of the quoted terms under
Regulation U of the Board of Governors of the Federal Reserve System as now and from time to
time hereafter in effect. No part of the proceeds of any Advance will be used for “purchasing” or
“carrying” “margin stock” as defined in Regulation U of such Board of Governors.

        5.16. Investment Company Act. No Loan Party is an “investment company” registered
or required to be registered under the Investment Company Act of 1940, as amended, nor is it
controlled by such a company.

       5.17. Swaps. No Loan Party is a party to, nor will it be a party to, any swap agreement
whereby such Loan Party has agreed or will agree to swap interest rates or currencies unless same
provides that damages upon termination following an event of default thereunder are payable on
an unlimited “two-way basis” without regard to fault on the part of either party.

        5.18. Business and Property of the Loan Parties. Upon and after the Closing Date, the
Loan Parties do not propose to engage in any business that is fundamentally and substantively
different from their existing lines of business conducted by them on the Closing Date, taken as a
whole, other than activities reasonably related, complementary or ancillary to such existing lines
of business or reasonable extensions thereof. On the Closing Date, each Loan Party will own all
the property and possess all of the rights and Consents necessary for the conduct of the business
of such Loan Party.

        5.19. Ineligible Securities. The Loan Parties do not intend to use and shall not use any
portion of the proceeds of the Advances, directly or indirectly, to purchase during the underwriting
period, or for 30 days thereafter, Ineligible Securities being underwritten by a securities Affiliate
of Agent or any Lender.

        5.20. Federal Securities Laws. No Loan Party (other than Holdings) or any of its
Subsidiaries (a) is required to file periodic reports under the Exchange Act, (b) has any securities
registered under the Exchange Act or (c) has filed a registration statement that has not yet become
effective under the Securities Act.

       5.21. Equity Interests. The authorized and outstanding Equity Interests of each Loan
Party (other than Holdings), and each legal and beneficial holder thereof are as set forth on
Schedule 5.21 hereto. All of the Equity Interests of each Loan Party have been duly and validly
authorized and issued and are fully paid and non-assessable and have been sold and delivered to
the holders hereof in compliance with, or under valid exemption from, all federal and state and
provincial laws and the rules and regulations of each Governmental Body governing the sale and
delivery of securities. Except for the rights and obligations set forth on Schedule 5.21 hereto, there


                                                 106
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 194 of 388




are no subscriptions, warrants, options, calls, commitments, rights or agreement by which any
Loan Party or any of the shareholders of any Loan Party is bound relating to the issuance, transfer,
voting or redemption of shares of its Equity Interests or any pre-emptive rights held by any Person
with respect to the Equity Interests of the Loan Parties. Except as set forth on Schedule 5.21
hereto, the Loan Parties have not issued any securities convertible into or exchangeable for shares
of its Equity Interests or any options, warrants or other rights to acquire such shares or securities
convertible into or exchangeable for such shares.

        5.22. Commercial Tort Claims. No Loan Party has any commercial tort claims except as
set forth on Schedule 5.22 hereto.

        5.23. Letter of Credit Rights. As of the Closing Date, no Loan Party has any letter of
credit rights except as set forth on Schedule 5.23 hereto.

       5.24. Material Contracts. Schedule 5.24 hereto sets forth all Material Contracts of the
Loan Parties, which, together with any updates provided pursuant to Section 9.17, are in full force
and effect and no material defaults currently exist thereunder. No Loan Party has (i) received any
notice of termination or non-renewal of any Material Contract, or (ii) exercised any option to
terminate or not to renew any Material Contract, in each case of clauses (i) and (ii) above, prior to
the scheduled maturity or termination thereof, and other than as a result of the satisfaction of all
contractual obligations thereunder, as applicable.

         5.25. Investment Property Collateral. (a) There are no restrictions on the pledge or
transfer of any of the Subsidiary Stock other than restrictions referenced on the face of any
certificates evidencing such Subsidiary Stock, restrictions under Applicable Law or restrictions
stated in the Organizational Documents of such Loan Party with respect thereto, as applicable;
(b) each Loan Party is the legal owner of the Investment Property pledged by it hereunder, which
is registered in the name of such Loan Party, a custodian or a nominee; (c) the Investment Property
is free and clear of any Liens except for Permitted Encumbrances which, in the case of any
Investment Property constituting certificated securities, do not have priority over the Liens of
Agent thereon; and (d) the pledge of and grant of the security interest in the Investment Property
is effective to vest in Agent a valid security interest therein.

        5.26. DIP Term Loan Documents/Wynnefield Loan Documents. Agent has received
true, correct and complete copies of the DIP Term Loan Documents and the Wynnefield Loan
Documents. None of the DIP Term Loan Documents nor the Wynnefield Loan Documents has
been amended or supplemented, nor have any of the provisions thereof been waived, except
pursuant to a written agreement or instrument which has heretofore been delivered to Agent.

        5.27. Certificate of Beneficial Ownership. The Certificate of Beneficial Ownership
executed and delivered to Agent and Lenders for each Loan Party (other than Holdings) on or prior
to the Closing Date, as updated from time to time in accordance with this Agreement, is accurate,
complete and correct as of the date hereof and as of the date any such update is delivered. The
Loan Parties acknowledge and agree that the Certificate of Beneficial Ownership is one of the
Other Documents.




                                                107
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 195 of 388




       5.28. Disclosure. No representation or warranty made by any Loan Party in this
Agreement, the Other Documents, the DIP Term Loan Documents, the Wynnefield Loan
Documents or in any financial statement, report, certificate or any other document delivered in
connection herewith or therewith contains when furnished any untrue statement of a material fact
or omits to state any material fact necessary to make the statements herein or therein not
misleading. There is no fact known to any Loan Party or which should be known to such Loan
Party which such Loan Party has not disclosed to Agent in writing with respect to the Transactions
which could reasonably be expected to have a Material Adverse Effect.

       5.29. Braden Holdings. Holdings is a holding company and does not engage in any
operations or business, other than (a) the ownership of 99.998% of the outstanding Equity Interests
in Braden Mexico, (b) maintaining its corporate existence pending its dissolution pursuant to
Section 6.16(d) hereof, and (c) liabilities, assets, operations and business incidental to the
foregoing.

        5.30. Sanctions and other Anti-Terrorism Laws. No (a) Covered Entity, nor any
employees, officers, directors, affiliates, consultants, brokers or agents acting on a Covered
Entity’s behalf in connection with this Agreement: (i) is a Sanctioned Person; (ii) directly, or
indirectly through any third party, is engaged in any transactions or other dealings with or for the
benefit of any Sanctioned Person or Sanctioned Jurisdiction, or any transactions or other dealings
that otherwise are prohibited by any Anti-Terrorism Laws; (b) Collateral is Embargoed Property.

       5.31. Anti-Corruption Laws. Each Covered Entity has (a) conducted its business in
compliance with all Anti-Corruption Laws and (b) has instituted and maintains policies and
procedures designed to ensure compliance with such Laws.

         5.32. Budget. The Initial Budget was prepared in good faith by a Responsible Officer of
each Debtor and based upon assumptions which were reasonable in light of the conditions existing
at the time of delivery thereof and reflect each Debtor’s reasonable estimate of its future financial
performance for such period, it being understood that projections by their nature are inherently
uncertain and the results reflected therein may not actually be achieved and actual results may
differ and differences may be material.

VI.     AFFIRMATIVE COVENANTS.

     Each Loan Party shall, until the Payment in Full of the Obligations, the termination of the
Commitments and the termination of this Agreement:

       6.1.     Compliance with Laws. Comply in all material respects with all Applicable Laws
with respect to the Collateral or any part thereof or to the operation of such Loan Party’s business
the non-compliance with which could reasonably be expected to have a Material Adverse Effect
(except to the extent any separate provision of this Agreement shall expressly require compliance
with any particular Applicable Laws pursuant to another standard).

        6.2.   Conduct of Business and Maintenance of Existence and Assets. (a) Conduct
continuously and operate actively its business according to good business practices and maintain
all of its properties useful or necessary in its business in good working order and condition


                                                108
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 196 of 388




(reasonable wear and tear excepted and except as may be disposed of in accordance with the terms
of this Agreement), including all Intellectual Property and take all actions necessary to enforce and
protect the validity of any Intellectual Property right or other right included in the Collateral;
(b) keep in full force and effect its existence and comply in all material respects with all Applicable
Laws governing the conduct of its business where the failure to do so could reasonably be expected
to have a Material Adverse Effect; and (c) make all such reports and pay all such franchise and
other taxes and license fees and do all such other acts and things as may be lawfully required to
maintain its rights, licenses, leases, powers and franchises under the laws of the United States or
Canada any political subdivision thereof; provided, that nothing in this Section 6.2 shall prevent
any Loan Party from discontinuing operations of its Subsidiaries that are not Loan Parties or its
Inactive Subsidiaries in accordance with the terms of this Agreement or maintaining any of the
property of its Subsidiaries that are not Loan Parties or its Inactive Subsidiaries if such
discontinuance is, in the business judgment of such Loan Party, desirable in the conduct of its
Subsidiary’s business and is not materially adverse to the Lenders.

        6.3. Books and Records; Inspection Rights. (a) Keep proper books of record and
account in which full, true and correct entries will be made in all material respects of all dealings
or transactions of or in relation to its business and affairs (including without limitation accruals for
taxes, assessments, Charges, levies and claims, allowances against doubtful Receivables and
accruals for depreciation, obsolescence or amortization of assets), all in accordance with, or as
required by, GAAP consistently applied in the opinion of such independent public accountant as
shall then be regularly engaged by the Loan Parties.

        (b)     Permit any representatives designated by the Agent or any Lender (including
employees of the Agent, any Lender or any consultants, accountants, lawyers, agents and
appraisers retained by the Agent), upon reasonable prior notice, to visit and inspect its properties,
to conduct at such Loan Party’s premises field examinations of such Loan Party’s assets, liabilities,
books and records, including examining and making extracts from its books and records,
environmental assessment reports and Phase I or Phase II studies, and to discuss its affairs, finances
and condition with its officers and independent accountants, all at such reasonable times and as
often as reasonably requested.

        6.4.    Payment of Taxes. Pay, when due, all Priority Payables and all Taxes, assessments
and other Charges lawfully levied or assessed upon such Loan Party or any of the Collateral,
including real and personal property taxes, assessments and charges and all franchise, income,
employment, social security benefits, withholding and sales Taxes; provided that no Loan Party
shall be required to pay any Tax obligation which is being Properly Contested unless and until the
non-payment of such Tax obligation results in a Lien attaching to such Loan Party’s property, at
which time such Loan Party shall immediately pay the full amount of such Tax obligation. Subject
to the foregoing sentence, if any Taxes, assessments or other Charges remain unpaid after the final
date fixed for their payment, or if any claim shall be made which, in Agent’s reasonable opinion,
may possibly create a valid Lien on the Collateral, Agent may without notice to the Loan Parties
pay the Taxes, assessments or other Charges and each Loan Party hereby indemnifies and holds
Agent and each Lender harmless in respect thereof. Agent will not pay any Taxes, assessments or
Charges to the extent that any applicable Loan Party has Properly Contested those Taxes,
assessments or Charges. The amount of any payment by Agent under this Section 6.4 shall be
charged to Borrowers’ Account as a Revolving Advance maintained as a Domestic Rate Loan and

                                                 109
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 197 of 388




added to the Obligations and, until the Loan Parties shall provide Agent with an indemnity therefor
(or supply Agent with evidence reasonably satisfactory to Agent that due provision for the payment
thereof has been made), Agent may hold without interest any balance standing to the Loan Parties’
credit and Agent shall retain its security interest in and Lien on any and all Collateral held by
Agent.

        6.5.    Use of Proceeds.

               (a)     The Borrowers will use the proceeds of the Advances for the purposes set
forth in Section 2.21. Notwithstanding anything in this Agreement to the contrary, neither the
Borrower nor any Credit Party may use the proceeds of the Advances or the proceeds of any
Revolving Priority Collateral to pay down any Obligations under and as defined in the DIP Term
Loan Credit Agreement or the DIP Term Loan Credit Documents, including, without limitation,
any voluntary or mandatory prepayments thereunder.

              (b)    No portion of the proceeds of any Advance will be used by the Borrowers
in any manner, whether directly or indirectly, that causes or could reasonably be expected to cause
any such Advance or the application of any such proceeds to violate Regulation T, Regulation U
or Regulation X or any other regulation of the Board of Governors of the United States Federal
Reserve System.

        6.7.    Insurance.

                 (a)    (i) Keep all its insurable properties and properties in which such Loan Party
has an interest insured against the hazards of fire, flood, sprinkler leakage, those hazards covered
by extended coverage insurance and such other hazards, and for such amounts, as is customary in
the case of companies in similar locations engaged in businesses similar to such Loan Party’s
including business interruption insurance; (ii) maintain a bond in such amounts as is customary in
the case of companies in similar locations engaged in businesses similar to such Loan Party
insuring against larceny, embezzlement or other criminal misappropriation of insured’s officers
and employees who may either singly or jointly with others at any time have access to the assets
or funds of such Loan Party either directly or through authority to draw upon such funds or to
direct generally the disposition of such assets; (iii) maintain public and product liability insurance
against claims for personal injury, death or property damage suffered by others; (iv) maintain all
such worker’s compensation or similar insurance as may be required under the laws of any state
or jurisdiction in which such Loan Party is engaged in business; and (v) deliver to Agent (A) copies
of all policies and evidence of the maintenance of such policies by the renewal thereof at least
thirty (30) days before any expiration date, and (B) appropriate loss payable endorsements in form
and substance satisfactory to Agent, naming Agent as an additional insured, lender loss payee and,
with respect to coverage on Material Owned Real Property, mortgagee, as applicable, as its
interests may appear with respect to all insurance coverage referred to in clauses (i) and (iii) above,
and providing (I) that all proceeds thereunder shall be payable to Agent, (II) no such insurance
shall be affected by any act or neglect of the insured or owner of the property described in such
policy, and (III) that such policy and loss payable clauses may not be cancelled, amended or
terminated unless at least thirty (30) days prior written notice is given to Agent (or in the case of
non-payment, at least ten (10) days prior written notice). In the event of any loss thereunder, the
carriers named therein hereby are directed by Agent and the applicable Loan Party to make

                                                 110
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 198 of 388




payment for such loss to Agent and not to such Loan Party and Agent jointly. If any insurance
losses are paid by check, draft or other instrument payable to any Loan Party and Agent jointly,
Agent may endorse such Loan Party’s name thereon and do such other things as Agent may deem
advisable to reduce the same to cash.

                (b)    Each Loan Party shall take all actions required under the Flood Laws and/or
requested by Agent to assist in ensuring that each Lender is in compliance with the Flood Laws
applicable to the Collateral, including, but not limited to, providing Agent with the address and/or
GPS coordinates of each structure on any Material Owned Real Property that will be subject to a
mortgage or deed of trust in favor of Agent, and, to the extent required, obtaining flood insurance
for such property, structures and contents prior to such property, structures and contents becoming
Collateral, and thereafter maintaining such flood insurance in full force and effect for so long as
required by the Flood Laws.

                 (c)    Agent is hereby authorized to adjust and compromise claims under
insurance coverage referred to in Sections 6.6(a)(i) and (iii) and 6.6(b) above and, subject to the
Intercreditor Agreement, all loss recoveries received by Agent under any such insurance may be
applied to the Obligations, in such order as Agent in its sole discretion shall determine. Any
surplus shall be paid by Agent to the Loan Parties or applied as may be otherwise required by law.
Any deficiency thereon shall be paid by the Loan Parties to Agent, on demand. If any Loan Party
fails to obtain insurance as hereinabove provided, or to keep the same in force, Agent, if Agent so
elects, may obtain such insurance and pay the premium therefor on behalf of such Loan Party,
which payments shall be charged to Borrowers’ Account and constitute part of the Obligations.

        6.8.   Payment of Obligations. Pay and discharge all its obligations and liabilities set
forth in the Budget.

        6.9.    Environmental Matters.

                (a)    Ensure that all of the Real Property owned or leased by any Loan Party and
all operations and businesses conducted thereon are in compliance and remain in compliance with
all Environmental Laws in all material respects, and it shall manage any and all Hazardous
Materials on any Real Property owned or leased by any Loan Party in compliance with
Environmental Laws.

                (b)    Establish and maintain an environmental management and compliance
system intended to monitor continued material compliance with all applicable Environmental
Laws which system shall include periodic environmental compliance audits to be conducted by
knowledgeable environmental professionals. All potential material violations and violations of
Environmental Laws shall be reviewed with legal counsel to determine any required reporting to
applicable Governmental Bodies and any required corrective actions to address such potential
violations or violations.

               (c)    Respond promptly to any Hazardous Discharge or Environmental
Complaint and take all necessary action in order to safeguard the health of any Person and to avoid
subjecting the Collateral or Real Property to any Lien. If any Loan Party shall fail to respond
promptly to any Hazardous Discharge or Environmental Complaint or any Loan Party shall fail to


                                                111
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 199 of 388




comply with any of the requirements of any Environmental Laws, to the extent such failure to
comply is reasonably likely to result in a fine or penalty in excess of $500,000, Agent on behalf of
Lenders may, but without the obligation to do so, for the sole purpose of protecting Agent’s interest
in the Collateral: (i) give such notices or (ii) enter onto the applicable Real Property (or authorize
third parties to enter onto such Real Property) and take such actions as Agent (or such third parties
as directed by Agent) deems necessary or advisable, to remediate, remove, mitigate or otherwise
manage with any such Hazardous Discharge or Environmental Complaint. All reasonable and
documented out-of-pocket costs and expenses incurred by Agent and Lenders (or such third
parties) in the exercise of any such rights, including any sums paid in connection with any judicial
or administrative investigation or proceedings, fines and penalties, together with interest thereon
from the date expended at the Default Rate for Domestic Rate Loans constituting Revolving
Advances shall be paid upon demand by the Loan Parties, and until paid shall be added to and
become a part of the Obligations secured by the Liens created by the terms of this Agreement or
any other agreement between Agent, any Lender and any Loan Party.

                (d)     With respect to any Material Owned Property on which Agent has a
mortgage, promptly upon the written request of Agent from time to time, the Loan Parties shall
provide Agent, at the Loan Parties’ expense, with an environmental site assessment or
environmental compliance audit report prepared by an environmental engineering firm acceptable
in the opinion of Agent, to assess with a reasonable degree of certainty the existence of a Hazardous
Discharge and the potential costs in connection with abatement, remediation and removal of any
Hazardous Materials found on, under, at or within all of the Real Property owned or leased by any
Loan Party. Any report or investigation of such Hazardous Discharge proposed and acceptable to
the responsible Governmental Body shall be acceptable to Agent. If such estimates exceed
$500,000, Agent shall have the right to require the Loan Parties to post a bond, letter of credit or
other security satisfactory to Agent to secure payment of these costs and expenses.

        6.10. Standards of Financial Statements. Cause all financial statements referred to in
Sections 9.7, 9.8, 9.9, 9.10, 9.11, 9.12 and 9.13 hereof as to which GAAP is applicable to be
complete and correct in all material respects (subject, in the case of interim financial statements,
to normal year-end audit adjustments and the absence of footnotes) and to be prepared in
reasonable detail and in accordance with GAAP applied consistently throughout the periods
reflected therein (except as disclosed therein and agreed to by such reporting accountants or
officer, as applicable).

        6.11. Federal Securities Laws. Promptly notify Agent in writing if any Loan Party (other
than Holdings) or any of its Subsidiaries (a) is required to file periodic reports under the Exchange
Act, (b) registers any securities under the Exchange Act or (c) files a registration statement under
the Securities Act.

        6.12. Execution of Supplemental Instruments. Execute and deliver to Agent from time
to time, upon demand, such supplemental agreements, statements, assignments and transfers, or
instructions or documents relating to the Collateral, and such other instruments as Agent may
reasonably request, in order that the full intent of this Agreement may be carried into effect.

       6.13. Government Receivables. Take all steps necessary to protect Agent’s interest in
the Collateral under the Federal Assignment of Claims Act, the Uniform Commercial Code, PPSA,

                                                 112
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 200 of 388




the Financial Administration Act (Canada) and all other applicable state, provincial or local
statutes or ordinances and deliver to Agent appropriately endorsed, any instrument or chattel paper
connected with any Receivable arising out of any contract between any Loan Party and the United
States, Canada any state, province or territory or any department, agency or instrumentality of any
of them.

        6.14. Keepwell. If it is a Qualified ECP Loan Party, then jointly and severally, together
with each other Qualified ECP Loan Party, hereby absolutely unconditionally and irrevocably
(a) guarantees the prompt payment and performance of all Swap Obligations owing by each Non-
Qualifying Party (it being understood and agreed that this guarantee is a guaranty of payment and
not of collection), and (b) undertakes to provide such funds or other support as may be needed
from time to time by any Non-Qualifying Party to honor all of such Non-Qualifying Party’s
obligations under this Agreement or any Other Document in respect of Swap Obligations
(provided, however, that each Qualified ECP Loan Party shall only be liable under this
Section 6.13 for the maximum amount of such liability that can be hereby incurred without
rendering its obligations under this Section 6.13, or otherwise under this Agreement or any Other
Document, voidable under Applicable Law, including Applicable Law relating to fraudulent
conveyance or fraudulent transfer, and not for any greater amount). The obligations of each
Qualified ECP Loan Party under this Section 6.13 shall remain in full force and effect until the
Payment in Full of the Obligations, the termination of the Commitments and the termination of
this Agreement and the Other Documents. Each Qualified ECP Loan Party intends that this
Section 6.13 constitute, and this Section 6.13 shall be deemed to constitute, a guarantee of the
obligations of, and a “keepwell, support, or other agreement” for the benefit of each other Loan
Party for all purposes of Section 1a(18(A)(v)(II) of the CEA.

        6.15. Certificate of Beneficial Ownership and Other Additional Information. Provide to
Agent and the Lenders, promptly upon request: (a) confirmation of the accuracy of the information
set forth in the most recent Certificate of Beneficial Ownership provided to Agent and Lenders;
(b) a new Certificate of Beneficial Ownership, in form and substance acceptable to Agent and each
Lender, when the individual(s) to be identified as a Beneficial Owner have changed; and (c) such
other information and documentation as may be requested by Agent or any Lender from time to
time for purposes of compliance by Agent or such Lender with Applicable Laws (including
without limitation the USA Patriot Act and other “know your customer” and anti-money
laundering rules and regulations), and any policy or procedure implemented by Agent or such
Lender to comply therewith.

        6.16. Anti-Corruption Laws, Ex-Im Laws, Anti-Money Laundering Laws and
SanctionsNotwithstanding the general applicability of Section 6.1 above, comply with the
requirements of all Anti-Corruption Laws, Ex-Im Laws, Anti-Money Laundering Laws and
Sanctions applicable to Borrower and shall cause each other Loan Party and each of its and their
respective Subsidiaries to comply with the requirements of all Anti-Corruption Laws, Ex-Im Laws,
Anti-Money Laundering Laws and Sanctions applicable to such Persons.

               (b)    Borrower will maintain in effect and enforce policies and procedures
reasonably designed to ensure compliance by the Loan Parties and each of their Subsidiaries with
applicable Anti-Corruption Laws, Ex-Im Laws, Anti Money-Laundering Laws and Sanctions.


                                                113
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 201 of 388




        6.17.   Inspection Rights and Appraisals; Meetings with the Agent.

                (a)     Upon the request of the Agent after reasonable prior notice (unless an Event
of Default is continuing in which case no notice shall be required), permit representatives and
independent contractors of the Agent to visit and inspect any of its properties, to examine its
corporate, financial and operating records, and make copies thereof or abstracts therefrom, and to
discuss its affairs, finances and accounts with its directors, officers, and Registered Public
Accounting Firm, and permit the Agent or professionals (including investment bankers,
consultants, accountants, and lawyers) retained by the Agent to conduct evaluations of the Loan
Parties' business plan, forecasts and cash flows, at the expense of the Loan Parties, during normal
business hours and as often as may be reasonably desired, upon reasonable advance notice to the
Lead Borrower.

                (b)   Upon the request of the Agent after reasonable prior notice, permit the
Agent or professionals (including investment bankers, consultants, accountants, and lawyers)
retained by the Agent to conduct field exams and other evaluations, including, without limitation,
of (i) the Lead Borrower’s practices in the computation of the Formula Amount and (ii) the assets
included in the Formula Amount and related financial information such as, but not limited to, sales,
gross margins, payables, accruals and reserves. The Loan Parties shall pay the fees and expenses
of the Agent and such professionals with respect to such examinations and evaluations; provided
however that so long as no Event of Default is continuing, Borrowers shall not be liable for the
costs and expenses of more than three (3) field examinations during any of the Cases.

               (c)     Upon the request of the Agent after reasonable prior notice, permit the
Agent or professionals (including appraisers) retained by the Agent to conduct appraisals of the
Inventory or Accounts. The Loan Parties shall pay the fees and expenses of the Agent and such
professionals with respect to such appraisals; provided however that so long as no Event of Default
is continuing, Borrowers shall not be liable for the costs and expenses of more than one (1)
appraisal during any of the Cases.

                (d)    Without limiting the foregoing, Borrowers shall host teleconferences and/or
virtual conferences with the Agent and Lenders and any of their relevant advisors, and Borrowers
shall cause members of the Borrowers’ management team (including the chief restructuring
officer) and any other relevant advisors to the Borrowers to participate in such teleconferences
and/or virtual conferences, on at least a weekly basis on such dates and at such times as reasonably
agreed between the Borrowers and the Agent or on such other dates and times as reasonably
requested by Agent, the purpose of which conferences shall be for the Borrowers and Agent and
Lenders (and their financial consultant) to discuss the Loan Parties’ business and financial
performance.

       6.18. Treasury Management Services. Each Loan Party shall continue to maintain its
primary lockbox deposit accounts and Collection Accounts exclusively with PNC and shall utilize
PNC for its primary disbursement account and other Treasury Management and Other Services.

       6.19. Further Assurances. At the Borrowers’ cost and expense, promptly upon request
of the Agent, duly execute and deliver or cause to be duly executed and delivered, to the Agent
such further information, instruments, documents, certificates, financing and continuation

                                                114
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23     Page 202 of 388




statements, and do and cause to be done such further acts that may be reasonably necessary or
advisable in the reasonable opinion of the Agent to carry out more effectively the provisions and
purposes of this Agreement, the Security Instruments and the other Loan Document, including, to
create, continue or preserve the liens and security interests in Collateral (and the perfection and
priority thereof) of the Agent contemplated hereby and by the other Loan Documents and
specifically including all Collateral acquired by the Borrowers after the Closing Date.

        6.20.   [Reserved].

       6.21. Motor Vehicles. Promptly after request by Agent, note, or have noted, Agent’s
Lien on all certificates of title constituting Collateral, to the extent such Collateral is located in the
United States or Canada and subject to motor vehicle registration requirements, provided that
Agent shall not request such notation unless such Collateral has a fair market value in excess of
$100,000 in the aggregate.

        6.22.   Bankruptcy Schedules and Covenants.

               (a)    File with the Bankruptcy Court and deliver to Agent, all Schedules of each
Debtor within the time periods required by the Bankruptcy Court.

                (b)         Serve all:

                                (i)    secured creditors, all judgment creditors (if any) actually
known to the Debtors, the twenty (20) largest unsecured creditors, the federal and state taxing
authorities, any and all Governmental Bodies holding a claim and any other party claiming an
interest in the Collateral in accordance with the Federal Rules of Bankruptcy Procedure a copy of
the Motion and Interim Order as approved by the Bankruptcy Court in accordance with the Federal
Rules of Bankruptcy Procedure; and

                               (ii)   all parties from whom any Debtor has received or that any
Debtor believes they may have received goods from within twenty (20) days of the filing of each
of the Cases, a copy of the Interim Order and notice of the hearing on entry of the proposed Final
Order in accordance with the Federal Rules of Bankruptcy Procedure.

        6.23. Milestones. Within the time periods set forth below, unless such time period(s)
is/are extended in writing by the Agent in its sole and absolute discretion, each Debtor shall
perform each action with respect to each of the Cases as set forth below (and for the avoidance of
doubt all motions and pleadings set forth below shall be in form and substance acceptable to
Agent):Within one (1) Business Day after the Petition Date, file a motion (the “Bidding Procedures
Motion”) seeking among other things, approval of (A) bidding procedures for a post-petition 363
sale process of all of the Debtors’ assets (the “Bidding Procedures”) and (B) a sale of all or
substantially all Accounts and Revolving Priority Collateral that results as a result of the sale
process;On or prior to the third (3rd) Business Day after the Petition Date, the Bankruptcy Court
shall have entered the Interim Order in form and substance acceptable to the Agent and its
counsel;On or prior to the eighteenth (18th) day after the Petition Date the Bankruptcy Court shall
have approved the Bid Procedures;On or prior to the twenty-fifth (25th) day after the Petition Date,
the Bankruptcy Court shall have entered the Final Order in form and substance acceptable to the
Agent and its counsel;On or prior to the fortieth (40th) day after the Petition Date (or such later

                                                    115
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 203 of 388




date as may be agreed by the Agent), the bid deadline shall have occurred;On or prior to the forty-
second (42nd) day after the Petition Date (or such later date as may be agreed by the Agent), the
Debtors shall have commenced a public auction of the assets of Debtors in accordance with the
Bidding Procedures (the “Auction”), to be held at a time and place acceptable to the Agent; On or
prior to the forty-third (43rd) day after the Petition Date (or such later date as may be agreed by the
Agent), the Debtors shall have filed a notice of winning bid(s) with respect to the sale of all or
substantially all of the assets of Debtors with a purchaser acceptable to Agent, which winning bid
shall provide for a purchase price sufficient to repay in full all Obligations (including for the
avoidance of doubt, all Prepetition Revolving Obligations); On or prior to the forty-fifth (45th)
day after the Petition Date (or such later date as may be agreed by the Agent), the Debtors shall
have obtained court approval of the sale of all or substantially all of the assets of Debtors conducted
in accordance with the Bidding Procedures (a “Sale Order”); andOn or prior to the fifty-seventh
(57th) day after the Petition Date (or such later date as may be agreed by the Agent), finalize and
close one or more of the 363 Sales with sufficient proceeds to indefeasibly and finally pay and
satisfy the Obligations (including for the avoidance of doubt, all Prepetition Revolving
Obligations) at the closing of such 363 Sales, no later than the Maturity Date.No Milestone can be
amended, modified or waived without the prior written consent of the Agent.

        6.24. Stalking Horse Agreement. The Loan Parties agree that the Stalking Horse
Agreement shall not be amended, modified or any provision thereof waived (including by
extending the closing under the Stalking Horse Agreement to a date that is later than fifty-seven
(57) days after the Petition Date) without the prior written consent of the Agent, and (x) the
proposed purchaser (“Stalking Horse Bidder”) shall be acceptable to Agent in its sole discretion,
(y) such offer to purchase the applicable Collateral shall be subject to the receipt of “higher and
better bids” and shall provide for a purchase price sufficient to Pay in Full all Obligations and all
Prepetition Obligations unless Agent otherwise agrees, and (z) the order approving such Stalking
Horse Bidder and the applicable bid shall be acceptable to Agent in its sole discretion.

        6.25. Canadian Pension Plans. Except when the failure to do so could not reasonably be
expected to have a Material Adverse Effect, each Loan Party shall perform in all material respects
all obligations required to be performed by such Borrower in connection with each applicable
Canadian Pension Plan and remit all contributions under each applicable Canadian Pension Plan
and required to be made or paid by it in accordance with Applicable Law and withhold by way of
authorized payroll deductions, or otherwise collect and pay into the applicable Canadian Pension
Plan, all employee contributions required to be withheld or collected by it in accordance with the
terms of each applicable Canadian Pension Plan or Canadian Benefit Plan and Applicable Law.
Each Loan Party shall provide to the Agent (i) a copy of each Canadian Pension Plan, (ii) copies
of each annual information return, where applicable, actuarial report (including applicable
schedules), and any application for regulatory approval of asset withdrawals other than benefit or
individual member account transfers with respect to each Canadian Pension Plan or any fund
maintained in respect thereof, and (iii) copies of any notifications or remittances or similar
documents prepared and delivered to the trustee or custodian of any Canadian Pension Plan
pursuant to section 56.1 of the Pension Benefits Act (Ontario) or similar Applicable Law in another
jurisdiction.

VII.    NEGATIVE COVENANTS.


                                                 116
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 204 of 388




     No Loan Party shall, until the Payment in Full of the Obligations, the termination of the
Commitments and the termination of this Agreement:

        7.1.    Merger, Consolidation, Acquisition and Sale of Assets.

               (a)     Enter into any merger, amalgamation, consolidation or other reorganization
with or into any other Person, acquire all or a substantial portion of the assets or Equity Interests
of any Person, permit any other Person to consolidate with or merge with it, or consummate an
LLC Division.

                (b)    Sell, lease, transfer or otherwise dispose of any of its properties or assets (in
each case including by way of an LLC Division), except (i) the sale of Inventory and immaterial
assets in the Ordinary Course of Business (including allowing any registrations or any applications
for registration of any immaterial Intellectual Property to lapse or go abandoned in the Ordinary
Course of Business), (ii) Dispositions of obsolete, worn out or surplus property in the Ordinary
Course of Business and Dispositions of property no longer used or useful in the conduct of the
business of Holdings and its Subsidiaries, (iii) Dispositions of property in the Ordinary Course of
Business to the extent that (x) such property is exchanged for credit against the purchase price of
similar replacement property that is promptly purchased or (y) the proceeds of such Disposition
are promptly applied to the purchase price of such replacement property (which replacement
property is actually promptly purchased), (iv) Dispositions of property to a Loan Party, (v)
Dispositions, such as payments and withdrawals, made in the Ordinary Course of Business, of
Cash and Cash Equivalents, that are not otherwise in violation of this Agreement, and (vi) sales of
assets pursuant to transactions approved by the Agent and the Lenders and the Bankruptcy Court
in the Cases.

       7.2. Creation of Liens. Create or suffer to exist any Lien or transfer upon or against any
of its property or assets now owned or hereafter created or acquired, except Permitted
Encumbrances.

        7.3.    Guarantees. Become liable upon the obligations or liabilities of any Person by
assumption, endorsement or guaranty thereof or otherwise (other than to Lenders) except (a) as
disclosed on Schedule 7.3 hereto, (b) guarantees by one or more Loan Parties or Subsidiaries
thereof of the Indebtedness or obligations of any other Loan Parties or Subsidiaries thereof to the
extent such Indebtedness or obligations are permitted to be incurred and/or outstanding pursuant
to the provisions of this Agreement and (c) the endorsement of checks in the Ordinary Course of
Business.

        7.4.    Investments. Purchase or acquire obligations or Equity Interests of, or any other
interest in, any Person, other than Permitted Investments and Permitted Joint Ventures solely as
permitted hereunder.

        7.5.   Loans. Make advances, loans or extensions of credit to any Person, including any
Parent, Subsidiary or Affiliate other than Permitted Loans.

      7.6.   Capital Expenditures. Contract for, purchase or make any expenditure or
commitments for Capital Expenditures except in accordance with the Budget.


                                                 117
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23   Page 205 of 388




        7.7.    Dividends and Distributions. Declare, pay or make any Restricted Distribution.

        7.8.   Indebtedness. Create, incur, assume or suffer to exist any Indebtedness, other than
(a) Permitted Indebtedness, (b) Indebtedness arising from the Prepetition Term Credit Agreement
and the DIP Term Credit Agreement, (c) the Wynnefield Indebtedness in an aggregate original
principal amount not to exceed $750,000, plus any fees, costs or expenses or incurred or payable
in connection therewith, plus any interest accrued thereon in accordance with the terms of the
Wynnefield Loan Documents, so long as such Indebtedness is subject to a Subordination
Agreement and no Loan Party makes any payment to the Wynnefield Lenders or otherwise in
respect of such Indebtedness and (d) Indebtedness under the Loan Documents and the Prepetition
Revolving Loan Documents.

        7.9.    Nature of Business. Substantially change the nature of the business in which it is
presently engaged, nor except as specifically permitted hereby purchase or invest, directly or
indirectly, in any assets or property other than in the Ordinary Course of Business for assets or
property which are useful in, necessary for and are to be used in its business as presently conducted,
in each case, except as contemplated by the Orders.

        7.10. Transactions with Affiliates. Directly or indirectly purchase, acquire or lease any
property from, or sell, transfer or lease any property to, or otherwise enter into any transaction or
deal with, any Affiliate, except for (a) transactions among the Loan Parties (other than Inactive
Subsidiaries) which are not expressly prohibited by the terms of this Agreement and which are in
the Ordinary Course of Business, (b) payment by the Loan Parties (other than Inactive
Subsidiaries) of dividends and distributions permitted under Section 7.7 hereof, and (c)
transactions disclosed to Agent in writing, which are in the Ordinary Course of Business, on an
arm’s-length basis on terms and conditions no less favorable than terms and conditions which
would have been obtainable from a Person other than an Affiliate, (d) the provision of insurance
by a Permitted Captive Insurance Subsidiary to a Loan Party in the Ordinary Course of Business,
and (e) the Wynnefield Indebtedness and the transactions contemplated thereby to the extent
expressly permitted under Section 7.8.

        7.11. Budget Compliance. Except in each case as consented to by Agent in writing in its
sole discretion, for the first calendar week of each of the Cases (ending [    ], 2023) on both a
two-week rolling basis as of the Friday of each week and a rolling basis from the Petition Date to
the Friday of each week, (i) aggregate cash receipts shall not be less than 90% of the aggregate
amount set forth in the Budget for such calendar week, (ii) operating disbursements shall not
exceed 10% of the corresponding aggregate amount set forth in the Budget, (c) expenses for
professionals shall not exceed 10% of the corresponding aggregate amount set forth in the Budget,
and (d) aggregate cash receipts net of aggregate operating disbursements shall not be less than
85% of the net amount set forth in the Budget.

        7.12.   Subsidiaries.

                (a)         Form any new Subsidiary after the Closing Date.

                (b)         Form any new Captive Insurance Subsidiary after the Closing Date.



                                                    118
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 206 of 388




               (c)     Enter into any partnership, Joint Venture (other than a Permitted Joint
Venture) or similar arrangement after the Closing Date.

      7.13. Fiscal Year and Accounting Changes. Change its fiscal year from December 31 or
make any significant change (a) in accounting treatment and reporting practices except as required
by GAAP or (b) in tax reporting treatment except as required by law.

       7.14. Pledge of Credit. Now or hereafter pledge Agent’s or any Lender’s credit on any
purchases, commitments or contracts or for any purpose whatsoever or use any portion of any
Advance in or for any business other than such Loan Party’s business operations as conducted on
the Closing Date or any business reasonably related or ancillary thereto so long as any such
business is a service and not manufacturing type business.

         7.15. Amendment of Organizational Documents. (a) Change its legal name, (b) change
its form of legal entity (e.g., converting from a corporation to a limited or unlimited liability
company or vice versa), (c) change its jurisdiction of organization or become (or attempt or purport
to become) organized in more than one jurisdiction, or (d) otherwise amend, modify or waive any
term or material provision of its Organizational Documents unless required by law, in any such
case without (i) giving at least thirty (30) days prior written notice of such intended change to
Agent, (ii) if applicable, having received from Agent confirmation that Agent has taken all steps
necessary for Agent to continue the perfection of and protect the enforceability and priority of its
Liens in the Collateral belonging to such Loan Party and in the Equity Interests of such Loan Party
and (iii) in the event any such amendment, modification or waiver would be adverse to the interests
of Agent or any Lender, having received the prior written consent of Agent and Required Lenders
to such amendment, modification or waiver.

        7.16.   Compliance with ERISA.

                 (a)    (i) (x) Maintain or permit any member of the Controlled Group to maintain,
or (y) become obligated to contribute, or permit any member of the Controlled Group to become
obligated to contribute, to any Pension Benefit Plan, other than those Plans disclosed on Schedule
5.8(d) hereto, or Multiemployer Plan, except as would not reasonably be expected to, individually
or in the aggregate, result in a Material Adverse Effect, and (ii) engage, or permit any member of
the Controlled Group to engage, in any non-exempt “prohibited transaction”, as that term is
defined or described in Section 406 of ERISA or Section 4975 of the Internal Revenue Code, (iii)
terminate, or permit any member of the Controlled Group to terminate, any Pension Benefit Plan
where such event would reasonably be expected to result in any liability of any Loan Party or any
member of the Controlled Group or the imposition of a lien on the property of any Loan Party or
any member of the Controlled Group pursuant to Section 4068 of ERISA, (iv) incur, or permit any
member of the Controlled Group to incur, any withdrawal liability to any Multiemployer Plan; (v)
fail promptly to notify Agent of the occurrence of any Termination Event, (vi) fail to comply, or
permit any member of the Controlled Group to fail to comply, with the requirements of ERISA or
the Internal Revenue Code or other Applicable Laws in respect of any Plan or Multiemployer Plan,
(vii) fail to meet, permit any member of the Controlled Group to fail to meet, or permit any Pension
Benefit Plan to fail to meet all minimum funding requirements under ERISA and the Internal
Revenue Code, without regard to any waivers or variances, or postpone or delay or allow any
member of the Controlled Group to postpone or delay any funding requirement with respect to any

                                                119
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 207 of 388




Plan or Multiemployer Plan, or (viii) cause, or permit any member of the Controlled Group to
cause, a representation or warranty in Section 5.8(d) hereof to cease to be true and correct.

                 (b)    No Loan Party shall (i) except as required by Applicable Law or except as
could not reasonably result in a Material Adverse Effect, commence to participate in, maintain,
contribute or assume an obligation to contribute to any single or multi-employer pension plan that
contains a defined benefit provision, as such term is defined in subsection 147.1(1) of the Income
Tax Act (Canada) for employees or former employees of a Borrower, arising from employment in
Canada (including, for greater certainty, any pension plan which would constitute a Canadian
Union Plan if contributed to by a Borrower) other than those Canadian Pension Plans disclosed on
Schedule 5.9(b), (ii) without the prior consent of the Agent (which consent shall not be
unreasonably withheld, conditioned or delayed) acquire an interest in any Person if such Person
sponsors, administers, maintains or contributes to, or has any liability in respect of, the defined
benefit provision, as such term is defined in subsection 147.1(1) of the Income Tax Act (Canada),
of any pension plan which would constitute a Canadian Pension Plan or a Canadian Union Plan if
contributed to by a Borrower, (iii) take any action to cause the wind-up, in whole or in part, of any
Canadian Pension Plan or which would cause circumstances to exist that would reasonably be
expected to provide any basis for a Governmental Body under Applicable Law to take steps to
cause the wind-up, in whole or in part, of any Canadian Pension Plan, (iv) except when the failure
to do so could not reasonably be expected to have a Material Adverse Effect, fail to meet all
required minimum funding requirements under Applicable Law with respect to any Canadian
Pension Plan, (v) fail promptly to notify Agent of the occurrence of any Canadian Pension Event,
(vi) except when the failure to do so could not reasonably be expected to have a Material Adverse
Effect, fail to comply with the requirements of Applicable Law in respect of any Canadian Pension
Plan, or (vii) cause a representation or warranty in Section 5.9(b) to cease to be true and correct.

        7.17. Prepayment of Indebtedness. At any time, directly or indirectly, prepay any
Indebtedness, or repurchase, redeem, retire or otherwise acquire any Indebtedness of any Loan
Party other than (a) Indebtedness owed to Lenders, (b) as permitted pursuant to Section 7.19 hereof
and (c) payments not prohibited under the Intercreditor Agreement and in accordance with the
Orders.

        7.18 [Reserved].

        7.19. DIP Term Loan. At any time, directly or indirectly, pay, prepay, repurchase,
redeem, retire or otherwise acquire, or make any payment on account of any principal of, interest
on or premium payable in connection with the repayment or redemption of the DIP Term Loan,
provided, however, that the Loan Parties may make payments of Term Loan Adequate Protection
Claims or regularly scheduled payments of interest on the DIP Term Loans, at the times and in the
amounts set forth in the DIP Term Loan Agreement in accordance with the Bankruptcy Orders so
long as proceeds from the Advances are not used to make any such payments.

       7.20. Other Agreements. Enter into any material amendment, waiver or modification of
(a) the DIP Term Loan Documents or any related agreements, except for amendments or
modifications made in full compliance with the Intercreditor Agreement or (b) the Wynnefield
Loan Documents.


                                                120
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 208 of 388




        7.21. Locations. No Loan Party shall move its chief executive office from the location
set forth on Schedule 4.4(b)(iii) hereto (as updated from time to time), permit its material books
and records or servers which contain information or data not available at its chief executive office
to be located at any location not set forth on Schedule 4.4(b)(iii) hereto, or maintain any place of
business other than those set forth on Schedule 4.4 hereto, in each case, without (a) providing
Agent with prior written notice thereof, which notice shall be deemed to update Schedule 4.4
hereto, and (b) if requested by Agent with respect to locations of material books, records and
servers, using commercially reasonable efforts to provide to Agent a Lien Waiver Agreement duly
executed by the owner or lessor of such location.

        7.22. Canadian Loan Party Bank Accounts. Allow any Canadian Loan Party to maintain
deposits in any Canadian Loan Party Bank Account at any one time in excess of $100,000 for all
such Canadian Loan Party Bank Accounts in the aggregate. The Canadian Loan Party shall cause
any such excess to promptly be deposited into a Depository Account in U.S. Dollars. Agent may
at any time and from time to time request evidence of the balances in any Canadian Loan Party
Bank Account and, upon any such request, the Loan Parties shall deliver to Agent a snap shot
reflecting the balances as of the close of business of the date any such request was made.

        7.23. Canadian Loan Parties. No Canadian Loan Party shall own any property or assets
in the United States without first executing and delivering to Agent a security agreement governed
by New York law and such other security documents requested by Agent or any Lender to protect,
secure, perfect Agent’s security interest and Lien on any such property or assets constituting
Collateral, all in form and substance acceptable to Agent.

        7.24. Inactive Subsidiaries. Notwithstanding anything to the contrary contained herein,
allow any Inactive Subsidiary to (i) engage in any business activities or conduct any operations,
other than maintaining its corporate existence pending its dissolution pursuant to Section 7.1
hereof, (ii) own any material assets, (iii) have any Subsidiaries or (iv) have or incur any liabilities
(other than (A) those existing as of the Closing Date and (B) any contingent liability arising under
this Agreement, any of the Other Documents or any of the DIP Term Loan Documents), without
first obtaining Agent’s prior written consent.

        7.25.   [Reserved].

         7.26. Term Loan Priority Collateral Account. Deposit any Cash or Cash Equivalents in
the Term Loan Priority Collateral Account unless required by the DIP Term Loan Agreement and
the Intercreditor Agreement each in effect on the Closing Date without providing Agent prior
written notice thereof, which such written notice shall include an accounting, in reasonable detail,
of the item sold and/or event that triggered the requirement under the DIP Term Loan Agreement
of such Loan Party to make such deposit.

        7.27. Bankruptcy Matters.

                (a)   Directly or indirectly, seek, consent or suffer to exist: (i) any modification,
stay, vacation or amendment to the Interim Order or Final Order, unless the Administration Agent
has consented to such modification, stay, vacation or amendment in writing; (ii) entry of any order
that could adversely affect Agent’s liens on the Collateral or its recovery in any Case that is not,


                                                 121
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1     Filed 07/22/23   Page 209 of 388




in form and substance, satisfactory to Agent in its Permitted Discretion; (iii) a priority claim for
any administrative expense or unsecured claim (now existing or hereafter arising of any kind or
nature whatsoever, including any administrative expenses of the kind specified in the Bankruptcy
Code, including without limitation Sections 105, 326, 328, 330, 331, 364(c)(1), 365, 503, 506(c)
(upon entry of the Final Order), 507, 546, 726, 1113 or 1114 of the Bankruptcy Code) equal or
superior to the Superpriority Claim of the Secured Parties in respect of the Obligations and
Prepetition Obligations; or (iv) any Lien on any Collateral, having a priority equal or superior to
the Lien in favor of the Agent in respect of the Obligations (subject to the Senior Liens (as defined
in the Interim Order) and the Lien Priority Chart);

               (b)     Prior to the date on which the Obligations (and prior to entry of the Final
Order, the Prepetition Obligations) have been indefeasibly paid in full in cash and Lenders’
commitment to make Revolving Advances has been terminated, no Debtor shall pay any
administrative expense claims not provided for in the Budget; provided however that a Debtor may
pay administrative expense claims with respect to (i) any Obligations (and prior to entry of the
Final Order, the Prepetition Obligations) due and payable hereunder or under the Interim Order or
Final Order and (ii) Statutory Fees; or

                (c)     Amend, modify or supplement any final order of the Bankruptcy Court
relating to or any agreement providing for an Approved Bankruptcy Sale without the prior written
consent of Agent.

VIII.   CONDITIONS PRECEDENT.

       8.1.    Conditions to Initial Advances. The agreement of Lenders to make the initial
Advances requested to be made on the Closing Date is subject to the satisfaction, or waiver by
Agent, immediately prior to or concurrently with the making of such Advances, of the following
conditions precedent, each in form and substance acceptable to Agent:

               (a)    Other Documents. Agent shall have received each of the Other Documents,
in each case duly authorized, executed and delivered by the Loan Parties and any other Person
party thereto;

               (b)   Intercreditor Agreement. Agent, Prepetition Revolving Agent, DIP Term
Loan Agent and Prepetition Term Loan Agent shall have each entered into the amendment to the
Intercreditor Agreement;

                (c)         [Reserved].

                (d)    Default. No Default has occurred or is continuing or would result after
giving effect to this Agreement and the other Loan Documents;

               (e)     Closing Certificate. Agent shall have received a closing certificate signed
by the Chief Financial Officer of each Loan Party dated as of the Closing Date, stating that (i) all
representations and warranties set forth in this Agreement and the Other Documents are true and
correct on and as of such date, and (ii) on such date no Default or Event of Default has occurred
or is continuing;


                                                     122
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 210 of 388




              (f)    Stock Certificates. Agent shall have received copies of stock certificates
representing 100% (or 66.67%, as applicable) of the Equity Interests of each Subsidiary of
Holdings, together with stock powers executed in blank, to the extent such Equity Interests are
certificated;

              (g)     Borrowing Base. Agent shall have received a Borrowing Base Certificate
providing evidence that the aggregate amount of Eligible Receivables, and Eligible Unbilled
Receivables is sufficient in value and amount to support Revolving Advances in the amount
requested by the Borrowers on the Closing Date, certified by a Responsible Officer of each
Borrower;

               (h)    DIP Term Loan. Agent shall have received the DIP Term Loan Agreement,
which shall, among other things, provide for debtor in possession financing provided by the DIP
Term Loan Lenders in an aggregate principal amount not less than $19,500,000, with an initial
advance funded on the Closing Date in the aggregate principal amount of at least $14,000,000, a
second advance to be funded on or within one (1) Business Day after the Final Order has been
entered by the Bankruptcy Court in the aggregate principal amount of at least $2,750,000, and a
third advance to be funded on the date which is one (1) calendar week after the Final Order has
been entered by the Bankruptcy Court in the aggregate principal amount of at least $2,750,000;
provided that the form of DIP Term Loan Agreement shall be deemed acceptable to the Agent;

               (i)    Organization Chart. Agent shall have received from the Borrower an
accurate and complete organization chart reflecting all of the direct and indirect Subsidiaries and
joint ventures of Holdings (and any other Person in which Holdings or any of the foregoing
Subsidiaries or joint ventures holds Equity Interests) (including the applicable ownership
percentages) as of: (i) the date immediately prior to the Closing Date (the “Pre-Closing
Organization Chart”), and (ii) the date immediately following the Closing Date (the “Post-Closing
Organization Chart”) (collectively, the “Organization Charts”). To the extent that the Pre-Closing
Organization Chart is identical to the Post-Closing Organization Chart, the Borrower may certify
to Agent that the Post-Closing Organization Chart is identical to the Pre-Closing Organization
Chart;

                (j)     Filings, Registrations and Recordings. Each document (including any
Uniform Commercial Code financing statements, and PPSA financing statements, Uniform
Commercial Code termination statements and PPSA termination statements) required by this
Agreement, any of the Other Documents or under Applicable Law or requested by Agent to be
filed, registered or recorded in order to create, in favor of Agent, a perfected security interest in or
lien upon the Collateral and in order to terminate the perfected security interest in or lien upon the
Collateral of Existing Lenders shall have been properly filed, registered or recorded in each
jurisdiction in which the filing, registration or recordation thereof is so required or requested, and
Agent shall have received an acknowledgment copy, or other evidence reasonably satisfactory to
it, of each such filing, registration or recordation and reasonably satisfactory evidence of the
payment of any necessary fee, tax or expense relating thereto;

                 (k)     Secretary’s Certificates, Authorizing Resolutions and Good Standing
Certificates. Agent shall have received, in form and substance reasonably satisfactory to Agent,
a certificate of the Secretary or Assistant Secretary (or other equivalent officer or manager) of each

                                                 123
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 211 of 388




Loan Party dated as of the Closing Date which shall certify (i) copies of resolutions, in form and
substance reasonably satisfactory to Agent, of the board of directors (or other equivalent governing
body or member) of such Loan Party authorizing (x) the execution, delivery and performance of
this Agreement and the Other Documents to which such Loan Party is a party (including
authorization of the incurrence of Indebtedness, borrowing of Advances and requesting of Letters
of Credit on a joint and several basis with all Loan Parties as provided for herein), and (y) the
granting by such Loan Party of the Liens upon the Collateral to secure all of the joint and several
Obligations of the Loan Parties (and such certificate shall state that such resolutions have not been
amended, modified, revoked or rescinded as of the date of such certificate), (ii) the incumbency
and signature of the officers of such Loan Party authorized to execute this Agreement and the
Other Documents, (iii) copies of the Organizational Documents of such Loan Party as in effect on
such date, complete with all amendments thereto, and (iv) the good standing (or equivalent status)
of such Loan Party in its jurisdiction of organization and each applicable jurisdiction where the
conduct of such Loan Party’s business activities or the ownership of its properties necessitates
qualification and where the failure to so qualify could reasonably be expected to have a Material
Adverse Effect on such Loan Party, as evidenced by good standing certificates (or the equivalent
thereof issued by any applicable jurisdiction) dated not more than thirty (30) days prior to the
Closing Date, issued by the Secretary of State or other appropriate official of each such
jurisdiction;

               (l)     Opinion of Counsel. Agent shall have received, in form and substance
reasonably satisfactory to Agent, the executed legal opinion of Thompson Hine LLP (US counsel
to the Loan Parties ), which shall cover such matters incident to the Transactions as Agent may
reasonably require and each Loan Party hereby authorizes and directs such counsel to deliver such
opinions to Agent and Lenders;

               (m)    No Litigation. Except for the Cases, no litigation, investigation or
proceeding before or by any arbitrator or Governmental Body shall be continuing or, to any Loan
Party’s knowledge, threatened against any Loan Party or against the officers or directors of any
Loan Party (A) in connection with this Agreement, the Other Documents, the DIP Term Loan
Documents, the Wynnefield Loan Documents or any of the transactions contemplated hereby or
thereby or (B) which could, in the reasonable opinion of Agent, reasonably be expected to have a
Material Adverse Effect; and (ii) no injunction, writ, restraining order or other order of any nature
materially adverse to any Loan Party or the conduct of its business or inconsistent with the due
consummation of the Transactions shall have been issued by any Governmental Body;

                (n)    Fees. Agent shall have received all fees due and payable on the Closing
Date for Agent and for the pro rata benefit of the Lenders and shall have reimbursed Agent for all
reasonable attorneys’ fees, and other costs and expenses of closing due and owing and presented
as of the Closing Date, each in immediately available funds, or authorized the Agent to deduct the
fees due and payable on the Closing Date under Article III hereof and such other fees, costs and
expenses of closing from the amount of any Advance made on the Closing Date;

                (o)      Insurance. Agent shall have received, in form and substance reasonably
satisfactory to Agent, (i) evidence that adequate insurance, including without limitation, casualty
and liability insurance, required to be maintained under this Agreement is in full force and effect,
(ii) insurance certificates issued by the Loan Parties’ insurance broker containing such information

                                                124
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 212 of 388




regarding the Loan Parties’ casualty and liability insurance policies as Agent shall request and
naming Agent as an additional insured and lenders loss payee, as applicable;

             (p)    Payment Instructions. Agent shall have received written instructions from
Borrowing Agent directing the application of proceeds of the initial Advances made pursuant to
this Agreement;

               (q)    Consents. Agent shall have received any and all Consents necessary to
permit the effectuation of the Transactions and Agent shall have received such Consents and
waivers of such third parties as might assert claims with respect to the Collateral, as Agent shall
deem necessary;

               (r)    No Material Adverse Effect. (i) Since the Petition Date, there shall not have
occurred any event, condition or state of facts which could reasonably be expected to have a
Material Adverse Effect and (ii) no representations made or information supplied to Agent or
Lenders shall have been proven to be inaccurate or misleading in any material respect;

                (s)    Compliance with Laws. Agent shall be satisfied that each Loan Party is in
compliance in all material respects with all pertinent federal, state, provincial, local or territorial
regulations, including those with respect to the Federal Occupational Safety and Health Act, the
Environmental Protection Act, ERISA and the Anti-Terrorism Laws;

              (t)    Certificate of Beneficial Ownership; USA Patriot Act Diligence. Agent and
each Lender shall have received, in form and substance acceptable to Agent, a Certificate of
Beneficial Ownership duly authorized, executed and delivered by each Loan Party (other than
Holdings) and such other documentation and other information requested in connection with
applicable “know your customer” and anti-money laundering rules and regulations, including the
USA Patriot Act;

               (u)    Bankruptcy Cases. Each of the Cases shall have been commenced in the
Bankruptcy Court and all of the First Day Orders (including without limitation those motions and
orders seeking approval of Bidding Procedures (as hereinafter defined) and the Approved 363
Sales with respect to Revolving Priority Collateral entered at the time of commencement of the
Cases shall be reasonably satisfactory, in form and substance, to Agent and no trustee or examiner
shall have been appointed with respect to any Debtor, or any property of or any estate of any
Debtor.

                 (v)     Interim Order. The Interim Order shall have been entered by the
Bankruptcy Court, which Interim Order (i) shall have been entered upon an application or motion
of the Debtors reasonably satisfactory in form and substance to Agent and upon prior notice to
such parties required to receive such notice and such other parties as may be reasonably requested
by Agent; (ii) shall be in full force and effect and shall not have been amended, modified or stayed,
or reversed; and, if the Interim Order is the subject of a pending objection, appeal or motion for
reconsideration in any respect, neither the Interim Order, nor the making of the Advances or the
performance by any Debtor of any of the Obligations shall be the subject of a presently effective
stay, and (iii) shall otherwise satisfy the requirements of the definition of Interim Order set forth



                                                 125
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23    Page 213 of 388




herein. The Debtors and the Secured Parties shall be entitled to rely in good faith upon the Interim
Order notwithstanding any such objection, appeal or motion for reconsideration.

                (w)         Budget. Agent shall have received and approved the Initial Budget.

               (x)    Cash Management Order. The Bankruptcy Court shall have entered a Cash
Management Order adopting and implementing cash management arrangements for the Debtors,
which shall be in form and substance and on terms and conditions acceptable to Agent;

                 (y)     Stalking Horse Agreement. Agent shall have received a fully executed
Stalking Horse Agreement providing for payment in full of the Obligations and the Prepetition
Obligations from the application of sale proceeds in accordance with the Interim Order and the
priorities set forth therein, which Stalking Horse Agreement shall also be on terms acceptable to
the Agent in its sole discretion;

              (z)     Sales Procedure. The Debtors shall have submitted a proposed form of
bidding procedures sales order (or agreed to motion filed requesting such order) acceptable to the
Agent and Lenders;

                (aa) Water Projects Contracts. The Debtors shall have filed a motion requesting
the rejection of the Water Projects Contracts;

               (bb) Chief Restructuring Officer. Borrower shall have appointed a chief
restructuring officer reasonably acceptable to the Agent and Lenders; and

              (cc) Other. All corporate and other proceedings, and all documents, instruments
and other legal matters in connection with the Transactions shall be satisfactory in form and
substance to Agent.

        8.2.   Conditions to Each Advance. The agreement of Lenders to make any Advance
requested to be made on any date (including the initial Advance), is subject to the satisfaction of
the following conditions precedent as of the date such Advance is made:

                (a)     Representations and Warranties. Each of the representations and warranties
made by any Loan Party in or pursuant to this Agreement and the Other Documents, and each of
the representations and warranties in any agreement, document, instrument, certificate or financial
or other statement provided at any time under or in connection with this Agreement and the Other
Documents shall be true and correct in all material respects on and as of such date as if made on
and as of such date (except to the extent any such representation or warranty expressly relates only
to any earlier and/or specified date);

               (b)    No Default. No Event of Default or Default shall have occurred and be
continuing on such date, or would exist after giving effect to the Advances requested to be made,
on such date; provided, however that Agent, in its sole discretion, may continue to make Advances
notwithstanding the existence of an Event of Default or Default and that any Advances so made
shall not be deemed a waiver of any such Event of Default or Default;



                                                    126
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 214 of 388




                (c)      Maximum Advances. In the case of any type of Advance requested to be
made, after giving effect thereto, the aggregate amount of such type of Advance shall not exceed
the maximum amount of such type of Advance permitted under this Agreement; and prior to and
after giving effect to the proposed Credit Extension, the Total Revolving Credit Outstandings shall
not exceed the Maximum Borrowing Amount;

              (d)    Milestones. The Milestones set forth in Section 6.23 (applicable as of the
date of such Advance) shall have been achieved;

              (e)     Budget. In connection with each request of an Advance pursuant to Section
2.1 hereof, Debtors shall deliver to Agent a written notice identifying the line-items on the
applicable Budget that Debtors intend to pay with the proceeds of such Advance;

                (f)     Stalking Horse Agreement. The Stalking Horse Agreement shall remain in
full force and effect, and no default or breach thereunder shall have occurred and be continuing;

              (g)      DIP Term Loan Funding. The DIP Term Loan Lenders shall have made all
of the advances of the DIP Term Loans (applicable as of the date of such Advance) as set forth in
the DIP Term Loan Credit Agreement; and

               (h)     Interim Order / Final Order. The Interim Order, or, after the entry of the
Final Order, the Final Order, shall be in full force and effect and shall not be the subject of any
appeal, motion for reconsideration, stay, order of reversal, amendment or modification.

       Each request for an Advance by any Borrower hereunder shall constitute a representation
and warranty by each Loan Party as of the date of such Advance that the conditions of this
subsection shall have been satisfied.

IX.     INFORMATION AS TO THE LOAN PARTIES.

      Each Loan Party shall, or (except with respect to Section 9.11 hereof) shall cause
Borrowing Agent on its behalf to, until the Payment in Full of the Obligations, the termination of
the Commitments and the termination of this Agreement:

        9.1.   Disclosure of Material Matters. Promptly upon a Responsible Officer obtaining
knowledge thereof, report to Agent (a) all matters materially affecting the value, enforceability or
collectability of any portion of the Collateral, including any Loan Party’s reclamation or
repossession of, or the return to any Loan Party of, a material amount of goods or claims or disputes
asserted by any Customer or other obligor, and (b) any investigation, hearing, proceeding or other
inquest by any Governmental Body into any Loan Party or any Affiliate of any Loan Party with
respect to Anti-Terrorism Laws.

       9.2.     Schedules. Deliver to Agent, in form and substance satisfactory to Agent: (a) on
or before the twentieth (20th) day of each month as and for the prior month (i) accounts receivable
agings inclusive of reconciliations to the general ledger, (ii) accounts payable schedules inclusive
of reconciliations to the general ledger, (iii) Inventory reports, (iv) bank statements evidencing the
balances of each Canadian Loan Party Bank Account for each day in the prior month, and (v) a
Borrowing Base Certificate (which (A) shall be calculated as of the last day of the prior month,

                                                 127
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 215 of 388




(B) shall not be binding upon Agent or restrictive of Agent’s rights under this Agreement and (C)
shall include a listing of all Priority Payables (which such listing shall identity the obligee of each
Priority Payable and the estimated value of such Priority Payable)), and (b) on or before Tuesday
of each week, a sales report / roll forward for the prior week, and (c) at such intervals as Agent
may require: (i) confirmatory assignment schedules; (ii) copies of Customer’s invoices;
(iii) evidence of shipment or delivery; and (iv) such further schedules, documents and/or
information regarding the Collateral as Agent may require including trial balances and test
verifications. Agent shall have the right to confirm and verify all Receivables by any manner and
through any medium it considers advisable and do whatever it may deem necessary to protect its
interests hereunder. The items to be provided under this Section are to be in form reasonably
satisfactory to Agent and executed by each Loan Party and delivered to Agent from time to time
solely for Agent’s convenience in maintaining records of the Collateral, and any Loan Party’s
failure to deliver any of such items to Agent shall not affect, terminate, modify or otherwise limit
Agent’s Lien with respect to the Collateral. Unless otherwise agreed to by Agent, the items to be
provided under this Section 9.2 shall be delivered to Agent by the specific method of Approved
Electronic Communication designated by Agent.

        9.3.    Environmental Reports.

                 (a)     Deliver to Agent, concurrently with the delivery of the financial statements
referred to in Sections 9.7 and 9.8 hereof, with a certificate signed by the President, Chief
Executive Officer or Controller of Borrowing Agent stating, to the best of his knowledge, that each
Loan Party is in compliance in all material respects with all applicable Environmental Laws, except
to the extent such non-compliance could not reasonably be expected to result in a Material Adverse
Effect. To the extent any Loan Party is not in such material compliance with the foregoing laws,
the certificate shall set forth with specificity all areas of non-compliance and the proposed action
such Loan Party will implement in order to achieve full compliance.

                 (b)    In the event any Loan Party obtains, gives or receives notice of any Release
or threat of Release of a reportable quantity of any Hazardous Materials at any Real Property
owned or leased by any Loan Party (any such event being hereinafter referred to as a “Hazardous
Discharge”) or receives any written notice of violation, request for information or notification that
it is potentially responsible for investigation or cleanup of environmental conditions at any such
Real Property, demand letter or complaint, order, citation, or other written notice with regard to
any Hazardous Discharge or violation of Environmental Laws affecting such Real Property or any
Loan Party’s interest therein or the operations or the business (any of the foregoing is referred to
herein as an “Environmental Complaint”) from any Person, including any Governmental Body,
then Borrowing Agent shall, within five (5) Business Days, give written notice of same to Agent
detailing facts and circumstances of which any Loan Party is aware giving rise to the Hazardous
Discharge or Environmental Complaint. Such information is to be provided to allow Agent to
protect its security interest in and Lien on the Collateral and is not intended to create nor shall it
create any obligation upon Agent or any Lender with respect thereto.

               (c)     Borrowing Agent shall promptly forward to Agent copies of any request for
information, notification of potential liability, demand letter relating to potential responsibility
with respect to the investigation or cleanup of Hazardous Materials at any other site owned,
operated or used by any Loan Party to manage of Hazardous Materials and shall continue to

                                                 128
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 216 of 388




forward copies of correspondence between any Loan Party and the Governmental Body regarding
such claims to Agent until the claim is settled. Borrowing Agent shall promptly forward to Agent
copies of all material documents and reports concerning a Hazardous Discharge or Environmental
Complaint at any Real Property owned or leased by any Loan Party, operations or business that
any Loan Party is required to file under any Environmental Laws. Such information is to be
provided solely to allow Agent to protect Agent’s security interest in and Lien on the Collateral.

       9.4.     Litigation. Promptly notify Agent in writing of any claim, litigation, suit or
administrative proceeding affecting any Loan Party, whether or not the claim is covered by
insurance, and of any litigation, suit or administrative proceeding, which in any such case affects
the Collateral or which could reasonably be expected to have a Material Adverse Effect.

        9.5.    Material Occurrences. Immediately upon a Responsible Officer obtaining
knowledge thereof, notify Agent in writing upon the occurrence of: (a) any Event of Default or
Default; (b) any event of default under the DIP Term Loan Documents or the Wynnefield Loan
Documents; (c) any event which with the giving of notice or lapse of time, or both, would
constitute an event of default under the DIP Term Loan Documents or the Wynnefield Loan
Documents; (d) any event, development or circumstance whereby any financial statements or other
reports provided to Agent fail in any material respect to present fairly, in accordance with GAAP
consistently applied, the financial condition or operating results of any Loan Party as of the date
of such statements; (e) any funding deficiency which, if not corrected as provided in Section 4971
of the Internal Revenue Code, could subject any Loan Party or any member of the Controlled
Group to a tax imposed by Section 4971 of the Internal Revenue Code in excess of $500,000 or
result in any representation made in Section 5.8 to be untrue; (f) each and every default by any
Loan Party which might result in the acceleration of the maturity of any Indebtedness in excess of
$500,000, including the names and addresses of the holders of such Indebtedness with respect to
which there is a default existing or with respect to which the maturity has been or could be
accelerated, and the amount of such Indebtedness; (g) any other development in the business or
affairs of any Loan Party, which could reasonably be expected to have a Material Adverse Effect
and (h) if any Loan Party is out of good standing in jurisdiction of organization and or is
disqualified from conducting business in any jurisdiction where the conduct of such Loan Party’s
business activities or the ownership of its properties necessitates qualification; in each case as to
clauses (a) through (h) of this Section 9.5, describing the nature thereof and the action the Loan
Parties propose to take with respect thereto.

        9.6.   Government Receivables. Notify Agent immediately upon a Responsible Officer
obtaining knowledge thereof if any of its Receivables arise out of contracts between any Loan
Party and the United States, Canada, or any state, province or territory or any department, agency
or instrumentality of any of them if the laws thereof require a Consent or other legal formality to
the assignment thereof.

        9.7.    Annual Financial Statements. Deliver to Agent within one hundred twenty (120)
days after the end of each fiscal year of Holdings, audited financial statements of Holdings and its
Subsidiaries on a consolidating and consolidated basis for such fiscal year, including, but not
limited to, a balance sheet, statements of income, stockholders’ equity and cash flow from the
beginning of the current fiscal year to the end of such fiscal year and the balance sheet as at the
end of such fiscal year, all prepared in accordance with GAAP applied on a basis consistent with

                                                129
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 217 of 388




prior practices, and in reasonable detail and reported upon without qualification (other than a
qualification pertaining solely to impending debt maturities of any Indebtedness occurring within
twelve (12) months of such audit), by an independent certified public accounting firm selected by
the Loan Parties and reasonably satisfactory to Agent (Moss Adams LLP shall be acceptable). The
reports described in this Section shall be accompanied by a Compliance Certificate.

        9.8.    Quarterly Financial Statements. Deliver to Agent within forty-five (45) days after
the end of each fiscal quarter, an unaudited balance sheet of Holdings and its Subsidiaries on a
consolidated and consolidating basis and unaudited statements of income, stockholders’ equity
and cash flow of Holdings and its Subsidiaries on a consolidated and consolidating basis reflecting
results of operations from the beginning of the fiscal year to the end of such fiscal quarter and for
such fiscal quarter, prepared on a basis consistent with prior practices and complete and correct in
all material respects, subject to normal and recurring year-end adjustments and the absence of
footnotes that individually and in the aggregate are not material to the Loan Parties’ business
operations and setting forth in comparative form the respective financial statements for the
corresponding date and period in the previous fiscal year. The reports described in this Section
shall be accompanied by a Compliance Certificate.

        9.9.    Monthly Financial Statements. Deliver to Agent within thirty (30) days after the
end of each month, an unaudited balance sheet of Holdings and its Subsidiaries on a consolidated
and consolidating basis and unaudited statements of income, stockholders’ equity and cash flow
of Holdings and its Subsidiaries on a consolidated and consolidating basis reflecting results of
operations from the beginning of the fiscal year to the end of such month and for such month,
prepared on a basis consistent with prior practices and complete and correct in all material respects,
subject to normal and recurring year-end adjustments and the absence of footnotes that individually
and in the aggregate are not material to the Loan Parties’ business operations and setting forth in
comparative form the respective financial statements for the corresponding date and period in the
previous fiscal year. The reports described in this Section shall be accompanied by a Compliance
Certificate.

        9.10. Other Reports. Provide Agent as soon as available, but in any event within ten (10)
Business Days after the issuance thereof, with (a) copies of such financial statements, reports and
returns as each Loan Party shall send to the holders of its Equity Interests and (b) copies of all
notices, reports, financial statements and other materials sent or received pursuant to the DIP Term
Loan Documents or the Wynnefield Loan Documents.

         9.11. Additional Information. Provide Agent with such additional information as Agent
shall request in order to enable Agent to determine whether the terms, covenants, provisions and
conditions of this Agreement and the Other Documents have been complied with by the Loan
Parties including, without the necessity of any request by Agent, (a) copies of all environmental
audits and reviews, (b) prior written notice of any Loan Party’s opening of any new office or place
of business or any Loan Party’s closing of any existing office or place of business (x) at least thirty
(30) days prior thereto for any Canadian Loan Party and (y) prior thereto for any U.S. Loan Party,
(c) promptly upon any Loan Party’s learning thereof, notice of any labor dispute to which any
Loan Party may become a party, any strikes or walkouts relating to any of its plants or other
facilities, and the expiration of any labor contract to which any Loan Party is a party or by which


                                                 130
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 218 of 388




any Loan Party is bound, and (d) promptly upon any Loan Party being called upon to satisfy any
guaranty obligations with respect to a Permitted Joint Venture.

        9.12.   Budget and Variance Reports.

               (a)    On or before the Closing Date, Borrowers shall deliver to the Agent and
Lenders the Initial Budget, which budget shall (x) be satisfactory in all respects to the Agent and
the Lenders and (y) be substantially in the form of Exhibit III.

                (b)     Commencing for the first full calendar week following the Petition Date (by
no later than 12:00 PM New York City time on Thursday of such calendar week), Borrowers shall
deliver to the Agent and Lenders an updated Budget covering the rolling thirteen calendar week
period commencing with the first full calendar week following the date each such updated Budget
is delivered, which updates shall be subject to the approval of the Agent and the Lenders in their
sole discretion with respect to the new 13th calendar week being added to the updated Budget, and
with respect to any of the other calendar weeks in such updated Budget.

               (c)     Commencing for the first full calendar week following two (2) full calendar
weeks after the Petition Date (by no later than 12:00 PM New York City time on Thursday of such
calendar week), Borrowers shall deliver to the Agent and Lenders for the two-week period ended
on the previous Friday, a variance report, in form and detail acceptable to the Agent, showing
compliance or non-compliance, as the case may be, of the variance covenant set forth in Section
7.11 and including, without limitation, actual collections and disbursements against the Approved
Budget and any and all variances of the usage of the DIP Facility, together with any proposed
modifications to the Approved Budget approved by the Agent (such proposed modifications to be
in compliance at all times with the Variance Covenant set forth in Section 7.11).

               (d)     Each Budget (except the Initial Budget) shall be accompanied by a
reconciliation of the actual results for the immediately preceding calendar week period to the
Budget for such immediately preceding calendar week period and a detailed explanation of all
material variances from the Budget.

              (e)      Each Budget delivered pursuant to Section 9.12(a) and (b) or any proposed
amendment or supplement to the Budget delivered by the Debtors to Agent shall replace, amend
or supplement, as the case may be, the prior Budget hereunder.

        9.13.   [Reserved].

        9.14. Notice of Suits, Adverse Events. Provide Agent, promptly upon a Responsible
Officer obtaining knowledge thereof, with written notice of (a) any lapse or other termination of
any Consent issued to any Loan Party by any Governmental Body or any other Person that is
material to the operation of any Loan Party’s business, (b) any refusal by any Governmental Body
or any other Person to renew or extend any such Consent, (c) copies of any periodic or special
reports filed by any Loan Party with any Governmental Body or Person, if such reports indicate
any material change in the business, operations, affairs or condition of any Loan Party, or if copies
thereof are requested by Agent and (d) copies of any material notices and other communications
from any Governmental Body or Person which specifically relate to any Loan Party.


                                                131
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 219 of 388




         9.15. ERISA Notices and Requests. Provide Agent, promptly upon a Responsible
Officer obtaining knowledge thereof, with written notice in the event that, (i) any Loan Party or
any member of the Controlled Group knows or has reason to know that a Termination Event has
occurred, together with a written statement describing such Termination Event and the action, if
any, which such Loan Party or any member of the Controlled Group has taken, is taking, or
proposes to take with respect thereto and, when known, any action taken or threatened by the
Internal Revenue Service, Canada Revenue Agency, Department of Labor or PBGC with respect
thereto, (ii) any Loan Party knows or has reason to know that a prohibited transaction (as defined
in Section 406 of ERISA or 4975 of the Internal Revenue Code) has occurred together with a
written statement describing such transaction and the action which such Loan Party has taken, is
taking or proposes to take with respect thereto, (iii) a funding waiver request has been filed with
respect to any Pension Benefit Plan together with all communications received by any Loan Party
or any member of the Controlled Group with respect to such request, (iv) any material increase in
the benefits of any existing Plan, Multiemployer Plan or the establishment of any new Pension
Benefit Plan or Multiemployer Plan or the commencement of contributions to any Pension Benefit
Plan or Multiemployer Plan or Canadian Benefit Plan, Canadian Pension Plan or the
commencement of contributions to any Pension Benefit Plan or Multiemployer Plan, Canadian
Pension Plan or Canadian Union Plan to which any Loan Party or any member of the Controlled
Group was not previously contributing shall occur, (v) any Borrower or any member of the
Controlled Group shall receive from the PBGC a notice of intention to terminate a Pension Benefit
Plan or Multiemployer Plan or Canadian Pension Plans or to have a trustee appointed to administer
a Pension Benefit Plan or Multiemployer Plan, together with copies of each such notice, (vi) any
Loan Party or any member of the Controlled Group shall receive any unfavorable determination
letter from the Internal Revenue Service regarding the qualification of a Plan under Section 401(a)
of the Internal Revenue Code, together with copies of each such letter; (vii) any Loan Party or any
member of the Controlled Group shall receive a notice regarding the imposition of withdrawal
liability from a Multiemployer Plan, together with copies of each such notice; (viii) any Loan Party
or any member of the Controlled Group shall fail to make a required installment or any other
required payment to any Pension Benefit Plan or Multiemployer Plan under the Internal Revenue
Code or ERISA on or before the due date for such installment or payment; (ix) any Loan Party or
any member of the Controlled Group knows that (a) a Multiemployer Plan has been terminated,
(b) the administrator or plan sponsor of a Multiemployer Plan or Canadian Union Plan intends to
terminate a Multiemployer Plan, (c) the PBGC has instituted or will institute proceedings under
Section 4042 of ERISA to terminate a Multiemployer Plan or (d) a Multiemployer Plan is subject
to Section 432 of the Internal Revenue Code or Section 305 of ERISA; (x) any Loan Party shall
receive notice (or a notice of intent to issue such a notice) from Canada Revenue Agency regarding
the revocation of registered status of a Canadian Pension Plan under the Income Tax Act (Canada);
or (xi) except when the failure to do so could not reasonably be expected to have a Material
Adverse Effect, any Loan Party shall fail to make or remit any required contributions or payments
in respect of a Canadian Pension Plan on or before the due date for such contribution or payment
or any other Canadian Pension Event.

       9.16. Additional Documents. Execute and deliver to Agent, upon request, such
documents and agreements as Agent may, from time to time, request to carry out the purposes,
terms or conditions of this Agreement.



                                                132
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 220 of 388




        9.17. Updates to Certain Schedules. Deliver to Agent promptly as shall be required to
maintain the related representations and warranties as true and correct, updates to
Schedules 4.4 (Locations of Equipment and Inventory), 5.9 (Intellectual Property), 5.21 (Equity
Interests), 5.22 (Commercial Tort Claims), 5.23 (Letter-of-Credit Rights), 5.24 (Material
Contracts) Schedule 7.3 (Guarantees) and Schedule 7.11 (Permitted Joint Ventures) to this
Agreement; provided, that absent the occurrence and continuance of any Event of Default, the
Loan Parties shall only be required to provide such updates on a quarterly basis in connection with
delivery of a Compliance Certificate with respect to the applicable quarter. Any such updated
Schedules delivered by the Loan Parties to Agent in accordance with this Section 9.17 shall
automatically and immediately be deemed to amend and restate the prior version of such Schedule
previously delivered to Agent and attached to and made part of this Agreement.

        9.18. Financial Disclosure. Each Loan Party hereby irrevocably authorizes and directs
all accountants and auditors employed by such Loan Party at any time during the Term to exhibit
and deliver to Agent and each Lender copies of any of such Loan Party’s financial statements, trial
balances or other accounting records of any sort in the accountant’s or auditor’s possession, and
to disclose to Agent and each Lender any information such accountants may have concerning such
Loan Party’s financial status and business operations. Each Loan Party hereby authorizes all
Governmental Bodies to deliver to Agent and each Lender copies of reports or examinations
relating to such Loan Party, whether made by such Loan Party or otherwise; provided however,
Agent and each Lender will attempt to obtain such information or materials directly from such
Loan Party prior to obtaining such information or materials from such accountants or
Governmental Bodies.

        9.19. Teleconferences with Loan Parties: Commencing on and after the Closing Date,
the Loan Parties shall host teleconferences and/or virtual conferences with the Agent and Lenders,
and the Loan Parties shall cause members of the Loan Parties’ management team to participate in
such teleconferences and/or virtual conferences, on at least a monthly basis on such dates and at
such times as agreed between the Loan Parties and the Agent or on such other dates and times as
reasonably requested by Agent, the purpose of which conferences shall be for the Loan Parties and
Agent and Lenders to discuss the Loan Parties’ business and financial performance.

        9.20.   Other Bankruptcy Documents.

               (a)      The Loan Parties shall deliver to Agent: (i) copies of all pleadings, motions,
applications, notices, financial information and other papers and documents filed by any Debtor in
any Case or delivered to any Debtor in the case which is not otherwise received by Agent, with
copies of such papers and documents also provided to or served on Agent’s counsel; (ii)
substantially contemporaneous with the receipt and/or execution thereof, copies of all letters of
intent, expressions of interest, and offers to purchase with respect to any of the Collateral; (iii)
substantially contemporaneously with delivery thereof to the Committee or any other official or
unofficial committee in any Case, copies of all material written reports and all term sheets for a
plan of reorganization or any sale under Section 363 of the Bankruptcy Code given by any Debtor
to the Committee or any other official or unofficial committee in any Case, with copies of such
reports and term sheets also provided to or served on Agent’s counsel; and (iv) projections,
operating plans and other financial information and information, reports or statements regarding
any Debtor, its business and the Collateral as Agent may from time to time reasonably request.

                                                 133
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 221 of 388




                (b)    The Loan Parties shall comply (i) after entry thereof, with all of the
requirements and obligations set forth in the DIP Orders and the Cash Management Order, as each
such order is amended and in effect from time to time in accordance with this Agreement, (ii) after
entry thereof, with each order of the type referred to in clause (b) of the definition of “Approved
Bankruptcy Court Order”, as each such order is amended and in effect in accordance with this
Agreement (including, for the avoidance of doubt, the requirements set forth in clause (b) of the
definition of “Approved Bankruptcy Court Order”) and (iii) after entry thereof, with the orders (to
the extent not covered by subclause (i) or (ii) above) approving the Debtors’ “first day” and
“second day” relief and any pleadings seeking to establish material procedures for administration
of the Cases or approving significant or material non-ordinary course transactions and obtained in
the Cases, as each such order is amended and in effect in accordance with this Agreement
(including, for the avoidance of doubt, the requirements set forth in clause (c) of the definition of
“Approved Bankruptcy Court Order”); provided, that any actions taken to enforce any rights or
remedies arising from a breach of this Section 9.20(b) shall be subject to any requirements in the
DIP Orders requiring a ruling or entry of an order of the Bankruptcy Court.

For the avoidance of doubt, nothing in the foregoing clauses (a) and (b) of this Section 9.20 shall
limit or reduce the notice periods required or provided under any other applicable agreement or
order.

        9.21. Consultant. The Loan Parties shall continue to engage, at their own expense, the
services of G2 Capital Advisors LLC (or such other third-party consultant reasonably acceptable
to Agent) (the “Consultant”) for the purpose of (i) participating in preparation and delivery of the
Budget delivered in accordance with this Agreement, (ii) assisting with the monitoring of vendor
payments, and (iii) participating in preparation and delivery of certain reporting to Agent and
Lenders, including, without limitation, participating in the preparation and delivery of Borrowing
Base Certificates and Compliance Certificates. Each of the Loan Parties expressly authorizes the
Consultant to consult with the Agent and Lenders and to share with Agent and Lenders all records,
projections, financial information, reports and other information prepared by or in the possession
of the Consultant relating to the Collateral, or the financial condition or operations of the business
of the Loan Parties and to respond fully to any reasonable inquiries of the Agent or any Lender
regarding the assets, prospects, business and operations of the Loan Parties and communicate and
fully cooperate with Agent and the Lenders; provided, that, notwithstanding anything to the
contrary contained in this Section 9.21, Consultant shall not be required to disclose such other
information where such disclosure of such other information would, in Holdings’ reasonable
judgment upon the advice of counsel, (1) jeopardize the attorney-client privilege or other immunity
or protection from disclosure available to Holdings under applicable law, (2) conflict with the non-
disclosure requirements, if any, contained in any bona fide contract with a third-party to which
either Consultant (in its capacity as a consultant to Holdings) or Holdings is party or is bound, or
(3) constitute the disclosure of materials or work product generated by Consultant or others
specifically for review by the Board of Directors of Holdings and where the disclosure of such
other information could reasonably be regarded as a poor corporate governance practice or could
be reasonably likely to jeopardize the ability of the Board of Directors of Holdings to discharge its
fiduciary obligations to Holdings and its stockholders; provided, further, that in the case of each
of the preceding clauses (1), (2) and (3), the Consultant shall promptly inform the Agent of the
general nature of the information being withheld and provide such information, in whole or in part,


                                                 134
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 222 of 388




in a manner that would not result in the outcome described in the foregoing clause (1), (2) or (3),
as applicable.

       9.22. Engagement of Chief Restructuring Officer. At all times until all Obligations under
this Agreement have been Paid in Full, Borrowers shall cause a chief restructuring officer to be
appointed, which person shall be reasonably acceptable to Agent and the Lenders.

Documents delivered pursuant to this Article IX may be delivered electronically to Agent for
further distribution to each Lender and if so delivered, shall be deemed to have been delivered on
the date that the Borrowing Agent delivers such documents to Agent by electronic mail; provided
that, upon written request, the Borrowing Agent shall deliver paper copies to Agent for further
distribution to the Lenders until a written notice to cease delivering such paper copies is given by
Agent to the Borrowing Agent.

X.      EVENTS OF DEFAULT.

        Subject to the terms of the Interim Order and any Final Order, any of the following shall
constitute an “Event of Default”:

        10.1. Nonpayment. Failure by any Loan Party to pay when due (a) any principal or
interest on the Obligations (including without limitation pursuant to Section 2.9 hereof), or (b) any
other fee, charge, amount or liability provided for herein or in any Other Document, in each case
whether at maturity, by reason of acceleration pursuant to the terms of this Agreement, by notice
of intention to prepay or by required prepayment;

       10.2. Breach of Representation. Except as provided in Section 10.18 hereof, any
representation or warranty made or deemed made by any Loan Party in this Agreement, any Other
Document or in any agreement, documents, certificate or financial or other written statement
provided at any time in connection herewith or therewith shall prove to have been incorrect or
misleading in any material respect on the date when made or deemed to have been made;

       10.3. Financial Information. Failure by any Loan Party to (a) deliver financial
information when due under Section 6.2, Article IX or any other Section of this Agreement or, if
no due date is specified herein, within three (3) Business Days following a request therefor, or (b)
permit the inspection of its books or records or access to its premises for audits and appraisals in
accordance with the terms hereof;

       10.4. Judicial Actions. Issuance of a notice of Lien, levy, assessment, injunction or
attachment (a) against any Loan Party’s Inventory or Receivables or (b) against a material portion
of any Loan Party’s other property which is not stayed or lifted within thirty (30) days;

       10.5. Noncompliance. Except as otherwise provided for in Sections 10.1, 10.3, 10.5(b),
and 10.18 hereof, (a) failure or neglect of any Loan Party, or any Person to perform, keep or
observe any term, provision, condition, covenant herein, or in any Other Document or any other
agreement or arrangement, now or hereafter entered into between any Loan Party or such Person,
and Agent or any Lender, or (b) failure or neglect of any Loan Party to perform, keep or observe
any term, provision, condition or covenant in Sections 4.5, 6.1, 6.3, 6.11, 6.13, 9.4 or 9.6 hereof
which is not cured within ten (10) days from the occurrence of such failure or neglect;

                                                135
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 223 of 388




        10.6. Judgments. Any (a) final judgment, writ, order or decree for the payment of money
are rendered against any Loan Party for an aggregate amount in excess of $500,000 or against all
Loan Parties for an aggregate amount in excess of $500,000 (to the extent not covered by
independent third-party insurance as to which the insurer has been notified of such judgment or
order and does not deny or fail to confirm coverage) and (b) action shall be legally taken by any
judgment creditor to levy upon assets or properties of any Loan Party to enforce any such judgment
and (i) such judgment shall remain undischarged, unvacated, unstayed or unbonded for a period of
sixty (60) consecutive days during which a stay of enforcement of such judgment, by reason of a
pending appeal or otherwise, shall not be in effect, or (ii) any Liens arising by virtue of the
rendition, entry or issuance of such judgment upon assets or properties of any Loan Party shall be
senior to any Liens in favor of Agent on such assets or properties;

        10.7.   [Reserved]. ;

        10.8.   [Reserved];

        10.9. Lien Priority. Any Lien created hereunder or provided for hereby or under any of
the Other Documents for any reason ceases to be or is not a valid and perfected Lien having a first
priority Lien (subject only to Permitted Encumbrances that have priority as a matter of Applicable
Law to the extent such Liens only attach to Collateral other than Receivables or Inventory, and the
Intercreditor Agreement), except to the extent that any such loss of perfection or priority results
from the failure of Agent to maintain possession of certificates actually received by it representing
securities pledged under the Pledge Agreement, or to file Uniform Commercial Code continuation
statements in the applicable jurisdictions as required under the Uniform Commercial Code to
continue the perfection of such security interest or the equivalent in the applicable jurisdiction;

        10.10. Term Loan/Wynnefield Default. (a) An event of default has occurred under the
DIP Term Loan Documents, which default shall not have been cured or waived within any
applicable grace period, or if any Person party to the Intercreditor Agreement breaches or violates,
in any material respect, or attempts to terminate or challenge the validity of, such Intercreditor
Agreement or (b) an event of default has occurred under the Wynnefield Loan Documents, which
default shall not have been cured or waived within any applicable grace period, or if any Person
party to the Subordination Agreement applicable to the Wynnefield Loan Documents breaches or
violates, in any material respect, or attempts to terminate or challenge the validity of, such
Subordination Agreement;

        10.11. Cross Default. Either (a) any specified “event of default” under any Indebtedness
(other than the Obligations and the obligations under the DIP Term Loan Documents and the
Wynnefield Loan Documents) of any Loan Party with a then-outstanding principal balance (or, in
the case of any Indebtedness not so denominated, with a then-outstanding total obligation amount)
of $500,000 or more, or any other event or circumstance which would permit the holder of any
such Indebtedness of any Loan Party to accelerate such Indebtedness (and/or the obligations of
such Loan Party thereunder) prior to the scheduled maturity or termination thereof, shall occur
(regardless of whether the holder of such Indebtedness shall actually accelerate, terminate or
otherwise exercise any rights or remedies with respect to such Indebtedness) or (b) a default of the
obligations of any Loan Party under any other agreement to which it is a party shall occur which
has or is reasonably likely to have a Material Adverse Effect;

                                                136
074658.23049/132216381v.5
            Case 23-10961-BLS          Doc 13-1      Filed 07/22/23      Page 224 of 388




        10.12. Breach of Guaranty, Guarantor Security Agreement or Pledge Agreement.
Termination or breach of any Guaranty, Guarantor Security Agreement, Pledge Agreement or
similar agreement executed and delivered to Agent in connection with the Obligations of any Loan
Party, or if any Loan Party or pledgor attempts to terminate or challenges the validity of, its liability
under, any such Guaranty, Guarantor Security Agreement, Pledge Agreement or similar agreement
(other than as a result of repayment in full of the Obligations and termination of the Commitments);

        10.13. Change of Control. Any Change of Control shall occur;

         10.14. Invalidity. Any material provision of this Agreement or any Other Document shall,
for any reason other than as expressly permitted hereunder or thereunder or the satisfaction in full
of all the Obligations, cease to be valid and binding on any Loan Party, or any Loan Party shall so
claim in writing to Agent or any Lender or any Loan Party challenges the validity of its liability
under this Agreement or any Other Document (other than as a result of repayment in full of the
Obligations and termination of the Commitments);

        10.15. Seizures. Any (a) portion of the Collateral shall be seized, subject to garnishment
or taken by a Governmental Body, or any Loan Party, or (b) the title and rights of any Loan Party,
in and to the Collateral shall have become the subject matter of claim, litigation, suit, garnishment
or other proceeding which might, in the opinion of Agent, upon final determination, result in
impairment or loss of the security provided by this Agreement or the Other Documents;

        10.16. [Reserved];

         10.17. Pension Plans. An event or condition specified in Section 7.16 or 9.15 hereof shall
occur or exist with respect to any Plan, Multiemployer Plan, Canadian Pension Plan, Canadian
Benefit Plan or Canadian Union Plan, and, as a result of such event or condition, together with all
other such events or conditions, any Loan Party or any member of the Controlled Group shall
incur, or in the reasonable opinion of Agent be reasonably likely to incur, a liability to a Plan,
Multiemployer Plan, Canadian Pension Plan, Canadian Benefit Plan or Canadian Union Plan, or
the PBGC (or one or more) which, in the judgment of Agent, would have a Material Adverse
Effect; or the occurrence of any Termination Event or Canadian Pension Event which, in the
judgment of Agent, would have a Material Adverse Effect, or any Loan Party’s failure to promptly
report a Termination Event or Canadian Pension Event in accordance with Section 9.15 hereof; or
Anti-Terrorism Laws. If (a) any representation or warranty contained in (i) Section 16.18 hereof
or (ii) any corresponding section of any Guaranty is or becomes false or misleading at any time,
(b) any Borrower shall fail to comply with its obligations under Section 16.18 hereof, or (c) any
Guarantor shall fail to comply with its obligations under any section of any Guaranty containing
provisions comparable to those set forth in Section 16.18 hereof;

        10.18. Disposition of Collateral. Any sale, transfer, lease, encumbrance, or other
disposition of any portion of the Collateral without an order of the Bankruptcy Court and the
written consent of the Agent, except as otherwise permitted herein or for sales of the Debtors’
inventory in the Ordinary Course of Business;

       10.19. Inventory. (a) Enter into any agreement to return any inventory to any creditors for
application against any pre-petition indebtedness under any applicable provision of Bankruptcy


                                                  137
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 225 of 388




Code section 546 or (b) consent to any creditor exercising any setoff against any of its pre-petition
indebtedness based upon any such return pursuant to Bankruptcy Code section 553(b)(1) or
otherwise, unless otherwise consented to in writing by the Agent (and no such consent shall be
implied, from any other action, inaction or acquiescence by the Agent or any Lender);

        10.20. Bankruptcy Defaults.

                (a)    The Bankruptcy Court shall enter any order, that has not been consented to
by Agent (i) revoking, reversing, staying, vacating, rescinding, modifying, supplementing or
amending (x) the Interim Order, the Final Order, the Cash Management Order, any sale order, this
Agreement, the Prepetition Loan Documents or any Loan Document, or (y) any other “first day”
orders to the extent such revocation, reversal, stay, vacation, rescission, modification, supplement
or amendment is materially adverse to the interests of Secured Parties, or (ii) permitting any
administrative expense or any claim (now existing or hereafter arising, of any kind or nature
whatsoever) to have administrative priority as to any Debtor equal or superior to the priority of the
Agent and Lenders in respect of the Obligations (subject to the Senior Liens (as defined in the
Interim Order) and Lien Priority Chart), or there shall arise any such Superpriority Claim, or (iii)
granting or permitting the grant of a Lien on the Collateral superior to, or pari passu with, the Liens
of Agent on the Prepetition Collateral or the Collateral (subject to the Senior Liens (as defined in
the Interim Order) and the Lien Priority Chart);

                (b)     the Bankruptcy Court shall enter any order (i) appointing a Chapter 11
trustee under Section 1104 of the Bankruptcy Code in any Case, (ii) appointing an examiner with
enlarged powers relating to the operation of the business (powers beyond those set forth in Section
1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code in any
Case, (iii) appointing a fiduciary or representative of the estate with decision-making or other
management authority over some or all of any Debtor’s senior management other than such
Debtor’s Chief Restructuring Officer, (iv) substantively consolidating the estate of the Debtor with
the estate of any other Person, (v) dismissing any Case or converting any Case to a Chapter 7 case;
or (vi) approving a sale of any of the assets of any Debtor which order does not provide that upon
consummation of such sale, all of the net sale proceeds shall be paid to Agent and applied to either
the Prepetition Obligations or the Post-Petition Obligations in accordance with the Prepetition
Credit Agreement or this Agreement, as applicable;

                (c)    this Agreement, any of the Loan Documents, the Interim Order or the Final
Order for any reason ceases to be in full force and effect or is declared to be null and void by a
court of competent jurisdiction, or any Debtor shall seek to, or shall support (in any such case by
way of any motion or other pleading filed with the Bankruptcy Court or any other writing to
another party-in-interest executed by or on behalf of the Debtor) any other Person’s motion to,
disallow in whole or in part the Secured Parties’ claim in respect of the Obligations or to challenge
the validity and enforceability of the Liens in favor of any Secured Party;

               (d)    any Debtor files a motion with the Bankruptcy Court asserting that the
Secured Parties do not have a right to, or supports a motion filed with the Bankruptcy Court that
asserts the Secured Parties do not have the right to, credit bid for any assets of any Debtor in
connection with any sale pursuant to Section 363(k) of the Bankruptcy Code;


                                                 138
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 226 of 388




               (e)     the Bankruptcy Court shall enter any order granting relief from the
automatic stay to any creditor holding or asserting a Lien, reclamation claim or other rights on the
assets of any Debtor in excess of $100,000;

               (f)     any application for any of the orders or motions described in clauses (a)
through (e) above shall be made and, if made by a Person other than a Debtor, such application is
not being diligently contested by any applicable Debtors in good faith;

               (g)      except (i) as permitted by the Interim Order or Final Order and set forth in
the Budget, or (ii) as otherwise agreed to by Agent in writing, and approved by all necessary
Bankruptcy Court orders/approvals, any Debtor shall make any Prepetition Payment (including,
without limitation, related to any reclamation claims) following the Closing Date;

                (h)    any Debtor shall be unable to pay its post-petition debts as they mature,
shall fail to comply with any order of the Bankruptcy Court in any material respect, or shall fail to
make, as and when such payments become due or otherwise;

                 (i)     any Debtor shall file a motion in any Case (i) to use Revolving Credit Cash
Collateral under Section 363(c) of the Bankruptcy Code without Agent’s prior written consent
except to the extent expressly permitted in the Interim Order or, once entered, the Final Order, (ii)
to sell a material portion of the Revolving Credit Priority Collateral of any Debtor without Agent’s
prior written consent, (iii) to recover from any portions of the Collateral any costs or expenses of
preserving or disposing of such Collateral under Section 506(c) of the Bankruptcy Code, or to cut
off rights in the Collateral under Section 552(b) of the Bankruptcy Code, (iv) to obtain additional
financing under Sections 364(c) or (d) of the Bankruptcy Code not otherwise permitted under this
Agreement, unless such motion and additional financing shall provide that upon initial closing and
consummation of such financing, that upon consummation of such sale, all of the Obligations (and
prior to entry of the Final Order, the Prepetition Obligations) shall be indefeasibly paid and
satisfied in full and Secured Parties receive a release (on terms and conditions and in form and
substance satisfactory to Agent in its sole discretion) of Secured Parties in full from all claims of
each Loan Party (and in respect of a Debtor, the estate of such Debtor), or (v) to take any other
action or actions adverse to Secured Parties or their rights and remedies hereunder or under any of
the Other Documents or Secured Parties interest in any of the Collateral;

                (j)    a plan of reorganization is filed in any Case by any Debtor which does not
contain provisions for termination of Agent’s and Lenders’ commitment to make Revolving
Advances hereunder and indefeasible payment in full in cash of the Obligations (and prior to entry
of the Final Order, the Prepetition Obligations) and the release of the Secured Parties (on terms
and conditions and in form and substance satisfactory to Agent) in full from all claims of each
Loan Party and, in respect of a Debtor, the estate of such Debtor, in each case, on or before, and
the continuation of the Liens and security interests granted to Agent until, the effective date of
such plan of reorganization, or (ii) an order shall be entered by the Bankruptcy Court confirming
a plan of reorganization in any Case which does not contain provisions for termination of Agent’s
and Lenders’ commitment to make Revolving Advances hereunder and indefeasible payment in
full in cash of the Obligations (and prior to entry of the Final Order, the Prepetition Obligations)
and the release of the Secured Parties (on terms and conditions and in form and substance
satisfactory to Agent) in full from all claims of each Loan Party (and in respect of a Debtor, the

                                                139
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1      Filed 07/22/23     Page 227 of 388




estate of such Debtor) on or before, and the continuation of the Liens and security interests granted
to Agent until, the effective date of such plan of reorganization upon entry thereof;

                 (k)     the expiration or termination, in each case without the prior written consent
of the Agent, of the “exclusive period” of any Debtor under Section 1121 of the Bankruptcy Code
for the filing of a plan of reorganization;

                 (l)     any Debtor engages in or supports any challenge to the validity, perfection,
priority, extent or enforceability of the credit facility provided hereunder or the Prepetition Other
Documents or the liens on or security interest in the assets of any Debtor securing the Obligations
or (ii) any Debtor engages in or supports any investigation or asserts any claims or causes of action
(or directly or indirectly support assertion of the same) against Secured Parties; provided, however,
that it shall not constitute an Event of Default if the Debtor provides information with respect to
the Prepetition Credit Agreement and the Prepetition Other Documents to (x) the Committee and
(y) with prior written notice to the Agent and the Lenders of any requirement to do so, any other
party in interest;

                (m)         any Case is converted to a case under Chapter 7 of the Bankruptcy;

                (n)         any Case is dismissed;

              (o)     a breach of the terms or provisions of, or the occurrence of a defined “Event
of Default” under the Interim Order or Final Order;

               (p)    a breach of the terms or provisions of, or the occurrence of a defined “Event
of Default” under the DIP Term Loan Credit Agreement or the DIP Term Loan Credit Documents;

                (q)    a breach of the terms or provisions of, or any failure to comply with, the
terms of the Stalking Horse Agreement that is not cured within three (3) days of the occurrence
thereof (or otherwise waived or modified with the written consent of the Agent);

               (r)     solely upon entry of the Final Order, any Person shall be permitted to
surcharge the Collateral or the Prepetition Collateral under Section 506(c) of the Bankruptcy Code,
or any costs or expenses whatsoever shall be imposed against the Collateral or the Prepetition
Collateral;

               (s)      solely upon entry of the Final Order, the Agent shall be made subject to any
equitable remedy of marshalling or any similar doctrine with respect to the Collateral and the
Prepetition Collateral;

                (t)         failure of any Debtor to meet any of the Milestones set forth in Section 6.23;

               (u)     any material contract or unexpired leases of any Debtor is rejected or
otherwise terminated (other than (x) the Water Projects Contracts, or (y) in accordance with its
terms) or any property of the Debtors is sold outside the ordinary course of business, in each
instance, without the express written consent of the Lenders; or



                                                     140
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 228 of 388




                 (v)      the Stalking Horse Agreement shall be amended, modified or any provision
thereof waived (including by extending the closing under the Stalking Horse Agreement to a date
that is later than fifty-seven (57) days after the Petition Date) without the prior written consent of
the Agent.

For the avoidance of doubt, none of the existing defaults or events of default under the Prepetition
Revolving Loan Agreement or the Prepetition Term Loan Credit Agreement outstanding on the
Petition Date shall constitute an Event of Default hereunder.

XI.     LENDERS’ RIGHTS AND REMEDIES AFTER DEFAULT.

       11.1.    Rights and Remedies. Upon the occurrence and during the continuance of an Event
of Default:

                (a)    the Agent may, and at the direction of the Required Lenders shall, take any
or all of the following actions without the necessity of seeking relief from the automatic stay or
any further Order of the Bankruptcy Court or providing an Enforcement Notice (defined below):

                          (i)    declare the commitment of each Revolving Lender to make
Revolving Advances to be terminated, whereupon such commitments and obligation shall be
terminated;

                             (ii)   declare the unpaid principal amount of all outstanding
Advances, all interest accrued and unpaid thereon, and all other Obligations owing or payable
hereunder or under any other Loan Document related thereto to be immediately due and payable,
without presentment, demand, protest or other notice of any kind, all of which are hereby expressly
waived by the Borrowers;

                              (iii) require that the Borrowers Cash Collateralize any
Obligations that are contingent or not yet due and payable in amount determined by the Agent in
accordance with this Agreement; and

                                (iv)    (a) the Agent and Lenders shall no longer have any
obligation to make any Revolving Advances (or otherwise extend credit) under this Agreement;
(b) all Obligations shall, at the option of the Agent, be accelerated and become immediately due
and payable; (c) the Agent and the Prepetition Agent shall be entitled to immediately terminate the
Debtors’ right to use Revolving Credit Cash Collateral, without further application or Order of the
Bankruptcy Court, provided, however, that the Debtors shall have the right to use Revolving Credit
Cash Collateral to pay their weekly ordinary course payroll included in the Approved Budget
through the date on which such Event of Default occurs and to pay expenses set forth in the
Approved Budget that accrued prior to the date of the occurrence of the Event of Default; (d) the
Debtors shall be bound by all post-default restrictions, prohibitions, and other terms as provided
in the Interim Order, this Agreement and the other Loan Documents and the Prepetition Revolving
Credit Documents; (e) the Agent shall be entitled to charge the Default Rate; and (f) subject only
to the notice requirement set forth in clause (b) below, both the Agent and the Prepetition Agent
shall be entitled to take any other action or exercise any other right or remedy as provided in the
Interim Order, this Agreement, the Loan Documents, the Prepetition Revolving Credit


                                                 141
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 229 of 388




Documents, or applicable law, including, without limitation, setting off any Obligations or
Prepetition Obligations with Collateral, Prepetition Revolving Credit Priority Collateral or
proceeds in the possession of any Prepetition Secured Party or Secured Party, and enforcing any
and all rights and remedies with respect to the Collateral or Prepetition Revolving Credit Priority
Collateral, as applicable;

                (b)    Without further notice, application or order of this Court, upon the
occurrence and during the continuance of an Event of Default, and after providing not less than
three (3) business days’ advance written notice thereof (the “Notice Period”) (which three (3)
business day period applies only to the enforcement remedies described in this clause (b)), which
notice may be by electronic mail (the “Enforcement Notice”), to counsel to the Debtors, the U.S.
Trustee, and counsel to any Committee, the Agent for the benefit of itself and the Lenders, and the
Prepetition Agent, for the benefit of itself and the other Prepetition Secured Parties, as applicable,
shall be entitled to take any other action and exercise all rights and remedies not described in
Section 11.1(a) above and provided to them by the Interim Order, this Agreement, the Loan
Documents or the Prepetition Loan Documents, or applicable law (including, without limitation,
setting off any Obligations or Prepetition Revolving Credit Loan Obligations with Collateral,
Prepetition Revolving Credit Priority Collateral or proceeds in the possession of any Prepetition
Secured Revolving Credit Secured Party or Secured Party), unless otherwise ordered by the
Bankruptcy Court, as the Agent or the Prepetition Agent, as applicable, may deem appropriate in
their sole discretion to, among other things, proceed against and realize upon the Collateral
(including the Prepetition Revolving Credit Priority Collateral) or any other assets or properties of
the Debtors’ Estates upon which the Agent, for the benefit of itself and the Lenders, and the
Prepetition Agent, for the benefit of itself and the other Prepetition Secured Parties, has been or
may hereafter be granted liens or security interests to obtain the Payment in Full of the Obligations.
Notwithstanding the foregoing, Agent may continue to apply proceeds received into the lockbox
or collection account to reduce the Prepetition Revolving Credit Loan Obligations or the
Obligations in any order at the sole discretion of the Agent during the Notice Period; provided that
during the Notice Period the Debtors and the Committee shall be entitled to seek an emergency
hearing with the Bankruptcy Court with respect to the Enforcement Notice and whether an Event
of Default has occurred and is continuing.

                (c)     Additionally, upon the occurrence and during the continuance of an Event
of Default, expiration of the Notice Period, and the exercise by the Agent or the Prepetition Agent
of their respective rights and remedies under the Interim Order, the Final Order, this Agreement,
the Loan Documents, the Prepetition Credit Agreement or the Prepetition Loan Documents, the
Debtors shall cooperate with the Agent or Prepetition Agent, as applicable, in the exercise of such
rights and remedies and assist the Agent in effecting any sale or other disposition of the Collateral
required by the Agent, including any sale of Collateral pursuant to Bankruptcy Code section 363
or assumption and assignment of Collateral consisting of contracts and leases pursuant to
Bankruptcy Code section 365, in each case, upon such terms that are reasonably acceptable to the
Agent; provided that the Debtors and the Agent agree upon a mutually acceptable wind down
budget that is funded by the Lenders.

               (d)     Upon the occurrence and during the continuance of an Event of Default, and
subject to the Notice Period provided for above, in connection with a liquidation of any of the
Prepetition Collateral or Collateral, the Agent (or any of their respective employees, agents,

                                                 142
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 230 of 388




consultants, contractors, or other professionals), as applicable, shall have the right, at the sole cost
and expense of the Debtors, to: (i) enter upon, occupy, and use any real or personal property,
fixtures, equipment, leasehold interests, or warehouse arrangements owned or leased by the
Debtors; provided, however, that the Agent may only be permitted to do so in accordance with (a)
existing rights under applicable non-bankruptcy law, including, without limitation, applicable
leases, (b) any pre-petition (and, if applicable, post-petition) landlord waivers or consents, or (c)
further Order of the Bankruptcy Court on motion and notice appropriate under the circumstances;
and (ii) use any and all trademarks, tradenames, copyrights, licenses, patents, equipment, or any
other similar assets of the Debtors, or assets that are owned by or subject to a lien of any third party
and that are used by the Debtors in their businesses; provided, however, Agent may use such assets
upon entry of the Interim Order to the extent permitted by non-bankruptcy law. The Agent and
the Lenders will be responsible for the payment of any applicable fees, rentals, royalties, or other
amounts owing to such lessor, licensor or owner of such property (other than the Debtors) for the
period of time that the Agent actually occupies any real property or uses the equipment or the
intellectual property (but in no event for any accrued and unpaid fees, rentals, or other amounts
owing for any period prior to the date that the Agent actually occupies or uses such assets or
properties).

                (e)   the Agent, at the direction of the Required Lenders shall, exercise on behalf
of itself and the Lenders all rights and remedies available to it and the Lenders under the Loan
Documents or applicable Law;

              (f)    No remedy herein is intended to be exclusive of any other remedy and each
and every remedy shall be cumulative and shall be in addition to every other remedy given
hereunder or now or hereafter existing at law or in equity or by statute or any other provision of
Law.

               (g)    Each of the Lenders agrees that it shall not, unless specifically requested to
do so in writing by Agent, take or cause to be taken any action, including, the commencement of
any legal or equitable proceedings to enforce any Loan Document against any Loan Party or to
foreclose any Lien on, or otherwise enforce any security interest in, or other rights to, any of the
Collateral.

        11.2. Agent’s Discretion. Agent shall have the right in its sole discretion to determine
which rights, Liens, security interests or remedies Agent may at any time pursue, relinquish,
subordinate, or modify, which procedures, timing and methodologies to employ, and what any
other action to take with respect to any or all of the Collateral and in what order, thereto and such
determination will not in any way modify or affect any of Agent’s or Lenders’ rights hereunder as
against the Loan Parties or each other.

        11.3.   [Reserved].

        11.4.   [Reserved].

      11.5. Rights and Remedies not Exclusive. The enumeration of the foregoing rights and
remedies is not intended to be exhaustive and the exercise of any rights or remedy shall not



                                                 143
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 231 of 388




preclude the exercise of any other right or remedies provided for herein or otherwise provided by
law, all of which shall be cumulative and not alternative.

        11.6. Allocation of Payments After Event of Default. Subject to the provisions of the
Interim Order, the Final Order (when entered), the Intercreditor Agreement and the Lien Priority
Chart, notwithstanding any other provisions of this Agreement to the contrary, after the occurrence
and during the continuance of an Event of Default, all amounts collected or received by Agent on
account of the Obligations (including without limitation any amounts on account of any of Cash
Management Obligations or Hedge Obligations), or in respect of the Collateral may, at Agent’s
discretion, be applied to either the Prepetition Revolving Obligations or the Post-Petition
Revolving Obligations.

XII.    WAIVERS AND JUDICIAL PROCEEDINGS.

       12.1. Waiver of Notice. Each Loan Party hereby waives notice of non-payment of any
of the Receivables, demand, presentment, protest and notice thereof with respect to any and all
instruments, notice of acceptance hereof, notice of loans or advances made, credit extended,
Collateral received or delivered, or any other action taken in reliance hereon, and all other demands
and notices of any description, except such as are expressly provided for herein.

         12.2. Delay. No delay or omission on Agent’s or any Lender’s part in exercising any
right, remedy or option shall operate as a waiver of such or any other right, remedy or option or of
any Default or Event of Default.

     12.3. Jury Waiver. EACH PARTY TO THIS AGREEMENT HEREBY EXPRESSLY
WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, COUNTERCLAIM,
DEMAND, ACTION OR CAUSE OF ACTION (A) ARISING UNDER THIS AGREEMENT,
ANY OTHER DOCUMENT OR ANY OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH, OR (B) IN
ANY WAY CONNECTED WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF
THE PARTIES HERETO OR ANY OF THEM WITH RESPECT TO THIS AGREEMENT, ANY
OTHER DOCUMENT OR ANY OTHER INSTRUMENT, DOCUMENT OR AGREEMENT
EXECUTED OR DELIVERED IN CONNECTION HEREWITH, OR THE TRANSACTIONS
RELATED HERETO OR THERETO IN EACH CASE WHETHER NOW EXISTING OR
HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT OR TORT OR
OTHERWISE AND EACH PARTY HEREBY CONSENTS THAT ANY SUCH CLAIM,
COUNTERCLAIM, DEMAND, ACTION OR CAUSE OF ACTION SHALL BE DECIDED BY
COURT TRIAL WITHOUT A JURY, AND THAT ANY PARTY TO THIS AGREEMENT
MAY FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY
COURT AS WRITTEN EVIDENCE OF THE CONSENTS OF THE PARTIES HERETO TO
THE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.

XIII.   EFFECTIVE DATE AND TERMINATION.

        13.1. Term. This Agreement, which shall inure to the benefit of and shall be binding
upon the respective successors and permitted assigns of each Loan Party, Agent and each Lender,
shall become effective on the Closing Date and shall continue in full force and effect until the


                                                144
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23      Page 232 of 388




Termination Date (such period from the Closing Date through and ending on the Termination Date,
the “Term”). The Loan Parties may terminate this Agreement at any time subject to providing
seven (7) days’ prior written notice to Agent, upon Payment in Full as provided in Section 13.2
hereof.

         13.2. Termination. The termination of this Agreement shall not affect Agent’s or any
Lender’s rights, or any of the Obligations having their inception prior to the effective date of such
termination or any Obligations which pursuant to the terms hereof continue to accrue after such
date, and the provisions hereof shall continue to be fully operative until (a) all of the Obligations
have been Paid in Full and the Commitments and this Agreement have been terminated, and (b)
each of the Loan Parties has released the Secured Parties from and against any and all claims of
any nature whatsoever that any Loan Party may have against the Secured Parties. The security
interests, Liens and rights granted to Agent and Lenders hereunder and the financing statements
filed in connection herewith shall continue in full force and effect, notwithstanding the termination
of this Agreement or the fact that Borrowers’ Account may from time to time be temporarily in a
zero or credit position, until all of the Obligations have been Paid in Full after the termination of
this Agreement or each Loan Party has provided Agent and Lenders with an indemnification
satisfactory to Agent and Lenders with respect thereto. Accordingly, each Loan Party waives any
rights which it may have under the Uniform Commercial Code or PPSA to demand the filing of
termination statements with respect to the Collateral, and Agent shall not be required to send such
termination statements to any Loan Party, or to file them with any filing office, unless and until
this Agreement shall have been terminated in accordance with its terms, the Commitments have
been terminated and all of the Obligations have been Paid in Full. All representations, warranties,
covenants, waivers and agreements set forth herein shall survive termination hereof until the
Payment in Full of the Obligations, the termination of the Commitments and the termination of
this Agreement.

XIV.    REGARDING AGENT.

        14.1. Appointment. Each Lender hereby designates PNC to act as Agent for such Lender
under this Agreement and the Other Documents. Each Lender hereby irrevocably authorizes
Agent to take such action on its behalf under the provisions of this Agreement and the Other
Documents and to exercise such powers and to perform such duties hereunder and thereunder as
are specifically delegated to or required of Agent by the terms hereof and thereof and such other
powers as are incidental thereto and Agent shall hold all Collateral, payments of principal and
interest, fees (except the fees set forth in Sections 2.8(b), 3.3 and 3.4 hereof), charges and
collections received pursuant to this Agreement, for the ratable benefit of Lenders. Agent may
perform any of its duties hereunder by or through its agents or employees. As to any matters not
expressly provided for by this Agreement, Agent shall not be required to exercise any discretion
or take any action, but shall be required to act or to refrain from acting (and shall be fully protected
in so acting or refraining from acting) upon the instructions of Required Lenders, and such
instructions shall be binding; provided, however, that Agent shall not be required to take any action
which, in Agent’s discretion, exposes Agent to liability or which is contrary to this Agreement or
the Other Documents or Applicable Law unless Agent is provided with an indemnification
satisfactory to Agent with respect thereto.



                                                 145
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 233 of 388




        14.2. Nature of Duties. Agent shall have no duties or responsibilities except those
expressly set forth in this Agreement and the Other Documents. Neither Agent nor any of its
officers, directors, employees or agents shall be (i) liable for any action taken or omitted by them
as such hereunder or in connection herewith, unless caused by their gross (not mere) negligence
or willful misconduct (as determined by a court of competent jurisdiction in a final and non-
appealable judgment or order), or (ii) responsible in any manner for any recitals, statements,
representations or warranties made by any Loan Party or any officer thereof set forth in this
Agreement, or in any of the Other Documents or in any certificate, report, statement or other
document referred to or provided for in, or received by Agent under or in connection with, this
Agreement or any of the Other Documents or for the value, validity, effectiveness, genuineness,
due execution, enforceability or sufficiency of this Agreement, or any of the Other Documents or
for any failure of any Loan Party to perform its obligations hereunder. Agent shall not be under
any obligation to any Lender to ascertain or to inquire as to the observance or performance of any
of the agreements set forth in, or conditions of, this Agreement or any of the Other Documents, or
to inspect the properties, books or records of any Loan Party. The duties of Agent as respects the
Advances to the Borrowers shall be mechanical and administrative in nature. Agent shall not have
by reason of this Agreement a fiduciary relationship in respect of any Lender; and nothing in this
Agreement, expressed or implied, is intended to or shall be so construed as to impose upon Agent
any obligations in respect of this Agreement or the transactions described herein except as
expressly set forth herein.

        14.3. Lack of Reliance on Agent. Independently and without reliance upon Agent or any
other Lender, each Lender has made and shall continue to make (a) its own independent
investigation of the financial condition and affairs of each Loan Party in connection with the
making and the continuance of the Advances hereunder and the taking or not taking of any action
in connection herewith, and (b) its own appraisal of the creditworthiness of each Loan Party. Agent
shall have no duty or responsibility, either initially or on a continuing basis, to provide any Lender
with any credit or other information with respect thereto, whether coming into its possession before
making of the Advances or at any time or times thereafter except as shall be provided by any Loan
Party pursuant to the terms hereof. Agent shall not be responsible to any Lender for any recitals,
statements, information, representations or warranties herein or in any agreement, document,
certificate or a statement delivered in connection with or for the execution, effectiveness,
genuineness, validity, enforceability, collectability or sufficiency of this Agreement or any Other
Document, or of the financial condition of any Loan Party, or be required to make any inquiry
concerning either the performance or observance of any of the terms, provisions or conditions of
this Agreement, the Notes, the Other Documents or the financial condition or prospects of any
Loan Party, or the existence of any Event of Default or any Default.

        14.4. Resignation of Agent; Successor Agent. Agent may resign on thirty (30) days
written notice to each Lender and Borrowing Agent and upon such resignation, Required Lenders
will promptly designate a successor Agent reasonably satisfactory to Borrowing Agent (provided
that no notice to or approval of Borrowing Agent shall be required (i) in any case where the
successor Agent is one of the Lenders or (ii) after the occurrence and during the continuance of
any Event of Default). Any such successor Agent shall succeed to the rights, powers and duties
of Agent, and shall in particular succeed to all of Agent’s right, title and interest in and to all of
the Liens in the Collateral securing the Obligations created hereunder or any Other Document, and
the term “Agent” shall mean such successor agent effective upon its appointment, and the former

                                                 146
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 234 of 388




Agent’s rights, powers and duties as Agent shall be terminated, without any other or further act or
deed on the part of such former Agent. However, notwithstanding the foregoing, if at the time of
the effectiveness of the new Agent’s appointment, any further actions need to be taken in order to
provide for the legally binding and valid transfer of any Liens in the Collateral from former Agent
to new Agent and/or for the perfection of any Liens in the Collateral as held by new Agent or it is
otherwise not then possible for new Agent to become the holder of a fully valid, enforceable and
perfected Lien as to any of the Collateral, former Agent shall continue to hold such Liens solely
as agent for perfection of such Liens on behalf of new Agent until such time as new Agent can
obtain a fully valid, enforceable and perfected Lien on all Collateral, provided that Agent shall not
be required to or have any liability or responsibility to take any further actions after such date as
such agent for perfection to continue the perfection of any such Liens (other than to forego from
taking any affirmative action to release any such Liens). After Agent’s resignation as Agent, the
provisions of this Article XIV, and any indemnification rights under this Agreement, including
without limitation, rights arising under Section 16.5 hereof, shall inure to its benefit as to any
actions taken or omitted to be taken by it while it was Agent under this Agreement (and in the
event resigning Agent continues to hold any Liens pursuant to the provisions of the immediately
preceding sentence, the provisions of this Article XIV and any indemnification rights under this
Agreement, including without limitation, rights arising under Section 16.5 hereof, shall inure to its
benefit as to any actions taken or omitted to be taken by it in connection with such Liens).

         14.5. Certain Rights of Agent. If Agent shall request instructions from Lenders with
respect to any act or action (including failure to act) in connection with this Agreement or any
Other Document, Agent shall be entitled to refrain from such act or taking such action unless and
until Agent shall have received instructions from Required Lenders; and Agent shall not incur
liability to any Person by reason of so refraining. Without limiting the foregoing, Lenders shall
not have any right of action whatsoever against Agent as a result of its acting or refraining from
acting hereunder in accordance with the instructions of Required Lenders.

        14.6. Reliance. Agent shall be entitled to rely, and shall be fully protected in relying,
upon any note, writing, resolution, notice, statement, certificate, email, facsimile or telecopier
message, order or other document or telephone message believed by it to be genuine and correct
and to have been signed, sent or made by the proper person or entity, and, with respect to all legal
matters pertaining to this Agreement and the Other Documents and its duties hereunder, upon
advice of counsel selected by it. Agent may employ agents and attorneys-in-fact and shall not be
liable for the default or misconduct of any such agents or attorneys-in-fact selected by Agent with
reasonable care.

        14.7. Notice of Default. Agent shall not be deemed to have knowledge or notice of the
occurrence of any Default or Event of Default hereunder or under the Other Documents, unless
Agent has received notice from a Lender or Borrowing Agent referring to this Agreement or the
Other Documents, describing such Default or Event of Default and stating that such notice is a
“notice of default”. In the event that Agent receives such a notice, Agent shall give notice thereof
to Lenders. Agent shall take such action with respect to such Default or Event of Default as shall
be reasonably directed by Required Lenders; provided, that, unless and until Agent shall have
received such directions, Agent may (but shall not be obligated to) take such action, or refrain
from taking such action, with respect to such Default or Event of Default as it shall deem advisable
in the best interests of Lenders.

                                                147
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 235 of 388




        14.8. Indemnification. To the extent Agent is not reimbursed and indemnified by the
Loan Parties, each Lender will reimburse and indemnify Agent in proportion to its respective
portion of the outstanding Advances and its respective Participation Commitments in the
outstanding Letters of Credit and outstanding Swing Loans (or, if no Advances are outstanding,
pro rata according to the percentage that its Revolving Commitment Amount constitutes of the
total aggregate Revolving Commitment Amounts), from and against any and all liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
of any kind or nature whatsoever which may be imposed on, incurred by or asserted against Agent
in performing its duties hereunder, or in any way relating to or arising out of this Agreement or
any Other Document; provided that Lenders shall not be liable for any portion of such liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
resulting from Agent’s gross (not mere) negligence or willful misconduct (as determined by a court
of competent jurisdiction in a final and non-appealable judgment or order).

          14.9. Agent in its Individual Capacity. With respect to the obligation of Agent to lend
under this Agreement, the Advances made by it shall have the same rights and powers hereunder
as any other Lender and as if it were not performing the duties as Agent specified herein; and the
term “Lender” or any similar term shall, unless the context clearly otherwise indicates, include
Agent in its individual capacity as a Lender. Agent may engage in business with any Loan Party
as if it were not performing the duties specified herein, and may accept fees and other consideration
from any Loan Party for services in connection with this Agreement or otherwise without having
to account for the same to Lenders.

       14.10. Delivery of Documents. To the extent Agent receives financial statements required
under Sections 9.7, 9.8, 9.9, 9.12 and 9.13 hereof or Borrowing Base Certificates from any Loan
Party pursuant to the terms of this Agreement which any Loan Party is not obligated to deliver to
each Lender, Agent will promptly provide such documents and information to Lenders.

        14.11. Loan Parties Undertaking to Agent. Without prejudice to their respective
obligations to Lenders under the other provisions of this Agreement, each Loan Party hereby
undertakes with Agent to pay to Agent from time to time on demand all amounts from time to time
due and payable by it for the account of Agent or Lenders or any of them pursuant to this
Agreement to the extent not already paid. Any payment made pursuant to any such demand shall
pro tanto satisfy the relevant Loan Party’s obligations to make payments for the account of Lenders
or the relevant one or more of them pursuant to this Agreement.

        14.12. No Reliance on Agent’s Customer Identification Program. To the extent the
Advances or this Agreement is, or becomes, syndicated in cooperation with other Lenders, each
Lender acknowledges and agrees that neither such Lender, nor any of its Affiliates, participants or
assignees, may rely on Agent to carry out such Lender's, Affiliate's, participant's or assignee's
customer identification program, or other obligations required or imposed under or pursuant to the
USA PATRIOT Act or the regulations thereunder, including the regulations contained in 31 CFR
103.121 (as hereafter amended, modified, supplemented or replaced, the “CIP Regulations”), the
Proceeds of Crime (Money Laundering) and Terrorist Financing Act (Canada) or any other
Anti-Terrorism Law, including any programs involving any of the following items relating to or
in connection with any of the Loan Parties, their Affiliates or their agents, the Other Documents
or the transactions hereunder or contemplated hereby: (i) any identity verification procedures, (ii)

                                                148
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 236 of 388




any recordkeeping, (iii) comparisons with government lists, (iv) customer notices or (v) other
procedures required under the CIP Regulations or such Anti-Terrorism Laws.

         14.13. Other Agreements. Each of the Lenders agrees that it shall not, without the prior
written consent of Agent, and that it shall, to the extent it is lawfully entitled to do so, upon the
request of Agent, set off against the Obligations, any amounts owing by such Lender to any Loan
Party or any deposit accounts of any Loan Party now or hereafter maintained with such Lender.
Anything in this Agreement to the contrary notwithstanding, each of the Lenders further agrees
that it shall not, unless specifically requested to do so by Agent, take any action to protect or
enforce its rights arising out of this Agreement or the Other Documents, it being the intent of
Lenders that any such action to protect or enforce rights under this Agreement and the Other
Documents shall be taken in concert and at the direction or with the consent of Agent or Required
Lenders.

        14.14. [Reserved].

        14.15. Erroneous Payments.

                 (a)     If the Agent notifies a Lender, Issuer or Secured Party, or any Person who
has received funds on behalf of a Lender, Issuer or Secured Party (any such Lender, Issuer, Secured
Party or other recipient, a “Payment Recipient”) that the Agent has determined in its sole discretion
(whether or not after receipt of any notice under immediately succeeding clause (b)) that any funds
received by such Payment Recipient from the Agent or any of its Affiliates were erroneously
transmitted to, or otherwise erroneously or mistakenly received by, such Payment Recipient
(whether or not known to such Lender, Issuer, Secured Party or other Payment Recipient on its
behalf) (any such funds, whether received as a payment, prepayment or repayment of principal,
interest, fees, distribution or otherwise, individually and collectively, an “Erroneous Payment”)
and demands the return of such Erroneous Payment (or a portion thereof), such Erroneous Payment
shall at all times remain the property of the Agent and shall be segregated by the Payment Recipient
and held in trust for the benefit of the Agent, and such Lender, Issuer or Secured Party shall (or,
with respect to any Payment Recipient who received such funds on its behalf, shall cause such
Payment Recipient to) promptly, but in no event later than two Business Days thereafter, return to
the Agent the amount of any such Erroneous Payment (or portion thereof) as to which such a
demand was made, in same day funds (in the currency so received), together with interest thereon
in respect of each day from and including the date such Erroneous Payment (or portion thereof)
was received by such Payment Recipient to the date such amount is repaid to the Agent in same
day funds at the greater of the Overnight Bank Funding Rate and a rate determined by the Agent
in accordance with banking industry rules on interbank compensation from time to time in effect.
A notice from the Agent to any Payment Recipient under this clause (a) shall be conclusive, absent
manifest error.

                (b)    Without limiting immediately preceding clause (a), each Lender, Issuer or
Secured Party, or any Person who has received funds on behalf of a Lender, Issuer or Secured
Party hereby further agrees that if it receives a payment, prepayment or repayment (whether
received as a payment, prepayment or repayment of principal, interest, fees, distribution or
otherwise) from the Agent (or any of its Affiliates) (x) that is in an amount different than, or on a
different date from, that specified in a notice of payment, prepayment or repayment sent by the

                                                149
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 237 of 388




Agent (or any of its Affiliates) with respect to such, prepayment or repayment (y) that was not
preceded or accompanied by a notice of payment, prepayment or repayment sent by the Agent (or
any of its Affiliates), or (z) that such Lender, Issuer or Secured Party, or other such recipient,
otherwise becomes aware was transmitted, or received, in error or by mistake (in whole or in part)
in each case:

                        (i)   (A) In the case of immediately preceding clauses (x) or (y), an error
shall be presumed to have been made (absent written confirmation from the Agent to the contrary)
or (B) an error has been made (in the case of immediately preceding clause (z)), in each case, with
respect to such payment, prepayment or repayment; and

                         (ii) such Lender, Issuer or Secured Party shall (and shall cause any other
recipient that receives funds on its respective behalf to) promptly (and, in all events, within one
Business Day of its knowledge of such error) notify the Agent of its receipt of such payment,
prepayment or repayment, the details thereof (in reasonable detail) and that it is so notifying the
Agent pursuant to this Section 14.15(b),

                (c)    Each Lender, Issuer or Secured Party hereby authorizes the Agent to set off,
net and apply any and all amounts at any time owing to such Lender, Issuer or Secured Party under
any Other Document, or otherwise payable or distributable by the Agent to such Lender, Issuer or
Secured Party from any source, against any amount due to the Agent under immediately preceding
clause (a) or under the indemnification provisions of this Agreement.

                (d)      In the event that an Erroneous Payment (or portion thereof) is not recovered
by the Agent for any reason, after demand therefor by the Agent in accordance with immediately
preceding clause (a), from any Lender or Issuer that has received such Erroneous Payment (or
portion thereof) (and/or from any Payment Recipient who received such Erroneous Payment (or
portion thereof) on its respective behalf (such unrecovered amount, an “Erroneous Payment Return
Deficiency”)), upon the Agent’s notice to such Lender or Issuer at any time, (i) such Lender or
Issuer shall be deemed to have assigned its loans (but not its commitments) of the relevant class
with respect to which such Erroneous Payment was made (the “Erroneous Payment Impacted
Class”) in an amount equal to the Erroneous Payment Return Deficiency (or such lesser amount as
the Agent may specify) (such assignment of the loans (but not commitments) of the Erroneous
Payment Impacted Class, the “Erroneous Payment Deficiency Assignment”) at par plus any
accrued and unpaid interest (with the assignment fee to be waived by the Agent in such instance),
and is hereby (together with the Borrower) deemed to execute and deliver an assignment and
assumption with respect to such Erroneous Payment Deficiency Assignment, and such Lender or
Issuer shall deliver any Notes evidencing such loans to the Borrower or the Agent, (ii) the Agent
as the assignee Lender shall be deemed to acquire the Erroneous Payment Deficiency Assignment,
(iii) upon such deemed acquisition, the Agent as the assignee Lender shall become a Lender or
Issuer, as applicable, hereunder with respect to such Erroneous Payment Deficiency Assignment
and the assigning Lender or assigning Issuer shall cease to be a Lender or Issuer, as applicable,
hereunder with respect to such Erroneous Payment Deficiency Assignment, excluding for the
avoidance of doubt, its obligations under the indemnification provisions of this Agreement and its
applicable commitments which shall survive as to such assigning Lender or assigning Issuer and
(iv) the Agent may reflect in the Register its ownership interest in the loans subject to the
Erroneous Payment Deficiency Assignment. The Agent may, in its discretion, sell any loans

                                                150
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 238 of 388




acquired pursuant to an Erroneous Payment Deficiency Assignment and upon receipt of the
proceeds of such sale, the Erroneous Payment Return Deficiency owing by the applicable Lender
or Issuer shall be reduced by the net proceeds of the sale of such loan (or portion thereof), and the
Agent shall retain all other rights, remedies and claims against such Lender or Issuer (and/or
against any recipient that receives funds on its respective behalf). For the avoidance of doubt, no
Erroneous Payment Deficiency Assignment will reduce the commitments of any Lender or Issuer
and such commitments shall remain available in accordance with the terms of this Agreement. In
addition, each party hereto agrees that, except to the extent that the Agent has sold a loan (or
portion thereof) acquired pursuant to an Erroneous Payment Deficiency Assignment, and
irrespective of whether the Agent may be equitably subrogated, the Agent shall be contractually
subrogated to all the rights and interests of the applicable Lender, Issuer or Secured Party under
the Other Documents with respect to such Erroneous Payment Return Deficiency (the “Erroneous
Payment Subrogation Rights”).

                (e)     The parties hereto agree that an Erroneous Payment shall not pay, prepay,
repay, discharge or otherwise satisfy any Obligations owed by the Borrower or any other loan
party, except, in each case, to the extent such Erroneous Payment is, and solely with respect to the
amount of such Erroneous Payment that is, comprised of funds received by the Agent from the
Borrower or any other loan party for the purpose of making such Erroneous Payment.

               (f)     To the extent permitted by applicable law, no Payment Recipient shall assert
any right or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any
claim, counterclaim, defense or right of set-off or recoupment with respect to any demand, claim
or counterclaim by the Agent for the return of any Erroneous Payment received, including without
limitation, waiver of any defense based on “discharge for value” or any similar doctrine.

              (g)     Each party’s obligations under this Section 14.15 shall survive the
resignation or replacement of the Agent, the termination of all of the commitments and/or
repayment, satisfaction or discharge of all Obligations (or any portion thereof) under any Other
Document.

XV.     BORROWING AGENCY.

        15.1.   Borrowing Agency Provisions.

                (a)    Each Loan Party hereby irrevocably designates Borrowing Agent to be its
attorney and agent and in such capacity, whether verbally, in writing or through electronic methods
(including, without limitation, an Approved Electronic Communication), to (i) borrow, (ii) request
advances, (iii) request the issuance of Letters of Credit, (iv) sign and endorse notes, (v) execute
and deliver all instruments, documents, applications, security agreements, reimbursement
agreements and letter of credit agreements for Letters of Credit and all other agreements,
documents, instruments, certificates, notices and further assurances now or hereafter required
hereunder, (vi) make elections regarding interest rates, (vii) give instructions regarding Letters of
Credit and agree with Issuer upon any amendment, extension or renewal of any Letter of Credit
and (viii) otherwise take action under and in connection with this Agreement and the Other
Documents, all on behalf of and in the name of such Loan Party or the Loan Parties, and hereby



                                                151
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 239 of 388




authorizes Agent to pay over or credit all loan proceeds hereunder in accordance with the request
of Borrowing Agent.

                (b)     The handling of this credit facility as a co-borrowing facility with a
borrowing agent in the manner set forth in this Agreement is solely as an accommodation to the
Loan Parties and at their request. Neither Agent nor any Lender shall incur liability to the Loan
Parties as a result thereof. To induce Agent and Lenders to do so and in consideration thereof,
each Loan Party hereby indemnifies Agent and each Lender and holds Agent and each Lender
harmless from and against any and all liabilities, expenses, losses, damages and claims of damage
or injury asserted against Agent or any Lender by any Person arising from or incurred by reason
of the handling of the financing arrangements of the Loan Parties as provided herein, reliance by
Agent or any Lender on any request or instruction from Borrowing Agent or any other action taken
by Agent or any Lender with respect to this Section 15.1 except due to willful misconduct or gross
(not mere) negligence by the indemnified party (as determined by a court of competent jurisdiction
in a final and non-appealable judgment or order).

                (c)     All Obligations shall be joint and several, and each Loan Party shall make
payment upon the maturity of the Obligations by acceleration or otherwise, and such obligation
and liability on the part of each Loan Party shall in no way be affected by any extensions, renewals
and forbearance granted by Agent or any Lender to any Loan Party, failure of Agent or any Lender
to give any Loan Party notice of borrowing or any other notice, any failure of Agent or any Lender
to pursue or preserve its rights against any Loan Party, the release by Agent or any Lender of any
Collateral now or thereafter acquired from any Loan Party, and such agreement by each Loan Party
to pay upon any notice issued pursuant thereto is unconditional and unaffected by prior recourse
by Agent or any Lender to the other Loan Parties or any Collateral for such Loan Party’s
Obligations or the lack thereof. Each Loan Party waives all suretyship defenses.

        15.2. Waiver of Subrogation. Each Loan Party expressly waives any and all rights of
subrogation, reimbursement, indemnity, exoneration, contribution of any other claim which such
Loan Party may now or hereafter have against the other Loan Parties or any other Person directly
or contingently liable for the Obligations hereunder, or against or with respect to any other Loan
Parties’ property (including, without limitation, any property which is Collateral for the
Obligations), arising from the existence or performance of this Agreement, until the termination
of the Commitments, the termination of this Agreement and the Payment in Full of the Obligations.

        15.3. Common Enterprise. The successful operation and condition of each of the
Borrowers is dependent on the continued successful performance of the functions of the group of
Borrowers as a whole and the successful operation of each Borrower is dependent on the successful
performance and operation of each other Borrower. Each of the Borrowers expects to derive
benefit (and its board of directors or other governing body has determined that it may reasonably
be expected to derive benefit), directly or indirectly, from successful operations of the Loan Parties
and each of the other Borrowers. Each Borrower expects to derive benefit (and the board of
directors or other governing body of each such Borrower have determined that it may reasonably
be expected to derive benefit), directly and indirectly, from the credit extended by the Lenders to
the Borrowers hereunder, both in their separate capacities and as members of the group of
companies. Each Borrower has determined that execution, delivery, and performance of this


                                                 152
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 240 of 388




Agreement and any Other Documents to be executed by such Borrower is within its corporate
purpose, will be of direct and indirect benefit to such Borrower, and is in its best interest.

XVI.    MISCELLANEOUS.

        16.1. Governing Law. This Agreement and each Other Document (unless and except to
the extent expressly provided otherwise in any such Other Document), and all matters relating
hereto or thereto or arising herefrom or therefrom (whether arising under contract law, tort law or
otherwise) shall, in accordance with Section 5-1401 of the General Obligations Law of the State
of New York, be governed by and construed in accordance with the laws of the State of New York.
Each Loan Party hereby consents to and acknowledges the jurisdiction of the Bankruptcy Court
over any actions or proceedings arising in connection with any Case, this Agreement and the Other
Loan Documents (or in any way connected with or related or incidental to the dealings of the
parties hereto in respect of any Case, this Agreement or any of the Other Documents. If (i) any
Case is dismissed, (ii) the Bankruptcy Court abstains from hearing any actions or proceedings
arising in connection with this Agreement or any of the Other Documents (or in any way connected
with or related or incidental to the dealings of the parties hereto in respect of this Agreement or
any of the Other Documents or the transactions related hereto or thereto) or (iii) the Bankruptcy
Court refuses to exercise jurisdiction over any actions or proceedings arising in connection with
this Agreement or any of the Other Documents (or in any way connected with or related or
incidental to the dealings of the parties hereto in respect of this Agreement or any of the Other
Documents or the transactions related hereto or thereto), then any judicial proceeding brought by
or against any Loan Party with respect to any of the Obligations, this Agreement, the Other
Documents or any related agreement may be brought in any court of competent jurisdiction in the
State of New York, United States of America (unless and except to the extent expressly provided
otherwise in any such Other Document or related agreement) and, by execution and delivery of
this Agreement, each Loan Party accepts for itself and in connection with its properties, generally
and unconditionally, the non-exclusive jurisdiction of the aforesaid courts, and irrevocably agrees
to be bound by any judgment rendered thereby in connection with this Agreement. Each Loan
Party waives any objection to jurisdiction and venue of any action instituted hereunder and shall
not assert any defense based on lack of jurisdiction or venue or based upon forum non conveniens.
Each Loan Party waives the right to remove any judicial proceeding brought against such Loan
Party in any state court to any federal court. Any judicial proceeding by any Loan Party against
Agent or any Lender involving, directly or indirectly, any matter or claim in any way arising out
of, related to or connected with this Agreement or any of the Other Documents, shall be brought
only in a federal or state court located in the County of New York, State of New York.

        16.2.   Entire Understanding.

               (a)     This Agreement and the Other Documents contain the entire understanding
between each Loan Party, Agent and each Lender and supersedes all prior agreements and
understandings, if any, relating to the subject matter hereof. Any promises, representations,
warranties or guarantees not set forth herein and hereinafter made shall have no force and effect
unless in writing, signed by each Loan Party’s, Agent’s and each Lender’s respective officers.
Neither this Agreement nor any portion or provisions hereof may be amended, modified, changed,
waived, supplemented, discharged, cancelled or terminated orally or by any course of dealing, or
in any manner other than by an agreement in writing, signed by the party to be charged. The

                                                153
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 241 of 388




parties hereto shall be permitted to amend this Agreement and the Other Documents without
further approval or order of the Bankruptcy Court; provided, however, that any material
modification or amendment to this Agreement or the any Other Documents shall be subject to
providing notice of such material modification or amendment to counsel to any Committee and
the US Trustee each of whom shall have three (3) Business Days from the date of such notice
within which to object in writing to such modification or amendment unless the Committee and
the US Trustee agree in writing to a shorter period. Unless the Committee or the US Trustee timely
objects to any material modification or amendment to this Agreement or any Other Document,
then such modification or amendment shall become effective upon the expiration of the
aforementioned notice period. If a timely objection is interposed, the Bankruptcy Court shall
resolve such objection prior to such modification or amendment becoming effective. Each Loan
Party acknowledges that it has been advised by counsel in connection with the execution of this
Agreement and Other Documents and is not relying upon oral representations or statements
inconsistent with the terms and provisions of this Agreement.

               (b)    Required Lenders, Agent with the consent in writing of Required Lenders,
and the Loan Parties may, subject to the provisions of this Section 16.2(b), from time to time enter
into any written amendments to this Agreement or any of the Other Documents or any other
supplemental agreements, documents or instruments for the purpose of adding or deleting any
provisions or otherwise amending, modifying, supplementing, changing, varying or waiving in
any manner the conditions, provisions or terms hereof or thereof or waiving any Event of Default
hereunder or thereunder, but only to the extent specified in such written amendments or other
agreements, documents or instruments; provided, however, that no such amendment, or other
agreement, document or instrument shall:

                       (i)    increase the Revolving Commitment Percentage, or the maximum
U.S. Dollar amount of the Revolving Commitment Amount of any Lender without the consent of
such Lender directly affected thereby;

                         (ii) whether or not any Advances are outstanding, extend the Term or
the time for payment of principal or interest of any Advance (excluding the due date of any
mandatory prepayment of an Advance), or any fee payable to any Lender, or reduce the principal
amount of or the rate of interest borne by any Advances or reduce any fee payable to any Lender,
without the consent of each Lender directly affected thereby (except that Required Lenders may
elect to waive or rescind any imposition of the Default Rate under Section 3.1 hereof or of default
rates of Letter of Credit fees under Section 3.2 hereof (unless imposed by Agent));

                      (iii) increase the Maximum Revolving Advance Amount without the
consent of each Lender directly affected thereby;

                       (iv) alter, amend or modify the definition of the term “Required
Lenders” or this Section 16.2(b) without the consent of all Lenders;

                       (v)    alter, amend or modify the provisions of Section 11.6 hereof without
the consent of all Lenders;




                                                154
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23    Page 242 of 388




                            (vi)   change the rights and duties of Agent without the consent of all
Lenders;

                         (vii) subject to Section 16.2(d) below, permit any Revolving Advance to
be made if after giving effect thereto the total of Revolving Advances outstanding hereunder would
exceed the Formula Amount for more than sixty (60) consecutive Business Days or exceed one
hundred and ten percent (110%) of the Formula Amount without the consent of all Revolving
Lenders;

                      (viii) increase the Advance Rates above the Advance Rates in effect on
the Closing Date without the consent of all Revolving Lenders; or

                            (ix)   release any Loan Party without the consent of all Lenders.

Any such supplemental agreement shall apply equally to each Lender and shall be binding upon
the Loan Parties, Lenders and Agent and all future holders of the Obligations. In the case of any
waiver, the Loan Parties, Agent and Lenders shall be restored to their former positions and rights,
and any Event of Default waived shall be deemed to be cured and not continuing, but no waiver
of a specific Event of Default shall extend to any subsequent Event of Default (whether or not the
subsequent Event of Default is the same as the Event of Default which was waived), or impair any
right consequent thereon.

                 (c)     In the event that Agent requests the consent of a Lender pursuant to this
Section 16.2 and such consent is denied, then Agent may, at its option, require such Lender to
assign its interest in the Advances to Agent or to another Lender or to any other Person designated
by Agent (the “Designated Lender”), for a price equal to (i) then outstanding principal amount
thereof plus (ii) accrued and unpaid interest and fees due such Lender, which interest and fees shall
be paid when collected from the Loan Parties. In the event Agent elects to require any Lender to
assign its interest to Agent or to the Designated Lender, Agent will so notify such Lender in writing
within forty five (45) days following such Lender’s denial, and such Lender will assign its interest
to Agent or the Designated Lender no later than five (5) days following receipt of such notice
pursuant to a Commitment Transfer Supplement executed by such Lender, Agent or the
Designated Lender, as appropriate, and Agent.

                (d)     Notwithstanding (i) the existence of a Default or an Event of Default,
(ii) that any of the other applicable conditions precedent set forth in Section 8.2 hereof have not
been satisfied or the commitments of Lenders to make Revolving Advances hereunder have been
terminated for any reason, or (iii) any other contrary provision of this Agreement, Agent may at
its discretion and without the consent of any Lender, voluntarily permit the outstanding Revolving
Advances at any time to exceed an amount equal to up to ten percent (10%) of the Formula Amount
for up to sixty (60) consecutive Business Days (the “Out-of-Formula Loans”). If Agent is willing
in its sole and absolute discretion to permit such Out-of-Formula Loans, Lenders holding the
Revolving Commitments shall be obligated to fund such Out-of-Formula Loans in accordance with
their respective Revolving Commitment Percentages, and such Out-of-Formula Loans shall be
payable on demand and shall bear interest at the Default Rate for Revolving Advances consisting
of Domestic Rate Loans; provided that, if Agent does permit Out-of-Formula Loans, neither Agent
nor Lenders shall be deemed thereby to have changed the limits of Section 2.1(a) nor shall any

                                                    155
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 243 of 388




Lender be obligated to fund Revolving Advances in excess of its Revolving Commitment Amount.
For purposes of this Section, the discretion granted to Agent hereunder shall not preclude
involuntary overadvances that may result from time to time due to the fact that the Formula
Amount was unintentionally exceeded for any reason, including, but not limited to, Collateral
previously deemed to be either “Eligible Canadian Receivables”, “Eligible Receivables”, “Eligible
Unbilled Receivables”, or “Eligible JV Receivables”, as applicable, becomes ineligible,
collections of Receivables applied to reduce outstanding Revolving Advances are thereafter
returned for insufficient funds or overadvances are made to protect or preserve the Collateral. In
the event Agent involuntarily permits the outstanding Revolving Advances to exceed the Formula
Amount by more than ten percent (10%), Agent shall use its efforts to have Borrowers decrease
such excess in as expeditious a manner as is practicable under the circumstances and not
inconsistent with the reason for such excess. Revolving Advances made after Agent has
determined the existence of involuntary overadvances shall be deemed to be involuntary
overadvances and shall be decreased in accordance with the preceding sentence. To the extent any
Out-of-Formula Loans are not actually funded by the other Lenders as provided for in this Section
16.2(d), Agent may elect in its discretion to fund such Out-of-Formula Loans and any such Out-
of-Formula Loans so funded by Agent shall be deemed to be Revolving Advances made by and
owing to Agent, and Agent shall be entitled to all rights (including accrual of interest) and remedies
of a Lender holding a Revolving Commitment under this Agreement and the Other Documents
with respect to such Revolving Advances.

                (e)    In addition to (and not in substitution of) the discretionary Revolving
Advances permitted in Section 16.2(d) above, Agent is hereby authorized by the Loan Parties and
Lenders, at any time in Agent’s sole discretion, regardless of (i) the existence of a Default or an
Event of Default, (ii) whether any of the other applicable conditions precedent set forth in
Section 8.2 hereof have not been satisfied or the Revolving Commitments have been terminated
for any reason, or (iii) any other contrary provision of this Agreement, to make Revolving
Advances to Borrowers on behalf of Revolving Lenders which Agent, in its reasonable business
judgment, deems necessary or desirable (A) to preserve or protect the Collateral, or any portion
thereof, (B) to enhance the likelihood of, or maximize the amount of, repayment of the Advances
and other Obligations, or (C) to pay any other amount chargeable to the Loan Parties pursuant to
the terms of this Agreement (“Protective Advances”). Revolving Lenders shall be obligated to
fund such Protective Advances and effect a settlement with Agent therefor upon demand of Agent
in accordance with their respective Revolving Commitment Percentages. To the extent any
Protective Advances are not actually funded by the other Revolving Lenders as provided for in
this Section 16.2(e), any such Protective Advances funded by Agent shall be deemed to be
Revolving Advances made by and owing to Agent, and Agent shall be entitled to all rights
(including accrual of interest) and remedies of a Revolving Lender with respect to such Revolving
Advances.

        16.3.   Successors and Assigns; Participations; New Lenders.

               (a)     This Agreement shall be binding upon and inure to the benefit of the Loan
Parties, Agent, each Lender, all future holders of the Obligations and their respective successors
and assigns, except that no Loan Party may assign or transfer any of its rights or obligations under
this Agreement (including, in each case, by way of an LLC Division) without the prior written
consent of Agent and each Lender.

                                                 156
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 244 of 388




                (b)     Each Loan Party acknowledges that in the regular course of commercial
banking business one or more Lenders may at any time and from time to time sell participating
interests in the Advances to other Persons (each such transferee or purchaser of a participating
interest, a “Participant”). Each Participant may exercise all rights of payment (including rights of
set-off) with respect to the portion of such Advances held by it or other Obligations payable
hereunder as fully as if such Participant were the direct holder thereof provided that (i) the Loan
Parties shall not be required to pay to any Participant more than the amount which it would have
been required to pay to any Lender which granted an interest in its Advances or other Obligations
payable hereunder to such Participant had such Lender retained such interest in the Advances
hereunder or other Obligations payable hereunder unless the sale of the participation to such
Participant is made with Loan Party’s prior written consent, and (ii) in no event shall the Loan
Parties be required to pay any such amount arising from the same circumstances and with respect
to the same Advances or other Obligations payable hereunder to both such Lender and such
Participant. Each Loan Party hereby grants to any Participant a continuing security interest in any
deposits, moneys or other property actually or constructively held by such Participant as security
for the Participant’s interest in the Advances.

                 (c)     Any Lender, with the consent of Agent, may sell, assign or transfer all or
any part of its rights and obligations under or relating to Revolving Advances under this Agreement
and the Other Documents to one or more additional Persons and one or more additional Persons
may commit to make Advances hereunder (each a “Purchasing Lender”), in minimum amounts of
not less than $1,000,000 pursuant to a Commitment Transfer Supplement, executed by a
Purchasing Lender, the transferor Lender, and Agent and delivered to Agent for recording,
provided, however, that each partial assignment shall be made as an assignment of a proportionate
part of all the assigning Lender's rights and obligations under this Agreement with respect to each
of the Revolving Advances under this Agreement in which such Lender has an interest. Upon
such execution, delivery, acceptance and recording, from and after the transfer effective date
determined pursuant to such Commitment Transfer Supplement, (i) Purchasing Lender thereunder
shall be a party hereto and, to the extent provided in such Commitment Transfer Supplement, have
the rights and obligations of a Lender thereunder with a Revolving Commitment Percentage as set
forth therein, and (ii) the transferor Lender thereunder shall, to the extent provided in such
Commitment Transfer Supplement, be released from its obligations under this Agreement, the
Commitment Transfer Supplement creating a novation for that purpose. Such Commitment
Transfer Supplement shall be deemed to amend this Agreement to the extent, and only to the
extent, necessary to reflect the addition of such Purchasing Lender and the resulting adjustment of
the Revolving Commitment Percentages arising from the purchase by such Purchasing Lender of
all or a portion of the rights and obligations of such transferor Lender under this Agreement and
the Other Documents. Each Loan Party hereby consents to the addition of such Purchasing Lender
and the resulting adjustment of the Revolving Commitment Percentages arising from the purchase
by such Purchasing Lender of all or a portion of the rights and obligations of such transferor Lender
under this Agreement and the Other Documents. The Loan Parties shall execute and deliver such
further documents and do such further acts and things in order to effectuate the foregoing;
provided, however, that the consent of Borrowing Agent (such consent not to be unreasonably
withheld, conditioned or delayed) shall be required unless (x) an Event of Default has occurred
and is continuing at the time of such assignment or (y) such assignment is to a Permitted Assignee;
provided that Borrowing Agent shall be deemed to have consented to any such assignment unless


                                                157
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 245 of 388




it shall object thereto by written notice to Agent within five (5) Business Days after having received
prior notice thereof.

                 (d)     Any Lender, with the consent of Agent, which consent shall not be
unreasonably withheld or delayed, may directly or indirectly sell, assign or transfer all or any
portion of its rights and obligations under or relating to Revolving Advances under this Agreement
and the Other Documents to an entity, whether a corporation, partnership, trust, limited liability
company or other entity that (i) is engaged in making, purchasing, holding or otherwise investing
in bank loans and similar extensions of credit in the ordinary course of its business and (ii) is
administered, serviced or managed by the assigning Lender or an Affiliate of such Lender (a
“Purchasing CLO” and together with each Participant and Purchasing Lender, each a “Transferee”
and collectively the “Transferees”), pursuant to a Commitment Transfer Supplement modified as
appropriate to reflect the interest being assigned (“Modified Commitment Transfer Supplement”),
executed by any intermediate purchaser, the Purchasing CLO, the transferor Lender, and Agent as
appropriate and delivered to Agent for recording. Upon such execution and delivery, from and
after the transfer effective date determined pursuant to such Modified Commitment Transfer
Supplement, (i) Purchasing CLO thereunder shall be a party hereto and, to the extent provided in
such Modified Commitment Transfer Supplement, have the rights and obligations of a Lender
thereunder and (ii) the transferor Lender thereunder shall, to the extent provided in such Modified
Commitment Transfer Supplement, be released from its obligations under this Agreement, the
Modified Commitment Transfer Supplement creating a novation for that purpose. Such Modified
Commitment Transfer Supplement shall be deemed to amend this Agreement to the extent, and
only to the extent, necessary to reflect the addition of such Purchasing CLO. Each Loan Party
hereby consents to the addition of such Purchasing CLO. The Loan Parties shall execute and
deliver such further documents and do such further acts and things in order to effectuate the
foregoing.

                (e)     Agent, acting as a non-fiduciary agent of the Loan Parties, shall maintain at
its address a copy of each Commitment Transfer Supplement and Modified Commitment Transfer
Supplement delivered to it and a register (the “Register”) for the recordation of the names and
addresses of each Lender and the outstanding principal, accrued and unpaid interest and other fees
due hereunder. The entries in the Register shall be conclusive, in the absence of manifest error,
and each Loan Party, Agent and Lenders may treat each Person whose name is recorded in the
Register as the owner of the Advance recorded therein for the purposes of this Agreement. The
Register shall be available for inspection by Borrowing Agent or any Lender at any reasonable
time and from time to time upon reasonable prior notice. Agent shall receive a fee in the amount
of $3,500 payable by the applicable Purchasing Lender and/or Purchasing CLO upon the effective
date of each transfer or assignment (other than to an intermediate purchaser) to such Purchasing
Lender and/or Purchasing CLO.

              (f)      Each Loan Party authorizes each Lender to disclose to any Transferee and
any prospective Transferee any and all financial information in such Lender’s possession
concerning such Loan Party which has been delivered to such Lender by or on behalf of such Loan
Party pursuant to this Agreement or in connection with such Lender’s credit evaluation of such
Loan Party.



                                                 158
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 246 of 388




                (g)    Notwithstanding anything to the contrary set forth in this Agreement, any
Lender may at any time and from time to time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of such Lender, including any
pledge or assignment to secure obligations to a Federal Reserve Bank; provided that no such pledge
or assignment shall release such Lender from any of its obligations hereunder or substitute any
such pledgee or assignee for such Lender as a party hereto.

         16.4. Application of Payments. Agent shall have the continuing and exclusive right to
apply or reverse and re-apply any payment and any and all proceeds of Collateral to any portion
of the Obligations. To the extent that any Loan Party makes a payment or Agent or any Lender
receives any payment or proceeds of the Collateral for any Loan Party’s benefit, which are
subsequently invalidated, declared to be fraudulent or preferential, set aside or required to be repaid
to a trustee, debtor in possession, receiver, custodian or any other party under any bankruptcy law,
common law or equitable cause, then, to such extent, the Obligations or part thereof intended to
be satisfied shall be revived and continue as if such payment or proceeds had not been received by
Agent or such Lender.

        16.5. Indemnity. Each Loan Party shall defend, protect, indemnify, pay and save
harmless Agent, Issuer, each Lender and each of their respective officers, directors, Affiliates,
attorneys, employees and agents (each an “Indemnified Party”) for and from and against any and
all claims, demands, liabilities, obligations, losses, damages, penalties, fines, actions, judgments,
suits, costs, charges, expenses and disbursements of any kind or nature whatsoever (including fees
and disbursements of counsel (including allocated costs of internal counsel)) (collectively,
“Claims”) which may be imposed on, incurred by, or asserted against any Indemnified Party
arising out of or in any way relating to or as a consequence, direct or indirect, of: (a) this
Agreement, the Other Documents, the Advances and other Obligations and/or the transactions
contemplated hereby including the Transactions, (b) any action or failure to act or action taken
only after delay or the satisfaction of any conditions by any Indemnified Party in connection with
and/or relating to the negotiation, execution, delivery or administration of this Agreement and the
Other Documents, the credit facilities established hereunder and thereunder and/or the transactions
contemplated hereby including the Transactions, (c) any Loan Party’s failure to observe, perform
or discharge any of its covenants, obligations, agreements or duties under or breach of any of the
representations or warranties made in this Agreement and the Other Documents, (d) the
enforcement of any of the rights and remedies of Agent, Issuer or any Lender under this Agreement
and the Other Documents, (e) any threatened or actual imposition of fines or penalties, or
disgorgement of benefits, for violation of any Anti-Terrorism Law by any Loan Party, any Affiliate
or Subsidiary of any of the Loan Parties, and (f) any claim, litigation, proceeding or investigation
instituted or conducted by any Governmental Body or instrumentality, any Loan Party, any
Affiliate or Subsidiary of any Loan Party, or any other Person with respect to any aspect of, or any
transaction contemplated by, or referred to in, or any matter related to, this Agreement or the Other
Documents, whether or not Agent or any Lender is a party thereto. Without limiting the generality
of any of the foregoing, each Loan Party shall defend, protect, indemnify, pay and save harmless
each Indemnified Party from (x) any Claims which may be imposed on, incurred by, or asserted
against any Indemnified Party arising out of or in any way relating to or as a consequence, direct
or indirect, of the issuance of any Letter of Credit hereunder, and (y) any Claims which may be
imposed on, incurred by, or asserted against any Indemnified Party under any Environmental Laws
with respect to or in connection with any Real Property owned or leased by any Loan Party, any

                                                 159
074658.23049/132216381v.5
            Case 23-10961-BLS            Doc 13-1     Filed 07/22/23        Page 247 of 388




Hazardous Discharge, the presence of any Hazardous Materials affecting any Real Property
owned or leased by any Loan Party (whether or not the same originates or emerges from such Real
Property or any contiguous real estate), including any Claims consisting of or relating to the
imposition or assertion of any Lien on any Real Property owned or leased by any Loan Party
under any Environmental Laws and any loss of value of such Real Property as a result of the
foregoing except to the extent such loss, liability, damage and expense is attributable to any
Hazardous Discharge resulting from actions on the part of Agent or any Lender. The Loan Parties’
obligations under this Section 16.5 shall arise upon the discovery of the presence of any Hazardous
Materials at any Real Property owned or leased by any Loan Party, whether or not any federal,
state, or local environmental agency has taken or, to any Loan Party’s knowledge, threatened any
action in connection with the presence of any Hazardous Materials, in each such case except to the
extent that any of the foregoing arises out of (x) the gross negligence or willful misconduct of the
Indemnified Party (as determined by a court of competent jurisdiction in a final and non-appealable
judgment or order), or (y) a dispute among Indemnified Parties, to which the Borrowers and
Guarantors are not a party, and which dispute does not arise from any act or omission of the
Borrowers or Guarantors any of their respective affiliates (other than a claim against any agent or
arranger solely in its capacity as an arranger or agent under the Other Documents). Without
limiting the generality of the foregoing, this indemnity shall extend to any liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses and disbursements of any
kind or nature whatsoever (including fees and disbursements of counsel) asserted against or
incurred by any of the Indemnified Parties by any Person under any Environmental Laws or similar
laws by reason of any Loan Party’s or any other Person’s failure to comply with laws applicable
to solid or hazardous waste materials, including Hazardous Materials and Hazardous Waste, or
other Toxic Substances. This Section 16.5 shall not apply with respect to Taxes other than Taxes
that represent losses, claims, damages, etc. arising from any non-Tax claim.

        16.6. Notice. Any notice or request hereunder may be given to Borrowing Agent or any
Loan Party or to Agent or any Lender at their respective addresses set forth below or at such other
address as may hereafter be specified in a notice designated as a notice of change of address under
this Section. Any notice, request, demand, direction or other communication (for purposes of this
Section 16.6 only, a “Notice”) to be given to or made upon any party hereto under any provision
of this Agreement shall be given or made by telephone or in writing (which includes by means of
electronic transmission (i.e., “e-mail”) or facsimile transmission or by setting forth such Notice on
a website to which the Loan Parties are directed (an “Internet Posting”) if Notice of such Internet
Posting (including the information necessary to access such site) has previously been delivered to
the applicable parties hereto by another means set forth in this Section 16.6) in accordance with
this Section 16.6. Any such Notice must be delivered to the applicable parties hereto at the
addresses and numbers set forth under their respective names set forth below in this Section 16.6
or in accordance with any subsequent unrevoked Notice from any such party that is given in
accordance with this Section 16.6. Any Notice shall be effective:

                (a)         In the case of hand-delivery, when delivered;

              (b)     If given by mail, four (4) days after such Notice is deposited with the United
States or Canadian Postal Service, with first-class postage prepaid, return receipt requested;



                                                    160
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1     Filed 07/22/23     Page 248 of 388




                (c)     In the case of a telephonic Notice, when a party is contacted by telephone,
if delivery of such telephonic Notice is confirmed no later than the next Business Day by hand
delivery, a facsimile or electronic transmission, an Internet Posting or an overnight courier delivery
of a confirmatory Notice (received at or before noon on such next Business Day);

                (d)     In the case of a facsimile transmission, when sent to the applicable party’s
facsimile machine’s telephone number, if the party sending such Notice receives confirmation of
the delivery thereof from its own facsimile machine;

                 (e)        In the case of electronic transmission, when actually received;

               (f)   In the case of an Internet Posting, upon delivery of a Notice of such posting
(including the information necessary to access such site) by another means set forth in this
Section 16.6; and

                 (g)        If given by any other means (including by overnight courier), when actually
received.

        Any Lender giving a Notice to Borrowing Agent or any Loan Party shall concurrently send
a copy thereof to Agent, and Agent shall promptly notify the other Lenders of its receipt of such
Notice.

                 (A)        If to Agent or PNC at:

                            PNC Bank, National Association
                            340 Madison Avenue, 11th Floor
                            New York, NY 10173
                            Attention:   Ryan Begley
                            Facsimile:   (212) 303-0060
                            Email:       ryan.begley@pnc.com

                            with a copy to:

                            Blank Rome LLP
                            1271 Avenue of the Americas
                            New York, NY 10020
                            Attention:   Robert B. Stein
                            Facsimile:   (917) 332-3750
                            Email:       rstein@BlankRome.com

                 (B)        If to a Lender (other than PNC), as specified in its Administrative
Questionnaire.

                 (C)        If to Borrowing Agent or any Loan Party:

                            Williams Industrial Services Group Inc.
                            100 Crescent Centre Parkway, Suite 1240

                                                     161
074658.23049/132216381v.5
            Case 23-10961-BLS             Doc 13-1     Filed 07/22/23   Page 249 of 388




                            Tucker, Georgia 30084
                            Attention:    Tracy D. Pagliara, President and Chief Executive Officer
                            Facsimile:    (866) 947-2710
                            Email:        tpagliara@wisgrp.com

                            with a copy to:

                            Thompson Hine LLP
                            127 Public Square, 3900 Key Center
                            Cleveland, OH 44114
                            Attention:     Katherine D. Brandt
                            Facsimile:    (216) 566-5800
                            Email:        Katherine.Brandt@ThompsonHine.com

        16.7. Survival. The obligations of the Loan Parties under Sections 2.2(f), 2.2(g), 2.2(h),
3.7, 3.8, 3.9, 3.10, 16.5 and 16.9 hereof and the obligations of Lenders under Sections 2.2, 2.15(b),
2.16, 2.18, 2.19 and 14.8 hereof, shall survive the termination of this Agreement and the Other
Documents and the Payment in Full of the Obligations.

        16.8. Severability. If any part of this Agreement is contrary to, prohibited by, or deemed
invalid under Applicable Laws, such provision shall be inapplicable and deemed omitted to the
extent so contrary, prohibited or invalid, but the remainder hereof shall not be invalidated thereby
and shall be given effect so far as possible.

        16.9.   Expenses.

                 (a)    The Loan Parties shall pay (a) all reasonable and documented out-of-pocket
expenses incurred by Agent and its Affiliates (including the reasonable fees, charges and
disbursements of outside counsel for Agent), in connection with the syndication of the credit
facilities provided for herein, the preparation, negotiation, execution, delivery and administration
of this Agreement and the Other Documents or any amendments, modifications or waivers of the
provisions hereof or thereof (whether or not the transactions contemplated hereby or thereby shall
be consummated); provided that, in the case of legal expenses paid or incurred in connection with
this clause (a), (x) Agent and the Lenders shall be entitled to one (1) outside counsel for PNC and
the Lenders taken together and (y) one (1) local counsel for PNC and the Lenders taken together
in each relevant jurisdiction, (b) all reasonable and documented out-of-pocket expenses incurred
by Issuer in connection with the issuance, amendment, renewal or extension of any Letter of Credit
or any demand for payment thereunder, (c) all out-of-pocket expenses incurred by Agent, any
Lender or Issuer (including the fees, charges and disbursements of any outside counsel for Agent,
any Lender or Issuer), in connection with the enforcement or protection of its rights (i) in
connection with this Agreement and the Other Documents, including its rights under this Section,
or (ii) in connection with the Advances made or Letters of Credit issued hereunder, including all
such out-of-pocket expenses incurred during any workout, restructuring or negotiations in respect
of such Advances or Letters of Credit, and (d) all reasonable and documented out-of-pocket
expenses of Agent’s regular employees and agents engaged periodically to perform audits of any
Loan Party’s or any Loan Party’s Affiliate’s or Subsidiary’s books, records and business
properties.

                                                     162
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 250 of 388




                (b)     Loan Parties shall pay all costs and expenses incurred by Agent in
connection with each Case, including without limitation, (A) costs and expenses incurred in
connection with review of pleadings and other filings made with the Bankruptcy Court, (B)
attendance at all hearings in respect of any Case, and (C) defending and prosecuting any actions
or proceedings arising out of or relating to the Prepetition Obligations, the Obligations, the Liens
securing the Prepetition Obligations and the Obligations or any transactions related to arising in
connection with the Prepetition Other Documents or the Other Documents. Each Loan Party
agrees that in the event that any actions or proceedings are in effect or are threatened by or Agent
reasonably believes any actions or proceedings may be brought by the Committee or any other
party in interest attacking the legality, validity, enforceability of the Prepetition Obligations, the
Liens arising under the Prepetition Credit Agreement or any other matters relating to the
Prepetition Other Documents at the time of the consummation of any sale of the assets of any Loan
Party or at the time that any Loan Party proposes to pay and satisfy the Obligations in full, Agent
may hold a reserve following the date of payment in full of the Obligations as cash collateral for
the expenses (including the fees, charges and disbursements of counsel and other professionals for
Agent and Lenders) reasonably expected in Agent’s Permitted Discretion to be incurred in
connection with such actions or proceedings until the earliest of (x) Agent’s receipt of a general
release satisfactory in form and substance to Agent, (y) the entry of a final non-appealable order
determining the outcome of such litigation, and (z) the expiration of the Challenge Period so long
as no Challenge (as defined in the Interim Order or, if entered, the Final Order) has been asserted
by that date.

         16.10. Injunctive Relief. Each Loan Party recognizes that, in the event any Loan Party
fails to perform, observe or discharge any of its obligations or liabilities under this Agreement, or
threatens to fail to perform, observe or discharge such obligations or liabilities, any remedy at law
may prove to be inadequate relief to Lenders; therefore, Agent, if Agent so requests, shall be
entitled to temporary and permanent injunctive relief in any such case without the necessity of
proving that actual damages are not an adequate remedy.

        16.11. Consequential Damages. Neither Agent nor any Lender, nor any agent or attorney
for any of them, shall be liable to any Loan Party (or any Affiliate of any such Person) for indirect,
punitive, exemplary or consequential damages arising from any breach of contract, tort or other
wrong relating to the establishment, administration or collection of the Obligations or as a result
of any transaction contemplated under this Agreement or any Other Document.

      16.12. Captions. The captions at various places in this Agreement are intended for
convenience only and do not constitute and shall not be interpreted as part of this Agreement.

        16.13. Counterparts; Facsimile Signatures. This Agreement may be executed in any
number of and by different parties hereto on separate counterparts, all of which, when so executed,
shall be deemed an original, but all such counterparts shall constitute one and the same agreement.
Any signature delivered by a party by facsimile or electronic transmission (including email
transmission of a PDF image) shall be deemed to be an original signature hereto.

       16.14. Construction. The parties acknowledge that each party and its counsel have
reviewed this Agreement and that the normal rule of construction to the effect that any ambiguities


                                                 163
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 251 of 388




are to be resolved against the drafting party shall not be employed in the interpretation of this
Agreement or any amendments, schedules or exhibits thereto.

         16.15. Confidentiality; Sharing Information. Agent, each Lender and each Transferee
shall hold all non-public information obtained by Agent, such Lender or such Transferee pursuant
to the requirements of this Agreement in accordance with Agent’s, such Lender’s and such
Transferee’s customary procedures for handling confidential information of this nature; provided,
however, Agent, each Lender and each Transferee may disclose such confidential information
(a) to its examiners, Affiliates, financing sources, directors, officers, partners, employees, agents,
outside auditors, counsel and other professional advisors, (b) to Agent, any Lender or to any
prospective Transferees, (c) in connection with, and to the extent necessary for, the exercise of any
secured creditor remedy under this Agreement or under any of the Other Documents, and (d) as
required or requested by any Governmental Body or representative thereof or pursuant to legal
process; provided, further that (i) unless specifically prohibited by Applicable Law, Agent, each
Lender and each Transferee shall use its reasonable best efforts prior to disclosure thereof, to notify
the applicable Loan Party of the applicable request for disclosure of such non-public information
(A) by a Governmental Body or representative thereof (other than any such request in connection
with an examination of the financial condition of a Lender or a Transferee by such Governmental
Body) or (B) pursuant to legal process and (ii) in no event shall Agent, any Lender or any
Transferee be obligated to return any materials provided by any Loan Party other than those
documents and instruments in possession of Agent or any Lender in order to perfect its Lien on
the Collateral once the Obligations have been Paid in Full, the Commitments have been terminated
and this Agreement has been terminated. Each Loan Party acknowledges that from time to time
financial advisory, investment banking and other services may be offered or provided to such Loan
Party or one or more of its Affiliates (in connection with this Agreement or otherwise) by any
Lender or by one or more Subsidiaries or Affiliates of such Lender and each Loan Party hereby
authorizes each Lender to share any information delivered to such Lender by such Loan Party and
its Subsidiaries pursuant to this Agreement, or in connection with the decision of such Lender to
enter into this Agreement, to any such Subsidiary or Affiliate of such Lender, it being understood
that any such Subsidiary or Affiliate of any Lender receiving such information shall be bound by
the provisions of this Section 16.15 as if it were a Lender hereunder. Such authorization shall
survive the repayment of the other Obligations and the termination of this Agreement.
Notwithstanding any non-disclosure agreement or similar document executed by Agent in favor
of any Loan Party or any of any Loan Party’s affiliates, the provisions of this Agreement shall
supersede such agreements.

       16.16. Publicity. Each Loan Party and each Lender hereby authorizes Agent to make
appropriate announcements of the financial arrangement entered into among the Loan Parties,
Agent and Lenders, including announcements which are commonly known as tombstones, in such
publications and to such selected parties as Agent shall in its sole and absolute discretion deem
appropriate.

        16.17. Certifications From Banks and Participants; USA PATRIOT Act.

               (a)    Each Lender or assignee or participant of a Lender that is not incorporated
under the Laws of the United States or a state thereof (and is not excepted from the certification
requirement in Section 313 of the USA PATRIOT Act and the applicable regulations because it is

                                                 164
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 252 of 388




both (i) an affiliate of a depository institution or foreign bank that maintains a physical presence
in the United States or foreign country, and (ii) subject to supervision by a banking authority
regulating such affiliated depository institution or foreign bank) shall deliver to Agent the
certification, or, if applicable, recertification, certifying that such Lender is not a “shell” and
certifying to other matters as required by Section 313 of the USA PATRIOT Act and the applicable
regulations: (1) within ten (10) days after the Closing Date, and (2) as such other times as are
required under the USA PATRIOT Act.

                (b)   The USA PATRIOT Act requires all financial institutions to obtain, verify
and record certain information that identifies individuals or business entities which open an
“account” with such financial institution. Consequently, any Lender may from time to time
request, and each Loan Party shall provide to such Lender, such Loan Party's name, address, tax
identification number and/or such other identifying information as shall be necessary for such
Lender to comply with the USA PATRIOT Act and any other Anti-Terrorism Law.

        16.18. Anti-Terrorism Laws.

               (a)     Each Loan Party represents and warrants that (i) no Covered Entity is a
Sanctioned Person and (ii) no Covered Entity, either in its own right or through any third party,
(A) has any of its assets in a Sanctioned Jurisdiction or in the possession, custody or control of a
Sanctioned Person in violation of any Anti-Terrorism Law; (B) does business in or with, or derives
any of its income from investments in or transactions with, any Sanctioned Jurisdiction or
Sanctioned Person in violation of any Anti-Terrorism Law; or (C) engages in any dealings or
transactions prohibited by any Anti-Terrorism Law.

                (b)     Each Loan Party covenants and agrees that (i) no Covered Entity will
become a Sanctioned Person, (ii) no Covered Entity, either in its own right or through any third
party, will (A) have any of its assets in a Sanctioned Jurisdiction or in the possession, custody or
control of a Sanctioned Person in violation of any Anti-Terrorism Law; (B) do business in or with,
or derive any of its income from investments in or transactions with, any Sanctioned Jurisdiction
or Sanctioned Person in violation of any Anti-Terrorism Law; (C) engage in any dealings or
transactions prohibited by any Anti-Terrorism Law or (D) use the Advances to fund any operations
in, finance any investments or activities in, or, make any payments to, a Sanctioned Jurisdiction or
Sanctioned Person in violation of any Anti-Terrorism Law, (iii) the funds used to repay the
Obligations will not be derived from any unlawful activity, (iv) each Covered Entity shall comply
with all Anti-Terrorism Laws and (v) the Loan Parties shall promptly notify Agent in writing upon
the occurrence of a Reportable Compliance Event.

                (c)      Each Borrower and each Guarantor covenants and agrees that (i) no
Covered Entity will become a Sanctioned Person or allow any employees, officers, directors,
affiliates, consultants, brokers, or agents acting on its behalf in connection with this Agreement to
become a Sanctioned Person, (ii) no Covered Entity, either in its own right or through any third
party, will (A) have any of its assets in a Sanctioned Country or in the possession, custody or
control of a Sanctioned Person in violation of any Anti-Terrorism Law; (B) do business in or with,
or derive any of its income from investments in or transactions with, any Sanctioned Country or
Sanctioned Person in violation of any Anti-Terrorism Law; (C) engage in any dealings or
transactions prohibited by any Anti-Terrorism Law or (D) use the Advances to fund any operations

                                                165
074658.23049/132216381v.5
              Case 23-10961-BLS          Doc 13-1     Filed 07/22/23      Page 253 of 388




in, finance any investments or activities in, or, make any payments to, a Sanctioned Country or
Sanctioned Person in violation of any Anti-Terrorism Law, (iii) the funds used to repay the
Obligations will not be derived from any unlawful activity, (iv) each Covered Entity shall comply
with all Anti-Terrorism Laws, (v) it will not repay the Loans with Embargoed Property or funds
derived from any unlawful activity; (vi) it will not permit any Collateral to become Embargoed
Property; and (e) it will not cause any Lender or Agent to violate any Anti- Terrorism Law.

                (d)    Each Loan Party has implemented and maintains in effect policies and
procedures designed to ensure compliance by such Loan Party, its Subsidiaries and their respective
directors, officers, employees and agents with Anti-Terrorism Laws.

               (e)     Each Loan Party acknowledges that, pursuant to the Proceeds of Crime
(Money Laundering) and Terrorist Financing Act (Canada) and other applicable anti-money
laundering, anti-terrorist financing, government sanction and “know your client” laws, whether
within Canada or elsewhere (collectively, including any guidelines or orders thereunder, “AML
Legislation”), the Lenders and Agent may be required to obtain, verify and record information
regarding each Loan Party, their respective directors, authorized signing officers, direct or indirect
shareholders or other Persons in control of such Loan Party, and the transactions contemplated
hereby. Borrowers shall promptly provide all such information, including supporting
documentation and other evidence, as may be requested by any Lender or Agent, or any
prospective assign or participant of a Lender or Agent, in order to comply with any applicable
AML Legislation, whether now or hereafter in existence.

         16.19. Acknowledgment and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary contained in this Agreement, any Other Document, or
any other agreement, arrangement or understanding among Agent, Lenders and the Loan Parties,
Agent, each Lender and each Loan Party acknowledges that any liability of any Affected Financial
Institution arising under this Agreement or any Other Document, to the extent such liability is
unsecured, may be subject to the Write-Down and Conversion Powers of the applicable Resolution
Authority and agrees and consents to, and acknowledges and agrees to be bound by:

              (a)    the application of any Write-Down and Conversion Powers by the
applicable Resolution Authority to any such liabilities arising hereunder or under any Other
Document which may be payable to it by any party hereto that is an Affected Financial Institution;
and

                (b)         the effects of any Bail-In Action on any such liability, including, if
applicable:

                            (i)   a reduction in full or in part or cancellation of any such liability;

                         (ii) a conversion of all, or a portion of, such liability into shares or other
instruments of ownership in such Affected Financial Institution, its parent undertaking, or a bridge
institution that may be issued to it or otherwise conferred on it, and that such shares or other
instruments of ownership will be accepted by it in lieu of any rights with respect to any such
liability under this Agreement or any Other Document; or



                                                    166
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 254 of 388




                       (iii) the variation of the terms of such liability in connection with the
exercise of the Write-Down and Conversion Powers of the applicable Resolution Authority.

        16.20. Currency Indemnity. If, for the purposes of obtaining judgment in any court in any
jurisdiction with respect to this Agreement or any Other Document it becomes necessary to convert
into the currency of such jurisdiction (the "Judgment Currency") any amount due under this
Agreement or under any of the Other Documents in any currency other than the Judgment
Currency (the "Currency Due"), then conversion shall be made at the Exchange Rate at which
Agent is able, on the relevant date, to purchase the Currency Due with the Judgment Currency
prevailing on the Business Day before the day on which judgment is given. In the event that there
is a change in the rate of Exchange Rate prevailing between the Business Day before the day on
which the judgment is given and the date of receipt by Agent of the amount due, the Borrowers
will, on the date of receipt by Agent, pay such additional amounts, if any, or be entitled to receive
reimbursement of such amount, if any, as may be necessary to ensure that the amount received by
Agent on such date is the amount in the Judgment Currency which when converted at the rate of
exchange prevailing on the date of receipt by Agent is the amount then due under this Agreement
or such Other Document in the Currency Due. If the amount of the Currency Due which Agent is
able to purchase is less than the amount of the Currency Due originally due to it, the Borrowers
shall indemnify and save Agent harmless from and against loss or damage arising as a result of
such deficiency. The indemnity contained herein shall constitute an obligation separate and
independent from the other obligations contained in this Agreement and the Other Documents,
shall give rise to a separate and independent cause of action, shall apply irrespective of any
indulgence granted by Agent from time to time and shall continue in full force and effect
notwithstanding any judgment or order for a liquidated sum in respect of an amount due under this
Agreement or any of the Other Documents or under any judgment or order.

        16.21. Intercreditor Agreement. Notwithstanding anything herein to the contrary, the Lien
and security interest granted to Agent pursuant to this Agreement and the exercise of any right or
remedy by Agent on behalf of the Lenders hereunder are subject to the provisions of the
Intercreditor Agreement. In the event of any conflict between the terms of the Intercreditor
Agreement and this Agreement, the terms of the Intercreditor Agreement shall govern and control.

        16.22. Exclusive Remedy For Any Alleged Post-Petition Claim. Notwithstanding
anything to the contrary provided for herein, if any Loan Party asserts that it has any adverse claims
against any Post-Petition Secured Party with respect to this Agreement and the transactions
contemplated hereby, each Loan Party agrees that its sole and exclusive remedy for any and all
such adverse claims will be an action for monetary damages (a “Damage Lawsuit”). Any such
Damage Lawsuit, regardless of the procedural form in which it is alleged (e.g., by complaint,
counterclaim, cross-claim, third-party claim, or otherwise) will be severed from any enforcement
by Post-Petition Secured Parties of their legal, equitable, and contractual rights (including
collection of the Obligations and foreclosure or other enforcement against the Collateral) pursuant
to the Other Documents, and the Damage Lawsuit (including any and all adverse claims alleged
against the Post-Petition Secured Parties) cannot be asserted by any Loan Party as a defense, setoff,
recoupment, or grounds for delay, stay, or injunction against any enforcement by any Post-Petition
Secured Party of their legal, equitable, and contractual rights under the Final Order, the Other
Documents, and otherwise.


                                                 167
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1      Filed 07/22/23     Page 255 of 388




        16.23. Prohibition on Surcharge. No Person will be permitted to surcharge the Collateral
under Section 506(c) of the Bankruptcy Code, nor shall any costs or expenses whatsoever be
imposed against the Collateral. The prohibition on surcharging or priming of the Liens of Agent
on the Collateral will survive the termination of this Agreement and the dismissal of each of the
Cases, such that no Person will be permitted to obtain a Lien or rights (through any means, at law
or in equity) which in any case is equal or senior to the Liens of Agent on the Collateral. Upon
the termination of this Agreement and the dismissal of each of the Cases, the Bankruptcy Court
will retain jurisdiction over the Collateral for the limited purpose of enforcing this section.

       16.24. Marshalling Obligations. The Agent shall not be subject to any equitable remedy
of marshalling.

        16.25. Disavowal and Waiver of Any Subsequent Relief Based on Changed
Circumstances. Each Debtor and the Post-Petition Secured Parties know and understand that there
are rights and remedies provided under the Bankruptcy Code, the Federal Rules of Civil Procedure,
and the Bankruptcy Rules, pursuant to which parties otherwise bound by a previously entered order
can attempt to obtain relief from such an order by alleging circumstances that may warrant a
change or modification in the order, or circumstances such as fraud, mistake, inadvertence,
excusable neglect, newly discovered evidence, or similar matters that may justify vacating the
order entirely, or otherwise changing or modifying it (collectively, “Changed Circumstances”).
Rights and remedies based on Changed Circumstances include, but are not limited to, modification
of a plan of reorganization after confirmation of the plan and before its substantial consummation,
pursuant to Section 1127(b) of the Bankruptcy Code, relief from a final order or judgment pursuant
to Rule 60(b) of the Federal Rules of Civil Procedure and Bankruptcy Rule 9024, and the
commencement and prosecution of a serial Chapter 11 case by a debtor which is in default of
obligations under a stipulation or plan of reorganization confirmed in an earlier case. With full
knowledge and understanding of what are, or may be, its present or future rights and remedies
based on allegations of Changed Circumstances, each Debtor: (i) expressly disavows that there are
any matters which constitute any kind of Changed Circumstances as of the date of entry of the
Interim Order and (ii) expressly disavows that it is aware of any matters whatsoever that it is
assuming, contemplating, or expecting in proceeding with the Final Order and the transactions
contemplated by this Agreement and having the Final Order entered that would serve as a basis to
allege such Changed Circumstances. Each Debtor understands and agrees that the Post-Petition
Secured Parties are not willing to bear any of the risks involved in such Debtor’s business
enterprises and the Post-Petition Secured Parties are not willing to modify any of the rights if such
risks cause actual or alleged Changed Circumstances; and each Debtor expressly assumes all risks
of any and all such matters, and the consequences that the Post-Petition Secured Parties will
enforce their legal, equitable, and contractual rights if the Post-Petition Secured Parties are not
paid and dealt with strictly in accordance with the terms and conditions of the Interim Order, the
Final Order, this Agreement and the Other Documents. Without limiting the foregoing in any way,
each Debtor’s use of any cash collateral that is included in the Collateral will be governed
exclusively by the terms and conditions of this Agreement, the Interim Order and the Final Order,
and, until Payment in Full either before or after a termination of this Agreement, no Debtor will
seek authority from the Bankruptcy Court to otherwise use any cash collateral that is included in
the Collateral for any purpose whatsoever.



                                                168
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1      Filed 07/22/23     Page 256 of 388




       16.26. Interim Order and Final Order Control. In the event of any conflict between the
terms of the Interim Order and/or the Final Order and this Agreement or any Other Document, the
terms of the Interim Order and/or the Final Order, as applicable, shall control to the extent the
Interim Order and/or Final Order, as applicable, were approved and acceptable to Agent.

XVII. GUARANTY.

        17.1. Guaranty. Each U.S. Guarantor hereby unconditionally guarantees, as a primary
obligor and not merely as a surety, jointly and severally with each other Guarantor when and as
due, whether at maturity, by acceleration, by notice of prepayment or otherwise, the due and
punctual performance of all Obligations; provided that with respect to Obligations under or in
respect of any Swap Obligation, the foregoing guarantee shall only be effective to the extent that
such U.S. Guarantor is a Qualified ECP Loan Party at the time such Swap Obligation is entered
into and such Obligations and such guarantee thereof are not Excluded Hedge Liabilities. Each
payment made by any U.S. Guarantor pursuant to this Guaranty shall be made in lawful money of
the United States in immediately available funds.

        17.2. Waivers. Each U.S. Guarantor hereby absolutely, unconditionally and irrevocably
waives (a) promptness, diligence, notice of acceptance, notice of presentment of payment and any
other notice hereunder, (b) demand of payment, protest, notice of dishonor or nonpayment, notice
of the present and future amount of the Obligations and any other notice with respect to the
Obligations, (c) any requirement that Agent, any Lender protect, secure, perfect or insure any
security interest or Lien on any property subject thereto or exhaust any right or take any action
against any other Loan Party, or any Person or any Collateral, (d) any other action, event or
precondition to the enforcement hereof or the performance by each such U.S. Guarantor of the
Obligations, and (e) any defense arising by any lack of capacity or authority or any other defense
of any Loan Party or any notice, demand or defense by reason of cessation from any cause of
Obligations other than the Payment in Full of the Obligations and any defense that any other
guarantee or security was or was to be obtained by Agent.

        17.3. No Defense. No invalidity, irregularity, voidableness, voidness or unenforceability
of this Agreement or any Other Document or any other agreement or instrument relating thereto,
or of all or any part of the Obligations or of any collateral security therefor shall affect, impair or
be a defense hereunder.

        17.4. Guaranty of Payment. The Guaranty hereunder is one of payment and performance,
not collection, and the obligations of each U.S. Guarantor hereunder are independent of the
Obligations of the other Loan Parties, and a separate action or actions may be brought and
prosecuted against any U.S. Guarantor to enforce the terms and conditions of this Article XVII,
irrespective of whether any action is brought against any other Loan Party or other Persons or
whether any other Loan Party or other Persons are joined in any such action or actions. Each U.S.
Guarantor waives any right to require that any resort be had by Agent or any Lender to any security
held for payment of the Obligations or to any balance of any deposit account or credit on the books
of Agent or any Lender in favor of any Loan Party or any other Person. No election to proceed in
one form of action or proceedings, or against any Person, or on any Obligations, shall constitute a
waiver of Agent’s right to proceed in any other form of action or proceeding or against any other
Person unless Agent has expressed any such right in writing. Without limiting the generality of

                                                 169
074658.23049/132216381v.5
            Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 257 of 388




the foregoing, no action or proceeding by Agent against any Loan Party under any document
evidencing or securing indebtedness of any Loan Party to Agent shall diminish the liability of any
U.S. Guarantor hereunder, except to the extent Agent receives actual payment on account of
Obligations by such action or proceeding, notwithstanding the effect of any such election, action
or proceeding upon the right of subrogation of any Guarantor in respect of any Loan Party.

         17.5. Liabilities Absolute. The liability of each U.S. Guarantor hereunder shall be
absolute, unlimited and unconditional and shall not be subject to any reduction, limitation,
impairment, discharge or termination for any reason, including, without limitation, any claim of
waiver, release, surrender, alteration or compromise, and shall not be subject to any claim, defense
or setoff, counterclaim, recoupment or termination whatsoever by reason of the invalidity,
illegality or unenforceability of any other Obligation or otherwise. Without limiting the generality
of the foregoing, the obligations of each U.S. Guarantor shall not be discharged or impaired,
released, limited or otherwise affected by:

               (a)     any change in the manner, place or terms of payment or performance, and/or
any change or extension of the time of payment or performance of, release, renewal or alteration
of, or any new agreements relating to any Obligation, any security therefor, or any liability incurred
directly or indirectly in respect thereof, or any rescission of, or amendment, waiver or other
modification of, or any consent to departure from, this Agreement or any Other Document,
including any increase in the Obligations resulting from the extension of additional credit to any
Loan Party or otherwise;

                (b)    any sale, exchange, release, surrender, loss, abandonment, realization upon
any property by whomsoever at any time pledged or mortgaged to secure, or howsoever securing,
all or any of the Obligations, and/or any offset there against, or failure to perfect, or continue the
perfection of, any Lien in any such property, or delay in the perfection of any such Lien, or any
amendment or waiver of or consent to departure from any other guaranty for all or any of the
Obligations;

               (c)     the failure of Agent or any Lender to assert any claim or demand or to
enforce any right or remedy against any Loan Party or any other Loan Party or any other Person
under the provisions of this Agreement or any Other Document or any other document or
instrument executed and delivered in connection herewith or therewith;

                 (d)    any settlement or compromise of any Obligation, any security therefor or
any liability (including any of those hereunder) incurred directly or indirectly in respect thereof or
hereof, and any subordination of the payment of all or any part thereof to the payment of any
obligation (whether due or not) of any Loan Party to creditors of any Loan Party other than any
other Loan Party;

               (e)    any manner of application of Collateral, or proceeds thereof, to all or any of
the Obligations, or any manner of sale or other disposition of any Collateral for all or any of the
Obligations or any other assets of any Loan Party; and

              (f)   any other agreements or circumstance of any nature whatsoever that may or
might in any manner or to any extent vary the risk of any Guarantor, or that might otherwise at


                                                 170
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 258 of 388




law or in equity constitute a defense available to, or a discharge of, the Guaranty hereunder and/or
the obligations of any Guarantor, or a defense to, or discharge of, any Loan Party or any other
Person or party hereto or the Obligations or otherwise with respect to the Advances or other
financial accommodations to the Loan Parties pursuant to this Agreement and/or the Other
Documents.

        17.6. Waiver of Notice. Agent shall have the right to do any of the above without notice
to or the consent of any U.S. Guarantor and each U.S. Guarantor expressly waives any right to
notice of, consent to, knowledge of and participation in any agreements relating to any of the above
or any other present or future event relating to Obligations whether under this Agreement or
otherwise or any right to challenge or question any of the above and waives any defenses of such
U.S. Guarantor which might arise as a result of such actions.

        17.7. Agent’s Discretion. Agent may at any time and from time to time (whether prior
to or after the revocation or termination of this Agreement) without the consent of, or notice to,
any U.S. Guarantor, and without incurring responsibility to any U.S. Guarantor or impairing or
releasing the Obligations, apply any sums by whomsoever paid or howsoever realized to any
Obligations regardless of what Obligations remain unpaid.

        17.8. Reinstatement. (a) The Guaranty provisions herein set forth herein shall
continue to be effective or be reinstated, as the case may be, if claim is ever made upon Agent or
any Lender for repayment or recovery of any amount or amounts received by such Agent or such
Lender in payment or on account of any of the Obligations and such Person repays all or part of
said amount for any reason whatsoever, including, without limitation, by reason of any judgment,
decree or order of any court or administrative body having jurisdiction over such Person or the
respective property of each, or any settlement or compromise of any claim effected by such Person
with any such claimant (including any Loan Party); and in such event each U.S. Guarantor hereby
agrees that any such judgment, decree, order, settlement or compromise or other circumstances
shall be binding upon such U.S. Guarantor, notwithstanding any revocation hereof or the
cancellation of any note or other instrument evidencing any Obligation, and each U.S. Guarantor
shall be and remain liable to Agent and/or Lenders for the amount so repaid or recovered to the
same extent as if such amount had never originally been received by such Persons.

                (b)   Agent shall not be required to marshal any assets in favor of any Guarantor,
or against or in payment of Obligations.

               (c)     No U.S. Guarantor shall be entitled to claim against any present or future
security held by Agent from any Person for Obligations in priority to or equally with any claim of
Agent, or assert any claim for any liability of any Loan Party to any U.S. Guarantor in priority to
or equally with claims of Agent for Obligations, and no U.S. Guarantor shall be entitled to compete
with Agent with respect to, or to advance any equal or prior claim to any security held by Agent
for Obligations.

               (d)      If any Loan Party makes any payment to Agent, which payment is wholly
or partly subsequently invalidated, declared to be fraudulent or preferential, set aside or required
to be repaid to any Person under any federal or provincial statute or at common law or under
equitable principles, then to the extent of such payment, the Obligation intended to be paid shall

                                                171
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 259 of 388




be revived and continued in full force and effect as if the payment had not been made, and the
resulting revived Obligation shall continue to be guaranteed, uninterrupted, by each U.S.
Guarantor hereunder.

               (e)     All present and future monies payable by any Loan Party to any U.S.
Guarantor, whether arising out of a right of subrogation or otherwise, are assigned to Agent for its
benefit and for the ratable benefit of Lenders as security for such U.S. Guarantor’s liability to
Agent and Lenders hereunder and are postponed and subordinated to Agent’s prior right to
Payment in Full of the Obligations. Except to the extent prohibited otherwise by this Agreement,
all monies received by any U.S. Guarantor from any Loan Party shall be held by such U.S.
Guarantor as agent and trustee for Agent. This assignment, postponement and subordination shall
only terminate when the Obligations are Paid in Full and this Agreement is irrevocably terminated.

               (f)     Each Loan Party acknowledges this assignment, postponement and
subordination and, except as otherwise set forth herein, agrees to make no payments to any U.S.
Guarantor without the prior written consent of Agent. Each Loan Party agrees to give full effect
to the provisions hereof.

                                     [signature pages follow]




                                                172
074658.23049/132216381v.5
            Case 23-10961-BLS        Doc 13-1     Filed 07/22/23     Page 260 of 388




        Each of the parties has signed this Agreement as of the day and year first above written.


BORROWERS:                            WILLIAMS INDUSTRIAL SERVICES GROUP INC.
                                      WILLIAMS INDUSTRIAL SERVICES GROUP,
                                      L.L.C.
                                      WILLIAMS INDUSTRIAL SERVICES, LLC
                                      WILLIAMS SPECIALTY SERVICES, LLC
                                      WILLIAMS PLANT SERVICES, LLC
                                      WILLIAMS GLOBAL SERVICES, INC.
                                      CONSTRUCTION & MAINTENANCE
                                      PROFESSIONALS, LLC
                                      WISG ELECTRICAL, LLC

                                      By:    _____________________________
                                      Name:
                                      Title:


GUARANTORS:                           GLOBAL POWER PROFESSIONAL SERVICES INC.
                                      GPEG, LLC
                                      STEAM ENTERPRISES LLC
                                      WISG CANADA LTD.
                                      WISG NUCLEAR LTD.
                                      WISG ELECTRICAL LTD.



                                      By:    _____________________________
                                      Name:
                                      Title:




                    Signature Page to Revolving Credit and Security Agreement

074658.20114/123982797v.3
074658.20114/130115845v.5
074658.23049/132216381v.5
            Case 23-10961-BLS       Doc 13-1     Filed 07/22/23   Page 261 of 388




                                            PNC BANK, NATIONAL ASSOCIATION,
                                            as Agent and Lender


                                            By:    ________________________
                                            Name:
                                            Title:




                    Signature Page to Revolving Credit and Security Agreement

074658.20114/123982797v.3
074658.20114/130115845v.5
074658.23049/132216381v.5
              Case 23-10961-BLS   Doc 13-1   Filed 07/22/23   Page 262 of 388




                                       Exhibit 5

                           Form of DIP Term Credit Agreement




4860-5063-8705.5
            Case 23-10961-BLS    Doc 13-1    Filed 07/22/23   Page 263 of 388
                                                                   Chapman Draft 7/21/2023




            SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION

                 TERM LOAN, GUARANTEE AND SECURITY AGREEMENT

                                DATED AS OF [___], 2023

                                        AMONG

                                  EICF AGENT LLC,

                  AS AGENT FOR THE LENDERS SIGNATORY HERETO,

                    WILLIAMS INDUSTRIAL SERVICES GROUP INC.,

AS BORROWER, A DEBTOR AND DEBTOR-IN-POSSESSION UNDER CHAPTER 11
                   OF THE BANKRUPTCY CODE

                                          AND

                  THE OTHER CREDIT PARTIES SIGNATORY HERETO




                            CHAPMAN AND CUTLER LLP
                         1270 Avenue of the Americas, 30th Floor
                               New York, New York 10020




4886-8758-1295
7026289
               Case 23-10961-BLS                             Doc 13-1                Filed 07/22/23                    Page 264 of 388


                                                                    TABLE OF CONTENTS

                                                                                                                                                                     PAGE

1.          AMOUNT AND TERMS OF CREDIT ................................................................................................... 2
     1.1      Term Loans. ............................................................................................................................................ 2
     1.2      Term and Prepayment. ............................................................................................................................ 3
     1.3      Use of Proceeds. ..................................................................................................................................... 4
     1.4      Single Loan. ............................................................................................................................................ 4
     1.5      Interest. ................................................................................................................................................... 4
     1.6      Fees. ........................................................................................................................................................ 5
     1.7      Receipt of Payments; Taxes. ................................................................................................................... 6
     1.8      Application and Allocation of Payments. ............................................................................................... 6
     1.9      Accounting.............................................................................................................................................. 7
     1.10     Indemnity. ............................................................................................................................................... 7
     1.11     Rates. ...................................................................................................................................................... 7
     1.12     Joinder of New Subsidiaries as a Credit Party, Etc. ................................................................................ 7
     1.13     Non-Funding Lenders. ............................................................................................................................ 8
     1.14     Substitution of Lenders. .......................................................................................................................... 8
     1.15     Inability to Determine Rates. .................................................................................................................. 9
     1.16     Termination of Commitments. ................................................................................................................ 9
2.          CONDITIONS PRECEDENT .................................................................................................................. 9
     2.1      Conditions to Closing Date. .................................................................................................................... 9
     2.2      Conditions to each Funding Date.......................................................................................................... 13
3.          REPRESENTATIONS, WARRANTIES AND AFFIRMATIVE COVENANTS .............................. 14
     3.1      Corporate Existence; Compliance with Law. ....................................................................................... 14
     3.2      Executive Offices, Registered Offices; Corporate or Other Names. ..................................................... 14
     3.3      Corporate Power; Authorization; Enforceable Obligations. ................................................................. 14
     3.4      Financial Statements; Books and Records. ........................................................................................... 15
     3.5      Material Adverse Change. .................................................................................................................... 15
     3.6      Revolving Loan Documents; Subordinated Loan Documents. ............................................................. 15
     3.7      Subsidiaries. .......................................................................................................................................... 15
     3.8      Government Regulation; Margin Regulations. ..................................................................................... 15
     3.9      Taxes; Charges...................................................................................................................................... 16
     3.10     Payment of Obligations. ....................................................................................................................... 16
     3.11     ERISA and Canadian Pension Plans. .................................................................................................... 16
     3.12     Litigation. ............................................................................................................................................. 17
     3.13     Intellectual Property.............................................................................................................................. 17
     3.14     Full Disclosure. ..................................................................................................................................... 18
     3.15     Environmental Liabilities. .................................................................................................................... 18
     3.16     Insurance. .............................................................................................................................................. 18
     3.17     [Reserved]. ............................................................................................................................................ 20
     3.18     Other Financings. .................................................................................................................................. 20
     3.19     Conduct of Business. ............................................................................................................................ 20
     3.20     Further Assurances. .............................................................................................................................. 20
     3.21     Collateral/Maintenance of Property. ..................................................................................................... 20
     3.22     Anti-Terrorism and Anti-Money Laundering Compliance. .................................................................. 21
     3.23     Reserved. .............................................................................................................................................. 22
     3.24     Reserved. .............................................................................................................................................. 22
     3.25     Landlord Agreements. .......................................................................................................................... 22
     3.26     Deposit Accounts; Cash Collateral Accounts. ...................................................................................... 22
     3.27     Reserved. .............................................................................................................................................. 23
     3.28     After-acquired Property; Additional Collateral. ................................................................................... 23
     3.29     Equity Interests and Subsidiaries. ......................................................................................................... 24
     3.30     Security Documents. ............................................................................................................................. 25
     3.31     Borrowing Base-Related Reports. ........................................................................................................ 25
     3.32     Government Contracts. ......................................................................................................................... 26
     3.33     Customer and Trade Relations. ............................................................................................................. 26



                                                                     INDEX – PAGE i
               Case 23-10961-BLS                             Doc 13-1               Filed 07/22/23                    Page 265 of 388


                                                                   TABLE OF CONTENTS

                                                                                                                                                                   PAGE

     3.34     Bonding; Licenses. ............................................................................................................................... 26
     3.35     Affiliate Transactions. .......................................................................................................................... 26
     3.36     Post-Closing Matters. ........................................................................................................................... 26
     3.37     Investment Company Act. .................................................................................................................... 26
     3.38     Notice of Change in Investment Company Status. ............................................................................... 26
     3.39     Braden Entities...................................................................................................................................... 26
     3.40     [Reserved]. ............................................................................................................................................ 26
4.          FINANCIAL MATTERS; REPORTS ................................................................................................... 26
     4.1      Reports and Notices. ............................................................................................................................. 26
     4.2      Financial Covenants.............................................................................................................................. 30
     4.3      Other Reports and Information. ............................................................................................................ 31
     4.4      Revolving Loan Agreement Notices; Subordinated Loan Documents Notices. ................................... 31
     4.5      Milestones. ............................................................................................................................................ 31
5.          NEGATIVE COVENANTS .................................................................................................................... 32
     5.1      Indebtedness. ........................................................................................................................................ 32
     5.2      Liens. .................................................................................................................................................... 33
     5.3      Investments; Fundamental Changes. .................................................................................................... 33
     5.4      Asset Sales. ........................................................................................................................................... 33
     5.5      Restricted Payments.............................................................................................................................. 34
     5.6      Changes in Nature of Business. ............................................................................................................ 34
     5.7      Transactions with Affiliates. ................................................................................................................. 34
     5.8      Third-Party Restrictions on Indebtedness, Liens, Investments or Restricted Payments. ...................... 35
     5.9      Modification of Certain Documents. .................................................................................................... 35
     5.10     Accounting Changes; Fiscal Year. ........................................................................................................ 35
     5.11     Changes to Name, Locations, Etc. ........................................................................................................ 35
     5.12     Bank Accounts. ..................................................................................................................................... 35
     5.13     Margin Regulations. ............................................................................................................................. 35
     5.14     Compliance with ERISA and Canadian Pension Plans......................................................................... 35
     5.15     Hazardous Materials. ............................................................................................................................ 36
     5.16     Modifications to Revolving Loan Documents and Subordinated Debt. ............................................... 36
     5.17     Inactive Subsidiaries. ............................................................................................................................ 36
     5.18     Compliance with Anti-Terrorism Laws. ............................................................................................... 36
     5.19     Sale-Leasebacks. ................................................................................................................................... 36
     5.20     Leases. .................................................................................................................................................. 36
     5.21     Captive Insurance Subsidiaries. ............................................................................................................ 37
     5.22     Payments under the Revolving Loan Agreement.................................................................................. 37
     5.23     Cash Flow Budget Compliance ............................................................................................................ 37
     5.24     Bankruptcy Matters. ............................................................................................................................. 37
     5.25     Cancellation of Indebtedness. ............................................................................................................... 38
     5.26     Stalking Horse Purchase Agreement. ................................................................................................... 38
6.          SECURITY INTEREST.......................................................................................................................... 38
     6.1      Grant of Security Interest. ..................................................................................................................... 38
     6.2      Agent’s Rights. ..................................................................................................................................... 40
     6.3      Agent’s Appointment as Attorney-in-fact............................................................................................. 40
     6.4      Grant of License to Use Intellectual Property Collateral. ..................................................................... 40
     6.5      Commercial Tort Claims. ..................................................................................................................... 40
     6.6      Duties of Agent. .................................................................................................................................... 41
7.          EVENTS OF DEFAULT: RIGHTS AND REMEDIES ....................................................................... 41
     7.1      Events of Default. ................................................................................................................................. 41
     7.2      Remedies. ............................................................................................................................................. 45
     7.3      Waivers by Credit Parties. .................................................................................................................... 46
     7.4      Proceeds. ............................................................................................................................................... 46
8.          SUCCESSORS AND ASSIGNS ............................................................................................................. 46
9.          AGENT ..................................................................................................................................................... 49



                                                                    INDEX – PAGE ii
               Case 23-10961-BLS                           Doc 13-1               Filed 07/22/23                  Page 266 of 388


                                                                 TABLE OF CONTENTS

                                                                                                                                                             PAGE

  9.1    Appointment and Duties. ...................................................................................................................... 49
  9.2    Binding Effect....................................................................................................................................... 49
  9.3    Use of Discretion. ................................................................................................................................. 50
  9.4    Delegation of Rights and Duties. .......................................................................................................... 50
  9.5    Reliance and Liability. .......................................................................................................................... 50
  9.6    Agent Individually. ............................................................................................................................... 51
  9.7    Protective Advances. ............................................................................................................................ 51
  9.8    Expenses; Indemnities. ......................................................................................................................... 51
  9.9    Resignation of Agent. ........................................................................................................................... 52
  9.10   Release of Collateral. ............................................................................................................................ 52
10.    MISCELLANEOUS ................................................................................................................................ 52
  10.1   Complete Agreement; Modification of Agreement. ............................................................................. 52
  10.2   Expenses. .............................................................................................................................................. 54
  10.3   No Waiver............................................................................................................................................. 54
  10.4   Severability; Section Titles. .................................................................................................................. 54
  10.5   Authorized Signature. ........................................................................................................................... 55
  10.6   Notices .................................................................................................................................................. 55
  10.7   Counterparts.......................................................................................................................................... 55
  10.8   Time of the Essence. ............................................................................................................................. 55
  10.9   GOVERNING LAW. ........................................................................................................................... 55
  10.10 SUBMISSION TO JURISDICTION; WAIVER OF JURY TRIAL. ................................................... 55
  10.11 Press Releases. ...................................................................................................................................... 56
  10.12 Reinstatement. ...................................................................................................................................... 56
  10.13 USA PATRIOT Act Notice and Customer Verification. ...................................................................... 57
  10.14 Sharing of Payments, Etc. ..................................................................................................................... 57
  10.15 Intercreditor Agreement........................................................................................................................ 57
  10.16 Confidentiality Agreements. ................................................................................................................. 57
  10.17 Effect of Benchmark Transition Event. ................................................................................................ 57
  10.18 Reserved. .............................................................................................................................................. 58
  10.19 Judgment Currency. .............................................................................................................................. 58
  10.20 Release. ................................................................................................................................................. 59
  10.21 Adoption and Ratification. .................................................................................................................... 59
11.    GUARANTEE .......................................................................................................................................... 59
  11.1   The Guarantee. ...................................................................................................................................... 60
  11.2   Obligations Unconditional. ................................................................................................................... 60
  11.3   Reinstatement. ...................................................................................................................................... 61
  11.4   Subrogation; Subordination. ................................................................................................................. 61
  11.5   Remedies. ............................................................................................................................................. 61
  11.6   Instrument for the Payment of Money. ................................................................................................. 61
  11.7   Continuing Guarantee. .......................................................................................................................... 61
  11.8   General Limitation on Guarantee Obligations. ..................................................................................... 61
  11.9   Release of Guarantors. .......................................................................................................................... 62
  11.10 Right of Contribution. ........................................................................................................................... 62
12.    SUPERPRIORITY NATURE OF OBLIGATIONS AND LENDERS’ LIENS ................................. 62
  12.1   Priority of Liens. ................................................................................................................................... 62
  12.2   Covenants, Representations and Warranties. ........................................................................................ 62
  12.3   [Reserved]. ............................................................................................................................................ 62
  12.4   Carve-Out. ............................................................................................................................................ 62
  12.5   Security Interest. ................................................................................................................................... 63




                                                                 INDEX – PAGE iii
             Case 23-10961-BLS           Doc 13-1        Filed 07/22/23        Page 267 of 388




                                 INDEX OF EXHIBITS AND SCHEDULES



Schedule A       -   Definitions
Schedule B       -   Schedule of Term Loan Commitments
Schedule C       -   Agent’s, Lenders’ and Credit Parties’ Addresses for Notices
Schedule D       -   Closing Checklist
Schedule E       -   Restricted Locations



Disclosure Schedule (3.2)         -        Places of Business; Corporate Names
Disclosure Schedule (3.7)         -        Subsidiaries
Disclosure Schedule (3.9)         -        Taxes
Disclosure Schedule (3.11)        -        ERISA
Disclosure Schedule (3.12)        -        Litigation
Disclosure Schedule (3.13)        -        Intellectual Property
Disclosure Schedule (3.15)        -        Environmental Matters
Disclosure Schedule (3.16)        -        Insurance
Disclosure Schedule (3.18)        -        Existing Indebtedness
Disclosure Schedule (3.26)        -        Controlled Accounts
Disclosure Schedule (3.32)        -        Government Contracts
Disclosure Schedule (3.34)        -        Bonding; Licensing
Disclosure Schedule (3.35)        -        Affiliate Transactions
Disclosure Schedule (5.3)         -        Permitted Joint Ventures
Disclosure Schedule (5.21)        -        Employee Compensation
Disclosure Schedule (6.1)         -        Actions to Perfect Liens
Disclosure Schedule (6.5)         -        Commercial Tort Claims


Exhibit A    -       Form of Perfection Certificate
Exhibit B    -       Form of Term Note
Exhibit C    -       Form of Secretarial Certificate
Exhibit D    -       Form of Power of Attorney
Exhibit E    -       Form of Compliance Certificate
Exhibit F    -       Form of Closing Certificate
Exhibit G    -       Form of Solvency Certificate
Exhibit H    -       Form of Joinder Agreement
Exhibit I    -       Form of Assignment Agreement
Exhibit J    -       Form of Borrowing Request
Exhibit K    -       Form of Cash Flow Budget




                                                INDEX – PAGE iv
             Case 23-10961-BLS              Doc 13-1          Filed 07/22/23       Page 268 of 388



                     SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
                       TERM LOAN, GUARANTEE AND SECURITY AGREEMENT

This SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION TERM LOAN, GUARANTEE AND
SECURITY AGREEMENT is dated as of [_____], 2023, and agreed to by and among Williams Industrial Services
Group Inc., a Delaware corporation and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy
Code (“Holdings”), Williams Industrial Services Group, L.L.C., a Delaware limited liability company and a debtor
and a debtor-in-possession under Chapter 11 of the Bankruptcy Code (“WISG”), Williams Industrial Services, LLC,
a Georgia limited liability company and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy
Code (“WISI”), Williams Specialty Services, LLC, a Georgia limited liability company and a debtor and a debtor-
in-possession under Chapter 11 of the Bankruptcy Code (“WSS”), Williams Plant Services, LLC, a Georgia limited
liability company and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy Code (“WPS”),
Williams Global Services, Inc., a Georgia corporation and a debtor and a debtor-in-possession under Chapter 11 of
the Bankruptcy Code (“Global”), Construction & Maintenance Professionals, LLC, a Georgia limited liability
company and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy Code (“Construction”)
WISG Electrical, LLC, a New York limited liability company and a debtor and a debtor-in-possession under
Chapter 11 of the Bankruptcy Code (“WISG Electrical NY”, and together with Holdings, WISG, WISI, WSS,
WPS, Global and Construction, each a “Borrower” and, collectively, “Borrower”), Global Power Professional
Services Inc. a Delaware corporation and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy
Code (“Power”), GPEG, LLC, a Delaware limited liability company and a debtor and a debtor-in-possession under
Chapter 11 of the Bankruptcy Code (“GPEG”), Steam Enterprises LLC, a Delaware limited liability company and a
debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy Code (“Steam”), WISG Canada Ltd., a
limited company formed in the province of British Columbia, Canada and a debtor and a debtor-in-possession under
Chapter 11 of the Bankruptcy Code (“WISG Canada”), WISG Nuclear Ltd., a limited company formed in the
province of British Columbia, Canada and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy
Code (“WISG Nuclear”), WISG Electrical Ltd., a limited company formed in the province of British Columbia,
Canada and a debtor and a debtor-in-possession under Chapter 11 of the Bankruptcy Code (“WISG Electrical” and
together with Power, GPEG, Steam, WISG Canada and WISG Nuclear, each a “Guarantor” and, collectively,
“Guarantor”, and each Borrower and Guarantor, collectively, the “Debtors”, and each a “Debtor”), the other
Credit Parties from time to time party hereto, EICF AGENT LLC, a Delaware limited liability company, as agent (in
such capacity, “Agent”) for the lenders set forth on Schedule B attached hereto and party hereto (each herein
referred to as a “Lender” and collectively, the “Lenders”), and the other Lenders from time to time party hereto.

                                                     RECITALS
A.             On July [__], 2023 (the “Petition Date”), each Debtor filed a voluntary petition with the
Bankruptcy Court initiating their respective cases that are pending under Chapter 11 of the Bankruptcy Code and
have continued in the possession of their assets and the management of their business pursuant to Sections 1107 and
1108 of the Bankruptcy Code, and such reorganization cases are being jointly administered under Case Number
[______] (each a “Chapter 11 Case” and collectively, the “Chapter 11 Cases”).

B.               The Borrower has requested that the Lenders provide a senior secured term loan facility in an
aggregate principal amount not to exceed $19,500,000 (the “Facility”), with all of Borrower’s obligations under the
Facility to be guaranteed by each Guarantor pursuant to the terms hereof, and the Lenders have indicated their
willingness to lend on the terms and subject to the conditions set forth herein.

C.               The priority of the Facility with respect to the Collateral shall be as set forth in the Interim Order
and the Final Order, in each case, upon entry thereof by the Bankruptcy Court, and in the Collateral Documents and
the Intercreditor Agreement.

D.              All of the claims and the Liens granted under the Orders and the Loan Documents to the Agent and
the Lenders in respect of the Facility shall be subject to the Carve-Out.

E.              Capitalized terms used herein shall have the meanings assigned to them in Schedule A and, for
purposes of this Agreement and the other Loan Documents, the rules of construction set forth in Schedule A shall




                                                          1
            Case 23-10961-BLS              Doc 13-1          Filed 07/22/23      Page 269 of 388



govern. All schedules, attachments, addenda and exhibits hereto, or expressly identified to this Agreement, are
incorporated herein by reference, and taken together with this Agreement, constitute but a single agreement.

                                                  AGREEMENT

NOW, THEREFORE, in consideration of the premises and the mutual covenants hereinafter contained, the parties
hereto agree as follows:

1.             AMOUNT AND TERMS OF CREDIT

1.1     Term Loans.

        (a) Subject to satisfaction of the First Draw Conditions, on the Closing Date each Lender agrees severally,
        but not jointly, to make Term Loans to the Borrower in an aggregate principal amount equal to the Initial
        Maximum Amount, not to exceed such Lender’s Term Loan Commitment and in the aggregate for all
        Lenders not to exceed the Initial Maximum Amount.

        (b) Upon and after entry of the Final Order and subject to satisfaction of the conditions set forth in Section
        2.2, on each Funding Date, each Lender agrees severally, but not jointly, to make Term Loans to the
        Borrower in an aggregate principal amount, together with any Term Loans then outstanding, not to exceed
        such Lender’s Term Loan Commitment and in the aggregate for all Lenders, not to exceed the Maximum
        Amount, which Term Loans shall be made in two (2) equal installments each in the aggregate principal
        amount of $2,750,000. The first such installment of Term Loans shall be made within one (1) Business
        Day of the date the Final Order is entered, and the second such installment of Term Loans shall be made on
        the date that is one calendar week after the date on which the Final Order was entered.

        (c) Each Term Loan shall be made on a pro rata basis based on the Term Loan Commitment of each
        Lender as of the applicable Funding Date of any Term Loan relative to the aggregate amount of the Term
        Loan Commitments of the other Lenders as of such Funding Date (or on such other basis as the Lenders all
        agree).

        (d) Whenever the Borrower desires that the Lenders make a Term Loan hereunder, the Borrower shall
        deliver a Borrowing Request to the Agent no later than 10:00 a.m. (New York City time) at least one (1)
        Business Day in advance of the proposed Funding Date. Such Borrowing Request shall provide the amount
        requested by the Borrower, which shall be in increments of no less than $1,000,000 per draw (or, if less, the
        entire remaining portion of the Maximum Amount). Each such Borrowing Request shall be accompanied
        by an updated Cash Flow Budget. Any Borrowing Request delivered by Borrower hereunder shall be
        irrevocable and binding on Borrower and shall obligate Borrower to accept the Term Loans requested from
        the Lenders on the proposed Funding Date. Each Borrowing Request submitted by Borrower to Agent
        shall constitute a representation and warranty by Borrower hereunder, as of the date such Term Loan is
        requested to be made, that all of the conditions in Section 2.2 are satisfied. Notwithstanding the foregoing,
        upon the filing of the Chapter 11 Cases by the Debtors, the Borrower shall be deemed to have delivered a
        Borrowing Request with respect to the Term Loans requested on the Initial Funding Date, and no other
        Borrowing Request shall be required to be delivered in connection with such Term Loans.

        (e) Each Lender shall (unless otherwise directed by Agent in writing, including via e-mail) disburse the
        proceeds of each Term Loan made by such Lender to the Borrower directly (and not to the Agent for
        distribution to the Borrower), provided, that each Lender shall provide to Agent any information reasonably
        requested by Agent regarding each Term Loan made by such Lender. Each Lender’s Term Loans (whether
        made under Section 1.1(a) or Section 1.1(b)) shall, if requested by such Lender prior to the funding of the
        applicable Term Loan, be evidenced by a promissory note (each a “Term Note”) duly executed and
        delivered by the Borrower prior to the funding of such Term Loan substantially in the form attached hereto
        as Exhibit B, and be repayable in accordance with the terms of such Term Note and this Agreement. All
        amounts owed hereunder with respect to the Term Loans shall be paid in full no later than the Maturity
        Date. After the funding of any Term Loan by a Lender, the Term Loan Commitment of such Lender shall




                                                         2
            Case 23-10961-BLS           Doc 13-1         Filed 07/22/23      Page 270 of 388



      immediately and automatically (without the necessity of further action) be reduced in the principal amount
      of the Term Loan made by such Lender.

      (f) Borrower shall make payments on the Term Loans in accordance with the applicable provisions of this
      Agreement, and Borrower shall repay the entire outstanding balance of the Term Loans on the Maturity
      Date. Amounts repaid or prepaid on any of the Term Loans may not be reborrowed.

1.2   Term and Prepayment.

      (a)    Upon the Maturity Date of the Loan, Borrower shall pay to Agent for the pro rata benefit of the
      Lenders (i) all outstanding principal and accrued but unpaid interest on the Loan and (ii) all other
      Obligations relating to the Loan then due to or incurred by Agent or the Lenders.

      (b)    Subject to the terms of the Intercreditor Agreement and the Orders, so long as no Default or Event
      of Default has occurred hereunder, Borrower shall have the right upon thirty (30) calendar days’ prior
      written notice to Agent (or such shorter period as Agent may agree in its sole discretion), to make a
      voluntary prepayment (a “Voluntary Prepayment”) of all or a portion (in a minimum amount of
      $1,000,000 and integrate multiples of $100,000 in excess thereof) of the principal amount of all of the
      Term Loans then outstanding.

      (c)    Asset Sales and Casualty Events. Subject to the terms of the Intercreditor Agreement and the
      Orders, not later than five (5) Business Days following the receipt of any Net Cash Proceeds of any Asset
      Sale or any Casualty Event by any Credit Party or any of its Subsidiaries, Credit Parties shall make
      Mandatory Prepayments of the Obligations to be applied thereto in accordance with Section 1.8 in an
      aggregate amount equal to 100% of such Net Cash Proceeds. Nothing contained in this Section 1.2(c) shall
      permit any Credit Party or any of its Subsidiaries to effect any Asset Sale other than in accordance with
      Section 5.4.

      (d)    Debt Issuance or Preferred Stock Issuance. Subject to the terms of the Intercreditor Agreement and
      the Orders, not later than one (1) Business Day following the receipt of any Net Cash Proceeds of any Debt
      Issuance or Preferred Stock Issuance by Borrower or any of its Subsidiaries, at the election of Agent,
      Borrower shall make Mandatory Prepayments of the Obligations to be applied thereto in accordance with
      Section 1.8 in an aggregate amount equal to 100% of such Net Cash Proceeds. The provisions of this
      Section 1.2(d) shall not be an implied consent to any such issuance otherwise prohibited by the terms of
      this Agreement.

      (e)    Equity Issuance. Subject to the terms of the Intercreditor Agreement and the Orders, not later than
      three (3) Business Days following the receipt of any Net Cash Proceeds of any Equity Issuance, Borrower
      shall make Mandatory Prepayments of the Obligations to be applied thereto in accordance with Section 1.8
      in an aggregate amount equal to 100% of such Net Cash Proceeds. The provisions of this Section 1.2(e)
      shall not be an implied consent to any such issuance otherwise prohibited by the terms of this Agreement.

      (f)    Reserved.

      (g)    Reserved.

      (h)    Extraordinary Receipts.

             (i) [Reserved].

             (ii) Subject to the terms of the Intercreditor Agreement and the Orders, not later than three (3)
      Business Days following the receipt of any Net Cash Proceeds from any Extraordinary Receipts, Borrower
      shall make Mandatory Prepayments of the Obligations to be applied thereto in accordance with Section 1.8
      in an aggregate amount equal to 100% of such Net Cash Proceeds.




                                                     3
             Case 23-10961-BLS             Doc 13-1          Filed 07/22/23      Page 271 of 388



        (i)     Lender Option to Decline Prepayment. With respect to any Mandatory Prepayment required
        pursuant to this Section 1.2, any Lender, at its option, may elect not to accept such prepayment as provided
        below. The Borrower shall use commercially reasonable efforts to notify the Agent of any event giving rise
        to a prepayment under Section 1.2 at least five (5) Business Days prior to the date of such prepayment.
        Each such notice shall specify the expected date of such prepayment and provide a reasonably detailed
        estimated calculation of the amount of such prepayment that is required to be made under this Section 1.2
        (the “Prepayment Amount”). The Agent will promptly notify each Lender of the contents of any such
        prepayment notice so received from the Borrower, including the date on which such prepayment is
        expected to be made by the Borrower (the “Prepayment Date”). Any Lender may decline to accept all or
        any portion of its share of any such prepayment (any such Lender, a “Declining Lender”) by providing
        written notice to the Agent no later than two (2) Business Days after the date of such Lender’s receipt of
        notice from the Agent regarding such prepayment. If any Lender does not give a notice to the Agent on or
        prior to such second Business Day informing the Agent that it declines to accept the applicable prepayment,
        then such Lender will be deemed to have accepted such prepayment. On any Prepayment Date, an amount
        equal to the Prepayment Amount including the portion thereof allocable to Declining Lenders, in each case
        for such Prepayment Date, shall be paid to the Agent by the Borrower and applied by the Agent ratably to
        prepay the applicable Loan owing to Lenders (other than Declining Lenders) in the manner described in
        Section 1.8 for such prepayment. The portion of such Prepayment Amount that was allocated to any
        Declining Lender shall be applied pro rata to the Lenders who have not declined their share of such
        Prepayment Amount.

1.3       Use of Proceeds. Borrower shall use the proceeds of the Loan solely to (a) fund post-petition operating
expenses and other working capital and financing requirements of the Borrower and its wholly owned Subsidiaries
as set forth in the Cash Flow Budgets, (b) pay all Lender Group Expenses and those reasonable and documented fees
and expenses payable to the Agent and the Lenders, (c) pay fees, costs and expenses specifically related to the
Chapter 11 Cases to the extent such fees, costs and expenses are consistent with the Cash Flow Budgets, are
approved by the Bankruptcy Court, and relate solely to fees, costs and expenses of the Debtors’ professionals or
professionals retained by the Agent and the Lenders, (d) make certain payments on account of prepetition
obligations (including “critical vendor payments”) of the Borrower and its wholly owned Subsidiaries, to be
mutually agreed with the Lenders, consistent with the Cash Flow Budgets and as approved by the Bankruptcy Court,
and (e) pay any other amounts included in the Cash Flow Budgets, including without limitation adequate protection
payments, which other amounts shall not exceed the amounts so budgeted. The Lenders acknowledge that the
Interim Order and the Initial Cash Flow Budget were acceptable to the Lenders as of the date they were filed and
approved by the Bankruptcy Court. Notwithstanding the foregoing, no portion of the Term Loans shall be utilized
for (i) the payment of professional fees, disbursements, costs or expenses incurred in connection with asserting or
preparing for any claims or causes of action against the Prepetition Term Loan Agent, the Prepetition Term Loan
Lenders, the Agent or the Lenders or (ii) the payment of any termination, break-up or similar fee under the Stalking
Horse Purchase Agreement.

1.4      Single Loan. The Loan and all of the other Obligations shall constitute one general obligation of Borrower
secured by all of the Collateral.

1.5     Interest.

        (a)     Borrower shall pay interest to Agent for the pro rata benefit of the Lenders on the outstanding
        balance of the Loan at a per annum rate equal to Term SOFR plus the Applicable Margin. All computations
        of interest on the Loan shall be made by Agent on the basis of a three hundred and sixty (360) day year, in
        each case for the actual number of days occurring in the period for which such interest is payable. In no
        event will Agent charge interest at a rate that exceeds the highest rate of interest permissible under any law
        that a court of competent jurisdiction shall, in a final determination, deem applicable.

        (b)     Interest shall be payable on the balance of the Loan (i) monthly in arrears and shall be due on the
        first day of each calendar month, (ii) on the Maturity Date of the Loan, and (iii) if any interest accrues or
        remains payable after the Maturity Date of the Loan, upon demand by Agent. All interest shall be payable
        in cash.




                                                         4
             Case 23-10961-BLS               Doc 13-1          Filed 07/22/23       Page 272 of 388



         (c)     Effective upon the occurrence of any Event of Default and for so long as any Event of Default shall
         be continuing, the interest rate applicable to the Loan shall automatically be increased by two percent
         (2.0%) per annum (such increased rate, the “Default Rate”), and all outstanding Obligations, including
         accrued but unpaid interest (to the extent permitted under applicable law), shall continue to accrue interest
         from the date of such Event of Default until the earlier of (x) the date on which such Obligations are paid in
         full and (y) the date on which such Event of Default ceases to be continuing, at the Default Rate applicable
         to such Obligations.

         (d)     If any payment to the Agent or any Lender under this Agreement becomes due and payable on a day
         other than a Business Day, such payment date shall be extended to the next succeeding Business Day and
         interest thereon shall be payable at the then applicable rate during such extension.

         (e)     Notwithstanding anything to the contrary set forth in this Section 1.5, if a court of competent
         jurisdiction determines in a final order that the rate of interest payable hereunder exceeds the highest rate of
         interest permissible under law (the “Maximum Lawful Rate”), then so long as the Maximum Lawful Rate
         would be so exceeded, the rate of interest payable hereunder shall be equal to the Maximum Lawful Rate;
         provided, however, that if at any time thereafter the rate of interest payable hereunder is less than the
         Maximum Lawful Rate, Borrower shall continue to pay interest hereunder at the Maximum Lawful Rate
         until such time as the total interest received by Agent for the pro rata benefit of the Lenders is equal to the
         total interest that would have been received had the interest rate payable hereunder been (but for the
         operation of this paragraph) the interest rate payable since the Closing Date as otherwise provided in this
         Agreement. In no event shall the total interest received by Agent for the pro rata benefit of the Lenders
         pursuant to the terms hereof exceed the amount that Agent could lawfully have received had the interest
         due hereunder been calculated for the full term hereof at the Maximum Lawful Rate.

         (f)     For the purposes of the Interest Act (Canada), (i) whenever a rate of interest or fee rate hereunder is
         calculated on the basis of a year (the “deemed year”) that contains fewer days than the actual number of
         days in the calendar year of calculation, such rate of interest or fee rate shall be expressed as a yearly rate
         by multiplying such rate of interest or fee rate by the actual number of days in the calendar year of
         calculation and dividing it by the number of days in the deemed year, (ii) the principle of deemed
         reinvestment of interest shall not apply to any interest calculation hereunder and (iii) the rates of interest
         stipulated herein are intended to be nominal rates and not effective rates or yields

         (g)    On the earlier to occur of (i) the Maturity Date, (ii) the Termination Date, (iii) any acceleration of
         the Obligations in accordance with the terms of the Loan Documents, (iv) termination of this Agreement by
         any party hereto in accordance with the terms hereof, the Borrower shall pay Agent, for the ratable benefit
         of the Lenders, additional interest in an amount equal to the aggregate amount of all Term Loans made by
         the Lenders, multiplied by (ii) 1.00%.

1.6    Fees.
Borrower agrees to pay to Agent for the pro rata benefit of the Lenders:

         (a)   the fees set forth in that certain (i) EIP Fee Letter, dated as of the Closing Date, by and among
         Agent and the Borrower, (ii) CION Fee Letter, dated as of the Closing Date, by and among Agent and the
         Borrower and (iii) CrowdOut Fee Letter, dated as of the Closing Date, by and among Agent and the
         Borrower (collectively, each as may be amended, the “Fee Letters”), in each case, when such fees are due
         and payable; and

         (b)     all fees, costs and expenses of closing due and owing and presented as of the Closing Date,
         including without limitation, those relating to (i) Agent’s due diligence review and evaluation of the
         transaction, (ii) the preparation, negotiation, execution and delivery of the Loan Documents, (iii) the
         closing of the Transactions, (iv) all appraisal, audit, environmental, title work, travel, inspection, surveys,
         filing, search and registration fees, (v) any loan, escrow, recording and transfer fees and taxes (as
         applicable), and (vi) Agent’s counsel reasonable fees and expenses relating to any of the foregoing.




                                                           5
             Case 23-10961-BLS               Doc 13-1          Filed 07/22/23       Page 273 of 388



The Borrower agrees that any fees due and payable by the Borrower on the Closing Date, or on any Funding Date,
may be satisfied by the Agent, or the Lenders making such Term Loans, deducting or setting off the amount of such
fees from the proceeds of the Term Loan funded to the Borrower on such Funding Date, and by Agent paying such
fees to the Persons to whom such fees are owed (or each Lender paying such fees to itself in the case that the Lender
funds a Term Loan to the Borrower directly, and not by first funding Agent before a Term Loan is funded to
Borrower).

1.7      Receipt of Payments; Taxes.

         (a) Borrower shall make each payment under this Agreement (not otherwise made pursuant to Section 1.8)
         without set-off, counterclaim or deduction and free and clear of all Taxes not later than 1:00 PM New York
         City time on the day when due in lawful money of the United States of America in immediately available
         funds to an account specified by the Agent in writing, except as required by applicable law. If a
         Withholding Agent shall be required by applicable law to deduct any Taxes from any payment to any
         Recipient under any Loan Document, then the applicable Withholding Agent shall be entitled to make such
         deduction and shall timely pay the full amount deducted or withheld to the relevant Governmental
         Authority in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum payable
         by Borrower shall be increased so that, after making all required deductions (including such deductions
         applicable to additional sums payable under this Section 1.7), the applicable Recipient receives an amount
         equal to that which it would have received had no such deductions been made. Borrower shall timely pay
         to the relevant Governmental Authority in accordance with applicable law, or at the option of Agent timely
         reimburse it for the payment of, any Other Taxes. As soon as practicable after any payment of Taxes by
         Borrower to a Governmental Authority pursuant to this Section 1.7, Borrower shall deliver to Agent the
         original or a certified copy of a receipt issued by such Governmental Authority evidencing such payment, a
         copy of the return reporting such payment or other evidence of such payment reasonably satisfactory to
         Agent.

         (b)    If any party determines, in its sole discretion exercised in good faith, that it has received a refund of
         any Taxes as to which it has been indemnified pursuant to Section 1.7(a) or Section 1.10 (including by the
         payment of additional amounts pursuant to Section 1.7(a)), it shall pay to the indemnifying party an amount
         equal to such refund (but only to the extent of indemnity payments made under Sections 1.7(a) and
         Section 1.10 with respect to the Taxes giving rise to such refund), net of all out-of-pocket expenses
         (including Taxes) of such indemnified party and without interest (other than any interest paid by the
         relevant Governmental Authority with respect to such refund). Such indemnifying party, upon the request
         of such indemnified party, shall repay to such indemnified party the amount paid over pursuant to this
         Section 1.7(b) (plus any penalties, interest or other charges imposed by the relevant Governmental
         Authority) in the event that such indemnified party is required to repay such refund to such Governmental
         Authority. Notwithstanding anything to the contrary in this Section 1.7(b), in no event will the indemnified
         party be required to pay any amount to an indemnifying party pursuant to this Section 1.7(b) the payment
         of which would place the indemnified party in a less favorable net after-Tax position than the indemnified
         party would have been in if the Tax subject to indemnification and giving rise to such refund had not been
         deducted, withheld or otherwise imposed and the indemnification payments or additional amounts with
         respect to such Tax had never been paid. This Section 1.7(b) shall not be construed to require any
         indemnified party to make available its Tax returns (or any other information relating to its Taxes that it
         deems confidential) to the indemnifying party or any other Person.

1.8        Application and Allocation of Payments. Except as otherwise provided in the Intercreditor Agreement and
subject to the Orders, Borrower irrevocably agrees that Agent shall have the continuing and exclusive right to apply
any and all payments against the then due and payable Obligations in such order as Agent may deem advisable;
provided, however, that unless Agent elects otherwise any and all Mandatory Prepayments shall be applied against
the then due and payable Obligations as follows: (a) first, against the principal of the Term Loan until the principal
on the Term Loans is paid in full; (b) second, to payment of all accrued unpaid cash interest on the Obligations; (c)
third, to payment of costs and expenses, including attorneys’ fees, of Agent payable or reimbursable by Credit
Parties under the Loan Documents; (d) fourth, to payment of any other amounts owing constituting Obligations; and
(e) fifth, any remainder shall be for the account of and paid to whoever may be lawfully entitled thereto. Each of




                                                           6
             Case 23-10961-BLS              Doc 13-1          Filed 07/22/23       Page 274 of 388



Lenders or other Persons entitled to payment shall receive an amount equal to its pro rata share of amounts available
to be applied pursuant to clauses (a), (b), (d) and (e) above.

1.9      Accounting. Each Lender is authorized to record on its books and records the date and amount of the Loan
and each payment of principal thereof and such recordation shall constitute prima facie evidence of the accuracy of
the information so recorded.

1.10      Indemnity. Borrower and each other Credit Party executing this Agreement jointly and severally agree to
indemnify and hold each Recipient and their Affiliates, and each of their respective employees, officers, attorneys,
advisors and agents (each, an “Indemnified Person”), harmless from and against any and all suits, actions,
proceedings, claims, damages, demands, losses, liabilities and expenses of any kind or nature whatsoever (including
attorneys’ fees and disbursements and other costs of investigation or defense, including those incurred upon any
appeal) that may be instituted or asserted against or incurred by any such Indemnified Person as the result of credit
having been extended, suspended or terminated under this Agreement and the other Loan Documents or with respect
to the execution, delivery, enforcement, performance and administration of, or in any other way arising out of or
relating to, this Agreement and the other Loan Documents or any other documents or transactions contemplated by
or referred to herein or therein and any actions or failures to act with respect to any of the foregoing, including any
and all product liabilities, Environmental Liabilities, Indemnified Taxes (including, without duplication, Indemnified
Taxes imposed or asserted on or attributable to amounts payable under Section 1.7 or Section 1.10) and legal costs
and expenses arising out of or incurred in connection with disputes between or among any parties to any of the Loan
Documents (collectively, “Indemnified Liabilities”), except to the extent that any such Indemnified Liability (x) is
finally determined by a non-appealable court order by a court of competent jurisdiction to have resulted solely from
such Indemnified Person’s willful misconduct, bad faith or gross negligence, or (y) arises in a dispute among
Indemnified Parties, to which the Borrower and Guarantors are not a party, and which dispute does not arise from
any act or omission of the Borrower or any of the Borrower’s affiliates (other than a claim against any agent or
arranger solely in its capacity as an arranger or agent under the Loan Documents). NO INDEMNIFIED PERSON
SHALL BE RESPONSIBLE OR LIABLE TO ANY CREDIT PARTY, ANY SUCCESSOR, ASSIGNEE OR
THIRD PARTY BENEFICIARY OR ANY OTHER PERSON ASSERTING CLAIMS DERIVATIVELY
THROUGH SUCH PARTY, FOR INDIRECT, PUNITIVE, EXEMPLARY OR CONSEQUENTIAL DAMAGES
THAT MAY BE ALLEGED AS A RESULT OF CREDIT HAVING BEEN EXTENDED, SUSPENDED OR
TERMINATED UNDER THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR AS A RESULT OF
ANY OTHER TRANSACTION CONTEMPLATED HEREUNDER OR THEREUNDER.

1.11      Rates. The Agent does not warrant or accept responsibility for, and shall not have any liability with respect
to (a) the continuation of, administration of, submission of, calculation of or any other matter related to the Base
Rate, the Term SOFR Reference Rate or Term SOFR, or any component definition thereof or rates referred to in the
definition thereof, or any alternative, successor or replacement rate thereto (including any Benchmark Replacement),
including whether the composition or characteristics of any such alternative, successor or replacement rate
(including any Benchmark Replacement) will be similar to, or produce the same value or economic equivalence of,
or have the same volume or liquidity as, the Base Rate, the Term SOFR Reference Rate, Term SOFR or any other
Benchmark prior to its discontinuance or unavailability, or (b) the effect, implementation or composition of any
Conforming Changes. The Agent and its affiliates or other related entities may engage in transactions that affect the
calculation of the Base Rate, the Term SOFR Reference Rate, Term SOFR, any alternative, successor or
replacement rate (including any Benchmark Replacement) or any relevant adjustments thereto, in each case, in a
manner adverse to the Borrower. The Agent may select information sources or services in its reasonable discretion
to ascertain the Base Rate, the Term SOFR Reference Rate, Term SOFR or any other Benchmark, in each case
pursuant to the terms of this Agreement, and shall have no liability to the Borrower, any Lender or any other person
or entity for damages of any kind, including direct or indirect, special, punitive, incidental or consequential
damages, costs, losses or expenses (whether in tort, contract or otherwise and whether at law or in equity), for any
error or calculation of any such rate (or component thereof) provided by any such information source or service.

1.12      Joinder of New Subsidiaries as a Credit Party, Etc. As soon as possible (and in any event upon the earlier
of (a) thirty (30) days after formation or (b) the date on which such Subsidiary owns any material assets) after the
formation of any new Subsidiary of a Credit Party or simultaneously with the consummation of acquisition of any
new Subsidiary of a Credit Party, Borrower shall take such actions as required by Section 3.28 and cause such new
Subsidiary to become a Grantor and either a co-Borrower or Guarantor under this Agreement by having the



                                                          7
             Case 23-10961-BLS             Doc 13-1          Filed 07/22/23      Page 275 of 388



following documents delivered to the Lenders: (i) a Secretarial Certificate, a Power of Attorney and a Joinder
Agreement in the forms of Exhibits C, D and H attached hereto, respectively, duly completed, executed and
delivered by such new Subsidiary, (ii) security and other collateral documents, filings and instruments with respect
to such new Subsidiary of the types described on Schedule D attached hereto and such other collateral documents,
filings and instruments with respect to such new Subsidiary necessary or desirable to create and perfect Liens in
favor of Agent on the assets of such new Subsidiary, (iii) an opinion of counsel to such new Subsidiary, in form,
substance and scope comparable to the legal opinion of Borrower’s counsel delivered to Agent and Lenders on the
Closing Date and (iv) an updated Disclosure Schedule (3.7). Notwithstanding the foregoing, no Inactive Subsidiary
shall form any new Subsidiary.

1.13      Non-Funding Lenders. Unless Agent shall have received notice from any Lender prior to the date such
Lender is required to make any advance or payment hereunder with respect to the Loan that such Lender will not
make such advance or payment (or any portion thereof) available to Agent or to Borrower to the extent required
hereunder, Agent may assume that such Lender has made such payment available to Agent or Borrower, as
applicable, on the date such advance or payment is required to be made in accordance with this Section 1 and Agent
may, in reliance upon such assumption, make available to Borrower on such date a corresponding amount.
Borrower agrees to repay to Agent on demand such amount made available by Agent (until repaid by such Lender)
with interest thereon for each day from the date such amount is made available to Borrower until the date such
amount is repaid to Agent, at the interest rate applicable to the Obligation that would have been created when Agent
made available such amount to Borrower had such Lender made a corresponding payment available; provided,
however, that such payment shall not relieve such Lender of any obligation it may have to Borrower. In addition,
any Lender that shall not have made available to Agent or Borrower, as applicable, any portion of any advance or
payment described above (any such Lender, a “Non-Funding Lender”) agrees to pay such amount, to the extent
Agent made such amount available to Borrower, to Agent on demand together with interest thereon, for each day
from the date such amount is made available to Borrower until the date such amount is repaid to Agent, at the
interest rate applicable at the time to the Term Loan. Such repayment shall then constitute the funding of the
corresponding Loan (including any Loan deemed to have been made hereunder with such payment) or participation.
The existence of any Non-Funding Lender shall not relieve any other Lender of its obligations under any Loan
Document, but no other Lender shall be responsible for the failure of any Non-Funding Lender to make any payment
required under any Loan Document.

1.14    Substitution of Lenders.

        (a)    Substitution Right. In the event that any Lender that is not an Affiliate of Agent (an “Affected
        Lender”), (i) becomes a Non-Funding Lender with respect to the Loan or (ii) does not consent to any
        amendment, waiver or consent to any Loan Document for which the consent of the Required Lenders is
        obtained but that requires the consent of all Lenders, Borrower may either pay in full such Affected Lender
        with respect to amounts due on the Term Loan at par value of such Term Loan (and without any
        prepayment premium or other fee) of such Lender with the consent of Agent (not to be unreasonably
        withheld, conditioned or delayed) or substitute for such Affected Lender any other Lender or any Affiliate
        of any Lender or any other Person acceptable (which acceptance shall not be unreasonably withheld,
        conditioned or delayed) to Agent (in each case, a “Substitute Lender”).

        (b)     Procedure. To substitute such Affected Lender or pay in full the Obligations owed to such Affected
        Lender under such Lender’s Term Loan at par value (and without any prepayment premium or other fee),
        Borrower shall deliver a notice to Agent and such Affected Lender. The effectiveness of such payment or
        substitution shall be subject to the delivery to Agent by Borrower (or, as may be applicable in the case of a
        substitution, by the Substitute Lender) of (i) payment for the account of such Affected Lender, of, to the
        extent accrued through, and outstanding on, the effective date for such payment or substitution, all
        Obligations owing to such Affected Lender with respect to such Lender’s Term Loan at par value (and
        without any prepayment premium or other fee), and (ii) in the case of a substitution, (A) payment of the
        assignment fee set forth in Section 8(a) and (B) an assumption agreement in form and substance
        satisfactory to Agent whereby the Substitute Lender shall, among other things, agree to be bound by the
        terms of the Loan Documents and assume the Term Loan Commitments of the Affected Lender.




                                                         8
             Case 23-10961-BLS             Doc 13-1          Filed 07/22/23      Page 276 of 388



        (c)     Effectiveness. Upon satisfaction of the conditions set forth in clause (b) above, Agent shall record
        such substitution or payment in the Register, whereupon (i) in the case of any payment in full of all
        Obligations owing to such Affected Lender, such Affected Lender’s Term Loan Commitments (if not
        previously terminated) and the outstanding Term Loan shall be terminated and (ii) in the case of any
        substitution, (A) the Affected Lender shall sell and be relieved of, and the Substitute Lender shall purchase
        and assume, all rights and claims of such Affected Lender under the Loan Documents with respect to such
        Lender’s Term Loan, except that the Affected Lender shall retain such rights expressly providing that they
        survive the repayment of the Obligations and the termination of the Term Loan Commitments, (B) the
        Substitute Lender shall become a “Lender” hereunder having a Term Loan Commitment (if not previously
        terminated) and the outstanding Term Loan in the amount of such Affected Lender’s Term Loan
        Commitment and/or outstanding Term Loan as applicable, and (C) the Affected Lender shall execute and
        deliver to Agent an Assignment Agreement to evidence such substitution and deliver any Note in its
        possession with respect to its Term Loan; provided, however, that the failure of any Affected Lender to
        execute any such Assignment Agreement or deliver any such Note shall not render such sale and purchase
        (or the corresponding assignment) invalid.

1.15      Inability to Determine Rates.
 Subject to Section 10.17, if, on or prior to the first day of any quarter, either (a) the Agent determines (which
determination shall be conclusive and binding absent manifest error) that “Term SOFR” cannot be determined
pursuant to the definition thereof, or (b) the Required Lenders determine that for any reason in connection with any
request for a SOFR Loan or a conversion thereto or a continuation thereof that Term SOFR for any applicable
interest period with respect to a proposed SOFR Loan does not adequately and fairly reflect the cost to such Lenders
of making and maintaining such Loan, and the Required Lenders have provided notice of such determination to the
Agent, then, in each case, the Agent will promptly so notify the Borrower and each Lender. Upon notice thereof by
the Agent to the Borrower, any obligation of the Lenders to make SOFR Loans, and any right of the Borrower to
continue SOFR Loans or to convert Base Rate Loans to SOFR Loans, shall be suspended (to the extent of the
affected SOFR Loans or affected interest periods) until the Agent (with respect to the foregoing clause (b), at the
instruction of the Required Lenders) revokes such notice. Upon receipt of such notice, (i) the Borrower may revoke
any pending request for a borrowing of, conversion to or continuation of SOFR Loans (to the extent of the affected
SOFR Loans or affected interest periods) or, failing that, the Borrower will be deemed to have converted any such
request into a request for a borrowing or continuation of, or conversion to, Base Rate Loans in the amount specified
therein and (ii) any outstanding affected SOFR Loans will be deemed to have been converted into Base Rate Loans
at the end of the applicable interest period. Upon any such conversion, the Borrower shall also pay accrued interest
on the amount so converted, together with any additional amounts required pursuant to this Agreement. Subject to
Section 10.17, if the Agent determines (which determination shall be conclusive and binding absent manifest error)
that “Term SOFR” cannot be determined pursuant to the definition thereof on any given day, the interest rate on
Base Rate Loans shall be determined by the Agent without reference to the clause of the definition of “Base Rate”
that is based on Term SOFR until the Agent revokes such determination.

1.16     Termination of Commitments. The Term Loan Commitment of each Lender shall be automatically and
permanently reduced (a) by the principal amount of each Term Loan made by such Lender pursuant to Section 1.1,
and (b) in full, upon (i) acceleration of the Term Loans pursuant to Section 7.2(a), (ii) the election of the Lenders
upon the occurrence and during the continuance of an Event of Default, or (iii) the election of Borrower in writing
and delivered to the Agent to terminate the Term Loan Commitments.


2.              CONDITIONS PRECEDENT

2.1      Conditions to Closing Date. The effectiveness of this Agreement is subject to the satisfaction of the
following conditions in a manner satisfactory to Agent in its sole discretion, or waiver thereof in writing by Agent
on or prior to the Closing Date:

        (a)     Closing Checklist. The documents and other items or actions set forth on the Closing Checklist
        (Schedule D) shall have been duly executed and delivered, or completed by the appropriate parties, except
        where such Closing Checklist indicates that such document, item or action may be delivered or completed
        after the Closing Date;



                                                         9
      Case 23-10961-BLS            Doc 13-1        Filed 07/22/23         Page 277 of 388




(b)     Insurance. Agent shall have received evidence satisfactory to it that the insurance policies provided
for in Section 3.16 are in full force and effect;

(c)     Opinions of Counsel. Agent shall have received opinions of counsel to the Credit Parties with
respect to this Agreement, the Notes and the other Loan Documents in form and substance reasonably
satisfactory to Agent;

(d)     Fees. Borrower has paid the fees under the Fee Letters due and payable on the Closing Date to
Agent for the pro rata benefit of the Lenders and shall have reimbursed Agent for all reasonable attorneys’
fees, and other costs and expenses of closing due and owing and presented as of the Closing Date, each in
immediately available funds, or authorized the Agent to deduct the fees due and payable on the Closing
Date under the Fee Letters and such other fees, costs and expenses of closing from the amount of any Term
Loan made on the Closing Date;

(e)     Representations and Warranties. Any representation or warranty by any Credit Party contained
herein or in any of the other Loan Documents shall be true and correct as of the Closing Date (x) as stated
as to representations and warranties which contain materiality limitations, and (y) in all material respects as
to all other representations and warranties; except to the extent that any such representation or warranty is
expressly stated to relate to a specific earlier date, in which case, such representation and warranty shall be
true and correct as of such earlier date (x) as stated as to representations and warranties which contain
materiality limitations, and (y) in all material respects as to all other representations and warranties;

(f)   Initial Cash Flow Budget. Agent shall have received the Initial Cash Flow Budget, which Initial
Cash Flow Budget shall be in form and substance satisfactory to the Agent and the Lenders;

(g)    Interim Order.

         (i)      The Bankruptcy Court shall have entered the Interim Order, which among other things,
         shall approve the terms and conditions of this Agreement, the transactions contemplated hereby
         and grant a perfected security interest in the Collateral with the priority described in Article XII
         and find that the Lenders are extending credit to the Borrower in good faith within the meaning of
         Section 364(e) of the Bankruptcy Code;

         (ii)      The Interim Order shall (a) approve the Debtors’ waiver of any and all claims and causes
         of action against the Prepetition Term Loan Lenders, including, but not limited to, claims for
         preference, fraudulent conveyance or other claims arising under Title 11 of the United States
         Code, and claims regarding the validity, priority, perfection or avoidability of the secured claims
         of the Prepetition Term Loan Lenders, subject to any official committee’s rights to pursue such
         claims, (b) establish a deadline acceptable to the Lenders to bring any causes of action against the
         Prepetition Term Loan Lenders based on the Prepetition Term Loan Agreement or any acts or
         omissions of the Prepetition Term Loan Lenders that occurred prior to the filing of the Chapter 11
         Cases, (c) preclude any priming of any Lien of the Lenders, other than pursuant to this Agreement,
         the other Loan Documents and the Intercreditor Agreement, (d) provide the right for the
         Prepetition Term Loan Agent (on behalf of the Lenders) and/or the Lenders to credit bid under
         Section 363(k) of the Bankruptcy Code, and (e) include Milestones for a Section 363 sales process
         as set forth in Section 4.5;

         (iii)     The Interim Order (a) shall be in form and substance satisfactory to the Agent and the
         Lenders in their sole discretion, (b) shall have been entered upon an application of the Debtors
         satisfactory in form and substance to the Agent and the Lenders, (c) shall be in full force and
         effect and (d) shall not have been reversed, modified, amended or stayed (without the Agent’s and
         the Lenders’ prior written consent, which consent shall be in their sole discretion) and, if the
         Interim Order is the subject of a pending appeal in any respect, neither the making of any Term
         Loans nor the performance by the Debtors of any of their respective Obligations hereunder or




                                                 10
      Case 23-10961-BLS            Doc 13-1        Filed 07/22/23        Page 278 of 388



         under the Loan Documents or under any other instrument or agreement referred to herein shall be
         the subject of a presently effective stay pending appeal;

(h)     Motions and Other Pleadings. Prior to filing or submission to the Bankruptcy Court, counsel to the
Agent and the Lenders shall have received the motions and other pleadings or related documents to be filed
or submitted to the Bankruptcy Court in connection with this Agreement and the other Loan Documents
and the approval thereof (including, without limitation, the nature, scope and extent of notices to interested
parties with respect to all hearings related to this Agreement and the other Loan Documents), and such
motions, orders, pleadings and related documents shall be satisfactory in all respects to such counsel;

(i)    First Day Orders. Prior to filing or submission to the Bankruptcy Court, counsel to the Agent and
the Lenders shall have received all first day and related orders to be filed with the Bankruptcy Court in the
Chapter 11 Cases, including without limitation any and all cash collateral orders and related orders, and
such orders shall be satisfactory in all respects to such counsel. Prepetition Term Loan Agent and
Prepetition Revolving Loan Agent shall have consented to the use of their respective cash collateral in
connection with such orders;

(j)     Priority of Claims. Upon the entry of the Interim Order, the Super-Priority Claim status and Liens
of the Lenders and the Agent shall be as set forth in Article XII;

(k)     Purchase Agreement. Agent shall have received a fully executed asset purchase agreement
providing for the application of any sale proceeds in accordance with the Interim Order and the priorities
set forth therein, which purchase agreement shall be on terms acceptable to the Lenders in their sole
discretion (as amended in accordance with the terms hereof, the “Stalking Horse Purchase Agreement”);

(l)    Sales Procedure. The Debtors shall have submitted a proposed form of bidding procedures sales
order (or agreed to motion filed requesting such order) acceptable to the Agent and Lenders;

(m) Water Projects Contracts. The Debtors shall have submitted a motion to reject the Water Projects
Contracts acceptable to the Agent and Lenders;

(n)    Chief Restructuring Officer. Borrower shall have appointed a chief restructuring officer reasonably
acceptable to the Agent and Lenders;

(o)   Default. No Default has occurred or is continuing or would result after giving effect to this
Agreement and the other Loan Documents;

(p)    Financings and Other Transactions, etc.

         (i)      The Transactions shall have been consummated or shall be consummated simultaneously
         on the Closing Date, in each case in all material respects in accordance with the terms hereof and
         the terms of the Transaction Documents.

         (ii)     The Borrower shall have entered into the Revolving Loan Agreement with the Revolving
         Agent and the other parties thereto, providing for a debtor-in-possession revolving credit facility
         to Borrower with an aggregate revolving commitment amount of $12,000,000, and the Revolving
         Loan Documents shall be reasonably acceptable to Agent. Agent (on behalf of the Lenders), on
         the one hand, and the Revolving Agent (on behalf of the secured parties under the Revolving Loan
         Documents) shall have entered into an amendment to, or an amendment and restatement of, the
         Prepetition Intercreditor Agreement in form and substance satisfactory to Agent.

(q)    Indebtedness and Minority Interests. After giving effect to the Transactions and the other
transactions contemplated hereby, no Credit Party shall have outstanding any Indebtedness or preferred
stock other than (i) the Loans hereunder, (ii) the Indebtedness under the Revolving Loan Agreement, (iii)
the Indebtedness and preferred stock listed on Disclosure Schedule (3.18), and (iv) any Indebtedness
otherwise permitted under Section 5.1.



                                                 11
      Case 23-10961-BLS            Doc 13-1        Filed 07/22/23          Page 279 of 388




(r)     Requirements of Law. The Credit Parties and the Transactions shall be in full compliance with all
material Requirements of Law, including Regulations T, U and X of the Federal Reserve Board, and Agent
shall have received satisfactory evidence of such compliance reasonably requested by it.

(s)    Consents. All requisite Governmental Authorities and third parties to the extent required by the
Bankruptcy Code or the Orders shall have approved or consented to the Transactions, and there shall be no
governmental or judicial action, actual or threatened, that has or would have, singly or in the aggregate, a
reasonable likelihood of restraining, preventing or imposing burdensome conditions on the Transactions or
the other transactions contemplated hereby.

(t)     Litigation. Except for the Chapter 11 Cases, there shall be no litigation, public or private, or
administrative proceedings, governmental investigation or other legal or regulatory developments, actual or
threatened, that, singly or in the aggregate, could reasonably be expected to result in a Material Adverse
Effect, or could materially and adversely affect the ability of the Credit Parties to fully and timely perform
their respective obligations under the Loan Documents or the ability of the parties to consummate the
financings contemplated hereby or the other Transactions.

(u)    Uses. The uses of the Loan shall be as set forth in Section 1.3.

(v)    Personal Property Requirements. The Agent shall have received:

         (i)      [reserved];

         (ii)      all other certificates, agreements, or instruments necessary to perfect the Agent’s security
         interest in all Chattel Paper, all Instruments, and all Investment Property of each Credit Party (to
         the extent required hereunder);

         (iii)    UCC and PPSA financing statements in appropriate form for filing under the UCC and
         the PPSA, as applicable, filings with the United States Patent and Trademark Office, United States
         Copyright Office and the Canadian Intellectual Property Office, as applicable, and such other
         documents under applicable Requirements of Law in each jurisdiction as may be necessary or
         appropriate or, in the opinion of the Agent, desirable to perfect the Liens created, or purported to
         be created, hereunder;

         (iv)      certified copies (to the extent applicable) of UCC, PPSA, United States Patent and
         Trademark Office and United States Copyright Office, Canadian Intellectual Property Office,
         Bank Act (Canada), tax and judgment lien searches, bankruptcy, execution and pending lawsuit
         searches or equivalent reports or searches, each of a recent date listing all effective financing
         statements, lien notices or comparable documents that name any Credit Party as debtor and that
         are filed in those federal, provincial, territorial, state and county jurisdictions in which any Credit
         Party is organized or maintains its chief executive office, registered office, principal place of
         business, property or assets with a value in excess of $100,000 and such other searches that are
         required by the Perfection Certificate or that the Agent deems necessary or appropriate, none of
         which encumber the Collateral covered or intended to be covered hereunder (other than Permitted
         Liens or any other Liens acceptable to the Agent); and

         (v)      evidence acceptable to the Agent of payment or arrangements for payment by the Credit
         Parties of all applicable recording taxes, fees, charges, costs and expenses required for the
         recording of Liens;

(w)    [Reserved];

(x)    [Reserved];

(y)    [Reserved];



                                                 12
               Case 23-10961-BLS            Doc 13-1        Filed 07/22/23         Page 280 of 388




        (z)     Organization Chart. Agent shall have received from the Borrower an accurate and complete
        organization chart reflecting all of the direct and indirect Subsidiaries and joint ventures of Holdings (and
        any other Person in which Holdings or any of the foregoing Subsidiaries or joint ventures holds Equity
        Interests) (including the applicable ownership percentages) as of: (i) the date immediately prior to the
        Closing Date (the “Pre-Closing Organization Chart”), and (ii) the date immediately following the
        Closing Date (the “Post-Closing Organization Chart”) (collectively, the “Organization Charts”). To
        the extent that the Pre-Closing Organization Chart is identical to the Post-Closing Organization Chart, the
        Borrower may certify to Agent that the Post-Closing Organization Chart is identical to the Pre-Closing
        Organization Chart;

        (aa)    [Reserved];

        (bb) Delivery of SBA Documents. The Borrower shall have delivered the following documents in form
        and substance reasonably satisfactory to Agent and each Lender that is an SBIC (and, as applicable, duly
        executed and dated as of the Closing Date or an earlier date satisfactory to such SBIC):

                 (i)      a Note;

                 (ii)     the SBA Side Letter;

                 (iii)    each duly executed and completed SBA Form; and

                 (iv)     such other documents or instruments as reasonably requested by such SBIC to comply
                 with the Act.

2.2      Conditions to each Funding Date.
 No Lender shall be obligated to make a Term Loan on any Funding Date (excluding the Initial Funding Date),
unless and until all of the following conditions have been satisfied in a manner satisfactory to Agent in its sole
discretion, or waived in writing by Agent:

        (a)     Effectiveness of this Agreement. Borrower shall have satisfied all conditions set forth in Section
        2.1;

        (b)   Borrowing Request. Agent shall have received a duly executed Borrowing Request with respect to
        such Funding Date;

        (c)     Representations and Warranties. Any representation or warranty by any Credit Party contained
        herein or in any of the other Loan Documents shall be true and correct as of the applicable Funding Date
        (x) as stated as to representations and warranties which contain materiality limitations, and (y) in all
        material respects as to all other representations and warranties; except to the extent that any such
        representation or warranty is expressly stated to relate to a specific earlier date, in which case, such
        representation and warranty shall be true and correct as of such earlier date (x) as stated as to
        representations and warranties which contain materiality limitations, and (y) in all material respects as to all
        other representations and warranties;

        (d)   No Default. Both immediately before and immediately after giving effect to the making of any
        Term Loan on such Funding Date, no Default or Event of Default exists and is continuing; and

        (e)    Cash Flow Budget. The Agent shall have received the most recent Cash Flow Budget required to be
        delivered pursuant to Section 4.1(f).




                                                          13
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 281 of 388



3.               REPRESENTATIONS, WARRANTIES AND AFFIRMATIVE COVENANTS

To induce Agent and the Lenders to enter into this Agreement and to induce the Lenders to make the Loan,
Borrower and each other Credit Party executing this Agreement, jointly and severally, represent and warrant to
Agent and each Lender (each of which representations and warranties shall survive the execution and delivery of
this Agreement), and promise to and agree with Agent and each Lender until the Termination Date as follows:

3.1       Corporate Existence; Compliance with Law. Each Grantor: (a) is, as of the Closing Date, and thereafter
will continue to be (i) (A) a corporation, limited liability company or limited partnership, as applicable, duly
organized, and validly existing (except as otherwise expressly permitted under Section 5.3) and (B) in good standing
(or its equivalent) under the laws of the jurisdiction of its incorporation or organization, (ii) except as a result of the
commencement of the Chapter 11 Cases, duly qualified to do business and in good standing (or its equivalent) in
each other jurisdiction where its ownership or lease of property or the conduct of its business requires such
qualification, except where the failure to be so qualified could not reasonably be expected to have a Material
Adverse Effect, and (iii) in compliance with all Requirements of Law, Contractual Obligations and Permits that are
necessary or appropriate for the conduct of such Grantor’s business, except to the extent failure to comply therewith
could not, individually or in the aggregate, reasonably be expected to have a Material Adverse Effect or compliance
is not required by the Bankruptcy Code or the Orders; and (b) has and will continue to have (i) subject to the entry of
the Interim Order and subject to the terms of the Order then in effect and any restrictions arising on account of any
Grantor’s status as “debtor” under the Bankruptcy Code, the requisite corporate power, or limited liability company
power, as applicable, and authority and the legal right to (A) execute and deliver the Loan Documents, in each case,
as of the date of execution and delivery of such Loan Documents to which it is a party, (B) perform its obligations
under the Loan Documents to which it is a party, and (C) own, pledge, mortgage or otherwise encumber and operate
its properties, to lease the property it operates under lease, and to conduct its business as now, heretofore or
proposed to be conducted, and (ii) except as could not, individually, or in the aggregate, reasonably be expected to
have a Material Adverse Effect or as otherwise not required by the Bankruptcy Code or the Orders, all licenses,
permits, franchises, rights, powers, consents or approvals from or by all Persons or Governmental Authorities having
jurisdiction over such Grantor that are necessary or appropriate for the conduct of its business.

3.2       Executive Offices, Registered Offices; Corporate or Other Names.(a) Each Grantor’s name as it appears in
official filings in the jurisdiction of its incorporation or organization, (b) the type of entity of each Grantor, (c) the
organizational identification number issued by each Grantor’s jurisdiction of incorporation or organization or a
statement that no such number has been issued, (d) each Grantor’s jurisdiction of organization or incorporation, and
(e) the location of each Grantor’s chief executive office, registered office and locations of Collateral when not in use
by a customer of any Grantor are as set forth in Disclosure Schedule (3.2) and, except as set forth in such Disclosure
Schedule, such locations have not changed during the preceding twelve (12) months. As of the Closing Date, during
the prior five (5) years, except as set forth in Disclosure Schedule (3.2), no Grantor has been known as or conducted
business in any other name (including trade names) than the name of such Grantor set forth on the signature page
hereto. Borrower has only one jurisdiction of incorporation or organization.

3.3       Corporate Power; Authorization; Enforceable Obligations. Subject to the entry of the Interim Order and
subject to the terms of the Order then in effect, the execution, delivery and performance by each Grantor of the Loan
Documents to which it is a party, and the creation of all Liens provided for herein and therein: (a) are and will
continue to be within such Grantor’s power and authority; (b) have been and will continue to be duly authorized by
all necessary or proper action; (c) are not and will not be in violation of any Requirement of Law or Contractual
Obligation (solely with respect to any Contractual Obligation, other than any violation that the exercise of remedies
in respect thereof is stayed pursuant to an order of the Bankruptcy Court under the Chapter 11 Cases) of such
Grantor; (d) do not and will not result in the creation or imposition of any Lien (other than Permitted Liens) upon
any of the Collateral; and (e) do not and will not require the consent or approval of any Governmental Authority or
any other Person, except any such consents or approvals that have been given or made and are in full force and
effect. As of the Closing Date, each Loan Document shall have been duly executed and delivered on behalf of each
Grantor party thereto, and, subject to the entry of the Interim Order and subject to the terms of the Order then in
effect, each such Loan Document upon such execution and delivery shall be and will continue to be a legal, valid
and binding obligation of such Grantor, enforceable against it in accordance with its terms, except as such
enforcement may be limited by bankruptcy, insolvency, and other similar laws affecting creditors’ rights generally.




                                                            14
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 282 of 388



3.4      Financial Statements; Books and Records.

         (a)    The annual, quarterly and monthly Financial Statements of the Grantors delivered pursuant to
         Section 4.1 present fairly in all material respects the financial condition of such Grantors as of the date of
         each such Financial Statement in accordance with GAAP (subject to normal year-end adjustments and to
         the absence of footnotes in the case of unaudited statements).

         (b)    The Grantors shall keep proper books and records in which proper entries, reflecting all
         consolidated and consolidating financial transactions, will be made in accordance with GAAP and all
         Requirements of Law in all material respects of all financial transactions and the assets and business of
         each Grantor on a basis consistent with the Financial Statements.

3.5       Material Adverse Change. Since the Petition Date, no events with respect to any Grantor have occurred
that alone or in the aggregate has had or could reasonably be expected to have a Material Adverse Effect. No
Requirement of Law or Contractual Obligation of any Grantor has or has had or could reasonably be expected to
have a Material Adverse Effect. No Grantor is in default, and to such Grantor’s knowledge no third party is in
default, under or with respect to any of its Contractual Obligations, that alone or in the aggregate has had or could
reasonably be expected to have a Material Adverse Effect (other than any default that the exercise of remedies in
respect thereof is stayed pursuant to an order of the Bankruptcy Court under the Chapter 11 Cases).

3.6      Revolving Loan Documents; Subordinated Loan Documents. With respect to the Term Loans, (i) the
Borrower is permitted to incur such Term Loans under the Revolving Loan Documents and Subordinated Loan
Documents (or, solely with respect to the Subordinated Loan Documents, other than to the extent of any violation
that the exercise of remedies in respect thereof is stayed pursuant to an order of the Bankruptcy Court under the
Chapter 11 Cases), (ii) the Agent’s Liens on the Collateral securing the Term Loans are permitted under the
Revolving Loan Documents and Subordinated Loan Documents (or, solely with respect to the Subordinated Loan
Documents, other than to the extent of any violation that the exercise of remedies in respect thereof is stayed
pursuant to an order of the Bankruptcy Court under the Chapter 11 Cases), and (iii) the Borrower and each Credit
Party are in compliance in all material respects with the Revolving Loan Documents and Subordinated Loan
Documents and no default or event of default has occurred and is continuing under such documents (or solely with
respect to the Subordinated Loan Documents, other than to the extent of any non-compliance or default that the
exercise of remedies in respect thereof is stayed pursuant to an order of the Bankruptcy Court under the Chapter 11
Cases). As of the Closing Date, Agent has received true, correct and complete copies of the Revolving Loan
Documents, and none of the Revolving Loan Documents has been amended or supplemented, nor have any of the
provisions thereof been waived, except pursuant to a written agreement or instrument which has heretofore been
delivered to Agent.

3.7      Subsidiaries. Except as set forth in Disclosure Schedule (3.7), as of the Closing Date, no Credit Party has
any Subsidiaries. The issued and outstanding Stock of each Credit Party (excluding all rights to purchase, options,
warrants or similar rights or agreements pursuant to which any Credit Party may be required to issue, sell,
repurchase or redeem any of its Stock) as of the Closing Date is accurately reflected in the organizational chart
delivered pursuant to Section 3.29(c) and set forth in the Perfection Certificate or any supplement thereto (whichever
was most recently delivered to Agent).

3.8       Government Regulation; Margin Regulations. Subject to the entry of the Interim Order and subject to the
terms of the Order then in effect, no Grantor is subject to or regulated under any federal, state, provincial or
territorial statute, rule or regulation that restricts or limits such Person’s ability to incur Indebtedness, pledge its
assets, or to perform its obligations under the Loan Documents. Subject to the entry of the Interim Order and subject
to the terms of the Order then in effect, the making of the Loan, the application of the proceeds and repayment
thereof, and the consummation of the transactions contemplated by the Loan Documents do not and will not violate
any Requirement of Law. No Grantor is engaged, nor will it engage, in the business of extending credit for the
purpose of “purchasing” or “carrying” any “margin security” as such terms are defined in Regulation U of the
Federal Reserve Board as now and hereafter in effect (such securities being referred to herein as “Margin Stock”).
No Grantor owns any Margin Stock, and none of the proceeds of the Loan or other extensions of credit under this
Agreement will be used, directly or indirectly, for the purpose of purchasing or carrying any Margin Stock or
reducing or retiring any Indebtedness that was originally incurred to purchase or carry any Margin Stock. No



                                                          15
             Case 23-10961-BLS             Doc 13-1        Filed 07/22/23        Page 283 of 388



Grantor will take or permit to be taken any action that could reasonably be expected to cause any Loan Document to
violate any regulation of the Federal Reserve Board.

3.9      Taxes; Charges. Except as disclosed in Disclosure Schedule (3.9), all tax returns, reports and statements
required by any Governmental Authority to be filed by Borrower or any other Grantor have, as of the Closing Date,
been filed and will, until the Termination Date, be filed with the appropriate Governmental Authority and, as of the
Closing Date, no tax Lien has been filed against any Grantor or any Grantor’s property. Borrower and each Grantor
has paid all federal, state, provincial and other taxes, assessments, fees and other governmental charges levied or
imposed upon them or their properties, income or assets otherwise due and payable, except (a) Taxes that are being
contested in good faith by appropriate proceedings diligently conducted and for which adequate reserves are being
maintained in accordance with GAAP or (b) to the extent that the failure to do so could not reasonably be expected
to have a Material Adverse Effect. Disclosure Schedule (3.9) sets forth as of the Closing Date those taxable years
for which any Grantor’s tax returns are currently being audited by the IRS or any other applicable Governmental
Authority and any assessments or assessments threatened in writing in connection with such audit, or otherwise
currently outstanding. As of the Closing Date, no Grantor has agreed or been requested to make any adjustment
under Section 481(a) of the IRC (or the comparable provisions of the Income Tax Act (Canada) in respect of a
Canadian Credit Party), by reason of a change in accounting method or otherwise, which could reasonably be
expected to have a Material Adverse Effect.

3.10     Payment of Obligations. Each Grantor will pay, discharge or otherwise satisfy at or before maturity or
before they become delinquent, as the case may be, all of its material Charges and other obligations of whatever
nature, except where the amount or validity thereof is currently being contested in good faith by appropriate
proceedings and reserves in conformity with GAAP with respect thereto have been provided on the books of such
Grantor and, except as otherwise notified to Agent in writing, no material portion of the Collateral is or could
reasonably be expected to become subject to any Lien or forfeiture or loss as a result of such contest.

3.11    ERISA and Canadian Pension Plans.

        (a)    No ERISA Event has occurred or is reasonably expected to occur that, when taken together with all
        other existing ERISA Events, could reasonably be expected to have a Material Adverse Effect. Except as
        disclosed in Disclosure Schedule (3.11), the present value of all accumulated benefit obligations of the
        Grantors under each Plan (based on the assumptions used for purposes of Statement of Financial
        Accounting Standards No. 87) did not, as of the date of the most recent Financial Statements reflecting
        such amounts, exceed the fair market value of the assets of such Plan by more than the Threshold Amount
        when aggregated with the potential Withdrawal Liability, and the present value of all accumulated benefit
        obligations of all underfunded Plans (based on the assumptions used for purposes of Statement of Financial
        Account Standards No. 87) did not, as of the date of the most recent Financial Statements reflecting such
        amounts, exceed the fair market value of the assets of such underfunded Plans by more than the Threshold
        Amount when aggregated with the potential Withdrawal Liability. No Grantor or ERISA Affiliate has
        incurred or reasonably expects to incur any Withdrawal Liability in excess of the Threshold Amount.

        (b)    Each Grantor shall furnish to the Agent (x) as soon as possible after, and in any event within five (5)
        days after any Responsible Officer of any Credit Party or any of its ERISA Affiliates knows or has reason
        to know that, any ERISA Event has occurred that, alone or together with any other ERISA Event could
        reasonably be expected to result in liability of the Credit Parties or any of their ERISA Affiliates in an
        aggregate amount exceeding the Threshold Amount or the imposition of a Lien, a statement of a
        Responsible Officer of such Credit Party or such ERISA Affiliate setting forth details as to such ERISA
        Event and the action, if any, that such Credit Party or such ERISA Affiliate proposes to take with respect
        thereto; (y) upon request by the Agent, copies of (i) each Schedule B (Actuarial Information) to the annual
        report (Form 5500 Series) filed by any Credit Party or any ERISA Affiliate with the IRS with respect to
        each Plan; (ii) the most recent actuarial valuation report for each Plan; (iii) all notices received by any
        Credit Party or any ERISA Affiliate from a Multiemployer Plan sponsor or any governmental agency
        concerning an ERISA Event; and (iv) such other documents or governmental reports or filings relating to
        any Plan (or employee benefit plan, as defined in Section 3(3) of ERISA, sponsored or contributed to by
        any Credit Party) as the Agent shall reasonably request and (z) promptly following any request therefor,
        copies of (i) any documents described in Section 101(k) of ERISA that any Credit Party or its ERISA



                                                         16
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 284 of 388



         Affiliate may request with respect to any Multiemployer Plan and (ii) any notices described in
         Section 101(1) of ERISA that any Credit Party or its ERISA Affiliate may request with respect to any
         Multiemployer Plan; provided, that if any Credit Party or its ERISA Affiliate has not requested such
         documents or notices from the administrator or sponsor of the applicable Multiemployer Plan, the
         applicable Credit Party or ERISA Affiliate shall promptly make a request for such documents or notices
         from such administrator or sponsor and shall provide copies of such documents and notices promptly after
         receipt thereof.

         (c)    No Grantor maintains or contributes to, or has in the past maintained or contributed to, a Canadian
         Pension Plan for its Canadian employees or former employees which contains a “defined benefit
         provision,” as defined in subsection 147.1(1) of the Income Tax Act (Canada).

3.12     Litigation. Except as specifically disclosed in Disclosure Schedule (3.12), and except for the Chapter 11
Cases, there are no actions, suits, proceedings, claims or disputes pending, or to the knowledge of each Credit Party,
threatened or contemplated, at law, in equity, in arbitration or before any Governmental Authority, against any
Credit Party or any of their respective Properties which:

         (a)  purport to affect or pertain to this Agreement or any other Loan Document, any other Transaction
         Document or any of the Transactions contemplated hereby or thereby; or

         (b)     would reasonably be expected to result in equitable relief or monetary judgment(s), individually or
         in the aggregate, in excess of the Threshold Amount.

Except as set forth on Disclosure Schedule (3.12), no injunction, writ, temporary restraining order or any order of
any nature has been issued by any court or other Governmental Authority purporting to enjoin or restrain the
execution, delivery or performance of this Agreement or any other Loan Document or Transaction Document, or
directing that the transactions provided for herein or therein not be consummated as herein or therein provided. As
of the Closing Date, except with respect to matters set forth on Disclosure Schedule (3.12), no Credit Party or any
Subsidiary of any Credit Party is the subject of an audit or, to each Credit Party’s knowledge, any review or
investigation by any Governmental Authority (excluding the IRS and other taxing authorities) concerning the
violation or possible violation of any Requirement of Law. Each Grantor shall notify Agent promptly in writing
upon having knowledge of the existence, threat or commencement of any Litigation described in subsections (a) and
(b) above or any such audit, review or investigation.

3.13      Intellectual Property. The Grantors own, or are licensed to use, all such Intellectual Property material to its
business as currently conducted, except for such Intellectual Property the failure of which to so own or be so
licensed could not reasonably be expected to have a Material Adverse Effect. Each Grantor will take all necessary
steps to preserve its ownership and licenses in such Intellectual Property as may be necessary or required to permit
Agent to sell, transfer, rent, or use the Collateral upon the occurrence and during the continuation of an Event of
Default. To permit Agent to sell, transfer, rent, or use the Collateral upon the occurrence and during the continuation
of an Event of Default, each Grantor hereby grants to Agent an irrevocable, nonexclusive, worldwide license
(exercisable without payment of royalty or other compensation to such Grantor), including in such license the right
to sublicense, use and practice any Intellectual Property now owned or hereafter acquired by such Grantor and
access to all media in which any of the licensed items may be recorded or stored and to all software and programs
used for the compilation or printout thereof. As of the Closing Date, the Grantors own or are licensed to use the
Intellectual Property as set forth in Disclosure Schedule (3.13). Each Grantor shall maintain the patenting and
registration of all Intellectual Property with the United States Patent and Trademark Office, the United States
Copyright Office, the Canadian Intellectual Property Office or other appropriate Governmental Authority other than
with respect to such Intellectual Property that, in the reasonable judgment of such Grantor, is determined to be
uneconomical, negligible or obsolete in the conduct of its business. In the event that any Grantor becomes aware
that any Intellectual Property material to the conduct of its business has been or is about to be infringed,
misappropriated or diluted by a third party in any material respect, such Grantor promptly shall notify the Agent and
shall take such actions as are appropriate under the circumstances to protect such Intellectual Property, including, if
consistent with good business judgment, promptly suing for infringement, misappropriation or dilution, and to
recover any and all damages for such infringement, misappropriation or dilution.




                                                           17
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23        Page 285 of 388



3.14     Full Disclosure. No information contained in any Loan Document, the Financial Statements or any written
statement (other than matters of a general economic nature) furnished by or on behalf of any Grantor under any
Loan Document, or to induce Agent and the Lenders to execute the Loan Documents (as such information has been
amended, supplemented or superseded by any other information later delivered to the same parties receiving such
information, provided that the delivery of such amended, supplemented or superseding information shall not cure
any Event of Default arising under Section 7.1(b) other than with respect to this Section 3.14), when taken as a
whole, contains when furnished any untrue statement of a material fact or omits to state a material fact necessary to
make the statements contained herein or therein not materially misleading in light of the circumstances under which
they were made; provided, that with respect to projections and other forward-looking information, such Grantor
represents only that such information was prepared in good faith based upon assumptions believed by such Grantor
to be reasonable at the time of preparation, it being understood that such projections may vary from actual results
and that such variations may be material.

3.15      Environmental Liabilities. Except as set forth in Disclosure Schedule (3.15), as of the Closing Date, (a) no
Grantor is subject to any Environmental Liabilities or, to any Grantor’s knowledge, potential Environmental
Liabilities, that could reasonably be expected to result in Environmental Liabilities in excess of the Threshold
Amount in the aggregate and (b) no notice has been received by any Grantor identifying it as a “potentially
responsible party” or requesting information under CERCLA or analogous state statutes, and to the knowledge of
any Grantor, there are no facts, circumstances or conditions that may result in any Grantor being identified as a
“potentially responsible party” under CERCLA or analogous state statutes, in each such case if such circumstance
could reasonably be expected to result in Environmental Liabilities in excess of the Threshold Amount in the
aggregate. Each Grantor: (i) shall comply in all material respects with all applicable Environmental Laws and
environmental permits, (ii) shall notify Agent in writing within seven (7) days if and when it becomes aware of any
Release, on, at, in, under, above, to, from or about any real property owned, leased or occupied by a Grantor if such
Release could reasonably be expected to result in Environmental Liabilities in excess of the Threshold Amount in
the aggregate, (iii) shall notify Agent in writing within seven (7) days if and when it becomes aware of any claims
that could reasonably be expected to form the basis for any Environmental Liabilities that could reasonably be
expected to result in Environmental Liabilities in excess of the Threshold Amount in the aggregate, and (iv) shall
notify Agent in writing within seven (7) days if and when it becomes aware of any occurrences of non-compliance
with Environmental Laws or environmental permits, to the extent any such failure to comply could reasonably be
expected to result in Environmental Liabilities in excess of the Threshold Amount in the aggregate. Without
limiting the foregoing, if an Event of Default is continuing or if Agent at any time has a reasonable basis to believe
that there exist violations of Environmental Laws by any Grantor or that there exist any Environmental Liabilities, in
each case, that would have, in the aggregate, a Material Adverse Effect, then each Grantor shall, promptly upon
receipt of request from Agent, cause the performance of, and allow Agent access to such real property for the
purpose of conducting, such environmental audits and assessments, including subsurface sampling of soil and
groundwater, and cause the preparation of such reports, in each case as Agent may from time to time reasonably
request. Such audits, assessments and reports, to the extent not conducted by Agent shall be conducted and prepared
by reputable environmental consulting firms reasonably acceptable to Agent and shall be in form and substance
reasonably acceptable to Agent. Each Credit Party has made available to Agent copies of all existing environmental
reports, reviews and audits and all documents prepared since January 1, 2010 pertaining to actual or potential
Environmental Liabilities, in each case to the extent such reports, reviews, audits and documents are in their
possession, custody, control or otherwise available to the Credit Parties.

3.16    Insurance. As of the Closing Date, Disclosure Schedule (3.16) lists all insurance of any nature maintained
by Borrower with respect to the Collateral as well as all liability insurance maintained by the Grantors, as well as a
summary of the terms of such insurance.

         (a)     Coverage. Without limiting any of the other obligations or liabilities of the Grantors under this
         Agreement, the Grantors shall, during the term of this Agreement, carry and maintain, at its own expense,
         at least the minimum insurance coverage set forth in this Section 3.16. All insurance carried pursuant to this
         Section 3.16 shall be placed with such insurers (that are not Affiliates of the Grantors (including without
         limitation any Captive Insurance Subsidiary)) having a minimum A.M. Best rating of A-:VIII (or as may be
         otherwise reasonably acceptable to the Agent), be in such amounts as are customarily carried or maintained
         by similarly situated entities engaged in similar businesses, and be in such form, with terms, conditions,




                                                          18
      Case 23-10961-BLS            Doc 13-1        Filed 07/22/23        Page 286 of 388



limits and deductibles as shall be reasonably acceptable to Agent. The insurance required to be carried and
maintained by Grantors hereunder shall, in all events, include, without limitation, the following:

         (i)      All Risk Property Insurance. The Grantors shall maintain, all risk property insurance
         covering against physical loss or damage, including but not limited to fire and extended coverage,
         collapse, flood (if required), earth movement and comprehensive boiler and machinery coverage
         (including electrical malfunction and mechanical breakdown). Coverage shall be written on a
         replacement cost basis in an amount reasonably acceptable to Agent; and,

         (ii)     Commercial General Liability Insurance. The Grantors shall maintain comprehensive
         general liability insurance written on an occurrence basis with a limit of not less than $1,000,000
         per occurrence for bodily injury and/or property damage with an aggregate of $2,000,000. Such
         coverage shall include, but not be limited to, premises/operations, broad form contractual liability,
         products/completed operations, property damage and personal injury liability; and,

         (iii)    Excess/Umbrella Liability Insurance. The Grantors shall maintain excess and/or
         umbrella liability insurance written on an occurrence basis in an amount not less than $20,000,000
         providing coverage limits excess of the insurance limits required under subsection (a)(ii). Such
         insurance shall follow the form of the primary insurances and drop down in case of exhaustion of
         underlying limits and/or aggregates.

(b)    [Reserved]:

(c)    Insurance Reporting. On the Closing Date, and at each policy renewal, but not less than annually,
the Grantors shall provide to the Agent reasonable evidence that shall identify the underwriters, the type of
insurance, the limits, deductibles, and term thereof and shall specifically list the special provisions
delineated in section (b) above for such insurance required for this Section 3.16.

(d)    Reserved.

(e)    Notice to Agent. The Grantors shall notify the Agent immediately whenever any separate insurance
concurrent in form or contributing in the event of loss with that required to be maintained under this
Section 3.16 is taken out by any Credit Party; and promptly deliver to the Agent a copy of such policy or
policies.

(f)     Flood Insurance. With respect to each Mortgaged Property (if any) located in the United States, the
Grantors shall obtain flood insurance in such total amount as the Agent or the Required Lenders may from
time to time require, if at any time the area in which any improvements located on any Mortgaged Property
is designated a “flood hazard area” in any Flood Insurance Rate Map published by the Federal Emergency
Management Agency (or any successor agency), and otherwise comply with the National Flood Insurance
Program as set forth in the Flood Disaster Protection Act of 1973, as amended from time to time and all
legislation, and rules and regulations thereunder, administered by the relevant local conservation authority
with respect to flood plain management and other conservation matters.

(g)     Mortgaged Properties. No Credit Party that is an owner of any Mortgaged Property shall take any
action that is reasonably likely to be the basis for termination, revocation or denial of any insurance
coverage required to be maintained under such Credit Party’s respective Mortgage or that could be the
basis for a defense to any claim under any insurance policy maintained in respect of the mortgaged
properties, and each Credit Party shall otherwise comply in all material respects with all Insurance
Requirements in respect of the mortgaged properties; provided, however, that each Credit Party may, at its
own expense and after written notice to the Agent, (i) contest the applicability or enforceability of any such
Insurance Requirements by appropriate legal proceedings, the prosecution of which does not constitute a
basis for cancellation or revocation of any insurance coverage required under this Section 3.16 or (ii) cause
the insurance policy containing any such Insurance Requirement to be replaced by a new policy complying
with the provisions of this Section 3.16.




                                                 19
             Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 287 of 388



         (h)     Borrower shall direct all present and future insurers under its policies of insurance to pay all
         proceeds payable thereunder with respect to the Collateral directly to Agent for application, subject to the
         Intercreditor Agreement, pursuant to Section 1.2(c). If any insurance proceeds are paid by check, draft or
         other instrument payable to Borrower and Agent jointly, Agent may endorse Borrower’s name thereon and
         do such other things as Agent may deem advisable to reduce the same to cash, subject to the terms of the
         Intercreditor Agreement.

3.17     [Reserved].
3.18     Other Financings. Except as disclosed in Disclosure Schedule (3.18) attached hereto or as otherwise
permitted under Section 5.1, none of the Credit Parties has outstanding as of the Closing Date any Indebtedness.

3.19      Conduct of Business. Each Grantor (a) shall conduct its business substantially as now conducted or as
otherwise permitted hereunder, and (b) shall at all times maintain, preserve and protect all of the Collateral, except
to the extent otherwise permitted under this Agreement and keep the same in good repair, working order and
condition, ordinary wear and tear and casualty excepted, and make, or cause to be made, all necessary or appropriate
repairs, replacements and improvements thereto consistent with manufacturer specifications and industry practices.

3.20     Further Assurances. At any time and from time to time, upon the written request of Agent and at the sole
expense of the Grantors, the Grantors shall promptly and duly execute and deliver any and all such further
instruments and documents and take such further action as Agent may reasonably deem necessary (a) to obtain the
full benefits of this Agreement and the other Loan Documents, (b) to protect, preserve and maintain Agent’s rights
in any Collateral and security interests or the equivalent under any foreign law, or (c) to enable Agent to exercise all
or any of the rights and powers herein granted.

3.21     Collateral/Maintenance of Property.

         (a)     Each Grantor holds and will continue to hold, subject to dispositions permitted under Section 5.3,
         5.4, 5.5 or 5.7, good title to any of its property constituting the Collateral and none of such property is or
         will be subject to any Liens except Permitted Liens.

         (b)     Each Grantor shall (i) maintain and preserve in all material respects in good working order and
         condition, ordinary wear and tear and casualty excepted, the Collateral and all other of its property
         necessary in the conduct of its business, and such Collateral shall be maintained, in all material respects, in
         accordance with all manufacturer’s suggested and recommended maintenance procedures, including
         preventive maintenance, (ii) (A) to the extent necessary to the conduct of its business, obtain, maintain and
         preserve in full force and effect any NRC License or NQAP License, and (B) obtain, maintain and preserve
         all material rights, permits, licenses, approvals and privileges (including all Permits) (other than a NRC
         License or NQAP License) necessary, used or useful, whether because of its ownership, lease, sublease or
         other operation or occupation of property or other conduct of its business, and shall make all necessary or
         appropriate filings with, and give all required notices to, Governmental Authorities, except where the
         failure to make such filings or give such notices could not reasonably be expected to have a Material
         Adverse Effect and (iii) maintain the Collateral in compliance in all material respects with all applicable
         statutes, laws, ordinances, regulations, standards, directives, orders, judgments and permits (including
         environmental) issued by any Governmental Authority, and (iv) promptly after request by Agent note or
         shall have noted Agent’s Lien on all certificates of title (to the extent issued) of such Collateral, to the
         extent such Collateral is located in the United States or Canada and subject to motor vehicle registration
         requirements, provided that Agent shall not request such notation unless such Collateral has a fair market
         value in excess of $100,000 in the aggregate.

         (c)     Collateral shall not be located in, in transit to or used by a customer, in any country, state, nation, or
         territory (i) listed on the Lists or otherwise under United States sanctions for conducting business or (ii) set
         forth on Schedule E hereto (as such Schedule E may be amended by written notice from time to time by
         Agent to Borrower on a prospective basis) (each a “Restricted Location”). Upon an amendment to
         Schedule E pursuant to the forgoing sentence such that Collateral is located in a Restricted Location that
         was not located in a Restricted Location prior to such amendment, no Grantor shall extend or renew any
         rental agreements or enter into any new rental agreements which would cause the Collateral to be located



                                                           20
           Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 288 of 388



       in, in transit to or in use in a Restricted Location by a customer of such Grantor and such Grantor shall
       remove such Collateral from such Restricted Location within fifteen (15) days from the delivery of such
       notice or, if such Collateral is subject to a rental agreement with a customer of such Grantor at such time,
       fifteen (15) days from the end of the then current term of such rental agreement. When not in transit to or
       in use by a customer of any Grantor, the Collateral will primarily be located at the Chief Executive Office
       or a Rental Office.

       (d)     Real Property. The Perfection Certificate dated the Closing Date contain a true and complete list of
       each interest in Real Property (i) owned by any Credit Party as of the Closing Date and describes the type
       of interest therein held by such Credit Party and whether such owned Real Property is leased and if leased
       whether the underlying lease contains any option to purchase all or any portion of such Real Property or
       any interest therein or contains any right of first refusal relating to any sale of such Real Property or any
       portion thereof or interest therein and (ii) leased, subleased or otherwise occupied or utilized by any Credit
       Party, as lessee, sublessee, franchisee or licensee, as of the Closing Date and describes the type of interest
       therein held by such Credit Party and, in each of the cases described in clauses (i) and (ii) of this
       Section 3.21(d), whether any lease requires the consent of the landlord or tenant thereunder, or other party
       thereto, to the Transactions.

3.22   Anti-Terrorism and Anti-Money Laundering Compliance.

       (a)     No Credit Party and, after making due inquiry, no Material Holder of Holdings or customer of a
       Credit Party, is (i) listed on the Specially Designated Nationals and Blocked Persons List (the “SDN List”)
       maintained by the Office of Foreign Assets Control (“OFAC”), Department of the Treasury, and/or on any
       other similar list maintained under any Canadian AML/Sanction Laws or otherwise (“Other Lists” and,
       collectively with the SDN List, the “Lists”) maintained by the OFAC pursuant to any authorizing statute,
       Executive Order or regulation (collectively, “OFAC Laws and Regulations”); or (ii) a Person (a
       “Designated Person”) either (A) included within the term “designated national” as defined in the Cuban
       Assets Control Regulations, 31 C.F.R. Part 515, or (B) designated under Sections 1(a), 1(b), 1(c) or 1(d) of
       Executive Order No. 13224, 66 Fed. Reg. 49079 (published September 25, 2001) or similarly designated
       under any related enabling legislation or any other similar Executive Orders (collectively, the “Executive
       Orders”). The OFAC Laws and Regulations, the Canadian AML/Sanction Laws and the Executive Orders
       are collectively referred to in this Agreement as the “Anti-Terrorism Laws”. Each of the Credit Parties
       represents and warrants that it requires, and has taken reasonable measures to ensure compliance with the
       requirement, that no Credit Party or any of its Subsidiaries is or shall be listed on any of the Lists or is or
       shall be a Designated Person. This Section 3.22 shall not apply to any Person to the extent that such
       Person’s interest in the Borrower is through a U.S. Publicly-Traded Entity. As used in this Agreement,
       “U.S. Publicly-Traded Entity” means a Person (other than an individual) whose securities are listed on a
       national securities exchange, or quoted on an automated quotation system, in the United States, or a
       wholly-owned subsidiary of such a Person.

       (b)     Each Credit Party represents and warrants that it has taken reasonable measures appropriate to the
       circumstances (and in any event as required by law), with respect to each Material Holder of a direct or
       indirect interest in such Credit Party, to assure that funds invested by such Material Holders in the Credit
       Parties are derived from legal sources (“Anti-Money Laundering Measures”). The Anti-Money
       Laundering Measures have been undertaken in accordance with the Bank Secrecy Act, 31 U.S.C. §§ 5311
       et seq. (“BSA”), and all applicable laws, regulations and government guidance on BSA compliance and on
       the prevention and detection of money laundering violations under 18 U.S.C. §§ 1956 and 1957 and the
       Canadian AML/Sanction Laws (collectively with the BSA, “Anti-Money Laundering Laws”).

       (c)     Each Credit Party represents and warrants to Agent and each Lender, to its actual knowledge after
       making due inquiry, that no such Credit Party or any Material Holder of a direct or indirect interest in such
       Credit Party (i) is under investigation by any Governmental Authority for, or has been charged with, or
       convicted of, money laundering under 18 U.S.C. §§ 1956 and 1957, drug trafficking, terrorist-related
       activities or other money laundering predicate crimes, or any violation of the BSA or other Anti-Money
       Laundering Laws, (ii) has been assessed civil penalties under any Anti-Money Laundering Laws, or (iii)
       has had any of its funds seized or forfeited in an action under any Anti-Money Laundering Laws.



                                                        21
             Case 23-10961-BLS             Doc 13-1       Filed 07/22/23        Page 289 of 388




        (d)    Each Credit Party represents and warrants to Agent and each Lender that it has taken reasonable
        measures appropriate to the circumstances (in any event as required by applicable law), to ensure that such
        Credit Party is in compliance with all applicable Anti-Money Laundering Laws and laws, regulations and
        government guidance for the prevention of terrorism, terrorist financing and drug trafficking.

        (e)    Each Credit Party and its respective directors, officers and employees and, to the knowledge of the
        applicable Credit Party, the agents of each Credit Party and their Subsidiaries, are in compliance with the
        Foreign Corrupt Practices Act of 1977, as amended, and the rules and regulations thereunder (the “FCPA”)
        and any other applicable anti-corruption law, including without limitation the UK Bribery Act, in all
        material respects. The Credit Parties and their Subsidiaries have instituted and maintained, and shall
        continue to maintain, policies and procedures designed to ensure continued compliance with the FCPA and
        any other applicable anti-corruption laws.

3.23    Reserved.

3.24    Reserved.

3.25     Landlord Agreements. Upon the written request of Agent, each Grantor shall obtain a landlord or
mortgagee waiver, as applicable, from the lessor of each leased property or mortgagee of any owned property with
respect to each location where the Collateral and/or Books and Records are stored or located, which agreement shall
be reasonably satisfactory in form and substance to Agent.

3.26    Deposit Accounts; Cash Collateral Accounts.

        Borrower and each Guarantor shall maintain a cash management system which is reasonably acceptable to
        Agent (the “Cash Management System”), which shall operate as follows:

        (a)     All Proceeds of Collateral held by Borrower or any other Credit Party (other than funds being
        collected pursuant to the provisions stated below) shall be deposited in one or more bank accounts or
        securities investment accounts, as set forth on Disclosure Schedule (3.26) or other accounts in form and
        substance reasonably satisfactory to Agent subject to the terms of this Agreement and the applicable
        Control Agreements.

        (b)     Borrower shall establish and maintain, and shall cause each Guarantor to establish and maintain, at
        its sole expense deposit accounts and lockboxes, which, on the Closing Date, shall consist of the accounts
        and related lockboxes maintained by the financial institutions as described on Disclosure Schedule (3.26)
        hereto (in each case (other than any Excluded Account), “Blocked Accounts”), or with such other banks as
        are acceptable to Agent into which Borrower and Guarantors shall promptly deposit and direct their
        respective Account Debtors to directly remit all payments on Accounts and all payments constituting
        Proceeds of Collateral in the identical form in which such payments are made, whether by cash, check or
        other manner and shall be identified and segregated from all other funds of the Credit Parties. Promptly
        upon Agent’s request, Borrower and Guarantors shall deliver, or cause to be delivered, to Agent a Control
        Agreement duly authorized, executed and delivered by each bank where a Blocked Account for the benefit
        of Borrower or any Guarantor is maintained. The accounts of the Credit Parties with PNC Bank, National
        Association with account numbers as previously identified to Agent in writing with account numbers
        ending 0459, 1566, 1988, 1937, 2016, 1881 and 8686 (the “Excluded ZBA Disbursement Accounts”),
        are, and shall remain at all times during the term of the Agreement, zero balance disbursement accounts
        that receive no deposits and have no funds therein except momentarily when a charge or payment request is
        presented to the account and funds in the exact amount required to satisfy such charge or payment request
        are transferred to the account in order to immediately satisfy the applicable charge or payment request.

        (c) Term Loan Priority Collateral Account. On the Closing Date, Borrower and Guarantors shall have
        established and shall maintain at all times during the term of this Agreement a deposit account (the “Term
        Loan Priority Collateral Account”, and promptly after request from the Agent, Borrower shall deliver to
        the Agent an executed control agreement in form and substance satisfactory to Agent under which (i) the



                                                        22
           Case 23-10961-BLS              Doc 13-1       Filed 07/22/23         Page 290 of 388



       Agent is the primary controlling agent and (ii) the Prepetition Term Loan Agent is the secondary
       controlling agent. All Term Loan Cash Proceeds shall be and remain deposited in the Term Loan Priority
       Collateral Account until such Term Loan Cash Proceeds are used by Borrower in accordance with Section
       1.3. Credit Parties shall not deposit in the Term Loan Priority Collateral Account any monies or any other
       proceeds of Collateral that constitute “Revolving Loan Priority Collateral” (as defined in the Intercreditor
       Agreement). Credit Parties shall not deposit “Term Loan Priority Collateral” (as defined in the Intercreditor
       Agreement), or any proceeds thereof, in any account other than the Term Loan Priority Collateral Account.

       (d) Borrower shall further execute and deliver, and shall cause each Guarantor to execute and deliver, such
       agreements and documents as Agent may require in connection with such Blocked Accounts and such
       Control Agreements. Borrower and Guarantors shall not establish any deposit accounts after the Closing
       Date into which Proceeds of Collateral are deposited, unless Borrower or such Guarantor has complied in
       full with the provisions of this Section 3.26 with respect to such deposit accounts, other than Excluded
       Accounts. Borrower and each Guarantor agrees that from and after the delivery of an Activation Notice (as
       such term is defined in Section 3.26(e) below) all payments made to such Blocked Accounts or other funds
       received and collected by Agent or any Lender, whether in respect of the Accounts or as Proceeds of
       Collateral shall be treated as payments to Agent and the Lenders in respect of the Obligations and therefore
       shall constitute the property of Agent and the Lenders to the extent of the then outstanding applicable
       Obligations.

       (e) The applicable bank at which any Blocked Accounts are maintained shall agree from and after the
       receipt of a notice (an “Activation Notice”) from Agent (which Activation Notice may, or upon instruction
       of the applicable Required Lenders, shall, be given by Agent at any time during an Event of Default)
       pursuant to the applicable Control Agreement, to forward, daily, all amounts in each Blocked Account to
       the account designated by Agent from time to time as a collection account (the “Collection Account”).

       (f) From and after the delivery of an Activation Notice, Agent shall apply all such funds in the Collection
       Account on a daily basis to the repayment of the applicable Obligations in accordance with Section 7.4.
       Notwithstanding the foregoing sentence, after payment in full has been made of the amounts required under
       Section 7.4, upon the applicable Credit Party’s request and as long as no Default has occurred and is
       continuing, any additional funds deposited in the Collection Account shall be released to such Credit Party.

       (g) Subject to the terms of the Intercreditor Agreement, Borrower, Guarantors and their directors,
       employees, agents and other Affiliates shall promptly deposit or cause the same to be deposited, any
       monies, checks, notes, drafts or any other payment relating to and/or Proceeds of Collateral which come
       into their possession or under their control in the applicable Blocked Accounts, or remit the same or cause
       the same to be remitted, in kind, to Agent. Borrower agrees to reimburse Agent on demand for any
       amounts owed or paid to any bank at which a Blocked Account is established or any other bank or person
       involved in the transfer of funds to or from the Blocked Accounts arising out of Agent’s payments to or
       indemnification of such bank or person.

3.27   Reserved.
3.28   After-acquired Property; Additional Collateral. Each Grantor shall:

       (a)     Subject to this Section 3.28, with respect to any property acquired after the Closing Date by any
       Credit Party that is intended to be subject to the Lien created by any of the Loan Documents but is not so
       subject, promptly (and in any event within thirty (30) days after the acquisition thereof or such longer
       period as Agent may agree in its sole discretion) (i) execute and deliver to the Agent such other documents
       as the Agent shall deem necessary or advisable to grant to the Agent for the benefit of the Lenders, a Lien
       on such property subject to no Liens other than Permitted Liens, and (ii) take all actions necessary to cause
       such Lien to be duly perfected to the extent required hereunder in accordance with all applicable
       Requirements of Law, including the filing of financing statements in such jurisdictions as may be
       reasonably requested by the Agent. The Borrower shall otherwise take such actions and execute and/or
       deliver to the Agent such documents as the Agent shall require to confirm the validity, perfection and
       priority of the Lien hereunder on such after-acquired properties.




                                                       23
           Case 23-10961-BLS                Doc 13-1      Filed 07/22/23         Page 291 of 388



       (b)     As soon as possible after the formation of any new Subsidiary (including any Foreign Subsidiary) of
       a Credit Party (and in any event within the earlier of (x) thirty (30) days (or such longer period as Agent
       may agree in its sole discretion) after formation or (y) the date on which such Subsidiary owns any material
       assets), or simultaneously with the consummation of acquisition of any new Subsidiary of a Credit Party,
       (i) deliver to the Agent the original certificates, if any, representing all of the Equity Interests of such
       Subsidiary, together with undated stock powers or other appropriate instruments of transfer executed and
       delivered in blank by a duly authorized officer of the holder(s) of such Equity Interests, and all
       intercompany notes owing from such Subsidiary to any Credit Party together with instruments of transfer
       executed and delivered in blank by a duly authorized officer of such Credit Party and (ii) cause such new
       Subsidiary (A) to execute a Joinder Agreement in the form of Exhibit H or such comparable documentation
       to become a Grantor and Guarantor under this Agreement, and (B) to take all actions necessary or advisable
       in the reasonable opinion of the Agent to cause the Lien created hereunder to be duly perfected to the extent
       required by such agreement in accordance with all applicable Requirements of Law (including any
       applicable foreign laws), including the execution by Borrower or the applicable Credit Party of a Joinder
       Agreement in the form of Exhibit H or such comparable documentation to the applicable Pledge Agreement
       and the filing of financing statements (or foreign equivalents) in such jurisdictions as may be reasonably
       requested by the Agent and to the extent such new Subsidiary owns Collateral subject to motor vehicle
       registration requirements which is located in the United States or Canada and Agent has requested the
       following notation (provided that Agent shall not request such notation unless such Collateral has a fair
       market value in excess of $100,000 in the aggregate), the noting or (having noted) of the Agent’s Lien on
       all certificates of title (to the extent issued) of such Collateral, which when aggregated with all such
       Collateral owned by a Credit Party, exceeds a fair market value of $100,000 in the aggregate (except where
       such notation is not permitted under the laws of the applicable jurisdiction); provided, however, no Captive
       Insurance Subsidiary shall be required to join this Agreement as a Credit Party or become jointly and
       severally liable for the Obligations if Holdings delivers evidence to Agent in form and substance acceptable
       to Agent that such Captive Insurance Subsidiary is prohibited by applicable Requirements of Law from
       incurring contingent liabilities arising under this Agreement or a Guaranty in its capacity as a guarantor.

       (c)     Promptly grant to the Agent, within thirty (30) days of the acquisition thereof, a security interest in
       and Mortgage on each Material Owned Real Property owned in fee by such Credit Party as is acquired by
       such Credit Party after the Closing Date as additional security for the Obligations (unless the subject
       property is already mortgaged to a third party to the extent permitted by Section 5.2). Such Mortgages
       shall be granted pursuant to documentation reasonably satisfactory in form and substance to the Agent and
       shall constitute valid and enforceable perfected Liens subject only to Permitted Liens or other Liens
       acceptable to the Agent. The Mortgages or instruments related thereto shall be duly recorded or filed in
       such manner and in such places as are required by applicable law to establish, perfect, preserve and protect
       the Liens in favor of the Agent required to be granted pursuant to the Mortgages and all taxes, fees and
       other charges payable in connection therewith shall be paid in full. Such Credit Party shall otherwise take
       such actions and execute and/or deliver to the Agent such documents as the Agent shall require to confirm
       the validity, perfection and priority of the Lien of any existing Mortgage or new Mortgage against such
       after-acquired Material Owned Real Property (including a Title Policy, a survey and local counsel opinion
       (in form and substance reasonably satisfactory to the Agent) in respect of such Mortgage).

3.29   Equity Interests and Subsidiaries.

       (a)     Equity Interests. The Perfection Certificate dated the Closing Date set forth a list of (i) all the
       Subsidiaries of Borrower and the other Credit Parties and their jurisdictions of organization as of the
       Closing Date and (ii) the number of each class of its Equity Interests authorized, and the number
       outstanding, on the Closing Date and the number of shares covered by all outstanding options, warrants,
       rights of conversion or purchase and similar rights at the Closing Date. All Equity Interests of each Credit
       Party are duly and validly issued and are fully paid and non-assessable, and, other than the Equity Interests
       of Holdings, are owned by Holdings, directly or indirectly through Wholly Owned Subsidiaries. Each
       Credit Party is the record and beneficial owner of, and has good and marketable title to, the Equity Interests
       pledged by it hereunder, free of any and all Liens, rights or claims of other persons, except (x) the security
       interest created by the Loan Documents, the Revolving Loan Documents and, in respect of any Canadian
       Credit Party, Liens for Priority Payables, and (y) Liens, rights and claims of the Prepetition Term Loan



                                                        24
            Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 292 of 388



        Agent with respect to the Prepetition Term Loan Agreement and of the Prepetition Revolving Loan Agent
        with respect to the Prepetition Revolving Loan Agreement, in each case solely to the extent that the
        exercise of remedies in respect thereof is stayed pursuant to an order of the Bankruptcy Court, and except
        for the Stalking Horse Purchase Agreement, there are no outstanding warrants, options or other rights to
        purchase, or shareholder, voting trust or similar agreements outstanding with respect to, or property that is
        convertible into, or that requires the issuance or sale of, any such Equity Interests.

        (b)     No Consent of Third Parties Required. Subject to the entry of the Interim Order and subject to the
        terms of the Order then in effect, other than the approval of the Board of Directors of the issuer of the
        Equity Interests, no consent of any Person including any other general or limited partner, any other member
        of a limited liability company, any other shareholder or any other trust beneficiary is necessary or
        reasonably desirable (from the perspective of a secured party) in connection with the creation, perfection or
        priority status of the security interest of the Agent in any Equity Interests pledged to the Agent for the
        benefit of the Lenders hereunder or the exercise by the Agent of the voting or other rights provided for
        hereunder or the exercise of remedies in respect thereof.

        (c)     Organizational Chart. The Perfection Certificate dated the Closing Date or any supplement thereto
        (whichever was most recently delivered to Agent) sets forth an accurate organizational chart, showing the
        Subsidiaries and joint ventures in which Holdings holds a direct or indirect interest along with any other
        Person in which Holdings, such Subsidiaries or joint ventures holds, directly or indirectly, any Equity
        Interests.

3.30    Security Documents.

        (a)     Mortgages. Each Mortgage will upon execution and delivery thereof be effective to create, in favor
        of the Agent, for the benefit of the Lenders, legal, valid and enforceable first priority Liens on, and security
        interests in, all of the Credit Parties’ right, title and interest in and to the mortgaged properties thereunder
        and the proceeds thereof, subject only to Permitted Liens or other Liens acceptable to the Agent, and when
        such Mortgages are filed in the offices specified in the Perfection Certificate dated the Closing Date (or, in
        the case of any Mortgage executed and delivered after the date thereof in accordance with the provisions of
        Sections 3.20 and 3.28, when such Mortgage is filed in the offices specified in the local counsel opinion
        delivered with respect thereto in accordance with the provisions of Sections 3.20 and 3.28), such Mortgages
        shall constitute fully perfected Liens on, and security interests in, all right, title and interest of the Credit
        Parties in the mortgaged properties thereunder and the proceeds thereof, in each case prior and superior in
        right to any other Person, other than Liens permitted by such Mortgage.

        (b)     Valid Liens. Each Loan Document purporting to include a grant of a security interest or Lien by a
        Credit Party in favor of Agent, for the benefit of the Lenders, including any such document delivered
        pursuant to Sections 3.20 and 3.28 will, upon execution and delivery thereof and entry of the Interim Order,
        be effective to create in favor of the Agent, for the benefit of the Lenders, legal, valid and enforceable
        Liens on, and security interests in, all of the Credit Parties’ right, title and interest in and to the Collateral
        thereunder, and (i) when all appropriate filings or recordings are made in the appropriate offices as may be
        required under applicable law and (ii) upon the taking of possession or control by the Agent of such
        Collateral with respect to which a security interest may be perfected only by possession or control (which
        possession or control shall be given to the Agent to the extent required hereunder), such Liens, upon entry
        of the Interim Order, will constitute fully perfected Liens on, and security interests in, all right, title and
        interest of the Credit Parties in such Collateral, in each case subject to no Liens other than the applicable
        Permitted Liens.

3.31   Borrowing Base-Related Reports. Borrower shall deliver or cause to be delivered (at the expense of
Borrower) to the Agent the following:

        (a)   All reports required to be delivered to the Revolving Agent, in accordance with the terms of the
        Revolving Loan Agreement, including, without limitation, the Borrowing Base Certificate,
        contemporaneously with the delivery of any such report to the Revolving Agent; and




                                                          25
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 293 of 388



         (b)    such other reports, statements and reconciliations with respect to the Formula Amount or Collateral
         of any or all Credit Parties as the Agent shall from time to time request in its reasonable credit judgment.

The delivery of each certificate, report or any other information delivered pursuant to this Section 3.31 shall
constitute a representation and warranty by Borrower that the statements and information contained therein are true
and correct in all material respects on and as of the respective dates of such certificates, reports or other information.

3.32     Government Contracts. Except as set forth in Disclosure Schedule (3.32), as of the Closing Date, no Credit
Party is a party to any contract or agreement with any Governmental Authority and no Credit Party’s Collateral is
subject to the Federal Assignment of Claims Act (31 U.S.C. Section 3727) or any similar state or local law.

3.33     Customer and Trade Relations. As of the Closing Date, except as a result of the events leading up to the
commencement of the Chapter 11 Cases, there exists no actual or, to the knowledge of any Credit Party, threatened
termination or cancellation of, or any material adverse modification or change in (a) the business relationship of any
Credit Party with any customer or group of customers whose purchases during the preceding twelve (12) calendar
months caused them to be ranked among the ten (10) largest customers of such Credit Party or (b) the business
relationship of any Credit Party with any supplier essential to its operations.

3.34     Bonding; Licenses. Except as set forth in Disclosure Schedule (3.34), as of the Closing Date, no Credit
Party is a party to or bound by any surety bond agreement, indemnification agreement therefor or bonding
requirement with respect to products or services sold by it.

3.35    Affiliate Transactions. No Credit Party is party to any transaction with any Affiliate of the Borrower or of
any Subsidiary of the Borrower, except those permitted by Section 5.7 hereof and those set forth on Disclosure
Schedule (3.35).

3.36     Post-Closing Matters. The Credit Parties shall deliver, or cause to be delivered, to the Agent, or take, or
cause to be taken, the documents, deliverables, actions or efforts set forth in the Post-Closing Matters section of the
Closing Checklist, in form and substance reasonably satisfactory to the Agent, as promptly as practicable following
the Closing Date, but in any event no later than the dates referred to on the Closing Checklist with respect to each
such item (or, in each case, such later date as Agent shall agree in its sole discretion).

3.37    Investment Company Act. No Credit Party is an “investment company” or a company “controlled” by an
“investment company,” as defined in, or subject to regulation under, the Investment Company Act of 1940, as
amended.

3.38     Notice of Change in Investment Company Status. The Borrower shall provide Agent with prompt written
notice of any change with respect to its representation in Section 3.37 above, but in no event later than fifteen (15)
days following any such change.

3.39      Braden Entities. The Braden Entities do not hold any material assets and do not engage in material
business activities. Each Credit Party agrees that it shall not transfer, and shall cause its Subsidiaries and controlled
Affiliates not to transfer, any assets to any Braden Entity other than such amount of cash (which in no event shall
exceed $25,000 without the prior written consent of Agent) to pay taxes, penalties and legal fees and expenses as is
necessary or required to complete the dissolution of Braden Mexico. Braden Holdings is a holding company and
does not engage in any operations or business, other than (a) the ownership of 99.998% of the outstanding Equity
Interests in Braden Mexico, (b) maintaining its corporate existence pending its dissolution pursuant to Section 3.36,
and (c) liabilities, assets, operations and business incidental to the foregoing.

3.40     [Reserved].
4.              FINANCIAL MATTERS; REPORTS

4.1     Reports and Notices.
The Credit Parties shall furnish to the Agent and each Lender:




                                                           26
    Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 294 of 388



(a)     Monthly Reports. Within thirty (30) days after the last day of each Fiscal Month of the Credit
Parties, the balance sheets of the Credit Parties on a consolidated and consolidating basis as at the end of
such Fiscal Month and as of the end of the preceding Fiscal Year, and the related statements of operations,
the related statements of profits and losses and related statements of cash flows of the Credit Parties on a
consolidated basis for such Fiscal Month and for the elapsed portion of the Fiscal Year ended with the last
day of such Fiscal Month, which shall set forth in comparative form such figures as at the end of and for
such Fiscal Month and appropriate prior period and shall be certified by the Chief Financial Officer of the
Borrower to have been prepared in accordance with GAAP and to present fairly in all material respects the
financial position of the Credit Parties on a consolidated basis as at the end of such period and the results of
operations for such period, and for the elapsed portion of the Fiscal Year ended with the last day of such
period, subject only to normal year-end and audit adjustments and the absence of footnotes;

(b)     Quarterly Reports. Within forty-five (45) days after the last day of each of the Fiscal Quarters of
each Fiscal Year of the Credit Parties, the balance sheets of the Credit Parties on a consolidated and
consolidating basis as at the end of such Fiscal Quarters and as of the end of the preceding Fiscal Year, and
the related statements of operations, the related statements of profits and losses and the related statements
of cash flows of the Credit Parties on a consolidated basis for such Fiscal Quarters and for the elapsed
portion of the Fiscal Year ended with the last day of such Fiscal Quarters, which shall set forth in
comparative form such figures as at the end of and for such Fiscal Quarters and appropriate prior period
and shall be certified by the Chief Financial Officer of the Borrower to have been prepared in accordance
with GAAP and to present fairly in all material respects the financial position of the Credit Parties on a
consolidated basis as at the end of such period and the results of operations for such period, and for the
elapsed portion of the Fiscal Year ended with the last day of such period, subject only to normal year-end
and audit adjustments and the absence of footnotes;

(c)     Annual Reports. Within one hundred twenty (120) days after the end of each Fiscal Year of the
Credit Parties, the audited consolidated balance sheet of the Credit Parties as of the end of such Fiscal Year
and the related audited consolidated statements of operations for such Fiscal Year and for the previous
Fiscal Year, the related audited consolidated statements of profits and losses and the related audited
consolidated statements of cash flows and stockholders’ equity for such Fiscal Year and for the previous
Fiscal Year, which shall be accompanied by an opinion, without a going concern or similar qualification or
an exception as to scope, prepared by an independent certified public accountant of recognized national
standing reasonably acceptable to Agent (Moss Adams LLP shall be acceptable), together with a statement
of such accountants that in connection with their audit, nothing came to their attention that caused them to
believe that the Borrower or any other Credit Party was not in compliance with the financial covenants set
forth in Section 4.2 below insofar as they relate to accounting matters;

(d)     Financial Officer’s Certificate. At the time the financial statements are furnished pursuant to
Sections 4.1(a), 4.1(b) and 4.1(c), a Compliance Certificate in the form attached as Exhibit E executed by a
Responsible Officer of the Borrower as to the financial performance of the Credit Parties; provided, for the
avoidance of doubt, that, except as otherwise expressly set forth in the Loan Documents, a certification
regarding the Credit Parties’ compliance with the financial covenants set forth in Section 4.2 shall only be
required to be included with the Compliance Certificates delivered for the applicable dates under such
Section 4.2 in connection with the quarterly financial statements under Section 4.1(b) and the annual
financial statements under Section 4.1(c) and not the monthly financial statements delivered under Section
4.1(a);

(e)    Teleconferences with Credit Parties; Financial Advisor Teleconference and Information. The
Borrower shall host teleconferences and/or virtual conferences with the Agent and Lenders, and Borrower
shall cause members of the Borrower’s management team (including the chief restructuring officer) and
any other relevant advisors to the Borrower to participate in such teleconferences and/or virtual
conferences, on at least a weekly basis on such dates and at such times as reasonably agreed between the
Borrower and the Agent or on such other dates and times as reasonably requested by Agent, the purpose of
which conferences shall be for the Borrower and Agent and Lenders to discuss the Credit Parties’ business
and financial performance.




                                                 27
      Case 23-10961-BLS           Doc 13-1        Filed 07/22/23        Page 295 of 388



(f)    Cash Flow Budget.

        (i)       On or before the Initial Funding Date, Borrower shall deliver to the Agent and Lenders a
        pro form rolling thirteen calendar week cash flow budget for the Debtors, which budget shall (x)
        be satisfactory in all respects to the Agent and the Lenders and (y) be substantially in the form of
        Exhibit K (the first such budget delivered, the “Initial Cash Flow Budget”, and each such budget,
        a “Cash Flow Budget”).

        (ii)     Commencing for the first full calendar week following the Petition Date (by no later than
        12:00 PM New York City time on Thursday of such calendar week), Borrower shall deliver to the
        Agent and Lenders an updated Cash Flow Budget covering the rolling thirteen calendar week
        period commencing with the first full calendar week following the date each such updated Cash
        Flow Budget is delivered, which updates shall be subject to the approval of the Lenders in their
        sole discretion with respect to the new 13th calendar week being added to the updated Cash Flow
        Budget, and with respect to any of the other calendar weeks in such updated Cash Flow Budget.

        (iii)     Commencing for the first full calendar week following two (2) full calendar weeks after
        the Petition Date (by no later than 12:00 PM New York City time on Thursday of such calendar
        week), Borrowers shall deliver to the Agent and Lenders for the two-week period ended on the
        previous Friday, a variance report, in form and detail acceptable to the Agent and Lenders,
        showing compliance or non-compliance, as the case may be, of the variance covenant set forth in
        Section 5.23 and including, without limitation, actual collections and disbursements against the
        approved Cash Flow Budget and any and all variances of the usage of the Facility, together with
        any proposed modifications to the approved Cash Flow Budget approved by the Agent and
        Lenders (such proposed modifications to be in compliance at all times with the variance covenant
        set forth in Section 5.23).

        (iv)     Each Cash Flow Budget (except the Initial Cash Flow Budget) shall be accompanied by a
        reconciliation of the actual results for the immediately preceding calendar week period to the Cash
        Flow Budget for such immediately preceding calendar week period and a detailed explanation of
        all material variances from the Cash Flow Budget.

        (v)      Each Cash Flow Budget delivered pursuant to Section 4.1(f)(ii) or any proposed
        amendment or supplement to the Cash Flow Budget delivered by the Debtors to Agent and
        approved by Agent and the Lenders, shall replace, amend or supplement, as the case may be, the
        prior Cash Flow Budget hereunder.

(g)    Responsible Officer’s Certificate Regarding Collateral. Concurrently with any delivery of Financial
Statements under Section 4.1(a), a certificate of a Responsible Officer setting forth the information in the
Perfection Certificate as of the date of such Financial Statements or confirming that there has been no
change in such information since the date of the Perfection Certificate or the latest supplement thereto, as
applicable;

(h)    Public Reports. Promptly after the same become publicly available, copies of all periodic and other
reports, proxy statements and other materials filed by any Credit Party with any provincial securities
commission or the Securities and Exchange Commission, or any Governmental Authority succeeding to
any or all of the functions of said commissions, or with any national securities exchange, or distributed to
shareholders or holders of its Indebtedness in excess of the Threshold Amount pursuant to the terms of the
documentation governing such Indebtedness (or any trustee, agent or other representative therefor), as the
case may be;

(i)   Management Letters. Promptly after the receipt thereof by any Credit Party, a copy of any
“management letter” received by any such Person from its independent chartered accountants and the
management’s responses thereto;




                                                28
    Case 23-10961-BLS              Doc 13-1        Filed 07/22/23        Page 296 of 388



(j)     Court Filings. Prior to the filing thereof with the Bankruptcy Court, copies of the monthly operating
reports required to be filed with the Bankruptcy Court. As soon as reasonably practicable in advance of
filing, delivery or submission to the Bankruptcy Court, U.S. Trustee or the Committee, the Debtors shall
deliver to counsel to the Agent, no later than the earlier of (unless impracticable, in which case, as soon as
reasonably practicable prior to filing, delivery or submission, as the case may be) (x) three (3) Business
Days prior to any filing with the Bankruptcy Court or (y) contemporaneous delivery to the Committee or
the U.S. Trustee, copies of all pleadings, motions and applications (which shall include all proposed orders
and pleadings related to the Loans, the Term Loan Commitments and the Loan Documents, any sale or
other disposition of Collateral outside the ordinary course, cash management, adequate protection, any plan
of reorganization and/or any disclosure statement related thereto), other than professional retention
applications, to be filed by or on behalf of any Debtor with the Bankruptcy Court or provided to the U.S.
Trustee (or any monitor or interim receiver, if any, appointed in the Chapter 11 Cases) or the Committee;
provided, that any such pleadings, notices, or documents, except as otherwise provided herein, shall be in a
form reasonably acceptable to Agent.

(k)    Organization. Concurrently with any delivery of Financial Statements under Section 4.1(a), an
accurate organizational chart as required by Section 3.29(c), or confirmation that there are no changes to
the Credit Parties’ organizational structure set forth in the Perfection Certificate dated the Closing Date or
any supplement thereto (whichever was most recently delivered to Agent);

(l)    Organizational Documents. Promptly provide copies of any Organizational Documents that have
been amended or modified in accordance with the terms hereof and deliver a copy of any notice of default
given or received by any Credit Party under any Organizational Document within fifteen (15) days after
such Credit Party gives or receives such notice;

(m) Appraisals. At any time after the occurrence of a Default, promptly upon the request of the Agent,
an appraisal report performed at the expense of Borrower by a nationally recognized appraiser satisfactory
to Agent, setting forth in reasonable detail the orderly liquidation value of the Collateral; and

(n)      Other Information. Promptly, from time to time, such other reports and information regarding the
Collateral, operations, business affairs, financial condition, prospects or management of any Credit Party,
or compliance with the terms of any Loan Document, as the Agent or any Lender may reasonably request,
all in reasonable detail.

(o)    Engagement of Consultant. The Credit Parties shall continue to engage, at their own expense, the
services of G2 Capital Advisors LLC (or such other third-party consultant reasonably acceptable to Agent)
(the “Consultant”) for the purpose of (i) participating in preparation and delivery of the Cash Flow
Budgets delivered in accordance with Section 4.1(f), (ii) assisting with the monitoring of vendor payments,
and (iii) participating in preparation and delivery of certain reporting to Agent and Lenders, including,
without limitation, participating in the preparation and delivery of Compliance Certificates. Each of the
Credit Parties expressly authorizes the Consultant to consult with the Agent and Lenders and to share with
Agent and Lenders all records, projections, financial information, reports and other information prepared
by or in the possession of the Consultant relating to the Collateral, or the financial condition or operations
of the business of the Credit Parties and to respond fully to any reasonable inquiries of the Agent or any
Lender regarding the assets, prospects, business and operations of the Credit Parties and communicate and
fully cooperate with Agent and the Lenders; provided, that, notwithstanding anything to the contrary
contained in this Section 4.1(o), Consultant shall not be required to disclose such other information where
such disclosure of such other information would, in Holdings’ reasonable judgment upon the advice of
counsel, (1) jeopardize the attorney-client privilege or other immunity or protection from disclosure
available to Holdings under applicable law, (2) conflict with the non-disclosure requirements, if any,
contained in any bona fide contract with a third-party to which either Consultant (in its capacity as a
consultant to Holdings) or Holdings is party or is bound, or (3) constitute the disclosure of materials or
work product generated by Consultant or others specifically for review by the Board of Directors of
Holdings and where the disclosure of such other information could reasonably be regarded as a poor
corporate governance practice or could be reasonably likely to jeopardize the ability of the Board of
Directors of Holdings to discharge its fiduciary obligations to Holdings and its stockholders; provided,



                                                 29
             Case 23-10961-BLS             Doc 13-1        Filed 07/22/23        Page 297 of 388



        further, that in the case of each of the preceding clauses (1), (2) and (3), the Consultant shall promptly
        inform the Agent of the general nature of the information being withheld and provide such information, in
        whole or in part, in a manner that would not result in the outcome described in the foregoing clause (1), (2)
        or (3), as applicable.

        (p)     Engagement of Chief Restructuring Officer. At all times until all Obligations under this Agreement
        have been paid in full, Borrower shall cause a chief restructuring officer to be appointed, which person
        shall be reasonably acceptable to the Lenders.

Documents required to be delivered pursuant to Section 3.31, 4.1(a), (b), (c), (d), (f), (g) or (j), may be delivered
electronically to the Agent and Lenders and if so delivered, shall be deemed to have been delivered on the date the
Borrower delivers such documents to the Agent and Lenders by electronic mail; provided, that upon written request,
Borrower shall deliver paper copies to the Agent and Lenders until a written request to cease delivering paper copies
is given by the Agent to the Borrower.

4.2     Financial Covenants.

        (a)     Maximum Total Leverage Ratio. Beginning with the Fiscal Quarter ending September 30, 2023, the
        Credit Parties shall not permit the Total Leverage Ratio, as of the last day of any Fiscal Quarter, to exceed
        the ratio set forth opposite such period in the table below:

                               Test Period Ending                                 Leverage Ratio

                 September 30, 2023                                                 6.25 to 1.00
                 December 31, 2023                                                  5.50 to 1.00
                 March 31, 2024                                                     5.25 to 1.00
                 As of the last day of each Fiscal Quarter thereafter               3.25 to 1.00


        (b)    Limitation on Capital Expenditures. The Credit Parties shall not make or commit to make, and shall
        not cause or permit their Subsidiaries to make or commit to make, Capital Expenditures (other than Capital
        Expenditures made in accordance with the Cash Flow Budget most recently approved by the Lenders).

        (c)     Fixed Charge Coverage Ratio. Beginning with the Fiscal Quarter ending September 30, 2023, as of
        the last day of each Fiscal Quarter, the Borrower shall not permit the Fixed Charge Coverage Ratio for the
        trailing period of twelve (12) Fiscal Months then ended to be less than the applicable ratio set forth below
        opposite such period:

                                                                              Fixed Charge
                                        Period                               Coverage Ratio
                 September 30, 2023                                                1.10
                 As of the last day of each Fiscal Quarter thereafter          1.25 to 1.00

        (d)    Minimum EBITDA. Beginning with the testing period ending October 1, 2023 Holdings and its
        Subsidiaries (on a consolidated basis) shall not permit EBITDA for the twelve fiscal month period (or such
        shorter period set forth below) ending on the last day of any date set forth below to be less than the
        minimum amount set forth in the table below opposite such date:

                   Testing Period                                           Minimum EBITDA
            9 months ended October 1, 2023                                      $6,495,000
          10 months ended November 5, 2023                                      $7,270,000
          11 months ended December 3, 2023                                      $7,622,000



                                                         30
             Case 23-10961-BLS             Doc 13-1        Filed 07/22/23        Page 298 of 388



         12 months ended December 31, 2023                                       $7,882,000

        (e)    Minimum Liquidity. The Credit Parties shall not permit Liquidity as of the close of business on
        Wednesday of each week commencing the week of October 1, 2023 to be less than $4,000,000 and shall
        deliver to the Agent a Compliance Certificate executed by a Responsible Officer of Borrower by the close
        of business on Friday of each week setting forth the calculations of Liquidity for such period.

4.3       Other Reports and Information. The Grantors shall advise Agent in reasonable detail immediately after
becoming aware of: (a) any Lien, other than Permitted Liens, attaching to or asserted against any material portion of
the Collateral or any occurrence causing a material loss or decline in value of any Collateral and the estimated (or
actual, if available) amount of such loss or decline; (b) any material change in the composition of the Collateral
other than as approved by the Lenders; and (c) the occurrence of any Default or other event that has had or could
reasonably be expected to have a Material Adverse Effect.

4.4     Revolving Loan Agreement Notices; Subordinated Loan Documents Notices.
        (a)    The Credit Parties shall provide to Agent (i) simultaneously with its delivery to the Revolving
        Agent, any material notices required to be delivered pursuant to the Revolving Loan Agreement, (ii)
        promptly, and in any event within (1) Business Day after receipt thereof, any notice from the Revolving
        Agent or any lender under the Revolving Loan Agreement that a default or event of default has occurred
        under the Revolving Loan Agreement and (iii) at least ten (10) Business Days prior notice (or such shorter
        period as may be agreed to by Agent in its sole discretion) of any amendment, waiver, consent or other
        modification under or with respect to the Revolving Loan Documents, and a fully executed copy thereof
        promptly after its execution.

        (b)     To the extent that any Revolving Loan Document has been amended to change any existing
        financial covenants therein or any section or other provision thereof is amended to include any additional
        financial covenants or there has been any modification or addition of any event of default or modification
        of any condition to an event of default or addition or modification of any covenant in a manner adverse or
        more restrictive to any Credit Party in any Revolving Loan Document, the Credit Parties shall, at the
        request of Agent, execute and deliver to Agent such amendments, modifications or related documents as
        Agent may reasonably request to incorporate such amendments into the Loan Documents (subject to the
        limitations set forth in the Intercreditor Agreement).

        (c)     The Credit Parties shall provide to Agent (i) simultaneously with its delivery to any Subordinated
        Creditor, any material notices required to be delivered by any Credit Party to a Subordinated Creditor
        pursuant to the Subordinated Loan Documents, (ii) promptly, and in any event within (1) Business Day
        after receipt thereof, any notice from a Subordinated Creditor that a default or event of default has occurred
        under any of the Subordinated Notes (other than any default that the exercise of remedies in respect thereof
        is stayed pursuant to an order of the Bankruptcy Court under the Chapter 11 Cases), and (iii) at least ten
        (10) Business Days prior notice (or such shorter period as may be agreed to by Agent in its sole discretion)
        of any amendment, waiver, consent or other modification under or with respect to the Subordinated Loan
        Documents, and a fully executed copy thereof promptly after its execution.

        (d)    To the extent that any Subordinated Loan Document has been amended to change any existing
        financial covenants therein or any section or other provision thereof is amended to include any additional
        financial covenants or there has been any modification or addition of any event of default or modification
        of any condition to an event of default or addition or modification of any covenant in a manner adverse or
        more restrictive to any Credit Party in any Subordinated Loan Document, the Credit Parties shall, at the
        request of Agent, execute and deliver to Agent such amendments, modifications or related documents as
        Agent may reasonably request to incorporate such amendments into the Loan Documents.

4.5      Milestones. The Debtors shall comply with the following and produce and deliver the following
documents (with a level of completeness, clarity and detail that is satisfactory to Required Lenders) or achieve the
following actions, as applicable, on or prior to the date indicated for each such material action or document below
(each a “Milestone” and collectively, the “Milestones”):




                                                         31
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23        Page 299 of 388



         (a)    Within one (1) Business Day after the Petition Date, file a motion (the “Bidding Procedures
         Motion”) seeking among other things, approval of (A) bidding procedures for a post-petition 363 sale
         process of all of the Debtors’ assets (the “Bidding Procedures”) and (B) a sale of all or substantially all of
         Debtors’ assets as a result of the sale process.

         (b)    On or prior to the third (3rd) Business Day after the Petition Date, the Bankruptcy Court shall have
         entered the Interim Order in form and substance acceptable to counsel to the Agent.

         (c)    Within one (1) Business Day after the Bankruptcy Court has entered the Interim Order, the Closing
         Date shall have occurred.

         (d)    On or prior to the eighteenth (18th) day after the Petition Date (or such later date as may be agreed
         by the Required Lenders), the Bankruptcy Court shall have approved the Bidding Procedures.

         (e)    On or prior to the twenty-fifth (25th) day after the Petition Date (or such later date as may be agreed
         by the Required Lenders), the Bankruptcy Court shall have entered the Final Order in form and substance
         acceptable to counsel to the Agent.

         (f)    On or prior to the fortieth (40th) day after the Petition Date (or such later date as may be agreed by
         the Required Lenders), the bid deadline shall have occurred.

         (g)    On or prior to the forty-second (42nd) day after the Petition Date (or such later date as may be
         agreed by the Required Lenders), a public auction of the assets of the Debtors shall be held at a time and
         place acceptable to the Required Lenders.

         (h)     On or prior to the forty-third (43rd) day after the Petition Date (or such later date as may be agreed
         by the Required Lenders), the Debtors shall have filed a notice of winning bid(s) with respect to the sale of
         all or substantially all of the assets of Debtors with a purchaser acceptable to the Required Lenders.

         (i)    On or prior to the forty-fifth (45th) day after the Petition Date (or such later date as may be agreed
         by the Required Lenders), the Bankruptcy Court shall enter an order acceptable to the Required Lenders
         approving the sale of substantially all of the assets of the Debtors.

         (j)     On or prior to the fifty-seventh (57th) day after the Petition Date (or such later date as may be
         agreed by the Required Lenders), the closing of the sale of substantially all of the assets of the Debtors
         shall have occurred.

5.              NEGATIVE COVENANTS

Borrower and each Credit Party executing this Agreement covenants and agrees (for itself and each other Credit
Party) that, without Agent’s prior written consent, from the Closing Date until the Termination Date, neither
Borrower nor any other Credit Party shall, directly or indirectly:

5.1       Indebtedness. Create, incur, assume or permit to exist any Indebtedness, except: (a) the Obligations, (b)
Indebtedness existing as of the Closing Date set forth in Disclosure Schedule (3.18), (c) by endorsement of
instruments or items of payment for deposit to the general account of such Credit Party, (d) for Guaranteed
Indebtedness incurred for the benefit of any Credit Party if the primary obligation is permitted by this Agreement,
(e) the Carve-Out, (f) Indebtedness outstanding under (i) the Revolving Loan Agreement and the Prepetition
Revolving Loan Agreement in an aggregate amount not exceeding the Maximum Priority Revolving Loan Debt and
(ii) the Prepetition Term Loan Agreement the outstanding principal of which does not exceed the aggregate amount
thereof as of the Petition Date, (g) the Permitted Koontz-Wagner Pension Plan Obligations, (h) Indebtedness with
respect to (i) Capital Lease Obligations existing as the Closing Date set forth in Disclosure Schedule (3.18) and (ii)
[reserved]; provided, that any such Capital Lease Obligations and Purchase Money Obligations under this clause (h)
shall be secured only by the asset subject to such additional Capital Lease Obligation or the acquired asset in
connection with the incurrence of such Capital Lease Obligation or Purchase Money Obligation, as the case may be,
any insurance thereon and proceeds thereof, (i) Indebtedness in respect of Hedging Obligations, provided, that, such



                                                          32
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 300 of 388



Hedging Obligations are (or were) entered into by a Credit Party in the ordinary course of business for the purpose
of directly mitigating risks associated with liabilities, commitments, investments, assets, or property held or
reasonably anticipated by such Credit Party, or changes in the value of securities issued by such Credit Party, and
not for purposes of speculation or taking a “market view”, (j) Indebtedness in respect of letters of credit, bank
guarantees and banker’s acceptances in each case incurred in the ordinary course of business, and reimbursement of
obligations in respect of any of the foregoing, in all cases to the extent permitted under the Revolving Loan
Documents, (k) Indebtedness incurred in the ordinary course of business under surety bonds, performance bonds,
completion guarantees, appeal bonds, bid bonds and similar obligations and reimbursement and indemnification
obligations in respect of any of the foregoing, (l) Indebtedness in respect of workers compensation claims, health,
disability or other employee benefits or property, casualty or liability insurance or self-insurance or other
Indebtedness with respect to reimbursement-type obligations regarding workers compensation claims,
(m) unsecured Indebtedness (other than for borrowed money) that may be deemed to exist pursuant to any bona fide
warranty or contractual service obligations or performance in the ordinary course of business, (n) Indebtedness of
any Credit Party (other than Inactive Subsidiaries) owing to any other Credit Party (other than Inactive
Subsidiaries); provided that in each case, all such Indebtedness shall be (i) evidenced by promissory notes and all
such notes shall be subject to a first priority Lien pursuant to this Agreement and (ii) unsecured and subordinated in
right of payment in full of the Obligations pursuant to the terms of the applicable promissory notes or an
intercompany subordination agreement with terms reasonably satisfactory to the Agent, (o) the Existing Letters of
Credit, (p) the Subordinated Notes, the outstanding principal of which does not exceed the aggregate amount thereof
as of the Petition Date and (q) [reserved].

5.2     Liens. Incur, maintain or otherwise suffer to exist any Lien upon or with respect to any of its property,
whether now owned or hereafter acquired, or assign any right to receive income or profits, except for Permitted
Liens.

5.3       Investments; Fundamental Changes. Except as provided in Section 5.7 below, merge or amalgamate with,
consolidate with, acquire all or a material portion of the assets or Stock of, or otherwise combine with or make any
investment in or make any loan or advance to, any Person; except that (a) [reserved]; (b) a U.S. Credit Party may
merge, consolidate or reorganize with another U.S. Credit Party or acquire the assets or Equity Interest of another
U.S. Credit Party so long as, in connection with any merger, consolidation or reorganization to which a Borrower is
a party, such Borrower is the surviving entity of such merger, consolidation or reorganization; (c) a Canadian Credit
Party may merge, amalgamate, consolidate or reorganize with another Canadian Credit Party or acquire the assets or
Equity Interest of another Canadian Credit Party so long as such Canadian Credit Party shall provide Agent with ten
(10) days prior written notice of such merger, amalgamation, consolidation or reorganization; (d) any Subsidiary that
is not a Credit Party may merge, amalgamate or consolidate with or into any other Subsidiary that is not a Credit
Party, (e) any Subsidiary may dispose of all or substantially all of its assets (upon voluntary liquidation or otherwise)
to another Subsidiary; provided that if the transferor in such a transaction is a Credit Party, then the transferee must
be a Credit Party, (f) [reserved]; (g) investments in Permitted Joint Ventures existing on the Closing Date, all of
which such Permitted Joint Ventures are identified on Disclosure Schedule (5.3) hereto, provided further that no
new investments in such Permitted Joint Ventures shall be made after the Closing Date; (h) investments in cash and
Cash Equivalents; (i) intercompany loans to the extent permitted under Section 5.1; (j) investments made after the
Closing Date in any Credit Party; (k) promissory notes and other non-cash consideration received in connection
with any disposition of assets permitted by Section 5.4; (l) investments in the form of advances made to
subcontractors in the ordinary course of business consistent with historical practice; (m) investments received in
settlement of amounts due to any Credit Party effected in the ordinary course of business as a result of insolvency
proceedings involving an account debtor or upon the foreclosure or enforcement of any Lien in favor of a Credit
Party, (n) Stock or other securities acquired in connection with the satisfaction or enforcement of Indebtedness
claims due and owing to a Credit Party (in bankruptcy of customers or suppliers or otherwise outside the ordinary
course of business) or as security for any such Indebtedness, (o) [reserved] and (p) [reserved].

5.4      Asset Sales. Sell, transfer, convey, assign, issue or otherwise dispose any of its assets or properties
(including its accounts or any shares of its Stock) or engage in any sale-leaseback, synthetic lease or similar
transaction, including without limitation the Collateral or Loan proceeds; provided, however, that (i) any Grantor
may transfer any of its Collateral to any other Grantor provided such Collateral remains subject to the Liens of
Agent under this Agreement to secure the Obligations, (ii) any Grantor may sell inventory to its customers in the
ordinary course of business, (iii) any Grantor may sell any of its assets pursuant to transactions approved by the



                                                           33
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 301 of 388



Lenders and the Bankruptcy Court in the Chapter 11 Cases; (iv) [reserved], (v) [reserved], (vi) Holdings may wind-
up the affairs of and dissolve any Inactive Subsidiary, provided that any assets of such Person shall be transferred to
a Credit Party that continues to exist after the winding-up and/or dissolution of such Person, (vii) any Credit Party
may use proceeds of the Loans for purposes permitted under this Agreement, (viii) any Grantor may dispose of
obsolete, worn out or surplus property, whether now owned or hereafter acquired, in the ordinary course of business
and property no longer used or useful in the conduct of such Grantor, (ix) any Grantor may dispose of immaterial
assets in the ordinary course of business (including allowing any registrations or any applications for registration of
any immaterial Intellectual Property to lapse or be abandoned in the ordinary course of business), (x) any Grantor
may dispose of any property to the extent that (A) such property is exchanged for credit against the purchase price of
similar replacement property that is promptly purchased or (B) the proceeds of such disposition are promptly applied
to the purchase price of replacement property (which replacement property is promptly purchased), (xi) any Grantor
may dispose of any property to the extent expressly permitted by Section 5.3, 5.5, 5.7 or 5.19 and the granting of
Liens expressly permitted by Section 5.2, (xii) any Grantor may dispose of cash and Cash Equivalents in the
ordinary course of business, (xiii) any Grantor may unwind any Hedging Agreement in accordance with its terms to
the extent such Hedging Agreement is (or was) entered into by a Credit Party in the ordinary course of business for
the purpose of directly mitigating risks associated with liabilities, commitments, investments, assets, or property
held or reasonably anticipated by such Credit Party, or changes in the value of securities issued by such Credit Party,
and not for purposes of speculation or taking a “market view”, and (xiv) any Grantor may dispose of any property in
connection with a Casualty Event, provided that the Net Cash Proceeds thereof shall be applied in accordance with
the requirements of Section 1.2(c).

5.5       Restricted Payments. Make or permit any Restricted Payment other than (i) to the extent constituting
Restricted Payments, the Credit Parties may enter into and consummate transactions expressly permitted by any
provision of Section 5.3 or 5.7, (ii) Subsidiaries may make Restricted Payments to any Credit Party (other than to
Inactive Subsidiaries); (iii) Holdings or any Subsidiary thereof may pay dividends on shares of its own Stock to the
extent such dividends are (1) payable solely in the form of Qualified Capital Stock of such Person, and (2) paid on a
pro rata basis among all holders of Equity Interests of Holdings or such Subsidiary.

5.6       Changes in Nature of Business. Engage in any business other than (a) that presently engaged in by Credit
Parties, except to the extent such change in business could reasonably be expected to adversely affect repayment of
the Obligations or could reasonably be expected to result in a Material Adverse Effect or (b) any business
reasonably related or ancillary thereto.

5.7       Transactions with Affiliates. Enter into any lending, borrowing or other commercial transaction with any
of its employees, directors, Affiliates or any other Credit Party (including upstreaming and downstreaming of cash
and intercompany advances and payments by a Credit Party on behalf of another Credit Party) other than (i)
[reserved], (ii) transactions that are on fair and reasonable terms no less favorable to such Credit Party or such
Subsidiary than obtainable in an arm’s length transaction with a Person that is not an Affiliate, (iii) [reserved], (iv)
[reserved], (v) transactions by and among Credit Parties (other than Inactive Subsidiaries) to the extent expressly
permitted under Section 5.1 or 5.3, (vi) agreements incurred in the ordinary course of business by and among Credit
Parties to provide shared management services, (vii) customary compensation and indemnification of, and other
customary employment arrangements (including equity incentive plans, employee benefit plans and arrangements,
issuance of Equity Interests, payment of bonuses and stock option plans and payments with respect thereto) with
directors, officers and employees of Holdings or any Credit Party in the ordinary course of business and in
accordance with the Cash Flow Budget most recently approved by the Lenders, (viii) Restricted Payments permitted
under Section 5.5, (ix) other transactions with any Permitted Joint Venture in the ordinary course of business on
terms as favorable as would be obtained by any Credit Party in a comparable arm’s-length transaction with an
independent, unrelated third party, (x) the provision of goods or engineering, design, procurement, project
management, quality management or other services by any Credit Party or Subsidiary to any Credit Party or any
other Subsidiary pursuant to purchase orders issued in the ordinary course of business in connection with third party
contracts to the extent the terms of such transactions are on fair and reasonable terms no less favorable to such
Credit Party or such Subsidiary than obtainable in an arm’s length transaction with a Person that is not an Affiliate,
(xi) the provision of insurance by a Permitted Captive Insurance Subsidiary to a Credit Party in the ordinary course
of business, and (xii) the Subordinated Debt and the transactions contemplated thereby to the extent expressly
permitted under Section 5.1.




                                                          34
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 302 of 388



5.8       Third-Party Restrictions on Indebtedness, Liens, Investments or Restricted Payments. Incur or otherwise
suffer to exist or become effective or remain liable on or responsible for any Contractual Obligation limiting or
restricting the ability of (a) any Credit Party to make Restricted Payments to, or investments in, or repay
Indebtedness of, or otherwise sell property to, any Credit Party or (b) any Credit Party to incur or suffer to exist any
Lien upon any property of any Credit Party, whether now owned or hereafter acquired, securing any of its
Obligations (including any such limitation or restriction in the form of any “equal and ratable” clause and any
similar Contractual Obligation requiring, when a Lien is granted on any property, another Lien to be granted on such
property or any other property), except, for each of clauses (a) and (b) above, (v) pursuant to customary provisions
restricting pledges, assignments, subletting or other transfers contained in leases, licenses and similar agreements
entered in the ordinary course of business that are not prohibited by this Agreement (provided that such restrictions
are limited to the property or assets subject to such leases, licenses, or agreements), (w) pursuant to the Loan
Documents, the Orders and the Prepetition Term Loan Agreement, (x) pursuant to the Revolving Loan Documents
and the Prepetition Revolving Loan Agreement and (y) limitations on Liens (other than those securing any
Obligation) on any property whose acquisition, repair, improvement or construction is financed by Capital Lease
Obligations or Purchase Money Indebtedness in reliance upon Section 5.1(b) or (z) as set forth in the Contractual
Obligations governing such Indebtedness with respect thereto.

5.9     Modification of Certain Documents. Amend, waive, or otherwise modify its charter or by-laws or other
Organizational Documents in a manner adverse to the interest of the Agent or Lenders.

5.10     Accounting Changes; Fiscal Year. Change its (a) accounting treatment or reporting practices, except as
required by GAAP or any Requirement of Law applicable to such Credit Party or (b) its Fiscal Year or its method
for determining Fiscal Quarters.

5.11     Changes to Name, Locations, Etc. (a) Change (i) its name, Chief Executive Office, registered office,
corporate offices from those set forth on Disclosure Schedule (3.2), (ii) its warehouses or other Collateral locations,
or location of its records concerning the Collateral from those locations set forth on Disclosure Schedule (3.2), (iii)
the type of legal entity that it is, (iv) its organization identification number, if any, issued by its jurisdiction of
incorporation or organization or (v) its jurisdiction of incorporation or organization from that set forth on Disclosure
Schedule (3.2) or (b) acquire, lease or use any real estate after the Closing Date without such Person, in each
instance, giving thirty (30) days’ prior written notice thereof to Agent and taking all actions deemed necessary or
appropriate by Agent to continuously protect and perfect Agent’s Liens upon the Collateral.

5.12      Bank Accounts. (a) Establish any depository or other bank account of any kind with any financial
institution (other than the accounts set forth on Disclosure Schedule (3.26) and Excluded Accounts) in each case,
without Agent’s prior written consent (except that Agent’s prior written consent shall not be required to establish
any such accounts with the Revolving Agent), and then (except in the case of Excluded Accounts) only after such
Credit Party has implemented Control Agreements with respect to any such accounts (including, for the avoidance
of doubt, any accounts established with Revolving Agent, but excluding any Excluded Accounts) such bank or
financial institution and Agent reasonably acceptable to Agent or (b) close or permit to be closed any of the accounts
listed on Disclosure Schedule (3.26) (other than Excluded Accounts), in each case without Agent’s prior written
consent.

5.13    Margin Regulations. Use all or any portion of the proceeds of any credit extended hereunder to purchase or
carry Margin Stock in contravention of Regulation U of the Federal Reserve Board.

5.14       Compliance with ERISA and Canadian Pension Plans. No ERISA Affiliate shall cause or suffer to exist (a)
any event that could reasonably be expected to result in the imposition of a Lien with respect to any Title IV Plan or
Multiemployer Plan or (b) any other ERISA Event, that would, in the aggregate, reasonably be expected to result in
liabilities in excess of the Threshold Amount. No Credit Party shall cause or suffer to exist any event that could
reasonably be expected to result in the imposition of a Lien with respect to any Plan. No Credit Party nor any
Subsidiary thereof shall cause or suffer to exist any event that could reasonably be expected to result in the wind-up
of a Canadian Pension Plan that would result in a solvency deficiency in excess of the Threshold Amount. No Credit
Party nor any Subsidiary thereof may (i) contribute to or assume an obligation to contribute to any Canadian Pension
Plan that contains a “defined benefit provision,” as defined in subsection 147.1(1) of the Income Tax Act (Canada),
or (ii) acquire an interest in any Person if such Person sponsors, administers, maintains or contributes to or has any



                                                          35
               Case 23-10961-BLS            Doc 13-1        Filed 07/22/23         Page 303 of 388



liability in respect of any Canadian Pension Plan that contains a “defined benefit provision,” as defined in subsection
147.1(1) of the Income Tax Act (Canada), in either case without the prior written consent of the Agent.

5.15    Hazardous Materials. Cause or suffer to exist any Release of any Hazardous Material at, to or from any
Real Property owned, leased, subleased or otherwise operated or occupied by any Credit Party that would violate
any Environmental Law, form the basis for any Environmental Liabilities or otherwise adversely affect the value or
marketability of any real property (whether or not owned by any Credit Party), other than such violations,
Environmental Liabilities and effects that could not, in the aggregate, reasonably be expected to have a Material
Adverse Effect.

5.16      Modifications to Revolving Loan Documents and Subordinated Debt. (a) Without the prior written consent
of the Agent unless expressly permitted pursuant to the terms of the Intercreditor Agreement, or pursuant to an order
of the Bankruptcy Court after notice and hearing, permit any changes, amendments or modifications to the
Revolving Loan Documents, the Prepetition Term Loan Agreement or the Prepetition Revolving Loan Agreement
that (i) would be adverse to the Agent or the Lenders, (ii) would result in a material increase in any facility fee or
other fee applicable to Indebtedness under the Revolving Loan Agreement, the Prepetition Term Loan Agreement or
the Prepetition Revolving Loan Agreement, provided that such prohibition shall not apply to customary amendment
fees paid in consideration for a modification or amendment of the Revolving Loan Agreement, (iii) modify the
prepayment provisions of the Revolving Loan Agreement, or (iv) would modify Section 7.18 of the Revolving Loan
Agreement.

(b) [Reserved.]

(c) Without the prior written consent of Agent in its sole discretion, permit any changes, amendments or
modifications to the Subordinated Loan Documents.

5.17     Inactive Subsidiaries. Notwithstanding anything to the contrary contained herein, allow any Inactive
Subsidiary to (i) engage in any business activities or conduct any operations, other than maintaining its corporate
existence pending its dissolution pursuant to Section 5.4 hereof, (ii) own any material assets, (iii) have any
Subsidiaries or (iv) have or incur any liabilities (other than (A) those existing as of the Closing Date, and (B) any
contingent liability arising under this Agreement, any of the other Loan Documents or any of the Revolving Loan
Documents), without first obtaining Agent's prior written consent.

5.18     Compliance with Anti-Terrorism Laws.

         (a)     Directly or indirectly, in connection with the Loans, knowingly (i) conduct any business or engage
         in making or receiving any contribution of funds, goods or services to or for the benefit of any Embargoed
         Person, (ii) deal in, or otherwise engage in any transaction relating to, any property or interests in property
         blocked pursuant to any Anti-Terrorism Law or (iii) engage in or conspire to engage in any transaction that
         evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the prohibitions
         set forth in any Anti-Terrorism Law.

         (b)     Directly or indirectly, in connection with the Loans, knowingly cause or permit any of the funds of
         such Credit Party that are used to repay the Loans to be derived from any unlawful activity with the result
         that the making of the Loans would be in violation of any Anti-Terrorism Law.

         (c)      Reserved.

         (d)      Deliver to the Lenders any certification or other evidence requested from time to time by any Lender
         in its reasonable discretion, confirming the Credit Parties’ compliance with this Section 5.18.

5.19     Sale-Leasebacks. Permit any of its Subsidiaries to, engage in a sale leaseback, synthetic lease or similar
transaction involving any of its assets.

5.20     Leases. Enter as lessee into any lease arrangement for real or personal property without Agent’s prior
written consent.



                                                          36
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 304 of 388




5.21       Captive Insurance Subsidiaries. Form any Captive Insurance Subsidiary unless such Person is approved
by the Agent in writing in advance as a Permitted Captive Insurance Subsidiary. If the Borrower desires to request
that a Captive Insurance Subsidiary be approved as a Permitted Captive Insurance Subsidiary, then the Borrower shall
notify the Agent at least 30 Business Days (or such shorter period as Agent may agree in its sole discretion) in advance
of the date on which such Person is requested to constitute a Permitted Captive Insurance Subsidiary under this
Agreement, shall provide the Agent with a summary of all material information regarding such proposed Captive
Insurance Subsidiary and its proposed activities and any other detail reasonably requested by Agent in connection
therewith. The Agent shall review the request and use commercially reasonable efforts to either approve or reject, on or
prior to the date that is 30 Business Days after it has received the request from the Borrower, that the proposed Captive
Insurance Subsidiary be deemed to constitute a Permitted Captive Insurance Subsidiary under this Agreement;
provided, that if the Agent has not made such a determination by the date that is 30 Business Days after receipt of the
request from Borrower, then Agent is deemed to have rejected such request by Borrower. If Agent approves the
request from Borrower to treat a Captive Insurance Subsidiary as a Permitted Captive Insurance Subsidiary, then such
Person shall be treated as a Permitted Captive Insurance Subsidiary on the date, and pursuant to the other terms, set
forth in a notice delivered by the Agent to the Borrower at such time.

5.22     Payments under the Revolving Loan Agreement. At any time, directly or indirectly, pay, prepay,
repurchase, redeem, retire or otherwise acquire, or make any payment on account of any principal of, interest on or
premium payable in connection with the repayment or Indebtedness under the Revolving Loan Documents,
provided, however, that (a) the Credit Parties may make payments of interest on and principal of the Advances in
accordance with the terms of the Revolving Loan Agreement, (b) the Credit Parties may make Mandatory
Prepayments (as such term is defined in the Revolving Loan Agreement) of principal on the Advances in accordance
with the terms of the Revolving Loan Agreement, and (c) the Credit Parties may make payments of fees, expenses,
indemnities or other obligations when due and payable in accordance with the terms of the Revolving Loan
Documents.

5.23      Cash Flow Budget Compliance Except in each case as consented to by Agent in writing in its sole
discretion, for the first calendar week of each of the Chapter 11 Cases (ending [_____], 2023) on both a two-week
rolling basis as of the Friday of each week and a rolling basis from the Petition Date to the Friday of each week, (i)
aggregate cash receipts shall not be less than 90% of the aggregate amount set forth in the Cash Flow Budget for
such calendar week, (ii) operating disbursements shall not exceed 110% of the corresponding aggregate amount set
forth in the Cash Flow Budget, (c) expenses for professionals shall not exceed 110% of the corresponding aggregate
amount set forth in the Cash Flow Budget, and (d) aggregate cash receipts net of aggregate operating disbursements
shall not be less than 85% of the net amount set forth in the Cash Flow Budget.

5.24     Bankruptcy Matters.

         (a)    The Debtors shall not incur, create, assume suffer to exist or permit any other Superpriority Claim
         or Lien on any Collateral which is pari passu with, or senior to, the priority claims of the Agent and the
         Lenders in respect of the Obligations, except as provided in Article XII and as set forth in the Orders.

         (b)     The Debtors shall not at any time, seek, consent to, or suffer to exist, any reversal, modification,
         amendment, stay, vacation or appeal of any of the Orders, except for modifications and amendments agreed
         to by the Agent and the Lenders

         (c)      Prior to the date on which the Obligations have been paid in full, the Debtors shall not pay or
         voluntarily incur (other than as may arise under Section 503(b)(9) of the Bankruptcy Code) any
         administrative expense claims except (i) as set forth in Article XII and the Orders, (ii) the Obligations and
         (iii) other administrative expense claims incurred in the ordinary course of business of the Debtors or the
         Chapter 11 Cases, in each case that is a disbursement made pursuant to the Cash Flow Budget.

         (d)    Except with the consent of the Required Lenders, the Debtors shall not (i) make any payment or
         transfer any property on account of claims asserted by any vendors of the Debtors for reclamation in
         accordance with Section 2-702 of the UCC and Section 546(c) of the Bankruptcy Code or (ii) enter into
         agreements or file any motion seeking a Bankruptcy Court order for the return of property of the Debtors to



                                                           37
              Case 23-10961-BLS                Doc 13-1       Filed 07/22/23         Page 305 of 388



          any vendor under Section 546(c) of the Bankruptcy Code in the aggregate for clauses (i) and (ii) in excess
          $25,000.

5.25      Cancellation of Indebtedness. The Debtors shall not, without the express prior written consent of Required
Lenders or pursuant to an order of the Bankruptcy Court after notice and hearing, make any payment or transfer with
respect to any Lien or Indebtedness incurred or arising prior to the filing of the Chapter 11 Cases that is subject to
the automatic stay provisions of the Bankruptcy Code whether by way of “adequate protection” under the
Bankruptcy Code or otherwise, except as specifically permitted hereunder, in the Orders or under any other Loan
Document.
5.26      Stalking Horse Purchase Agreement. The Credit Parties agree that the Stalking Horse Purchase Agreement
shall not be amended, modified or any provision thereof waived (including by extending the closing under the
Stalking Horse Purchase Agreement to a date that is later than fifty-seven (57) days after the Petition Date) without
the prior written consent of the Agent, and (x) the proposed purchaser (“Stalking Horse Bidder”) shall be acceptable
to Agent in its sole discretion, (y) such offer to purchase the applicable Collateral shall be subject to the receipt of
“higher and better bids”, and (z) the order approving such Stalking Horse Bidder and the applicable bid shall be
acceptable to Agent in its sole discretion.1
6.               SECURITY INTEREST

6.1       Grant of Security Interest.

          (a)    As collateral security for the prompt and complete payment and performance of the Obligations,
          each of Borrower and each other Credit Party (in each case, that is not a Canadian Credit Party) executing
          this Agreement, or from time to time party hereto, hereby grants to Agent for the benefit of the Lenders a
          security interest in and Lien upon all of its rights, title and interests in and to its property and assets,
          whether real or personal, tangible or intangible, and whether now owned or hereafter acquired, or in which
          it now has or at any time in the future may acquire any right, title, or interest, including all of the following
          property in which it now has or at any time in the future may acquire any right, title or interest:

                   (i)      all Accounts;

                   (ii)     all deposit accounts;

                   (iii)   all other bank accounts and all funds on deposit therein; all money, cash and cash
                   equivalents;

                   (iv)     all investment property;

                   (v)      all Stock and all Distributions in respect thereof;

                   (vi)     all goods (including, without limitation, inventory, equipment, and fixtures);

                   (vii)    all chattel paper, documents, documents of title and instruments;

                   (viii)   all Books and Records;

                   (ix)     all general intangibles (including, without limitation, all Intellectual Property, Intellectual
                   Property applications, contract rights, choses in action, payment intangibles, licenses, Permits, and
                   software, and all rights and interests under any key man life insurance policies);

                   (x)      all letter-of-credit rights;

                   (xi)     all commercial tort claims, including those listed on Disclosure Schedule (6.5);



1
    NTD: Conformed to PNC revolving loan agreement negative covenant provision.



                                                            38
    Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 306 of 388



         (xii)    all property, including all property of every description, in custody or in transit for any
         purpose, including safekeeping, collection or pledge, for the account of Borrower or any Credit
         Party or to which Borrower or any Credit Party may have any right or power, including but not
         limited to cash;

         (xiii)   all other goods (including but not limited to fixtures) and personal property, whether
         tangible or intangible and wherever located;

         (xiv)    all supporting obligations and consents and agreements of any kind or nature that are
         material to the operation, management, maintenance and conduct of any Credit Party;

         (xv)     all Material Owned Real Property of every kind and nature, including leases; and

         (xvi)     to the extent not otherwise included, all Proceeds, tort claims, insurance claims and other
         rights to payment not otherwise included in the foregoing and products of all and any of the
         foregoing and all accessions to, substitutions and replacements for, and rents and profits of, each
         of the foregoing (all of the foregoing, collectively, the “Collateral”).

Notwithstanding anything to the contrary contained herein, the term Collateral shall not include any
Excluded Assets; provided, that if and when any property shall cease to be Excluded Assets, such property
shall automatically be deemed to constitute Collateral and a security interest in such property automatically
shall be deemed granted therein. The Grantors shall from time to time, promptly after reasonable request
by the Agent, give written notice to the Agent identifying in reasonable detail the Excluded Assets (and
stating in such notice that such assets fulfill the criteria to constitute Excluded Assets under the definition
thereof) and shall provide to the Agent such other information regarding the Excluded Assets as the Agent
may reasonably request.

(b)     Borrower, Agent, each Lender and each other Grantor (in each case, other than Canadian Credit
Parties) agrees that this Agreement creates, and is intended to create, valid and continuing Liens upon the
Collateral in favor of Agent for the benefit of the Lenders. Each Grantor that is not a Canadian Credit Party
represents, warrants and covenants to Agent and each Lender that, subject to entry of the Interim Order and
any Order then in effect: (i) such Grantor has, and shall have, rights in and the power to transfer each item
of the Collateral upon which it purports to grant a Lien pursuant to this Agreement, free and clear of any
and all Liens or claims of others, other than Permitted Liens; (ii) the security interests granted pursuant to
this Agreement, upon completion of the filings and other actions listed on Disclosure Schedule (6.1)
(which, in the case of all filings and other documents referred to in said Schedule, have been delivered to
the Agent in duly executed form to the extent applicable) and the filing of UCC-1 financing statements with
respect to the Collateral, will constitute valid perfected security interests in all of the Collateral in favor of
Agent for the benefit of the Lenders as security for the prompt and complete payment and performance of
the Obligations, enforceable in accordance with the terms hereof against any and all creditors of and
purchasers from any Grantor and such security interests are prior to all other Liens on the Collateral in
existence on the date hereof except for (x) to the extent specified in the Intercreditor Agreement, the Liens
on the Collateral in favor of Revolving Agent, and (y) Permitted Liens that have priority by operation of
law (including any Permitted Lien that is a Purchase Money Lien that satisfies the requirements under the
Code and/or other applicable law to take priority over the previously perfected Lien on all assets of a
debtor); and (iii) no effective security agreement, mortgage, deed of trust, financing statement, equivalent
security or Lien instrument or continuation statement covering all or any part of the Collateral is or will be
on file or of record in any public office, except those relating to Permitted Liens. Each Grantor promises to
defend the right, title and interest of Agent in and to the Collateral against the claims and demands of all
Persons.

(c)     Each Credit Party that is not a Canadian Credit Party confirms that value has been given by the
Agent to each such Credit Party, that such Credit Party has rights in the Collateral (other than after-
acquired property) and that such Credit Party and the Agent have not agreed to postpone the time for
attachment of the security interests created by this Agreement to any of the Collateral. The security
interests created by this Agreement are intended to attach to: (i) existing Collateral when each Credit Party



                                                  39
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 307 of 388



         executes this Agreement, and (ii) Collateral subsequently acquired by each Credit Party immediately upon
         each such Credit Party acquiring any rights in such Collateral.

6.2      Agent’s Rights. Each Grantor, with respect to each property where any Collateral is located that is owned,
leased or controlled by any Grantor, during normal business hours and upon reasonable advance notice (unless an
Event of Default shall have occurred and be continuing, in which event no notice shall be required and Agent shall
have access at any and all times): (i) provide access to such property to Agent and any of its officers, employees and
agents, as frequently as Agent determines to be appropriate, (ii) permit Agent to inspect, review, evaluate and make
physical verifications and appraisals of the Collateral in any manner and through any medium that Agent considers
advisable, and each Grantor agrees to render to Agent, at such Grantor’s cost and expense, such clerical and other
assistance as may be reasonably requested with regard thereto, and (iii) permit Agent to inspect, audit and make
extracts and copies (or take originals if reasonably necessary) from all of such Grantor’s Books and Records;
provided, that so long as no Event of Default is continuing, Borrower shall not be obligated to pay the expenses of
more than three (3) such inspections or visits during each Fiscal Year of the Borrower. Each Lender may, with the
consent of Agent, which shall not be unreasonably withheld, accompany Agent on any such visit or inspection and
such Grantor will be obligated to pay the expenses incurred by any such Lender to the extent required under Section
10.2.

6.3        Agent’s Appointment as Attorney-in-fact. On the Closing Date, each Grantor shall execute and deliver a
Power of Attorney in the form attached as Exhibit D. The power of attorney granted pursuant to the Power of
Attorney and all powers granted under any Loan Document are powers coupled with an interest and shall be
irrevocable until the Termination Date. The powers conferred on Agent under each Power of Attorney are solely to
protect Agent’s interests in the Collateral and shall not impose any duty upon it to exercise any such powers. Agent
agrees not to exercise any power or authority granted under the Power of Attorney unless an Event of Default has
occurred and is continuing. Each Grantor also hereby (i) authorizes Agent to file any financing statements,
financing change statement, continuation statements or amendments thereto that (x) cover the Collateral, and (y)
contain any other information required by Part 5 of Article 9 of the Code and the comparable provisions of the
PPSA for the sufficiency or filing office acceptance of any such financing statement, financing change statement,
continuation statement or amendment and (ii) ratifies its authorization for Agent to have filed any such financing
statements, if filed prior to the date hereof. Each Grantor acknowledges that, until the Obligations have been repaid
in full, it is not authorized to file any financing statement or amendment or termination statement with respect to any
such financing statement without the prior written consent of Agent and agrees that it will not do so without the
prior written consent of Agent, subject to such Grantor’s rights under Section 9-509(d)(2) of the Code.

6.4      Grant of License to Use Intellectual Property Collateral. Solely for the purpose of enabling Agent to
exercise rights and remedies under Section 7.2 hereof for the benefit of the Lenders (including, without limiting the
terms of Section 7.2 hereof, in order to take possession of, hold, preserve, process, assemble, prepare for sale,
market for sale, sell or otherwise dispose of Collateral) upon the occurrence and during the continuation of an Event
of Default, each Grantor hereby grants to Agent an irrevocable, non-exclusive license (exercisable upon the
occurrence and during the continuance of an Event of Default without payment of royalty or other compensation to
such Grantor) to use, transfer, license or sublicense any Intellectual Property relating to any of the Collateral now
owned, licensed to, or hereafter acquired by such Grantor, and wherever the same may be located, and including in
such license access to all media in which any of the licensed items may be recorded or stored and to all computer
software and programs used for the compilation or printout thereof, and represents, promises and agrees that any
such license or sublicense is not and will not be in conflict with the contractual or commercial rights of any third
Person; provided, that such license will terminate on the Termination Date.

6.5      Commercial Tort Claims. As of the Closing Date, each Credit Party hereby represents and warrants that it
holds no commercial tort claims other than those listed on Disclosure Schedule (6.5). If any Credit Party shall at
any time hold or acquire a commercial tort claim, such Credit Party shall immediately notify Agent in writing signed
by such Credit Party of the brief details thereof, supplement Disclosure Schedule (6.5) with such details and grant to
Agent in such writing a security interest therein and in the Proceeds thereof, all upon the terms of this Agreement,
with such writing to be in form and substance reasonably satisfactory to Agent. The requirement in the preceding
sentence shall not apply to the extent that the amount of such commercial tort claim, together with the amount of all
other commercial tort claims held by any Credit Party in which Agent does not have a security interest, does not
exceed $100,000 individually or $200,000 in the aggregate for all Credit Parties.



                                                          40
             Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 308 of 388




6.6       Duties of Agent. Agent’s sole duty with respect to the custody, safekeeping and physical preservation of
the Collateral in its possession shall be to deal with it in the same manner as Agent deals with similar property for its
own account. The powers conferred on Agent hereunder are solely to protect Agent’s interest in the Collateral and
shall not impose any duty upon Agent to exercise any such powers. Agent shall be accountable only for amounts
that it receives as a result of the exercise of such powers, and neither it nor any of its Related Persons shall be
responsible to any Grantor for any act or failure to act hereunder, except for their own gross negligence or willful
misconduct as finally determined by a court of competent jurisdiction. In addition, Agent shall not be liable or
responsible for any loss or damage to any Collateral, or for any diminution in the value thereof, by reason of the act
or omission of any warehousemen, carrier, forwarding agency, consignee or other bailee if such Person has been
selected by Agent in good faith.

7.              EVENTS OF DEFAULT: RIGHTS AND REMEDIES

7.1      Events of Default. The occurrence of any one or more of the following events (regardless of the reason
therefor) shall constitute an “Event of Default” hereunder which shall be deemed to be continuing until waived in
writing by Agent in accordance with Section 9.3 or cured in accordance with the terms and conditions of this
Agreement:

         (a)    Any Credit Party shall fail to pay (i) the principal in respect of the Loan when due and payable or
         declared due and payable in accordance with the terms hereof, or (ii) interest in respect of the Loan or any
         other Obligations within three (3) Business Days after any such other Obligation becomes due and payable
         in accordance with the terms hereof or any other Loan Document; or

         (b)    any representation or warranty in this Agreement or any other Loan Document, or in any written
         statement pursuant hereto or thereto, or in any written report, financial statement or certificate made or
         delivered to Agent by Borrower or any other Credit Party shall be untrue or incorrect in any material
         respect as of the date when made or deemed made, regardless of whether such breach involves a
         representation or warranty with respect to a Credit Party that has not signed this Agreement; or

         (c)     Borrower or any other Credit Party shall fail or neglect to perform, keep or observe any of the
         covenants, agreements, requirements, or other terms or provisions to be performed, kept or observed by
         Borrower or such other Credit Party contained in (i) Section 1.3, Section 3.1(a)(i)(A) (with respect to such
         Person’s legal existence), Section 3.16, Section 3.22, Section 3.23, Section 3.26(c), Section 3.31,
         Section 3.36, Section 4.1(a), (b). (c), (d), (e), (f), or (j), Section 4.2, Section 4.3, Section 4.4, Section 4.5,
         each subsection of Section 5, and each subsection of Section 6 of this Agreement, or the SBA Side Letter,
         or (ii) Section 3.21 or any other provision of Section 4.1 (other than referred to under the preceding clause
         (i)) and such failure or neglect shall continue unremedied for a period of three (3) Business Days; or

         (d)    Borrower or any other Credit Party shall fail or neglect to perform, keep or observe any of the
         covenants, promises, agreements, requirements, or other terms or provisions to be performed, kept or
         observed by Borrower or such other Credit Party contained in Section 3.26 (other than Section 3.26(c)) or
         Section 3.28 of this Agreement, and such failure or neglect shall continue unremedied for a period of three
         (3) Business Days; or

         (e)    Borrower or any other Credit Party shall fail or neglect to perform, keep or observe any of the
         covenants, promises, agreements, requirements, or other terms or provisions to be performed, kept or
         observed by Borrower or such other Credit Party contained in this Agreement or any of the other Loan
         Documents (other than as specified in paragraphs (a) through (d) above), and such failure or neglect shall
         continue unremedied for a period of thirty (30) days after the earlier of (i) a Responsible Officer of a Credit
         Party having knowledge thereof, or (ii) written notice is delivered to the Borrower or such Credit Party by
         the Agent or any Lender; or

         (f)    an event of default shall occur under any Contractual Obligation of the Borrower or any other Credit
         Party (other than this Agreement, the other Loan Documents or the Revolving Loan Documents), and such
         event of default, to the extent not subject to the automatic stay, (i) involves the failure to make any payment



                                                           41
      Case 23-10961-BLS           Doc 13-1        Filed 07/22/23        Page 309 of 388



(whether or not such payment is blocked pursuant to the terms of an intercreditor agreement or otherwise),
whether of principal, interest or otherwise, and whether due by scheduled maturity, required prepayment,
acceleration, demand or otherwise and such failure continues after the applicable grace or notice period, if
any, specified in the document relating thereto, in respect of any Indebtedness (other than the Obligations,
the Indebtedness under the Revolving Loan Documents and the Indebtedness under the Subordinated
Notes) of such Person in an aggregate original principal amount exceeding the Threshold Amount, or (ii)
causes (or permits any holder of such Indebtedness or a trustee to cause) such Indebtedness, or a portion
thereof, in an aggregate original principal amount exceeding the Threshold Amount become due prior to its
stated maturity or prior to its regularly scheduled date of payment; or

(g)    [reserved]; or

(h)   the occurrence of any of the following in the Chapter 11 Cases, in each case, except to the extent
otherwise agreed by the Lenders:

        (i)      the failure to satisfy any Milestone set forth in Section 4.5 or any milestone set forth in
        the Interim Order or the Final Order by the deadline or within the time period set forth therein,
        unless consented to in writing by the Lenders in their sole discretion;

        (ii)    the entry of an order regarding the dismissal of any Chapter 11 Case, or the conversion of
        any Chapter 11 Case of any Debtor that is an operating business from one under Chapter 11 to one
        under Chapter 7 of the Bankruptcy Code;

        (iii)   the entry of an order by the Bankruptcy Court appointing an interim or permanent trustee
        in any Chapter 11 Case or an examiner in any Chapter 11 Case with expanded powers to operate
        or manage the financial affairs, the business or reorganization of any of the Debtors (powers
        beyond those set forth under Sections 1106(a)(3) and (4) of the Bankruptcy Code) under Section
        1106(b) of the Bankruptcy Code, in each case, without the prior written consent of the Required
        Lenders (which consent may be withheld in their sole discretion);

        (iv)     (x) the entry of an order of competent jurisdiction (1) reversing, staying, vacating or
        rescinding either the Interim Order or the Final Order, or either of such Interim Order or Final
        Order otherwise ceases to be in full force and effect (except in the case of the replacement of the
        Interim Order with the entry of the Final Order) or (2) amending, supplementing or otherwise
        modifying the Interim Order or the Final Order, in each case, without the prior written consent of
        the Required Lenders (which consent may be withheld in their sole discretion); or (y) the filing of
        a motion for reconsideration (1) in respect of the Term Loans and Term Loan Commitments,
        without the Agent’s and the Required Lenders’ consent, or (2) in respect of the grant of adequate
        protection pursuant to the Orders, without the consent of the Prepetition Term Loan Lenders and
        the Prepetition Term Loan Agent;

        (v)       (x) a Reorganization Plan is proposed which does not provide for payment in full in cash
        of the Obligations and the Debtors’ obligations under the Prepetition Term Loan Agreement and
        termination of all outstanding Term Loan Commitments, in each case on or before the effective
        date of such Reorganization Plan, or the termination of a Debtor’s “exclusive period” under
        Section 1211 of the Bankruptcy Code for the filing of a Reorganization Plan or (y) the entry of an
        order which dismisses any of the Chapter 11 Cases and which order does not provide for payment
        in full in cash of the Obligations and termination of all outstanding Term Loan Commitments on
        the effective date of such dismissal or, over the objection of the Lenders, the Debtors’ obligations
        under the Prepetition Term Loan Agreement, or (z) any of the Debtors seek, support or fail to
        contest in good faith the filing or confirmation of such a plan or the entry of such an order;

        (vi)       except as otherwise permitted by the Orders, the entry of an order of competent
        jurisdiction in the Chapter 11 Cases granting any other super priority administrative expense claim
        or Lien on any Collateral which Lien is pari passu or senior to that granted to the Agent, on behalf
        of itself and the Lenders (except provided in Article XII and as set forth in the Orders);



                                                42
Case 23-10961-BLS           Doc 13-1        Filed 07/22/23        Page 310 of 388




  (vii)    the entry of an order of competent jurisdiction granting relief from or modifying the
  automatic stay applicable under Section 362 of the Bankruptcy Code to permit one or more
  creditors to execute upon, enforce or foreclose on any Collateral or any other assets of the Debtors
  with an aggregate value in excess of $100,000 (other than at the request of the Lenders);

  (viii)   an application for any of the orders or items described in clauses (ii) through (vii) above
  shall be made by a Debtor without the prior written consent of the Required Lenders (which
  consent may be withheld in their sole discretion);

  (ix)     an application for any of the orders or items described in clauses (ii) through (vii) above
  shall be made by a Person other than the Debtors and such application is not contested by the
  Debtors in good faith without the prior written consent of the Required Lenders (which consent
  may be withheld in their sole discretion) and the relief requested is granted in an order that is not
  stayed pending appeal;

  (x)       the payment of, or application for authority to pay, any post-petition judgments without
  the prior written consent of the Required Lenders or pursuant to an order of the Bankruptcy Court
  after notice and hearing unless otherwise permitted under this Agreement;

  (xi)      the payment of, or application for authority to pay, any pre-petition claim without the
  prior written consent of the Required Lenders or pursuant to an order of the Bankruptcy Court
  after notice and hearing unless otherwise permitted under this Agreement;

  (xii)    except as otherwise permitted by the Orders, submission by the Debtors of any motion or
  other pleading attacking the validity or enforceability (a) of the Loan Documents or any other
  documents executed in connection with this Agreement or the Orders, or (b) of any order granting
  the Prepetition Term Loan Lenders adequate protection of their security interests;

  (xiii)   any Debtor shall attempt to invalidate, reduce or otherwise impair (A) the Liens or
  security interests of the Agent and the Lenders or (B) the claims or rights of the Agent and the
  Lenders against the Debtors;

  (xiv)    any Debtor shall attempt to invalidate, reduce or otherwise impair, or to challenge the
  amount, priority or perfection of, the claims and obligations, or the Liens or security interests,
  securing the claims and obligations under the Prepetition Term Loan Agreement or to pursue any
  causes of action of any kind against the Prepetition Term Loan Agent or the Prepetition Term
  Loan Lenders solely in their respective capacities as Prepetition Term Loan Agent or Prepetition
  Term Loan Lenders

  (xv)      the filing of a motion, pleading or proceeding by any Debtor that could reasonably be
  expected to result in a material impairment of the rights or interests of the Lenders or a
  determination by a court with respect to a motion, pleading or proceeding brought by another party
  that results in a material impairment;

  (xvi)    (a) any Debtor shall assert any claims against the Lenders pursuant to section 506(c) of
  the Bankruptcy Code or any other action is commenced by any Debtor that is adverse to the
  Lenders or the Lenders’ respective rights and remedies under this Agreement or any Bankruptcy
  Court order, or (b) any person shall prevail in the assertion of any claim against the Lenders
  pursuant to section 506(c) of the Bankruptcy Code;

  (xvii)   any Debtor shall fail to comply with the terms of any Order;

  (xviii) any motion or application is filed by or on behalf of any Debtor in any of the Chapter 11
  Cases seeking the entry of an order, or an order is entered in any of the Chapter 11 Cases,
  approving any subsequent debtor-in-possession facility for borrowed money or other extensions of



                                          43
      Case 23-10961-BLS             Doc 13-1        Filed 07/22/23         Page 311 of 388



         credit, other than pursuant to the Revolving Loan Documents as in effect on the date hereof or as
         modified to the extent permitted by the Intercreditor Agreement, unless such subsequent facility
         and such order expressly provide for the indefeasible payment and complete satisfaction in full in
         cash to the Agent and Lenders of all Obligations prior to, or concurrently with, any initial
         borrowings or other extensions of credit under such subsequent facility or has been consented to,
         in writing, by the Lenders;

         (xix)   any Debtor seeks to obtain additional financing under section 364(c) or 364(d) of the
         Bankruptcy Code or to grant any Lien other than Permitted Liens and Liens permitted pursuant to
         the Orders without the prior written consent of the Lenders;

         (xx)     any Collateral becomes subject to surcharge or marshaling;

         (xxi)    any material contract or unexpired lease of any Debtor is rejected or otherwise terminated
         (other than (x) the Water Projects Contracts, or (y) in accordance with its terms) or any property of
         the Debtors is sold outside the ordinary course of business, in each instance, without the express
         written consent of the Lenders; or

(i)    [reserved]; or

(j)     a final judgment or judgments for the payment of money in excess of the Threshold Amount in the
aggregate shall be rendered against Borrower or any other Credit Party, unless the same shall be (i) fully
covered by insurance and the issuer(s) of the applicable policies have not disclaimed coverage, or
(ii) vacated, stayed by means of the automatic stay of Section 362 of the Bankruptcy Code or otherwise,
bonded, paid or discharged within a period of sixty (60) consecutive days from the date of such judgment;
or

(k)     any material provision of any Loan Document shall for any reason (other than upon satisfaction in
full of the Obligations), cease to be valid, binding and enforceable in accordance with its terms, or any Lien
granted, or intended by the Loan Documents or the Orders to be granted, to Agent for the benefit of the
Lenders shall cease to be a valid and perfected Lien having the first priority (or a lesser priority if expressly
permitted in the Loan Documents, including the Intercreditor Agreement); or

(l)    a Change of Control shall have occurred; or

(m) an ERISA Event shall have occurred that, when taken together with all other ERISA Events that
have occurred and are then continuing, could reasonably be expected to have Material Adverse Effect; or

(n)    an event of default shall occur and be continuing beyond any applicable grace or notice period,
under any other Loan Document; or

(o)    if the obligation of any Guarantor under its Guarantee or under any of the other Loan Documents or
the Orders is limited or terminated by operation of law or by such Guarantor (other than in accordance with
the terms of this Agreement, its Guarantee or such other Loan Documents or the Orders); or

(p)     an “Event of Default” as defined in the Revolving Loan Agreement occurs, which shall not have
been cured within any applicable grace period or waived, or if any Person (other than Agent or any Lender)
party to the Intercreditor Agreement breaches or violates in any material respect, or attempts to terminate or
challenge the validity of, such Intercreditor Agreement; or

(q)    an “Event of Default” as defined in either Subordinated Note occurs, other than any default that the
exercise of remedies in respect thereof is stayed pursuant to an order of the Bankruptcy Court under the
Chapter 11 Cases.




                                                  44
              Case 23-10961-BLS             Doc 13-1         Filed 07/22/23         Page 312 of 388



For the avoidance of doubt, none of the existing defaults or events of default under the Prepetition Term Loan
Agreement or the Prepetition Revolving Loan Agreement outstanding on the Petition Date shall constitute an Event
of Default hereunder, unless such defaults or events of default occur again after the Closing Date.

7.2     Remedies.

        (a)    If any Default shall have occurred and be continuing, then each Lender may suspend its
        commitment hereunder to make any Term Loan. In addition, notwithstanding the provisions of Section 362
        of the Bankruptcy Code, but subject to the Orders, if any Event of Default shall have occurred and be
        continuing, (i) all Obligations shall automatically and without any further action become and be
        immediately due and payable and (ii) Agent may and, at the request of the Required Lenders, shall, without
        further order of, or application to, the Bankruptcy Court, exercise any rights and remedies provided to
        Agent for the benefit of the Lenders under the Loan Documents or at law or equity, including all remedies
        provided under the Code and the PPSA.

        (b)    [Reserved].

        (c)     Without limiting the generality of the foregoing, each Grantor expressly agrees that upon the
        occurrence and during the continuance of any Event of Default, Agent may collect, receive, assemble,
        appropriate and realize upon the Collateral, or any part thereof, and may forthwith sell, lease, assign, give
        an option or options to purchase or otherwise dispose of and deliver said Collateral (or contract to do so), or
        any part thereof, in one or more parcels at public or private sale or sales, at any exchange at such prices as
        it may deem best, for cash or on credit or for future delivery without assumption of any credit risk. Agent
        shall have the right upon any such public sale, to the extent permitted by applicable law, to purchase for the
        benefit of the Lenders the whole or any part of said Collateral so sold, free of any right of equity of
        redemption, which right each Grantor hereby releases. Such sales may be adjourned, or continued from
        time to time with or without notice. Agent shall have the right to conduct such sales on any Grantor’s
        premises or elsewhere and shall have the right to use any Grantor’s premises without rent or other charge
        for such sales or other action with respect to the Collateral for such time as Agent deems necessary or
        advisable.

        (d)     Upon the occurrence and during the continuance of an Event of Default and at Agent’s request,
        Borrower and each other Grantor further agrees, to assemble the Collateral and make it available to Agent
        at places that Agent shall reasonably select, whether at its premises or elsewhere, at no cost to Agent
        (including any charge pursuant to Section 506(c) of the Bankruptcy Code). During the continuance of an
        Event of Default, until Agent is able to effect a sale, lease, or other disposition of the Collateral, Agent shall
        have the right to complete, assemble, use or operate the Collateral or any part thereof, to the extent that
        Agent deems appropriate, for the purpose of preserving such Collateral or its value or for any other
        purpose. Agent shall have no obligation to any Grantor to maintain or preserve the rights of any Grantor as
        against third parties with respect to any Collateral while such Collateral is in the possession of Agent.
        During the continuance of an Event of Default, Agent may, if it so elects, seek the appointment of a
        receiver, interim receiver, or keeper to take possession of any Collateral and to enforce any of Agent’s or
        the Lenders’ remedies with respect thereto without prior notice or hearing. To the maximum extent
        permitted by applicable law, Borrower and each other Grantor waives all claims, damages, and demands
        against Agent, each Lender, their Affiliates, agents, and the officers and employees of any of them arising
        out of the repossession, retention or sale of any Collateral except such as are determined in a final judgment
        by a court of competent jurisdiction to have arisen solely out of the gross negligence, willful misconduct or
        bad faith of such Person. Borrower and each other Grantor agrees that ten (10) Business Days’ prior notice
        by Agent to such Grantor of the time and place of any public sale or of the time after which a private sale
        may take place is reasonable notification of such matters. Borrower and each other Grantor shall remain
        liable for any deficiency if the proceeds of any sale or disposition of the Collateral are insufficient to pay all
        amounts to which Agent and each Lender are entitled.

        (e)   Agent’s and each Lender’s rights and remedies under this Agreement shall be cumulative and
        nonexclusive of any other rights and remedies that Agent and each Lender may have under any Loan
        Document or at applicable law or in equity. Recourse to the Collateral shall not be required. All provisions



                                                          45
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 313 of 388



         of this Agreement are intended to be subject to all applicable mandatory provisions of law that may be
         controlling and to be limited, to the extent necessary, so that they do not render this Agreement invalid or
         unenforceable, in whole or in part.

         (f)    In addition to the above, following the occurrence and during the continuance of an Event of
         Default, Agent may deliver the Carve-Out Trigger Notice to the Debtors and their lead counsel, the
         U.S. Trustee, lead counsel to the Committee (if any), lead counsel to the Prepetition Term Loan Agent, lead
         counsel to the Prepetition Revolving Loan Agent, lead counsel to the Revolving Agent and the Bankruptcy
         Court invoking the Post-Carve Out Trigger Notice Cap.

7.3       Waivers by Credit Parties. Except as otherwise provided for in this Agreement and to the fullest extent
permitted by applicable law, Borrower and each other Credit Party executing this Agreement waives: (a)
presentment, demand and protest, and notice of presentment, dishonor, intent to accelerate, protest, default,
nonpayment, maturity, release, compromise, settlement, extension or renewal of any or all Loan Documents; (b) all
rights to notice and a hearing prior to Agent’s taking possession or control of, or to Agent’s replevy, attachment or
levy upon, any Collateral or any bond or security that might be required by any court prior to allowing Agent or any
Lender to exercise any of their remedies; and (c) the benefit of all valuation, appraisal and exemption laws.
Borrower and each other Credit Party executing this Agreement acknowledges that it has been advised by counsel of
its choices and decisions with respect to this Agreement, the other Loan Documents and the transactions evidenced
hereby and thereby.

7.4       Proceeds. The Proceeds of any sale, disposition or other realization upon any Collateral during the
continuance of an Event of Default shall be applied by Agent upon receipt (after giving effect to any payments
required pursuant to the Orders, including in respect to the Carve-Out) to the Obligations in such order as Agent
may deem advisable in its sole discretion and after the indefeasible payment and satisfaction in full in cash of all of
the Obligations, and after the payment by Agent of any other amount required by any applicable provision of law,
including Sections 9-608(a)(1) and 9-615(a)(3) of the Code and the comparable provisions of the PPSA (but only
after Agent has received what Agent considers reasonable proof of a subordinate party’s security interest), the
surplus, if any, shall be paid to the applicable Grantor or its representatives or to whomsoever may be lawfully
entitled to receive the same, or as a court of competent jurisdiction may direct. In the event that any such Proceeds
are insufficient to pay the Obligations in full, the Credit Parties shall remain liable, jointly and severally, for any
deficiency.

8.              SUCCESSORS AND ASSIGNS

         (a)     Each Loan Document shall be binding on and shall inure to the benefit of Borrower and each other
         Credit Party executing such Loan Document, Agent, each Lender, and their respective successors and
         assigns, except as otherwise provided herein or therein. If more than one party signs this instrument as
         Borrower, then the term “Borrower” as used herein shall mean all of such parties, jointly and severally.
         Except as expressly permitted under Section 5.3, neither Borrower nor any other Credit Party may assign,
         transfer, hypothecate, delegate or otherwise convey its rights, benefits, obligations or duties under any Loan
         Document without the prior express written consent of Agent. Any such purported conveyance by
         Borrower or such Credit Party without the prior express written consent of Agent shall be void. There shall
         be no third party beneficiaries of any of the terms and provisions of any of the Loan Documents. Each
         Lender reserves the right at any time to create and sell participations in the Loan and the Loan Documents
         to any other Person (a “Participant”) and to sell, transfer or assign any or all of its rights in the Loan and
         under the Loan Documents to one or more Persons (other than any Affiliate of the Credit Parties) (an
         “Assignee”), in each case, subject to the terms and conditions of this Section 8. Any such sale, transfer or
         assignment shall be effected by a written assignment agreement substantially in the form of Exhibit I
         attached hereto (an “Assignment Agreement”) delivered by such Assignee Agent and such Assignee shall
         pay to Agent an assignment fee in the amount of $3,500, which shall be paid to the Agent on the effective
         date of each such Assignment Agreement. Agent shall, acting solely for this purpose as an agent of
         Borrower, maintain at one of its offices a copy of each Assignment Agreement delivered to it and a register
         for the recordation of the names and addresses of each Lender and the principal amount of the Term Loan
         owing to each Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the
         Register shall be conclusive absent manifest error, and Borrower, Agent and the Lenders shall treat each



                                                          46
    Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 314 of 388



Person whose name is recorded in the Register pursuant to the terms hereof as a Lender hereunder for all
purposes of this Agreement. Any assignment of the Term Loan, whether or not evidenced by a Note, shall
be effective only upon appropriate entries with respect thereto being made in the Register. Any assignment
or transfer of all or part of the Term Loan evidenced by a Note shall be registered on the Register only upon
surrender for registration of assignment or transfer of such Note evidencing the Loan, accompanied by a
duly executed Assignment Agreement or transfer; thereupon a new Note in the same aggregate principal
amount shall be issued to the designated Assignee, and the old Note shall be returned to Borrower marked
“canceled.” The Register shall be available for inspection by Borrower at any reasonable time and from
time to time upon reasonable prior notice. Each Lender that sells a participation agrees that (i) such
Lender’s obligations under this Agreement shall remain unchanged, (ii) such Lender shall remain solely
responsible to the other parties hereto for the performance of such obligations and (iii) the Borrower, each
Credit Party, the Agent and the other Lenders shall continue to deal solely and directly with such Lender in
connection with such Lender’s rights and obligations under their Agreement and the other Loan
Documents. The Borrower agrees that each Participant shall be entitled to the benefits of Section 1.7,
subject to the requirements and limitations therein, including the requirements under Section 8(b) (it being
understood that the documentation required under Section 8(b) shall be delivered to the participating
Lender), to the same extent as if it were a Lender and had acquired its interest by assignment; provided that
such Participant shall not be entitled to receive any greater payment under Section 1.7 with respect to any
participation than its participating Lender would have been entitled to receive, except to the extent such
entitlement to receive a greater payment results from a change in applicable law that occurs after the
Participant acquired the applicable participation. Each Lender that sells a participation shall, acting solely
for this purpose as a non-fiduciary agent of Borrower, maintain a register on which it enters the name and
address of each Participant and the principal amounts (and stated interest) of each Participant’s interest in
the Loans or other obligations under the Loan Documents (the “Participant Register”); provided that no
Lender shall have any obligation to disclose all or any portion of the Participant Register (including the
identity of any Participant or any information relating to a Participant’s interest in any commitments, loans,
letters of credit or its other obligations under any Loan Document) to any Person except to the extent that
such disclosure is necessary to establish that such commitment, loan, letter of credit or other obligation is in
registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the
Participant Register shall be conclusive absent manifest error, and such Lender shall treat each Person
whose name is recorded in the Participant Register as the owner of such participation for all purposes of
this Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, Agent (in its
capacity as Agent) shall have no responsibility for maintaining a Participant Register.

(b)     Any Lender that is entitled to an exemption from or reduction of withholding Tax with respect to
payments made under any Loan Document shall deliver to Borrower and Agent, at the time or times
reasonably requested by Borrower or Agent, such properly completed and executed documentation
reasonably requested by Borrower or Agent as will permit such payments to be made without withholding
or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by Borrower or Agent,
shall deliver such other documentation prescribed by applicable law or reasonably requested by Borrower
or Agent as will enable Borrower or Agent to determine whether or not such Lender is subject to backup
withholding or information reporting requirements. Notwithstanding anything to the contrary in the
preceding two sentences, the completion, execution and submission of such documentation (other than such
documentation set forth in paragraphs (i), (ii) and (iv) of this Section 8(b)) shall not be required if in the
Lender’s reasonable judgment such completion, execution or submission would subject such Lender to any
material unreimbursed cost or expense or would materially prejudice the legal or commercial position of
such Lender. Without limiting the generality of the foregoing, in the event that Borrower is a U.S.
Borrower:

         (i)      any Lender that is a U.S. Person shall deliver to Borrower and Agent on or about the date
         on which such Lender becomes a Lender under this Agreement (and from time to time thereafter
         upon the reasonable request of Borrower or Agent), executed copies of IRS Form W-9 certifying
         that such Lender is exempt from U.S. federal backup withholding tax;

         (ii)      any Lender that is not a U.S. Person (a “Foreign Lender”) shall, to the extent it is legally
         entitled to do so, deliver to the Borrower and the Agent (in such number of copies as shall be



                                                  47
Case 23-10961-BLS           Doc 13-1        Filed 07/22/23        Page 315 of 388



  requested by the recipient) on or about the date on which such Foreign Lender becomes a Lender
  under this Agreement (and from time to time thereafter upon the reasonable request of the
  Borrower or the Agent), whichever of the following is applicable:

           (A)      in the case of a Foreign Lender claiming the benefits of an income tax treaty to
                    which the United States is a party (x) with respect to payments of interest under
                    any Loan Document, executed copies of IRS Form W-8BEN or IRS Form W-
                    8BEN-E establishing an exemption from, or reduction of, U.S. federal
                    withholding Tax pursuant to the “interest” article of such tax treaty and (y) with
                    respect to any other applicable payments under any Loan Document, IRS Form
                    W-8BEN or IRS Form W-8BEN-E establishing an exemption from, or reduction
                    of, U.S. federal withholding Tax pursuant to the “business profits” or “other
                    income” article of such tax treaty;

           (B)      executed copies of IRS Form W-8ECI;

           (C)      in the case of a Foreign Lender claiming the benefits of the exemption for
                    portfolio interest under Section 881(c) of the IRC, (x) a certificate to the effect
                    that such Foreign Lender is not a “bank” within the meaning of Section
                    881(c)(3)(A) of the IRC, a “10 percent shareholder” of Borrower within the
                    meaning of Section 871(h)(3)(B) of the IRC, or a “controlled foreign
                    corporation” related to Borrower as described in Section 881(c)(3)(C) of the
                    IRC (a “U.S. Tax Compliance Certificate”) and (y) executed copies of IRS
                    Form W-8BEN or IRS Form W 8BEN-E; or

           (D)      to the extent a Foreign Lender is not the beneficial owner, executed copies of
                    IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form W-8BEN,
                    IRS Form W 8BEN-E, a U.S. Tax Compliance Certificate, IRS Form W-9,
                    and/or other certification documents from each beneficial owner, as applicable;
                    provided that if the Foreign Lender is a partnership and one or more direct or
                    indirect partners of such Foreign Lender are claiming the portfolio interest
                    exemption, such Foreign Lender may provide a U.S. Tax Compliance Certificate
                    on behalf of each such direct and indirect partner;

  (iii)    any Foreign Lender shall, to the extent it is legally entitled to do so, deliver to Borrower
  and Agent (in such number of copies as shall be requested by the recipient) on or about the date on
  which such Foreign Lender becomes a Lender under this Agreement (and from time to time
  thereafter upon the reasonable request of Borrower or Agent), executed copies of any other form
  prescribed by applicable law as a basis for claiming exemption from or a reduction in U.S. federal
  withholding Tax, duly completed, together with such supplementary documentation as may be
  prescribed by applicable law to permit Borrower or Agent to determine the withholding or
  deduction required to be made; and

  (iv)      if a payment made to a Lender under any Loan Document would be subject to U.S.
  federal withholding Tax imposed by FATCA if such Lender were to fail to comply with the
  applicable reporting requirements of FATCA (including those contained in Section 1471(b) or
  1472(b) of the IRC, as applicable), such Lender shall deliver to Borrower and Agent at the time or
  times prescribed by law and at such time or times reasonably requested by Borrower or Agent
  such documentation prescribed by applicable law (including as prescribed by Section
  1471(b)(3)(C)(i) of the IRC) and such additional documentation reasonably requested by
  Borrower or Agent as may be necessary for Borrower and Agent to comply with their obligations
  under FATCA and to determine that such Lender has complied with such Lender’s obligations
  under FATCA or to determine the amount, if any, to deduct and withhold from such payment.
  Solely for purposes of this clause (iv), “FATCA” shall include any amendments made to FATCA
  after the date of this Agreement.




                                          48
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 316 of 388



        Each Lender agrees that if any form or certification it previously delivered expires or becomes obsolete or
        inaccurate in any respect, it shall update such form or certification or promptly notify Borrower and Agent
        in writing of its legal inability to do so.

9.              AGENT

9.1     Appointment and Duties.

        (a)    Appointment of Agent. Each Lender hereby appoints EICF AGENT LLC (together with any
        successor Agent pursuant to Section 9.9) as Agent hereunder and authorizes Agent to (i) execute and
        deliver the Loan Documents and accept delivery thereof on its behalf from any Credit Party, (ii) take such
        action on its behalf and to exercise all rights, powers and remedies and perform the duties as are expressly
        delegated to Agent under such Loan Documents and (iii) exercise such powers as are reasonably incidental
        thereto.

        (b)     Duties as Collateral and Disbursing Agent. Without limiting the generality of clause (a) above,
        Agent shall have the sole and exclusive right and authority (to the exclusion of the Lenders), and is hereby
        authorized, to (i) act as the disbursing and collecting agent for the Lenders with respect to all payments and
        collections arising in connection with the Loan Documents (including in any bankruptcy, insolvency or
        similar proceeding, including the Chapter 11 Cases), and each Person making any payment in connection
        with any Loan Document to any Lender is hereby authorized to make such payment to Agent, (ii) file and
        prove claims and file other documents necessary or desirable to allow the claims of the Lenders with
        respect to any Obligation in any bankruptcy, insolvency or similar proceeding (including the Chapter 11
        Cases) (but not to vote, consent or otherwise act on behalf of such Lender), (iii) act as collateral agent for
        each Lender for purposes of the perfection of all Liens created by such agreements and all other purposes
        stated therein, (iv) manage, supervise and otherwise deal with the Collateral, (v) take such other action as is
        necessary or desirable to maintain the perfection and priority of the Liens created or purported to be created
        by the Loan Documents, (vi) except as may be otherwise specified in any Loan Document, exercise all
        remedies given to Agent and the other Lenders with respect to the Collateral, whether under the Loan
        Documents, applicable Requirements of Law or otherwise and (vii) execute any amendment, consent or
        waiver under the Loan Documents on behalf of any Lender that has consented in writing to such
        amendment, consent or waiver; provided, however, that Agent hereby appoints, authorizes and directs each
        Lender to act as collateral sub-agent for Agent and the Lenders for purposes of the perfection of all Liens
        with respect to the Collateral, including any deposit account maintained by a Credit Party with, and cash
        and cash equivalents held by, such Lender, and may further authorize and direct the Lenders to take further
        actions as collateral sub-agents for purposes of enforcing such Liens or otherwise to transfer the Collateral
        subject thereto to Agent, and each Lender hereby agrees to take such further actions to the extent, and only
        to the extent, so authorized and directed.

        (c)     Limited Duties. Under the Loan Documents, Agent (i) is acting solely on behalf of the Lenders,
        with duties that are entirely administrative in nature, notwithstanding the use of the defined term “Agent”,
        the terms “agent”, “administrative agent” and “collateral agent” and similar terms in any Loan Document to
        refer to Agent, which terms are used for title purposes only, (ii) is not assuming any obligation under any
        Loan Document other than as expressly set forth therein or any role as agent, fiduciary or trustee of or for
        any Lender and (iii) shall have no implied functions, responsibilities, duties, obligations or other liabilities
        under any Loan Document, and each Lender hereby waives and agrees not to assert any claim against
        Agent based on the roles, duties and legal relationships expressly disclaimed in clauses (i) through (iii)
        above.

9.2      Binding Effect. Each Lender agrees that (i) any action taken by Agent or the Required Lenders (or, if
expressly required hereby, a greater proportion of the Lenders) in accordance with the provisions of the Loan
Documents, (ii) any action taken by Agent in reliance upon the instructions of Required Lenders (or, where so
required, such greater proportion) and (iii) the exercise by Agent or the Required Lenders (or, where so required,
such greater proportion) of the powers set forth herein or therein, together with such other powers as are reasonably
incidental thereto, shall be authorized and binding upon all of the Lenders.




                                                          49
             Case 23-10961-BLS              Doc 13-1         Filed 07/22/23         Page 317 of 388



9.3     Use of Discretion.

        (a)    No Action without Instructions. Agent shall not be required to exercise any discretion or take, or to
        omit to take, any action, including with respect to enforcement or collection, except any action it is required
        to take or omit to take (i) under any Loan Document or (ii) pursuant to instructions from the Required
        Lenders (or, where expressly required by the terms of this Agreement, a greater proportion of the Lenders).

        (b)     Right Not to Follow Certain Instructions. Notwithstanding clause (a) above, Agent shall not be
        required to take, or to omit to take, any action (i) unless, upon demand, Agent receives an indemnification
        satisfactory to it from the Lenders against all costs, expenses, claims, actions or liabilities that, by reason of
        such action or omission, may be imposed on, incurred by or asserted against Agent or any Related Person
        thereof or (ii) that is, in the opinion of Agent or its counsel, contrary to any Loan Document or applicable
        Requirement of Law.

9.4      Delegation of Rights and Duties. Agent may, upon any term or condition it specifies, delegate or exercise
any of its rights, powers and remedies under, and delegate or perform any of its duties or any other action with
respect to, any Loan Document by or through any trustee, co-agent, employee, attorney-in-fact and any other Person
(including any Lender). Any such Person shall benefit from this Section 9 to the extent provided by Agent.

9.5     Reliance and Liability.

        (a)     Agent may, without incurring any liability hereunder, (i) treat the payee of any Note as its holder
        until such Note has been assigned in accordance with Section 8(a), (ii) rely on the Register to the extent set
        forth in Section 8(a), (iii) consult with any of its Related Persons and, whether or not selected by it, any
        other advisors, accountants and other experts (including advisors to, and accountants and experts engaged
        by, any Credit Party) and (iv) rely and act upon any document and information (including those transmitted
        by electronic transmission) and any telephone message or conversation, in each case believed by it to be
        genuine and transmitted, signed or otherwise authenticated by the appropriate parties.

        (b)      None of Agent and its Related Persons shall be liable to any Lender for any action taken or omitted
        to be taken by any of them under or in connection with any Loan Document (x) with the consent or at the
        request of the Required Lenders (or such other number or percentage of the Lenders as shall be necessary,
        or as Agent shall believe in good faith shall be necessary, under the circumstances as provided in
        Section 10.1(b)) or (y) in the absence of its own gross negligence or willful misconduct, and each Lender
        hereby waive and shall not assert any right, claim or cause of action based thereon, except to the extent of
        liabilities resulting primarily from the gross negligence or willful misconduct of Agent or, as the case may
        be, such Related Person (each as determined in a final, non-appealable judgment by a court of competent
        jurisdiction) in connection with the duties expressly set forth herein. Without limiting the foregoing,
        Agent:

                 (i)       shall not be responsible or otherwise incur liability to any Lender for any action or
                 omission taken in reliance upon the instructions of the Required Lenders or for the actions or
                 omissions of any of its Related Persons selected with reasonable care (other than employees,
                 officers and directors of Agent, when acting on behalf of Agent);

                 (ii)     shall not be responsible to any Lender for the due execution, legality, validity,
                 enforceability, effectiveness, genuineness, sufficiency or value of, or the attachment, perfection or
                 priority of any Lien created or purported to be created under or in connection with, any Loan
                 Document;

                 (iii)     makes no warranty or representation, and shall not be responsible, to any Lender for any
                 statement, document, information, representation or warranty made or furnished by or on behalf of
                 any Related Person or any Credit Party in connection with any Loan Document or any transaction
                 contemplated therein or any other document or information with respect to any Credit Party,
                 whether or not transmitted or (except for documents expressly required under any Loan Document
                 to be transmitted to the Lenders) omitted to be transmitted by Agent, including as to completeness,



                                                          50
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 318 of 388



                  accuracy, scope or adequacy thereof, or for the scope, nature or results of any due diligence
                  performed by Agent in connection with the Loan Documents; and

                  (iv)      shall not have any duty to ascertain or to inquire as to the performance or observance of
                  any provision of any Loan Document, whether any condition set forth in any Loan Document is
                  satisfied or waived, as to the financial condition of any Credit Party or as to the existence or
                  continuation or possible occurrence or continuation of any Default and shall not be deemed to
                  have notice or knowledge of such occurrence or continuation unless it has received a notice from
                  Borrower or any Lender describing such Default clearly labeled “notice of default” (in which case
                  Agent shall promptly give notice of such receipt to all Lenders);

         and, for each of the items set forth in clauses (i) through (iv) above, each Lender hereby waives and agrees
         not to assert any right, claim or cause of action it might have against Agent based thereon.

9.6      Agent Individually. Agent and its Affiliates may make loans and other extensions of credit to, acquire Stock
of, engage in any kind of business with, any Credit Party or Affiliate thereof as though it were not acting as Agent and
may receive separate fees and other payments therefor. To the extent Agent or any of its Affiliates makes any Loan or
otherwise becomes a Lender hereunder, it shall have and may exercise the same rights and powers hereunder and shall
be subject to the same obligations and liabilities as any other Lender and the terms “Lender”, “Required Lender” and
any similar terms shall, except where otherwise expressly provided in any Loan Document, include, without limitation,
Agent or such Affiliate, as the case may be, in its individual capacity as Lender or as one of the Required Lenders.

9.7       Protective Advances. Agent is hereby authorized by the Credit Parties and Lenders, at any time in Agent’s
sole discretion, regardless of (i) the existence of a Default or an Event of Default, (ii) whether any of the other
applicable conditions precedent set forth in this Agreement to the making of any Term Loan have not been satisfied, or
(iii) any other contrary provision of this Agreement, to make advances to Borrower on behalf of the Lenders in an
amount not exceeding 10% of the aggregate principal amount of the Term Loans then outstanding, which advances
Agent, in its reasonable business judgment, deems necessary or desirable (A) to preserve or protect the Collateral, or
any portion thereof, (B) to enhance the likelihood of, or maximize the amount of, repayment of the Obligations, or (C)
to pay any other amount chargeable to the Credit Parties pursuant to the terms of this Agreement (“Protective
Advances”). Protective Advances shall be deemed to be Term Loans under this Agreement and entitled to all of the
rights and benefits applicable to Term Loans hereunder; provided, that, notwithstanding anything to the contrary in this
Agreement, any Protective Advances may cause the total principal amount of the Term Loans to equal up to 110% of
the total principal amount of the Term Loan Commitment (as in effect immediately prior to funding any Term Loans).
The Lenders shall be obligated to fund Protective Advances upon request by Agent (made with the consent of Agent)
and reimburse and/or otherwise effect a settlement with Agent therefor upon demand of Agent in accordance with their
respective Protective Advance Percentages. To the extent any Protective Advances are not actually funded by the other
Lenders as provided for herein, any such Protective Advances funded by Agent shall be deemed to be Protective
Advances made by and owing to Agent, and Agent shall be entitled to all rights (including accrual of interest) and
remedies of a Lender with respect to such Protective Advances.

9.8      Expenses; Indemnities.

         (a)    Each Lender agrees to reimburse Agent and each of its Related Persons (to the extent not
         reimbursed by any Credit Party) promptly upon demand for such Lender’s pro rata share with respect to the
         Loan of any costs and expenses (including fees, charges and disbursements of financial, legal and other
         advisors and taxes paid in the name of, or on behalf of, any Credit Party) that may be incurred by Agent or
         any of its Related Persons in connection with the preparation, syndication, execution, delivery,
         administration, modification, consent, waiver or enforcement (whether through negotiations, through any
         work-out, bankruptcy, restructuring or other legal or other proceeding or otherwise) of, or legal advice in
         respect of its rights or responsibilities under, any Loan Document.

         (b)   Each Lender further agrees to indemnify Agent and each of its Related Persons (to the extent not
         reimbursed by any Credit Party), from and against such Lender’s aggregate pro rata share with respect to
         the Loan of the costs, expenses, claims and liabilities (including (i) any Indemnified Taxes attributable to
         such Lender, but only to the extent that the Borrower has not already indemnified Agent for such



                                                          51
             Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 319 of 388



         Indemnified Taxes and without limiting the obligation of the Borrower to do so, (ii) any Taxes attributable
         to such Lender’s failure to comply with the provisions of Section 8(a) relating to the maintenance of a
         Participant Register, and (iii) any Excluded Taxes attributable to such Lender) that may be imposed on,
         incurred by or asserted against Agent or any of its Related Persons in any matter relating to or arising out
         of, in connection with or as a result of any Loan Document, or any other act, event or transaction related,
         contemplated in or attendant to any such document, or, in each case, any action taken or omitted to be taken
         by Agent or any of its Related Persons under or with respect to any of the foregoing; provided, however,
         that no Lender shall be liable to Agent or any of its Related Persons to the extent such liability has resulted
         primarily from the gross negligence or willful misconduct of Agent or, as the case may be, such Related
         Person, as determined by a court of competent jurisdiction in a final non-appealable judgment or order.

9.9      Resignation of Agent.

         (a)     Agent may resign at any time by delivering notice of such resignation to the Lenders and Borrower,
         effective on the date set forth in such notice or, if no such date is set forth therein, upon the date such notice
         shall be effective. If Agent delivers any such notice, the Required Lenders shall have the right to appoint a
         successor Agent. If, within thirty (30) days after the retiring Agent having given notice of resignation, no
         successor Agent has been appointed by the Required Lenders that has accepted such appointment, then the
         retiring Agent may, on behalf of the Lenders, appoint a successor Agent from among the Lenders. No
         appointment under this clause (a) shall be subject to the prior consent of Borrower.

         (b)     Effective immediately upon its resignation, (i) the retiring Agent shall be discharged from its duties
         and obligations under the Loan Documents, (ii) the Lenders shall assume and perform all of the duties of
         Agent until a successor Agent shall have accepted a valid appointment hereunder, (iii) the retiring Agent
         and its Related Persons shall no longer have the benefit of any provision of any Loan Document other than
         with respect to any actions taken or omitted to be taken while such retiring Agent was, or because such
         Agent had been, validly acting as Agent under the Loan Documents and (iv) subject to its rights under
         Section 9.3, the retiring Agent shall take such action as may be reasonably necessary to assign to the
         successor Agent its rights as Agent under the Loan Documents. Effective immediately upon its acceptance
         of a valid appointment as Agent, a successor Agent shall succeed to, and become vested with, all the rights,
         powers, privileges and duties of the retiring Agent under the Loan Documents.

9.10     Release of Collateral. Each Lender hereby consents to the release and hereby directs Agent to release (or, in
the case of clause (ii) below, release or subordinate) any Lien held by Agent for the benefit of the Lenders against (i)
any Collateral that is sold by a Credit Party in an Asset Sale , lease, transfer or other disposition permitted by the
Loan Documents (including pursuant to a valid waiver or consent), (ii) any property subject to a Lien permitted
hereunder to secure Purchase Money Obligations, (iii) any Collateral to the extent that Agent is required to release
such Lien pursuant to the terms of the Intercreditor Agreement in connection with the exercise by the Revolving
Agent of rights and remedies against the Collateral,(iv) if the property subject to such Lien is owned by a Guarantor,
upon release of such Guarantor from its obligations pursuant to a transaction permitted by Section 5.3, and (v) all of
the Collateral and all Credit Parties, upon the Termination Date. Each Lender hereby directs Agent, and Agent
hereby agrees, upon receipt of reasonable advance notice from Borrower, to execute and deliver or file such
documents and to perform other actions reasonably necessary to release the Liens when and as directed in this
Section 9.10.

10.             MISCELLANEOUS

10.1     Complete Agreement; Modification of Agreement.

         (a)     This Agreement and the other Loan Documents constitute the complete agreement between the
         parties with respect to the subject matter hereof and thereof, supersede all prior agreements, commitments,
         understandings or inducements (oral or written, expressed or implied). Borrower and each other Credit
         Party executing this Agreement or any other Loan Document shall have all duties and obligations under
         this Agreement and such other Loan Documents from the date of its execution and delivery, regardless of
         whether the Loan has been funded at that time.




                                                           52
    Case 23-10961-BLS             Doc 13-1        Filed 07/22/23        Page 320 of 388



(b)     No amendment or waiver of any provision of any Loan Document and no consent to any departure
by any Credit Party therefrom shall be effective unless the same shall be in writing and signed (1) in the
case of an amendment, consent or waiver to cure any ambiguity, omission, defect or inconsistency or
granting a new Lien for the benefit of the Lenders or extending an existing Lien over additional property,
by Agent and Borrower and any other Credit Party which is a party to such agreement, (2) in the case of
any other waiver or consent, by the Required Lenders (or by Agent with the consent of the Required
Lenders) and (3) in the case of any other amendment, by the Required Lenders (or by Agent with the
consent of the Required Lenders) and Borrower and any other Credit Party which is a party to such
agreement; provided, however, that no amendment, consent or waiver described in clause (2) or (3) above
shall, unless in writing and signed by each Lender directly affected thereby (or by Agent with the consent
of such Lender), in addition to any other Person the signature of which is otherwise required pursuant to
any Loan Document, do any of the following:

        (i)      waive any condition specified in Section 2.1, except any condition referring to any other
        provision of any Loan Document;

        (ii)     increase the Term Loan Commitment of such Lender or subject such Lender to any
        additional material obligation;

        (iii)    reduce (including through release, forgiveness, assignment or otherwise) (A) the principal
        amount of, the interest rate on, or any obligation of Borrower to repay (whether or not on a fixed
        date), any outstanding Loan owing to such Lender, or (B) any Fee or accrued interest payable to
        such Lender;

        (iv)     waive or postpone any scheduled maturity date or other scheduled date fixed for the
        payment, in whole or in part, of principal of or interest on any Term Loan or Fee owing to such
        Lender or for the reduction of such Lender’s Term Loan Commitment; provided, however, that
        this clause (iv) does not apply to any change to Mandatory Prepayments, including those required
        under Section 1.2, or to the application of any payment, including as set forth in Section 1.8;

        (v)     except as provided in Section 9.10, release all or substantially all of the Collateral or any
        Guarantor from its guarantee of any Obligation of Borrower;

        (vi)      reduce or increase the proportion of Lenders required for the Lenders (or any subset
        thereof) to take any action hereunder or change the definition of the term “Required Lenders”;

        (vii)    amend Section 10.14 or this Section 10.1;

        (viii)   enter into, amend or otherwise modify, any agreement or arrangement with another
        Person, the effect of which entering into, amendment or modification is to either (A) subordinate
        the payment of the Obligations to the payment of any indebtedness, liabilities or other obligations
        held by any other Person, or (B) subordinate the Lien securing the Obligations to any Lien held by
        any other Person as security for any indebtedness, liabilities or other obligations held by any other
        Person; provided, however, that this clause (viii) shall not apply to any payment subordination or
        Lien subordination effected in connection with the making of Protective Advances under this
        Agreement, that are approved by Agent, in an amount not exceeding 10% of the aggregate
        principal amount of the Term Loans then outstanding;

and provided, further, that (x)(A) any waiver of any payment applied pursuant to Section 1.8 to, and any
modification of the application of any such payment to the Term Loan shall require the consent of the
Required Lenders, and (B) any change to the definition of the term “Required Lenders” shall require the
consent of the Required Lenders, (y) no amendment, waiver or consent shall affect the rights or duties
under any Loan Document of, or any payment to, Agent (or otherwise modify any provision of Section 9 or
the application thereof) unless in writing and signed by Agent in addition to any signature otherwise
required and (z) the consent of Borrower shall not be required to change any order of priority set forth in
Section 1.8.



                                                53
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 321 of 388




         (c)     Each waiver or consent under any Loan Document shall be effective only in the specific instance
         and for the specific purpose for which it was given. No notice to or demand on any Credit Party shall
         entitle any Credit Party to any notice or demand in the same, similar or other circumstances. No failure on
         the part of any Lender to exercise, and no delay in exercising, any right hereunder shall operate as a waiver
         thereof, nor shall any single or partial exercise of any such right preclude any other or further exercise
         thereof or the exercise of any other right.

10.2     Expenses. Borrower agrees, subject to any payment procedures in the Orders, to promptly pay for the
following (the “Lender Group Expenses”): (a) all documented out-of-pocket costs and expenses of the Agent and
the Lenders (including the fees and expenses of all counsel retained in connection therewith), incurred in connection
with the preparation, negotiation, execution, delivery, performance and administration of the Loan Documents and
any amendments, waivers or other modifications thereto or advice in connection with the administration of the Loan
or the rights thereunder; (b) all documented out-of-pocket costs and expenses of the Agent and the Lenders
(including the fees and expenses of all counsel retained in connection therewith), incurred in connection with the
enforcement of the Loan Documents, including costs of collection including deficiency collection; (c) all out-of-
pocket transaction expenses incurred in connection with the Loan Documents; (d) all documented fees and expenses
payable to the Agent and the Lenders, including but not limited to attorney and professional fees and expenses in
connection with the Chapter 11 Cases and as provided in the Interim Order and the Final Order; (e) all documented
out-of-pocket costs and expenses of the Prepetition Term Loan Agent (including the fees and expenses of all counsel
retained in connection therewith), incurred in connection with the preparation, negotiation, execution, delivery,
performance and administration of the Loan Documents and any amendments or waivers thereto; (f) all documented
fees and expenses payable to the Prepetition Term Loan Agent, including but not limited to attorney and
professional fees and expenses in connection with the Chapter 11 Cases and as provided in the Interim Order and the
Final Order; (g) costs and expenses of Agent and the Lenders in connection with any litigation, dispute, suit,
proceeding or action (whether instituted by or between any combination of Agent, any Lender, Borrower or any
other Person), and an appeal or review thereof, in any way relating to the Collateral, any Loan Document, or any
action taken or any other agreements to be executed or delivered in connection therewith, whether as a party,
witness or otherwise, and (h) all additional costs and expenses of the Agent and the Lenders (including the
reasonable fees and expenses of all counsel, advisors, consultants and auditors retained in connection therewith),
incurred in connection with any effort (i) to monitor the Loan, (ii) to evaluate, observe or assess Borrower or any
other Credit Party or the affairs of such Person, and (iii) to verify, protect, evaluate, assess, appraise, collect, sell,
liquidate or otherwise dispose of the Collateral.

10.3      No Waiver. Neither Agent’s failure, at any time, to require strict performance by Borrower or any other
Credit Party of any provision of any Loan Document, nor Agent’s or any Lender’s failure to exercise, nor any delay
in exercising, any right, power or privilege hereunder, shall operate as a waiver thereof or waive, affect or diminish
any right of Agent or any Lender thereafter to demand strict compliance and performance therewith. No single or
partial exercise of any right, power or privilege hereunder shall preclude any other or future exercise thereof or the
exercise of any other right, power or privilege. Any suspension or waiver of a Default or other provision under the
Loan Documents shall not suspend, waive or affect any other Default or other provision under any Loan Document,
and shall not be construed as a bar to any right or remedy that Agent or any Lender would otherwise have had on
any future occasion. None of the undertakings, indemnities, agreements, warranties, covenants and representations
of Borrower or any other Credit Party to Agent or any Lender contained in any Loan Document and no Default by
Borrower or any other Credit Party under any Loan Document shall be deemed to have been suspended or waived
by Agent or any Lender, unless such waiver or suspension is by an instrument in writing signed by an officer or
other authorized employee of Agent or the Lenders, as applicable, and directed to Borrower, specifying such
suspension or waiver (and then such waiver shall be effective only to the extent therein expressly set forth), and
neither Agent nor any Lender shall, by any act (other than execution of a formal written waiver), delay, omission or
otherwise, be deemed to have waived any of its rights or remedies hereunder.

10.4     Severability; Section Titles. Wherever possible, each provision of the Loan Documents shall be interpreted
in such manner as to be effective and valid under applicable law, but if any provision of any Loan Document shall
be prohibited by or invalid under applicable law, such provision shall be ineffective to the extent of such prohibition
or invalidity, without invalidating the remainder of such provision or the remaining provisions of such Loan
Document. Except as otherwise expressly provided for in the Loan Documents, no termination or cancellation



                                                           54
             Case 23-10961-BLS              Doc 13-1       Filed 07/22/23         Page 322 of 388



(regardless of cause or procedure) of any financing arrangement under the Loan Documents shall in any way affect
or impair the Obligations, duties, covenants, representations and warranties, indemnities, and liabilities of Borrower
or any other Credit Party or the rights of Agent or any Lender relating to any unpaid Obligation, (due or not due,
liquidated, contingent or unliquidated), or any transaction or event occurring prior to such termination, or any
transaction or event, the performance of which is not required until after the Maturity Date, all of which shall not
terminate or expire, but rather shall survive such termination or cancellation and shall continue in full force and
effect until the Termination Date; provided, that all indemnity obligations of the Credit Parties under the Loan
Documents shall survive the Termination Date. The Section titles contained in any Loan Document are and shall be
without substantive meaning or content of any kind whatsoever and are not a part of the agreement between parties
hereto.

10.5      Authorized Signature. Until Agent shall be notified in writing by Borrower or any other Credit Party to the
contrary, the signature upon any document or instrument delivered pursuant hereto and believed by Agent or any of
Agent’s officers, agents, or employees to be that of an officer of Borrower or such other Credit Party shall bind
Borrower and such other Credit Party and be deemed to be the act of Borrower or such other Credit Party affixed
pursuant to and in accordance with resolutions duly adopted by Borrower’s or such other Credit Party’s Board of
Directors, and Agent shall be entitled to assume the authority of each signature and authority of the Person whose
signature it is or appears to be unless the Person acting in reliance thereon shall have actual knowledge to the
contrary.

10.6     Notices. Except as otherwise provided herein, whenever any notice, demand, request or other
communication shall or may be given to or served upon any party by any other party, or whenever any party desires
to give or serve upon any other party any communication with respect to this Agreement or any other Loan
Document, each communication shall be in writing and shall be deemed to have been validly served, given or
delivered (a) upon the earlier of actual receipt and three (3) Business Days after deposit in the United States Mail,
registered or certified mail, return receipt requested, with proper postage prepaid, (b) upon transmission, when sent
by telecopy or other similar facsimile transmission (with such telecopy or facsimile promptly confirmed by delivery
of a copy by personal delivery or United States Mail as otherwise provided in this Section 10.6), (c) one (1)
Business Day after deposit with a reputable overnight courier with all charges prepaid or (d) when hand-delivered,
all of which shall be addressed to the party to be notified and sent to the address or facsimile number indicated in
Schedule C or to such other address (or facsimile number) as may be substituted by notice given as herein provided.
Failure or delay in delivering copies of any such communication to any Person (other than Borrower, any other
Credit Party, Agent or any Lender) designated in Schedule C to receive copies shall in no way adversely affect the
effectiveness of such communication.

10.7      Counterparts. Any Loan Document may be authenticated in any number of separate counterparts by any
one or more of the parties thereto, and all of said counterparts taken together shall constitute one and the same
instrument. Any Loan Document may be authenticated by manual signature, facsimile or, if approved in writing by
Agent, electronic means, all of which shall be equally valid. The words “execution,” “signed,” “signature,” and
words of like import in this Agreement and the other Loan Documents including any Assignment Agreement shall
be deemed to include electronic signatures or electronic records, each of which shall be of the same legal effect,
validity or enforceability as a manually executed signature or the use of a paper-based recordkeeping system, as the
case may be.

10.8     Time of the Essence. Time is of the essence for performance of the Obligations under the Loan Documents.

10.9  GOVERNING LAW.THE LOAN DOCUMENTS AND THE OBLIGATIONS ARISING UNDER THE
LOAN DOCUMENTS SHALL BE GOVERNED BY, AND CONSTRUED AND ENFORCED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE
AND PERFORMED IN SUCH STATE, WITHOUT REGARD TO THE PRINCIPLES THEREOF REGARDING
CONFLICTS OF LAWS OTHER THAN SECTION 5-1401 OF THE GENERAL OBLIGATION LAWS OF NEW
YORK, AND, TO THE EXTENT APPLICABLE, THE BANKRUPTCY CODE.

10.10    SUBMISSION TO JURISDICTION; WAIVER OF JURY TRIAL.




                                                         55
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 323 of 388



         (a)  BORROWER AND EACH OTHER CREDIT PARTY EXECUTING THIS AGREEMENT, THE
         AGENT AND THE LENDERS HEREBY CONSENT AND AGREE THAT THE BANKRUPTCY
         COURT OR ANY APPELLATE COURT THEREOF SHALL HAVE EXCLUSIVE JURISDICTION TO
         HEAR AND DETERMINE ANY CLAIMS OR DISPUTES BETWEEN BORROWER AND SUCH
         CREDIT PARTY, AGENT AND ANY LENDER PERTAINING TO THIS AGREEMENT OR ANY OF
         THE OTHER LOAN DOCUMENTS OR TO ANY MATTER ARISING OUT OF OR RELATED TO
         THIS AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS; AND FURTHER PROVIDED,
         THAT NOTHING IN THIS AGREEMENT SHALL BE DEEMED OR OPERATE TO PRECLUDE ANY
         LENDER FROM BRINGING SUIT OR TAKING OTHER LEGAL ACTION IN ANY OTHER
         JURISDICTION TO COLLECT THE OBLIGATIONS, TO REALIZE ON THE COLLATERAL OR
         ANY OTHER SECURITY FOR THE OBLIGATIONS, OR TO ENFORCE A JUDGMENT OR OTHER
         COURT ORDER IN FAVOR OF SUCH LENDER. BORROWER AND EACH OTHER CREDIT PARTY
         EXECUTING THIS AGREEMENT, THE AGENT AND THE LENDERS EXPRESSLY SUBMIT AND
         CONSENT IN ADVANCE TO SUCH BANKRUPTCY COURT JURISDICTION IN ANY ACTION OR
         SUIT COMMENCED IN SUCH BANKRUPTCY COURT, AND BORROWER AND SUCH CREDIT
         PARTY HEREBY WAIVE ANY OBJECTION THAT IT MAY HAVE BASED UPON LACK OF
         PERSONAL JURISDICTION, IMPROPER VENUE OR FORUM NON CONVENIENS IN ANY
         ACTION OR SUIT COMMENCED IN ANY SUCH BANKRUPTCY COURT. BORROWER AND
         EACH OTHER CREDIT PARTY EXECUTING THIS AGREEMENT, THE AGENT AND THE
         LENDERS HEREBY WAIVE PERSONAL SERVICE OF THE SUMMONS, COMPLAINT AND
         OTHER PROCESS ISSUED IN ANY SUCH ACTION OR SUIT AND AGREE THAT SERVICE OF
         SUCH SUMMONS, COMPLAINT AND OTHER PROCESS MAY BE MADE BY REGISTERED OR
         CERTIFIED MAIL ADDRESSED TO BORROWER OR SUCH CREDIT PARTY, THE AGENT OR
         SUCH LENDER AT THE ADDRESS SET FORTH IN SCHEDULE C OF THIS AGREEMENT OR
         SUCH OTHER ADDRESS AS MAY BE SUBSTITUTED IN ACCORDANCE WITH SECTION 10.5
         AND THAT SERVICE SO MADE SHALL BE DEEMED COMPLETED UPON THE EARLIER OF
         BORROWER’S SUCH CREDIT PARTY’S, AGENT’S OR SUCH LENDER’S ACTUAL RECEIPT
         THEREOF OR THREE (3) DAYS AFTER DEPOSIT IN THE UNITED STATES MAIL, PROPER
         POSTAGE PREPAID.

         (b)  THE PARTIES HERETO WAIVE ALL RIGHTS TO TRIAL BY JURY IN ANY ACTION, SUIT,
         OR PROCEEDING BROUGHT TO RESOLVE ANY DISPUTE, WHETHER ARISING IN CONTRACT,
         TORT, OR OTHERWISE BETWEEN ANY LENDER, BORROWER AND ANY CREDIT PARTY
         ARISING OUT OF, CONNECTED WITH, RELATED OR INCIDENTAL TO THE RELATIONSHIP
         ESTABLISHED BETWEEN THEM IN CONNECTION WITH THE LOAN DOCUMENTS OR THE
         TRANSACTIONS RELATED THERETO.

10.11     Press Releases.Neither any Credit Party nor any of its Affiliates will in the future issue any press release or
other public disclosure using the name of Energy Impact Credit Fund I LP or its Affiliates or referring to this
Agreement or the other Loan Documents without at least two (2) Business Days’ prior notice to Agent and without
the prior written consent of Agent unless (and only to the extent that) such Credit Party or Affiliate is required to do
so under law and then, in any event, such Credit Party or Affiliate will consult with Agent before issuing such press
release or other public disclosure. Notwithstanding anything to the contrary in this Section 10.11, any Credit Party
may make such public disclosures referring to Energy Impact Credit Fund I LP or its Affiliates in connection with
and with respect to the transactions contemplated by the Loan Documents in connection with all regular and periodic
reports (including without limitation any Form 8-Ks) and all registration statements and prospectuses, if any, filed
by any Credit Party with any securities exchange or with the Securities and Exchange Commission or any
governmental or private regulatory authority. The Borrower hereby authorizes Agent and each Lender to make
mention of Agent’s and such Lender’s participation in this transaction in its marketing, sales materials, printed
media, tombstones or web-based material with Borrower’s prior written consent (which consent will not be
unreasonably withheld or delayed).

10.12 Reinstatement.This Agreement shall continue to be effective, or be reinstated, as the case may be, if at any
time payment of all or any part of the Obligations is rescinded or must otherwise be returned or restored by Agent or
the Lenders upon the insolvency, bankruptcy, dissolution, liquidation or reorganization of Borrower or any other
Credit Party, or otherwise, all as though such payments had not been made.



                                                           56
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 324 of 388




10.13 USA PATRIOT Act Notice and Customer Verification. Each Lender that is subject to the USA PATRIOT
Act and the Agent (for itself and not on behalf of such Lender) hereby notify Borrower that pursuant to the “know
your customer” regulations and the requirements of the USA PATRIOT Act, they are required to obtain, verify and
record information that identifies each Credit Party, which information includes the name, address and tax
identification number (and other identifying information in the event this information is insufficient to complete
verification) that will allow such Lender or Agent, as applicable, to verify the identity of each Credit Party. This
information must be delivered to such Lender and Agent no later than five days prior to the Closing Date and
thereafter promptly upon request. This notice is given in accordance with the requirements of the USA PATRIOT
Act and is effective as to the Lenders and the Agent.

10.14 Sharing of Payments, Etc. If any Lender, directly or through an Affiliate or branch office thereof, obtains
any payment of any Obligation of any Credit Party (whether voluntary, involuntary or through the exercise of any
right of setoff or the receipt of any Collateral or “proceeds” (as defined under the Code or the PPSA, as applicable)
of Collateral) other than pursuant to Section 1.14 and such payment exceeds the amount such Lender would have
been entitled to receive if all payments had gone to, and been distributed by, Agent in accordance with the
provisions of the Loan Documents, such Lender shall purchase for cash from other Lenders such participations in
their Obligations as necessary for such Lender to share such excess payment with such Lenders to ensure such
payment is applied as though it had been received by Agent and applied in accordance with this Agreement (or, if
such application would then be at the discretion of Borrower, applied to repay the Obligations in accordance
herewith); provided, however, that (a) if such payment is rescinded or otherwise recovered from such Lender in
whole or in part, such purchase shall be rescinded and the purchase price therefor shall be returned to such Lender
without interest and (b) such Lender shall, to the fullest extent permitted by applicable Requirements of Law, be
able to exercise all its rights of payment (including the right of setoff) with respect to such participation as fully as if
such Lender were the direct creditor of Borrower in the amount of such participation.

10.15 Intercreditor Agreement. Notwithstanding anything herein to the contrary, the Lien and security interest
granted to Agent pursuant to this Agreement and the exercise of any right or remedy by Agent on behalf of the
Lenders hereunder are subject to the provisions of the Intercreditor Agreement and the Orders. In the event of any
conflict between the terms of the Intercreditor Agreement or the Orders and this Agreement, the terms of the
Intercreditor Agreement or the Orders, as applicable, shall govern and control.

10.16 Confidentiality Agreements. With respect to any confidentiality agreements between the Parties,
notwithstanding any requirements or obligations of Agent to destroy or return documentation or proprietary
information related to the Credit Parties, Agent will retain copies of any such documentation or information
necessary to comply with the Investment Company Act of 1940 or other applicable laws.

10.17    Effect of Benchmark Transition Event.

         (A)      Benchmark Replacement. Notwithstanding anything to the contrary herein or in any other Loan
Document, upon the occurrence of a Benchmark Transition Event, the Agent and the Borrower may amend this
Agreement to replace the then-current Benchmark with a Benchmark Replacement. Any such amendment with
respect to a Benchmark Transition Event will become effective at 5:00 p.m. (New York City time) on the fifth (5th)
Business Day after the Agent has posted such proposed amendment to all affected Lenders and the Borrower so long
as the Agent has not received, by such time, written notice of objection to such amendment from Lenders
comprising the Required Lenders. No replacement of a Benchmark with a Benchmark Replacement pursuant to this
Section 10.17 will occur prior to the applicable Benchmark Transition Start Date.

         (B)      Benchmark Replacement Conforming Changes. In connection with the use, administration,
adoption or implementation of a Benchmark Replacement, Agent will have the right to make Conforming Changes
from time to time and, notwithstanding anything to the contrary herein or in any other Loan Document, any
amendments implementing such Conforming Changes will become effective without any further action or consent
of any other party to this Agreement or any other Loan Document.

        (C)     Notices; Standards for Decisions and Determinations. Agent will promptly notify the Borrower
and the Lenders of (i) the implementation of any Benchmark Replacement and (ii) the effectiveness of any



                                                            57
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 325 of 388



Conforming Changes in connection with the use, administration, adoption or implementation of a Benchmark
Replacement. The Agent shall notify the Borrower of (x) if any tenor of a Benchmark is not being used pursuant to
Section 10.17(D) and (y) the commencement of any Benchmark Unavailability Period. Any determination, decision
or election that may be made by Agent or Lenders pursuant to this Section 10.17, including any determination with
respect to a tenor, rate or adjustment or of the occurrence or non-occurrence of an event, circumstance or date and
any decision to take or refrain from taking any action or any selection, will be conclusive and binding absent
manifest error and may be made in its or their sole discretion and without consent from any other party hereto or any
other Loan Document, except, in each case, as expressly required pursuant to this Section 10.17.

           (D)      Unavailability of Tenor of Benchmark. Notwithstanding anything to the contrary herein or in any
other Loan Document, at any time (including in connection with the implementation of a Benchmark Replacement),
(i) if the then-current Benchmark is a term rate (including the Term SOFR Reference Rate) and either (A) any tenor
for such Benchmark is not displayed on a screen or other information service that publishes such rate from time to
time as selected by the Agent in its reasonable discretion or (B) the regulatory supervisor for the administrator of
such Benchmark has provided a public statement or publication of information announcing that any tenor for such
Benchmark is not or will not be representative, then the Agent may elect to use another interest period for such
Benchmark that is being published and is representative for any Benchmark settings at or after such time and to not
use the unavailable or non-representative tenor or interest period and (ii) if a tenor that was not used pursuant to
clause (i) above either (A) is subsequently displayed on a screen or information service for a Benchmark (including
a Benchmark Replacement) or (B) is not, or is no longer, subject to an announcement that it is not or will not be
representative for a Benchmark (including a Benchmark Replacement), then the Agent may again use such tenor or
interest period for all Benchmark settings at or after such time to reinstate such previously removed tenor.

        (E)      Benchmark Unavailability Period. Upon the Borrower’s receipt of notice of the commencement of
a Benchmark Unavailability Period, the Loans under this Agreement will be deemed to have converted into Base
Rate Loans during the Benchmark Unavailability Period.

10.18   Reserved.
10.19   Judgment Currency.

        (a)    If, for the purpose of (a) obtaining or enforcing judgment against any Credit Party in any court in
        any jurisdiction, it becomes necessary to convert into any other currency (such other currency being
        hereinafter in this Section 10.19 referred to as the “Judgment Currency”) an amount due under any Loan
        Document in any currency (the “Obligation Currency”) other than the Judgment Currency, the conversion
        shall be made at the rate of exchange prevailing on the Business Day immediately preceding the date of
        actual payment of the amount due, in the courts of any other jurisdiction that will give effect to such
        conversion being made on such date, or the date on which the judgment is given, in the case of any
        proceeding in the courts of any other jurisdiction (the applicable date as of which such conversion is made
        pursuant to this Section 10.19 being hereinafter in this Section 10.19 referred to as the “Judgment
        Conversion Date”).

        (b)     If, in the case of any proceeding in the court of any jurisdiction referred to in Section 10.19(a) there
        is a change in the rate of exchange prevailing between the Judgment Conversion Date and the date of actual
        receipt for value of the amount due, the applicable Credit Party or Credit Parties shall pay or be entitled to
        receive reimbursement of such additional amount (if any, but in any event not a lesser amount) as may be
        necessary to ensure that the amount actually received in the Judgment Currency, when converted at the rate
        of exchange prevailing on the date of payment, will produce the amount of the Obligation Currency which
        could have been purchased with the amount of the Judgment Currency stipulated in the judgment or
        judicial order at the rate of exchange prevailing on the Judgment Conversion Date. Any amount due from
        any Credit Party under this Section 10.19(b) shall be due as a separate debt and shall not be affected by
        judgment being obtained for any other amounts due under or in respect of any of the Loan Documents.

        (c)    The term “rate of exchange” in this Section 10.19 means the rate of exchange at which Agent, on the
        relevant date at or about 12:00 noon (New York time), would be prepared to sell, in accordance with
        Agent’s normal course foreign currency exchange practices, the Obligation Currency against the Judgment
        Currency.



                                                          58
             Case 23-10961-BLS             Doc 13-1        Filed 07/22/23         Page 326 of 388




10.20   Release.

        (a)     In consideration of and as a condition to the Agent and the Lenders making Term Loans under this
        Agreement, the consent by the Prepetition Term Loan Agent, the Prepetition Term Loan Lenders, the
        Agent and the Lenders to the use of cash collateral (as that term is defined in 11 U.S.C. 363(a), and
        providing other credit and financial accommodations to the Debtors pursuant to the provisions of the
        Orders and the other Loan Documents, each Debtor, on behalf of itself, and successors and assigns and its
        Estate (as defined in the Interim Order) (collectively, the “Releasors”), hereby absolutely releases and
        forever discharges and acquits the Prepetition Term Loan Agent and each Prepetition Term Loan Lender
        and each of their respective successors, participants, and assigns, and their present and former shareholders,
        affiliates, subsidiaries, divisions, predecessors, directors, officers, attorneys, employees, and other
        representatives (the Prepetition Term Loan Agent and each of the Prepetition Term Loan Lenders, and all
        such other parties being hereinafter referred to collectively as the “Releasees”) of and from any and all
        claims, demands, causes of action, suits, covenants, contracts, controversies, agreements, promises, sums of
        money, accounts, bills, reckonings, damages, and any and all other claims, counterclaims, cross claims,
        defenses, rights of set-off, demands, and liabilities whatsoever (individually, a “Prepetition Released
        Claim” and collectively, the “Prepetition Released Claims”) of every kind, name, nature and description,
        known or unknown, foreseen or unforeseen, matured or contingent, liquidated or unliquidated, primary or
        secondary, suspected or unsuspected, both at law and in equity, including, without limitation, any so-called
        “lender liability” claims or defenses, that any Releasor may now or hereafter own, hold, have, or claim to
        have against the Releasees, or any of them for, upon, or by reason of any nature, cause, or thing whatsoever
        that arose or may have arisen at any time on or prior to the date hereof, in respect of the Debtors and arising
        out of, relating to, or in connection with, any Prepetition Term Loan Obligations, the Prepetition Term
        Loan Documents, any Obligations (as defined in the Prepetition Revolving Loan Agreement) and any other
        financial accommodations under the the Prepetition Term Loan Documents; provided, however, that such
        release shall not be effective with respect to the Debtors until the Final Order shall have been entered and
        with respect to the Estates until the expiration of the Challenge Period (as defined in the Interim Order). In
        addition, upon termination of the rights and obligations arising under the Interim Order, the Final Order,
        and the Loan Documents (which termination shall be on terms and conditions reasonably acceptable to the
        Agent), Agent and the Lenders shall be automatically deemed to be absolutely and forever released and
        discharged from any and all obligations, liabilities, actions, duties, responsibilities, commitments, claims,
        and causes of action arising, occurring in connection with, or related to this Agreement, the Loan
        Documents, the Interim Order and the Final Order (whether known or unknown, direct or indirect, matured
        or contingent, foreseen or unforeseen, due or not due, primary or secondary, liquidated or unliquidated).

        (b)    Subject to any applicable provisions of the Interim Order with respect to all applicable parties other
        than the Debtors, each Releasor hereby absolutely, unconditionally and irrevocably covenants and agrees
        with each Releasee that it will not sue (at law, in equity, in any regulatory proceeding, or otherwise) any
        Releasee on the basis of any Prepetition Released Claim that has been released and discharged by each
        Releasor pursuant to Section 10.20(a) above. If any Releasor violates the forgoing covenant, Debtors agree
        to pay, in addition to such other damages as any Releasee may sustain as a result of such violation, all
        attorneys’ fees and costs incurred by any Releasee as a result of such violation.

10.21 Adoption and Ratification.
 Each Credit Party hereby (a) ratifies, assumes, adopts and agrees to be bound by all of the Prepetition Term Loan
Documents to which it is a party and (b) agrees to pay all the Prepetition Term Loan Obligations in accordance with
the terms of the Prepetition Term Loan Documents and in accordance with the Interim Order and Final Order. Each
Prepetition Term Loan Document to which any Credit Party is a party is hereby incorporated herein by reference
and hereby is and shall be deemed adopted and assumed in full by such Credit Party, and in respect of each Debtor,
as a debtor and debtor-in-possession, and considered an agreement among the Credit Parties, on the one hand, and
the Agent and the Lenders, on the other hand.

11.            GUARANTEE




                                                         59
               Case 23-10961-BLS            Doc 13-1        Filed 07/22/23        Page 327 of 388



11.1     The Guarantee. Subject to the Orders, the Guarantors that are not Canadian Credit Parties (the “Non-
Canadian Guarantors”) hereby jointly and severally guarantee, as a primary obligor and not as a surety to Agent
and the Lenders and their respective successors and assigns, the prompt payment in full when due (whether at stated
maturity, by required prepayment, declaration, demand, by acceleration or otherwise) of the principal of and interest
on (including any interest, fees, costs or charges that would accrue but for the provisions of the Title 11 of the
United States Code (or under the comparable provisions of any other Debtor Relief Law) after any bankruptcy or
insolvency petition is filed under Title 11 of the United States Code whether or not any such interest, fees, costs or
charges are allowed in any proceeding thereunder) the Loan made by the Lenders to, and the Notes held by each
Lender of, Borrower, and all other Obligations from time to time owing to Agent and the Lenders by any other
Credit Party under any Loan Document (such obligations being herein collectively called the “Guaranteed
Obligations”). The Non-Canadian Guarantors hereby jointly and severally agree that if Borrower or other Non-
Canadian Guarantor(s) shall fail to pay in full when due (whether at stated maturity, by acceleration or otherwise)
any of the Guaranteed Obligations, the Guarantors will promptly pay the same in cash, without any demand or
notice whatsoever, and that in the case of any extension of time of payment or renewal of any of the Guaranteed
Obligations, the same will be promptly paid in full when due (whether at extended maturity, by acceleration or
otherwise) in accordance with the terms of such extension or renewal.

11.2      Obligations Unconditional. Subject to the Orders, the obligations of the Non-Canadian Guarantors under
Section 11.1 shall constitute a guarantee of payment and to the fullest extent permitted by applicable Requirements
of Law, are absolute, irrevocable and unconditional, joint and several, irrespective of the value, genuineness,
validity, regularity or enforceability of the Guaranteed Obligations of Borrower under this Agreement, the Notes, if
any, or any other agreement or instrument referred to herein or therein, or any substitution, release or exchange of
any other guarantee of or security for any of the Guaranteed Obligations, and, irrespective of any other circumstance
whatsoever that might otherwise constitute a legal or equitable discharge or defense of a surety or Non-Canadian
Guarantor (except for payment in full). Without limiting the generality of the foregoing, it is agreed that the
occurrence of any one or more of the following shall not alter or impair the liability of the Non-Canadian Guarantors
hereunder which shall remain absolute, irrevocable and unconditional under any and all circumstances as described
above:

         (a)    at any time or from time to time, without notice to the Non-Canadian Guarantors, the time for any
         performance of or compliance with any of the Guaranteed Obligations shall be extended, or such
         performance or compliance shall be waived;

         (b)    any of the acts mentioned in any of the provisions of this Agreement or the Notes, if any, or any
         other agreement or instrument referred to herein or therein shall be done or omitted;

         (c)    the maturity of any of the Guaranteed Obligations shall be accelerated, or any of the Guaranteed
         Obligations shall be amended in any respect, or any right under the Loan Documents or any other
         agreement or instrument referred to herein or therein shall be amended or waived in any respect or any
         other guarantee of any of the Guaranteed Obligations or any security therefor shall be released or
         exchanged in whole or in part or otherwise dealt with;

         (d)   any Lien or security interest granted to, or in favor of any Lender or Agent as security for any of the
         Guaranteed Obligations shall fail to be perfected;

         (e)   any rights to contest the amount, validity, priority and extent of the Obligations, any rights or claims
         under Section 506(c) of the Bankruptcy Code, and any other rights or claims against the Agent or any
         Lender of any nature; or

         (f)    the release of any other Non-Canadian Guarantor pursuant to Section 11.9.

The Non-Canadian Guarantors hereby expressly waive diligence, presentment, demand of payment, protest and all
notices whatsoever, and any requirement that Agent or any Lender exhaust any right, power or remedy or proceed
against Borrower under this Agreement or the Notes, if any, or any other agreement or instrument referred to herein
or therein, or against any other person under any other guarantee of, or security for, any of the Guaranteed
Obligations. The Non-Canadian Guarantors waive any and all notice of the creation, renewal, extension, waiver,



                                                          60
             Case 23-10961-BLS              Doc 13-1       Filed 07/22/23         Page 328 of 388



termination or accrual of any of the Guaranteed Obligations and notice of or proof of reliance by Agent or any
Lender upon this Guarantee or acceptance of this Guarantee, and the Guaranteed Obligations, and any of them, shall
conclusively be deemed to have been created, contracted or incurred in reliance upon this Guarantee, and all
dealings between Borrower and Agent or any Lender shall likewise be conclusively presumed to have been had or
consummated in reliance upon this Guarantee. This Guarantee shall be construed as a continuing, absolute,
irrevocable and unconditional guarantee of payment without regard to any right of offset with respect to the
Guaranteed Obligations at any time or from time to time held by Agent or any Lender, and the obligations and
liabilities of the Non-Canadian Guarantors hereunder shall not be conditioned or contingent upon the pursuit by
Agent or any Lender or any other person at any time of any right or remedy against Borrower or against any other
person which may be or become liable in respect of all or any part of the Guaranteed Obligations or against any
collateral security or guarantee therefor or right of offset with respect thereto. This Guarantee shall remain in full
force and effect and be binding in accordance with and to the extent of its terms upon the Non-Canadian Guarantors
and the successors and assigns thereof, until payment in full of the Guaranteed Obligations and shall inure to the
benefit of Agent and the Lenders, and their respective successors and permitted assigns.

11.3    Reinstatement. The obligations of the Non-Canadian Guarantors under this Article XI shall be
automatically reinstated if and to the extent that for any reason any payment by or on behalf of Borrower or other
Credit Party in respect of the Guaranteed Obligations is rescinded or must be otherwise restored by any holder of
any of the Guaranteed Obligations, whether as a result of any proceedings in bankruptcy or reorganization or
otherwise.

11.4      Subrogation; Subordination. Each Non-Canadian Guarantor hereby agrees that until the indefeasible
payment and satisfaction in full in cash of all Guaranteed Obligations it shall waive any claim and shall not exercise
any right or remedy, direct or indirect, arising by reason of any performance by it of its guarantee in Section 11.1,
whether by subrogation or otherwise, against Borrower or any other Non-Canadian Guarantor of any of the
Guaranteed Obligations or any security for any of the Guaranteed Obligations. Any Indebtedness of any Credit
Party permitted pursuant to Section 5.1(d) shall be subordinated to such Credit Party’s Obligations in the manner set
forth in the Intercompany Note evidencing such Indebtedness.

11.5     Remedies. The Non-Canadian Guarantors jointly and severally agree that, as between the Non-Canadian
Guarantors and the Lenders, the obligations of Borrower under this Agreement and the Notes, if any, may be
declared to be forthwith due and payable as provided in Section 7.2 (and shall be deemed to have become
automatically due and payable in the circumstances provided in Section 7.2) for purposes of Section 11.1,
notwithstanding any stay, injunction or other prohibition preventing such declaration (or such obligations from
becoming automatically due and payable) as against Borrower and that, in the event of such declaration (or such
obligations being deemed to have become automatically due and payable), such obligations (whether or not due and
payable by Borrower) shall forthwith become due and payable by the Non-Canadian Guarantors for purposes of
Section 11.1.

11.6    Instrument for the Payment of Money. Each Non-Canadian Guarantor hereby acknowledges that the
guarantee in this Article XI constitutes an instrument for the payment of money, and consents and agrees that any
Lender or Agent, at its sole option, in the event of a dispute by such Non-Canadian Guarantor in the payment of any
moneys due hereunder, shall have the right to bring a motion-action under New York CPLR Section 3213.

11.7     Continuing Guarantee. The guarantee in this Article XI is a continuing guarantee of payment, and shall
apply to all Guaranteed Obligations whenever arising.

11.8       General Limitation on Guarantee Obligations. In any action or proceeding involving any applicable
corporate, limited partnership or limited liability company law, or any applicable Debtor Relief Law, if the
obligations of any Non-Canadian Guarantor under Section 11.1 would otherwise be held or determined to be void,
voidable, invalid or unenforceable, or subordinated to the claims of any other creditors, on account of the amount of
its liability under Section 11.1, then, notwithstanding any other provision to the contrary, the amount of such
liability shall, without any further action by such Non-Canadian Guarantor, any Credit Party or any other person, be
automatically limited and reduced to the highest amount (after giving effect to the right of contribution established
in Section 11.10) that is valid and enforceable and not subordinated to the claims of other creditors as determined in
such action or proceeding.



                                                         61
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 329 of 388




11.9     Release of Guarantors. If, in compliance with the terms and provisions of the Loan Documents, all or
substantially all of the Equity Interests of any Non-Canadian Guarantor are sold or otherwise transferred (a
“Transferred Guarantor”) to a person or persons, none of which is Borrower or a Subsidiary, such Transferred
Guarantor shall, upon the consummation of such sale or transfer, be automatically released from its obligations
under this Agreement (including under Section 10.2 hereof) and its obligations to pledge and grant any Collateral
owned by it pursuant to any Loan Document and the pledge of such Equity Interests to Agent pursuant to the Loan
Documents shall be automatically released, and, so long as Borrower shall have provided Agent such certifications
or documents as Agent shall reasonably request, Agent shall take such actions as are necessary to effect each release
described in this Section 11.9 in accordance with the relevant provisions of the Loan Documents, so long as
Borrower shall have provided Agent such certifications or documents as Agent shall reasonably request in order to
demonstrate compliance with this Agreement.

11.10 Right of Contribution.Each Subsidiary Guarantor hereby agrees that to the extent that a Subsidiary
Guarantor shall have paid more than its proportionate share of any payment made hereunder, such Subsidiary
Guarantor shall be entitled to seek and receive contribution from and against any other Subsidiary Guarantor
hereunder which has not paid its proportionate share of such payment. Each Subsidiary Guarantor’s right of
contribution shall be subject to the terms and conditions of Section 11.4. The provisions of this Section 11.10 shall
in no respect limit the obligations and liabilities of any Subsidiary Guarantor to Agent and the Lenders, and each
Subsidiary Guarantor shall remain liable to Agent and the Lenders for the full amount guaranteed by such
Subsidiary Guarantor hereunder.

12.             SUPERPRIORITY NATURE OF OBLIGATIONS AND LENDERS’ LIENS

12.1     Priority of Liens.
The priority of the Agent’s Liens on the Collateral shall be as set forth in the Orders.

12.2     Covenants, Representations and Warranties.
Each Debtor hereby covenants, represents and warrants that, upon entry of the Interim Order (and the Final Order, as
applicable) and subject to the terms of the Orders and the Intercreditor Agreement, all Obligations will be:

         (a)    entitled to superpriority claim status under Section 364(c)(1) of the Bankruptcy Code, which claims
         shall have priority in right of payment over any and all other obligations, liabilities and indebtedness of the
         Debtors, now in existence or hereafter incurred by the Debtors and over any and all administrative expenses
         or priority claims of the kind specified in, or ordered pursuant to, inter alia, Bankruptcy Code §§ 105, 326,
         328, 330, 331, 503(b), 507(a), 507(b), 704 and/or 364(c)(1) (the “Super-Priority Claims”), whether or not
         such expenses or claims may become secured by a judgment lien or other non-consensual lien, levy or
         attachment, which allowed claims shall be payable from and have recourse to all pre- and post-petition
         property of the Debtors and all proceeds thereof, including, without limitation, subject to the entry of the
         Final Order, all proceeds or other amounts received in respect of the Debtors’ claims and causes of action
         arising under chapter 5 of the Bankruptcy Code or the proceeds or other amounts received in respect
         thereof (such claims and causes of action, collectively the “Avoidance Actions”);

         (b)     secured, pursuant to Bankruptcy Code § 364(d), by valid, perfected, enforceable and non-avoidable
         first priority priming liens on and security interests in all now owned or hereafter acquired assets and
         property of the Debtors; and

         (c)     secured pursuant to Bankruptcy Code 364(c)(3) by valid, perfected, enforceable and non-avoidable
         liens and security interests in all in now owned or hereafter acquired assets and property of the Debtors and
         proceeds thereof.

12.3     [Reserved].

12.4     Carve-Out.




                                                           62
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 330 of 388



The Agent’s and the Lenders’ Liens on the Collateral owned by the Debtors and their administrative claim under
Sections 364(c)(1) of the Bankruptcy Code afforded the Obligations shall be subject and subordinate only to a carve-
out for the following (herein after referred to as the “Carve-Out”):

         (a)     prior to occurrence of an Event of Default and delivery of a notice of such Event of Default to the
         Debtors, up to the amounts as set forth in the Cash Flow Budget that are necessary to pay (i) all fees
         required to be paid to the Clerk of the Bankruptcy Court and to the Office of the U.S. Trustee under section
         1930(a) of title 28 of the United States Code; (ii) [reserved], (iii) fees and expenses incurred by the Debtors
         in respect of compensation for services rendered or reimbursement of expenses allowed by the Bankruptcy
         Court to the Debtors’ professionals (whether or not allowed prior to the occurrence of an Event of Default);
         (iv) fees due to Greenhill & Co. LLC in an aggregate amount not to exceed the sum of (x) $2,900,000, plus
         (y) $100,000 per month (the “Monthly Fee”) for each month that Greenhill & Co. LLC assists the Debtors
         during the Chapter 11 Cases, which fees are being paid pursuant to that certain engagement letter dated
         December 21, 2022, as amended, between certain of the Debtors and Greenhill & Co. LLC (the
         “Engagement Letter”); provided that Greenhill & Co. LLC has agreed that, upon the closing of the sale of
         substantially all of the assets of the Debtors, the fee to be paid to Greenhill pursuant to clause (x) above
         shall be reduced, in accordance with the terms of the Engagement Letter, by an amount equal to 50% of the
         aggregate Monthly Fee paid to Greenhill & Co. LLC for its assistance to the Debtors during the Chapter 11
         Cases, and (v) fees and expenses incurred by any statutory committee appointed in the Chapter 11 Cases
         (each, a “Committee”), in respect of compensation for services rendered or reimbursement of expenses
         allowed by the Bankruptcy Court to the Debtors’ or any Committee’s professionals (the “Professionals”)
         or to the members of any Committee for reasonable expenses incurred in the performance of their duties
         (but excluding fees and expenses of third party professionals employed by such members), in each case
         incurred (whether or not paid or allowed by the Bankruptcy Court) prior to the delivery of the notice of the
         occurrence of an Event of Default (the “Carve-Out Trigger Notice”);

         (b)     after the delivery of a Carve-Out Trigger Notice, an amount not exceeding $300,000 (the “Post-
         Carve Out Trigger Notice Cap”), to pay the fees or expenses incurred following the delivery of such
         Carve-Out Trigger Notice by the Professionals, in respect of compensation for services rendered or
         reimbursement of expenses allowed by the Bankruptcy Court; provided, however, that the dollar amount in
         this clause (b) shall not be reduced by payments made pursuant to clause (a) above;

         (c)    No proceeds from the Term Loans or cash collateral (as that term is defined in 11 U.S.C. 363(a)) is
         to be utilized for the payment of professional fees, disbursements, costs or expenses incurred in connection
         with asserting or preparing for any claims or causes of action against the Lenders, the Agent, the
         Prepetition Term Loan Lenders or the Prepetition Term Loan Agent, and/or challenging or raising any
         defenses to the Obligations, the pre-petition obligations under the Prepetition Term Loan Agreement, or the
         Liens of the Agent, the Lenders, the Prepetition Term Loan Agent or the Prepetition Term Loan Lenders.

         (d)    In the event of a conversion of a Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code,
         the Required Lenders consent to the charging against the Collateral of any amounts of the Carve-Out that
         have accrued through the date of any such conversion; provided, however, that in no event shall any of the
         Carve-Out include any fees or expenses incurred after the conversion of the Chapter 11 Cases to cases
         under Chapter 7 of the Bankruptcy Code (other than as permitted under clauses (a) and (b) above).

         (e)    Except as set forth herein or in the Orders, no other claim having a priority superior to or pari passu
         with that granted to the Agent and the Lenders by the Orders shall be granted or approved while any
         Obligations under this Agreement remain outstanding.

12.5      Security Interest.
Subject to the priorities set forth in Section 12.1 above and to the Carve-Out, as to all Collateral, including, without
limitation, all real property the title to which is held by the Debtors, or the possession of which is held by any Debtor
pursuant to a leasehold interest, each Debtor hereby assigns and conveys as security, grants a security interest in,
hypothecates, mortgages, pledges and sets over unto the Agent, on behalf of the Lenders, all of the right, title and
interest of the Debtors in all of such Collateral, including without limitation, all owned real property and in all such
leasehold interests, together in each case with all of the right, title and interest of the Debtors in and to all buildings,



                                                            63
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 331 of 388



improvements, and fixtures related thereto, any lease or sublease thereof, all general intangibles relating thereto and
all proceeds thereof. Each Debtor acknowledges that, pursuant to the Orders, the Liens granted in favor of the
Agent (on behalf of the Lenders) in all of the Collateral shall be perfected without the recordation of any Uniform
Commercial Code financing statements, notices of Lien or other instruments of mortgage or assignment.
Notwithstanding the foregoing, or any failure on the part of any Debtor and the Agent to take any further act to
perfect, maintain, protect or enforce the Liens and security interests in the Collateral granted hereunder, the Orders
(when entered) shall automatically, and without further action by any Person, perfect such Liens and security
interests against the Collateral. Each Debtor further agrees that (i) the Agent shall have rights and remedies set forth
in Section 7.2 in respect of the Collateral and (ii) if requested by the Agent, the Debtors shall enter into separate
security agreements, control agreements, pledge agreements and fee and leasehold mortgages with respect to such
Collateral on terms reasonably satisfactory to counsel to the Agent.

                     [Remainder of Page Intentionally Left Blank, Next Page is Signature Page]




                                                          64
           Case 23-10961-BLS         Doc 13-1     Filed 07/22/23      Page 332 of 388



               IN WITNESS WHEREOF, this Superpriority Senior Secured Debtor-In-Possession Term Loan,
Guarantee and Security Agreement has been duly executed as of the date first written above.


                                              WILLIAMS INDUSTRIAL SERVICES GROUP INC., as
                                              Borrower and Grantor

                                              By:        _____________________________
                                              Name:
                                              Title:


                                              WILLIAMS INDUSTRIAL SERVICES GROUP, L.L.C., as
                                              Borrower and Grantor

                                              By:        _____________________________
                                              Name:
                                              Title:


                                              WILLIAMS INDUSTRIAL SERVICES, LLC, as Borrower
                                              and Grantor


                                              By:        _____________________________
                                              Name:
                                              Title:


                                              WILLIAMS SPECIALTY SERVICES, LLC, as Borrower
                                              and Grantor


                                              By:        _____________________________
                                              Name:
                                              Title:


                                              WILLIAMS PLANT SERVICES, LLC, as Borrower and
                                              Grantor


                                              By:        _____________________________
                                              Name:
                                              Title:


                                              WILLIAMS GLOBAL SERVICES, INC., as Borrower and
                                              Grantor


                                              By:        _____________________________
                                              Name:
                                              Title:


                                        SIGNATURE PAGE
                     SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
                         TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
Case 23-10961-BLS     Doc 13-1     Filed 07/22/23      Page 333 of 388



                              CONSTRUCTION & MAINTENANCE
                              PROFESSIONALS, LLC, as Borrower and Grantor


                              By:         _____________________________
                              Name:
                              Title:


                              WISG ELECTRICAL, LLC, as Borrower and Grantor

                              By:         _____________________________
                              Name:
                              Title:


                              GLOBAL POWER PROFESSIONAL SERVICES INC., as
                              Guarantor and Grantor


                              By:         _____________________________
                              Name:
                              Title:


                              GPEG, LLC, as Guarantor and Grantor


                              By:         _____________________________
                              Name:
                              Title:


                              STEAM ENTERPRISES LLC, as Guarantor and Grantor


                              By:         _____________________________
                              Name:
                              Title:


                              WISG CANADA LTD., as Guarantor and Grantor


                              By:         _____________________________
                              Name:
                              Title:


                              WISG NUCLEAR LTD., as Guarantor and Grantor


                              By:         _____________________________
                              Name:
                              Title:

                         SIGNATURE PAGE
       SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
           TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
Case 23-10961-BLS     Doc 13-1     Filed 07/22/23      Page 334 of 388




                              WISG ELECTRICAL LTD., as Guarantor and Grantor

                              By:         _____________________________
                              Name:
                              Title:




                         SIGNATURE PAGE
       SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
           TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
Case 23-10961-BLS     Doc 13-1     Filed 07/22/23       Page 335 of 388



                              EICF AGENT LLC, as Agent for the Lenders


                              By:
                              Name:
                              Title:


                              ENERGY IMPACT CREDIT FUND I LP, as a Lender

                              By: Energy Impact Credit Fund I GP LLC, its general partner


                              By:
                              Name:
                              Title:




                         SIGNATURE PAGE
       SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
           TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
Case 23-10961-BLS     Doc 13-1     Filed 07/22/23    Page 336 of 388



                              34TH STREET FUNDING, LLC, as a Lender


                              By:
                              Name:
                              Title:




                         SIGNATURE PAGE
       SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
           TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
Case 23-10961-BLS     Doc 13-1     Filed 07/22/23    Page 337 of 388



                              CROWDOUT CREDIT OPPORTUNITIES FUND LLC,
                              as a Lender


                              By:
                              Name:
                              Title:




                         SIGNATURE PAGE
       SUPERPRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
           TERM LOAN, GUARANTEE AND SECURITY AGREEMENT
              Case 23-10961-BLS               Doc 13-1         Filed 07/22/23          Page 338 of 388




                                                    SCHEDULE A

                                                   DEFINITIONS
Capitalized terms used in this Agreement and the other Loan Documents shall have (unless otherwise provided
elsewhere in this Agreement or in the other Loan Documents) the following respective meanings:

“Act” means the Small Business Investment Act of 1958, as amended and in effect from time to time, and the
regulations promulgated thereunder.

“Activation Notice has the meaning set forth in Section 3.26(e).

“Advances” shall mean one or more “Advances” (as defined in the Revolving Loan Agreement) made by the
lenders under the Revolving Loan Agreement, pursuant to the terms of the Revolving Loan Agreement, in an
aggregate principal amount outstanding at any time not exceeding the “Maximum Revolving Advance Amount” (as
defined in the Revolving Loan Agreement).

“Affected Lender” has the meaning given to such term in Section 1.14(a).

“Affiliate” means, with respect to any Person: (i) each other Person that, directly or indirectly, owns or controls,
whether beneficially, or as a trustee, guardian or other fiduciary, ten percent (10%) or more of the Stock having
ordinary voting power for the election of directors of such Person or (ii) each other Person that controls, is controlled
by or is under common control with such Person or any Affiliate of such Person. For the purpose of this definition,
“control” of a Person shall mean the possession, directly or indirectly, of the power to direct or cause the direction of its
management or policies, whether through the ownership of voting securities, by contract or otherwise.

“Agent” means the Person identified as such in the preamble of this Agreement.

“Agreement” means this Superpriority Senior Secured Debtor-in-Possession Term Loan, Guarantee and Security
Agreement including all appendices, exhibits or schedules attached or otherwise identified thereto, restatements and
modifications and supplements thereto, and any appendices, exhibits or schedules to any of the foregoing, each as in
effect at the time such reference becomes operative; provided, that except as specifically set forth in this Agreement,
any reference to the Disclosure Schedules to this Agreement shall be deemed a reference to the Disclosure Schedules as
in effect on the Closing Date or in a written amendment thereto delivered by Borrower to Agent.

“Anti-Money Laundering Laws” has the meaning given to such term in Section 3.22.

“Anti-Money Laundering Measures” has the meaning given to such term in Section 3.22.

“Anti-Terrorism Laws” has the meaning given to such term in Section 3.22.

“Applicable Margin” for any of the Term Loans shall be equal to 9.0% per annum.

“Asset Sale” shall mean (a) any conveyance, sale, lease, sublease, assignment, transfer or other disposition
(including by way of merger, amalgamation or consolidation and including any sale and leaseback transaction) of
any property excluding sales of inventory and dispositions of cash and cash equivalents, in each case, in the ordinary
course of business, by any Credit Party and (b) any issuance or sale of any Equity Interests of any Credit Party, in
each case, to any Person other than (i) Borrower, (ii) any other Credit Party or (iii) other than for purposes of
Section 5.4, any other Subsidiary.

“Assignee” has the meaning given to such term in Section 8(a).

“Assignment Agreement” has the meaning given to such term in Section 8(a).




                                                     SCHEDULE A - 1
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 339 of 388



“Attributable Indebtedness” shall mean, when used with respect to any sale and leaseback transaction, as at the
time of determination, the present value (discounted at a rate equivalent to the applicable Borrower’s then-current
weighted average cost of funds for borrowed money as at the time of determination, compounded on a semi-annual
basis) of the total obligations of the lessee for rental payments during the remaining term of the lease included in any
such sale and leaseback transaction.

“Available Tenor” shall mean, as of any date of determination and with respect to the then-current Benchmark, as
applicable, (x) if such Benchmark is a term rate, any tenor for such Benchmark (or component thereof) that is or
may be used for determining the length of an interest period pursuant to this Agreement or (y) otherwise, any
payment period for interest calculated with reference to such Benchmark (or component thereof) that is or may be
used for determining any frequency of making payments of interest calculated with reference to such Benchmark
pursuant to this Agreement, in each case, as of such date and not including, for the avoidance of doubt, any tenor or
interest period for such Benchmark that is not being used pursuant to Section 10.17(D). As of the date of this
Agreement, the only Available Tenors are (a) for SOFR Loans, Term SOFR with an interest period of 1 month, and
(b) for Base Rate Loans under clause (d) of the definition of Base Rate, Term SOFR with an interest period of 1
month; provided, that Agent may select to use additional interest periods in accordance with the terms of Section
10.17(D) and such interest periods shall become Available Tenors upon such selection.

“Avoidance Actions” has the meaning given to such term in Section 12.2(a).

“Bankruptcy Code” shall mean Title 11 of the United States Code entitled “Bankruptcy”, as now and/or hereinafter
in effect, or any successor thereto.

“Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware or any other court
having jurisdiction over the Chapter 11 Cases from time to time.

“Base Rate” means, as of any date of determination, a variable rate of interest per annum equal to the highest of
(a) two percent (2%), (b) the “Prime Rate” as published by the Wall Street Journal as of such date of determination
(or, if such rate ceases to be so published, as quoted from such other generally available and recognizable source as
Agent may reasonably select), (c) the sum of (i) the Federal Funds Rate plus (ii) one-half of one percent (0.50%),
and (d) Term SOFR for a one-month tenor in effect on such day plus 1.00 %.

“Base Rate Loans” means Loans bearing interest at rates determined by reference to the Base Rate.

“Benchmark” means, initially, the Term SOFR Reference Rate; provided that if a Benchmark Transition Event has
occurred with respect to the Term SOFR Reference Rate or the then-current Benchmark, then “Benchmark” means
the applicable Benchmark Replacement to the extent that such Benchmark Replacement has replaced such prior
benchmark rate pursuant to Section 10.17.

“Benchmark Replacement” means, with respect to any Benchmark Transition Event, the sum of: (x) the alternate
benchmark rate that has been selected by the Agent and the Borrower giving due consideration to (1) any selection
or recommendation of a replacement benchmark rate or the mechanism for determining such a rate by the Relevant
Governmental Body or (2) any evolving or then-prevailing market convention for determining a benchmark rate as a
replacement to the then-current Benchmark for U.S. dollar-denominated syndicated credit facilities and (y) the
related Benchmark Replacement Adjustment; provided that, if such Benchmark Replacement as so determined
would be less than 1.00% per annum, the Benchmark Replacement will be deemed to be 1.00% per annum for the
purposes of this Agreement and the other Loan Documents.

“Benchmark Replacement Adjustment” means, with respect to any replacement of the then-current Benchmark
with an Unadjusted Benchmark Replacement, the spread adjustment, or method for calculating or determining such
spread adjustment, (which may be a positive or negative value or zero) that has been selected by the Agent and the
Borrower giving due consideration to (x) any selection or recommendation of a spread adjustment, or method for
calculating or determining such spread adjustment, for the replacement of such Benchmark with the applicable
Unadjusted Benchmark Replacement by the Relevant Governmental Body or (y) any evolving or then-prevailing
market convention for determining a spread adjustment, or method for calculating or determining such spread




                                                   SCHEDULE A - 2
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 340 of 388



adjustment, for the replacement of such Benchmark with the applicable Unadjusted Benchmark Replacement for
U.S. dollar- denominated syndicated credit facilities at such time.

“Benchmark Replacement Date” means the earliest to occur of the following events with respect to the then-
current Benchmark:

    (a) in the case of clause (a) or (b) of the definition of “Benchmark Transition Event”, the later of (i) the date of
        the public statement or publication of information referenced therein and (ii) the date on which the
        administrator of such Benchmark (or the published component used in the calculation thereof) permanently
        or indefinitely ceases to provide all Available Tenors of such Benchmark (or such component thereof); or

    (b) in the case of clause (c) of the definition of “Benchmark Transition Event”, the first date on which such
        Benchmark (or the published component used in the calculation thereof) has been determined and
        announced by the regulatory supervisor for the administrator of such Benchmark (or such component
        thereof) to be non-representative; provided that such non-representativeness will be determined by
        reference to the most recent statement or publication referenced in such clause (c) and even if any
        Available Tenor of such Benchmark (or such component thereof) continues to be provided on such date.

“Benchmark Transition Event” means the occurrence of one or more of the following events with respect to the
then-current Benchmark:

    (a) a public statement or publication of information by or on behalf of the administrator of such Benchmark (or
        the published component used in the calculation thereof) announcing that such administrator has ceased or
        will cease to provide all Available Tenors of such Benchmark (or such component thereof), permanently or
        indefinitely, provided that, at the time of such statement or publication, there is no successor administrator
        that will continue to provide any Available Tenor of such Benchmark (or such component thereof);

    (b) a public statement or publication of information by the regulatory supervisor for the administrator of such
        Benchmark (or the published component used in the calculation thereof), the Federal Reserve Board, the
        Federal Reserve Bank of New York, an insolvency official with jurisdiction over the administrator for such
        Benchmark (or such component), a resolution authority with jurisdiction over the administrator for such
        Benchmark (or such component) or a court or an entity with similar insolvency or resolution authority over
        the administrator for such Benchmark (or such component), which states that the administrator of such
        Benchmark (or such component) has ceased or will cease to provide all Available Tenors of such
        Benchmark (or such component thereof) permanently or indefinitely; provided that, at the time of such
        statement or publication, there is no successor administrator that will continue to provide any Available
        Tenor of such Benchmark (or such component thereof); or

    (c) a public statement or publication of information by the regulatory supervisor for the administrator of such
        Benchmark (or the published component used in the calculation thereof) announcing that all Available
        Tenors of such Benchmark (or such component thereof) are not, or as of a specified future date will not be,
        representative.

         For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred with respect
to any Benchmark if a public statement or publication of information set forth above has occurred with respect to
each then-current Available Tenor of such Benchmark (or the published component used in the calculation thereof).

“Benchmark Transition Start Date” means in the case of a Benchmark Transition Event, the earlier of (1) the
applicable Benchmark Replacement Date and (2) if such Benchmark Transition Event is a public statement or
publication of information of a prospective event, the 90th day prior to the expected date of such event as of such
public statement or publication of information (or if the expected date of such prospective event is fewer than 90
days after such statement or publication, the date of such statement or publication).

“Benchmark Unavailability Period” means, the period, if any, (x) beginning at the time that such Benchmark
Replacement Date has occurred if, at such time, no Benchmark Replacement has replaced the then-current




                                                   SCHEDULE A - 3
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 341 of 388



Benchmark for all purposes hereunder and under any Loan Document in accordance with Section 10.17 and (y)
ending at the time that a Benchmark Replacement has replaced the then-current Benchmark for all purposes
hereunder and under any Loan Document pursuant to Section 10.17.

“Bidding Procedures” has the meaning given to such term in Section 4.5(a).

“Bidding Procedures Motion” has the meaning given to such term in Section 4.5(a).

“Blocked Accounts” has the meaning given to such term in Section 3.26(a).

“Board of Directors” means, with respect to any Person, (i) in the case of any corporation or unlimited liability
corporation, the board of directors of such Person, (ii) in the case of any limited liability company, the sole member or
manager or the board of managers of such Person, (iii) in the case of any partnership, the board of directors or the board
of managers, as applicable, of the general partner of such Person and (iv) in any other case, the functional equivalent of
the foregoing.

“Books and Records” means all books, records, board minutes, contracts, licenses, insurance policies, environmental
audits, business plans, files, computer files, computer discs and other data and software storage and media devices,
accounting books and records, financial statements (actual and pro forma), filings with Governmental Authorities and
any and all records and instruments relating to the Collateral or each Grantor’s business.

“Borrower” means the Persons identified as such in the preamble of this Agreement.

“Borrowing Availability” means the amounts available to be borrowed under Section 2.1(a) of the Revolving Loan
Agreement as in effect on the date hereof without giving effect to any amendments or modifications thereto after the
date hereof.

“Borrowing Base Certificate” (and the definitions used in such term) shall have the meaning ascribed thereto in the
Revolving Loan Agreement as in effect on the date hereof without giving effect to any amendments or modifications
thereto after the date hereof, except to the extent permitted by the Intercreditor Agreement.

“Borrowing Request” means each Borrowing Request delivered to Agent in substantially the form of Exhibit J
pursuant to Section 1.1(a) or (b).

“Braden” shall mean Braden Holdings, LLC, a Delaware limited liability company.

“Braden Mexico” shall mean Braden Manufacturing SA de CV, a company formed under the laws of Mexico.

“BSA” has the meaning given to such term in Section 3.22.

“Business Day” means any day that is not a Saturday, a Sunday or a day on which banks are required or permitted to
be closed in the State of New York.

“Canadian Credit Party” means WISG Canada, WISG Nuclear, WISG Electrical and each other Credit Party
joined hereto from time to time who is formed or organized under the laws of Canada or any province or territory
thereof.

“Canadian AML/Sanction Laws” means Parts II.1, XII.2 and s. 354 of the Criminal Code (Canada), the Special
Economic Measures Act (Canada), the United Nations Act (Canada), the Proceeds of Crime (Money Laundering) and
Terrorist Financing Act (Canada), the Corruption of Foreign Public Officials Act (Canada), the Freezing Assets of
Corrupt Foreign Officials Act (Canada), and the Justice for Victims of Corrupt Foreign Officials Act (Sergei Magnitsky
Law) (Canada), in each case including all regulations promulgated thereunder and as amended from time to time.

“Canadian Insolvency Laws” means any of the Bankruptcy and Insolvency Act (Canada), the Companies’
Creditors Arrangement Act (Canada), the Winding-up and Restructuring Act (Canada), and any other applicable
insolvency or other similar law of Canada or any province or territory thereof relating to bankruptcy, insolvency,



                                                    SCHEDULE A - 4
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 342 of 388



assignments for the benefit of creditors, formal or informal moratoria, compositions, compromises or extensions
generally with creditors, or proceedings seeking reorganization, recapitalization, arrangement, dissolution,
liquidation, winding-up or other similar relief (including, without limitation, the Canadian corporate statutes when
relied upon in connection with any of the foregoing, unless the reorganization or arrangement does not compromise
the claims of creditors).

“Canadian Pension Plan” means each plan, program or arrangement that is a “registered pension plan” as such
term is defined under subsection 248(1) of the Income Tax Act (Canada) or is subject to the funding requirements of
applicable pension benefits legislation in any Canadian jurisdiction which is maintained, sponsored, administered or
contributed to by a Credit Party or Subsidiary thereof.

“Capital Assets” means, with respect to any Person, all equipment, fixed assets and Real Property or improvements
of such Person, or replacements or substitutions therefor or additions thereto, that, in accordance with GAAP, have
been or should be reflected as additions to property, plant or equipment on the balance sheet of such Person.

“Capital Expenditures” means, with respect to any Person, all expenditures made directly or indirectly by the
Credit Parties during such period for Capital Assets (whether paid in cash or other consideration, financed by the
incurrence of Indebtedness or accrued as a liability).

“Capital Lease” means, with respect to any Person, any lease of any property (whether real, personal or mixed) by
such Person as lessee that, in accordance with GAAP, either would be required to be classified and accounted for as a
capital lease on a balance sheet of such Person or otherwise would be disclosed as such in a note to such balance sheet,
other than, in the case of Borrower, any such lease under which Borrower is the lessor; provided, no effect shall be
given to any change to GAAP occurring after the Closing Date as a result of the adoption of any proposals set forth
in the Proposed Accounting Standards Update, Leases (Topic 840), issued by the Financial Accounting Standards
Board on August 17, 2010, or any other proposals issued by the Financial Accounting Standards Board in
connection therewith, in each case if such change would require treating any lease (or similar arrangement
conveying the right to use) as a capital lease where such lease (or similar arrangement) was not required to be so
treated under GAAP as in effect on the Closing Date.

 “Capital Lease Obligation” means, of any Person, the obligations of such Person to pay rent or other amounts
under any lease of (or other arrangement conveying the right to use) real or personal property, or a combination
thereof, which obligations are required to be classified and accounted for as Capital Leases on a balance sheet of
such Person under GAAP, and the amount of such obligations shall be the capitalized amount thereof determined in
accordance with GAAP, without giving effect to any change to GAAP as a result of the adoption of any proposals
set forth in the Proposed Accounting Standards Update, Leases (Topic 840), issued by the Financial Accounting
Standards Board on August 17, 2010, or any other proposals issued by the Financial Accounting Standards Board in
connection therewith, in each case if such change would require treating any lease (or similar arrangement
conveying the right to use) as a capital lease where such lease (or similar arrangement) was not required to be so
treated under GAAP as in effect on the Closing Date.

“Captive Insurance Subsidiary” means a wholly-owned Subsidiary of a Credit Party formed after the Closing Date
that (a) provides bona fide risk-mitigation services for any Credit Party or the Credit Parties (and no other Persons), (b)
is subject to regulation under applicable law as an insurance company, and (c) has been formed, and continues to be
operated, because the Credit Parties have reasonably determined that either (1) the Credit Parties cannot find a third-
party insurer to insure them against particular business risks that the insurance subsidiary provides insurance for, (2) the
premiums paid to the insurance subsidiary result in material tax savings for the Credit Parties (taken on a consolidated
basis), and/or (3) the insurance provided by the insurance subsidiary is more affordable, and/or offers better coverage
(taken as a whole), than is available from a third-party insurer.

“Carve-Out” has the meaning ascribed to such term in Section 12.4.

“Carve-Out Trigger Notice” has the meaning ascribed to such term in Section 12.4(a).

“Cash Equivalents” means (a) any readily-marketable securities (i) issued by, or directly, unconditionally and fully
guaranteed or insured by the United States or Canadian federal government or (ii) issued by any agency of the



                                                     SCHEDULE A - 5
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 343 of 388



United States or Canadian federal government the obligations of which are fully backed by the full faith and credit
of the United States or Canadian federal government, (b) any readily-marketable direct obligations issued by any
other agency of the United States or Canadian federal government, any state of the United States, any province or
territory of Canada, or any political subdivision of any such state, province or territory or any public instrumentality
thereof, in each case having a rating of at least “A-1” from S&P or at least “P-1” from Moody’s, (c) any commercial
paper rated at least “A-1” by S&P or “P-1” by Moody’s and issued by any Person organized under the laws of any
state of the United States or under the laws of Canada or any province or territory thereof, (d) any Dollar-
denominated or Canadian Dollar-denominated time deposit, insured certificate of deposit, overnight bank deposit or
bankers’ acceptance issued or accepted by (i) any Lender or (ii) any commercial bank that is (A) organized under the
laws of the United States, any state thereof or the District of Columbia, or under the laws of Canada, (B) “adequately
capitalized” (as defined in the regulations of its primary federal banking regulators) and (C) has Tier 1 capital (as
defined in such regulations) in excess of $250,000,000 and (e) shares of any United States or Canadian money
market fund that (i) has substantially all of its assets invested continuously in the types of investments referred to in
clause (a), (b), (c) or (d) above with maturities as set forth in the proviso below, (ii) has net assets in excess of
$500,000,000 and (iii) has obtained from either S&P or Moody’s the highest rating obtainable for money market
funds in the United States or Canada; provided, however, that the maturities of all obligations specified in any of
clauses (a), (b), (c) or (d) above shall not exceed 365 days.

“Cash Flow Budget” has the meaning ascribed to such term in Section 4.1(f)(i).

“Cash Management System” has the meaning ascribed to such term in Section 3.26(a).

“Casualty Event” shall mean any involuntary loss of title or ownership, any involuntary loss of, damage to or any
destruction of, or any condemnation or other taking (including by any Governmental Authority) of, any property of a
Credit Party. “Casualty Event” shall include but not be limited to any taking of all or any part of any Real Property
of any Person or any part thereof, in or by condemnation or other eminent domain proceedings pursuant to any
Requirement of Law, or by reason of the temporary requisition of the use or occupancy of all or any part of any Real
Property of any Person or any part thereof by any Governmental Authority, civil or military, or any settlement in
lieu thereof.

“Change of Control” means any event, transaction or occurrence as a result of which:

         (a) any Person or “group” (within the meaning of Rules 13d-3 and 13d-5 under the Exchange Act) (i) shall
have acquired beneficial ownership of 35% or more on a fully diluted basis of the voting and/or economic interest in
the Equity Interests of Holdings or (ii) shall have obtained the power (whether or not exercised) to elect a majority of
the members of the board of directors (or similar governing body) of Holdings;

          (b) the majority of the seats (other than vacant seats) on the board of directors (or similar governing body) of
Holdings cease to be occupied by Persons who either (i) were members of the board of directors of Holdings on the
Closing Date, or (ii) were nominated for election by the board of directors of Holdings, a majority of whom were
directors on the Closing Date or whose election or nomination for election was previously approved by a majority of
such directors;

          (c) except with respect to Braden, Braden Mexico and any Inactive Subsidiary, in each case, to the extent
permitted by this Agreement, the Borrower fails to own 100% (on a fully diluted basis) of the voting and economic
interests of the Equity Interests of its Subsidiaries; or

         (d) a “Change of Control” or term of similar import shall occur under the Revolving Loan Agreement.

“Charges” means all federal, state, provincial, territorial, county, city, municipal, local, foreign or other governmental
taxes (including taxes owed to PBGC at the time due and payable), levies, customs or other duties, assessments,
charges, liens, additional charges, interest, penalties, expenses, claims or encumbrances assessed or imposed by any
Governmental Authority upon or relating to (i) the Collateral, (ii) the Obligations, (iii) the employees, payroll, income
or gross receipts of any Credit Party, (iv) the ownership or use of any assets by any Credit Party, or (v) any other aspect
of any Credit Party’s business.




                                                    SCHEDULE A - 6
             Case 23-10961-BLS               Doc 13-1         Filed 07/22/23         Page 344 of 388



“Chubb Proceedings” means the legal proceedings filed in October, 2020 against Chubb Group of Insurance
Companies alleging the failure of Chubb to provide required insurance coverage for the payment of costs and expenses
incurred by Holdings in connection with certain shareholder litigation and the prior restatement of its financial
statements.

“Chief Executive Office” means the chief executive office of any Credit Party as set forth on Disclosure Schedule
(3.2) hereto.

“Closing Certificate” means that certain closing certificate of Borrower delivered to Agent as of the Closing Date in
substantially the form of Exhibit F.

“Closing Date” means the Business Day on which the conditions precedent set forth in Section 2.1 have been satisfied
or specifically waived in writing by Agent.

“Code” means the Uniform Commercial Code as the same may, from time to time, be in effect in the State of New
York; provided, that in the event that, by reason of mandatory provisions of law, any or all of the attachment, perfection
or priority of, or remedies with respect to, Agent’s Lien on any Collateral is governed by the Uniform Commercial
Code as in effect in a jurisdiction other than the State of New York, the term “Code” shall mean the Uniform
Commercial Code as in effect in such other jurisdiction for purposes of the provisions of this Agreement relating to
such attachment, perfection, priority or remedies and for purposes of definitions related to such provisions; provided
further, that to the extent that the Code is used to define any term herein or in any Loan Document and such term is
defined differently in different Articles or Divisions of the Code, the definition of such term contained in Article or
Division 9 shall govern.

“Collateral” has the meaning assigned to it in Section 6.1.

“Collateral Documents” means, collectively, the Pledge Agreements, the Orders, the Mortgages, each Control
Agreement, and all other U.S. and foreign law security agreements, pledge agreements, patent, trademark and
industrial design security agreements, lease assignments, guarantees and other similar agreements, and all
amendments, restatements, modifications or supplements thereof or thereto, by or between any one or more of any
Credit Party, any of their respective Subsidiaries or any other Person pledging or granting a Lien on Collateral or
guaranteeing the payment and performance of the Obligations, and any Lender or Agent for the benefit of Agent and
the Lenders now or hereafter delivered to the Lenders or Agent pursuant to or in connection with the transactions
contemplated hereby, and all financing statements (or comparable documents now or hereafter filed in accordance
with the UCC, PPSA or any other applicable law) against any such Person as debtor in favor of any Lender or Agent
for the benefit of Agent and the Lenders, as secured party, as any of the foregoing may be amended, restated and/or
modified from time to time. The Collateral Documents (other than the Orders) shall supplement and shall not limit
the security interests granted pursuant to the Orders; provided that in the event of any inconsistency between the
Collateral Documents and the Orders, the Orders shall control in all respects.

“Committee” has the meaning assigned to it in Section 12.4(a).

“Compliance Certificate” means a compliance certificate in the form attached as Exhibit E hereto executed by a
Responsible Officer of the Borrower relating to the consolidated financial performance of the Credit Parties.

“Conforming Changes” means, with respect to either the use or administration of Term SOFR or the use,
administration, adoption or implementation of any Benchmark Replacement, any technical, administrative or
operational changes (including changes to the definition of “Business Day,” the definition of “Base Rate” and the
definition of “U.S. Government Securities Business Day”, the addition of a concept of “interest period”, timing and
frequency of determining rates and making payments of interest and other technical, administrative or operational
matters) that Agent decides may be appropriate to reflect the adoption and implementation of any such rate and to
permit the use and administration thereof by Agent in a manner substantially consistent with market practice (or, if
Agent decides that adoption of any portion of such market practice is not administratively feasible or if Agent
determines that no market practice for the administration of any such rate exists, in such other manner of
administration as Agent decides is reasonably necessary in connection with the administration of this Agreement and
the other Loan Documents).



                                                    SCHEDULE A - 7
               Case 23-10961-BLS            Doc 13-1        Filed 07/22/23         Page 345 of 388




 “Consolidated Amortization Expense” shall mean, for any period, the amortization expense of the Credit Parties for
such period, determined on a consolidated basis in accordance with GAAP.

 “Consolidated Depreciation Expense” shall mean, for any period, the depreciation expense of the Credit Parties for
such period, determined on a consolidated basis in accordance with GAAP.

“Consolidated EBITDA” shall mean, for any period, Consolidated Net Income for such period, adjusted by (x) adding
thereto, in each case only to the extent (and in the same proportion) deducted in determining such Consolidated Net
Income and without duplication, the following:

         (a)    Consolidated Interest Expense for such period,

         (b)    Consolidated Amortization Expense for such period,

         (c)    Consolidated Depreciation Expense for such period,

         (d)    Consolidated Tax Expense for such period,

         (e)    any non-cash expense, loss or charge for such period, including any non-cash write-downs or non-
         cash write-offs including fixed asset impairments or write-downs, intangible asset impairments and
         deferred tax asset write-offs (except to the extent that such non-cash expense, loss or charge is reserved for
         cash expense, loss or charge to be taken in any future period) of the Credit Parties and their Subsidiaries for
         such period,

         (f)   any extraordinary losses and unusual or non-recurring charges, in each case, in cash, including,
         without limitation, any severance, integration, facilities closing or relocation costs and curtailments or
         modifications to pension and post retirement employee benefit plans in an aggregate amount not to exceed
         $500,000 in any Fiscal Year,

         (g)    non-cash stock compensation expense,

         (h)    non-cash expenses recognized due to purchase accounting,

         (i)    one-time, non-recurring, customary and documented costs and expenses incurred in connection with
         the negotiation, execution and delivery of the Loan Documents,

         (j)    the aggregate amount of all other non-cash charges, expenses or losses reducing Consolidated Net
         Income (including for certainty all unrealized foreign exchange losses but excluding any non-cash charge,
         expense or loss that results in an accrual of a reserve for cash charges in any future period and any non-cash
         charge, expense or loss relating to write-offs, write-downs or reserves with respect to accounts or
         inventory) for such period,

         (k)    non-recurring losses and expenses incurred in connection with projects executed by Jacksonville,
         Florida management of the Credit Parties, one-time costs and expenses incurred in connection with the
         transmission and distribution business segment start-up, non-recurring costs and expenses arising out of the
         implementation of an ERP system, non-recurring costs and expenses arising out of pro forma headcount
         reductions implemented by the Credit Parties, and non-recurring costs and expenses arising out of the
         Champion/Powers litigation, in an aggregate amount not to exceed, (i) with respect to the Fiscal Quarter
         ending September 30, 2022, $5,000,000, and (ii) with respect to the Fiscal Quarter ending December 31,
         2022, $6,900,000, and


(y) subtracting therefrom the aggregate amount of all non-cash items increasing Consolidated Net Income (including
for certainty all unrealized foreign exchange gains but excluding the accrual of revenue or recording of receivables in
the ordinary course of business) for such period.



                                                   SCHEDULE A - 8
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 346 of 388



Consolidated EBITDA shall be calculated on a Pro Forma Basis to give effect to any Asset Sales (other than any
dispositions in the ordinary course of business) consummated at any time on or after the first day of the measuring
period and prior to the date of determination as if each such Asset Sale had been consummated on the day prior to the
first day of such period.

“Consolidated Fixed Charges” means, for any period, the sum (without duplication) of (a) Consolidated Interest
Expense, and (b) the aggregate amount of scheduled principal payments in respect of Indebtedness, including that
portion of rental payments with respect to Capital Leases which is or should be applied as a reduction to the principal of
such Capital Leases, determined on a consolidated basis for the Credit Parties and their respective Subsidiaries in
conformity with GAAP.

“Consolidated Indebtedness” shall mean, as at any date of determination, the aggregate amount of all Indebtedness of
the Credit Parties, and all letter of credit exposure of the Credit Parties under the Revolving Loan Agreement,
determined on a consolidated basis in accordance with GAAP.

“Consolidated Interest Expense” shall mean, for any period, the total consolidated interest expense of the Credit
Parties for such period determined on a consolidated basis in accordance with GAAP, excluding upfront financing fees
paid under the Fee Letters or under the Revolving Loan Documents, plus, without duplication:

         (a) imputed interest on Capital Lease Obligations and Attributable Indebtedness of the Credit Parties for such
             period;

         (b) commissions, discounts and other fees and charges owed by any Credit Party with respect to letters of
             credit securing financial obligations, bankers’ acceptance financing and receivables financings for such
             period;

         (c) amortization of debt issuance costs, debt discount or premium and other financing fees and expenses
             incurred by any Credit Party for such period;

         (d) cash contributions to any employee stock ownership plan or similar trust made by any Credit Party to the
             extent such contributions are used by such plan or trust to pay interest or fees to any Person (other than
             interest paid to Borrower or a wholly-owned Subsidiary of Borrower) in connection with Indebtedness
             incurred by such plan or trust for such period;

         (e) all interest paid or payable with respect to discontinued operations of any Credit Party for such period;

         (f) the interest portion of any deferred payment obligations of any Credit Party for such period;

         (g) all interest on any Indebtedness of the Credit Parties of the type described in clause (f) or (k) of the
             definition of “Indebtedness” for such period.

Consolidated Interest Expense shall be calculated on a Pro Forma Basis to give effect to any Indebtedness (other than
Indebtedness incurred for ordinary course working capital needs under ordinary course revolving credit facilities)
permanently repaid or extinguished at any time on or after the first day of the measuring period and prior to the date of
determination in connection with any Asset Sales (other than any dispositions in the ordinary course of business) as if
such repayment or extinguishing had been effected on the first day of such period.

“Consolidated Net Income” shall mean, for any period, the consolidated net income (or loss) of the Credit Parties
determined on a consolidated basis in accordance with GAAP plus the net income (or loss) of the Permitted Joint
Ventures; provided that there shall be excluded from such net income (to the extent otherwise included therein),
without duplication:

         (a) the net income (or loss) of any Person (other than a Subsidiary of any Credit Party), including any
             Permitted Joint Venture, in which any Person other than a Credit Party or its Subsidiaries also has an
             ownership interest, except to the extent that cash in an amount equal to any such income has actually been
             received by such Credit Party or (subject to clause (b) below) any of its Subsidiaries during such period;



                                                    SCHEDULE A - 9
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 347 of 388




         (b) the net income of any Subsidiary of any Credit Party during such period to the extent that the declaration
             or payment of dividends or similar distributions by such Subsidiary of that income is not permitted by
             operation of the terms of its Organizational Documents or any agreement, instrument or Requirement of
             Law applicable to that Subsidiary during such period;

         (c) any gain (or loss), together with any related provisions for taxes on any such gain (or the tax effect of any
             such loss), realized during such period by any Credit Party upon any Asset Sale (other than any
             dispositions in the ordinary course of business) by any Credit Party;

         (d) gains and losses due solely to fluctuations in currency values and the related tax effects determined in
             accordance with GAAP for such period;

         (e) earnings resulting from any reappraisal, revaluation or write-up of assets;

         (f) unrealized gains and losses with respect to Hedging Obligations for such period; and

         (g) any extraordinary gain (or extraordinary loss), together with any related provision for taxes on any such
             gain (or the tax effect of any such loss), recorded or recognized by any Credit Party during such period.

“Consolidated Tax Expense” shall mean, for any period, the tax expense of the Credit Parties, for such period,
determined on a consolidated basis in accordance with GAAP.

“Consolidated Working Capital” shall mean, for any period, the working capital (current assets (other than cash and
Cash Equivalents) minus current liabilities (other than “Revolving Advances” under the Revolving Loan Agreement
and any of Borrower’s current liabilities on such Revolving Advances and current maturities of long term
Indebtedness) of the Credit Parties, for such period, determined on a consolidated basis in accordance with GAAP.

“Contingent Obligation” shall mean, as to any Person, any obligation, agreement, understanding or arrangement of
such Person guaranteeing or intended to guarantee any Indebtedness, leases, dividends or other obligations (“primary
obligations”) of any other Person (the “primary obligor”) in any manner, whether directly or indirectly, including any
obligation of such Person, whether or not contingent, (a) to purchase any such primary obligation or any property
constituting direct or indirect security therefor; (b) to advance or supply funds (i) for the purchase or payment of any
such primary obligation or (ii) to maintain working capital or equity capital of the primary obligor or otherwise to
maintain the net worth or solvency of the primary obligor; (c) to purchase property, securities or services primarily for
the purpose of assuring the owner of any such primary obligation of the ability of the primary obligor to make payment
of such primary obligation; (d) with respect to bankers’ acceptances, letters of credit and similar credit arrangements,
until a reimbursement obligation arises (which reimbursement obligation shall constitute Indebtedness); or
(e) otherwise to assure or hold harmless the holder of such primary obligation against loss in respect thereof; provided,
however, that the term “Contingent Obligation” shall not include endorsements of instruments for deposit or collection
in the ordinary course of business or any product warranties. The amount of any Contingent Obligation shall be
deemed to be an amount equal to the stated or determinable amount of the primary obligation in respect of which such
Contingent Obligation is made (or, if less, the maximum amount of such primary obligation for which such Person may
be liable, whether singly or jointly, pursuant to the terms of the instrument evidencing such Contingent Obligation) or,
if not stated or determinable, the maximum reasonably anticipated liability in respect thereof (assuming such Person is
required to perform thereunder) as determined by such Person in good faith.

“Contractual Obligation” means as to any Person, any provision of any security issued by such Person or of any
agreement, instrument, or other undertaking to which such Person is a party or by which it or any of its property is
bound.

“Control Agreement” means a deposit account control agreement and/or lock box agreement among any financial
institution at which a Blocked Account is maintained, the Agent and the applicable Credit Party, which shall
provide, among other things, that such financial institution executing such agreement has no rights of setoff or
recoupment or any other claim against such Blocked Account other than for payment of its service fees and other
charges directly related to the administration of such account, and shall give the Agent (i) in the case of Blocked



                                                   SCHEDULE A - 10
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 348 of 388



Accounts at offices located in the United States, “control” of such Blocked Account as such term is defined in
Section 9-104 of the Code, or (ii) in the case of Blocked Account at offices located in Canada, de facto control of
such Blocked Accounts, in each case subject to the terms of the Intercreditor Agreement.

“Copyrights” shall mean all of the following now owned or hereafter adopted or acquired by any Person: (i) all
copyrights in any original work of authorship fixed in any tangible medium of expression, now known or later
developed, all registrations and applications for registration of any such copyrights in the United States or any other
country, including registrations, recordings and applications, and supplemental registrations, recordings, and
applications in the United States Copyright Office and the Canadian Intellectual Property Office; and (ii) all Proceeds
of the foregoing, including license royalties and proceeds of infringement suits, the right to sue for past, present and
future infringements, all rights corresponding thereto throughout the world and all renewals and extensions thereof.

“Credit Parties” means the Borrower and the Guarantors.

“Debt Issuance” shall mean the incurrence by any Credit Party of any Indebtedness after the Closing Date (other
than as permitted by Section 5.1).

“Debtor Relief Laws” means the Bankruptcy Code, the Canadian Insolvency Laws, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership,
insolvency, reorganization, or similar debtor relief laws of the United States, Canada or other applicable
jurisdictions from time to time in effect and affecting the rights of creditors generally.

“Debtors” means the Persons identified as such in the preamble of this Agreement

“Default” means any Event of Default or any event that, with the passage of time or notice or both, would, unless cured
or waived, become an Event of Default.

“Default Rate” has the meaning assigned to it in Section 1.5(c).

“Designated Person” has the meaning assigned to it in Section 3.22(a).

“Disqualified Capital Stock” shall mean, with respect to any Person, any Equity Interest which, by its terms (or by
the terms of any security into which it is convertible or for which it is exchangeable), or upon the happening of any
event, (a) matures (excluding any maturity as the result of an optional redemption by the issuer thereof) or is
mandatorily redeemable (other than solely for Qualified Capital Stock), pursuant to a sinking fund obligation or
otherwise, or is redeemable at the option of the holder thereof, in whole or in part, on or prior to the first anniversary
of the Maturity Date, (b) is convertible into or exchangeable (unless at the sole option of the issuer thereof) for
(i) debt securities or (ii) any Equity Interests referred to in (a) above, in each case at any time on or prior to the first
anniversary of the Maturity Date, or (c) contains any repurchase obligation which may come into effect prior to
payment in full of all Obligations; provided, however, that any Equity Interests that (x) would not constitute
Disqualified Capital Stock but for provisions thereof giving holders thereof (or the holders of any security into or for
which such Equity Interests is convertible, exchangeable or exercisable) the right to require the issuer thereof to
redeem such Equity Interests upon the occurrence of a change in control or an asset sale occurring shall not
constitute Disqualified Capital Stock or (y) are issued pursuant to a plan for the benefit of employees of any Credit
Party or any of its Subsidiaries or by any such plan to such employees, such Equity Interests shall not constitute
Disqualified Equity Interests solely because they may be required to be repurchased by Borrower or any of its
Subsidiaries in order to satisfy applicable statutory or regulatory obligations (provided, further, that Credit Parties
shall only be permitted to make redemptions and/or repurchases of such Equity Interests in accordance with the
terms of Section 5.7).

“Distributions” shall mean, collectively, with respect to each Credit Party, all dividends, cash, options, warrants,
rights, instruments, distributions, returns of capital or principal, income, interest, profits and other property, interests
(debt or equity), or proceeds, including as a result of a split, revision, reclassification or other like change of the
Pledged Securities, from time to time received, receivable or otherwise distributed to such Credit Party in respect of or
in exchange for any or all of the Pledged Securities.




                                                    SCHEDULE A - 11
              Case 23-10961-BLS                Doc 13-1        Filed 07/22/23          Page 349 of 388



“Dollars” or “$” means lawful currency of the United States of America.

“Embargoed Person” means any party that (i) is publicly identified on the most current list of “Specially Designated
Nationals and Blocked Persons” published by the OFAC or resides, is organized or chartered in a country or territory
subject to OFAC sanctions or embargo programs or (ii) is publicly identified as prohibited from doing business with
the United States under the International Emergency Economic Powers Act, the Trading With the Enemy Act, or any
other Requirement of Law relating to terrorism, trade sanctions programs and embargoes, money-laundering or bribery.

“Environmental Laws” means all federal, state, provincial, territorial and local laws, statutes, ordinances and
regulations, now or hereafter in effect, and in each case as amended or supplemented from time to time, and any
applicable judicial or administrative interpretation thereof relating to the regulation and protection of human health,
safety, the environment and natural resources (including ambient air, surface water, groundwater, wetlands, land
surface or subsurface strata, wildlife, aquatic species and vegetation).

“Environmental Liabilities” means all liabilities, obligations, responsibilities, remedial actions, removal costs, losses,
damages of whatever nature, costs and expenses (including all reasonable fees, disbursements and expenses of counsel,
experts and consultants and costs of investigation and feasibility studies), fines, penalties, sanctions and interest
incurred as a result of any claim, suit, action or demand of whatever nature by any Person and which relate to any
health or safety condition regulated under any Environmental Law, environmental permits or in connection with any
Release, threatened Release, or the presence of a Hazardous Material.

“Equity Interest” shall mean, with respect to any Person, any and all shares, interests, participations or other
equivalents, including membership interests (however designated, whether voting or nonvoting), of equity of such
Person, including, if such Person is a partnership, partnership interests (whether general or limited) and any other
interest or participation that confers on a Person the right to receive a share of the profits and losses of, or distributions
of property of, such partnership, whether outstanding on the date hereof or issued after the Closing Date, but excluding
debt securities convertible or exchangeable into such equity.

“Equity Issuance” shall mean, without duplication, (i) any issuance or sale by Holdings after the Closing Date of
any Equity Interests in Holdings (including any Equity Interests issued upon exercise of any warrant or option) or
any warrants or options to purchase Equity Interests or (ii) any contribution to the capital of Holdings; provided,
however, that an Equity Issuance shall not include (x) any Preferred Stock Issuance or Debt Issuance, (y) any such
sale or issuance by Holdings of not more than an aggregate amount of five percent (5.0%) of its Equity Interests
(including its Equity Interests issued upon exercise of any option, warrant, convertible security or option or warrants
or options to purchase its Equity Interests but excluding Disqualified Capital Stock), in each case, to directors,
officers or employees of any Credit Party and (z) any Excluded Issuance.

“ERISA” means the Employee Retirement Income Security Act of 1974 (or any successor legislation thereto), as
amended from time to time, and any regulations promulgated thereunder.

“ERISA Affiliate” means any trade or business (whether or not incorporated) that, together with any Credit Party, is
treated as a single employer under Section 414(b), (c), (m) or (o) of the IRC, or, solely for the purposes of
Section 302 of ERISA and Section 412 of the IRC, is treated as a single employer under Section 414 of the IRC.

“ERISA Event” shall mean (a) any “reportable event”, as defined in Section 4043 of ERISA or the regulations
issued thereunder with respect to a Plan (other than an event for which the 30-day notice period is waived); (b) the
existence with respect to any Plan of an “accumulated funding deficiency” (as referenced in Section 412 of the IRC
or Section 302 of ERISA), whether or not waived; (c) the filing pursuant to Section 412 of the IRC or Section 303 of
ERISA of an application for a waiver of the minimum funding standard with respect to any Plan; (d) the incurrence
by any Credit Party or any ERISA Affiliate of any material liability under Title IV of ERISA with respect to the
termination of any Plan; (e) the receipt by any Credit Party or any ERISA Affiliate from the PBGC or a plan
administrator of any notice relating to an intention to terminate any Plan or to appoint a trustee to administer any
Plan in an involuntary termination proceeding; (f) the incurrence by any Credit Party or any ERISA Affiliate of any
liability with respect to any withdrawal or partial withdrawal from any Plan or Multiemployer Plan; or (g) the
receipt by any Credit Party or any ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from any
Credit Party or any ERISA Affiliate of any notice, concerning the imposition of Withdrawal Liability or a



                                                     SCHEDULE A - 12
              Case 23-10961-BLS               Doc 13-1         Filed 07/22/23          Page 350 of 388



determination that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization, within the meaning
of Title IV of ERISA.

“Event of Default” has the meaning assigned to it in Section 7.1.

“Exchange Act” means the Securities Exchange Act of 1934, as amended from time to time.

“Excluded Accounts” shall mean (a) any Deposit Account that is used solely for payroll, payroll taxes, other
employee wage and benefit payments, or other fiduciary purposes, and (b) any Excluded ZBA Disbursement
Accounts.

“Excluded Asset” means each of the following assets of a Credit Party (provided, the term Excluded Asset shall not
at any time include (x) the Proceeds, products, substitutions or replacements of any such asset or (y) any asset that at
any time ceases to satisfy the criteria to constitute an Excluded Asset (whether as a result of any Credit Party
obtaining any applicable consent, any regulatory change, or otherwise)):

(a) any leasehold interest in Real Property and any fee-owned Real Property other than Material Owned Real
Property;
(b) [reserved];

(c) any lease, license, contract, property right or agreement to which any Credit Party is a party or any of its rights or
interests thereunder if and for so long as the grant of the security interest to Agent with respect thereto is prohibited
by applicable law; provided that such asset shall no longer be an Excluded Asset immediately at such time the grant
of a security interest therein shall no longer be prohibited by applicable law;
(d) property subject to a purchase money security agreement or Capital Lease to the extent and for so long as (i) the
documentation providing for such purchase money indebtedness or capital lease prohibits the creation of a lien on
such assets or (ii) otherwise requires consent (unless such consent has been obtained (it being understood that there
shall be no obligation to obtain such consent)); provided that such assets shall no longer be an Excluded Asset
immediately at such time as the contractual prohibition, or consent right, shall no longer be applicable and to the
extent severable, shall attach immediately to any portion of such assets that is not subject to such prohibition or
consent right,
(e) any lease, license, contract, property right or agreement to which any Credit Party is a party, in each case in
existence on the Closing Date or upon acquisition of the relevant Subsidiary party thereto, or any of its rights or
interests thereunder: (i) if and for so long as the grant of the security interest to Agent with respect thereto (A) shall
constitute or result in the abandonment, invalidation or unenforceability of any right, title or interest of any Credit
Party therein, (B) shall constitute or result in a breach, default or termination pursuant to the terms thereof, other
than to the extent that any such term would be rendered ineffective pursuant to Sections 9-406, 9-407, 9-408 or
9-409 of the UCC (or any successor provision or provisions) of any relevant jurisdiction or any other applicable law
or principles of equity, or (C) otherwise requires consent thereunder (unless such consent has been obtained (it being
understood that there shall be no obligation to obtain such consent)); and (ii) such prohibition, termination right or
consent requirement is not entered into in contemplation of the Loan Documents; provided that such asset shall no
longer be an Excluded Asset immediately at such time as the condition causing such abandonment, invalidation,
unenforceability, breach, default or termination shall be remedied and to the extent severable, shall attach
immediately to any portion of such asset that does not result in any of the consequences specified herein;

(f) any “intent-to-use” trademark application, filed pursuant to Section 1(b) of the Lanham Act, 17 USC. § 1051(b),
prior to the filing of a “Statement of Use” or “Amendment to Allege Use” with respect thereto (as each is defined in
such act), to the extent, if any, that, and solely during the period, if any, in which, the grant of the security interest of
Agent with respect thereto would impair the validity or enforceability of such intent-to-use trademark application or
any registration that issues from such intent-to-use application under applicable federal law;

(g) other than as specifically provided in this definition, any asset with respect to which Agent shall have reasonably
determined in good faith that the burden or cost of obtaining a security interest in such asset exceeds the practical
benefit to the Agent and secured parties of the security to be afforded thereby.




                                                     SCHEDULE A - 13
              Case 23-10961-BLS               Doc 13-1         Filed 07/22/23          Page 351 of 388




“Excluded Canadian Accounts” means the bank accounts of the Credit Parties with TD Canada Trust with account
numbers as previously identified to Agent in writing with account numbers ending 5616, 2137, 1733, 1806, 1865,
1698, 1701, 4948 and 1951.

“Excluded Issuance” shall mean an issuance and sale of Qualified Capital Stock of Holdings, to the extent such
Qualified Capital Stock is used, or the Net Cash Proceeds thereof shall be, within forty-five (45) days of the
consummation of such issuance and sale, used, without duplication, to finance Capital Expenditures.

“Excluded Taxes” means any of the following Taxes imposed on or with respect to a Recipient or required to be
withheld or deducted from a payment to a Recipient: (a) Taxes imposed on or measured by net income (however
denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed as a result of such Recipient being
organized under the laws of, or having its principal office or its applicable lending office located in, the jurisdiction
imposing such Tax (or any political subdivision thereof) or (ii) that are Other Connection Taxes; (b) in the case of a
Lender, U.S. or Canadian federal withholding Taxes imposed on amounts payable to or for the account of such Lender
with respect to an applicable interest in a Loan pursuant to a law in effect on the date on which (i) such Lender acquires
such interest in the Loan or (ii) such Lender changes its lending office, except in each case to the extent that, pursuant
to Section 1.7, amounts with respect to such Taxes were payable either to such Lender’s assignor immediately before
such Lender became a party hereto or to such Lender immediately before it changed its lending office; (c) Taxes
attributable to such Recipient’s failure to comply with Section 8(b); (d) any withholding Taxes imposed under FATCA;
and (e) taxes imposed under Part XIII of the Income Tax Act (Canada) on amounts paid by a Canadian Credit Party
that arise as a consequence of the recipient of the payment (i) not dealing at arm’s length (within the meaning of the
Income Tax Act (Canada)) with the Canadian Credit Party, (ii) being a “specified non-resident shareholder” (within the
meaning of subsection 18(5) of the Income Tax Act (Canada)) of the Canadian Credit Party, or (iii) not dealing at arm’s
length (within the meaning of the Income Tax Act (Canada)) with a “specified shareholder” (within the meaning of
subsection 18(5) of the Income Tax Act (Canada)) of the Canadian Credit Party.

“Excluded ZBA Disbursement Accounts” has the meaning assigned thereto in Section 3.26(b).

“Executive Orders” has the meaning given to such term in Section 3.22.

“Existing Letters of Credit” means those letters of credit outstanding as of the Closing Date and set forth on
Disclosure Schedule (5.1), issued by Wells Fargo Bank, National Association for the account of Holdings or its
Subsidiaries.

“Extraordinary Receipts” means any cash received by or paid to or for the account of any Credit Party not in the
ordinary course of business (and not consisting of any Proceeds described in any of Section 1.2(c) through (f)),
including Proceeds from the Chubb Proceedings and/or the Koontz-Wagner Bankruptcy Proceedings, and life
insurance proceeds.

“FATCA” means Sections 1471 through 1474 of the IRC, as of the date of this Agreement (or any amended or
successor version that is substantively comparable and not materially more onerous to comply with), any current or
future regulations or official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the
IRC and any fiscal or regulatory legislation, rules or practices adopted pursuant to any intergovernmental agreement,
treaty or convention among Governmental Authorities and implementing such Sections of the IRC.

“Fee Letters” has the meaning assigned to it in Section 1.6.

“Fees” means any and all fees due to Agent as set forth in Section 1.6.

“Final Order” means the order of the Bankruptcy Court entered in the Chapter 11 Cases of the Debtors after a final
hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as approved by the Bankruptcy Court, together
with all extensions, modifications, and amendments thereto, in form and substance satisfactory to the Agent and
Required Lenders in their discretion, and which contains the provisions present in the Interim Order (including without
limitation, the granting of the superpriority status and Liens referred to herein, the automatic perfection of all Liens
referred to herein, the payment of all fees referred to herein and the first priority Lien referred to herein) and additional



                                                     SCHEDULE A - 14
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 352 of 388



provisions allowing for the borrowing of the full amount of Term Loans hereunder and prohibiting any claims against
the Collateral pursuant to Section 506(c) of the Bankruptcy Code (except as provided in the Carve-Out and agreed to
by Required Lenders).

“Financial Statements” means, with respect to any Person, the income statement, balance sheet and statement of cash
flows of such Person, prepared for the time period specified and prepared in accordance with GAAP setting forth in
each case in comparative form the figures for such time period the previous year, certified by a Responsible Officer as
being fairly stated in all material respects.

“First Draw Conditions” means the conditions set forth in Section 2.1(a), Section 2.1(c), Section 2.1(d), Section
2.1(e), Section 2.1(f), Section 2.1(g), Section 2.1(i), Section 2.1(j), Section 2.1(k), Section 2.1(n), Section 2.1(o),
Section 2.1(p), Section 2.2(c) and Section 2.2(d).

“Fiscal Month” means any of the monthly accounting periods of Borrower.

“Fiscal Quarter” means any of the quarterly accounting periods of Borrower.

“Fiscal Year” means the twelve (12) month period of Borrower ending December 31 of each year. Subsequent
changes of the fiscal year of Borrower shall not change the term “Fiscal Year” unless Agent shall consent in writing to
such change.

“Fixed Charge Coverage Ratio” means, with respect to any Person for any measuring period of twelve (12) Fiscal
Months, the ratio of (a) (i) Consolidated EBITDA for such measuring period minus (ii) Capital Expenditures for
such measuring period (other than any Capital Expenditures financed by the incurrence of Indebtedness permitted
under this Agreement), minus (iii) United States, Canadian, state, provincial, local and foreign taxes paid by such
Person in cash during such period, minus (iv) any Restricted Payments to the extent actually made (provided that
this clause shall not impair or modify any restriction on the making of a Restricted Payment that is not permitted to
be made under this Agreement or the Loan Documents) during such period, minus (v) payments on the Permitted
Koontz-Wagner Pension Plan Obligations to the extent actually made (provided that this clause (v) shall not impair
or modify any restriction on the making of a payment that is not permitted to be made under this Agreement or the
Loan Documents), minus (vi) investments in Permitted Joint Ventures in accordance with Section 5.3 paid by such
Person during such period, to (b) Consolidated Fixed Charges for such measuring period.

“Foreign Lender” shall have the meaning ascribed to such term in Section 8(b)(ii).

“Foreign Subsidiary” means a Subsidiary that is organized under the laws of a jurisdiction other than the United
States or any state thereof or the District of Columbia or Canada or any province or territory thereof.

“Formula Amount” (and the definitions used in such term) shall have the meaning ascribed thereto in the Revolving
Loan Agreement as in effect on the date hereof without giving effect to any amendments or modifications thereto after
the date hereof, except to the extent permitted by the Intercreditor Agreement.

“Funding Date” means each date the Lenders make Term Loans to Borrower pursuant to Section 1.1.

“GAAP” means generally accepted accounting principles in the United States of America as in effect from time to
time, consistently applied.

“Governmental Authority” means any nation or government, any state, province, territory or other political
subdivision thereof, and any agency, department or other entity exercising executive, legislative, judicial, regulatory or
administrative functions of or pertaining to government.

“GPEG” means GPEG, LLC, a Delaware limited liability company.

“Grantor” means Borrower and each Subsidiary Guarantor.




                                                   SCHEDULE A - 15
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 353 of 388



“Guaranteed Indebtedness” means, as to any Person, any obligation of such Person guaranteeing any indebtedness,
lease, dividend, or other obligation (“primary obligations”) of any other Person (the “primary obligor”) in any manner,
including any obligation or arrangement of such guaranteeing Person (whether or not contingent): (i) to purchase or
repurchase any such primary obligation; (ii) to advance or supply funds (a) for the purchase or payment of any such
primary obligation or (b) to maintain working capital or equity capital of the primary obligor or otherwise to maintain
the net worth or solvency or any balance sheet condition of the primary obligor; (iii) to purchase property, securities or
services primarily for the purpose of assuring the owner of any such primary obligation of the ability of the primary
obligor to make payment of such primary obligation; or (iv) to indemnify the owner of such primary obligation against
loss in respect thereof.

“Guaranteed Obligations” shall have the meaning ascribed to such term in Section 11.1.

“Guarantees” shall mean the guarantees issued pursuant to Article XI by Holdings and the Subsidiary Guarantors.

“Guarantors” means Holdings and the Subsidiary Guarantors.

“Hazardous Material” means any substance, material or waste that is regulated by or forms the basis of liability now
or hereafter under, any Environmental Law, including any material or substance that is (a) defined as a “solid waste,”
“hazardous waste,” “hazardous material,” “hazardous substance,” “extremely hazardous waste,” “restricted hazardous
waste,” “pollutant,” “contaminant,” “hazardous constituent,” “special waste,” “toxic substance” or other similar term or
phrase under any Environmental Law, (b) petroleum or any fraction or by-product thereof, asbestos, polychlorinated
biphenyls (PCBs), or any radioactive substance.

“Hedging Agreement” shall mean any swap, cap, collar, forward purchase or similar agreements or arrangements
dealing with interest rates, currency exchange rates or commodity prices, either generally or under specific
contingencies.

“Hedging Obligations” shall mean obligations under or with respect to Hedging Agreements.

“Inactive Subsidiary” shall mean each of GPEG, Power and Steam.

“Indebtedness” of any Person shall mean, without duplication, (a) all obligations of such Person for borrowed
money or advances; (b) all obligations of such Person evidenced by bonds, debentures, notes or similar instruments;
(c) all obligations of such Person upon which interest charges are customarily paid or accrued, other than trade
accounts payable, taxes and utility charges incurred in the ordinary course of business on customary terms and not
overdue by more than 120 days, except, in the case of such accounts payable overdue by more than 120 days, such
accounts payable are being contested in good faith and reserves have been made; (d) all obligations of such Person
under conditional sale or other title retention agreements relating to property purchased by such Person to the extent
of the value of such property (other than customary reservations or retentions of title under agreements with
suppliers entered into in the ordinary course of business); (e) all obligations of such Person issued or assumed as the
deferred purchase price of property or services (excluding (i) trade accounts payable and accrued obligations
incurred in the ordinary course of business on normal trade terms and not overdue by more than 120 days, except for
accounts payable being contested in good faith and for which reserves have been made, (ii) any earn-out obligation
until such obligation is due and payable and (iii) deferred or equity compensation arrangements entered into in the
ordinary course of business and payable to directors, officers and employees made in accordance with Section
5.7(vii)); (f) all Indebtedness (excluding prepaid interest thereon) of others secured by any Lien on property owned
or acquired by such Person, whether or not the obligations secured thereby have been assumed, but limited to the
fair market value of such property; (g) all Capital Lease Obligations, Purchase Money Obligations and synthetic
lease obligations of such Person; (h) all Hedging Obligations to the extent required to be reflected on a balance sheet
of such Person; (i) all Attributable Indebtedness of such Person; (j) all obligations of such Person for the
reimbursement of any obligor in respect of letters of credit, letters of guarantee, bankers’ acceptances and similar
credit transactions; (k) the principal balance outstanding under any synthetic lease, off-balance sheet loan or similar
off-balance sheet financing product; (l) all obligations, whether or not contingent, to purchase, redeem, retire,
defease or otherwise acquire for value any of its own Stock or Stock Equivalents (or any Stock or Stock Equivalent
of a direct or indirect parent entity thereof) prior to the date that is 180 days after the Stated Maturity Date valued at,
in the case of redeemable preferred Stock, the greater of the voluntary liquidation preference and the involuntary



                                                    SCHEDULE A - 16
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 354 of 388



liquidation preference of such Stock plus accrued and unpaid dividends; and (m) all Contingent Obligations of such
Person in respect of Indebtedness or obligations of others of the kinds referred to in clauses (a) through (l) above.
The Indebtedness of any Person shall include the Indebtedness of any other entity (including any partnership in
which such Person is a general partner) to the extent such Person is liable therefor as a result of such Person’s
ownership interest in or other relationship with such entity, except (other than in the case of general partner liability)
to the extent that terms of such Indebtedness expressly provide that such Person is not liable therefor.

“Indemnified Liabilities” and “Indemnified Person” have the respective meanings assigned to them in Section 1.10.

“Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to any payment made
by or on account of any obligation of Borrower under any Loan Document and (b) to the extent not otherwise described
in clause (a), Other Taxes.

“Industrial Design” means, with respect to any Person and throughout the world, all of the following now owned or
hereafter acquired by such Person: (i) all industrial designs, intangibles of like nature and any work subject to the
design laws of Canada or any other country, (ii) all registrations and applications for registrations of any such industrial
designs in Canada or any other country, including registrations in the Canadian Intellectual Property Office, (iii)
income, fees, royalties, damages, claims and payments now and hereafter due or payable under and with respect
thereto, including payments under all licenses entered into in connection therewith and damages and payments for past,
present, or future infringements thereof, (iv) the right to sue for past, present, and future infringements thereof, and (v)
rights corresponding thereto throughout the world.

“Initial Cash Flow Budget” has the meaning set forth in Section 4.1(f)(i).

“Initial Funding Date” means the date the First Draw Conditions have been satisfied and the Lenders shall have made
the initial installment of Term Loans available to Borrower in an amount equal to the Initial Maximum Amount.

“Initial Maximum Amount” means $14,000,000.

“Insurance Requirements” means, collectively, all provisions of the insurance policies, all requirements of the issuer
of any of the insurance policies and all orders, rules, regulations and any other requirements of the National Board of
Fire Underwriters (or any other body exercising similar functions) binding upon each Credit Party which is an owner of
Mortgaged Property and applicable to the Mortgaged Property or any use or condition thereof.

“Intellectual Property” means any and all Licenses, Patents, Copyrights, Trademarks, Industrial Designs, trade secrets
and customer lists.

“Intercreditor Agreement” means the Prepetition Intercreditor Agreement, as amended by that certain third
amendment thereto dated as of even date herewith, among Agent and the Revolving Agent, as amended from time to
time in accordance with its terms.

“Interim Order” means that certain Order (I) Authorizing The Debtors, For The Interim Period, To (A) Obtain
Postpetition Financing And (B) Use Cash Collateral, (II) Granting Liens And Providing Superpriority Administrative
Expense Claims To Post-Petition Lenders, (III) Granting Adequate Protection To Prepetition Secured Parties,
(IV) Modifying The Automatic Stay, (V) Granting Related Relief, Pursuant To 11 U.S.C. Sections 105, 361, 362, 363,
364 And 507, And (VI) Scheduling A Final Hearing Pursuant To Bankruptcy Rule 4001 And Local Rule 4001-2,
entered by the Bankruptcy Court on [_____], 2023, as docket number [__] in the Chapter 11 Cases, together with all
extensions, modifications, and amendments thereto, in form and substance satisfactory to counsel to the Agent and
counsel to the Required Lenders in their discretion.

“IRC” and “IRS” mean respectively, the Internal Revenue Code of 1986 and the Internal Revenue Service, and any
successors thereto.

“Joinder Agreement” means each Joinder Agreement of a new Subsidiary delivered to the Agent after the Closing
Date in substantially the form of Exhibit H pursuant to Sections 1.12 and 3.28(b).




                                                    SCHEDULE A - 17
             Case 23-10961-BLS                Doc 13-1        Filed 07/22/23         Page 355 of 388



“Judgment Conversion Date” has the meaning given to such term in Section 10.19.

“Judgment Currency” has the meaning given to such term in Section 10.19.

“Lender” means each of those certain financial institutions set forth on Schedule B attached hereto, and if at any time
any Lender shall decide to assign or syndicate all or any of the Obligations subject to Section 8(a) of this Agreement,
such term shall include such assignee or such other members of the syndicate.

“Lender Group Expenses” has the meaning given to such term in Section 10.2.

“Liabilities” means all claims, actions, suits, judgments, damages, losses, liability, obligations, responsibilities,
fines, penalties, sanctions, costs, fees, taxes, commissions, charges, disbursements and expenses, in each case of any
kind or nature (including interest accrued thereon or as a result thereto and fees, charges and disbursements of
financial, legal and other advisors and consultants), whether joint or several, whether or not indirect, contingent,
consequential, actual, punitive, treble or otherwise.

“Licenses” shall mean, with respect to each Grantor, all license and distribution agreements with, and covenants not
to sue, any other party with respect to any Patent, Trademark, Copyright or Industrial Design or any other patent,
trademark, copyright or industrial design, whether such Grantor is a licensor or licensee, distributor or distributee
under any such license or distribution agreement, together with any and all (i) renewals, extensions, supplements and
continuations thereof, (ii) income, fees, royalties, damages, claims and payments now and hereafter due and/or
payable thereunder and with respect thereto including damages and payments for past, present or future
infringements or violations thereof, (iii) rights to sue for past, present and future infringements or violations thereof
and (iv) other rights to use, exploit or practice any or all of the Patents, Trademarks, Copyrights or Industrial Design
or any other patent, trademark, copyright or industrial design.

“Lien” means any mortgage, security deed or deed of trust, deemed trust (statutory or otherwise), pledge,
hypothecation, hypothec, assignment, deposit arrangement, lien, charge, claim, security interest, security title, easement
or encumbrance, or preference, priority or other security agreement or preferential arrangement of any kind or nature
whatsoever (including any lease or title retention agreement, any financing lease having substantially the same
economic effect as any of the foregoing, and the filing of, or agreement to give, any financing statement perfecting a
security interest under the Code, the PPSA or comparable law of any jurisdiction).

“Liquidity” means, as of any date of determination, the sum of (a) Credit Parties’ unrestricted cash and Cash
Equivalents on deposit in one more deposit accounts maintained by the Credit Parties with the Agent or at other
banks or financial institutions as permitted under the Revolving Loan Agreement, plus (b) Borrowing Availability
under the Revolving Loan Agreement,

“Lists” has the meaning given to such term in Section 3.22.

“Litigation” means any claim, lawsuit, litigation, investigation or proceeding of or before any arbitrator or
Governmental Authority.

“Loan” means, collectively, all Term Loans.

“Loan Documents” means this Agreement, each Note, the Guarantee, each Mortgage (if any), the Pledge Agreement,
the Control Agreements, the Fee Letters, each Power of Attorney, any waiver or consent of a landlord or mortgagee
executed in favor of Agent for the benefit of the Lenders, and all other agreements, instruments, documents and
certificates identified in Schedule D executed and delivered to, and in favor of, Agent and including all other
agreements, pledges, consents, assignments, contracts and notices whether heretofore, now or hereafter executed by or
on behalf of any Credit Party, or any employee of any Credit Party, and delivered to, and in favor of, Agent in
connection with the Agreement or the transactions contemplated thereby. Any reference in the Agreement or any other
Loan Document to a Loan Document shall include all appendices, exhibits or schedules thereto, and all amendments,
restatements, supplements or other modifications thereto, and shall refer to the Agreement or such Loan Document as
the same may be in effect at any and all times such reference becomes operative.




                                                   SCHEDULE A - 18
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 356 of 388



“Mandatory Prepayment” means any prepayment made pursuant to Section 1.2 (excluding Section 1.2(b)).

“Margin Stock” has the meaning given to such term in Section 3.8.

“Material Adverse Effect” means a fact, event, circumstance or other effect that, alone or with other facts, events,
circumstances or other effects that (a) has resulted in, or could reasonably be expected to result in a material adverse
change in the business, condition (financial or otherwise), operations, assets, liabilities (contingent or otherwise) or
properties of the Borrower and its Subsidiaries, taken as a whole, other than as a result of the Chapter 11 Cases, (b)
impairs, or could reasonably be expected to impair, the ability of the Credit Parties to make any payment or perform
any of their other obligations under the Loan Documents or the ability of the Agent or any Lender to enforce its
rights and remedies under the Loan Documents, (c) has resulted in, or could reasonably be expected to result in, in a
material adverse effect on the liens, including the priority thereof, granted by the Credit Parties in the assets of the
Credit Parties or (d) has resulted in, or could reasonably be expected to result in, a material adverse effect on the
validity or enforceability of any Loan Document. Notwithstanding anything to the contrary contained herein, the
events leading up to and resulting from the commencement of the Chapter 11 Cases, and the act of filing the Chapter
11 Cases shall not in itself constitute a Material Adverse Effect.

“Material Holder” means, with respect to any Credit Party, (a) any Person that owns or has the power to vote 25%
or more of the issued and outstanding Equity Interests having ordinary voting power for the election of directors of
such Credit Party or other Persons performing similar functions for such Credit Party, or (b) any Person that has the
power to direct or cause the direction of the management and policies of such Credit Party whether by ownership of
equity interests, contract or otherwise.

“Material Owned Real Property” means (a) the Real Property owned by any Credit Party listed in the Perfection
Certificate dated as of the Closing Date and (b) any other Real Property owned by a Credit Party or acquired by a
Credit Party with a fair market value in excess of $1,000,000.

“Maturity Date” means, with respect to the Term Loan, the earliest to occur of (a) the Stated Maturity Date, (b) the
effective date of a confirmed, final and non-appealable Reorganization Plan, (c) the date on which all Term Loans shall
become due and payable in full hereunder following the occurrence of an Event of Default, (d) the date of the closing
of a sale of all or substantially all of the Debtors’ assets pursuant to Section 363 of the Bankruptcy Code, (e) the date on
which the Bankruptcy Court approves the extension of any other credit facility (other than the credit facility provided
under the Revolving Loan Documents) to the Borrowers or Guarantors, or to any other entity whose bankruptcy case
has been ordered by the Bankruptcy Court to be jointly administered with the Chapter 11 Cases, over the objection of
the Lenders, (f) the entry of an order regarding the dismissal of any Chapter 11 Case, or the conversion of any
Chapter 11 Case from one under Chapter 11 to one under Chapter 7 of the Bankruptcy Code, or (g) the date a
Reorganization Plan is filed or supported by any Debtor which does not provide for payment in full in cash of the
Obligations.

“Maximum Amount” means $19,500,000.

“Maximum Lawful Rate” has the meaning given to such term in Section 1.5(e).

“Maximum Priority Revolving Loan Debt” has the meaning ascribed to such term in the Intercreditor Agreement.

“Milestone” and “Milestones” have the meaning given to such terms in Section 4.5.

“Mortgage” means any mortgage or deed of trust from the relevant Credit Party in favor of Agent for the benefit of
the Lenders relating to such Credit Party’s real property owned as of the Closing Date, if any, and any other
mortgage or deed of trust delivered to the Agent pursuant to Section 3.28.

“Mortgaged Property” shall have the meaning assigned to such term in the Mortgages.

“Multiemployer Plan” shall mean a multiemployer plan within the meaning of Section 4001(a)(3) or Section 3(37)
of ERISA (a) to which any Grantor or any ERISA Affiliate is then making or accruing an obligation to make




                                                    SCHEDULE A - 19
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 357 of 388



contributions; (b) to which any Grantor or any ERISA Affiliate has within the preceding five plan years made
contributions; or (c) with respect to which any Grantor could incur liability.

“Net Cash Proceeds” shall mean:

         (a) with respect to any Asset Sale (other than any issuance or sale of Equity Interests), the cash proceeds
             received by any Credit Party (including cash proceeds subsequently received (as and when received by
             any Credit Party) in respect of non-cash consideration initially received) net of (i) selling expenses
             (including reasonable brokers’ fees or commissions, legal, accounting and other professional and
             transactional fees, transfer and similar taxes and Credit Party’s good faith estimate of income taxes
             actually paid or payable in connection with such sale); (ii) amounts provided as a reserve, in
             accordance with GAAP, against (x) any liabilities under any indemnification obligations associated
             with such Asset Sale or (y) any other liabilities retained by any Credit Party associated with the
             properties sold in such Asset Sale (provided that, to the extent and at the time any such amounts are
             released from such reserve, such amounts shall constitute Net Cash Proceeds); (iii) Credit Party’s good
             faith estimate of payments required to be made with respect to unassumed liabilities relating to the
             properties sold within ninety (90) days of such Asset Sale (provided that, to the extent such cash
             proceeds are not used to make payments in respect of such unassumed liabilities within ninety
             (90) days of such Asset Sale, such cash proceeds shall constitute Net Cash Proceeds); and (iv) the
             principal amount, premium or penalty, if any, interest and other amounts on any Indebtedness for
             borrowed money which is secured by a Lien on the properties sold in such Asset Sale (so long as such
             Lien was permitted to encumber such properties under the Loan Documents at the time of such sale)
             and which is repaid with such proceeds (other than any such Indebtedness assumed by the purchaser of
             such properties);

         (b) with respect to any Debt Issuance, any Equity Issuance or any other issuance or sale of Equity Interests
             by any Credit Party (other than to another Credit Party), the cash proceeds thereof, net of customary
             fees, commissions, costs and other expenses incurred in connection therewith (including reasonable
             attorney’s, accountant’s and other similar professional advisor’s fees); and

         (c) with respect to any Casualty Event, the cash insurance proceeds, condemnation awards and other
             compensation received in respect thereof, net of all reasonable costs and expenses incurred in
             connection with the collection of such proceeds, awards or other compensation in respect of such
             Casualty Event.

“Non-Funding Lender” has the meaning given to such term in Section 1.13.

“Note” means any Term Note.

“NQAP License” means all rights, permits, licenses, approvals and privileges (including all Permits) granted to a
Person from time to time in connection with a Nuclear Quality Assurance Plan.

“NRC License” means all rights, permits, licenses, approvals and privileges (including all Permits) granted to a Person
from time to time by the U.S. Nuclear Regulatory Commission.

“Obligations” means all loans, advances, debts, expense reimbursement, fees, liabilities, and obligations for the
performance of covenants, tasks or duties or for payment of monetary amounts (whether or not such performance is
then required or contingent, or amounts are liquidated or determinable) owing by Borrower and any other Credit Party
to the Lenders arising under any of the Loan Documents, of any kind or nature, present or future, and all covenants and
duties regarding such amounts. This term includes all principal, interest, Fees, Charges, expenses, attorneys’ fees and
any other sum chargeable to Borrower under any of the Loan Documents (including interest accruing at the then
applicable rate provided in this Agreement after the maturity of the Loan, and Fees, Charges, costs, expenses and
interest accruing at the then applicable rate provided in this Agreement after the filing of any petition in bankruptcy, or
the commencement of any insolvency, reorganization or like proceeding, whether or not a claim for post-filing or post-
petition interest or a claim for such Fees, Charges, costs and expense is allowed in such proceeding), and all principal
and interest due in respect of the Loan and all obligations and liabilities of any Guarantor under any Guarantee.



                                                    SCHEDULE A - 20
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 358 of 388




“OFAC” has the meaning given to such term in Section 3.22.

“OFAC Laws and Regulations” has the meaning given to such term in Section 3.22.

“Officers’ Certificate” means a certificate executed by the chairman of the Board of Directors (if an officer), the
Chief Executive Officer or the president and one of the Responsible Officers, each in his or her official (and not
individual) capacity.

“Orders” means the Interim Order and the Final Order.

“Organization Charts” has the meaning ascribed to such term in Section 2.1(z).

“Organizational Documents” shall mean, with respect to any Person, (i) in the case of any corporation or unlimited
liability corporation, the certificate or articles of incorporation, as applicable, and by-laws (or similar documents) of
such Person, (ii) in the case of any limited liability company, the certificate of formation and operating agreement
(or similar documents) of such Person, (iii) in the case of any limited partnership, the certificate of formation and
limited partnership agreement (or similar documents) of such Person, (iv) in the case of any general partnership, the
partnership agreement (or similar document) of such Person and (v) in any other case, the functional equivalent of
the foregoing.

“Other Lists” has the meaning given to such term in Section 3.22.

“Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a present or former
connection between such Recipient and the jurisdiction imposing such Tax (other than connections arising from such
Recipient having executed, delivered, become a party to, performed its obligations under, received payments under,
received or perfected a security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document, or sold or assigned an interest in any Loan or Loan Document).

“Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing or similar Taxes
that arise from any payment made under, from the execution, delivery, performance, enforcement or registration of,
from the receipt or perfection of a security interest under, or otherwise with respect to, any Loan Document, except any
such Taxes that are Other Connection Taxes imposed with respect to an assignment.

“Ownership Interests” means, as applied to any Person, corporate stock and any and all securities, shares,
partnership interests (whether general, limited, special or other), limited liability company interests, membership
interests, equity interests, participations, rights or other equivalents (however designated and of any character) of
corporate stock of such Person or any of the foregoing issued by such Person (whether a corporation, a partnership, a
limited liability company or another entity) and shall include securities convertible into Ownership Interests and
rights, warrants or options to acquire Ownership Interests.

“Participant” has the meaning given to such term in Section 8(a).

“Participant Register” has the meaning given to such term in Section 8(a).

“Patents” means all of the following in which any Person now holds or hereafter acquires any interest: (i) all letters
patent and patents of the United States or any other country, all registrations and recordings thereof, and all applications
for letters patent and patents of the United States or any other country, including registrations, recordings and
applications in the United States Patent and Trademark Office, the Canadian Intellectual Property Office or in any
similar office or agency of the United States, any State or Territory thereof, or any other country; and (ii) all reissues,
continuations, continuations-in-part or extensions thereof.

“PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

“Perfection Certificate” means a certificate in the form of Exhibit A attached to this Agreement or any other form
approved by the Agent, as the same shall be supplemented from time to time.



                                                    SCHEDULE A - 21
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 359 of 388




“Permit” means, with respect to any Person, any permit, approval, authorization, license, registration, certificate,
concession, grant, franchise, variance or permission from, and any other Contractual Obligations with, any
Governmental Authority, in each case whether or not having the force of law and applicable to or binding upon such
Person or any of its property or to which such Person or any of its property is subject.

“Permitted Captive Insurance Subsidiary” means a Captive Insurance Subsidiary that Agent has approved as a
Permitted Captive Insurance Subsidiary pursuant to Section 5.21.

“Permitted Joint Venture” means any joint venture or partnership between a Credit Party, on the other hand, and any
other Person, on the other hand (each, a “Joint Venture”) so long as (a) immediately prior to and after giving pro
forma effect to the formation and capitalization of such Joint Venture, no Default or Event of Default exists; (b) the
assets, businesses or activities of the Joint Venture are consistent with the then-current business plan of the Credit
Parties; (c) no Indebtedness or Liens are assumed or incurred by such Credit Party as a result of the formation and
capitalization of, or as a result of any subsequent investment in, the Joint Venture, except as otherwise expressly
permitted by Section 5.1 or Section 5.2; and (d) such Credit Party, the Joint Venture or the customer or customers of
the Joint Venture shall obtain customary liability and commercial insurance, in amounts and from reputable insurers as
may be necessary for prudent execution of work by the Joint Venture.

“Permitted Koontz-Wagner Pension Plan Obligations” means obligations of the Credit Parties in an aggregate
amount not to exceed $2,700,000 for their obligations arising under the International Brotherhood of Electrical
Workers Local Union 1392 multi-employer pension plan of Koontz-Wagner Custom Controls Holdings LLC (which
Person was previously a Subsidiary of the Credit Parties and filed a voluntary petition for relief under Chapter 7 of
the Bankruptcy Code with the U.S. Bankruptcy Court for the Southern District of Texas on July 11, 2018 (the
proceedings relating to such petition, the “Koontz-Wagner Bankruptcy Proceedings”).

“Permitted Liens” means the following encumbrances: (i) Liens for taxes or assessments or other governmental
Charges or levies, including Priority Payables, either not yet due and payable or to the extent that nonpayment thereof
is permitted by the terms of Section 3.9; (ii) carriers’, warehousemen’s, suppliers’, mechanics’, materialmen’s,
repairmen’s or other similar liens arising in the ordinary course of business and securing indebtedness not yet due and
payable or overdue for more than 30 days or being contested in good faith by appropriate proceedings and adequate
reserves with respect thereto are maintained on the books of the applicable Person to the extent required in accordance
with GAAP; (iii) attachment, judgment or other similar Liens arising in connection with court or arbitration
proceedings, provided that the same are discharged, or that execution or enforcement thereof is stayed pending appeal,
within thirty (30) days or (in the case of any execution or enforcement pending appeal) such lesser time during which
such appeal may be taken; (iv) zoning restrictions, easements, licenses, or other restrictions on the use of real
property or other minor irregularities in title thereto, so long as the same do not materially impair the use, value, or
marketability of such real estate; (v) Purchase Money Liens securing Purchase Money Obligations (or rent) and
Capital Leases, in each case, to the extent permitted under Section 5.1; (vi) Liens in favor of Agent for the benefit of
the Lenders securing the Obligations; (vii) Liens in favor of Revolving Agent securing all obligations, indebtedness and
liabilities of the Credit Parties under the Revolving Loan Agreement and under the Prepetition Revolving Loan
Agreement in an amount not to exceed the Maximum Priority Revolving Loan Debt; (viii) Liens existing on the date
hereof and listed on Schedule 9 of the Perfection Certificate dated as of the Closing Date; (ix) (A) pledge or deposits in
the ordinary course of business in connection with workers’ compensation, unemployment insurance and other social
security legislation (other than any Lien being registered or enforced in respect of any Priority Payables and other
than any Lien imposed by ERISA), (B) pledges and deposits in the ordinary course of business securing liability for
reimbursement or indemnification obligations of (including obligations in respect of letters of credit or bank guarantees
for the benefit of) insurance carriers providing property, casualty or liability insurance and (C) Liens on insurance
premium returns and insurance proceeds granted in favor of insurance companies in connection with the financing
of insurance premiums with respect thereto in the ordinary course of business; (x) deposits and Liens to secure the
performance of bids, trade contracts, governmental contracts and leases (other than Indebtedness for borrowed money),
statutory obligations, surety, stay, indemnity, customs and appeal bonds, performance bonds and other obligations of a
like nature (including those to secure health, safety and environmental obligations) incurred in the ordinary course of
business; (xi) Liens that are contractual rights of set-off (A) solely with respect to cash and Cash Equivalents on
deposit in one or more accounts maintained by any Credit Party, in each case, which set-off rights are granted in the
ordinary course of business in favor of the depository bank or financial institution with which such accounts are



                                                   SCHEDULE A - 22
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 360 of 388



maintained, securing amounts owing to such bank or institution with respect to cash management and operating
account arrangements, including those involving pooled accounts and netting arrangements, provided that, in no
case shall any such Liens secure (either directly or indirectly) the repayment of any Indebtedness (other than (1)
Indebtedness up to the Maximum Priority Revolving Debt Amount to the extent one of the Lenders under the
Revolving Loan Agreement, or an Affiliate of such a Lender, is the applicable depository bank or financial
institution and such Lien is subject to the Intercreditor Agreement, and (2) Indebtedness (that does not constitute
Indebtedness for borrowed money) that is owed to any depository or cash management bank that provides cash
management services to the Credit Parties), (B) solely with respect to cash and Cash Equivalents on deposit in one or
more accounts maintained by any Credit Party, in each case, which set-off rights relate to pooled deposit or sweep
accounts of the Credit Parties or any Subsidiary (so long as such Subsidiary remains a Subsidiary) to permit satisfaction
of overdraft or similar obligations incurred in the ordinary course of business, provided that, in no case shall any such
Liens secure (either directly or indirectly) the repayment of any Indebtedness (other than (1) Indebtedness up to the
Maximum Priority Revolving Debt Amount to the extent one of the Lenders under the Revolving Loan Agreement,
or an Affiliate of such a Lender, is the applicable depository bank or financial institution and such Lien is subject to
the Intercreditor Agreement, and (2) Indebtedness (that does not constitute Indebtedness for borrowed money) that is
owed to any depository or cash management bank that provides cash management services to the Credit Parties), or
(C) relating to purchase orders and other agreements entered into with customers of a Credit Party or any of their
Subsidiaries in the ordinary course of business; (xii) the filing of Code and PPSA financing statements solely as a
precautionary measure in connection with operating leases entered into by a Credit Party or any of its Subsidiaries in
the ordinary course of business; (xiii) Liens in connection with the cash collateralization of the Existing Letters of
Credit (and any replacements thereof), so long as the amount secured thereunder does not exceed 105% of the
aggregate face amount of such Existing Letters of Credit (or such replacement letters of credit); (xiv) Liens in favor of
customs and revenue authorities arising as a matter of applicable Requirements of Law to secure payment of custom
duties in connection with the importation of goods in the ordinary course of business; (xv) non-exclusive licenses of
Intellectual Property and other intellectual property rights in the ordinary course of business and not interfering in any
material respect with the business of any Credit Party, (xvi) Liens described in clause (b) of the definition of
“Excluded Assets”; (xvii) Liens created under the Orders; and (xviii) Liens securing the obligations under the
Prepetition Term Loan Agreement.

“Person” means any individual, sole proprietorship, partnership, limited liability partnership, joint venture, trust,
unincorporated organization, association, corporation, limited liability company, institution, public benefit corporation,
entity or government (whether federal, state, provincial, territorial, county, city, municipal or otherwise, including any
instrumentality, division, agency, body or department thereof), and shall include such Person’s successors and assigns.

“Petition Date” has the meaning ascribed to such term in the recitals to this Agreement.

“Plan” means any employee pension benefit plan (other than a Multiemployer Plan) subject to the provisions of
Title IV of ERISA or Section 412 of the IRC or Section 302 of ERISA, and in respect of which any Credit Party or
any ERISA Affiliate is or, within the preceding five years, was an “employer” as defined in Section 3(5) of ERISA.

“Pledge Agreement” means that certain Pledge Agreement, dated as of the Closing Date, by and among the Credit
Parties and the Agent pledging as Collateral for the Obligations any Ownership Interests of Subsidiaries owned by
each Credit Party other than those Ownership Interests constituting Excluded Assets, as amended, restated,
supplemented or otherwise modified from time to time.

“Pledged Securities” shall mean, collectively, with respect to each Credit Party, (i) all issued and outstanding
Equity Interests of each issuer set forth in the Perfection Certificate as being owned by such Credit Party and all
options, warrants, rights, agreements and additional Equity Interests of whatever class of any such issuer acquired by
such Credit Party (including by issuance), together with all rights, privileges, authority and powers of such Credit
Party relating to such Equity Interests in each such issuer or under any Organizational Document of each such
issuer, and the certificates, instruments and agreements representing such Equity Interests and any and all interest of
such Credit Party in the entries on the books of any financial intermediary pertaining to such Equity Interests, (ii) all
Equity Interests of any Subsidiary, which Equity Interests are hereafter acquired by such Credit Party (including by
issuance) and all options, warrants, rights, agreements and additional Equity Interests of whatever class of any such
Subsidiary acquired by such Credit Party (including by issuance), together with all rights, privileges, authority and
powers of such Credit Party relating to such Equity Interests or under any Organizational Document of any such



                                                   SCHEDULE A - 23
              Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 361 of 388



Subsidiary, and the certificates, instruments and agreements representing such Equity Interests and any and all
interest of such Credit Party in the entries on the books of any financial intermediary pertaining to such Equity
Interests, from time to time acquired by such Credit Party in any manner, and (iii) all Equity Interests issued in
respect of the Equity Interests referred to in clause (i) or (ii) upon any consolidation, merger or amalgamation of any
issuer of such Equity Interests; provided, however, that Pledged Securities shall not include any Equity Interests
which are not required to be pledged pursuant to Section 3.28 or that constitute Excluded Assets.

“Post-Closing Organization Chart” has the meaning ascribed to such term in Section 2.1(z).

“Power” means Global Power Professional Services, Inc., a Delaware corporation.

“Power of Attorney” means each Power of Attorney of the Credit Parties delivered to Agent as of the Closing Date in
substantially the form of Exhibit D and any Power of Attorney delivered to the Agent after the Closing Date pursuant to
Section 1.12.

“PPSA” means the Personal Property Security Act (British Columbia) (and other equivalent personal property security
legislation in any other applicable Canadian province or territory) and the regulations thereunder, as from time to time
in effect, provided, however, if attachment, perfection or priority of the Agent’s or any Lender’s security interest in any
Collateral is governed by the personal property security laws of any jurisdiction in Canada other than British Columbia,
with respect to such Collateral, PPSA shall mean those personal property security laws in such other jurisdiction of
Canada (including the Civil Code of Québec and the regulation respecting the register of personal and movable real
rights thereunder) for the purposes of the provisions hereof relating to such attachment, perfection or priority and for
the definitions related to such provisions.

“Pre-Closing Organization Chart” has the meaning ascribed to such term in Section 2.1(z).

“Preferred Stock” shall mean, with respect to any Person, any and all preferred or preference Equity Interests
(however designated) of such Person whether now outstanding or issued after the Closing Date.

“Preferred Stock Issuance” shall mean the issuance or sale by any Credit Party of any Preferred Stock after the
Closing Date (other than (x) as permitted by Section 5.1 or (y) any Excluded Issuance).

“Prepayment” means, collectively, Voluntary Prepayments and Mandatory Prepayments.

“Prepetition Intercreditor Agreement” means that certain Intercreditor Agreement, dated as of December 26, 2020
by and among the Prepetition Revolving Loan Agent and the Prepetition Term Loan Agent, as amended prior to the
Petition Date.

“Prepetition Revolving Loan Agent” has the meaning ascribed to such term in the definition of Prepetition Revolving
Loan Agreement.

“Prepetition Revolving Loan Agreement” means that certain Revolving Credit and Security Agreement, dated as of
December 16, 2020, by and among the Borrower (in their capacity as borrowers under the Prepetition Revolving Loan
Agreement), PNC Bank, National Association, as agent on behalf of the Lenders thereunder (the “Prepetition
Revolving Loan Agent”), the lenders party thereto (the “Prepetition Revolving Loan Lenders”) and the other parties
party thereto, as amended.

“Prepetition Revolving Loan Lenders” has the meaning ascribed to such term in the definition of Prepetition
Revolving Loan Agreement.

“Prepetition Term Loan Agent” has the meaning ascribed to such term in the definition of Prepetition Term Loan
Agreement.

“Prepetition Term Loan Agreement” means that certain Term Loan, Guarantee and Security Agreement dated as of
December 16, 2020, by and among the Borrower (in its capacity as “Borrower” under the Prepetition Term Loan
Agreement), the Guarantor (in its capacity as “Guarantor” under the Prepetition Term Loan Agreement), EICF Agent



                                                    SCHEDULE A - 24
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23         Page 362 of 388



LLC, a Delaware limited liability company, as agent on behalf of the Lenders thereunder (the “Prepetition Term
Loan Agent”), and the lenders party thereto (the “Prepetition Term Loan Lenders”), as amended.

“Prepetition Term Loan Documents” means the Loan Documents (as defined in the Prepetition Term Loan
Agreement).

“Prepetition Term Loan Lenders” has the meaning ascribed to such term in the definition of Prepetition Term Loan
Agreement.

“Prepetition Term Loan Obligations” means the Obligations (as defined in the Prepetition Term Loan Agreement).

“Priority Payables” means (a) the full amount of the liabilities of any Credit Party which (i) have a trust imposed to
provide for payment or a security interest, pledge, Lien, hypothec or charge ranking or capable of ranking senior to or
pari passu with security interests, Liens, hypothecs or charges securing the Obligations on any Collateral under any
federal, provincial, state, county, district, municipal, local or foreign law or (ii) have a right imposed to provide for
payment ranking or capable of ranking senior to or pari passu with the Obligations under federal, provincial, state,
county, district, municipal, local or foreign law, regulation or directive, including, but not limited to, claims for
unremitted and/or accelerated rents, taxes, wages, withholdings taxes, value added taxes, amounts payable to an
insolvency administrator, employee withholdings or deductions, vacation pay, severance and termination pay, workers’
compensation obligations, government royalties or pension obligations in each case to the extent such trust, or security
interest, Lien, hypothec or charge has been or may be imposed, including under the Wage Earner Protection Program
Act (Canada), and (b) the amount equal to the aggregate value of the inventory which the Agent, in good faith, and on a
reasonable basis, considers is or may be subject to retention of title by a supplier or a right of a supplier to recover
possession thereof, where such supplier’s right has priority over the security interests, Liens, hypothecs or charges
securing the Obligations, including, without limitation, inventory subject to a right of a supplier to repossess goods
pursuant to Section 81.1 of the Bankruptcy and Insolvency Act (Canada) or any applicable laws granting revendication
or similar rights to unpaid suppliers or any similar laws of Canada or any other applicable jurisdiction.

“Pro Forma Basis” shall mean on a basis in accordance with GAAP and otherwise reasonably satisfactory to the
Agent.

“Proceeds” means “proceeds,” as such term is defined in the Code or the PPSA, as applicable, and, in any event, shall
include: (i) any and all proceeds of any insurance, indemnity, warranty or guarantee payable to any Grantor from time
to time with respect to any Collateral; (ii) any and all payments (in any form whatsoever) made or due and payable to
any Grantor from time to time in connection with any requisition, confiscation, condemnation, seizure or forfeiture of
any Collateral by any governmental body, authority, bureau or agency (or any Person acting under color of
governmental authority); (iii) any recoveries by any Grantor against third parties with respect to any litigation or
dispute concerning any Collateral, including claims arising out of the loss or nonconformity of, interference with the
use of, defects in, or infringement of rights in, or damage to, Collateral; and (iv) any and all other amounts, rights to
payment or other property acquired upon the sale, lease, license, exchange or other disposition of Collateral (excluding
amounts and rights to payment arising from the rental of any of the Collateral to customers of the Borrower or any of
its Subsidiaries or distributors) and all rights arising out of Collateral.

“Professionals” has the meaning assigned to it in Section 12.4(a).

“Property” means any interest in any kind of property or asset, whether real, personal or mixed, and whether
tangible or intangible.

“Protective Advance Percentages” means, as to any Lender and as of any date of determination, the percentage
determined by dividing (a) the aggregate principal amount of the Term Loans then held by such Lender, by (b) the
aggregate principal amount of the Term Loans then held by all Lenders.

“Purchase Money Lien” means any Lien upon any fixed assets that secure the Purchase Money Obligations related
thereto but only if such Lien shall at all times be confined solely to the assets the purchase price of which was
financed or refinanced through the incurrence of the Purchase Money Obligations secured by such Lien (and the
proceeds thereof) and only if such Lien secures only such Purchase Money Obligations.



                                                   SCHEDULE A - 25
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 363 of 388




“Purchase Money Obligations” means for any Person the obligations of such Person in respect of Indebtedness
incurred for the purpose of financing all or any part of the purchase price of any property (including Equity Interests of
any Person) or the cost of installation, construction or improvement of any property and any refinancing thereof;
provided, however, that (i) such Indebtedness is incurred within one year after such acquisition, installation,
construction or improvement of such property by such Person and (ii) the amount of such Indebtedness does not exceed
100% of the cost of such acquisition, installation, construction or improvement, as the case may be.

“Qualified Capital Stock” means of any Person any Equity Interests of such Person that are not Disqualified
Capital Stock.

“Real Property” shall mean, collectively, all right, title and interest (including any leasehold, mineral or other
estate) in and to any and all parcels of or interests in real property owned, leased or operated by any Person, whether
by lease, license or other means, together with, in each case, all easements, hereditaments and appurtenances relating
thereto, all improvements and appurtenant fixtures and equipment, all general intangibles and contract rights and
other property and rights incidental to the ownership, lease or operation thereof.

“Recipient” means Agent and any Lender.

“Register” has the meaning given to such term in Section 8(a).

“Related Persons” means, with respect to any Person, each Affiliate of such Person and each director, officer,
employee, agent, trustee, representative, attorney, accountant and each insurance, environmental, legal, financial and
other advisor and other consultants and agents of or to such Person or any of its Affiliates.

“Release” means as to any Person, any release, spill, emission, leaking, pumping, injection, deposit, disposal,
discharge, dispersal, dumping, leaching or migration of Hazardous Materials in the indoor or outdoor environment by
such Person, including the movement of Hazardous Materials through or in the air, soil, surface water, ground water or
property.

“Rental Office” means any rental office of the Borrower or any of its Subsidiaries that is not located in a Restricted
Location.

“Reorganization Plan” means a plan of reorganization or liquidation filed by the Debtors in the Chapter 11 Cases.

“Required Lenders” means, at any time, Lenders having at such time in excess of 50% of the sum of the aggregate
Term Loan Commitments (or, if such Term Loan Commitments are terminated, the amount outstanding under the
Term Loans) then in effect; provided, however, that at any time when there are two (2) or more Lenders, Required
Lenders shall require at least two (2) Lenders. For purposes of calculation of Required Lenders, a Lender and any of
its Affiliates that are also a Lender, and their respective Term Loan Commitments and/or holdings of the Term
Loans, shall be deemed to be a single Lender with a single consolidated Term Loan Commitment and/or holding a
single consolidated Term Loan.

“Requirement of Law” means as to any Person, the Certificate or Articles of Incorporation and By-Laws or other
Organizational Documents of such Person, and any law, treaty, rule or regulation or determination of an arbitrator or a
court or other Governmental Authority, in each case, binding upon such Person or any of its property or to which such
Person or any of its property is subject.

“Responsible Officer” means, with respect to any Person (other than an individual), any officer at the level of vice
president or higher of, but in any event, with respect to financial matters, the chief financial officer, chief accounting
officer, treasurer or controller of such Person.

“Restricted Locations” has the meaning ascribed to such term in Section 3.21(c).

“Restricted Payment” means: (a) the declaration or payment of any dividend or the incurrence of any liability to
make any other payment or distribution of cash or other property or assets on or in respect of Borrower’s or any



                                                   SCHEDULE A - 26
             Case 23-10961-BLS               Doc 13-1        Filed 07/22/23          Page 364 of 388



other Credit Party’s Stock, (b) any payment or distribution made in respect of any subordinated Indebtedness of
Borrower or any other Credit Party in violation of any subordination or other agreement made in favor of Agent for
the benefit of the Lenders, (c) any payment on account of the purchase, redemption, defeasance or other retirement
of Borrower’s or any other Credit Party’s Stock or Indebtedness or any other payment or distribution made in
respect of any thereof, either directly or indirectly; other than (i) that arising under this Agreement, (ii) interest and
principal, when due without acceleration or modification of the amortization as in effect on the Closing Date, under
Indebtedness (not including subordinated Indebtedness, payments of which shall be permitted only in accordance
with the terms of the relevant subordination agreement made in favor of Agent for the benefit of the Lenders)
permitted under Sections 5.1 (provided that any payments made by Credit Parties on the Permitted Koontz-Wagner
Pension Plan Obligations shall not exceed $300,000 per Fiscal Year), (iii) payments and prepayments with respect to
Indebtedness under the Revolving Loan Agreement in an aggregate amount not to exceed the Maximum Priority
Revolving Loan Debt as of any date of determination and otherwise permitted pursuant to the terms of the
Intercreditor Agreement, or (d) any payment, loan, contribution, or other transfer of funds or other property to any
holder of Stock of such Person which is not expressly and specifically permitted in this Agreement; provided that
any payment to Agent or any Lender shall not constitute a Restricted Payment.

“Revolving Agent” means PNC Bank, National Association.

“Revolving Loan Agreement” means that certain Super-Priority Senior Secured Debtor-In-Possession Revolving
Credit and Security Agreement, dated as of the Closing Date, by and among Revolving Agent, the Credit Parties party
thereto, the lenders from time to time party thereto, as amended, restated, supplemented and/or modified to the extent
permitted by the terms of the Intercreditor Agreement.

“Revolving Loan Documents” means the Revolving Loan Agreement and all “Other Documents” as such term is
defined under the Revolving Loan Agreement.

“SBA” means the United States Small Business Administration and any successor thereto.

“SBA Forms” means, collectively, SBA forms 480, 652 and 1031.

“SBA Side Letter” means a Small Business Investment Company side letter among the Borrower and the SBICs (as
amended, restated, supplemented, or otherwise modified from time to time accordance with its terms) in form and
substance reasonably satisfactory to Agent and the Borrower.

“SBIC” means Agent or certain of its Affiliates that is a Federal licensee under the Act.

“SDN List” has the meaning given to such term in Section 3.22.

“Secretarial Certificate” means each Secretarial Certificate of the Credit Parties delivered to Agent as of the Closing
Date in substantially the form of Exhibit C and any Secretarial Certificate delivered to the Agent after the Closing Date
pursuant to Section 1.12.

“SOFR” means a rate equal to the secured overnight financing rate as administered by the SOFR Administrator.

“SOFR Administrator” means the Federal Reserve Bank of New York (or a successor administrator of the secured
overnight financing rate).

“SOFR Loan” means a Loan that bears interest at a rate based on Term SOFR, other than pursuant to clause (d) of
the definition of “Base Rate”.

“Solvent” means, with respect to any Person on a particular date, that on such date (a) the assets of such Person, at a
fair valuation, exceed its liabilities, including contingent liabilities, (b) the remaining capital of such Person is not
unreasonably small to conduct its business and (c) such Person will not have incurred debts, and does not have the
present intent to incur debts, beyond its ability to pay such debts as they mature. For purposes of this definition,
“debt” means any liability on a claim, and “claim” means any (i) right to payment, whether or not such right is
reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,



                                                   SCHEDULE A - 27
                Case 23-10961-BLS              Doc 13-1        Filed 07/22/23        Page 365 of 388



equitable, secured or unsecured, or (ii) right to an equitable remedy for breach of performance if such breach gives
rise to a right to payment, whether or not such right to an equitable remedy is reduced to judgment, fixed,
contingent, matured, unmatured, disputed, undisputed, secured or unsecured. In computing the amount of
contingent liabilities of any Person on any date, such liabilities shall be computed at the amount that, in the
reasonable judgment of the Agent in light of all facts and circumstances existing at such time, represents the amount
of such liabilities that reasonably can be expected to become actual or matured liabilities.

“Specified Canadian Account” means the bank account of the Credit Parties with TD Canada Trust with account
number as previously identified to Agent in writing with account number ending 5675.

“Stalking Horse Purchase Agreement” has the meaning given to such term in Section 2.1(k).

“Stated Maturity Date” means [_____], 2024.2

“Steam” means Steam Enterprises LLC, a Delaware limited liability company.

“Stock” means all certificated and uncertificated shares, options, warrants, membership interests, general or limited
partnership interests, participation or other equivalents (regardless of how designated) of or in a corporation,
partnership, limited liability company or equivalent entity whether voting or nonvoting, including common stock,
preferred stock, beneficial interests in a trust or any other “equity security” (as such term is defined in Rule 3a11-1 of
the General Rules and Regulations promulgated by the Securities and Exchange Commission under the Exchange Act)
or other equity interests in any Person.

“Stock Equivalents” means all securities convertible into or exchangeable for Stock or any other Stock Equivalent
and all warrants, options or other rights to purchase, subscribe for or otherwise acquire any Stock or any other Stock
Equivalent, whether or not presently convertible, exchangeable or exercisable.

“Subordinated Creditors” means each of Wynnefield Partners Small Cap Value, LP and Wynnefield Partners Small
Cap Value, LP I as payee under the Subordinated Notes and in any related capacity under the Subordinated Loan
Documents.

“Subordinated Debt” means the Indebtedness issued under the Subordinated Loan Documents.

“Subordinated Guaranty” means, individually and collectively, (a) that certain Guaranty, dated as of January 9, 2023,
in form and substance satisfactory to Agent, by and among Guarantors and Wynnefield Partners Small Cap Value, LP,
and (b) that certain Guaranty, dated as of January 9, 2023, in form and substance satisfactory to Agent, by and among
Guarantors and Wynnefield Partners Small Cap Value, LP I.

“Subordinated Loan Documents” means each Subordinated Note, each Subordinated Guaranty, and any other
documents entered into in connection with the foregoing, in each case as in effect on the Closing Date.

“Subordinated Note” means, individually and collectively, each of those certain Unsecured Promissory Notes, dated
as of January 9, 2023, in form and substance satisfactory to Agent, by and among Holdings as maker thereunder and
Wynnefield Partners Small Cap Value, LP or Wynnefield Partners Small Cap Value, LP I, as applicable, as payee
thereunder.

“Subsidiary” means, with respect to any Person, (i) any corporation of which an aggregate of more than fifty percent
(50%) of the outstanding Stock having ordinary voting power to elect a majority of the Board of Directors of such
corporation (irrespective of whether, at the time, Stock of any other class or classes of such corporation shall have or
might have voting power by reason of the happening of any contingency) is at the time, directly or indirectly, owned
legally or beneficially by such Person and/or one or more Subsidiaries of such Person, or with respect to which any
such Person has the right to vote or designate the vote of more than fifty percent (50%) of such Stock whether by
proxy, agreement, operation of law or otherwise, and (ii) any partnership or limited liability company in which such
Person or one or more Subsidiaries of such Person has an equity interest (whether in the form of voting or participation

2
    NTD: To be the date that is one (1) year after the Petition Date.



                                                     SCHEDULE A - 28
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 366 of 388



in profits or capital contribution) of more than fifty percent (50%) or of which any such Person is a general partner or
manager or may exercise the powers of a general partner or manager. Unless otherwise specified, all references herein
to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary of Holdings. In no event shall the term “Subsidiary”
include a Permitted Joint Venture or Koontz-Wagner Custom Control Holdings LLC.

“Subsidiary Guarantor” means each direct or indirect Subsidiary of the Borrower as of the Closing Date and each
other direct or indirect Subsidiary that becomes a party to this Agreement pursuant to Section 1.12, in each case other
than any Unrestricted Subsidiary.

“Substitute Lender” has the meaning given to such term in Section 1.14(a).

“Super-Priority Claims” has the meaning given to such term in Section 12.2(a)

“Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings (including backup
withholding), assessments, fees or other charges imposed by any Governmental Authority, including any interest,
additions to tax or penalties applicable thereto.

“Term Loan” means each advance made by a Lender to the Borrower pursuant to Section 1.1.

“Term Loan Commitment” means the commitment of each Lender under this Agreement to make or otherwise fund
its portion of the Term Loans as set forth on Schedule B attached hereto.

“Term Loan Priority Collateral Account” has the meaning given to such term in Section 3.26(c).

“Term Note” has the meaning given to such term in Section 1.1.

“Term SOFR” means, (a) for any calculation with respect to a SOFR Loan, the Term SOFR Reference Rate for an
interest period of one (1) month for each calendar month as determined on the day (such day, the “Periodic Term
SOFR Determination Day”) that is two (2) U.S. Government Securities Business Days prior to the first day of such
month, as such rate is published by the Term SOFR Administrator; provided, however, that if as of 5:00 p.m. (New
York City time) on any Periodic Term SOFR Determination Day the Term SOFR Reference Rate for such interest
period has not been published by the Term SOFR Administrator and a Benchmark Replacement Date with respect to
the Term SOFR Reference Rate has not occurred, then Term SOFR will be the Term SOFR Reference Rate for such
interest period as published by the Term SOFR Administrator on the first preceding U.S. Government Securities
Business Day for which such Term SOFR Reference Rate for such interest period was published by the Term SOFR
Administrator so long as such first preceding U.S. Government Securities Business Day is not more than three (3)
U.S. Government Securities Business Days prior to such Periodic Term SOFR Determination Day; and (b) for any
calculation with respect to a Base Rate Loan on any day, the Term SOFR Reference Rate for an interest period of
one (1) month as determined on the day (such day, the “Base Rate Term SOFR Determination Day”) that is two (2)
U.S. Government Securities Business Days prior to such day, as such rate is published by the Term SOFR
Administrator; provided, however, that if as of 5:00 p.m. (New York City time) on any Base Rate Term SOFR
Determination Day the Term SOFR Reference Rate for the applicable interest period has not been published by the
Term SOFR Administrator and a Benchmark Replacement Date with respect to the Term SOFR Reference Rate has
not occurred, then Term SOFR will be the Term SOFR Reference Rate for such interest period as published by the
Term SOFR Administrator on the first preceding U.S. Government Securities Business Day for which such Term
SOFR Reference Rate for such interest period was published by the Term SOFR Administrator so long as such first
preceding U.S. Government Securities Business Day is not more than three (3) U.S. Government Securities Business
Days prior to such Base Rate Term SOFR Determination Day; provided that if Term SOFR as so determined shall
ever be less than 1.0%, then Term SOFR shall be deemed to be 1.0%.

“Term SOFR Administrator” means CME Group Benchmark Administration Limited (CBA) (or a successor
administrator of the Term SOFR Reference Rate selected by the Agent in its reasonable discretion).

“Term SOFR Reference Rate” means the forward-looking term rate based on SOFR.




                                                   SCHEDULE A - 29
             Case 23-10961-BLS              Doc 13-1        Filed 07/22/23         Page 367 of 388



“Termination Date” means the date on which all Obligations under this Agreement are paid in full, in cash (other than
contingent obligations not yet due and payable), and Borrower shall have no further right to borrow any moneys or
obtain other credit extensions or financial accommodations from the Lenders under this Agreement.

“Threshold Amount” means $500,000.

“Title IV Plan” means a pension plan subject to Title IV of ERISA, other than a Multiemployer Plan, to which any
ERISA Affiliate incurs or otherwise has any obligation or liability, contingent or otherwise.

“Total Leverage Ratio” shall mean, at any date of determination, the ratio of Consolidated Indebtedness on such date
to Consolidated EBITDA for the trailing twelve (12) Fiscal Month period most recently ended.

“Trademarks” means all of the following now owned or hereafter adopted or acquired by any Person: (i) all
trademarks, trade names, corporate names, business names, trade styles, service marks, logos, other source or business
identifiers, prints and labels on which any of the foregoing have appeared or appear, designs and general intangibles of
like nature (whether registered or unregistered) all registrations and recordings thereof, and all applications in
connection therewith, including all registrations, recordings and applications in the United States Patent and Trademark
Office, the Canadian Intellectual Property Office or in any similar office or agency of the United States, any state or
territory thereof, or any other country or any political subdivision thereof: (ii) all reissues, extensions or renewals
thereof; and (iii) all goodwill associated with or symbolized by any of the foregoing.

“Transaction Documents” means, collectively, the Revolving Loan Documents and the Loan Documents.

“Transactions” means, collectively, (a) the execution, delivery and performance of the Loan Documents and the
borrowings hereunder; (b) the incurrence of Indebtedness under the Revolving Loan Agreement; (c) the creation of the
Liens pursuant to this Agreement, the Interim Order and the Final Order; and (d) the payment of all related fees and
expenses.

“Transferred Guarantor” has the meaning given to such term in Section 11.9.

“Unrestricted Subsidiaries” means, to the extent not required to be a Guarantor hereunder, each Permitted Captive
Insurance Subsidiary.

“USA PATRIOT Act” means the Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L. 107-56).

“U.S. Borrower” means a Borrower that is a U.S. Person.

“U.S. Credit Party” means a Credit Party that is a U.S. Person.

“U.S. Person” means any Person that is a “United States person” as defined in Section 7701(a)(30) of the IRC.

“U.S. Publicly-Traded Entity” has the meaning given to such term in Section 3.22.

“U.S. Tax Compliance Certificate” shall have the meaning ascribed to such term in Section 8(b)(ii)(C).

“U.S. Trustee” means the United States Trustee for the District of Delaware.

“Voluntary Prepayment” has the meaning given to such term in Section 1.2(b).

“Voting Stock” means, with respect to any Person, any class or classes of Equity Interests pursuant to which the
holders thereof have the general voting power under ordinary circumstances to elect at least a majority of the Board
of Directors of such Person.

“Water Projects Contracts” means all contracts entered into in connection with water and wastewater construction
and maintenance projects of Williams Industrial Services, LLC.



                                                   SCHEDULE A - 30
              Case 23-10961-BLS                Doc 13-1        Filed 07/22/23          Page 368 of 388




“Wholly Owned Subsidiary” means, as to any Person, (a) any corporation 100% of whose capital stock (other than
directors’ qualifying shares) is at the time owned by such Person and/or one or more Wholly Owned Subsidiaries of
such Person and (b) any partnership, association, joint venture, limited liability company or other entity in which
such Person and/or one or more Wholly Owned Subsidiaries of such Person have a 100% equity interest at such
time.

“Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete or partial withdrawal
from such Multiemployer Plan, as such terms are defined in Section 4203 and Section 4205 of ERISA.

“Withholding Agent” means Borrower and Agent.

Any accounting term used in this Agreement or the other Loan Documents shall have, unless otherwise specifically
provided therein, the meaning customarily given such term in accordance with GAAP, and all financial computations
thereunder shall be computed, unless otherwise specifically provided therein, in accordance with GAAP consistently
applied; provided, that all financial covenants and calculations in the Loan Documents shall be made in accordance
with GAAP as in effect on the Closing Date unless Borrower and Agent shall otherwise specifically agree in writing.
That certain items or computations are explicitly modified by the phrase “in accordance with GAAP” shall in no way
be construed to limit the foregoing. All other capitalized terms contained in this Agreement or the other Loan
Documents, but not defined herein or therein, shall, unless the context indicates otherwise, have the meanings provided
for by the Code or the PPSA, as the context may require. The words “herein,” “hereof” and “hereunder” or other
words of similar import refer to this Agreement as a whole, including the exhibits and schedules thereto, as the same
may from time to time be amended, modified or supplemented, and not to any particular section, subsection or clause
contained in this Agreement.

For purposes of this Agreement and the other Loan Documents, the following additional rules of construction shall
apply, unless specifically indicated to the contrary: (a) wherever from the context it appears appropriate, each term
stated in either the singular or plural shall include the singular and the plural; (b) the term “or” is not exclusive; (c) the
term “including” (or any form thereof) shall not be limiting or exclusive; (d) all references to statutes and related
regulations shall include any amendments of same and any successor statutes and regulations; and (e) all references to
any instruments or agreements, including references to any of the Loan Documents, shall include any and all
modifications or amendments thereto and any and all extensions or renewals thereof.

Any term defined in this Agreement by reference to the Code shall also have any extended, alternative or analogous
meaning given to such term in the PPSA and under other Canadian laws (including, without limitation, the Securities
Transfer Act (British Columbia) and the other securities transfer legislation in effect from time to time in any of
province or territory of Canada, the Bills of Exchange Act (Canada) and the Depository Bills and Notes Act (Canada)),
in all cases for the extension, preservation or betterment of the security and rights of the Agent and the Lenders, (ii) all
references in this Agreement to a financing statement, financing change statement, continuation statement, amendment
or termination statement shall be deemed to refer also to the analogous documents used under the PPSA, including,
without limitation, where applicable, financing change statements and (iii) all references to federal or state securities
law of the United States shall be deemed to refer also to analogous federal, provincial and territorial securities laws in
Canada.

                                        [Remainder of Page Intentionally Blank]




                                                     SCHEDULE A - 31
Case 23-10961-BLS      Doc 13-1        Filed 07/22/23       Page 369 of 388




                              SCHEDULE B

       SCHEDULE OF TERM LOAN COMMITMENTS
                Lender                Term Loan Commitment

         Energy Impact Credit
         Fund I LP                          $8,357,142.86

         34th Street Funding,
         LLC                                $5,571,428.57

         CrowdOut Credit
         Opportunities Fund
         LLC                                $5,571,428.57

         TOTAL                              $19,500,000




                                SCHEDULE B - 1
             Case 23-10961-BLS            Doc 13-1      Filed 07/22/23   Page 370 of 388




                                               SCHEDULE C

      AGENT’S, LENDERS’ AND CREDIT PARTIES’ ADDRESSES FOR NOTICES
Agent’s Address

Name:      EICF Agent LLC
Address:   600 3rd Avenue, Floor 38
           New York, NY 10016
Attn:      Harry Giovani
Telephone: (212) 899-9714

with a copy to:

Name:      Chapman and Cutler LLP
Address:   1270 Avenue of the Americas, 30th Floor
           New York, New York 10020
Attn:      Anthony M. DiGiacomo
Telephone: (212) 655-2530
Facsimile: (212) 655-2531

Lenders’ Addresses

Name:      Energy Impact Credit Fund I LP
Address:   600 3rd Avenue, Floor 38
           New York, NY 10016
Attn:      Harry Giovani
Telephone: (212) 899-9714

Borrower’s Address

Name:      Williams Industrial Services Group Inc.
Address:   100 Crescent Centre Parkway
           Suite 1240
           Tucker, GA 30084
Attn:      Randy Lay
Telephone: (770) 879-4089
Facsimile:

with a copy to:

Name:      Thompson Hine LLP
Address:   127 Public Square
           Suite 3900
           Cleveland, OH 44114
Attn:      Katherine D. Brandt
Telephone: (216) 566-5760
Facsimile: (216) 566-5800

Guarantor’s Address

Name:        Williams Industrial Services Group Inc.
Address:     100 Crescent Centre Parkway
             Suite 1240
             Tucker, GA 30084




                                                 SCHEDULE C - 1
             Case 23-10961-BLS   Doc 13-1   Filed 07/22/23   Page 371 of 388



Attn:      Randy Lay
Telephone: (770) 879-4089
Facsimile:

with a copy to:

Name:      Thompson Hine LLP
Address:   127 Public Square
           Suite 3900
           Cleveland, OH 44114
Attn:      Katherine D. Brandt
Telephone: (216) 566-5760
Facsimile: (216) 566-5800




                                     SCHEDULE C - 2
Case 23-10961-BLS   Doc 13-1    Filed 07/22/23   Page 372 of 388




                       SCHEDULE D

                    CLOSING CHECKLIST
                         See attached.




                        SCHEDULE D - 1
        Case 23-10961-BLS   Doc 13-1       Filed 07/22/23        Page 373 of 388



                                 SCHEDULE E

                        RESTRICTED LOCATIONS

1.   Crimea
2.   Cuba
3.   Iran
4.   North Korea
5.   Sudan
6.   Syria

                       [Remainder of Page Intentionally Blank]




                                  SCHEDULE F - 1
             Case 23-10961-BLS             Doc 13-1         Filed 07/22/23        Page 374 of 388




                                    DISCLOSURE SCHEDULE (3.2)

                          PLACES OF BUSINESS; CORPORATE NAMES
Official Name                                                    Type of Entity (e.g. corporation, partnership,
limited
                                                                 partnership, limited liability company)



Organization Identification Number
Issued by Jurisdiction of Incorporation or Organization
Or Statement that no such number has been issued                 Jurisdiction of Incorporation or Organization




Chief Executive Office                                          County/State/Province/Territory [be sure to include
names of counties]



Registered Office (if different from Chief Executive Office)    County/State/Province/Territory [be sure to include
names of counties]



Locations of Collateral
when not in use by a customer of
any Grantor                                                     County/State/Province/Territory [be sure to include
names of counties]




[other corporate names or trade names if any]




                                                          3.2
             Case 23-10961-BLS        Doc 13-1       Filed 07/22/23        Page 375 of 388




                               DISCLOSURE SCHEDULE (3.7)

                                          SUBSIDIARIES
[List all subsidiaries]

Name                      Type (subsidiary, affiliate etc.) Percentage owned by Credit Party (identify)




                                                   3.7
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 376 of 388




              DISCLOSURE SCHEDULE (3.9)

                          TAXES




                               3.9
            Case 23-10961-BLS            Doc 13-1       Filed 07/22/23       Page 377 of 388




                                  DISCLOSURE SCHEDULE (3.11)

                                                   ERISA
[List all Plans and any liabilities and events described in Section 3.11 of Loan Agreement]




                                                     3.11
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 378 of 388




              DISCLOSURE SCHEDULE (3.12)

                       LITIGATION




                               3.12
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 379 of 388




              DISCLOSURE SCHEDULE (3.13)

               INTELLECTUAL PROPERTY




                               3.13
           Case 23-10961-BLS           Doc 13-1      Filed 07/22/23      Page 380 of 388




                                DISCLOSURE SCHEDULE (3.15)

                                 ENVIRONMENTAL MATTERS

[Describe any Environmental Matters referenced to in Section 3.15 of Loan Agreement]




                                                  3.15
            Case 23-10961-BLS            Doc 13-1      Filed 07/22/23      Page 381 of 388




                                   DISCLOSURE SCHEDULE (3.16)

                                              INSURANCE
[List all Insurance Policies required by Section 3.16 of Loan Agreement]


Type                     Insured                   Beneficiary                   Amount




                                                    3.16
    Case 23-10961-BLS             Doc 13-1       Filed 07/22/23   Page 382 of 388




                          DISCLOSURE SCHEDULE (3.18)

                             EXISTING INDEBTEDNESS
1. $[____________] credit extended to ______________ under the [Revolving Loan Agreement].

[List all other indebtedness of the Credit Parties.]




                                              3.18
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 383 of 388




              DISCLOSURE SCHEDULE (3.26)

                CONTROLLED ACCOUNTS




                               3.26
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 384 of 388




              DISCLOSURE SCHEDULE (3.32)

               GOVERNMENT CONTRACTS




                               3.32
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 385 of 388




              DISCLOSURE SCHEDULE (3.34)

                    BONDING; LICENSING




                               3.34
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 386 of 388




              DISCLOSURE SCHEDULE (3.35)

               AFFILIATE TRANSACTION




                               3.35
Case 23-10961-BLS   Doc 13-1     Filed 07/22/23   Page 387 of 388




              DISCLOSURE SCHEDULE (5.21)

              EMPLOYEE COMPENSATION




                               5.21
             Case 23-10961-BLS             Doc 13-1       Filed 07/22/23        Page 388 of 388




                                    DISCLOSURE SCHEDULE (6.1)

                                    ACTIONS TO PERFECT LIENS

UCC Filings [list state and county filings necessary to perfect liens]



PPSA Filings [list Canadian provincial/territorial filings necessary to perfect liens]



Other Actions to Perfect Liens [if any]




                                                        6.1
